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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ex rel.
Larry Hawkins, Randall Hayes, Clinton
Sawyer, James Locklear and Kent Nelson,
                                              Civil Action No. 15-2105 (ABJ)
LARRY HAWKINS
Herbststrasse 6                            SECOND AMENDED COMPLAINT
Deining, Germany,
                                                     For Violations of
WILLIAM RANDALL HAYES
1244 County Road 3319                              The False Claims Act
Troy, Alabama 36079,                                        and
CLINTON SAWYER                               The Trafficking Victims Protection
1007 Odelle Circle                                  Reauthorization Act
McDonough, Georgia 30253,

JAMES LOCKLEAR
2304 Lilly Drive                                      UNDER SEAL
Killeen, Texas 76542
                                            DO NOT PLACE IN PRESS BOX
and                                          DO NOT ENTER ON PACER

KENT NELSON
4030 E 100 N.
Rigby, Idaho 83442,
                                                     JURY DEMAND
Plaintiffs

v.

MANTECH INTERNATIONAL CORP.
1100 New Jersey Avenue, S.E. , Suite 740
Washington, D.C. 20003,

and

MANTECH TELECOMMUNICATIONS
AND INFORMATION SYS. CORP.
12015 Lee Jackson Highway
Fairfax, Virginia 22033

Defendants
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                                       INTRODUCTION

       1.      This Second Amended Complaint (“SAC) is filed by the United States of America

on Relation of Larry Hawkins, Randall Hayes, Clinton Sawyer, James Locklear and Kent Nelson,

and by Plaintiffs Larry Hawkins, Randall Hayes, Clinton Sawyer, James Locklear and Kent Nelson

in their own right, pursuant to the Court’s Order dated April 18, 2018.

       2.      The deaths of U.S. military personnel in the Iraq War prompted the development

of the United States Army Mine Resistant Ambush Protected vehicles (“MRAPs”) program. The

“V”-shaped, armored MRAPs were developed and designed to protect the lives of U.S. military

personnel by withstanding improvised explosive device (IED) attacks and ambushes.

       3.      In May 2007, then-defense secretary Robert Gates told top Pentagon officials that

“the MRAP should be considered the highest priority Department of Defense acquisition

program.” Correspondingly, MRAP production rose from 82 vehicles per month in June 2007, to

1,300 vehicles per month by December 2007, with the average cost at about $1 million each.

       4.      According to the New York Times, 24,000 MRAPs have been deployed to Iraq or

Afghanistan at a cost of more than $47 billion. According to an interview of former Defense

Secretary Ashton Carter by USA Today, data collected from roadside explosions in Afghanistan

and Iraq show troops in MRAPs are as much 14 times more likely to survive the blast than those

riding in Humvees. In 2011, TIME magazine reported that MRAPs saved up to 40,000 lives —

10,000 in Iraq and 30,000 Afghanistan.

       5.      On May 31, 2012, the U.S. Army Contracting Command, Warren, Michigan

awarded Contract No. W56HZV-12-C-0127 (attached hereto and incorporated by reference into

this complaint) (hereinafter “the Contract”) to ManTech Telecommunications and Information

Systems Corporation (then a wholly owned subsidiary of ManTech International Corporation)



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(ManTech Telecommunications and Information Systems Corporation and ManTech International

Corporation are hereinafter referred to as “ManTech”). The Contract was for logistics sustainment

and support for the “MRAP Family of Vehicles.” Pursuant to contract modification P00002, the

Army expanded the MRAP repair capabilities at the Kuwait Maintenance Sustainment Facility

(“KMSF”) adjacent to Highway 40 to the south of Kuwait City (sometimes referred to as “the 40

Site”).

          6.    Relators Randall Hayes, Clinton Sawyer, Larry Hawkins, James Locklear, and Kent

Nelson are former ManTech employees who worked as mechanics on MRAPs at the KMSF. On

behalf of the United States, they relay original-source knowledge about how ManTech engaged in

a pattern of false claims regarding (1) the labor hours expended on the Contract, (2) the accuracy

of data entered into the Army’s Standard Army Maintenance System-Enhanced data management

system (“SAMS-E”), (3) the qualification of its personnel to perform mission-critical repair and

maintenance services, and (4) the concealment from the U.S. of the fact that it was engaged in the

illegal trafficking of personnel into Kuwait in contravention of international treaties as well as U.S.

and Kuwaiti law.

          7.    Hayes, Sawyer, Hawkins, Locklear and Nelson also seek damages and restitution

under the Trafficking Victims Protection Reauthorization Act (“TVPRA”). ManTech violated the

TVPRA by bringing Plaintiffs into Kuwait illegally, confiscating their passports, refusing to apply

for the legal authorizations necessary for Plaintiffs to work legally in Kuwait, forcing them to live

in constant fear of arrest, subjecting them to horrific work conditions, and refusing to pay them the

compensation that would have been due were Plaintiffs afforded the protection of law.

          8.    As set forth in more detail below, Relators have firsthand, original-source

knowledge that ManTech’s mode of operation under the Contract was to have workers perform



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grossly inefficient work and service on U.S. MRAPs, which was carried out by hiring highly

unqualified workers and technicians to service these vehicles. As a result, unqualified workers

spent countless hours doing tasks that should and could have been done much more efficiently by

qualified workers. This also resulted in qualified workers being pulled away from their work to

guide unqualified workers through their work, further adding to the inefficiency of ManTech’s

operations under the Contract. As a result, the billing submitted to the government under the

Contract was inflated, manipulated, and otherwise inaccurate, and thus constituted false claims.

       9.      Making matters worse, and as a direct corollary with this false reporting of labor

hours attendant to the cover-up of its unqualified personnel and their inefficient work, ManTech

logged false MRAP data into the Army’s mission-critical SAMS-E, discussed in greater detail

infra, jeopardizing the efforts and lives of U.S. military forces.

       10.     Furthermore, ManTech fostered a hostile and unsafe work environment for Relators

and other workers, including by forcing workers to go on “visa runs”—thus encouraging and

requiring workers to violate immigration and other laws—and to work under conditions where

workers were exposed to and health-hazardous fumes and chemicals.

       11.     ManTech’s inadequate performance and its willful and knowing submission of

false and fraudulent bills under the Contract constitute violations of the False Claims Act.

Furthermore, by subjecting Relators and other workers to, inter alia, “visa runs,” fear of violating

immigration laws, fear of being fired for failing to comply with “visa runs,” and by exposing

workers to health-hazardous working conditions, ManTech violated the Trafficking Victims

Protection Reauthorization Act.




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                                             PARTIES

       12.     Relator/Plaintiff Larry Hawkins (“Hawkins”) is citizen of the United States

domiciled in Deining, Germany and was employed by ManTech at the KMSF from September 18,

2012 to May 30, 2015 to perform services pursuant to the Contract.

       13.     Relator/Plaintiff Randall Hayes (“Hayes”) is a citizen of Alabama and was

employed by ManTech at the KMSF from October 2012 to May 2013 to perform services pursuant

to the Contract.

       14.     Relator/Plaintiff Clinton Sawyer (“Sawyer”) is a citizen of Georgia and was

employed by ManTech at the KMSF from approximately November 25, 2012 until May 2013 to

perform services pursuant to the Contract.

       15.     Relator/Plaintiff James Locklear (“Locklear”) is a citizen of Texas and was

employed by ManTech at the KMSF from November 2012 to May 2013 to perform services

pursuant to the Contract.

       16.     Relator/Plaintiff Kent Nelson (“Nelson”) is a citizen of Idaho and was employed

by ManTech at the KMSF from October 27, 2012 to May 2013 to perform services pursuant to the

Contract.

       17.     Defendant ManTech International Corporation (“MT International”) is a

Delaware corporation with offices in the District of Columbia at 1100 New Jersey Avenue, SE

Suite 740, Washington, D.C. 20003 and 600 Maryland Avenue, SW, Washington, D.C. 20024.

MT International is a publicly-traded company that provides defense-related services to the U.S.

Government in the District of Columbia and throughout the world.

       18.     Defendant    ManTech      Telecommunications      and   Information     Systems

Corporation (“MT Telecom”), at all times relevant to this complaint was a wholly owned



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subsidiary of MT International, incorporated in Delaware and based in Virginia, with a registered

agent for service of process located in the District of Columbia. at 1015 15th Street, NW, Suite

1000, Washington, D.C. 20005. MT Telecom transacted considerable, ongoing business in the

District of Columbia with various U.S. government agencies, in its own name and through MT

International. At all relevant times, ManTech was the employer(s) of Relators/Plaintiffs within

the meaning of 29 U.S.C. § 203(d) and the Kuwaiti Private Sector Labor Law. On information

and belief, ManTech Telecommunications and Information Systems Corporation merged in 2013

with and into ManTech Advanced Systems International, Inc., a Virginia corporation and

subsidiary of ManTech International Corporation. Accordingly, all allegations made against MT

Telecom are made against ManTech Advanced Systems International, Inc. For ease of review,

Defendants are referred to herein as “ManTech.”

                               JURISDICTION AND VENUE

       19.    The subject matter jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§

1331, 1332, 1367 and 3730(b), and 18 U.S.C. §§ 1595(a) and 1596(a).

       20.    Venue lies in this District pursuant to 28 U.S.C. §§ 1391(b)(3) and 3732(a), as

ManTech conducts a continuous, robust course of business in the District of Columbia,

maintaining offices in the District of Columbia and contracting with various U.S. government

agencies based in the District of Columbia.

       21.    There is no procedural bar to recovery by the U.S. or Relators under the False

Claims Act, 31 U.S.C. §3730(e). Relators have direct, independent, knowledge of the information

on which the allegations herein are based, and as alleged above, are an “original source” of the

allegations herein, as that term is defined in the pertinent statutory authority. The original

complaint was filed under seal to provide the U.S. the opportunity to investigate the allegations



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contained therein and consider whether to intervene. The U.S. elected not to intervene, and on

September 12, 2017, the U.S. District Court unsealed the complaint.

                                         COUNT I
                            Violations of the False Claims Act
          False Claims with Respect to the Reporting of Labor Hours Pursuant to
           31 U.S.C. §§ 3729(a)(1)(A) and 3729(a)(1)(B) Against All Defendants

       22.     The allegations in Paragraphs 1-21 are incorporated in this count by reference as

though fully stated herein.

       23.     The Contract had an original value of $823,446,067.28 for services consisting of

maintenance and repair of MRAP vehicles, with a completion date of November 26, 2012.1

According to a ManTech website, the exercise of successive contract options brought the total

value of the Contract to $2.85 billion.

       24.     The Contract included a phase-in period that was to commence at contract award

and end not later than 180 days after award. The phase-in period was to be compensated on a “firm

fixed-price” basis. Contract, Page 85 of 388, B.1.2.

       25.     The Contract also included an “Early Operational Readiness” period that was not

to exceed 180 days after contract award to commence immediately after the completion of the

phase-in period. This contract performance period was to be compensated on a cost-plus fixed fee

level-of-effort basis. In this period of performance, it was anticipated that the government would

issue work directives that would include lists of labor categories to be used by ManTech in tracking




1
  Counsel for Relators have requested from counsel for Defendants a copy of the Contract.
Counsel for Defendants refused to provide a copy of the Contract. Relators have purchased what
they reasonably believe is a publicly-available copy of the Contract (albeit without exhibits);
however, should there be a material difference between the Contract as purchased by Relators
and the Contract actually in the possession of ManTech, Relators would request an opportunity
to amend the complaint to incorporate the information in the executed contract along with any
information in the exhibits to the contract.
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labor expended on the Contract, and estimated hours for such labor categories. Ibid. B.1.3,

Contract Page 85 of 388.

        26.     As described in 48 CFR 16.207-1, “A firm-fixed-price, level-of-effort term contract

requires -- (a) The contractor to provide a specified level of effort, over a stated period of time, on

work that can be stated only in general terms; and (b) The Government to pay the contractor a

fixed dollar amount.”

        27.     Under 16.207-2, “The product of the [firm-fixed-price, level-of-effort term]

contract is usually a report showing the results achieved through application of the required level

of effort. However, payment is based on the effort expended rather than on the results achieved.”

        28.     The Contract included an “Operational Readiness” period also to begin at the end

of the phase-in period (181 days after award) and run until January 13, 2013. This period of

contract performance would also include government-issued work directives, a list of labor

categories to be used by ManTech in tracking labor expended on the contract and the government’s

estimate of the hours that would be expended for the work directives.

        29.     Following the Operational Readiness period, the Contract would proceed to the

Operational Readiness Option Period. There were to be four option periods (three 12-month

options and one 10-month option). Each of these options were to be compensated on a Cost Plus

Fixed Fee Level-of-Effort basis. Again, this period of contract performance would include work

directives from the government regarding labor categories to be used and estimates of hours to be

expended. The Contract, B.1.4, Page 85 of 388.

        30.     Pursuant to 48 CFR 1352.216-71 (a), “Level of effort (cost-plus-fixed-fee, term

contract) . . . In performance of the effort directed in this contract, the contractor shall provide the

total of Direct Productive Labor Hours (DPLH) . . . during the term specified in [the contract] . . .



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DPLH is defined as actual work hours exclusive of vacation, holidays, sick leave, and other

absences.” Pursuant to subsection (b), “Only the Direct Productive Labor Hours categories

indicated [in the contract] shall be charged directly to the contract.”

       31.     The Contract gave the U.S. broad discretion to extend the Contract for up to four

option periods at established direct labor hour increments. The Contract, B.1.5, Page 85 of 388.

       32.     Based on ManTech’s representations that it had been in full compliance with the

Contract, the U.S. did, in fact, exercise contract options estimated to represent an expenditure of $

$823,446,067.28 by the government. The Contract, Modification P00059, Page 3 of 388.

       33.     Pursuant to Contract Section B.2 (a):

       All subsequent awards will be priced in accordance with the following: a. The
       estimated cost and fixed fee for each applicable Early Operational Readiness,
       Operational Readiness Base Option, and Operational Readiness Option CLIN shall
       be calculated from the labor rates found in the tab “Cost Rate by Labor Category”
       tab, column P, “Composite Cost Per Hour $”, multiplied by the number of hours
       the Government requires for that labor category. The total estimated cost for each
       CLIN will then be calculated by summing all hours by labor category and the
       associated estimated labor cost from the “Cost Rate by Labor Category” for each
       CLIN. The fixed fee shall be calculated from the “Summary of Fee Rate by
       Performance Period” tab, column B, Fee per Hour as shown in Attachment 12,
       multiplied by the number of hours required on that CLIN by the Government.

       34.     The Contract, H.11(a), established “The maximum number of labor hours to be

ordered during this contract is 34,453,801 labor hours.”

       35.     H.11(b) also made clear, “Expenditure of labor hours in excess of the quantity

specified in the CLIN(s) (“contract line item”) is not allowed except as authorized by the PCO

through formal contract action.”

       36.     “The Government will estimate the cost of the labor hours per CLIN using actual

incurred costs that are averaged by labor category for the most recent month or by using the labor

rates provided in Attachment 12 for each of the labor categories, performance locations, and hours


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specified.” Ibid.

       37.     Pursuant to Section H.11(b),

       If Contractor performance is considered satisfactory by the Contracting Officer, the
       fixed fee is payable at the expiration of the period(s) of performance as set forth in
       the applicable CLIN upon Contractor certification that the quantity of labor hours
       specified in the contract has been expended in performing the contract work.

       38.     Section H.11 (f) makes clear:
       (1) The Contractor shall notify the Procuring Contracting Officer immediately in
       writing whenever it has reason to believe that:
               (i)     The level of effort the Contractor expects to incur in the next 60 days
               will exceed seventy-five (75%) percent of the level of effort established for
               each funded CLIN; or
               (ii)    The level of effort required to perform the period of performance
               will be greater than the level of effort established for that period.
       As part of the notification, the Contractor shall provide the Contracting Officer a
       revised estimate of the level of effort required to perform through the completion
       of the period of performance. As part of the notification, the Contractor also shall
       submit any proposal for adjustment to the estimated cost and fixed fee that it deems
       would be equitable if the Government were to increase the level of effort as
       proposed by the Contractor.
       (2) Within thirty days after completion of the work under each CLIN, the
       Contractor shall submit the following information directly, in writing, to the
       Contracting Officer, with copies to the COR and the Defense Contract Audit
       Agency office to which vouchers are submitted:
               (i) The total number of man-hours of direct labor, including subcontract
               labor, expended and a breakdown of this total showing the number of man-
               hours expended in each direct labor classification listed in Attachment 12,
               including the identification of the key employees utilized;
               (ii) The Contractor’s estimate of the total allowable cost incurred under the
               CLIN; and
               (iii) In the case of a cost under run, the amount by which the estimated cost
               of the CLIN may be reduced to recover excess funds.
       (3)     In the event that the actual labor performed is expected to exceed the
       established labor hours on each CLIN, but the actual labor is not expected to exceed
       the estimated cost of the CLIN, the Contractor, subject to PCO approval, shall be
       entitled to cost reimbursement for actual hours expended, not to exceed the CLINs
       estimated cost. The Contractor shall not be paid fixed fee, however, on the
       expended labor hours in excess of the labor hours established by the CLIN. This
       understanding does not supersede or change the ability of the Contractor and
       Government to agree to change the established hours on the established hours on
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       the CLIN with an equitable adjustment on both cost and fee. This adjustment would
       be via formal contract modification as directed by the PCO.
       (4)     If, during the period of performance, the Contractor finds it necessary to
       accelerate the expenditure of direct labor to such an extent that the total man-hours
       of effort specified above would be used prior to the expiration of the term, the
       Contractor shall notify the Contracting Officer in writing setting forth the
       acceleration required, the probable benefits which would result, and an offer to
       undertake the acceleration at no increase in the estimated cost or fee together with
       an offer, setting forth a proposed level of effort, cost breakdown, and proposed fee,
       for continuation of the work until expiration of the term hereof. The offer shall
       provide that the work proposed will be subject to the terms and conditions of this
       contract and any additions or changes required by then current law, regulation, or
       directives, and that the offer, with a written notice of acceptance by the Contracting
       Officer, shall constitute a binding contract. The Contractor shall not accelerate any
       effort until receipt of such written approval by the Contracting Officer. Any
       agreement to accelerate will be formalized by contract modification. The COR
       may, by written order, direct the Contractor to accelerate the expenditure of direct
       labor such that the total man-hours of effort specified in paragraph (a) above would
       be used prior to the expiration of the term. This order shall specify the acceleration
       required and the resulting revised term. The Contractor shall acknowledge this
       order within five days of receipt.

       39.     DoD 7000.14-R Financial Management Regulation Volume 4, Chapter 20, Section

200303, “Identifying Direct Productive Labor Hours” makes clear that “Direct Productive Labor

Hours (DPLH) are the hours expended by employees that are directly attributable to production.

Management identifies employees whose work constitutes productive labor hours within the

production department. These hours are totaled and then estimated idle time and leave/holiday

hours are deducted. The result is total departmental productive hours, used as a denominator in the

determination of the actual shop rate[.]”.

       40.     ManTech, as awardee of the Contract, was required to comply with all of the

Contract’s requirements. Moreover, by accepting the successive Contract Options, ManTech

certified that it was in compliance with all material requirements of the Contract and in compliance

with federal and state laws and regulations.




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                The Accurate Reporting to the Army of Direct-Labor Hours Was
                                Material to the United States

          41.   “Labor hour” is referenced 174 times in the Contract.

          42.   ManTech had an affirmative duty to accurately report its labor hours.

          43.   The accurate reporting of labor hours was material to the United States.

                        ManTech Made Knowingly False Statements to
                    The U.S. Regarding the Hours Worked by its Employees

          44.   On information and belief, ManTech reported labor hours during the “phase-in”

period.

          45.   On information and belief, ManTech provided reports to the U.S. regarding the

“Early Operational Readiness” and “Operational Readiness” phases of the contract by reporting

hours worked servicing MRAPS.

          46.   With respect to all of its labor hour reporting requirements under the Contract,

ManTech submitted claims of direct labor hours worked on the Contract to the government that

were knowingly false.

          47.   Depending on ManTech’s needs, ManTech either overreported direct labor hours

or underreported direct labor hours by encouraging its employees to mischaracterize direct labor

hours as indirect labor hours (and vice versa). On information and belief, ManTech managers

altered timesheets that were completed by ManTech employees by either increasing or decreasing

direct labor hours with knowledge that they would be reported to the U.S.

                  ManTech Intentionally Underreported Direct Labor Hours
                   To Conceal the Inefficiency of its Unqualified Workforce

          48.   As detailed in paragraphs 122 - 146, in an effort to conceal the inefficiencies of an

untrained workforce and to induce the U.S. to exercise the available Contract Options,

notwithstanding ManTech’s unqualified workforce, ManTech ordered its mechanics and

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technicians to falsify their direct labor hours to create the false impression of efficiency in

performing direct labor mission-critical tasks.

       49.     ManTech regularly recruited and employed unqualified personnel with no

experience and/or knowledge of vehicle maintenance and repair let along MRAP maintenance and

repair as was a material provision of the Solicitation and the Contract.

       50.     Prior to 2012, the contract for maintenance and repair of MRAPs in Kuwait was

held by Science Applications International Corp (“SAIC”). As the prime contractor at the KMSF,

SAIC subcontracted the actual repair and maintenance services to a variety of subcontractors

including Ranger Land Systems, Inc. (“Ranger”) and VSE Corporation (“VSE”).

       51.     Because of Hawkins’s significant prior experience as a mechanic on the MRAPs,

first for VSE and then for Ranger, ManTech frequently asked Hawkins to attend meetings with

Army contracting officers as a “substitute supervisor.” Hawkins began attending these meetings

in February 2013.

       52.     The presence of unqualified ManTech employees dramatically slowed efficiency

in the repair of MRAP vehicles and distracted the attention of those mechanics and technicians

who were qualified to service MRAP vehicles from their tasks. Unqualified ManTech employees

frequently stopped work on an MRAP because they did not know how to proceed. The typical

remedy for an unqualified employee suspending work was for a qualified technician or mechanic

to be found within the KMSF to resolve the impasse experienced by the unskilled employee. That

qualified technician or mechanic was required to suspend his own work in order to travel to the

workspace of the unqualified technician or mechanic to provide assistance and counsel on how to

proceed. Thus, the sufficiently trained and experienced mechanics were forced to mentor the large

number of unqualified ManTech employees in order for work on the MRAPs to proceed. This



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reduced the efficiency of the work on the Contract and caused the unnecessary accumulation of

labor hours.

       53.     At the meetings with Army contracting officers that he attended, Hawkins

witnessed ManTech managers deliberately lie to the U.S. government contracting officers about

ManTech’s efficiency in servicing the MRAP vehicles. Hawkins knew that the information

ManTech provided to the Army regarding its efficiency was false because he had prior work

experience servicing MRAPs when SAIC was the prime contractor and Hawkins worked for its

subcontractor Ranger Land Systems. Hawkins witnessed ManTech claim, falsely, to the Army

contracting officers, that ManTech was working far more efficiently than Ranger. As a former

Ranger employee, Hawkins knew first-hand that ManTech was operating far less efficiently than

Ranger.

       54.     A significant reason for ManTech working less efficiently than Ranger was that

ManTech hired unqualified personnel to work as mechanics or technicians.

       55.     Hawkins, Sawyer, and Hayes have personal knowledge that ManTech managers

were engaged in a systemic scheme to misrepresent labor hours to the U.S. The misrepresentation

of time took two forms. First, ManTech managers regularly ordered ManTech employees to use

inaccurate labor codes to classify time spent on MRAPS.           Hawkins and Hayes witnessed

employees follow these orders and, in fact, deliberately mischaracterize their hours as instructed.

Second, where ManTech employees did not mischaracterize their time or where ManTech’s need

for time manipulation exceeded the mis-categorization of hours, ManTech managers collected the

timesheets from ManTech personnel and, on information and belief, reduced or added to the hours

reported to the U.S.

       56.     According to Hawkins, who, at the invitation of ManTech management, attended



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management meetings beginning in February 2013 because his experience, when employees

turned in their time sheets to their ManTech managers, the ManTech managers would alter the

record of their labor hours. ManTech managers had predetermined the “appropriate” amount of

direct-hour time that should be spent on a vehicle. If the time actually spent servicing a vehicle

was above the target time, the ManTech managers would either eliminate hours or reclassify the

hours from direct-labor to indirect labor. If the time actually spent servicing a vehicle was below

the target time, the ManTech managers would either reclassify indirect labor hours as direct labor

hours or increase the hours recorded on the timesheet, that were later entered into SAMS-E.

        57.     At one management meeting that Hawkins attended, a Major from the Army

attended. At that meeting, ManTech reported labor hours to the Army Major that it knew were

false in order to demonstrate contract compliance.

        58.     As a result of the manipulation of the time reported by ManTech to the Army and

through oral reports made by ManTech managers in the presence of Hawkins to Army contracting

officers at the meetings attended by Hawkins, Hawkins has direct knowledge that ManTech made

material false statements to the United States in order to ensure payment under the Contract where

some or all of the payments might have been withheld had the government known ManTech’s

inefficiency in performing the Contract, an inefficiency that was created, in large part, by the lack

of qualifications and skills of its new recruits.

        59.     Hayes was the head of his particular “line” of ManTech employees at the KMSF.

        60.     Hayes’s supervisor, Bud Delano, ordered Hayes to misreport his own time and for

Hayes to instruct the men in his line to misreport their labor hours to reduce the number of direct-

labor hours reported to the government. Hayes refused to do so.

        61.     In the face of Hayes’s refusal to order his men to manipulate their reported time,



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Delano visited the line and instructed the Hayes line to falsify the record of the time spent servicing

the MRAPs by using non-direct hour data codes to characterize the direct-hour time spent servicing

the MRAPs.

         62.   After Delano gave this instruction to the men of his line and departed, Hayes

addressed the men under his supervision. Hayes told his men that it was illegal to mis-record the

labor hours reported to the government.

         63.   Bud Delano learned that Hayes had openly contradicted him and had attempted to

contravene his instruction to the line.

         64.   Soon thereafter, Delano replaced Hayes as the head of his line with a man named

Marvin Holt who instructed the line consistent with Bud Delano’s instruction to miscode labor

hours.

         65.   Hayes was demoted and transferred to another line.

         66.   On May 30, 2013, Hayes, Sawyer, Nelson, and Locklear were told to report to the

office of ManTech supervisor John Gaurnieri (“Gaurnieri”). Hayes and the others who were

brought into Gaurnieri’s office were fired for cause by ManTech.

         67.   Gaurnieri told Hayes that he was being fired because Army contracting officers had

told ManTech manager Ret. Colonel John Danks, ManTech’s liaison with the Army, that Hayes

was not meeting minimal expectations for direct hours worked. Hayes immediately protested to

ManTech manager Gaurnieri that any such representation of low direct labor hours was false

because his direct labor hours were consistently high.

         68.   Given that he had consistently reported high direct labor hours yet was being fired

because of the Army’s claim that he lacked sufficient labor hours, Hayes believes and thus alleges

that ManTech managers altered the hours that he had reported. Specifically, in response to his



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refusal to miscode his own labor hours, ManTech managers, on information and belief, reduced

his hours without his knowledge.

       69.     Nelson was also told that he was being fired at the request of the U.S. Army because

the Army had determined that his recorded direct labor hours were too low. However, Nelson

served as part of the KMSF fire suppression team. He did not bill time to specific MRAP vehicles.

If the data that the Army was basing its analysis on was accurate, the Army would have known

that he was recording no direct labor hours not “low” direct labor hours.

       70.     ManTech’s representation that Nelson was being fired because his direct labor

hours were “low” leads Nelson to believe and thus allege that ManTech managers submitted false

time sheets in Nelson’s name to the U.S.

       71.     Locklear was also told that he was being fired at the request of the U.S. Army

because of his low direct labor hours. However, at all times relevant to this allegation, Locklear

worked in the KMSF tool room distributing equipment to men working directly on MRAPs.

Locklear was not reporting any direct labor hours. Thus, the allegation that Locklear’s direct labor

hours were “low” was false because, in truth, Locklear’s direct labor hours were non-existent.

These facts lead Locklear to believe and thus allege that ManTech submitted false time sheets in

his name.

       72.     In March 2013, Sawyer attended a leadership meeting led by ManTech manager

Scott Campbell (“Campbell”). Campbell instructed the assembled group to falsify their labor

hours by mischaracterizing the hours they were working. Sawyer refused to do so.

       73.     Sawyer was also fired for cause on May 30, 2013. He was also told that he was

being fired because of low direct labor hours. However, like Hayes, Locklear and Nelson, Sawyer

knew that any assertion that he was not billing sufficient direct labor hours was a lie as he was



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consistently turning in timesheets reflecting his dedicated, non-stop direct hour labor on the

MRAPs. Thus, Sawyer also alleges that ManTech reported falsified time sheets reflecting

manipulated man hours to the U.S.

       74.     Given the aforementioned facts, Hayes, Locklear, Nelson, and Sawyer believe and

thus allege that ManTech deliberately and effectively prevented the relevant U.S. Army personnel

responsible for the Contract from knowing that ManTech’s time reporting with respect to the

Contract was materially false and inaccurate and, as a result, U.S. Army personnel took important

actions with respect to the Contract that were based on materially false facts.

       75.     The recordation of labor hours is directly related to SAMS-E data reporting. As is

discussed in detail below, each day, ManTech mechanics and technicians were required to fill-out

time sheets to record their time using codes to describe the various tasks undertaken. These time

sheets were collected by ManTech managers at the end of each day. The coded hours were then

entered as data into the SAMS-E system. Thus, if time is misrecorded on a time sheet or it time is

mischaracterized on a time sheet, that time would also be misrecorded or mischaracterized in the

SAMS-E system.

       76.     Upon his summary termination and forced return to the United States, Sawyer

began investigating the grounds for his dismissal. He knew that the representation that he had low

direct labor hours was a lie, and he set out to prove it.

       77.     Sawyer knew that the time reflected from his timesheets would be entered as data

into the Army’s SAMS-E data system.

       78.     From the United States, Sawyer was able to obtain an Excel data file of his hours

as reported to the U.S. by ManTech at the KMSF.

       79.     A sampling of the Excel spreadsheet that Sawyer received confirmed that his hours



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were being falsely reported by ManTech. It reveals that time recorded for certain days was

unreasonably low representing a material difference with respect to the hours he actually worked

on those days. On the other hand, it also revealed that on other days, Sawyer’s SAMS-E recorded

hours were falsely and grossly overreported. By way of illustration, but without limitation,

ManTech recorded into SAMS-E that Sawyer worked 34 hours on December 22, 2011; that on

July 30, 2011, Sawyer worked 25 hours; that on August 24, 2011, Sawyer worked 22.5 hours; that

on September 29, 2011, ManTech reported that Sawyer worked 24.5 hours.

       80.     These time records were fabricated and grossly inflated. Sawyer did not work 34

hours on December 22, 2011; 25 hours on July 30, 2011, 22 hours on August 24, 2011; or 24.5

hours on September 29, 2011. On those days Sawyer worked materially fewer hours.

       81.     Sawyer believes and therefore alleges that ManTech manipulated his labor hours

both by overreporting labor hours and underreporting labor hours to the government. This

misreporting was material in that ManTech submitted claims for payment to the government that

were not accurate which resulted in the U.S. paying ManTech based upon that false information.

       82.     ManTech made certifications to the U.S. by requesting and receiving payments that

were premised on labor hours it was regularly reporting to U.S. By knowingly reporting false and

inaccurate labor hours, ManTech knew it was not in compliance with material and legal

requirements of the Contract; thus, such requests for payment constituted false claims for payment.

       83.     Statutory damages to the U.S. include, but are not limited to, three times the full

value of all such false and/or fraudulent claims.

       84.     Each false and/or fraudulent claim is also subject to a civil fine under the False

Claims Act of five thousand five hundred to eleven thousand dollars ($5,500 - $11,000).

       85.     Defendants are jointly and severally liable for all damages under this Count.



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                                           COUNT II
                               Violations of the False Claims Act
                  False Claims with Respect to the Input of Data into SAMS-E
                   Pursuant to 31 U.S.C. §§ 3729(a)(1)(A) and 3729(a)(1)(B)
                                    Against All Defendants

       86.      The allegations in Paragraphs 1-85 are incorporated in this count by reference as

though fully stated herein.

       87.      ManTech violated the False Claims Act by intentionally and/or recklessly

submitting inaccurate data in the SAMS-E. Those false statements were material to ManTech

being paid by the United States.

                                Accurate SAMS-E Data EntryWas
                                  Material to the United States

       88.      The Contract emphasized, pursuant to regulation, the importance the Army placed

on accurate data. Section 9, Page 8 of 388 incorporated by reference KSCR1-18:

             KSCR1-18 – CONTRACTOR MANPOWER REPORTING (OCT 2011)
             In accordance with AFARS 5137.9601, the requirement to report contractor manpower
             shall be included in all contracts, task/delivery orders and modifications, with place of
             performance in Kuwait.
             CONTRACTOR MANPOWER REPORTING (OCT 2011)
             Contractor Manpower Reporting: The Office of the Assistant Secretary of the Army
             (Manpower & Reserve Affairs) operates and maintains a secure Army data collection
             site where the contractor shall report ALL contractor manpower (including
             subcontractor manpower) required for performance of this contract. The contractor is
             required to completely fill in all the information in the format using the following web
             address https://cmra.army.mil/login.aspx
             The required information includes:
             (1) Contracting Office, Contracting Officer, Administrative Contracting Officer;
             (2) Contract Number;
             (3) Beginning and ending dates covered by reporting period;
             (4) Contractor name, address, phone number, email address, identify of contractor
             employee entering data;
             (5) Estimated direct labor hours (including sub-contractors);
             (6) Estimated direct labor dollars (including sub-contractors);
             (7) Total payments (including sub-contractors);
             (8) Predominant Federal Service Code (FSC) reflecting services provided by
             contractor (and separate predominant FSC for each sub-contractor, if different);
             (9) Estimated data collections cost;

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             (10) Organizational title associated with the Unit Identification Code (UIC) for the
             Army Requiring Activity (the Army Requiring Activity is responsible for providing the
             contractor with its UIC for the purposes of reporting this information);
             (11)        Locations where contractor and subcontractor perform the work (specified
             by zip code in the United States or nearest city, country when in an overseas location,
             using standardized nomenclature provided on website);
             (12)        Presence of deployment or contingency contract language; and
             (13)        Number of contractor and sub-contractor employees deployed in theater
             during this reporting period (by country).

       89.      At approximately the time that the U.S. entered into the Contract with ManTech,

the Army was rolling out a new comprehensive system for tracking the life cycle of critical

hardware: SAMS-E.

       90.      The SAMSE-E system is designed for use by Army mechanics. It is not designed

for use by private contractors. However, tracking the life cycle of mission-critical MRAPs was so

important, so material, to the U.S. that the Army established a SAMS-E data terminal for use at

the KMSF.

       91.      A U.S. Army publication describes how materially important SAMS-E is to the

Department of Defense (“DoD”) and the government. SAMS-E is material because it is the key

maintenance component of the Army’s Logistics Information Technology systems:

       [SAMS-E] provides Warfighters around the world with automated management of
       equipment maintenance on everything from M-16 rifles to aircraft. Soldiers use
       SAMS-E to track asset and equipment life, order parts, interface with related
       logistics systems and much more. SAMS-E users can compile equipment readiness
       reports to provide operational command and control support to Army and Joint
       leadership. The system also enables effective Force and Fleet sustainment
       operations at the national level through consolidated equipment maintenance data.
       (Gay, William, “SEC’s Standard Army Maintenance System-Enhanced ensures
       operational readiness worldwide, July 21, 2011).

       92.      The wide variety of information collected by SAMS-E provides additional evidence

of SAMS-E’s materiality to the government. SAMS-E Master File, RN 750-1s/ACRS 700A/0-6

states, “The SAMS-E system . . . generate[s] hard copy reports . . . of record numbers: Maintenance



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Requests, Preventive maintenance schedules, Equipment inspection and maintenance worksheets,

Historical records or logbooks, Equipment maintenance records, Shop property accounts, Oil

Analysis Records, and Equipment operation permits that are kept at the unit level CFA.” SAMS-

E generates reports of record numbers including maintenance requests, preventive maintenance

schedules, equipment inspection and maintenance worksheets, historical records or logbooks,

equipment maintenance records, shop property accounts, oil analysis records, and equipment

operation permits, among other things.

          93.   The accurate collection of SAMS-E data is material to the U.S. military because the

U.S. military is a data-driven decision-making processes. SAMS-E provides DoD with automated

management of equipment maintenance on a wide range of military equipment. SAMS-E provides

DoD with the ability to track asset and equipment life, order parts, and interface with related

military logistics systems. SAMS-E is materially important to the government because it allows

DoD to compile equipment readiness reports to provide operational command and control support

to military decision-making. SAMS-E is materially important to the government because it

enables DoD to maintain force and fleet sustainment operations through consolidated equipment

maintenance data. It has been described as “the most important automated system to field

maintenance managers.” Army Pamphlet 750-3 UNCLASSIFIED, Maintenance of Supplies and

Equipment Soldiers’ Guide for Field Maintenance Operations (Sept. 18, 2013), § 3-2 (b), “The

Army Maintenance Management System.” See Department of the Army, Pamphlet 750–1,

Maintenance of Supplies and Equipment, Commanders’ Maintenance Handbook Headquarters

Department of the Army Washington, DC (Dec. 4, 2013), pp. 4, 11, 17, 18, 24, 26-29, 34, 37-41,

and 43.

          94.   SAMS-E is materially important to the government as a maintenance management



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tool that assists front line managers with work scheduling and dispatching of government

equipment. Source input is manually input by users and data is transferred from other Logistics

Information System (LIS) via Secure File Transfer Protocol (“SFTP”). Ibid.

       95.     SAMS-E is a materially important for the timeliness, accuracy and reporting of

maintenance data to DoD decision-makers.

       96.     SAMS-E is a materially important maintenance management tool that assists front

line managers with work scheduling and dispatching of government equipment.

       97.     Accurate SAMS-E reporting is a critical instrument for Army and DoD

commanders to assess overall readiness of U.S. military forces. Maintaining accurate SAMS-E

reporting is mission-critical for U.S. military forces engaged in combat, as failure to maintain

accurate reporting can jeopardize the efforts and lives of U.S. troops on the front lines.

       98.     The materiality of this SAMS-E data to the Contract is demonstrated by the rote

fact that, contrary to most other contract jobs, the Army provided, at its own expense, SAMS-E

terminals for use by ManTech so that ManTech could directly input data into SAMS-E on a real-

time basis. If the SAMS-E data had not been of independent importance to the Army, ManTech

would have only been required to provide timesheets for the purpose of compensation. On

information and belief, the reason why the Army took this unusual step because the Army needed

accurate, field-input data in order make assessments on a real-time basis regarding the readiness,

reliability, and availability of MRAPs. Such information was needed to make battlefield decisions

in a manner to enhance effectiveness and minimize casualties from IEDs.

       99.     The time sheets used to report labor hours for contract performance were also used

to collect the data that was inputted into SAMS-E. Specifically, the time sheets included codes for

characterizing increments of time. The coded time data was collected from these time sheets and



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entered into SAMS-E.

       100.   A menu of SAMS-E manhour codes was included in the timesheets used by

ManTech’s employees. A non-exclusive list of such codes included:

               SAMS ID CODES
               01 DIRECT LABOR
               03 SUPERVISION
               04 MAINTENANCE ADMINISTRATION
               05 MAINTENANCE ON INSTALLATION TECHNICAL
               TRAINING
               06 QUALITY INSPECTION
               08 MAINTENANCE MEETINGS
               09 PLANT/ EQUIPMENT OPERATION
               10 CLEANING AND POLICING
               11 VEHICLE OPERATIONS
               12 STOCK CHASING
               17 EQUIPMENT
               20 LAG‐ AWAITING ASSISTANCE
               21 LAG‐ AWAITING EQUIPMENT, TOOLS OR FACILITY
               SPACE
               22 LAG‐ AWAITING TRANSPORTATION
               23 LAG‐WEATHER
               24 LAG‐ AWAITING PARTS
               25 LAG‐BREAK
               35 TDY‐ OTHER
               36 PERSONNEL PROCESSING
               40 COMPENSATORY TIME OFF FOR OVERTIME
               42 LEAVE‐ OFFICIAL
               43 SICK LEAVE‐ CIVILIAN
               44 MEDICAL ABSENCE
               45 PERSONAL AFFAIRS
               47 LWOP
               48 JOB RELATED INJURY
               0 LABOR‐ CLOSED WORK ORDER

                  ManTech Made Knowingly False Entries into SAMS-E

       101.   As described above, ManTech manipulated and falsified the time it reported to the

U.S. for servicing MRAPs under the Contract.

       102.   When, at the instruction of ManTech managers, employees used inaccurate codes


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to describe time serving MRAP vehicles, those inaccurate time codes were then entered into the

SAMS-E data system.

       103.    The false coding of time resulted in false data being entered into SAMS-E. For

example, if the amount of time spent on a particular MRAP was in danger of exceeding that

anticipated direct man hour time, ManTech management instructed its employees to use non-direct

labor codes (such as “12 Stock Chasing” or “17-Equipment”) instead of the Direct Labor Hour

code of 01. Conversely, if the amount of direct labor hours for a particular task order was lagging,

ManTech managers would instruct their employees to enter inflated direct labor hours on their

timesheets.

       104.    When ManTech managers collected time sheets and then, depending on the need,

increased or decreased the time as reported to the U.S., the misrecorded time was then entered into

SAMS-E. This misreported time constituted corrupt, inaccurate data in SAMS-E.

       105.    By polluting SAMS-E with corrupted data, ManTech denied the government all of

the benefits that the government sought from ManTech when it provided ManTech the

multimillion dollar SAMS-E reporting system in the first instance. Thus, not only were the costs

incurred by the U.S. in configuring a SAMS-E system wasted, the entry of corrupted data into

SAMS-E made the Army worse off than if the Army had chosen not to provide ManTech with the

SAMS-E terminal in the first instance. Specifically, had the Army not provided a SAMS-E

terminal to ManTech, the subsequent SAMS-E data analytics would have been known to have

lacked key maintenance and repair datapoints. However, not knowing that the data entered into

the KMSF SAMS-E terminal was corrupt, the Army could not know that its underlying data were

unreliable.

       106.    Based on the aforementioned facts, including their personal observations, Hawkins,



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Sawyer, Hayes, Nelson, and Locklear allege that ManTech intentionally entered falsified the time

data into the Army’s SAMS-E system.

       107.    The damage to the U.S. extends far beyond the direct financial injury inflicted by

the fraud and the servicing of U.S. equipment by a contractor that employed unqualified mechanics

and technicians.

       108.    The U.S. military depends on accurate data to determine readiness for military

action. Readiness includes the availability of weaponry and equipment in the field. Readiness is

gauged by recorded maintenance turn-around times, the reliability of the equipment that has been

deployed, and whether equipment currently being used by our forces is sufficiently reliable to

merit additional purchase (or whether the U.S. would be better served purchasing different, more

reliable equipment).

       109.    False data in this data-driven system pollutes readiness calculations, reliability

assessments, and procurement decisions, and does further damage to the U.S. military.

       110.    ManTech made implicit certifications to the U.S. by requesting and receiving

payments that were premised on compliance with material requirements of the Contract and

applicable Kuwaiti, U.S., and state laws and regulations. By knowingly entering false data,

ManTech knew it was not in compliance with such material and legal requirement; thus, such

requests for payment constituted false claims for payment.

       111.    Statutory damages to the U.S. include, but are not limited to, three times the full

value of all such false and/or fraudulent claims.

       112.    Each false and/or fraudulent claim is also subject to a civil fine under the False

Claims Act of five thousand five hundred to eleven thousand dollars ($5,500 - $11,000).

       113.    Each false data entry into SAMS-E constitutes a separate false claim to the U.S.



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       114.    Defendants are jointly and severally liable for all damages under this Count.

                                        COUNT III
                             Violations of the False Claims Act
                              False Claims with Respect to the
                          Qualifications of ManTech’s Personnel
                  Pursuant to 31 U.S.C. §§ 3729(a)(1)(A) and 3729(a)(1)(B)
                                  Against All Defendants

       115.    The allegations in Paragraphs 1-114 are incorporated in this count by reference as

though fully stated herein.

       116.    ManTech violated the False Claims Act by intentionally and/or recklessly

submitting inaccurate information and certifications to the U.S. regarding the qualifications of the

personnel that it had assigned to work on the critically-important MRAP vehicles.

                      The Qualifications of the ManTech Mechanics
                 Working on the MRAPs were Material to the United States

       117.    The MRAPs were a top priority for the Department of Defense and the Army as

this high-cost vehicle had the design and construction necessary to withstand IED blasts and, thus,

save the lives of thousands of U.S. service men and women.

       118.    The Contract required ManTech to staff the KMSF with mechanics and technicians

who were adequately trained to efficiently and effectively provide MRAP repair and maintenance

services. Solicitation W56HZV-11-R-0181, page 107 of 125.

       119.    ManTech was required to certify that its mechanics were qualified to work on the

MRAP vehicles by either submitting (1) a certification of training from MRAP-U, or (2) a waiver

to MRAP-U training (the MRAP-U certification-training credentials requirement may be waived

for those personnel that have had previous experience with MRAP Vehicle Systems). Solicitation

W56HZV-11-R-0181, page 107 of 125.

       120.    Given the cost of each MRAP, the mechanical stresses that an MRAP are designed



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to withstand (the explosion of an IED), and the lives at stake through the availability of MRAPs

to U.S. service personnel, the qualification of the mechanics working on these vehicles was

material to the U.S. and the Contract.

                      ManTech Made Knowingly False Statements to
                   The U.S. Regarding the Qualifications of its Mechanics

       121.    Relators Hawkins, Hayes, Sawyer, and Locklear have original-source knowledge

that ManTech made false claims to the U.S. about the qualifications of its mechanics –

qualifications that were material to the Contract for the servicing of these $1 million vehicles –

and that ManTech made these false statements knowingly even though ManTech knew its false

statements would result in the input of unreliable and corrupted data into SAMS-E.

       122.    ManTech initially absorbed the existing mechanics and technicians who had been

employed by its predecessor SAIC and its subcontractors. Thereinafter, ManTech embarked on a

recruiting program that was designed to get “boots on the ground” at a low-cost – irrespective of

its material contract obligations to the U.S. to have only qualified mechanics service the MRAPs.

       123.    In order to save money, ManTech passed over qualified mechanics as new hires in

favor of bring a low-skill, low-cost workforce to the KMSF that was unqualified to service the

MRAPs in accordance with the requirements of the Contract.

       124.    The experience of Sawyer exemplified the intentional willingness to ignore lack of

qualification in order to fill job quotas. After ManTech took control of the KMSF, ManTech asked

Sawyer to relocate to Afghanistan to serve as a certified welding inspector. Sawyer repeatedly

informed ManTech that he did not know how to weld and was not qualified to inspect others’

welding.

       125.    Given the combat stresses to which MRAPs are subjected (e.g., IED blasts,

exposure to chemical agents, etc.), the quality of welding is materially important to the servicing

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and maintenance of these vehicles.

          126.   ManTech ignored Sawyer and demanded that he serve as a welding inspector in

Afghanistan. ManTech threatened to fire him if he did not take the job as welding inspector. Still,

he refused.

          127.   After ManTech took over from SAIC and had absorbed the first wave of employees

from SAIC’s subcontractors, ManTech brought unqualified employees to Kuwait to work on the

MRAP contract. Sawyer has personal knowledge of ManTech hires who had been recruited from

the Military Youth Corps, one of whom, Michael Green, was previously a beautician and another

who had been hired from a job at a fast-food restaurant.

          128.   ManTech seemed not to care that these men – and so many of the others who came

to Kuwait after the existing KMSF mechanics had been hired by ManTech – had no pertinent

skills.

          129.   In September 2012, Hawkins learned that ManTech would be taking over the

MRAP contract at the KMSF. He was invited to reapply for his job as a ManTech employee.

          130.   As part of the process of applying for a job as a mechanic with ManTech, Hawkins

was required to take an online test to prove his competence as a mechanic. There existed no ID-

verification or other security to ensure that the person taking the mechanic’s test was the same

person who was applying for the job.

          131.   On information and belief, ManTech hired persons who had engaged third-parties

to take and pass the mechanic competency test. In conversations Hawkins, Hayes, Sawyer, and

Locklear had with new hires, new hires at times admitted that someone else had provided the

answers on their mechanic competency test. This practice was so widespread and the safeguards

against third parties providing answers to this test were so non-existent, that ManTech knew or



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acted with reckless disregard as to the qualifications of new hires.

       132.    As a consequence of the lack of experience of the personnel hired by ManTech, the

MRAP vehicles were frequently returned to the maintenance facility due to their negligent

servicing. The additional time and resources taken by the return of these vehicles to the KMSF

caused economic loss to the United States.

       133.    It was Hawkins’s job to work with and train the new hires. In so doing, he learned

that many of those hired by ManTech had no prior work experience as mechanics. The most recent

job for many of them was working at fast-food restaurants.

       134.    One of the new hires that Hawkins met was hired as a line-supervisor. However,

this new hire did not have any experience as a mechanic. His lack of experience caused

productivity on the line to come almost to a complete halt.

       135.    Locklear has knowledge that ManTech was deliberately hiring new employees who

lacked fundamental knowledge about the job they were hired to do. Locklear had a broad view on

this problem working in the tool room dispensing equipment to ManTech employees at the KMSF.

As an example, a new hire was sent to see Locklear to obtain a half-inch impact wrench. An impact

wrench is a socket wrench, high torque power tool that is routinely used in, inter alia, automotive

repair, heavy equipment maintenance, and product assembly. Any worker qualified to service

MRAPs would and should have an understanding of how an impact wrench operates and is

maintained. In providing the wrench to him, Locklear instructed the man to put a few drops of oil

into it before using it. In response, the “mechanic” asked him where he was to apply the oil. This

lack of fundamental knowledge of such a basic piece of equipment indicated to Locklear that this

man lacked sufficient experience as a mechanic.

       136.    There is pervasive other evidence of the lack of qualification of ManTech’s labor



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force.

         137.   By virtue of the acts and omissions described above, Defendants, by and through

their officers, agents, supervisors, and employees, agreed to make use of, and did make use of, or

caused to be made use of knowingly false statements to get claims paid or approved by the U.S.

Government in violation of 31 U.S.C. § 3729(a)(1)(B).

         138.   Because ManTech’s mechanics and technicians at KMSF lacked the requisite

qualifications, ManTech was not qualified to be a contractor for MRAP service and repair and

could not perform with the requisite efficiency that was a necessary and essential predicate for

award of successive Contract Options.

         139.   Because ManTech’s mechanics and technicians at KMSF lacked the requisite

training, the staff routinely violated the required procedures for MRAP maintenance and repair in

order to conceal their deficiencies, conduct that resulted in significant overbilling and excess and

unnecessary costs being submitted to, and paid by, the U.S. Government.

         140.   The U.S. unambiguously stressed the importance of qualified personnel in the

Solicitation for the Contract. ManTech went to great lengths to disguise the extent of its

unqualified workforce. Had the U.S. known that ManTech had hired, e.g., untrained, unqualified

fast-food workers, beauticians, and youth offenders to come to Kuwait to work on the Army’s life-

saving armored vehicles, the U.S. would have cancelled the Contract and denied ManTech further

payment.

         141.   Not only was the U.S. damaged by unqualified mechanics and technicians working

on mission-critical, expensive, and sophisticated MRAP equipment, but the presence of a cadre of

unqualified technicians and mechanics dramatically slowed efficiency in the repair of MRAP

vehicles and distracted the attention of those mechanics and technicians who were qualified to



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service MRAP vehicles from their tasks. Unqualified technicians and mechanics frequently

stopped work on an MRAP because they did not know how to proceed. The typical remedy for an

unqualified technician or mechanic suspending work was for a qualified technician or mechanic

to be found within the KMSF. He was then required to suspend his own work in order to move to

the workspace of the unqualified technician or mechanic to provide assistance and counsel on how

to proceed. In other words, the large corpus of unqualified technicians and mechanics had to be

mentored by the small number of sufficiently qualified technicians and mechanics. This was part

and parcel of a system that was purposefully set into motion by ManTech to materially reduce the

direct hour efficiency of all the technicians and mechanics working on the Contract, and cause

unnecessary billing to the U.S.

       142.    ManTech made explicit and implicit certifications to the U.S. by requesting and

receiving payments that were premised on compliance with material requirements of the Contract

that required ManTech to ensure that only adequately qualified mechanics serviced the mission-

critical, life-saving, and expensive MRAPs. By knowingly allowing unqualified personnel to

service the MRAPS, ManTech knew it was not in compliance with such material and legal

requirement; thus, such requests for payment constituted false claims for payment.

       143.    Statutory damages to the U.S. include, but are not limited to, three times the full

value of all such false and/or fraudulent claims.

       144.    Each false and/or fraudulent claim is also subject to a civil fine under the False

Claims Act of five thousand five hundred to eleven thousand dollars ($5,500 - $11,000).

       145.    Defendants are jointly and severally liable for all damages under this Count.




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                                           COUNT IV
              Violations of the Trafficking Victims Protection Reauthorization Act
                                      U.S.C. §§ 1581, et seq.

       146.     The allegations in Paragraphs 1-21 are incorporated in this count by reference as

though fully stated herein.

       147.     Plaintiffs bring this count under the Trafficking Victims Protection Reauthorization

Act (“TVPRA”) 18 U.S.C. § 1581, et seq.

       148.     Section 1595 of the TVPRA allows private citizens to bring suit against a

perpetrator who has violated the TVPRA.

       149.     Section 1589(a)(3) of the TVPRA establishes that whoever knowingly provides or

obtains the services of a person by means of the abuse or threatened abuse of law or legal process

shall be punished pursuant to the Act.

       150.     Section 1592 establishes that whoever knowingly conceals, removes, confiscates,

or possesses any actual or purported passport or other immigration document, or any other actual

or purported government identification document, of another person -- in the course of a violation

of section 1589 with intent to violate section 1589; or to prevent or restrict or to attempt to prevent

or restrict, without lawful authority, the person’s liberty to move or travel, in order to maintain the

services of that person, is liable under the TVPRA.

       151.     Section 1593(a) establishes that in in addition to any other civil or criminal penalties

authorized by law, the court shall order restitution for any TVPRA offense.

       152.     Under Section 1593(b)(1), the order of restitution under this section shall direct the

defendant to pay the victim the full amount of the victim’s losses including any costs incurred by

the victim for medical services relating to physical, psychiatric, or psychological care; physical

and occupational therapy or rehabilitation; necessary transportation, temporary housing, and child



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care expenses; lost income; attorneys’ fees, as well as other costs incurred; and any other losses

suffered by the victim as a proximate result of the offense.

       153.     Under Section 1593(b)(1), the order of restitution shall also include the greater of

the gross income or value to the defendant of the victim's services including the offender’s ill-

gotten gains.

       154.     Compliance with Kuwait’s immigration laws was a material requirement of the

Contract. See Count V below. Indeed, in recognition of the fact that such compliance was a

“primary” requirement, in a customized “Addendum” to each of ManTech’s employment contracts

with Plaintiffs, the following is provided:

       Your work area is designated as Kuwait as stated in your offer letter. A primary
       requirement for working in Kuwait involves issuance of a host nation Work Visa
       with sponsorship. To obtain a work visa, you will be required to meet established
       host nation criteria, including a favorable background investigation (this is in addition
       to employment background check and security clearance requirements) and a
       medical examination to determine fitness to work. These requirements may not be
       waived, are not negotiable and may not be substituted using alternate approvals,
       e.g., a current active security clearance does not supersede and cannot be used in
       place of the required host nation background check, nor is a deployment medical
       exam acceptable in lieu of the required medical exam.
On information and belief, ManTech’s employment contracts with the other employees who

worked on the Contract in Kuwait contained similar if not identical provisions.

       155.     Nonetheless, ManTech abused Kuwaiti immigration and labor laws by ordering

Plaintiffs and their colleagues to engage in “visa runs” in which they left Kuwait, flew to and

entered Bahrain, and then immediately turned around and flew back to and entered Kuwait in order

to be issued renewed tourist visas.

       156.     ManTech placed Plaintiffs and their colleagues in fear of arrest for this violation –

which was exacerbated by their fear of being fired by ManTech if they failed to obey ManTech’s

orders, and the harsh economic consequences that would follow as described in the contracts


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signed by Plaintiffs.

         157.   By creating this Hobson’s Choice, and forcing Plaintiffs and their colleagues to

work in fear, without the protection of any country’s laws, ManTech was able to extract their

services at an extremely low rate, underbid its competitors for contract work, and make exorbitant

profits by obtaining illegal payments from the U.S.

                        ManTech Obtained Plaintiffs’ Continued Services
                        Through the Threatened Abuse of Legal Process

         158.   ManTech’s employment contracts recited that employees would be working in

Kuwait legally and that the conditions of employment would be lawful. This representation was

false.

         159.   Once Plaintiffs were in Kuwait, their contracts forced them to remain on the job for

at least two years – even after they discovered that they were in-country illegally and that the

conditions of their employment were unlawful – on pain of payment of substantial financial

penalties for resigning sooner.

         160.   Specifically, Plaintiffs were required to sign employment contracts that committed

them to work for ManTech for twenty-four (24) months. A significant financial penalty was

imposed for early termination. “MRAP-FOV Contract Offer Addendum – SSILOG, Host Nation

Sponsorship & Work Visa- Kuwait (CIVIL ID)” made it clear that ManTech would control the

immigration requirements for its employees to work at the KMSF, incurring substantial costs for

this process. Plaintiffs’ employment contracts stated:

                Due to the significant cost for sponsorship, (up to and exceeding
                $10,000 per person for first year and $5,000 for second year), you
                agree to commit to a minimum period of employment (deployment)
                of 24 months or the completion of the contract whichever comes
                first. Once the process is completed, should you decide to terminate
                employment, or are terminated for any reason, voluntary or
                involuntary, prior to completing 24 months (non-consecutive) of

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              “boots on ground” (BOG) service, you are responsible for costs
              incurred and will be required to reimburse the cost to obtain a work
              visa. In this event, ManTech will make a determination of financial
              obligation based on the current circumstances. Reimbursable costs
              include all expenses related directly and indirectly to the
              sponsorship, including travel, lodging, per diem, medical exam(s),
              background investigation and administration/ administrative fees.
              If terminated, you may also be responsible for employment and
              deployment costs as described in the Offer Addendum, as well as
              costs related to any training or certification process provided to you
              as part of your employment, including employment related expenses
              described in the Offer Addendum.

See Employment Contract Excerpts at Ex. 02 (Emphasis added).

       161.   The ManTech MRAP-FOV Contract Offer Addendum – SSILOG, Host Nation

Sponsorship & Work Visa- Kuwait (CIVIL ID) made clear that if, prior to completing two years

of employment in Kuwait, a ManTech employee either quit or was terminated, he would be

contractually obligated to pay ManTech $15,000.00 as reimbursement for the costs incurred for

sponsorship of that employee in Kuwait.

       162.   In addition, as stated in the “MRAP-FOV Contract Offer Addendum Contract

Mandated Training and Training Certification” portion of that employee’s contract with ManTech:

              In the event that you fail to complete an assigned training course or
              fail to complete an obligated employment period under this contract
              and defined in this offer, you will be required to reimburse prorated
              costs related to the training and certification process. You further
              understand and agree that in the event your employment with
              ManTech is voluntarily terminated or terminated for cause before
              you complete this commitment period, you will be required to
              reimburse training related expenses as defined above on a prorated
              basis (1/12th for each month that your employment term is short of
              the twelve (12) month commitment).

Ibid (emphasis added).

                    ManTech Obtained Plaintiffs’ Services Through an
                     Intentional Abuse Kuwait Law in a Manner that
                      Placed Plaintiffs in Constant Fear of Arrest for
                          Kuwaiti Immigration and Labor Law

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       163.    The Kuwait Private Sector Labor Law (“KPSLL”) mandates that “the replacement

of the expatriate labor force by the national labor force – whenever it can be possible – . . . is one

of the main objectives of the State that should finally be achieved.” Explanatory Memorandum

Law No. (6) of 2010 Concerning Private Sector Labour Law Explanatory Memorandum, pp. 45-

6. Expatriates, such as Plaintiffs, cannot work in Kuwait unless they subject themselves to

Kuwait’s laws. ManTech deliberately and intentionally violated this main objective of the State

of Kuwait.

       164.    Article 10 of the KPSLL states: “The employer is banned to employ foreign labor

force unless they are duly authorized by the Competent Authority to work for him.” ManTech

should have been banned from employing Plaintiffs because, during all times pertinent to this

complaint, Plaintiffs were not duly authorized by any competent authority to work for ManTech

because their presence in Kuwait as ManTech employees was illegal. Further, ManTech engaged

in a pattern of behavior designed to hide from Kuwaiti authorities that its work force of expatriates

had not been authorized to work in the country.

       165.    ManTech and its subcontractor—British company Millbrook—engaged in a

pervasive pattern of deceit and illegality under Kuwait law by assuring Plaintiff and other

ManTech employees that they were engaged in the processes necessary to make their presence

legal when, in fact, ManTech and Millbrook had not engaged in such processes.

       166.    Article 10 further states, “If the worker abandons coming to his work and worked

for another employer, the employer shall be obliged to return the employer back to his home

country, upon registering an absconding notice against the worker by his main sponsor.”

       167.    ManTech abused Kuwaiti law by reporting and threatening to report certain

employees as having absconded from its workplace. Upon the filing of an absconding complaint,

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Kuwaiti authorities would issue an arrest warrant for that person. As Kuwait is a member of the

Gulf Cooperation Council (“GCC”), arrest warrants issued in Kuwait were enforceable by

immigration and law enforcement personnel in United Arab Emirates, Bahrain, Saudi Arabia,

Oman, and Qatar. Once an absconding charge was issued by authorities in Kuwait, Plaintiffs or

other ManTech’s employees who departed from Kuwait without ManTech’s authorization (or who

do not return from an approved leave) would be deemed criminals in these other GCC countries,

denied entry, and/or be subject to arrest.

       168.    The Kuwaiti news media frequently covered the arrest of foreign nationals for

immigration violations and Plaintiffs reasonably believed, based on news reports and from hearing

others recount experiences or observations, that the Kuwaiti authorities were aggressive in

arresting foreigners for immigration violations, especially U.S. citizens. Plaintiffs were acutely

aware of other Americans getting arrested, deported, and placed on a blacklist that barred future

entry into Kuwait (and the other members of the Gulf Cooperation Council). No one wanted to

experience Kuwaiti jails. Plaintiffs knew that some Americans were arrested for criminal activity

were beaten. Plaintiffs lived under constant fear of being arrested.

       169.    ManTech told Plaintiffs that it would be responsible, as their employer, for

obtaining all of the immigration approvals and work permits needed for them to work in Kuwait.

Through such statements, Plaintiffs were led to believe that ManTech would act in accordance

with the law in obtaining the necessary immigration approvals and necessary authorizations for

Plaintiffs to work in Kuwait.

       170.    The issuance of a Resident Visa (frequently and hereinafter referred to as a “Visa

18”) is a pre-condition to working legally in Kuwait. In order to qualify for a Visa 18, expatriates

such as Plaintiffs were required to submit an application to the Kuwaiti authorities, undergo a



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background check (complete with a certified police report verifying that the applicant had not been

subject to a criminal prosecution). If the Visa 18 is approved, it is inserted into the applicant’s

passport. This does not, however, complete the process for obtaining authorization to work legally

in Kuwait. With the Visa 18 in hand, the expatriate must then apply to the Kuwait Ministry of

Labor for a work permit and an work authorization identification card.

       171.    At no time during the relevant period of this complaint did ManTech obtain Visa

18s or work authorizations in Plaintiffs’ names.

       172.    It is impossible to obtain a Visa 18 or an work authorization from the Kuwaiti

government without the active participation of the applicant’s prospective employer.

       173.    Even if it were possible to obtain a Visa 18 individually, ManTech made such

independent action impossible by confiscating Plaintiffs’ passports. Furthermore, confiscation of

Plaintiffs’ passports prevented them from leaving the country at the time of their choosing.

       174.    To conceal the fact that they were employing expatriates in violation of Kuwaiti

law and to create the impression that Plaintiffs had some semblance of authorization to be in

Kuwait, ManTech further abused Kuwaiti immigration law by demanding that Plaintiffs and all of

their colleagues at the KMSF engage in what were known as “visa runs” or “turn and burns.”

       175.    ManTech, through close coordination between its human resources personnel in the

United States and its managers at the KMSF regularly scheduled “visa runs” to send complete lines

of mechanics to Bahrain and back for the purpose of obtaining fresh “tourist” visa stamps in their

passports.

       176.    The process was regular and systematic. Human resource personnel in the United

States would alert ManTech’s KMSF managers to the approaching six-month anniversary of a

particular employee’s entry into Kuwait. The KMSF managers would then order groups of



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ManTech employees who anniversaries were approaching to engage in a “visa run.” These groups

ranged in size from five to twelve men at a time. Initially, they were required to execute visa runs

on Sunday, their only day off of work. This changed for reasons that are discussed below. The

employees ordered to engage in a “visa run” were told to meet at approximately 5:00 a.m. at a

rendezvous point, typically in front of their living quarters. There they would be picked up by a

ManTech bus. The bus would take these men to the Kuwait International Airport where they

would be met by employees of Millbrook. The Millbrook employees would give each of the men

their passports and provide plane tickets to Bahrain. This group of men would then exit through

Kuwaiti immigration control (obtaining an “exit” stamp), fly to Bahrain, pass through Bahraini

immigration control (obtaining an “entry” stamp), turn around to pass back through Bahraini

immigration control (obtaining an “exit” stamp), board a plane back to the Kuwait International

Airport (frequently the same plane that had brought them to Bahrain), and pass back through

Kuwaiti immigration control where they would obtain the all-important six-month tourist visa

stamp. When exiting the airport, the group of ManTech employees would be met by Millbrook

employees who would reconfiscate their passports from them, and then the ManTech employees

would get onto a bus back to their apartments in time to sleep and get up for work the next day.

       177.    Plaintiffs can confirm this systematic, coordinated, ritualized scheme employed by

ManTech to abuse Kuwait’s immigration laws.

       178.    Prior to working for ManTech, Hawkins worked for VSE Corporation (“VSE”) and

Ranger Land Systems at the KMSF.

       179.    Both of these companies applied for and obtained Visa 18s for Hawkins to meet the

legal requirements for Hawkins to work for them in Kuwait.

       180.    On or about September 18, 2012, Hawkins became an employee of ManTech.



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Unlike VSE and Ranger, ManTech did not complete any paperwork necessary for Hawkins to

receive a Visa 18 from the Kuwaiti Government.

       181.    At ManTech’s instruction, Hawkins left Kuwait to participate in ManTech’s new-

employee training in the U.S. When Hawkins’s new-employee training ended, Hawkins returned

to Kuwait to continue his work on the MRAPs at the KMSF. Upon his arrival at the Kuwait

International Airport, ManTech transported him to Camp Ali Al-Salem, the transit point for

Americans arriving in Kuwait. After a day at Camp Ali Al-Salem, ManTech transported him back

to the Kuwait International Airport to have his passport stamped with a tourist visa. After it was

stamped with a tourist visa, ManTech confiscated Hawkins’ passport.

       182.    During his entire experience working for ManTech at the KMSF, Hawkins

repeatedly reminded ManTech management that he needed to have a Visa 18 in order to work

legally in Kuwait. The managers he spoke with about it repeated the same line, “we’re working on

it,” so frequently that Hawkins began to think that ManTech had not even started the Visa 18

application process.

       183.    Hawkins saw no evidence that Millbrook was qualified to serve as a Kuwait

“sponsor” (not being a Kuwaiti company) or evidence that Millbrook even attempted to obtain a

Visa 18 on his behalf. It had not even requested from him the information that was required to

apply for a Visa 18 (the information that he had provided to VSE and Ranger).

       184.    Despite Hawkins telling ManTech’s management directly that he needed a Visa 18

to work legally in Kuwait, ManTech’s management ignored him, and repeatedly ordered Hawkins

to execute “visa runs.”

       185.    On one such ManTech-ordered “visa run,” Hawkins left Kuwait for Bahrain on

December 23, 2012. Though Hawkins exited Bahraini immigration control upon his arrival, he



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was not permitted to reenter Bahraini immigration control when he turned around to board a plane

back to Kuwait. He was barred from passing through Bahraini immigration because of a “hold”

that had been placed on his passport barring him from reentering Kuwait. Hawkins did not know

why a “hold” was placed on his passport barring him from reentry into Kuwait. Hawkins called

ManTech managers in Kuwait to report his detention and request their assistance but they refused.

Hawkins requested that ManTech make inquiries with Kuwaiti authorities about why a hold was

placed on his reentry. They refused.

       186.    Having traveled to Bahrain with essentially only the clothes on his back (Hawkins

had anticipated completing his “visa run” in the course of a single day), he was trapped for three

weeks, with no assistance from ManTech.

       187.    Abandoned by ManTech in Bahrain, Hawkins had to rely on his own resources to

discover why a hold had been placed on his passport. At his own expense, he hired a Kuwaiti

attorney to make inquiries with Kuwaiti government authorities. These inquiries revealed that

German immigration authorities had placed a “hold” on Hawkins’s passport because his consent

was needed to allow his child to move from Germany to take residence in the Philippines. Once

the alert had been placed on his passport, Kuwaiti authorities were on notice that Hawkins might

have illegally brought a child into Kuwait. Kuwait needed a statement from Hawkins that

established that his child had not been living illegally in Kuwait and had his permission to move

to live in The Philippines with her mother.

       188.    Hawkins gave his Kuwaiti attorney the power of attorney necessary to submit a

statement to German immigration authorities giving his daughter permission to travel to and take

residence in The Philippines and a statement to Kuwaiti authorities providing assurance that he

had not brought his child into Kuwait with him.



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       189.    As soon as these statements were provided, Hawkins was allowed to pass through

Bahraini immigration and reenter Kuwait.

       190.    Had ManTech applied for a Visa 18 in his name in the ordinary course of business,

Hawkins would have been informed of the hold that had been placed on his passport. He could

have addressed the issue with the appropriate authorities in the ordinary course of business rather

than being trapped in Bahrain for three weeks.

       191.    Given what he has learned about ManTech’s immigration practices since this event,

Hawkins believes and thus alleges that ManTech provided no assistance to him and made no

inquiries with Kuwaiti immigration authorities because to do so risked such Kuwaiti authorities

discovering that ManTech was systemically trafficking its full-time mechanic and technician

workforce into Kuwait on tourist visas.

       192.    Upon returning to Kuwait, Hawkins learned that, to explain Hawkins’s detention to

other ManTech employees, ManTech propagated false information about him. Such information

included false statements that Hawkins had been arrested for committing a crime, that his inability

to reenter was the consequence of a contentious divorce proceeding, and that he was behind on

child-support payments.

       193.    At ManTech’s direction, Hawkins executed another “visa run” on March 27, 2013,

whereby he met Millbrook agents at the Kuwait International Airport in the early morning hours

in order to obtain his passport, passed through Kuwait exit immigration control, flew to Bahrain,

passed through Bahraini entry immigration control, passed through Bahraini exit immigration

control, flew back to Kuwait where his passport was stamped with another six-month tourist visa,

met the Millbrook personnel as he exited the airport to surrender his passport, and returned to his

living quarters.



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           194.   The same pattern was repeated on May 5, 2013.        Each time this happened

Hawkins’s dual fears were exacerbated: He was afraid of being arrested for violating Kuwait’s

labor laws, and deported and barred from ever returning to Kuwait, and he was equally afraid of

being fired and suffering the dire economic consequence of ending his employment with ManTech

prior to the expiration of the required twenty-four months in Kuwait. Such termination would

cause financial to Hawkins and his family from the loss of income, the applicable contractual

penalty, and the difficulty he could face in obtaining employment after being fired.

           195.   Because he lacked a Visa 18 and was not in possession of his own passport,

Hawkins lived in fear of arrest. Hawkins was aware that foreign nationals were subject to arrest

and mistreatment by Kuwaiti authorities for violating its immigration laws.            Hawkins was

particularly fearful that the Kuwait law enforcement authorities would spot-check the ManTech

worksite for immigration compliance. The ManTech workforce constantly talked about and lived

in fear of mass arrest.

           196.   Prior to working for ManTech, Hayes worked for subcontractors VSE and Ranger

when SAIC was the prime contractor on MRAP maintenance and repair.

           197.   VSE and Ranger obtained a Visa 18 for Hayes to ensure that he could work there

legally.

           198.   When SAIC was replaced by ManTech as the prime contractor, Ranger was

terminated, and Ranger, in turn, terminated Hayes’s Visa 18.

           199.   Acting on ManTech’s invitation to SAIC’s subcontract employees to reapply for

their jobs, Hayes did so and was successful. At ManTech’s instruction, Hayes returned to the

United States for training.

           200.   When Hayes’s training ended, he returned to Kuwait at ManTech’s instruction to



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continue to work on MRAPs at the KMSF.

        201.   Unlike his predecessor employers VSE and Ranger, ManTech never obtained a

Visa 18 for Hayes. Instead, ManTech instructed him to engage in repeated “visa runs” to Bahrain

to have his tourist visa repeatedly renewed.

        202.   Hayes, in the company of approximately five to eight other ManTech employees,

embarked, as ordered by ManTech manager Bud Delano, on a “visa run” on or about February 5,

2013.

        203.   In the spring of 2013, Hayes informed his ManTech managers that his tourist visa

had expired. ManTech took no action, even though he was now in the country illegally. When he

voiced his concern that he could be arrested and deported, ManTech instructed him that if he was

concerned that he would be arrested he should confine himself to his apartment when he was not

working.

        204.   Just prior to May 16, 2013, ManTech again ordered Hayes to embark on another

“visa run,” following the same procedure as before.

        205.   Prior to working for ManTech, Sawyer was employed by VSE which was a

subcontractor to ManTech’s predecessor SAIC on the MRAP contract.

        206.   While employed by VSE, Sawyer had a Visa 18 that VSE had obtained for him

through its Kuwaiti sponsor.

        207.   When ManTech took over the contract, ManTech invited employees of SAIC’s

subcontractors to reapply for their prior jobs. Sawyer did so.

        208.   ManTech did not prepare any of the paperwork that VSE had prepared for Sawyer

for obtaining a Visa 18.

        209.   Sawyer surrendered his passport to ManTech because ManTech told him it needed



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his passport to apply for a Visa 18 in his name.

       210.     Though Sawyer could cancel his VSE Visa 18 on his own, he could not obtain a

new Visa 18 in the name of ManTech on his own. He required the involvement and cooperation

of his new employer, ManTech. At the start of his employment with ManTech and at each

opportunity that arose to discuss his immigration status, Sawyer repeatedly told ManTech that it

had to apply for and obtain a Visa 18 in his name.

       211.     Sawyer asked ManTech when he would get his Visa 18. ManTech was non-

committal. ManTech told him that obtaining visas for him and his fellow employees was not a

priority for the company. This was evident to Sawyer because ManTech had no process in place

and no personnel in place to obtain Visa 18s.

       212.     On March 30, 2013, ManTech instructed Sawyer, still without a Visa 18, to execute

a “visa run.”

       213.     Sawyer told his ManTech managers that he and his fellow employees were at risk

of arrest for doing a “visa run.” ManTech ignored this warning and ordered Sawyer and the others

in the group to proceed with the one-day “turn and burn” as scheduled or be fired.

       214.     Sawyer and the others were subject to arrest for not remaining outside of Kuwait

for a minimum 72-hours prior to reentry, as required under Kuwaiti law. However, they were

under orders from ManTech to return immediately so that they could get back to work at the KMSF

immediately and were forced to risk arrest in order to report for work at the time demanded by

ManTech.

       215.     From November 22, 2012 to May 30, 2013, Sawyer worked in Kuwait without a

Visa 18.

       216.     ManTech never obtained a Visa 18 for Locklear despite confiscating and holding



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his passport. ManTech never processed the paperwork that his previous Kuwait-based employer

ITT had processed when ITT applied for and received a Visa 18 for Locklear.

        217.     Instead of obtaining a Visa 18 for him, ManTech repeatedly ordered Locklear to

engage in “visa runs.”

        218.     Nelson left for Kuwait on November 9, 2012, after completion of U.S. training.

ManTech did not provide him with any information about the requirements for working legally in

Kuwait. ManTech did not, for example, tell Nelson that it was illegal to work in Kuwait when in-

country only on a tourist visa.

        219.     Upon Nelson’s arrival in Kuwait, ManTech confiscated his passport.

        220.     ManTech never obtained a Visa 18 for Nelson, a prerequisite for Nelson to work

legally there.

        221.     The flight that transported Nelson to Kuwait carried approximately twenty other

new ManTech employees. To his knowledge, none of them knew that it would be illegal for them

to work in Kuwait without a Visa 18.

        222.     Once he was in Kuwait, Nelson met Americans who were employed by ITT and

General Dynamics. Nelson learned from these Americans that expatriates, such as he, could work

in Kuwait only if they had a Visa 18. His friends at those companies had all obtained Visa 18s

before going to Kuwait.

        223.     Nelson lived in fear that he would be arrested and deported. Particularly unnerving

was the fact that, because he had no passport, he lacked the ability to immediately prove his U.S.

citizenship in a time of crisis. Thus, in that event, he not only lacked the legal authority to be in

Kuwait, he also lacked the ability to take shelter, as a U.S. citizen, on a U.S. military facility.

        224.     On or about April 28, 2013, ManTech management ordered Nelson and a group of



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other ManTech employees whose temporary visas were about to expire to execute a “visa run.”

                   ManTech Obtained Plaintiffs’ Continued Services
                Because of the Power it had to Report Them as Having
         “Absconded” Under Kuwaiti Law – a Charge that Would have Subjected
                   Them to Arrest in All of the Countries Part of the
                              Gulf Cooperation Council

       225.    ManTech held additional power over Plaintiffs and their coworkers. If any Kuwait-

based employee of ManTech failed to report to work, ManTech could report to the Kuwaiti

authorities that such employee had “absconded” from the workplace, a criminal violation in

Kuwait. Upon the filing of such charges, Kuwaiti authorities would issue an arrest warrant for that

person. As Kuwait is a member of the Gulf Cooperation Council (“GCC”), arrest warrants issued

by Kuwait would be enforced by immigration and law enforcement personnel in the United Arab

Emirates, Bahrain, Saudi Arabia, Oman, and Qatar. Once an absconding charge was issued by

authorities in Kuwait, Plaintiffs or other ManTech’s employees who departed from Kuwait without

ManTech’s authorization (or who do not return from an approved leave) would be deemed

criminals in these other GCC countries, denied entry, and/or be subject to arrest. Plaintiffs knew

that leaving ManTech, leaving the KMSF without the approval of ManTech, or failing to return to

the KMSF from a “visa run” or any other reason would result in an absconding charge being filed

against them and an arrest warrant being issued for them, and an entry ban being declared by all

GCC members.

                    Plaintiffs Were Damaged by Violations of the TVPRA

                     Plaintiffs were Denied the Protection of U.S. Law and
                        Were Exposed to Illegal Levels of Toxic Poison

       226.    ManTech used intimidation and coercion to keep its employees in constant fear of

being terminated and deported. The work conditions were horrific. The air was putrid and thick

with suffocating smoke and fumes from a variety of sources.

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       227.     The Army’s MRAPs are coated with Chemical Agent Resistant Coating (“CARC

paint”). CARC paint is a coating system routinely used on military vehicles to make metal surfaces

highly resistant to corrosion and penetration of chemical agents encountered in chemical weapons

attacks.

       228.     CARC paint contains isocyanate (HDI). 2 The CDC identifies the following about

HDI:

       Isocyanates are a family of highly reactive, low molecular weight chemicals. They are
       widely used in the manufacture of flexible and rigid foams, fibers, coatings such as paints
       and varnishes, and elastomers, and are increasingly used in the automobile industry,
       autobody repair, and building insulation materials. Spray-on polyurethane products
       containing isocyanates have been developed for a wide range of retail, commercial, and
       industrial uses to protect cement, wood, fiberglass, steel and aluminum, including
       protective coatings for truck beds, trailers, boats, foundations, and decks.
       Isocyanates are powerful irritants to the mucous membranes of the eyes and gastrointestinal
       and respiratory tracts. Direct skin contact can also cause marked inflammation. Isocyanates
       can also sensitize workers, making them subject to severe asthma attacks if they are
       exposed again. There is evidence that both respiratory and dermal exposures can lead to
       sensitization. Death from severe asthma in some sensitized subjects has been reported.
       Workers potentially exposed to isocyanates who experience persistent or recurring eye
       irritation, nasal congestion, dry or sore throat, cold-like symptoms, cough, shortness of
       breath, wheezing, or chest tightness should see a physician knowledgeable in work-related
       health problems.
       Preventing exposure to isocyanates is a critical step in eliminating the health hazard.
       Engineering controls such as closed systems and ventilation should be the principal method
       for minimizing isocyanate exposure in the workplace. Other controls, such as worker
       isolation and use of personal protective equipment such as respirators and personal
       protective clothing to prevent dermal exposures may also be necessary. Early recognition
       of sensitization and prompt and strict elimination of exposures is essential to reduce the
       risk of long-term or permanent respiratory problems for workers who have become
       sensitized. 3
       229.     Isocyanate/HDI is highly irritating to skin and the respiratory system. Heavy


2
  Chemical Agent Resistant Coating (CARC) Technical Data Sheet, available at
http://integument.com/wp-content/uploads/CARC_TechnicalDataSheet.pdf (last visited May 21,
2018).
3
  The National Institute for Occupational Safety and Health (NIOSH), “Isocynantes,” available at
https://www.cdc.gov/niosh/topics/isocyanates/default.html (last visited May 21, 2018).
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exposure to it can lead to itching and reddening skin, burning sensations in the nose and throat,

and watering of the eyes. With extreme exposure, HDI can cause a cough, shortness of breath, pain

during respiration, increased sputum production, and tightening of the chest.

        230.       Additionally, inhaling high concentrations of solvents contained in CARC can

cause coughing, shortness of breath, watery eyes, and respiratory problems, including asthma.

        231.       During the drying process, CARC can also release toluene diisocynate (“TDI”).

Burning, grinding or welding CARC paint also releases TDI.

        232.       Exposure to HDI and TDI can result in a multitude of adverse health effects. The

adverse health effects of TDI exposure include acute airway irritation and sensitization

("isocyanate asthma"). Exposure to TDI can also cause kidney damage.

        233.       Occupational asthma related to isocyanate exposure can develop in individuals with

no prior history of asthma and can sometimes be followed by more generalized hyperreactivity to

other irritants.

        234.       Occupational safety best practices thus dictate that CARC-coated materials should

never be cut or welded, and CARC-coated materials should not be grinded or sanded without high-

efficiency air purifying respirators in use.

        235.       Given the serious health hazards associated with working with CARC paint, it was

and is incumbent upon ManTech to provide workers with suitable and safe work conditions in

which workers can avoid the risk of being exposed to or inhaling CARC fumes, particles, or other

by-products.

        236.       As an Army contractor, ManTech was obligated to follow Department of Defense

and Army legal mandates with respect to servicing CARC coated vehicles.

        237.       U.S. Army Technical Bulletin 43-0242, WD CARC Spot Painting, Department of



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the Army, 3 Dec 2007, asserts bluntly at 7-1: “Welding is Out. Never weld or use a cutting torch

on CARC – or WD CARC-painted material. Welding or cutting painted surfaces releases toxic

gases, vapors and metal fumes.”

        238.    Compared with their experience working at the KMSF for SAIC and its

subcontractors Ranger and VSE, Hawkins, Hayes, Sawyer, and Locklear experienced a dramatic

deterioration in the environmental conditions at the KMSF after ManTech took the contract from

SAIC.

        239.    When the KMSF was administered by SAIC, the air was frequently tested and

changes implemented when air quality measurements indicated dangerous conditions. However,

under ManTech, such air quality tests were terminated.

        240.    Under ManTech, the air at the KMSF was polluted with the smoke of burning

CARC paint caused by arc-welding of MRAP vehicles, grinding of CARC paint and metal by

sanders, the release of fossil fuels from engine exhaust, fumes released from petroleum products,

and other toxins released by the employees’ abrasive work on the MRAP vehicles.

        241.    When ManTech controlled the KMSF, the air became dramatically worse than

when it was controlled by SAIC because ManTech stopped running ventilation fans designed to

remove toxic smoke and fumes caused by the welding and grinding of MRAP surfaces. ManTech

told Plaintiffs that it was obligated to stop these ventilator fans because they were making too

much noise and endangered Plaintiffs’ hearing. Yet, when SAIC ran the KMSF, the mechanics

and support personnel were all equipped with over-the-ear noise protectors to safeguard their

hearing from the noise within the KMSF including the ventilators. ManTech provided no such ear

protection.    ManTech’s suggestion that it could not maintain adequate ventilation and run

ventilator fans without jeopardizing workers’ hearing was disingenuous. Had ManTech been



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genuinely concerned about the risk posed to Plaintiffs’ hearing, it would have provided such over-

the-ear noise protectors and been able to run the ventilators at the same time.

       242.    ManTech ignored Plaintiffs and other ManTech employees’ frequent and repeated

complaints about the thick, caustic, smoke that gathered within the facility. Each day, an ever-

increasing black cloud of toxic smoke filled with caustic chemicals gathered within the KMSF

because the ventilators had been turned off. Locklear and his fellow employees were forced to go

out into the searing heat during breaks simply to get fresh air.

       243.    In response to the complaints about the poor air quality and in rejecting requests to

restart the ventilator fans, ManTech instructed its employees to keep the bays doors of the

warehouse open. However, this was not a realistic solution as the outside temperature in Kuwait

was frequently 120 degrees Fahrenheit.

       244.    Another significant difference in the health and safety conditions at the KMSF

between when SAIC administered the MRAP contract and when ManTech held the contract was

the availability of respirators. When SAIC held the MRAP contract, it issued respirators to the

workforce to protect against the CARC/toxic fumes and particulate debris being released into the

air. Despite many requests from Plaintiffs and other employees at the KMSF, ManTech refused

to provide respirators and even refused to provide fresh, clean filters for use with the respirators

that had been held-over from the time that SAIC was in charge of the facility.

       245.    When Plaintiffs and other ManTech employees complained about the lack of

respirators to filter the smoke-filled air, ManTech threatened to fire them. In fear of suffering the

dire economic consequence of ending his employment with ManTech prior to the expiration of the

required twenty-four months in Kuwait, the financial loss that would be realized by Plaintiffs and

their families from the loss of income (and the applicable penalty), and the difficulty they might



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face in obtaining employment after being terminated by ManTech, Plaintiffs were coerced into

silence regarding their working conditions.

        246.    In sum, the smoke-filled work areas at the ManTech facility had little or no

ventilation, and as a result, the working conditions for Plaintiffs and the other mechanics were

horrific. Smoke and particulate matter were discharged from multiple sources, including arc-

welding of CARC paint-coated MRAP vehicle bodies, exhaust from running vehicle engines, dust

from the grinding down of CARC paint and metallic parts, and other sources of toxicity. Toward

the end of each work day, smoke filled the work area so densely that Plaintiffs could not see from

one side of the facility to the other.

        247.    Plaintiffs and other ManTech employees experienced immediate and long-term ill-

health effects from their exposure to toxic pollution at the KMSF that continue to this day. All

Plaintiffs experienced headaches, respiratory distress, sinus congestion, mucus expectoration, and

burning in their eyes and throat during the time that they worked at the KMSF. Some Plaintiffs

experienced chronic, daily nose-bleeds as a consequence of working in the KMSF during

ManTech’s control of the facility.

        248.    Plaintiffs and other former ManTech employees continue to experience chronic

respiratory and sinus illness since working at the KMSF when ManTech controlled the facility.

Furthermore, Plaintiffs and other workers may experience other more serious ailments that are

associated with long-term exposure to CARC and CARC solvents.

        249.    Plaintiffs did not want to work under the inhumane and arduous conditions to which

they were subjected by ManTech, but reasonably believed that they had no choice, due to

ManTech’s control over their lives, as manifested, inter alia, by ManTech’s confiscation of their

passports, ManTech’s refusal to obtain legal authorization (Visa 18, employment authorization,



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and Ministry of Labor identifications) necessary for them to live without constant fear of arrest,

the power that ManTech had to report them to Kuwaiti authorities as having “absconded” if they

did not report to work, and ManTech’s threat of severe financial penalties were Plaintiffs to leave

their employment prior to the expiration of the twenty-four months required of their contract.

                 Plaintiffs Were Damaged by ManTech’s TVPRA Violations by
                                  Being Victims of Wage Theft

       250.    KPSLL Article 64 of the State of Kuwait Labor Law states: “it is forbidden to allow

workers to work for more than 48 hours per week or 8 hours a day, except in such events as are

specified in this Law.” Moreover, “[w]orking hours during the holy month of Ramadan shall be

equal to 36 hours per week.” Id.

       251.    KPSLL Article 66 provides when a laborer is required to work in excess of forty-

eight (48) hours per week, the laborer has the “right to obtain a wage against the overtime hours

in a rate which is more than his ordinary rate in a similar period by 25%.” The KPSLL makes

clear that, “[t]he additional working hours shall not be more than two hours per day and in a

maximum number of one hundred eighty (180) hours per year. Also, the additional work periods

shall not exceed three days a week and ninety days per year.” Id.

       252.    Per KPSLL Article 68, “The official holidays granted to a laborer with full pay are:

a) Hijiri New Year Day - One day; b) Ascension (lsra & Miraj) Day -One day; c) Eid Al Fitr

(Lesser Bairam) -Three days; d) Waqfat Arafat Day - One day; e) Eid Al Adha Greater Bairam -

Three days; f) Prophet Birthday - One day; g) National Day (25th February) - One day; h)

Liberation Day (26th February) - One day; i) New Gregorian Year - One day.” Further, Article

68 states, “If the work circumstances require keeping any laborer in work on any of the official

holidays, he shall be paid a double wage together with an alternative compensation day.” Plaintiffs

were further damaged by ManTech by being the victims of wage theft.

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       253.     Had Plaintiffs Sawyer, Hayes, Locklear, Nelson, and Hawkins worked legally in

Kuwait, as required under the Kuwait Private Sector Labor Law and consistent with the

requirements of Kuwait’s immigration laws and the necessity of a Visa 18, they would have been

entitled to the overtime wages and other benefits mandated by the laws of Kuwait.

       254.     During the time they were employed by ManTech, Plaintiffs’ average day consisted

of waking up 4:00 a.m. to be picked up by a ManTech bus from the ManTech-provided apartment

at 5:00 a.m. The ManTech work facility was approximately an hour drive away. After signing in

at the KMSF, Plaintiffs started work at 7:00 a.m. Plaintiffs were provided a fifteen-minute break

at 9:15 a.m. Plaintiffs were provided a one-hour break from 11:30-12:30 – a time that Plaintiffs

and most employees would try to venture outside of the KMSF facility in order to obtain fresh air.

Frequently, however, the outside desert conditions were too severe to venture outside, and

Plaintiffs were forced to take their lunch break within the toxic fume/smoke-filled FMSF facility.

Nonetheless, at times the interior pollution was so painful and suffocating that Plaintiffs ventured

into the blistering heat just to breathe somewhat normally. Plaintiffs were provided another

fifteen-minute break at 3:00 p.m. Their work day ended at 6:00 p.m. After checking out and

boarding the ManTech bus back to their ManTech-provided apartment, Plaintiffs were in their own

living quarters at 7:30 p.m. They had virtually no personal freedom except to work, shower, relieve

themselves, and go to bed to be ready to rise again at 4:00 a.m. Plaintiffs were provided one day

off per week.

       255.     Plaintiffs worked 72 hours a week in Kuwait-- 24 hours beyond the Kuwaiti

maximum of 48 hours per week (and 32 hours beyond the maximum established by the United

States Fair Labor Standards Act, which did not cover them in Kuwait).

       256.     By forcing Plaintiffs to work without the protection of any country’s laws,



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ManTech engaged in flagrant wage theft. By way of example, Hayes worked 23 weeks in Kuwait

at a rate of $19.67 per hour, and 7 weeks at $19.98 per hour. Under the Kuwait Private Sector

Labor Law, ManTech owes him approximately $2,714.46 (24 hours x 23 weeks x 19.67 per hour

x .25 (additional overtime rate)); plus $839.16 (24 x 7 x 19.98 x .25, or $209.79) for an estimated

total overtime compensation of $3,553.62. Under U.S. law, ManTech owed Hayes approximately

$7,338.56 (calculated as 32 hours x 23 weeks x 19.67 per hour x .50 (additional overtime rate));

plus $2,237.76 (32 hours x 7 weeks x 19.98 x .50) for an estimated total compensation of working

overtime of $9,576.02.

       257.    By way of example, Locklear worked 26 weeks in Kuwait. He was also required

to work a 72-hour work week. Using his pay of $19.56 as the rate to calculate his missing overtime

wages, Locklear was entitled to additional pay at the Kuwaiti rate of 24 hours x $19.56 x .25 x 26

weeks, or $3,051.36. At a rate compensable under U.S. law, Locklear was entitled to 32 hours x

$19.56 x .50 x 26 weeks or $3,976.02.

       258.    By way of example, during his 1st week in Kuwait, Nelson worked 80 hours.

Accordingly, for the overtime worked that week, under the Kuwait Private Sector Labor Law,

Nelson was owed $144.00 ($16.00 x .25 x 36 hours) (under the Fair Labor Standards Act, he would

have been paid $320.00 ($16.00 x .50 x 40 hours)). During his 2nd week of work in Kuwait,

Nelson worked 60 hours. Under Kuwaiti law he was owed $112.00 ($16.00 x .25. x 28 hours)

(under the Fair Labor Standards Act, he would have been owed $256.00 ($16.00 x .50 x 32 hours)).

During the 3rd-12th weeks of his work in Kuwait, Nelson was required to work 72 hours each

week. Under Kuwaiti law, he was owed $1,120.00 ($16.00 x .25 x 28 hours x 10 weeks) (under

U.S. law, $2,560.00 ($16.00 x .50 x 32 hours x 10 weeks)). In addition, in weeks 16 through 20

Nelson was forced to work 72 hours each week. Under Kuwaiti law, he was owed $448.00 ($16.00



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x .25 x 28 hours x 4 weeks) (under U.S. law, $1,024.00 ($16.00 x .50 x 32 hours x 4 weeks)). In

week 21, Mr. Nelson’s pay was raised to $16.26 per hour. Yet he was still required to work 72

hours for weeks 21 through week 28. Thus, under Kuwaiti law he is owed $796.74 (16.26 x .25 x

28 hours x 7 weeks) (under U.S. law he is owed $1,821.12 ($16.26 x .5 x 32 hours x 7 weeks)). In

week 29, Nelson was required to work 64 hours. Under Kuwaiti law he was owed $112.00 ($16.26

x .25 x 20 hours) (under U.S. law $195.12 ($16.26 x .50 x 24 hours)).

       259.    Through ManTech’s abuse, Plaintiffs lacked the protection of any country’s laws.

They were entitled to the protections of some nation’s wage and hour laws yet having left the

United States, they were not longer covered by the McNamara-O’Hara Service Contract Act which

was generally applicable to the Contract. The Contract, pp. 53, 339, 345, 388. Yet, having brought

Plaintiffs into Kuwait illegally and without the recognition and rights afforded to them as residents

of Kuwait, Plaintiffs were denied any rights under the Kuwait Private Sector Labor Law. Thus,

Plaintiffs were denied the compensation and benefits of U.S. law and Kuwait law, both.

       260.    Plaintiffs could not advocate for their rights to fair wages because they lived in fear

of arrest for lack of U.S. passports, proper immigration papers, and a proper work authorization.

Plaintiffs were acutely aware of the fate of Americans who, when arrested by Kuwaiti police for

immigration violations, were forced into shared, overcrowded jail cells; with inadequate food; poor

sanitation; and physical, verbal, and psychological abuse. Moreover, Plaintiffs knew that, if

arrested, they would be subject to summary deportation, and a consequent life-time ban on

reentering Kuwait or any other Gulf-Cooperation Council country. Plaintiffs also feared the

consequences of being fired by ManTech, including the financial penalty for termination prior to

completing 24-months of service.

       261.    Pursuant to 18 U.S.C. §1593(a), the Court shall enter an order of restitution for each



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and all of the TVPRA offenses described above.

       262.     Pursuant to 18 U.S.C. §1593(b)(1), such an order of restitution shall direct the

Defendant to pay the victim the full amount of the victim’s losses including any costs incurred by

the victim for medical services relating to physical, psychiatric, or psychological care; physical

and occupational therapy or rehabilitation; necessary transportation, temporary housing, and child

care expenses; lost income; attorneys’ fees, as well as other costs incurred; and any other losses

suffered by the victim as a proximate result of the offense.

       263.     Under 18 U.S.C. §1593(b)(1), the order of restitution shall also include the greater

of the gross income or value to the Defendant of the victim’s services including the offender’s ill-

gotten gains.

                                        COUNT V
                            Violations of the False Claims Act
                      False Claims with Respect to Compliance with
                 The Trafficking Victims Protection Reauthorization Act
        Pusuant to 31 U.S.C. §§ 3729(a)(1)(A), 3729(a)(1)(B) or Implied False Claim

       264.     The allegations in Paragraphs 146-263 are incorporated in this count by reference

as though fully stated herein.

                               Compliance with TVPRA was a
                     Material Condition for Payment Under the Contract

       265.     Public Law 108-193, the “Trafficking Victims Protection Reauthorization Act of

2003” (Dec. 19, 2003), gave the Government the authority to terminate grants, contracts, or

cooperative agreements for Trafficking-In-Persons-related violations. It established:

           The President shall ensure that any grant, contract, or cooperative agreement
           provided or entered into by a Federal department or agency under which funds are
           to be provided to a private entity, in whole or in part, shall include a condition that
           authorizes the department or agency to terminate the grant, contract, or cooperative
           agreement, without penalty, if the grantee or any subgrantee, or the contractor or
           any subcontractor (i) engages in severe forms of trafficking in persons or has
           procured a commercial sex act during the period of time that the grant, contract, or

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           cooperative agreement is in effect, or (ii) uses forced labor in the performance of
           the grant, contract, or cooperative agreement. 22 U.S.C. §7104g [2009].

       266.    In 2006, the U.S. Civilian Agency Acquisition Council and the U.S. Defense

Acquisition Council agreed on an interim rule implementing the above stated requirement, adding

Federal Acquisition Regulation Subpart 22.17, “Combating Trafficking in Persons.” The

regulation stated that the “subpart applies to all acquisitions,” and paragraph 22.1705, “contract

clause” states: (a) Insert the clause at 52.222-50, Combating Trafficking in Persons, in all

solicitations and contracts. (b) Use the basic clause with its Alternate I when the contract will be

performed outside the United States (as defined at 25.003) and the contracting officer has been

notified of specific U.S. directives or notices regarding combating trafficking in persons (such as

general orders or military listings of “off-limits” local establishments) that apply to contractor

employees at the contract place of performance.

       267.    The DoD Inspector General mandate for this evaluation was contained in Public

Law 110-457, “William Wilberforce Trafficking Victims Protection Reauthorization Act of 2008,”

December 23, 2008. Subtitle D, section 232, which required the Inspector General, for fiscal years

2010 through 2012, to: “…investigate a sample of … contracts, or subcontracts at any tier, under

which there is a heightened risk that a contractor may engage, knowingly or unknowingly, in acts

related to trafficking in persons, such as: (A) confiscation of an employee’s passport; (B)

restriction on an employee’s mobility; (C) abrupt or evasive repatriation of an employee; (D)

deception of an employee regarding the work destination; or (E) acts otherwise described in section

106(g) of the Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104).”

       268.    Section 232 of Public Law 110-457 required a report to Congress no later than

January 15 of each year: (A) summarizing the findings of the investigations conducted in the

previous year, including any findings regarding trafficking in persons or any improvements needed

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to prevent trafficking in persons; and (B) in the case of any contractor or subcontractor with regard

to which the Inspector General has found substantial evidence of trafficking in persons, report as

to— (i) whether or not the case has been referred for prosecution; and (ii) whether or not the case

has been treated in accordance with section 106(g) of the Trafficking Victims Protection Act of

2000 (22 U.S.C. 7104) (relating to termination of certain grants, contracts and cooperative

agreements).

       269.    In compliance with this Congressional mandate, the Inspector General of the

Department of Defense reviewed over 360 Department of Defense contracts for compliance with

the “Trafficking Victims Protection Act of 2000,” title 22, United States Code, chapter 78 (as

amended).

       270.    On January 18, 2011, after completing this Congressionally-mandated review, the

Inspector General of DoD recommended that the Federal Acquisition Regulations and CentCom

regional combating trafficking in persons clause be present in all contracts. Specifically, the

Inspector General recommended that “[t]he Commander, U.S. Central Command Contracting

Command, should:

       “a. Ensure that Federal Acquisition Regulation clause 52.222-50, ‘Combating
       Trafficking in Persons,’ or Alternate I, is included in all contracts; and

       “b. Provide additional guidance to clarify proper usage of the U.S. Central
       Command Contracting Command clause 952.222-0001, ‘Prohibition Against
       Human Trafficking, Inhumane Living Conditions, and Withholding of Employee
       Passports.’”

       271.    In the very solicitation for MRAP services, the Army made it clear that it expected

ManTech (and all other contract bidders) to adhere to exacting requirements prohibiting the

trafficking of humans. Section C-3, “952.222-0001 Prohibition Against Human Trafficking,

Inhumane Living Conditions, Jul/2010 (C3) And Withholding of Employee Passports,” of the



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Contract makes clear:

           (a) All contractors (contractors refers to both prime contractors and all
           subcontractors at all tiers) are reminded of the prohibition contained in Title 18,
           United States Code, Section 1592, against knowingly destroying, concealing,
           removing, confiscating, or possessing any actual or purported passport or other
           immigration document, or any other actual or purported government identification
           document, of another person, to prevent or restrict or to attempt to prevent or
           restrict, without lawful authority, the persons liberty to move or travel, in order to
           maintain the labor or services of that person.

           (b) Contractors are also required to comply with the following provisions:

              (1) Contractors shall only hold employee passports and other identification
           documents discussed above for the shortest period of time reasonable for
           administrative processing purposes.

                                            *   * *

               (5) Contractors shall incorporate checks of life support areas to ensure
           compliance with the requirements of this Trafficking in Persons Prohibition into
           their Quality Control program, which will be reviewed within the Governments
           Quality Assurance process.

               (6) Contractors shall comply with International and Host Nation laws regarding
           transit/exit/entry procedures, and the requirements for visas and work permits.

           (c) Contractors have an affirmative duty to advise the Contracting Officer if they
           learn of their employees violating the human trafficking and inhumane living
           conditions provisions contained herein. Contractors are advised that contracting
           officers and/or their representatives will conduct random checks to ensure
           contractors and subcontractors at all tiers are adhering to the law on human
           trafficking, humane living conditions and withholding of passports.

           (d) The contractor agrees to incorporate the substance of this clause, including this
           paragraph, in all subcontracts under his contract.


       272.   Solicitation W56HZV-11-R-0181, page 54 of 125, provided conspicuous notice

that any and all bidders would be required to follow FAR 52.222-50, “Combating Trafficking in

Persons,” which made clear, “The United States Government has adopted a zero tolerance

policy regarding trafficking in persons.” Id. at § (b) (emphasis added).



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        273.      The Federal Acquisition Regulations themselves gave additional notice that

“Contractors and contractor employees shall not — (1) Engage in severe forms of trafficking in

persons during the period of performance of the contract; . . . or (3) Use forced labor in the

performance of the contract.” Id. In addition:

                  The Contractor shall — (1) Notify its employees of — (i) The
                  United States Government’s zero tolerance policy described in
                  paragraph (b) of this clause; and (ii) The actions that will be taken
                  against employees for violations of this policy. Such actions may
                  include, but are not limited to, removal from the contract,
                  reduction in benefits, or termination of employment; and (2) Take
                  appropriate action, up to and including termination, against
                  employees or subcontractors that violate the policy in paragraph (b)
                  of this clause.

Id. at § (c)(emphasis added).

        274.      Solicitation reference FAR 52.222-50 (d)(1), “Notification,” required that “[t]he

Contractor shall inform the Contracting Officer immediately of — Any information it receives

from any source (including host country law enforcement) that alleges a Contractor employee,

subcontractor, or subcontractor employee has engaged in conduct that violates this policy. . . .”

A contractor’s failure to inform the United States of trafficking activity may result in suspension

or debarment. Id. at (e).

        275.      The Contract signed by ManTech contained a variety of federal regulations that

were incorporated by reference at Section 9, Page 8 of 388 including requirements that ManTech

observe host country, international, and host-country law and the anticipated prohibition on human

trafficking.

        276.      With respect to the observance of law, the Contract made clear that ManTech would

be bound by Regulation 252.225-7040, specifically:

               252.225-7040 Contractor Personnel Supporting U.S. Armed Forces Deployed
               Outside the United States. Under subclause (d) (1), “Compliance with laws and

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           regulations,” ManTech was required to “comply with, and shall ensure that its
           personnel supporting U.S. Armed Forces deployed outside the United States . . . are
           familiar with and comply with, all applicable - (i) United States, host country, and third
           country national laws; (ii) Provisions of the law of war, as well as any other applicable
           treaties and international agreements; (iii) United States regulations, directives,
           instructions, policies, and procedures; and (iv) Orders, directives, and instructions
           issued by the Combatant Commander, including those relating to . . . health
           [or]safety[.]”

       277.    Reflecting the importance and materiality of the conduct prohibited by FAR

52.222-50, the Contract contained even greater protections than those presaged by the Solicitation:

   •   KSCR1-2 – Prohibition Against Human Trafficking, Inhumane Living Conditions,
       And Withholding Of Employee Passports (Oct 2011). On October 15, 2011, U.S.
       Central Command (“CentCom”), CentCom Contracting Command (CJTSCC), issued
       “Unique Requirements for Theater Business Clearance in the Kuwait Area of Operation.”
       KSCR1-2 states:

               “KSCR1-2 – Prohibition Against Human Trafficking, Inhumane Living
               Conditions, And Withholding of Employee Passports (Oct 2011)” [s]hall be
               included in all services or construction contracts which require performance in
               Kuwait. This mandated requirement augments FAR Clause 52.222-50
               “Combating Trafficking in Persons” Alternate I. By Reference, include FAR
               52.222-50 and the following: PROHIBITION AGAINST HUMAN
               TRAFFICKING,           INHUMANE          LIVING       CONDITIONS,         AND
               WITHHOLDING OF EMPLOYEE PASSPORTS (OCT 2011) Trafficking in
               Persons (TIP): Contractor employees and subcontractor employees performing
               under this contract shall comply with all DOD and ASG-KUs Trafficking in
               Persons policies. Contractor employees are subject to prescriptions and
               remedies at FAR Clause 52.222-50 and the terms and conditions stated herein.

               ASG-KU has adopted a more stringent policy than federal requirements
               regarding trafficking in persons. All Contractor employees and subcontractor
               employees shall be subject to FAR Clause 52.222-50, Combating Trafficking
               in Persons. Contractor shall adhere to and abide by all Kuwait Labor Laws
               during the performance of this contract. (emphasis added).

               Registered Employee Listing: On a monthly basis, the Contractor shall provide
               the ACO with a listing of employee names registered with the Ministry of Social
               Affairs and Labor (MOSAL). Failure to provide the ACO with a list of
               employees registered with the MOSAL will result in the denial of installation
               badging privileges for Contractor employees. Furthermore, a copy of each
               individual’s employment contract shall be available to the USG by the
               conclusion of the Transition Period. At a minimum, the employment contract
               shall be in English and the language of the employee. The Contractor shall

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               disclose and make known to its employees the terms and conditions of
               employment.

               For the duration of the contract, the Contractor shall ensure all wages earned
               (hourly, weekly, monthly, yearly), to include benefits and allowances, or any
               type of debt bondage arrangement in effect between the Contractor and
               employee, are included in each employee’s contract. Contractor shall specify
               the compensation rate to be earned for hours in excess a normal workweek
               within the employment contract.

                                              * * *
               Notification: Contractor shall inform the PCO immediately of any information
               received from any source (including host country law enforcement) that alleges
               a Contractor employee, subcontractor, or subcontractor employee has engaged
               in conduct that violates [Trafficking in Persons] policies, and any actions taken
               against Contractor or subcontractor employees pursuant to FAR Clause entitled
               “Combating Trafficking in Persons”.

               Remedies: In addition to other remedies available to the USG, the Contractors
               failure to comply with TIP policy may render the Contractor subject to the
               following at no cost to the USG:
                (1) Required removal of a Contractor employee or employees from the
                performance of the contract.
                (2) Required subcontractor termination.
                (3) Suspension of contract payments.
                (4) Loss of fee, consistent with the fee plan, for the performance period in
                which the USG determined Contractor non-compliance.
                (5) Termination of the contract for default or cause, in accordance with the
                termination clause of this contract.
                (6) Suspension or debarment.

               Subcontracts: Contractor shall flow-down to its subcontracts the terms and
               conditions of this paragraph IAW Host Nation laws, regulatory guidance, DOD,
               and FAR clauses referenced herein.

       278.    In March 2014, the Army took the opportunity to remind ManTech of its

obligations under the TVPRA by adding Section C-3 to the contract. Section C-3, citing FAR

5152.222-5900. stated, in pertinent part:

       PROHIBITION AGAINST HUMAN TRAFFICKING, INHUMANE LIVING
       CONDITIONS AND WITHHOLDING OF EMPLOYEE PASSPORTS

           (a) All contractors (“contractors” refers to both prime contractors and all
               subcontractors at all tiers) are reminded of the prohibition contained in Title

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               18, United States Code, Section 1592, against knowingly destroying,
               concealing, removing, confiscating, or possessing any actual or purported
               passport or other immigration document, or any other actual or purported
               government identification document, of another person, to prevent or restrict
               or to attempt to prevent or restrict, without lawful authority, the persons
               liberty to move or travel, in order to maintain the labor or services of that
               person.

           (b) Contractors are also required to comply with the following provisions:
                  (1) Contractors shall only hold employee passports and other
                       identification documents discussed above for the shortest period of
                       time reasonable for administrative processing purposes.

                                                     ***
                    (5) Contractors shall incorporate checks of life support areas to ensure
                        compliance with the requirements of this Trafficking in Persons
                        Prohibition into their Quality Control program, which will be
                        reviewed within the Governments Quality Assurance process.
                   (6) Contractors shall comply with International and Host Nation laws
                        regarding transit/exit/entry procedures and the requirements for
                        visas and work permits.
                   (c) Contractors have an affirmative duty to advise the Contracting
                        Officer if they learn of their employees violating the human
                        trafficking and inhumane living conditions provisions contained
                        herein. Contractors are advised that Contracting Officers and/or
                        their representatives will conduct random checks to ensure
                        contractors and subcontractors at all tiers are adhering to the law
                        on human trafficking, humane living conditions and withholding of
                        passports.

               (d) The contractor agrees to incorporate the substance of this clause, including his
                   paragraph, in all subcontracts under his contract.


       279.     Indeed, in recognition of the fact that such compliance was a “primary”

requirement, in a customized “Addendum” to each of ManTech’s employment contracts with

Plaintiffs, the following is provided:

       Your work area is designated as Kuwait as stated in your offer letter. A primary
       requirement for working in Kuwait involves issuance of a host nation Work Visa
       with sponsorship. To obtain a work visa, you will be required to meet established
       host nation criteria, including a favorable background investigation (this is in addition
       to employment background check and security clearance requirements) and a
       medical examination to detem1ine fitness to work. These requirements may not be

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       waived, are not negotiable and may not be substituted using alternate approvals,
       e.g., a current active security clearance does not supersede and cannot be used in
       place of the required host nation background check, nor is a deployment medical
       exam acceptable in lieu of the required medical exam.

       280.    On information and belief, ManTech’s employment contracts with the other

employees who worked on the Contract in Kuwait contained similar if not identical provisions.

             Willful Violations of International Treaty Obligations, U.S. Law, and Army
           Regulations with Respect to Adherence to Violations of the Trafficking Victims
           Protection Reauthorization Act Were Material as a Matter of Fact and Material
                                          as a Matter of Law

       281.    Through repeated policy pronouncements, numerous refinements of contracting

regulations, and substantial efforts by the Department of Defense to root out human trafficking

and forced labor as a collateral detriment of the foreign deployment of U.S. military forces

overseas, the Department of Defense has made manifest the materiality of adherence to the

TVPRA.

       282.    Irrespective of whether any particular Army contracting officer might think about

the materiality of TVPRA adherence, the policy pronouncement of a “zero tolerance” for activities

that violate the TVPRA makes such violations material as a matter of law.

       283.    ManTech was under an affirmative obligation to disclose to the U.S. facts that

would, if known, disqualify ManTech from contracting with the U.S. ManTech’s failure to

disclose its knowledge of human trafficking activity by its employees and its lack of adherence to

prescribed safety standards constitute false claims regarding qualification for payment and, thus,

false claims for payment.

       284.    By accepting payment and additional options periods under the contract, ManTech

falsely implied certification of compliance with the TVPRA requirements.

       285.    Ignoring the U.S. Government’s “zero-tolerance” policies with respect to



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prohibitions on Human Trafficking and its express obligations under the Contract, ManTech

trafficked Plaintiffs and their colleagues illegally into Kuwait, abused Kuwait’s immigration and

labor laws and, by doing so, inflicted serious harm on Plaintiffs and their colleagues.

       286.    Through its trafficking activity, ManTech placed Plaintiffs and their colleagues in

fear of arrest, imprisonment, and expulsion; forced Plaintiffs and their colleagues to work in

deplorable, dangerous conditions; and refused to pay them in accordance with the laws of the U.S.

and Kuwait.

               ManTech Knowingly Violated the TVPRA Conditions of the Contract and
                         Failed to Notify the U.S. of its TVPRA Activity

       287.    ManTech made explicit and implicit certifications to the U.S. by requesting and

receiving payments that were premised on compliance with material TVPRA requirements of the

Contract and applicable international, U.S, and Kuwaiti laws and regulations expressing a policy

of “zero tolerance” for violations of the TVPRA. By knowingly engaging in TVPRA violations

and by knowingly concealing from the U.S. its TVPRA violations, ManTech knew it was not in

compliance with such material and legal requirement; thus, such requests for payment constituted

false claims for payment.

       288.    Statutory damages to the U.S. include, but are not limited to, three times the full

value of all such false and/or fraudulent claims.

       289.    Each false and/or fraudulent claim is also subject to a civil fine under the False

Claims Act of five thousand five hundred to eleven thousand dollars ($5,500 - $11,000).

       290.    Defendants are jointly and severally liable for all damages under this Count.




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                                     PRAYER FOR RELIEF

         WHEREFORE, Relators/Plaintiffs, on behalf of themselves and the U.S., pray as follows:

As to Counts I, II, III, and V (Violations of the False Claims Act):

         A.     That the Court, based on Defendants’ pervasive and systemic violations of the False

Claims Act, declare Contract W56HZV-12-C-0127 void and order Defendants to return all monies

paid by the U.S.

         B.     That, in the alternative to the return of all monies paid by the U.S., the Court enter

judgment against Defendants jointly and severally in an amount equal to three times the amount

of damages the U.S. has sustained with regard to the Contract, Contract Options 1, 2, 3, and 4

including but not limited to, the full value of the Contract and Options 1, 2, 3, and 4;

         C.     That Defendants be held jointly and severally liable for a civil penalty not to exceed

$11,000, as adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990, for each

false claim it presented or caused to be presented and each false statement and record it made or

caused to be made in violation of the False Claims Act under the Contract, and Options 1, 2, 3,

and 4;

         D.     That Relators be awarded the maximum amount of award allowed to Relators as

Qui Tam Plaintiffs pursuant to 31 U.S.C. § 3730(d);

         E.     That Relators be awarded their expenses and costs of suit, including reasonable

attorneys’ fees, to the extent provided by law;

         F.     That Relators and the U.S. be awarded pre-judgment and post-judgment interest on

all monies awarded;

         G.     That Relators be granted any and all other relief set forth in the False Claims Act

that was not specifically referenced above;



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2. Contract (Proc. Inst. Ident.) No.                            3. Effective Date                      4. Requisition/Purchase Request/Project No.

W56HZV-12-C-0127                                                              2012MAY31                                         SEE SCHEDULE
5. Issued By                                               Code      W56HZV      6. Administered By (If Other Than Item 5)                         Code       S2404A
U.S. ARMY CONTRACTING COMMAND                                                       DCMA MANASSAS
NICHOLAS HAWES                                                                      14501 GEORGE CARTER WAY
WARREN, MICHIGAN 48397-5000                                                         CHANTILLY VA 20151




e-mail address: NICHOLAS.G.HAWES.CIV@MAIL.MIL
7. Name And Address Of Contractor (No., Street, City, County, State and Zip Code)                   8. Delivery
MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.                                                                             X Other (See Below)
                                                                                                           FOB Origin
12015 LEE JACKSON MEMORIAL HWY
                                                                                                    9. Discount For Prompt Payment
FAIRFAX, VA 22033-3300



                                                                                                    10. Submit Invoices                                Item
                                                                                                    (4 Copies Unless Otherwise Specified)                   12
Code 5N741                                              Facility Code                             To The Address Shown In:
11. Ship To/Mark For                                     Code                  12. Payment Will Be Made By                                         Code       HQ0338
SEE SCHEDULE                                                                        DFAS-COLUMBUS CENTER
                                                                                    SOUTH ENTITLEMENT OPERATIONS
                                                                                    P.O. BOX 182264
                                                                                    COLUMBUS OH   43218-2264



13. Authority For Using Other Than Full And Open Competition:                  14. Accounting And Appropriation Data
       10 U.S.C. 2304(c)(       )            41 U.S.C. 253(c)(          )           SEE SECTION G
     15A. Item No.                     15B. Supplies/Services                   15C. Quantity         15D. Unit       15E. Unit Price           15F. Amount
SEE SCHEDULE


                                                                                              15G. Total Amount Of Contract                 $1,044,796,697.40
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 17. X Contractor’s Negotiated Agreement (Contractor is                        18.     Sealed-Bid Award (Contractor is not required to sign this document.) Your
required to sign this document and return 2 signed copies to issuing           bid on Solicitation Number                               , including the additions or
office.) Contractor agrees to furnish and deliver all items or                 changes made by you which additions or changes are set forth in full above, is hereby
perform all the services set forth or otherwise identified above and           accepted as to the items listed above and on any continuation sheets. This award
on any continuation sheets for the consideration stated herein. The            consummates the contract which consists of the following documents: (a) the
rights and obligations of the parties to this contract shall be subject        Government’s solicitation and your bid, and (b) this award/contract. No further
to and governed by the following documents: (a) this                           contractual document is necessary. (Block 18 should be checked only when awarding
award/contract, (b) the solicitation, if any, and (c) such provisions,         a sealed-bid contract.)
representations, certifications, and specifications, as are attached or
incorporated by reference herein. (Attachments are listed herein.)
19A. Name And Title Of Signer (Type Or Print)                                  20A. Name Of Contracting Officer

                                                                                     LORETTA BURSEY
                                                                                     LORETTA.H.BURSEY.CIV@MAIL.MIL (586)282-9618
19B. Name of Contractor                                 19c. Date Signed       20B. United States Of America                                20C. Date Signed

                                                                                                    SIGNED REPRINT                           2012MAY31
By                                                                             By
    (Signature of person authorized to sign)                                         (Signature of Contracting Officer)
AUTHORIZED FOR LOCAL REPRODUCTION                                                                                    Standard Form 26 (Rev. 5/2011)
Previous edition is NOT usable                                                                                       Prescribed By GSA - FAR (48 CFR) 53.214(a)
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                                                   PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

SECTION A - SUPPLEMENTAL INFORMATION



THE FOLLOWING MODIFICATIONS HAVE BEEN INCORPORATED

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                                                           Reference No. of Document Being Continued                Page     3   of   388
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Buyer Name: NICHOLAS HAWES
Buyer Office Symbol/Telephone Number: CCTA-HTM-A/(586)282-9949
Type of Contract 1: Cost Plus Fixed Fee
Type of Contract 2: Firm Fixed Price
Kind of Contract: Service Contracts
Type of Business: Large Business Performing in U.S.
Surveillance Criticality Designator: A
Weapon System: No Identified Army Weapons Systems
FMS REQUIREMENT



                                                   *** End of Narrative A0000 ***
Modification P00059
Previous Contract Amount: $823,563,457.21
Amount of this Action:    $   (117,389.93)
New Contract Amount:      $823,446,067.28

1. The purpose of Modification P00059 to contract W56HZV-12-C-0127 is to incorporate the following:

a. De-obligate unliquidated funds that were obligated under CLIN 1102AJ         MRAP (NAVY)   EOR Labor.

TO:

____
CLIN     _______
         PROGRAM             __________
                             TOTAL COST    _________
                                           TOTAL FEE    __________
                                                        TOTAL CPFF   _____
                                                                     HOURS
1102AJ   MRAP NAVY (LABOR)   $1.31         $0.00        $1.31        19,532



FROM:

____
CLIN     _______
         PROGRAM             __________
                             TOTAL COST     _________
                                            TOTAL FEE    __________
                                                         TOTAL CPFF    _____
                                                                       HOURS
1102AJ   MRAP NAVY (LABOR)   $131,669.95    $6,653.55    $138,323.50   19,532



b. De-obligate unliquidated funds that were obligated under CLIN 1103AJ         MRAP (NAVY)   EOR MTL, TVL, ODC.

TO:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST   _________
                                                 TOTAL  FEE
1103AJ   MRAP NAVY (MTL/TVL/ODC)    $2,541.26    No Fee
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 Name of Offeror or Contractor:    MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

FROM:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL  FEE
1103AJ   MRAP NAVY (MTL/TVL/ODC)    $50,000       No Fee

c. De-obligate 168 Operational Readiness (OR) Option Period (OP) 2 labor hours and de-obligate funding under CLIN 3001AE - RCV POR    OR
OP 2 Labor CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM           __________
                           TOTAL COST       _________
                                            TOTAL FEE         __________
                                                              TOTAL CPFF       _____
                                                                               HOURS
3001AE   RCV POR (LABOR)   $11,702,401.74   $883,635.20       $12,586,036.94   322,526

FROM:

____
CLIN     _______
         PROGRAM           __________
                           TOTAL COST       _________
                                            TOTAL FEE         __________
                                                              TOTAL CPFF       _____
                                                                               HOURS
3001AE   RCV POR (LABOR)   $11,709,533.78   $884,173.07       $12,593,706.85   322,694

d. Change CLIN 3002AE - RCV POR     OR OP 2 MTL, TVL, ODC as follows:

TO:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST       _________
                                                   TOTAL  FEE
3002AE   RCV POR (MTL/TVL/ODC)    $4,695,981.14    No Fee

FROM:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST       _________
                                                   TOTAL  FEE
3002AE   RCV POR (MTL/TVL/ODC)    $4,692,491.80    No Fee

e. Change CLIN 3102AE - MRAP AIR FORCE      OR OP 2 Labor as follows:

TO:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST     _________
                                                 TOTAL  FEE
3102AD   MRAP AF (MTL/TVL/ODC)    $860,000.00    No Fee



FROM:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST     _________
                                                 TOTAL  FEE
3102AD   MRAP AF (MTL/TVL/ODC)    $850,000.00    No Fee

f. Change CLIN 3002AA - RCV ARMY     OR OP 2 MTL, TVL, ODC as follows:

____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST       _________
                                                    TOTAL  FEE
3002AA   RCV ARMY (MTL/TVL/ODC)    $6,173,903.28    No Fee



FROM:

____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST       _________
                                                    TOTAL  FEE
3002AA   RCV ARMY (MTL/TVL/ODC)    $6,111,379.89    No Fee



g. Change Attachment 0011, Manpower Utilization (Revision dated 04 August 2015) to reflect changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by dates shown within this Attachment 11. The total of personnel changes
is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of Effort per
labor category). Changes to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents the
cumulative amount of hours available for the life of the contract.

h. Clause 52.242-4016   Communications, is changed as follows:

         1.                MRAP CONUS Contracting Officer Representative (COR) is changed to Vittoria Pruitt, email:
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          mailto:vittoria.a.pruitt.civ@mail.mil

          2.               MRAP In-country COR is changed to Leon Morrow, email: mailto:leon.j.morrow@afghan.swa.army.mil

2. As a result of this modification, the total number of hours obligated has decreased by 168 from 10,034,691 to 10,034,523.

3. As a result of this modification, the total dollar amount of this contract is decreased by $117,389.93 from $823,563,457.21 to
$823,446,067.28.

                           Prior               This Change           Total

  Total Contract Value: $823,563,457.21       $(117,389.93)       $823,446,067.28

4. All other Contract terms and conditions remain unchanged and in full force and effect



                                                  *** END OF NARRATIVE A0060 ***

                 Regulatory Cite
                 _______________    ______________________________________________________________________
                                                                    Title                                    ____________
                                                                                                                 Date

    A-1         52.204-4850      ACCEPTANCE APPENDIX                                                       SEP/2008
     (a) Contract Number W56HZV-12-C-0127 is awarded to Man Tech Telecommunications & Information Systems Incorporated. Contract type
includes Firm Fixed Price (FFP) and Cost Plus Fixed Fee (CPFF). Specifically, the Phase-in CLINs are FFP and all Contractor Logistics
Sustainment Support Operational Readiness CLINs (EOR if proposed, Base Option and Options 1 - 4) are CPFF Level of Effort (LOE), or Cost
Reimbursable No Fee CLINs as applicable.



     (b) The contractor, in its proposal, provided data for various solicitation clauses, and that data has been added in this
contract.

     (c) Any attachments not included within this document will be provided by Army Contracting Command - Warren directly to the
administrative contracting officer (ACO) via e-mail, as required. Technical data packages that are only available on CD-ROM will be
mailed by Army Contracting Command - Warren to the ACO. Within one week of this award, any office not able to obtain attachments from
the Army Contracting Command - Warren website (https://contracting.tacom.army.mil/) and still requiring a copy, can send an email
request to the buyer listed on the front page of this contract.

     (d) (1)This initial contract is priced in accordance with L.4.2(a). For all subsequent modifications awarded thereof, Section B
values shall be derived from Attachment 12 as described in B.2.

          (2) The contractor's Small Business Subcontracting Plan is incorporated into the contract by reference.

     (e) The following   Amendment(s) to the solicitation are incorporated into this contract:
             Amendment   0001
             Amendment   0002
             Amendment   0003
             Amendment   0004
             Amendment   0005
             Amendment   0006
             Amendment   0007
             Amendment   0009
             Amendment   0010
             Amendment   0011
             Amendment   0012
             Amendment   0013
             Amendment   0014
             Amendment   0015
             Amendment   0016
             Amendment   0017

                                                              [End of Clause]




    A-2          52.201-4000        ARMY CONTRACTING COMMAND-WARREN (DTA) OMBUDSPERSON                        JAN/2006
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Information regarding the Ombudsperson for this contract is located at the following website:
http://contracting.tacom.army.mil/acqinfo/ombudsperson.htm

                                                             [End of Clause]



     A-3         52.232-4087        PAYMENT UNDER WIDE AREA WORKFLOW (ACC WARREN)                           JAN/2012

Data not printed.
1. Summary:
    a. On 12 June 2012 a protest was filed against awarded contract W56HZV-12-C-0127, resulting in a Stop Work Order for performance
under the contract. On 11 September 2012 GAO denied the protest in its entirety.
    b. Contract W56HZV-12-C-0127 is a competitive contract for Contractor Logistics Sustainment and Support (CLSS) services for the
Mine Resistant Ambush Protected Family of Vehicles (MRAP FOV). The contract was awarded to Mantech Telecommunications and Information
Systems Corporation (MTT) on 31 May 2012. The solicitation was issued on 7 June 2011. Since the contract award on 31 May 2012,
requirements for personnel have changed based on OPTEMPO, level of threats and fleet density. These changes resulted in the need to
modify the staffing levels required in order to Phase-in the current/accurate number of personnel/skill mixes versus staffing levels
estimated during the solicitation phase-in period.

     c. As a result of the above, this Modification P00001 incorporates the following revisions into contract W56HZV12C0127:
      (1) Revise Attachments 10, 11 and 12;
      (2) Revise EOR CLINs to reflect the change in fee/cost due to revised staffing
      (3) Update special provisions language (H.11 and H.12); and
      (4) Add clauses specific to Kuwait and Afghanistan.

2. Revise Attachment 11, Manpower Utlization, to reflect the following staffing levels realignment:
PROGRAM/ SITE                 STAFFING LEVEL  STAFFING LEVEL      DELTA
                             (Attachment 11) (Attachment 12)
RCV OCONUS -AOR (Afghanistan)    380            498               +118
RCV OCONUS -AOR(Kuwait)           32              8                -24
RCV OCONUS - Germany               5              2                - 2
RCV OCONUS - Alaska                0              1                 +1
RCV OCONUS - Hawaii                0              1                 +1
RCV CONUS - Contractor HQ          3             60                +57
RCV CONUS - AMS POR               14             20                 +6
RCV CONUS - FORSCOM PDTE          44             19                -25
RCV CONUS - FORSCOM CTC PDTE       9              9                  0
RCV CONUS - TRADOC PDTE            6              6                  0
RCV CONUS - EOD HST PDTE           0              0                  0
(20TH SUPCOM)
USMC BUFFALO - OCONUS AOR          5              6                 +1
USMC BUFFALO - OCONUS JAPAN        1              0                 -1
USMC BUFFALO - CONUS              12              2                -10

PROPHET - OCONUS AOR                 4                4                    0
PROPHET - CONUS (Net)                0                2                   +2

SOCOM CONUS AOR                    345             232                  -113
SOCOM CONUS                         33              14                   -19
TOTAL STAFFING LEVEL              1259            1197                   -62

3. Revise Attachment 11 to add the following labor categories to MRAP and SOCOM site locations. These incorporated labor categories are
within the scope of the Performance Work Statement:
 SITE LOCATION              LABOR CATEGORY          NUMBER OF PERSONNEL
MRAP Afghanistan (AOR)     Quality Assurance Lead          1
SOCOM Afghanistan (AOR)    Logistics Analyst             2
SOCOM - (CONUS)            Trainer/Maintainer              1

4.  Revise Attachment 12, Pricing Workbook "Summary of Section B Page" tabe to reflect the following the following performance phases:
                       FROM: Basic Contract        To: Modification P00001            Delta Reduction
PHASE-IN                   $14,340,063                                 $13,640,218                               ($699,845)
CPFF (LOE)                 $233,685,959                               $232,934,045                             ($751,914)

5.   Revise language at   clause H.11(a), LEVEL OF EFFORT (COST REIMBURSEMENT) as follows : FROM: (a) The maximum number of labor hours to
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be ordered during this contract is 34,453,801 labor hours. The composition of the total direct labor hours by labor category can be
found in Attachment 12, Pricing Workbook.
Over the life of the contract, including the EOR, OR Base and OR Option Period(s) (if exercised), the Government may award CLINs up to
the maximum number of labor hours (34,453,801). During the timeframe of this contract, the Government shall have the unilateral right to
increase the number of labor hours, material, travel, and other direct costs (ODCs) for the various CLINs.
Expenditure of labor hours in excess of the quantity specified in the CLIN(s) is not allowed except as authorized by the PCO through
formal contract action.
The CLINs will be associated with Attachment 10, which will specify the required labor categories, labor hours, and performance
locations by country. The PCO is the only authorized Government representative to change the requirements as set forth in Attachment 10.
The COR shall identify the specific performance locations within each country. The COR is authorized to modify performance locations
within each country (e.g. move personnel from one FOB in Afghanistan to a different FOB within Afghanistan), but changes from one
country to another (e.g., move personnel from Afghanistan to Kuwait) shall only occur with PCO authorization via contract modification.
The Government will estimate the cost of the labor hours per CLIN using the labor rates provided in Attachment 12 for each of the labor
categories, performance locations and hours specified in Attachment 10.
To determine the total fixed fee per CLIN, the Government will multiply the calculated Fixed Fee rate per hour found in Attachment 12 by
the amount of hours required in Attachment 10. Please note this Fixed Fee rate per hour is a composite fixed fee rate and will not be
adjusted to account for the specific mix of labor categories required in Attachment 10 provided the amount of hours required in
Attachment 10 remain unchanged.

TO: (a) The maximum number of labor hours to be ordered during this contract is 34,453,801 labor hours. The composition of the total
direct labor hours by labor category can be found in Attachment 12, Pricing Workbook.
Over the life of the contract, including the Phase-In EOR, OR Base and OR Option Period(s) (if exercised), the Government may award
CLINs up to the maximum number of labor hours (34,453,801). During the timeframe of this contract, the Government shall have the
unilateral right to increase the required number of personnel, site locations, labor hours, material, travel, and other direct costs
(ODCs) for the various CLINs. In the event of a personnel increase, the corresponding composite labor rates for the increased personnel
shall be in accordance with the composite rates currently proposed on Attachment 12. Additionally, the cost and fee, as applicable, of
such increases shall be in accordance with the cost and fee as proposed in Attachment 12.

Expenditure of labor hours in excess of the quantity specified in the CLIN(s) is not allowed except as authorized by the PCO through
formal contract action.
The Phase-In CLINs will be associated with Attachment 10, and the EOR, OR Base and OR Option CLINS will be associated with Attament 11,
which will specify the required labor categories, labor hours, and performance locations by country. The PCO is the only authorized
Government representative to change the requirements as set forth in Attachment 10. The COR shall identify the specific performance
locations within each country. The COR is authorized to modify performance locations within each country (e.g. move personnel from one
FOB in Afghanistan to a different FOB within Afghanistan), but changes from one country to another (e.g., move personnel from
Afghanistan to Kuwait) shall only occur with PCO authorization via contract modification.
The Government will estimate the cost of the labor hours per CLIN using the labor rates provided in Attachment 12 for each of the labor
categories, performance locations, and hours specified in Attachment 10.
To determine the total fixed fee per CLIN, the Government will multiply the calculated Fixed Fee rate per hour found in Attachment 12 by
the amount of hours required in Attachment 11. Please note this Fixed Fee rate per hour is a composite fixed fee rate and will not be
adjusted to account for the specific mix of labor categories required in Attachment 10 provided the amount of hours required in
Attachment 10 remain unchanged.



6. Revise provision H.12(a), Option to Extend the Term of the Contract, as follows to recoup days lost awaiting contract protest
decision:

OPTION            Line Items               Last Date To       Performance Completion Date
                                           Exercise Option
OR BASE       1004AA,1104AA,1204AA,        151 DACA               181 DACA - 420 DACA
OPTION        1005AA,1105AA,1205AA
OR OPTION 1   2001AA,2002AA,2101AA         391 DACA               421 DACA - 786 DACA
              2102AA,2201AA,2202AA
OR OPTION 2   3001AA,3002AA,3101AA         757 DACA               787 DACA - 1,152 DACA
              3102AA,3201AA,3202AA
OR OPTION 3   4001AA,4002AA,4101AA         1,123 DACA                1,153 DACA - 1,518 DACA
              4102AA,4201AA,4202AA
OR OPTION4    5001AA,5002AA,5101AA         1,489 DACA                1,159 DACA - 1,819 DACA
              5102AA,5201AA,5202AA

* For purposes of the OR Base Option, the last date to exervise this option is based on a contract award date of 21 September 2012. This
is the date the Stop Work Order was issued.

(d) The total duration of this contract, including the exercise of any option(s) under this clause, shall not exceed 1,819 DACA.
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7. As a result of the staffing realignment, estimated cost, fee, total cost plus fixed fee, and number of funded labor hours is revised
as for the following EOR CLINs shown in Schedule B of contract W56HZV12-C-0127.
FROM:
CLIN         Estimated        FEE            Total CPFF        #of Hours
             Cost                                               Funded
1002AA      $22,052,148.00 $1,962,889.00 $225,052,148.00 585,480
1002AD      $383,707.88      $34,154.20      $417,862.08        10,156
1102AA      $570,690.02      $50,799.44      $621,489.46        15,207
1102AB      $18,262,080.65   $1,625,582.08   $19,887,662.73    486,609
1102AC      $2,921,932.91    $260,093.13     $3,182,026.04      77,857
1102AD      $662,000.42      $58,927.35      $720,927.17        17,640
1202AA      $22,052,148.00   $1,962,889.00   $24,015,037.00     585,480



TO:
CLIN           Estimated        FEE            Total CPFF       #of Hours
               Cost                                               Funded
1002AA        $27,693,190.25 $2,430,587.93 $30,123,778.18 728,961
1002AD        $458,699.17      $43,455.97      $502,155.14        11,915
1102AA        $575,471.75      $50,799.44      $626,271.19        15,207
1102AB        $18,269,141.18   $1,625,582.08   $19,894,723.26   486,609
1102AC        $2,991,011.70    $260,093.13     $3,,251,104.82      77,857
1102AD        $667,069.18       $58,927.35      $725,996.53        17,640
1202AA        $14,813,144.70   $1,286,190.30   $16,099,335.00   387,072

8.    Add the following   RCV CLINs: 1002AE; 1002AF

8. Add the following clauses to contract W56HZV-12-C-0127:
52.232.4084: Payment Under Wide Area Workflow (ACC-Warren)
252.225-7039: Contractor Performing Private Security Functions
252.225-7993: Prohibition on Contracting with the Enemy in the Unites States Central Command Theater of Operations
252.225-7994: Additional Access to Contractor and Subcontractor Records in the United States Central Command Theater of Operations
952.225-0020: Contractor Accountability and Personnel Recovery (AFGHANISTAN)
952.225-0022: Visibility of Inbound/Outbound Cargo and Contractor Equipment Census (AFGHANISTAN)

9. Incorporate the updated version of the following clauses in contract W56HZV-12-C-0127:
252.225-7040: Contractor Personnel Authorized to Accompany U.S. Forces Deployed Outside the U.S.
952.222-0001: Prohibition Against Human Trafficking, Inhumane Living Conditions, and Withholding of Employee Passports
952.225-0004: Compliance with Laws and Regulations
952.225-0005: Monthly Contractor Census Reporting
952.225-0009: Medical Screening and Vaccination Requirements for Employees
952.225-0011: Government Furnished Contractor Support
KSCR1-2: Prohibition Against Human Trafficking, Inhumane Living Conditions, and Withholding of Employee Passports
KSCR1-5: Fitness for Duty and Medical Care Limitations
KSCR1-7: Monthly Contractor Census Reporting
KSCR1-10: Medical Screening and vaccination Requirements for Third Country Nationals (TCNs) or Locally Hired Employees
KSCR1-18: Contractor Manpower Reporting
KSCR1-19: Special Requirements for Construction and Facility Associated Work on Military Installations in Kuwait

10.    Delete clause 952.232-0005, C3 Wide Area Workflow Instructions.

11. Revise clause 52.246-4009, Inspection and Acceptance Points, Destination as follows:
FROM: Inspection and acceptance of supplies offered under this purchase order shall take place as specified here.    Inspection:
DESTINATION; Acceptance: DESTINATION.

TO: Inspection and acceptance of supplies offered under this contract shall take place as specified here.   Inspection: DESTINATION;
Acceptance: DESTINATION.

12. Revise clause 52.242-4016 as follows:
FROM: Communications on technical matters pertaining to the contract shall be direct between the contractor and the Technical
Representative. Communications for the Technical Representative shall be addressed to:
Name: Alex Urbina is the COR for RCV and SOCOM, email alex.urbina@us.army.mil
 Name: Derek West is the COR for MRAP-ARMY, MRAP-NAVY, MRAP-MARINES,
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 Email: derek.west@us.army.milPM AMS In-country COR: Tony Pollard, tony.c.pollard@us.army.mil
PM RCV In-country COR: Michael D. Cannon, mike.cannon@us.army.mil
PM AMS CONUS PDTE COR: Elena Morales, elena.moralezalvarez@us.army.mil
PM AMS CONUS COR (Alternate): Ricardo Leli, riccardo.v.leli@us.army.mil

The Administrative Contracting Officer's (ACO) name and email address are also provided if known at this time:    ACO: TBD         E-mail:

Please see the appointment letters prepared at time of contract award for functions the Technical Representative and ACO will perform on
this contract.

TO: Communications on technical matters pertaining to the contract shall be direct between the contractor and the Technical
Representative. Communications for the Technical Representative shall be addressed to:

RCV and SOCOM Contracting Officer Representatives (COR): Alex Urbina, email _______________________________
                                                                            alejandor.d.urbina.civ@mail.mil   Michael Guy, email
____________________________
michael.a.guy24.civ@mail.mil.
RCV Alternate COR: Alton D. Marks, email alton.d.marks.civ@mail.mil.

MRAP(Army, Navy, Marines) Contracting Officer Representatives: Derek West, email: derek.j.west2.civ@mail.mi; Steven A. Matthews, email
steven.a.matthews.civ@mail.mil.PM AMS In-country COR: Tony Pollard, tony.c.pollard.civ@mail.mil
PM RCV In-country COR: Michael D. Cannon, mike.cannon@us.army.mil

The Administrative Contracting Officer's (ACO) name and email address are also provided if known at this time:    ACO: Linda Ahlers, email
linda.ahlers@dcma.mil




                                                 *** END OF NARRATIVE A0001 ***



The purpose of Modification P00002 to contract W56HZV12C0127 is a follows:

1. Pursuant to the Performance Work Statement, C.1.1.2.2.1, AOR", the Government adds a new AOR site location, MRAP Kuwait, to contract
W56HZV12C0127. Performance requirements at this new site location shall be in accordance with requirements outlined in contract
W56HZV12C0127. Addition of the MRAP Kuwait location does not increase the pool of 34,453,801 hours which represents the cumulative
amount of hours available for the life of the contract. Labor hours required to support the MRAP Kuwait location shall be derived from
this established pool of labor hours.

2. Increase the following staffing levels/labor category on contract W56HZV12C0127 to support the added MRAP Kuwait site location:
LABOR CATEGORY                NUMBER OF PERSONNEL
Heavy Equipment Mechanic             14
Mechanical Technician                33
Shop Foreman                          5
Senior Maintenance Supervisor         1

3. Revise Attachment 10, Staffing Matrix to reflect a new site location, MRAP Kuwait, and incoporate the scheduled Phase-in of
personnel/labor categoreis required to support the site.

4. Revise Attachment 11, Mapower Utilization, to reflect a staffing level increase of 53 as a result of the new MRAP Kuwait site
location.

5. The following Early Operational Readiness (EOR)labor CLINs as a result of the new MRAP Kuwait site location:
CLIN          PROGRAM      TOTAL COST     TOTAL FEE    TOTAL CPFF   LABOR HOURS
1102AE     MRAP(Army) $2,150,120.62 $198,719.63 $2,348,840.25       59,267
1103AE     MRAP(USMC)    $537,530.60   $49,679.91    $587,210.06    14,817

6. The following Early Operational Readiness (EOR) material, travel, and other direct cost (ODC) CLINs as a result of the new MRAP
Kuwait site location:
CLIN         PROGRAM         TOTAL COST        FEE
1102AF       MRAP(Army)     $1,075,975.68    No Fee
1103AF       MRAP(USMC)       $268,993.92    No Fee

7. Revise Period of Performance narrative for the Early Operational Readiness (EOR) Labor, and EOR Material, Travel, and Other Direct
Cost (ODC) CLINs as follows:
FROM: Period of Performance begins 46 days after contract award through 180 days after contract award.
TO: Period of Performance begins 45 days after contract award through 180 days after contract award.
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8.   All other terms and conditions of contract W56HZV12C0127 remain unchanged.




                                                  *** END OF NARRATIVE A0002 ***




Data not printed.
                                                  *** END OF NARRATIVE A0003 ***




Data not printed.
                                                  *** END OF NARRATIVE A0004 ***




Data not printed.
                                                  *** END OF NARRATIVE A0005 ***

The purpose of Modification P00006 to contract W56HZV12C0127 is a follows:

1. Revise Attachment 11, Manpower Utilization (revision dated 14 March 2013), to reflect a staffing increase of 32 personnel.     As a
result, this version of Attachment 11 supersedes all previous revisions.   ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per Labor Category). Addition of the MRAP personnel does not increase the pool of 34,453,801 hours which represents the
cumulative amount of hours available for the life of the contract.

2. Revise Attachment 0023, DD 254, Page 1 (revision dated 12 February 2013) and Attachment 0024, DD 254, Page 2 (revision dated 10
January 2013).

3. Exercise 29,708 option hours and revise or establish CLINs for: (1) an RCV Early Operational Readiness (EOR) labor hour CLIN and
material, travel, and other direct cost (ODC) CLIN; and (2) RCV Operational Readiness (OR) labor hour CLINs and material, travel, and
ODC CLINs. Option hours are being exercised IAW Section H.11 (and H.12) of the contract.

4. The following Early Operational Readiness (EOR) labor CLIN is increased for the option hours being exercised:

FROM:
CLIN       PROGRAM            TOTAL COST     TOTAL FEE       TOTAL CPFF        LABOR HOURS
1002AH     RCV (AMS POR)      $90,546.24     $7,718.40       $98,264.64        2,304

TO:
CLIN       PROGRAM            TOTAL COST     TOTAL FEE       TOTAL CPFF        LABOR HOURS
1002AH     RCV (AMS POR)      $160,836.56    $14,981.20      $175,817.76       4,472

5. The following EOR material, travel, and other direct cost (ODC) CLIN is increased for the option hours being exercised:

FROM:
CLIN          PROGRAM           ESTIMATED TOTAL COST          FEE
1003AF        RCV (AMS POR)     $49,250.73                    No Fee

TO:
CLIN          PROGRAM           ESTIMATED TOTAL COST          FEE
1003AF        RCV (AMS POR)     $92,409.39                    No Fee

6. The following RCV OR Base Option labor CLIN is increased for the option hours being exercised:

FROM:
CLIN          PROGRAM       TOTAL COST        TOTAL FEE         TOTAL CPFF          LABOR HOURS
1004AE        RCV (AMS POR) $179,263.84       $18,009.28        $197,273.12         5,344
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TO:
CLIN          PROGRAM         TOTAL COST      TOTAL FEE         TOTAL CPFF         LABOR HOURS
1004AE        RCV (AMS POR)   $1,116,857.63   $78,817.56        $1,195,675.19      23,388

7. The following RCV OR BASE Option labor CLIN is established for the hours being exercised:

CLIN          PROGRAM         TOTAL COST      TOTAL FEE         TOTAL CPFF         LABOR HOURS
1004AF        RCV (AMS POR)   $337,988.96     $32,001.52        $369,990.48        9,496




 8. The following RCV OR material, travel, and other direct cost (ODC) CLINs are established for the option hours being exercised:

CLIN          PROGRAM          ESTIMATED TOTAL COST          FEE
1005AE        RCV (AMS POR)    $231,595.86                   No Fee
1005AF        RCV (AMS POR)    $92,638.34                    No Fee

9. For the RCV CLINs, the performance period for EOR ends 20 March 2013 and OR ends on 15 November 2013.

10. As a result of this modification, the total number of hours obligated has increased by 29,708 from 7,710,102 to 7,739,810.        This
brings the remaining number of total hours available on the contract to 26,713,991.

11. As a result of this modification, the total dollar amount of this contract is increased by $1,813,338.53 from $669,936,792.87 to
$671,750,131.40.

12.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0006 ***

The purpose of Modification P00007 to Contract W56HZV-12-C-0127 is as follows:

1. Revise Exhibit A, Contract Data Requirements List (CDRLs) revision dated 24 April 2013.

2. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 24 April 2013.

3. As a result of this modification, the total number of hours obligated remains unchanged.

4. As a result of this modification, the total dollar amount of this contract remains unchanged.

5. All other terms and conditions of this contract remain unchanged and in full force and effect.



                                                 *** END OF NARRATIVE A0007 ***

The purpose of Modification P00008 to contract W56HZV12C0127 is a follows:

1. Revise Attachment 11, Manpower Utilization (revision dated 8 April 2013), to reflect a staffing increase of 1 personnel.     As a
result, this version of Attachment 11 supersedes all previous revisions.   ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per Labor Category). Addition of the MRAP personnel does not increase the pool of 34,453,801 hours which represents the
cumulative amount of hours available for the life of the contract.

2. Revise Clause 52.242.-4016, Communication to reflect the updated personnel information for Technical Representatives.

3. Provide Special Instructions to DFAS regarding the correct Line of Accounting in Section G for CLINs 1103AE and 1103AF.

4. Exercise 1,320 option hours and establish CLINs for: (1) an MRAP Early Operational Readiness (EOR) labor hour CLIN and material,
travel, and other direct cost (ODC) CLIN; and (2) an MRAP Operational Readiness (OR) labor hour CLIN. Option hours are being exercised
IAW Section H.11 of the contract.

5. The following Early Operational Readiness (EOR) labor CLIN is established for the option hours being exercised:
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CLIN        PROGRAM            TOTAL COST     TOTAL FEE       TOTAL CPFF        LABOR HOURS
1102AM      MRAP (Army)        $22,490.17     $2,063.60       $24,553.77        752

6. The following EOR material, travel, and other direct cost (ODC) CLIN is established for the option hours being exercised:

CLIN           PROGRAM           ESTIMATED TOTAL COST          FEE
1103AQ         MRAP (Army)       $2,222.01                     No Fee

7. The following MRAP OR Base Option labor CLIN is established for the option hours being exercised:

CLIN           PROGRAM          TOTAL COST      TOTAL FEE         TOTAL CPFF          LABOR HOURS
1104AH         MRAP (ARMY)      $19,794.23      $1,914.16         $21,708.39          568

8. As a result of this modification, the total number of hours obligated has increased by 1,320 from 7,739,810 to 7,741,130.           This
brings the remaining number of total hours available on the contract to 26,712,671.

9. As a result of this modification, the total dollar amount of this contract is increased by $48,484.17 from $671,750,131.40 to
$671,798,615.57.

10.    All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                   *** END OF NARRATIVE A0008 ***

The purpose of Modification P00009 to contract W56HZV12C0127 is a follows:

1. Exercise 303,545 option hours and establish CLINs for: (1) an SOCOM Operational Readiness (OR) labor hour CLIN and material, travel,
and other direct cost (ODC) CLIN. Option hours are being exercised IAW Section H.11 of the contract. Reference Attachment 11, Manpower
Utilization (dated 8 April 2013). There are no increases or decreases to staffing personnel as a result of this modification. Exercise
of these option hours does not increase the pool of 34,453,801 hours which represents the cumulative amount of hours available for the
life of the contract.

2. The following Operational Readiness (OR) labor CLIN is established for the option hours being exercised:

CLIN        PROGRAM       TOTAL COST     TOTAL FEE       TOTAL CPFF        LABOR HOURS
1204AB      SOCOM         $10,997,188    $1,022,882      $12,020,070       303,545

3. The following OR material, travel, and other direct cost (ODC) CLIN is established for the option hours being exercised:

CLIN           PROGRAM           ESTIMATED TOTAL COST          FEE
1205AB         SOCOM             $14,979,930                   No Fee

4. Provide Special Instructions to DFAS regarding the correct Line of Accounting in Section G for CLINs 1204AB and 1205AB.

5. As a result of this modification, the total number of hours obligated has increased by 303,545 from 7,741,130 to 8,044,675.           This
brings the remaining number of total hours available on the contract to 26,409,126.

6. As a result of this modification, the total dollar amount of this contract is increased by $27,000,000.00 from $671,798,615.57 to
$698,798,615.57.

7.    All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                   *** END OF NARRATIVE A0009 ***

The purpose of Modification P00010 to contract W56HZV12C0127 is a follows:

1. Revise Attachment 11, Manpower Utilization (revision dated 30 May 2013), to reflect a staffing realignment of 70 personnel.     As a
result, this version of Attachment 11 supersedes all previous revisions.   ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per Labor Category). Realignment of personnel does not increase the pool of 34,453,801 hours which represents the
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cumulative amount of hours available for the life of the contract.

2. Revise Attachment 001, System Model and Descriptions (revision dated 30 May 2013) and Attachment 0022, PWS (revision dated 30 May
2013).

3. Realign 126,456 option hours and revise or establish CLINs for: (1) RCV Operational Readiness (OR) labor hour CLINs and material,
travel, and ODC CLINs.

4. The following RCV OR Base Option labor CLIN is decreased for the option hours being realigned:

FROM:
CLIN          PROGRAM         TOTAL COST        TOTAL FEE         TOTAL CPFF        LABOR HOURS
1004AA        RCV             $55,626,357.30    $4,682,698.35     $60,309,055.65    1,557,252

TO:
CLIN          PROGRAM          TOTAL COST        TOTAL FEE         TOTAL CPFF        LABOR HOURS
1004AA        RCV              $50,667,192.59    $4,256,569.01     $54,923,761.60    1,430,796

5. The following RCV (EHP) OR BASE Option labor CLIN is established for the option hours being realigned:

CLIN          PROGRAM          TOTAL COST        TOTAL FEE         TOTAL CPFF        LABOR HOURS
1004AG        RCV (EHP)        $4,959,164.71     $426,129.34       $5,385,294.05     126,456



6. The following RCV OR material, travel, and other direct cost (ODC) CLIN is decreased for the ODCs regarding the option hours being
realigned:

FROM:
CLIN          PROGRAM           ESTIMATED TOTAL COST            FEE
1005AA        RCV               $154,182,018.75                 No Fee

TO:
CLIN          PROGRAM           ESTIMATED TOTAL COST            FEE
1005AA        RCV               $153,055,036.94                 No Fee

7. The following RCV (EHP) OR material, travel, and other direct cost (ODC) CLIN is established for the ODCs regarding the option hours
being realigned:

CLIN          PROGRAM           ESTIMATED TOTAL COST            FEE
1005AG        RCV (EHP)         $1,126,981.81                   No Fee

8. For the RCV CLINs, the performance period for OR ends on 15 November 2013.

9. As a result of this modification, the total number of hours funded has neither increased nor decreased.      The   number of total hours
available on the contract remains 26,409,126.

10. As a result of this modification, the total dollar amount of this contract is neither increased nor decreased.

11.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                   *** END OF NARRATIVE A0010 ***



1. The purpose of this Modification P00011 to Contract W56HZV-12-C-0127 is as follows:

a. Revise the following RCV OR Material, Travel, and Other Directed Cost (ODC) CLIN as follows:

FROM:

CLIN       PROGRAM        ESTIMATED TOTAL COST       FEE
1005AA     RCV            $153,055,036.94            NO FEE

TO:
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CLIN      PROGRAM      ESTIMATED TOTAL COST        FEE
1005AA    RCV          $145,055,036.94             NO FEE



b. Establish the following RCV (EHP) OR Material, Travel, and Other Directed Cost (ODC) CLIN as follows:



CLIN      PROGRAM      ESTIMATED TOTAL COST        FEE
1005AH    RCV (EHP)    $8,000,000.00               NO FEE




2. Provide Special Instructions to DFAS regarding the correct Line of Accounting in Section G for CLIN 1005AH.

3. For the above CLINs, the Period of Performance (POP) for OR ends 15 November 2013.

4. The total dollar amount of this contract is neither increased nor deceased as a result of this modification.

5. All other terms and conditions of contract W56HZV-12-C-0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0011 ***

1. The Purpose of this Modification P00012 is to transfer the accountability of Government Furnished Equipment (GFE), Government
Furnished Material (GFM), and Contractor Acquired Property (CAP) previously covered by Contract W56HZV-11-C-0168 is hereby transferred
to Contract W56HZV-12-C-0127. The list of GFE/GFM/CAP is identified on the Compact Disc provided by the contractor via Federal Express
Pakcage dated 1 May 2013. The transfer of GFE will be within the stipulation of this contract Section C and FAR Clause 52.245-1.

2. Update Attachment 0009 - Government Furnished Material, dated 1 July 2013.

3. As a result, there is no increase or decrease in the total cost of this contract.

4. All other terms and conditions remain unchanged and in full force and effect.



                                                 *** END OF NARRATIVE A0012 ***

The purpose of Modification P00013 to contract W56HZV12C0127 is a follows:

1. Exercise 260,998 option hours and revise CLINs for: (1) SOCOM Operational Readiness (OR) labor hour CLIN (OR) labor hour CLIN and
material, travel, and other direct cost (ODC) CLIN. Option hours are being exercised IAW Section H.11 (and H.12) of the contract.
Reference Attachment 11, Manpower Utilization (dated 30 May 2013). There are no increase or decreases to staffing personnel as a result
of this modification. Exercise of these option hours does not increase the pool of 34,453,801 hours which represents the cumulative
amount of hours available for the life of the contract.

2. The following Operational Readiness (OR) labor CLIN is increased for the option hours being exercised:

FROM:
CLIN      PROGRAM          TOTAL COST     TOTAL FEE     TOTAL CPFF          LABOR HOURS
1204AB    SOCOM            $10,997,188.00 $1,022,882.00 $12,020,070.00      303,545

TO:
CLIN      PROGRAM          TOTAL COST     TOTAL FEE     TOTAL CPFF          LABOR HOURS
1204AB    SOCOM            $20,452,920.50 $1,902,388.13 $22,355,308.63       564,543

3. The following OR material, travel, and other direct cost (ODC) CLIN is increased for the option hours being exercised:

FROM:
CLIN         PROGRAM         ESTIMATED TOTAL COST           FEE
1205AB       SOCOM           $14,979,930.00                 No Fee

TO:
CLIN         PROGRAM         ESTIMATED TOTAL COST           FEE
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1205AB        SOCOM           $27,860,149.59                No Fee

4. For the SOCOM CLINs, the performance period for OR ends on 15 November 2013.

5. As a result of this modification, the total number of hours obligated has increased by 260,998 from 8,044,675 to 8,305,673.        This
brings the remaining number of total hours available on the contract to 26,148,128.

6. As a result of this modification, the total dollar amount of this contract is increased by $23,215,458.22 from $698,798,615.57 to
$722,014,073.79.

7.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0013 ***



1. The purpose of this bi-lateral Modification P000014 to contract W56HZV12C0127 is to de-obligate a portion of the funds associated
with: (a) a downward adjustment to the contract scope as outlined in the Government "Stop Work Order, Contract W56HZV-12-C-0127,
Reduction in Scope of Work (Third Revision Dated 19 June 2013)" and (b) ManTech's corresponding proposal submittal dated 28 June 2013.
As a result of the downward adjustment of $36,190,610.87, the following changes are hereby incorporated:

A. Revise Attachment 11, Manpower Utilization (revision dated 24 July 2013), to reflect a staffing decrease of 1,066 personnel through
the remaining OR Period (15 November 2013).    As a result, this version of Attachment 11 supersedes all previous revisions.   ManTech
shall have the personnel identified under the Total Staffing Authorization column, as noted for each Program/Site, in place by the date
shown within this Attachment 11. The total of personnel changed is identified in the +/- row under each Program/Site. Staffing level
changes are authorized by C.1.1.3.5 (Changes to Level of Effort per Labor Category)and H.11(f)(6). Reduction of the MRAP personnel does
not increase nor decrease the pool of 34,453,801 hours which represents the cumulative amount of hours available for the life of the
contract.

B. Revise some and delete other MRAP Operational Readiness (OR) Base Option labor hour CLINs. These option hours are being reduced IAW
Section H.11(f)(6) of the contract.

C. The following MRAP Operational Readiness (OR) Base Option labor CLINs are being revised to reduce the number of funded hours and to
effect associated partial de-obligation:
FROM:
CLIN          PROGRAM      TOTAL COST     TOTAL FEE       TOTAL CPFF     LABOR HOURS
1104AA     MRAP(Army)    $86,984,993.85   $8,241,015.11 $95,226,008.96    2,445,562
1104AB     MRAP(USMC)    $18,500,539.74   $1,752,753.21 $20,253,292.95      520,138

TO:
CLIN           PROGRAM      TOTAL COST      TOTAL FEE        TOTAL CPFF      LABOR HOURS
1104AA      MRAP(Army)    $81,879,428.54    $3,130,891.76   $85,010,320.30    929,205
1104AB      MRAP(USMC)     $1,308,944.78       $50,051.24    $1,358,996.02     14,885

D. The following MRAP Operational Readiness (OR) Base Option labor CLINs are being deleted and the dollar amounts listed below are being
de-obligated:
CLIN          PROGRAM      TOTAL COST     TOTAL FEE       TOTAL CPFF     LABOR HOURS
1104AC     MRAP(Navy)    $1,006,802.41     $95,385.12    $1,102,187.53     28,306
1104AD     MRAP(Navy)    $1,212,051.37    $114,830.54    $1,326,881.91     34,076
1104AE     MRAP(Navy)      $485,903.49     $46,034.81      $531,938.30     13,661
1104AF     MRAP(Army)    $3,756,085.29    $363,532.25    $4,119,617.54    107,873

E. As a result of this modification, the total number of funded hours has decreased by 2,205,526 from 8,305,673 to 6,100,147.        This
brings the remaining number of total hours available on the contract to 28,353,654.

2. As a result of this modification, the total obligated dollar amount of this contract is decreased by $36,190,610.87 from
$722,014,073.79 to $685,823,462.92.

3. The parties agree that no less than the total amount of funding being de-obligated by this Modification P00014 will need to be de-
obligated as a result of the: (a) downward adjustment to the contract scope as outlined in the Government "Stop Work Order, Contract
W56HZV-12-C-0127, Reduction in Scope of Work (Third Revision Dated 19 June 2013)" and (b) ManTech's corresponding proposal submitted
dated 28 June 2013. Accordingly, both parties agree that additional funds may be required to be de-obligated via a subsequent
modification based on the result of negotiations as to the overall cost impact of the aforementioned downward scope adjustment. The
anticipated date of that subsequent modification is 29 August 2013.
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4. A Certificate of Current Cost or Pricing data will be provided by the contractor prior to the execution of the final negotiated
subsequent modification referenced above.

5.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0014 ***

The purpose of Modification P00015 to contract W56HZV12C0127 is a follows:

1. Revise Attachment 11, Manpower Utilization (revision dated 20 August 2013), to reflect a staffing realignment of 30 personnel. As a
result, this version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total number
of personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes
to Level of Effort per Labor Category). Realignment of personnel does not increase the pool of 34,453,801 hours which represents the
cumulative amount of hours available for the life of the contract.

2. Revise the following MRAP Early Operational Readiness (EOR) labor CLIN as follows:

FROM:
CLIN       PROGRAM          TOTAL COST      TOTAL FEE       TOTAL CPFF       LABOR HOURS
1102AL     MRAP (AF)        $312,680.49     $29,338.71      $342,019.20       8,715

TO:
CLIN       PROGRAM          TOTAL COST      TOTAL FEE       TOTAL CPFF       LABOR HOURS
1102AL     MRAP (AF)         $40,691.75      $1,327.45       $42,019.20         353

3. Revise the following MRAP Operational Readiness (OR) labor CLIN as follows:

FROM:
CLIN       PROGRAM          TOTAL COST      TOTAL FEE       TOTAL CPFF       LABOR HOURS
1104AG     MRAP (AF)        $1,052,132.27    $98,721.24     $1,150,853.51      29,325

TO:
CLIN       PROGRAM          TOTAL COST      TOTAL FEE       TOTAL CPFF       LABOR HOURS
1104AG     MRAP (AF)        $1,324,121.01   $126,732.50     $1,450,853.51      37,687

4. The following Operational Readiness (OR) labor CLIN is increased due to the change in labor categories:

FROM:
CLIN       PROGRAM          TOTAL COST     TOTAL FEE     TOTAL CPFF          LABOR HOURS
1204AB     SOCOM            $20,452,920.50 $1,902,388.13 $22,355,308.63       564,543

TO:
CLIN       PROGRAM          TOTAL COST     TOTAL FEE     TOTAL CPFF          LABOR HOURS
1204AB     SOCOM            $20,495,959.50 $1,902,388.13 $22,398,347.63       564,543

5. Provide Special Instructions to DFAS regarding to correct Line of Accounting in Section G for CLIN 1204AB.

6. As a result of this modification, the total number of hours obligated has neither increased       nor decreased.   The remaining number of
total hours available on the contract are 26,148,128.

7. As a result of this modification, the total dollar amount of this contract is increased by $43,039.00 from $685,823,462.92 to
$685,866,501.92.

8.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0015 ***
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1. The purpose of this bi-lateral Modification P000016 to contract W56HZV12C0127 is to de-obligate a portion of the funds associated
with: (a) a downward adjustment to the contract scope as outlined in the Government "Stop Work Order, Contract W56HZV-12-C-0127,
Reduction in Scope of Work (Fourth Revision Dated 22 August 2013)" and (b) ManTech's corresponding proposal submittal dated 23 August
2013. As a result of the downward adjustment of $6,300,00.00, the following changes are hereby incorporated:

2. The following MRAP Operational Readiness (OR) material, travel, and other direct cost (ODC)CLINs are being reduced and to effect
associated partial de-obligation:
FROM:
CLIN       PROGRAM       ESTIMATED TOTAL COST       FEE
1105AA     MRAP(Army)    $14,166,580.55             No Fee
1105AB     MRAP(USMC)    $3,013,041.38              No Fee
1105AD     MRAP(Army)    $533,522.01                No Fee

TO:
CLIN        PROGRAM       ESTIMATED TOTAL COST        FEE
1105AA      MRAP(Army)    $10,990,127.30              No Fee
1105AB      MRAP(USMC)    $266,724.59                 No Fee
1105AD      MRAP(Army)    $156,292.05                 No Fee

3. As a result of this modification, the total number of funded hours has neither increased nor decreased.     The remaining number of
total hours available on the contract to 28,353,654.

4. As a result of this modification, the total obligated dollar amount of this contract is decreased by $6,300,000.00 from
$685,823,462.92 to $679,523,462.92.

5. The parties agree that no less than the total amount of funding being de-obligated by Modification P00014 and this Modification
P00016 will need to be de-obligated as a result of the: (a) downward adjustment to the contract scope as outlined in the Government
"Stop Work Order, Contract W56HZV-12-C-0127, Reduction in Scope of Work (Fourth Revision Dated 22 August 2013)" and (b) ManTech's
corresponding proposal submitted dated 23 August 2013. Accordingly, both parties agree that additional funds may be required to be de-
obligated via a subsequent modification based on the result of negotiations as to the overall cost impact of the aforementioned downward
scope adjustment. The anticipated date of that subsequent modification is 11 October 2013.

6. A Certificate of Current Cost or Pricing data will be provided by the contractor prior to the execution of the final negotiated
subsequent modification referenced above.

7.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0016 ***

The purpose of Modification P00017 to Contract W56HZV-12-C-0127 is as follows:

1. Revise Exhibit A, Contract Data Requirements List (CDRLs) revision dated 26 September 2013.

2. Revise Attachment 0001, System Models and Descriptions revision dated 5 September 2013.

3. Delete and remove Attachment 0021, Quality Assurance Surveillance Plan.

4. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 26 September 2013.

5. Add Attachment 0028, Standard Weld Procedures dated 01 May 2013.

6. Add Attachment 0029, Quality Assurance Inspection Plan (QAIP) dated 11 March 2013.

7. As a result of this modification, the total number of hours obligated remains unchanged.

8. As a result of this modification, the total dollar amount of this contract remains unchanged.

9. All other terms and conditions of this contract remain unchanged and in full force and effect.
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.




                                                 *** END OF NARRATIVE A0017 ***



1. The purpose of this bi-lateral Modification P000018 to contract W56HZV12C0127 is to realign a portion of the funds associated with:
(a) a downward adjustment to the contract scope as outlined in the Government "Stop Work Order, Contract W56HZV-12-C-0127, Reduction in
Scope of Work (Fourth Revision Dated 22 August 2013)" and (b) ManTech's corresponding proposal submittal dated 23 August 2013. As a
result the following changes are hereby incorporated:

2. Revise Attachment 11, Manpower Utilization (revision dated 19 September 2013), to reflect a staffing decrease of 31 personnel
through the remaining OR Period (15 November 2013).    As a result, this version of Attachment 11 supersedes all previous revisions.
ManTech shall have the personnel identified under the Total Staffing Authorization column, as noted for each Program/Site, in place by
the date shown within this Attachment 11. The total of personnel changed is identified in the +/- row under each Program/Site.
Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of Effort per Labor Category)and H.11(f)(6). Reduction of the RCV
personnel does not increase nor decrease the pool of 34,453,801 hours which represents the cumulative amount of hours available for the
life of the contract.

3. Revise the following RCV Operational Readiness (OR) Base Option labor hour CLIN as follows:

FROM:
CLIN          PROGRAM      TOTAL COST     TOTAL FEE           TOTAL CPFF     LABOR HOURS
1004AA        RCV          $50,667,192.59 $4,256,569.01       $54,923,761.60 1,430,796

TO:
CLIN          PROGRAM      TOTAL COST     TOTAL FEE           TOTAL CPFF     LABOR HOURS
1004AA        RCV         $51,617,192.59 $4,256,569.01        $55,873,761.60 1,430,796

4. Revise the following RCV Operational Readiness (OR) material, travel, and other direct cost (ODC) CLIN as follows:

FROM:
CLIN          PROGRAM      ESTIMATED TOTAL COST       FEE
1005AA        RCV          $145,055,036.94            No Fee

TO:
CLIN          PROGRAM      ESTIMATED TOTAL COST       FEE
1005AA        RCV          $144,105,036.94            No Fee

5. The following MRAP Operational Readiness (OR) Base Option labor CLINs are being revised to increase the number of funded hours   that
were inadvertantly removed as a result of Modification P00014:

FROM:
CLIN          PROGRAM      TOTAL COST     TOTAL FEE           TOTAL CPFF      LABOR HOURS
1104AA       MRAP(Army)    $81,879,428.54 $3,130,891.76      $85,010,320.30    929,205
1104AB       MRAP(USMC)     $1,308,944.78    $50,051.24       $1,358,996.02     14,885

TO:
CLIN          PROGRAM      TOTAL COST       TOTAL FEE         TOTAL CPFF      LABOR HOURS
1104AA       MRAP(Army) $80,021,536.11     $4,988,784.19    $85,010,320.30    1,480,351
1104AB       MRAP(USMC) $1,293,995.46         $65,000.56     $1,358,996.02       19,288

6. Revise the following SOCOM Operational Readiness (OR) Base Option labor hour CLIN as follows:

FROM:
CLIN          PROGRAM      TOTAL COST     TOTAL FEE           TOTAL CPFF     LABOR HOURS
1204AB        SOCOM        $20,495,959.50 $1,902,388.13       $22,398,347.63 564,543

TO:
CLIN          PROGRAM      TOTAL COST     TOTAL FEE           TOTAL CPFF     LABOR HOURS
1204AB        SOCOM        $23,895,959.50 $1,902,388.13       $25,798,347.63 564,543

7. Revise the following SOCOM Operational Readiness (OR) material, travel, and other direct cost (ODC) CLIN as follows:

FROM:
CLIN          PROGRAM      ESTIMATED TOTAL COST       FEE
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1205AB         SOCOM        $27,860,149.59               No Fee

TO:
CLIN           PROGRAM      ESTIMATED TOTAL COST         FEE
1205AB         SOCOM        $24,460,149.59               No Fee

8. As a result of this modification, the following Stop Work Orders are considered final and hereby closed out:

a. CLSS - RCV Decision Regarding Stop Work Order dated 13 August 2013

b. Stop Work Order, Revision One - PM AMS dated 29 August 2013

9. As a result of this modification, the total number of funded hours has increased by 555,549 from 6,100,147 to 6,655,696.           This
brings the remaining number of total hours available on the contract to 27,798,105.

10. The total dollar amount of this contract is neither increased nor decreased as a result of this modification.

11. The parties agree that no less than the total amount of funding being de-obligated by Modification P00014 and Modification P00016
will need to be de-obligated as a result of the: (a) downward adjustment to the contract scope as outlined in the Government "Stop Work
Order, Contract W56HZV-12-C-0127, Reduction in Scope of Work (Fourth Revision Dated 22 August 2013)" and (b) ManTech's corresponding
proposal submitted dated 23 August 2013. Accordingly, both parties agree that additional funds may be required to be de-obligated via a
subsequent modification based on the result of negotiations as to the overall cost impact of the aforementioned downward scope
adjustment. The anticipated date of that subsequent modification is 18 October 2013.

12. A Certificate of Current Cost or Pricing data will be provided by the contractor prior to the execution of the final negotiated
subsequent modification referenced above.

13.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                  *** END OF NARRATIVE A0018 ***

The purpose of Modification P00019 to contract W56HZV12C0127 is a follows:

1. Exercise 768 option hours and revise CLINs for: (1) MRAP Early Operational Readiness (EOR) labor hour CLIN and (2) MRAP Operational
Readiness (OR) labor hour CLIN and material, travel, and other direct cost (ODC) CLIN. Option hours are being exercised IAW Section
H.11 (and H.12) of the contract. Reference Attachment 11, Manpower Utilization (dated 23 September 2013). There are no increase or
decreases to staffing personnel as a result of this modification. Exercise of these option hours does not increase the pool of
34,453,801 hours which represents the cumulative amount of hours available for the life of the contract.

2. Revised the following Early Operational Readiness (EOR) labor CLIN as follows:

FROM:
CLIN       PROGRAM          TOTAL COST       TOTAL FEE       TOTAL CPFF      LABOR HOURS
1102AM     MRAP (ARMY)      $22,490.17       $2,063.60       $24,553.77      752

TO:
CLIN       PROGRAM          TOTAL COST       TOTAL FEE       TOTAL CPFF      LABOR HOURS
1102AM     MRAP (ARMY)      $37,325.73       $2,063.60       $39,389.33      752

3. The following MRAP Operational Readiness (OR) Base Option labor CLIN is increased for the option hours being exercised:

FROM:
CLIN       PROGRAM          TOTAL COST       TOTAL FEE       TOTAL CPFF      LABOR HOURS
1104AH     MRAP (ARMY)      $19,794.23       $1,914.16       $21,708.39      568

TO:
CLIN       PROGRAM          TOTAL COST       TOTAL FEE       TOTAL CPFF      LABOR HOURS
1104AH     MRAP (ARMY)      $80,953.20       $4,502.32       $85,455.52      1,336

4. The following OR material, travel, and other direct cost (ODC) CLIN is hereby established for the options hours being exercised:

CLIN       PROGRAM         ESTIMATED TOTAL COST            FEE
1105AF     MRAP (ARMY)     $5,639.05                       No Fee
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5. As a result of this modification, the total number of hours obligated has increased by 768 from 6,655,696 to 6,656,464.            This brings
the remaining number of total hours available on the contract to 27,797,337.

6. As a result of this modification, the total dollar amount of this contract is increased by $84,221.74 from $679,566,501.92 to
$679,650,723.66.

7.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0019 ***

The purpose of Modification P00020 to Contract W56HZV-12-C-0127 is as follows:

1. Revise Attachment 11, Manpower Utilization (revision dated 11 October 2013), to reflect a staffing realignment of 2 personnel. As a
result, this version of Attachment 11 supersedes all previous revisions. ManTech shall have the people identified under the Total
Staffing Authorization colum, as noted for each Program/Site, in place by their date shown within this Attachment 11. The total of
personnel change is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of effort per Labor Category). Realignment of personnel does not increase the pool of 34,453,801 hours which represents the
cumulative amount of hours available for the life of the contract.

2. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 7 October 2013.

3. As a result of this modification, the total number of hours obligated remains unchanged.

4. As a result of this modification, the total dollar amount of this contract remains unchanged.

5. All other terms and conditions of this contract remain unchanged and in full force and effect.



                                                 *** END OF NARRATIVE A0020 ***



The purpose of Modification P00021 to contract W56HZV12C0127 is a follows:

1. Revise Attachment 11, Manpower Utilization (revision dated 12 November 2013), to reflect the option exercise of personnel.     As a
result, this version of Attachment 11 supersedes all previous revisions.   ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per Labor Category). Exercise of these option hours does not increase the pool of 34,453,801 hours which represents the
cumulative amount of hours available for the life of the contract.

2. Exercise 611,110 option hours and establish CLINs for: (1) RCV, MRAP, and SOCOM Operational Readiness (OR) Option Period 1 labor hour
CLINs and material, travel, and Other Direct Cost (ODC) CLINs. Option hours are being exercised IAW Section H.11 (and H.12) of the
contract.

3. RCV OR Option Period 1 labor CLIN 2001AA is exercised.    CLINs 2001AB, 2001AC, 2001AD and 2001AE are established for the option hours
being exercised:
CLIN          PROGRAM      TOTAL COST      TOTAL FEE         TOTAL CPFF           LABOR HOURS
2001AA     RCV(Army)      $5,181,392.68    $415,481.82       $5,596,874.50        147,859
2001AB     RCV(EHP)         $909,168.60     $73,693.20         $982,861.80         26,225
2001AC     RCV(Prophet)      $74,351.90      $5,712.17          $80,064.07          2,033
2001AD     RCV(Buffalo)   $1,331,036.57     $97,687.79       $1,428,724.36         34,687
2001AE     RCV(POR)       $1,076,468.69     $82,912.86       $1,159,381.55         29,506

4. RCV OR Option Period 1 material, travel and ODC CLIN 2002AA is exercised.      CLINs 2002AB, 2002AC, 2002AD, and 2002AE are established
for the option hours being exericsed:
CLIN         PROGRAM         ESTIMATED TOTAL COST        FEE
2002AA       RCV (Army)      $5,395,575.64             No Fee
2002AB       RCV(EHP)          $902,138.20             No Fee
2002AC       RCV (Prophet)      $27,485.79             No Fee
2002AD       RCV (Buffalo)     $890,279.36             No Fee
2002AE       RCV (POR)         $840,618.45             No Fee
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5. MRAP OR Option Period 1 labor CLIN 2101AA is exercised.      CLIN 2101AB is established for the option hours being exercised:

CLIN           PROGRAM      TOTAL COST      TOTAL FEE         TOTAL CPFF       LABOR HOURS
2101AA      MRAP(Army)      $1,194,293.42   $108,625.80      $1,302.919.22     38,657
2101AB      MRAP(Air Force)   $394,059.83    $36,538.36        $430,598.19     13,003

6. MRAP OR Option Period 1 material, travel, and ODC CLIN 2102AA is exercised.        CLINs 2102AB is established for the option hours being
exercised:
CLIN         PROGRAM         ESTIMATED TOTAL COST          FEE
2102AA       MRAP(Army)      $137,080.78                   No Fee
2102AB       MRAP(Air Force) $189,401.81                   No Fee

7. SOCOM OR Base Option labor CLIN 2201AA is exercised:
CLIN          PROGRAM      TOTAL COST      TOTAL FEE           TOTAL CPFF           LABOR HOURS
2201AA        SOCOM        $9,562,528.92   $896,783.89         $10,459,312.81       319,140

8. SOCOM OR Base Option material, travel and ODC CLIN 2202AA is partially exercised:
CLIN         PROGRAM         ESTIMATED TOTAL COST        FEE
2202AA       SOCOM           $9,006,387.49               No Fee

9. Due to partial funding, the period of performance for the RCV, MRAP and SOCOM OR Option Period 1 CLINs incorporated in this
modification are identified within each respective CLIN.

10. As a result of this modification, the total number of hours obligated has increased by 611,110 from 6,656,464 to 7,267,574.         This
brings the remaining number of total hours available on the contract to 27,186,227.

11. As a result of this modification, the total dollar amount of this contract is increased by $38,829,704.02 from $679,650,723.66 to
$718,480,427.68.

12.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0021 ***



The purpose of Modification P00022 to contract W56HZV12C0127 is a follows:

1. Revise Attachment 11, Manpower Utilization (revision dated 2 December 2013), to reflect the option exercise of personnel.     As a
result, this version of Attachment 11 supersedes all previous revisions.   ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per Labor Category). Exercise of these option hours does not increase the pool of 34,453,801 hours which represents the
cumulative amount of hours available for the life of the contract.

2. Exercise 1,622,528 option hours and establish CLINs for: (1) RCV, MRAP, and SOCOM Operational Readiness (OR) Option Period 1 labor
hour CLINs and material, travel, and Other Direct Cost (ODC) CLINs. Option hours are being exercised IAW Section H.11 (and H.12) of the
contract.

3. The following MRAP and RCV Operational Readiness (OR) Option Period 1 labor CLINs are increased for the option hours being exercised:

FROM:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE         TOTAL CPFF           LABOR HOURS
2001AA      RCV(Army)      $5,181,392.68     $415,481.82       $5,596,874.50        147,859
2001AB      RCV(EHP)         $909,168.60      $73,693.20         $982,861.80         26,225
2001AC      RCV(Prophet)      $74,351.90       $5,712.17          $80,064.07          2,033
2001AE      RCV(POR)       $1,076,468.69      $82,912.86       $1,159,381.55         29,506
2101AA      MRAP (Army)    $1,194,293.42     $108,625.80       $1,302,919.22         38,657

TO:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE         TOTAL CPFF           LABOR HOURS
2001AA      RCV(Army)      $42,147,830.14    $3,365,306.58     $45,513,136.72        1,197,618
2001AB      RCV(EHP)       $10,272,371.16      $834,870.67     $11,107,241.83          297,107
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2001AC      RCV(Prophet)        $664,303.91      $51,127.95         $715,431.86        18,195
2001AE      RCV(POR)          $4,688,082.17     $362,717.61       $5,050,799.78       129,081
2101AA      MRAP (Army)       $6,983,219.46     $631,707.67       $7,614,927.13       224,807

4. The following MRAP and RCV OR Option Period 1 material, travel and other direct       cost (ODC) CLINs   are increased for the option hours
being exericsed:
FROM:
CLIN         PROGRAM         ESTIMATED TOTAL COST        FEE
2002AA       RCV (Army)      $5,395,575.64             No Fee
2002AB       RCV(EHP)          $902,138.20             No Fee
2002AC       RCV (Prophet)      $27,485.79             No Fee
2002AE       RCV (POR)         $840,618.45             No Fee
2102AA       MRAP (Army)       $137,080.78             No Fee

TO:
CLIN          PROGRAM           ESTIMATED TOTAL COST          FEE
2002AA        RCV (Army)        $48,891,700.37               No Fee
2002AB        RCV(EHP)           $9,690,121.41               No Fee
2002AC        RCV (Prophet)        $235,108.33               No Fee
2002AE        RCV (POR)          $3,307,833.33               No Fee
2102AA        MRAP (Army)        $1,206,978.43               No Fee

5. As a result of this modification, the total number of hours obligated has increased by 1,622,528 from        7,267,574 to 8,890,102.   This
brings the remaining number of total hours available on the contract to 25,563,699.

6. As a result of this modification, the total dollar amount of this contract is increased by $116,908,279.19 from $718,480,427.68 to
$835,388,706.87.

7.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                  *** END OF NARRATIVE A0022 ***



1. The purpose of this bi-lateral Modification P000023 to contract W56HZV12C0127 is to deobligate a portion of the funds associated
with: (a) a downward adjustment to the contract scope as outlined in the Government "Stop Work Order, Contract W56HZV-12-C-0127,
Reduction in Scope of Work (Fourth Revision Dated 21 August 2013)" and (b) ManTech's corresponding proposal submittal dated 2 November
2013. As a result the following changes are hereby incorporated:

2. Revise the following MRAP Operational Readiness (OR) Base Option labor hour CLIN as follows:

FROM:
CLIN           PROGRAM        TOTAL COST     TOTAL FEE         TOTAL CPFF     LABOR HOURS
1104AA         MRAP (Army)    $80,021,536.11 $4,988,784.19     $85,010,320.30 1,480,351

TO:
CLIN           PROGRAM        TOTAL COST     TOTAL FEE         TOTAL CPFF     LABOR HOURS
1104AA         MRAP (Army)    $57,772,168.11 $4,988,784.19     $62,760,952.30 1,480,351

3. Remove the following MRAP OR material, travel, and other direct cost (ODC) CLIN as follows:

CLIN           PROGRAM        ESTIMATED TOTAL COST       FEE
1105AC         MRAP (Navy)    $440,503.13                No Fee

4. As a result of this modification, the following Stop Work Orders are considered final and hereby closed out:

a. MRAP Stop Work Order, Contract W56HZV-12-C-0127, Reduction in Scope of Work (Fourth Revision Dated 21 August 2013)

b. RCV Stop Work Order, Contract W56HZV-12-C-0127 - Reduction in Scope of Work dated 4 October 2013

5. As a result of this modification, the total number of funded hours remains unchanged from Modification P00024.         The remaining
number of total hours available on the contract to 25,533,776.
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6. As a result of this modification, the total dollar amount of this contract is decreased by $22,689,871.13 from $836,722,220.87 to
$814,032,349.74.

7. The parties agree that the total amount of funding de-obligated by Modification P00014, Modification P00016, and Modification P00023
are a result of the: (a) downward adjustment to the contract scope as outlined in the Government "Stop Work Order, Contract W56HZV-12-C-
0127, Reduction in Scope of Work (Fourth Revision Dated 21 August 2013)" and (b) ManTech's corresponding proposal submitted dated 2
November 2013. Accordingly, both parties agree that this modification de-obligates the necessary funds associated to the MRAP and RCV
drawdowns and finalizes the the overall cost impact of the aforementioned downward scope adjustment.

8. A Certificate of Current Cost or Pricing data has been received from the contractor as a result of the execution of this
modification.

9.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0023 ***



The purpose of Modification P00024 to contract W56HZV12C0127 is a follows:

1. Revise Attachment 11, Manpower Utilization (revision dated 11 December 2013), to reflect the option exercise of personnel.     As a
result, this version of Attachment 11 supersedes all previous revisions.   ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per Labor Category). Exercise of these option hours does not increase the pool of 34,453,801 hours which represents the
cumulative amount of hours available for the life of the contract.

2. Exercise 29,923 option hours and revised CLINs for: (1) MRAP Operational Readiness (OR) Option Period 1 labor hour CLIN and material,
travel, and Other Direct Cost (ODC) CLIN. Option hours are being exercised IAW Section H.11 (and H.12) of the contract.

3. The following MRAP Operational Readiness (OR) Option Period 1 labor CLINs are increased for the option hours being exercised:

FROM:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE       TOTAL CPFF           LABOR HOURS
2101AB     MRAP (Air Force) $394,059.83      $36,538.36      $430,598.19          13,003

TO:
CLIN           PROGRAM       TOTAL COST      TOTAL FEE       TOTAL CPFF           LABOR HOURS
2101AB     MRAP(Air Force)   $1,300,335.35   $120,622.86     $1,420,958.21        42,926



4. The following MRAP and RCV OR Option Period 1 material, travel and other direct      cost (ODC) CLINs   are increased for the option hours
being exericsed:
FROM:
CLIN         PROGRAM              ESTIMATED TOTAL COST        FEE
2102AB       MRAP (Air Force)      $189,401.81             No Fee

TO:
CLIN          PROGRAM               ESTIMATED TOTAL COST        FEE
2102AB        MRAP (Air Force)       $532,555.79             No Fee

5. As a result of this modification, the total number of hours obligated has increased by 29,923 from 8,890,102 to 8,920,025.          This
brings the remaining number of total hours available on the contract to 25,533,776.

6. As a result of this modification, the total dollar amount of this contract is increased by $1,333,514.00 from $835,388,706.87 to
$836,722,220.87.

7.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.
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                                                 *** END OF NARRATIVE A0024 ***



The purpose of this bi-lateral Modification P00025 to contract W56HZV-12-C-0127 is to deobligate the Un-liquidated portion of funds
associated with the below CLINs. As a result, the following changes are hereby incorporated:

1. RCV EOR/OR ODCs: (ULO AMOUNT $108,648,92.99)

   CLINs:
   1003AA/AB/AC/AD/AE
   1005AA/AB/AC/AD
   1205AB

2. MRAP EOR/OR ODCs: (ULO AMOUNT $1,038,168.32)

   CLINs:
   1102AF
   1103AA/AC/AD/AF/AK/AH/AL/AJ/AN/AP/AM

3. RCV EOR/OR LABOR: (ULO AMOUNT $2,624,998.00 / HOUR REDUCTION 30,999)

   CLINs:
   1002AD/AE

4. MRAP EOR/OR LABOR: (ULO AMOUNT $11,225,000.00 / HOUR REDUCTION 281,973)

   CLINs:
   1102AA/AB/AC/AD/AE/AJ/AH/AK
   1103AE

5. SOCOM ODC EOR: (ULO AMOUNT $1,800,000.00)

   CLIN:
   1203AA

6. As a result of this modification P00025, the total number of funded hours on the above CLINs is reduced by 312,972 (30,999 RCV EOR/OR
labor hours and 281,973 MRAP EOR/OR labor hours):

FROM: 1,088,490 (137,936 RCV EOR/OR LABOR HOURS & 950,554 MRAP EOR/OR LABOR HOURS)

TO: 775,518 (106,937 RCV EOR/OR LABOR HOURS & 668,581 MRAP EOR/OR LABOR HOURS)

7. As a result of this modification, the total dollar amount of this contract is decreased by $125,336,859.31 from $814,032,349.74 to
$688,695,490.43.



                                                 *** END OF NARRATIVE A0025 ***

The purpose of Modification P00026 to Contract W56HZV-12-C-0127 is as follows:

1. Delete CLINs 1003AE and 1103AM which were reduced to a value of $0.00 via Modification P00025.

6. As a result of this modification, the total number of hours obligated remains unchanged.

7. As a result of this modification, the total dollar amount of this contract remains unchanged.

8. All other terms and conditions of this contract remain unchanged and in full force and effect.



                                                 *** END OF NARRATIVE A0026 ***

The purpose of Modification P00027 to Contract W56HZV-12-C-0127 is as follows:

1. Revise Exhibit A, Contract Data Requirements List (CDRLs) revision dated 4 February 2014.
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

2. Revise Attachment 0001, System Models & Descriptions revision dated 13 January 2014.

2. Revised Attachment 0008, Labor Categories revision dated 15 January 2014.

3. Revised Attachment 0011, Manpower Utilization revision dated 15 January 2014.

4. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 14 February 2014.

5. Revised Clause 52.252-4016, Communications to include updated contract contact information.

6. As a result of this modification, the total number of hours obligated remains unchanged.

7. As a result of this modification, the total dollar amount of this contract remains unchanged.

8. All other terms and conditions of this contract remain unchanged and in full force and effect.



                                                   *** END OF NARRATIVE A0027 ***



The purpose of Modification P00028 to contract W56HZV12C0127 is a follows:

1. Exercise 59,432 option hours and establish/revise CLINs for: (1) RCV, MRAP, and SOCOM perational Readiness (OR) Option Period 1 labor
hour CLINs and material, travel, and Other Direct Cost (ODC) CLINs. Option hours are being exercised IAW Section H.11 (and H.12) of the
contract. Reference Attachment 11, Manpower Utilization (dated 11 December 2013). There are no increases or decreases of staffing
personnel as a result of this modification. Exercise of these option hours does not increase the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.



2. The following MRAP Operational Readiness (OR) Option Period 1 labor CLIN is established for the option hours being exercised:

CLIN          PROGRAM               TOTAL COST          TOTAL FEE         TOTAL CPFF           LABOR HOURS
2101AC     MRAP (Air Force)         $1,793,142.11       $166,354.00       $1,959,496.11        59,201

3. The following MRAP OR Option Period 1 material, travel and other direct            cost (ODC) CLIN   is established for the option hours being
exericsed:

CLIN         PROGRAM                   ESTIMATED TOTAL COST           FEE
2102AC       MRAP (Air Force)           $707,531.21                   No Fee

4. The following RCV Operational Readiness (OR) Option Period 1 labor CLIN is increased for the option hours being exercised:

FROM:
CLIN          PROGRAM        TOTAL COST        TOTAL FEE         TOTAL CPFF             LABOR HOURS
2001AD     RCV(Buffalo)      $1,331,036.57     $97,687.79        $1,428,424.36          34,687

TO:
CLIN          PROGRAM        TOTAL COST        TOTAL FEE         TOTAL CPFF             LABOR HOURS
2001AD     RCV(Buffalo)      $1,342,254.93     $98,335.95        $1,440,590.88          34,918

5. The following RCV OR Option Period 1 material, travel and other direct            cost (ODC) CLIN    is increased for the option hours being
exericsed:

FROM:
CLIN         PROGRAM           ESTIMATED TOTAL COST            FEE
2001AD       RCV (Buffalo)        $890,279.36               No Fee

TO:
CLIN         PROGRAM           ESTIMATED TOTAL COST            FEE
2001AD       RCV (Buffalo)        $901,568.61               No Fee

6. The following   RCV and SOCOM labor CLINs are being revised to realign funding for the available option hours:

FROM:
CLIN       PROGRAM        TOTAL COST        TOTAL FEE         TOTAL CPFF             LABOR HOURS
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1004AG      RCV(EHP)      $4,959,164.71    $426,129.34      $5,385,294.05         126,456
2201AA      SOCOM         $9,562,528.92    $896,783.89      $10,459,312.81        319,140



TO:
CLIN        PROGRAM       TOTAL COST       TOTAL FEE        TOTAL CPFF            LABOR HOURS
1004AG      RCV(EHP)      $5,559,164.71    $426,129.34      $5,985,294.05         126,456
2201AA      SOCOM         $12,862,528.92   $896,783.89      $13,759,312.81        319,140



7. The following RCV and SOCOM RCV    material, travel and other direct      cost (ODC) CLINs    are being revised to realign funding for the
available options hours:

FROM:
CLIN          PROGRAM         ESTIMATED TOTAL COST          FEE
1005AG        RCV (EHP)       $1,126,981.81                 No Fee
2202AA        SOCOM           $9,006,387.49                 No Fee



TO:
CLIN          PROGRAM         ESTIMATED TOTAL COST          FEE
1005AG        RCV (EHP)       $526,981.81                  No Fee
2202AA        SOCOM           $5,706,387.49                No Fee



8. As a result of this modification, the total number of hours obligated has increased by 59,432 from          8,607,053 to 8,666,485.      This
brings the remaining number of total hours available on the contract to 25,787,316.

9. As a result of this modification, the total dollar amount of this contract is increased by $2,690,183.09 from $688,695,490.43 to
$691,385,673.52.

10.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                  *** END OF NARRATIVE A0028 ***



The purpose of Modification P00029 to contract W56HZV12C0127 is a follows:

1. Exercise 6,039 option hours and establish CLINs for: (1) RCV Operational Readiness (OR) Option Period 1 labor hour CLINs and
material, travel, and Other Direct Cost (ODC) CLINs. Option hours are being exercised IAW Section H.11 (and H.12) of the contract.
Reference Attachment 11, Manpower Utilization (dated 19 February 2014). There are no increases or decreases of staffing personnel as a
result of this modification. Exercise of these option hours does not increase the pool of 34,453,801 hours which represents the
cumulative amount of hours available for the life of the contract.

2. The following RCV Operational Readiness (OR) Option Period 1 labor CLIN is established for the option hours being exercised:

CLIN           PROGRAM              TOTAL COST       TOTAL FEE          TOTAL CPFF          LABOR HOURS
2001AF         RCV (USMC Husky)     $233,872.99      $17,705.81         $251,578.80         6,039

3. The following RCV OR Option Period 1 material, travel and other direct         cost (ODC) CLIN   is established for the option hours being
exericsed:

CLIN          PROGRAM               ESTIMATED TOTAL COST            FEE
2002AF        RCV (USMC Husky)      $46,500.00                      No Fee

4. As a result of this modification, the total number of hours obligated has increased by 6,039 from 8,666,485 to 8,672,524.              This
brings the remaining number of total hours available on the contract to 25,781,277.

5. As a result of this modification, the total dollar amount of this contract is increased by $298,078.80 from $691,385,673.52 to
$691,683,752.32.
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

6.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0029 ***



The purpose of Modification P00030 to contract W56HZV12C0127 is a follows:

1. Exercise 582,777 option hours and establish CLINs for: (1) SOCOM Operational Readiness (OR) Option Period 1 labor hour CLINs and
material, travel, and Other Direct Cost (ODC) CLINs. Option hours are being exercised IAW Section H.11 (and H.12) of the contract.
Reference Attachment 11, Manpower Utilization (dated 19 February 2014). There are no increases or decreases of staffing personnel as a
result of this modification. Exercise of these option hours does not increase the pool of 34,453,801 hours which represents the
cumulative amount of hours available for the life of the contract.

2. The following SOCOM Operational Readiness (OR) Option Period 1 labor CLIN is revised for the option hours being exercised:

FROM:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE         TOTAL CPFF          LABOR HOURS
2201AA         SOCOM        $12,862,528.92   $896,783.89       $13,759,312.81      319,140

TO:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE         TOTAL CPFF          LABOR HOURS
2201AA         SOCOM        $30,526,303.96   $2,534,386.77     $33,060,690.73      901,917

3. The following SOCOM OR Option Period 1 material, travel and other direct       cost (ODC) CLIN   is revised for the option hours being
exericsed:

FROM:
CLIN          PROGRAM         ESTIMATED TOTAL COST           FEE
2202AA        SOCOM           $5,706,387.49                  No Fee

TO:
CLIN          PROGRAM         ESTIMATED TOTAL COST           FEE
2202AA        SOCOM           $20,369,612.89                 No Fee

4. As a result of this modification, the total number of hours obligated has increased by 582,777 from 8,672,524 to 9,225,301.          This
brings the remaining number of total hours available on the contract to 25,198,500.

5. As a result of this modification, the total dollar amount of this contract is increased by $33,964,603.32 from $691,683,752.32 to
$725,648,355.64.

6.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0030 ***

The purpose of Modification P00031 to Contract W56HZV-12-C-0127 is as follows:

1. Revise the period of perfomance completion date for CLIN 2102AB, MRAP Air Force ODCs from 15 March 2014 to 15 November 2014.

2. As a result of this modification, the total number of hours obligated remains unchanged.

3. As a result of this modification, the total dollar amount of this contract remains unchanged.

4. All other terms and conditions of this contract remain unchanged and in full force and effect.



                                                 *** END OF NARRATIVE A0031 ***
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The purpose of Modification P00032 to contract W56HZV12C0127 is a follows:

1.   Add Clause 252.225-7993, Prohibition on Contracting with the Enemy.

2. Add Clause 252.225-7994, Addtional Access to Contractor and Subcontractor Records in the United States Central Command Theater of
Operations.

3. Provide Special Instructions to DFAS regarding the correct Line of Accounting in Section G for CLINs 2101AC and 2102AC.

4. As a result of this modification, the total number of hours obligated remains unchaged.

5. As a result of this modification, the total dollar amount of this contract remains unchanged.

6.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0032 ***



The purpose of Modification P00033 to contract W56HZV12C0127 is a follows:

1. Exercise 4,416 option hours and revise CLINs for: (1) RCV Operational Readiness (OR) Option Period 1 labor hour CLINs and material,
travel, and Other Direct Cost (ODC) CLINs. Option hours are being exercised IAW Section H.11 (and H.12) of the contract. Reference
Attachment 11, Manpower Utilization (dated 24 April 2014). Staffing levels are authorized by C.1.1.3.5 (Changes to Level of Effort per
Labor category). Addition of RCV personnel and exercise of these option hours does not increase the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.

2. The following RCV Operational Readiness (OR) Option Period 1 labor CLIN is revised for the option hours being exercised:

FROM:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE        TOTAL CPFF             LABOR HOURS
2001AE         RCV POR      $4,688,082.17    $362,717.61      $5,050,799.78          129,081

TO:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE        TOTAL CPFF             LABOR HOURS
2001AE         RCV POR      $4,832,706.17    $375,126.57      $5,207,832.74          133,497

3. The following RCV OR Option Period 1 material, travel and other direct         cost (ODC) CLIN   is revised for the option hours being
exericsed:

FROM:
CLIN          PROGRAM         ESTIMATED TOTAL COST          FEE
2002AE        RCV POR         $3,307,833.33                 No Fee

TO:
CLIN          PROGRAM         ESTIMATED TOTAL COST          FEE
2002AE        RCV POR         $3,452,195.56                 No Fee

4. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 24 April 2014.

5. As a result of this modification, the total number of hours obligated has increased by 4,416 from 9,225,301 to 9,229,717.              This
brings the remaining number of total hours available on the contract to 25,194,084.

6. As a result of this modification, the total dollar amount of this contract is increased by $301,395.19 from $725,648,355.64 to
$725,949,750.83.

7.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0033 ***
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The purpose of Modification P00034 to contract W56HZV12C0127 is as follows:

1. Exercise 2,784 option hours and revise CLINs for: (1) RCV Operational Readiness (OR) Option Period 1 labor hour CLINs and material,
travel, and Other Direct Cost (ODC) CLINs. Option hours are being exercised IAW Section H.11 (and H.12) of the contract. Reference
Attachment 11, Manpower Utilization (dated 30 May 2014). Staffing levels are authorized by C.1.1.3.5 (Change to Level of Effort per
Labor category). Addition of RCV personnel and exercise of these option hours does not increase the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.

2. The following RCV Operational Readiness (OR) Option Period 1 labor CLIN is revised for the option hours being exercised:

FROM:
CLIN           PROGRAM       TOTAL COST     TOTAL FEE          TOTAL CPFF     LABOR HOURS
2001AB         RCV EHP       $10,272,371.16 $834,870.67        $11,107,241.83 297,107

TO:
CLIN           PROGRAM       TOTAL COST     TOTAL FEE          TOTAL CPFF     LABOR HOURS
2001AB         RCV EHP       $10,361,709.72 $842,693.71        $11,204,403.43 299,891

3. The following RCV OR Option Period 1 material, travel, and other direct cost (ODC) CLIN is revised for the option hours being
exercised:

FROM:
CLIN           PROGRAM       ESTIMATED TOTAL COST      FEE
2002AB         RCV EHP       $9,690,121.41             No Fee

TO:
CLIN           PROGRAM       ESTIMATED TOTAL COST      FEE
2002AB         RCV EHP       $9,749,323.41             No Fee

4. As a result of this modification, the total number of funded hours has increased by 2,784 from 9,229,717 to 9,232,501.            The
remaining number of total hours available on the contract to 25,191,300

5. As a result of this modification, the total dollar amount of this contract is increased by $153,363.60 from $725,949,750.83 to
$726,106,114.43.

6.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                  *** END OF NARRATIVE A0034 ***



1. The purpose of this bi-lateral Modification P000035 to contract W56HZV12C0127 is to deobligate a portion of the hours and realign
funds associated with: (a)downward adjustment to the contract scope as outlined in the below mentioned Government Stop Work Orders and
(b) ManTech's corresponding cost submission dated 20 May 2014. As a result the following changes are hereby incorporated:

2. Revised Attachment 11, Manpower Utilization (revision dated 16 June 2014), to reflect the decrease in hours and personnel. As a
result, this version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per labor category).

3. Revise the following RCV, MRAP and SOCOM Operational Readiness (OR) Option Period 1 labor hour CLIN as follows:

FROM:
CLIN           PROGRAM       TOTAL COST     TOTAL FEE          TOTAL CPFF     LABOR HOURS
2001AA         RCV           $42,147,830.14 $3,365,306.58      $45,513,136.72 1,197,618

2001AB         RCV   EHP     $10,361,709.72 $842,693.71        $11,204,403.43 299,891

2001AC         RCV PROPHET   $664,303.91     $51,127.95        $715,431.86     18,195

2101AA         MRAP Army     $6,983,219.46   $631,707.67       $7,614,927.13   224,807
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

2201AA         SOCOM         $30,526,303.96 $2,534,386.77      $33,060,690.73    901,917

TO:
CLIN           PROGRAM       TOTAL COST     TOTAL FEE          TOTAL CPFF     LABOR HOURS
2001AA         RCV           $42,651,202.30 $2,861,934.42      $45,513,136.72 1,018,482

2001AB         RCV   EHP     $10,526,398.20 $678,005.23        $11,204,403.43 241,283

2001AC         RCV PROPHET   $673,071.11     $42,360.75        $715,431.86      15,075

2101AA         MRAP Army     $7,322,038.02   $292,889.11       $7,614,927.13    104,231

2201AA         SOCOM         $30,955,357.24 $2,105,333.49      $33,060,690.73 749,229

4. As a result of this modification, the following Stop Work Orders are considered final and hereby closed out:

a. MRAP Stop Work Order, Contract W56HZV-12-C-0127, Reduction in Scope of Work (First Revision Dated 17 January 2014).

b. RCV Stop Work Order, Contract W56HZV-12-C-0127 - Reduction in Scope of Work (First Revision dated 28 January 2014).

c. SOCOM Stop Work Order, Contract W56HZV-12-C-0127 - Reduction in Scope of Work dated 10 February 2014.

d. RCV Stop Work Order, Contract W56HZV-12-C-0127 - Reduction in Scope of Work (First Revision dated 6 March 2014).

e. SOCOM Stop Work Order, Contract W56HZV-12-C-0127 - Reduction in Scope of Work dated 1 April 2014.

f. RCV - PDTE Stop Work Order, Contract W56HZV-12-C-0127 - Reduction in Scope of Work dated 1 April 2014.

5. Please note an inadvertant typo via modification P00030 showed an obligated amount of hours as 9,225,301. The correct sum of
obligated hours should've been 9,255,301. As a result of this modification, the total number of funded hours is decreased by 514,128
from 9,262,501 to 8,748,373.   The remaining number of total hours available on the contract to 25,705,428.

6. As a result of this modification, the total dollar amount of this contract is neither increased nor decreased.

7. The parties agree that the total amount of hours being deobligated and funding realigned by Modification P00035 are a result of the:
(a) downward adjustment to the contract scope as outlined in the above mentioned Government Stop Work Orders and (b) ManTech's
corresponding cost submission dated 20 May 2014. Accordingly, both parties agree that this modification de-obligates the necessary
hours and realigns funds associated to the MRAP and RCV drawdowns and finalizes the the overall cost impact of the aforementioned
downward scope adjustment.



8.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                  *** END OF NARRATIVE A0035 ***



1. The purpose of this bi-lateral Modification P000036 to contract W56HZV12C0127 is to deobligate a portion of the hours and realign
funds associated with: (a)downward adjustment to the contract scope and (b) ManTech's corresponding cost submission dated 24 July 2014.
As a result the following changes are hereby incorporated:

2. Revised Attachment 11, Manpower Utilization (revision dated 25 July 2014), to reflect the decrease in hours and personnel. As a
result, this version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per labor category).

3. Revise the following RCV, MRAP and SOCOM Operational Readiness (OR) Option Period 1 labor hour CLIN as follows:

FROM:
CLIN           PROGRAM       TOTAL COST     TOTAL FEE          TOTAL CPFF     LABOR HOURS
2001AA         RCV           $42,651,202.30 $2,861,934.42      $45,513,136.72 1,018,482

2101AA         MRAP Army     $7,322,038.02   $292,889.11       $7,614,927.13     104,231
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2201AA         SOCOM        $30,955,357.24 $2,105,333.49     $33,060,690.73    749,229

TO:
CLIN           PROGRAM      TOTAL COST     TOTAL FEE         TOTAL CPFF     LABOR HOURS
2001AA         RCV          $42,651,842.98 $2,861,293.74     $45,513,136.72 1,018,254

2101AA         MRAP Army    $7,322,038.02    $280,716.19     $7,602,754.21    99,899

2201AA         SOCOM        $30,983,457.24 $2,077,233.49     $33,060,690.73 739,229



4. As a result of this modification, the total number of funded hours is decreased by 14,560 from 8,748,373 to 8,733,813.            The
remaining number of total hours available on the contract to 25,719,988.

5. As a result of this modification, the total dollar amount of this contract is decreased by $12,172.92 from $726,106,114.43 to
$726,093,941.51 neither increased nor decreased.

6. The parties agree that the total amount of hours being deobligated and funding realigned by Modification P00036 are a result of the:
(a) downward adjustment to the contract scope and (b) ManTech's corresponding cost submission dated 24 July 2014. Accordingly, both
parties agree that this modification de-obligates the necessary hours and realigns funds associated to the MRAP, RCV, and SOCOM
drawdowns and finalizes the the overall cost impact of the aforementioned downward scope adjustment.



7.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                  *** END OF NARRATIVE A0036 ***

The purpose of Modification P00037 to Contract W56HZV-12-C-0127 is as follows:

1. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 5 August 2014.

2. As a result of this modification, the total number of hours obligated remains unchanged.

3. As a result of this modification, the total dollar amount of this contract remains unchanged.

4. All other terms and conditions of this contract remain unchanged and in full force and effect.



                                                  *** END OF NARRATIVE A0037 ***



The purpose of this bi-lateral Modification P00038 to contract W56HZV12C0127 is as follows:

1. Deobligate a portion of the hours and realign funds associated with: (a) downward adjustment to the contract scope and (b) ManTech's
corresponding cost submission dated 8 August 2014 for MRAP and RCV Programs.

2. Revise Attachment 11, Manpower Utilization (revision dated 5 August 2014), to reflect the revision in hours and personnel. As a
result, this version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.

3. Revise the following RCV and MRAP Operational Readiness (OR) Option Period 1 labor hour CLINs as follows:

FROM:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE       TOTAL CPFF       LABOR HOURS
2001AA         RCV          $42,651,842.98   $2,861,293.74   $45,513,136.72   1,018,254
2001AD         RCV USMC     $1,342,251.93    $98,335.95      $1,440,590.88    34,918
2001AF         RCV Husky    $233,872.99      $17,705.81      $251,578.80      6,039
2101AB         MRAP AF      $1,300,335.35    $120,622.86     $1,420,958.21    42,926
2101AC         MRAP AF      $1,793,142.11    $166,354.00     $1,959,496.11    59,201
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


TO:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE         TOTAL CPFF       LABOR HOURS
2001AA         RCV          $42,676,947.52   $2,836,189.20     $45,513,136.72   1,009,320
2001AD         RCV USMC     $1,342,254.93    $91,895.43        $1,434,150.36    32,626
2001AF         RCV HUSKY    $234,125.89      $17,452.91        $251,578.80      5,949
2101AB         MRAP AF      $1,331,245.35    $89,712.86        $1,420,958.21    31,926
2101AC         MRAP AF      $2,946,425.40    $184,923.29       $3,131,348.69    65,809

4. The following RCV OR Option Period 1 labor hour CLINs are established        as follows:
CLIN          PROGRAM      TOTAL COST     TOTAL FEE       TOTAL CPFF            LABOR HOURS
2001AG        RCV HUSKY    $75,844.15     $306.29         $76,150.44            371
2001AH        RCV HUSKY    $35,246.47     $3,147.20       $38,393.67            1,120

5. The following RCV OR Option Period 1 material, travel, and other direct cost (ODC) CLIN is established as follows:

CLIN           PROGRAM      ESTIMATED TOTAL COST         FEE
2002AG         RCV Husky    $109,240                      No Fee

6. As a result of this modification, the total number of funded hours has decreased by -14,217 from 8,733,813 to 8,719,596.          The
remaining number of total hours available on the contract is 25,734,205.

7. As a result of this modification, the total dollar amount of this contract is increased by $1,389,196.17 from $726,093,941.51 to
$727,483,137.68.

8.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                  *** END OF NARRATIVE A0038 ***



The purpose of this bi-lateral Modification P00039 to contract W56HZV12C0127 is as follows:

1. Deobligate a portion of the hours and realign funds associated with: (a) downward adjustment to the contract scope and (b) ManTech's
corresponding cost submission dated 25 August 2014 for RCV and SOCOM Programs.

2. Revise Attachment 11, Manpower Utilization (revision dated 26 August 2014), to reflect the revision in hours and personnel. As a
result, this version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.

3. Revise the following RCV and MRAP Operational Readiness (OR) Option Period 1 labor hour CLINs as follows:

FROM:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE         TOTAL CPFF       LABOR HOURS
2001AA         RCV          $42,676,947.52   $2,836,189.20     $45,513,136.72   1,009,320
2001AE         RCV POR      $4,832,706.17    $375,126.57       $5,207,832.74    133,497
2201AA         SOCOM        $30,983,457.24   $2,077,233.49     $33,060,690.73   739,229

TO:
CLIN           PROGRAM      TOTAL COST       TOTAL FEE         TOTAL CPFF       LABOR HOURS
2001AA         RCV          $42,691,582.00   $2,821,554.72     $45,513,136.72   1,004,112
2001AE         RCV POR      $4,789,282.70    $367,955.45       $5,157,238.15    130,945
2201AA         SOCOM        $31,027,967.64   $2,032,723.09     $33,060,690.73   723,389

4. The following RCV OR Option Period 1 labor hour CLINs are established as follows:

CLIN           PROGRAM      TOTAL COST       TOTAL FEE         TOTAL CPFF       LABOR HOURS
2001AJ         RCV HMDS     $45,396.29       $3,481.59         $48,877.88       1,239

5. The following RCV OR Option Period 1 material, travel, and other direct cost (ODC) CLIN is established as follows:
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

CLIN           PROGRAM      ESTIMATED TOTAL COST       FEE
2002AH         RCV HMDS     $390,306.13                No Fee

6. As a result of this modification, the following Stop Work Orders are considered final and hereby closed out:

a. SOCOM Partial Stop Work Order, Contract W56HZV-12-C-0127 - Reduction in Scope of Work dated 14 August 2014.

7. As a result of this modification, the total number of funded hours has decreased by -22,361 from 8,719,596 to 8,697,235.          The
remaining number of total hours available on the contract is 25,756,566.

8. As a result of this modification, the total dollar amount of this contract is increased by $388,589.42 from $727,483,137.68 to
$727,871,727.10.

9.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                 *** END OF NARRATIVE A0039 ***



The purpose of this bi-lateral Modification P00040 to contract W56HZV12C0127 is as follows:

1. Deobligate a portion of the hours and realign funds associated with: (a) downward adjustment to the contract scope and (b) ManTech's
corresponding cost submission dated 9 September 2014 for MRAP and SOCOM Programs.

2. Revise Attachment 11, Manpower Utilization (revision dated 9 September 2014), to reflect the revision in hours and personnel. As a
result, this version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total
Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.

3. Revise the following MRAP and SOCOM Operational Readiness (OR) Option Period 1 labor hour CLINs as follows:

FROM:
CLIN           PROGRAM      TOTAL COST     TOTAL FEE         TOTAL CPFF     LABOR HOURS
2101AB         MRAP AF      $1,331,245.35 $89,712.86         $1,420,958.21 31,926
2201AA         SOCOM        $31,027,967.64 $2,032,723.09     $33,060,690.73 723,389

TO:
CLIN           PROGRAM      TOTAL COST     TOTAL FEE         TOTAL CPFF     LABOR HOURS
2101AB         MRAP AF      $1,332,639.11 $88,319.10         $1,420,958.21 31,430
2201AA         SOCOM        $32,527,967.64 $2,032,723.09     $34,560,690.73 723,389

4. Revise the following SOCOM OR Option Period 1 material, travel and other direct cost (ODC) CLIN as follows:

FROM:
CLIN           PROGRAM      TOTAL COST     TOTAL FEE
2202AA         SOCOM        $20,369,612.89 No Fee

TO:
CLIN           PROGRAM      TOTAL COST     TOTAL FEE
2202AA         SOCOM        $18,869,612.89 No Fee

5. As a result of this modification, the following Stop Work Orders are considered final and hereby closed out:

a. MRAP Air Force Partial Stop Work Order, Contract W56HZV-12-C-0127 - Reduction in Scope of Work dated 26 August 2014.

6. As a result of this modification, the total number of funded hours has decreased by 496 from 8,697,235 to 8,696,739.          The remaining
number of total hours available on the contract is 25,757,062.

7. As a result of this modification, the total dollar amount of this contract remains unchanged.

8.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.




                                                   *** END OF NARRATIVE A0040 ***

The purpose of Modification P00041 to Contract W56HZV-12-C-0127 is as follows:

1. Revise Exhibit A, Contract Data Requirements List (CDRLs) revision dated 18 October 2014.

2. Revise Attachment 0001, System Models & Descriptions revision dated 18 October 2014.

4. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 18 October 2014.

5. Add Attachment 0030, Panther Care and Maintenance Plan dated 18 October 2014.

6. Revised Clause 52.252-4016, Communications to include updated contract contact information.

7. As a result of this modification, the total number of hours obligated remains unchanged.

8. As a result of this modification, the total dollar amount of this contract remains unchanged.

9. All other terms and conditions of this contract remain unchanged and in full force and effect.



                                                   *** END OF NARRATIVE A0041 ***



The purpose of Modification P00042 to contract W56HZV12C0127 is a follows:

1. Revise Attachment 11, Manpower Utilization (revision dated 5 November 2013), to reflect the option exercise of personnel for Option
Period 2.    As a result, this version of Attachment 11 supersedes all previous revisions.   ManTech shall have the personnel identified
under the Total Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11.
The total of personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5
(Changes to Level of Effort per Labor Category). Exercise of these option hours does not increase the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.

2. Exercise 621,343 option hours and establish CLINs for: (1) MRAP and SOCOM Operational Readiness (OR) Option Period 2 labor hour CLINs
and travel and Other Direct Cost (ODC) CLINs. Option hours are being exercised IAW Section H.11 (and H.12) of the contract.

3. MRAP OR Option Period 2 labor CLIN 3101AA is exercised.        CLIN 3101AB is established for the option hours being exercised:

CLIN          PROGRAM      TOTAL COST         TOTAL FEE         TOTAL CPFF      LABOR HOURS
3101AA     MRAP(Army)      $1,126,921.16      $103,059.50       $1,229,980.66   37,341
3101AB     MRAP(Air Force) $3,357,101.10      $290,865.36       $3,647,966.46   105,386

4. MRAP OR Option Period 2    travel and ODC CLIN 3102AA is exercised.      CLINs 3102AB is established for the option hours being exercised:

CLIN         PROGRAM         ESTIMATED TOTAL COST                FEE
3102AA       MRAP(Army)      $107,803.12                         No Fee
3102AB       MRAP(Air Force) $168,052.07                         No Fee

5. SOCOM OR Option Period 2 labor CLIN 3201AA is exercised:

CLIN          PROGRAM        TOTAL COST        TOTAL FEE         TOTAL CPFF          LABOR HOURS
3201AA        SOCOM          $16,000,274.35    $1,320,980.16     $17,321,254.51      478,616

6. SOCOM OR Option Period 2 material, travel and ODC CLIN 3202AA is partially exercised:

CLIN         PROGRAM           ESTIMATED TOTAL COST            FEE
3202AA       SOCOM             $7,975,600.00                   No Fee

7. As a result of this modification, the total number of hours obligated has increased by 621,343 from 8,696,739 to 9,318,082.          This
brings the remaining number of total hours available on the contract to 25,135,719.

8. As a result of this modification, the total dollar amount of this contract is increased by $30,450,656.82 from $727,871,727.10 to
$758,322,383.92.
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


9.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                    *** END OF NARRATIVE A0042 ***



The purpose of Modification P00043 to contract W56HZV12C0127 is a follows:

1. Revise Attachment 11, Manpower Utilization (revision dated 5 November 2013), to reflect the option exercise of personnel for Option
Period 2.    As a result, this version of Attachment 11 supersedes all previous revisions.   ManTech shall have the personnel identified
under the Total Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11.
The total of personnel changed is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5
(Changes to Level of Effort per Labor Category). Exercise of these option hours does not increase the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.

2. Exercise 706,396 option hours and establish CLINs for: (1) RCV Operational Readiness (OR) Option Period 2 labor hour CLINs and travel
and Other Direct Cost (ODC) CLINs. Option hours are being exercised IAW Section H.11 (and H.12) of the contract.

3. RCV OR Option Period 2 labor CLIN 3001AA is exercised.       CLIN 3001AB, 3001AC, 3001AD, 3001AE, 3001AF, 3001AG, 3001AH, & 3001AJ is
established for the option hours being exercised:

CLIN       PROGRAM            TOTAL COST       TOTAL FEE       TOTAL CPFF       LABOR HOURS
3001AA      RCV(Army)         $8,528,043.58    $666,462.72     $9,194,506.30    241,472
3001AB      RCV(EHP)          $2,140,151.17    $163,217.57     $2,303,368.74    59,137
3001AC      RCV(Prophet)      $93,416.25       $7,011.50       $100,427.75      2,540
3001AD      RCV(Buffalo)      $116,709.65      $7,016.48       $123,726.13      2,543
3001AE      RCV(POR)          $12,348,292.49   $931,018.88     $13,279,311.37   337,326
3001AF      RCV(Husky)        $29,779.08       $2,274.42       $32,053.50       824
3001AG      RCV(CEH)          $96,145.16       $6,604.81       $102,749.97      2,393
3001AH      RCV(FORSCOM)      $1,702,898.11    $137,615.01     $1,840,513.12    49,861
3001AJ      RCV(CEHC)         $347,325.63      $28,428.93      $375,754.56      10,300

4. RCV OR Option Period 2 travel and ODC CLIN 3002AA is exercised.         CLINs 3002AB, 3002AC, 3002AD, 3002AE, 3002AF, 3002AG, 3002AH, &
3002AJ is established for the option hours being exercised:

CLIN          PROGRAM           ESTIMATED TOTAL COST            FEE
3002AA        RCV(Army)         $2,592,427.42                   No Fee
3002AB        RCV(EHP)          $522,700.06                     No Fee
3002AC        RCV(Prophet)      $22,000.00                      No Fee
3002AD        RCV(Buffalo)      $6,273.87                       No Fee
3002AE        RCV(POR)          $4,952,491.50                   No Fee
3002AF        RCV(Husky)        $374,072.18                     No Fee
3002AG        RCV (CEH)         $197,250.03                     No Fee
3002AH        RCV (FORSCOM)     $537,750.00                     No Fee
3002AJ        RCV (CEHC)        $105,200.00                     No Fee

5. As a result of this modification, the total number of hours obligated has increased by 706,396 from 9,318,082 to 10,024,478.         This
brings the remaining number of total hours available on the contract to 24,429,323.

6. As a result of this modification, the total dollar amount of this contract is increased by $36,341,570.48 from $758,322,383.92 to
$794,663,954.40.

7.   All other terms and conditions of contract W56HZV12C0127 remain unchanged and in full force and effect.




                                                    *** END OF NARRATIVE A0043 ***
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    Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

Modification P00044
Previous Contract Amount: $794,663,954.40
Amount of this Action: ($223,310.09)
New Contract Amount: $794,440,644.31

1. The purpose of Modification P00044 to contract W56HZV-12-C-0121 is to incorporate the following:

a. De-obligate the unliquidated funding on the MRAP CLINs 1002AG (RCV (BUFFALO) - EOR LABOR) and CLIN 1103AE (MRAP (MARINES)             KU):

-     CLIN 1002AG

      From: $36,100.03
      To: $0.00

-     CLIN 1103AE

      From: $187,210.06
      To: $0.00

Note: By De-obligating the aforementioned funding, CLINs 1002AG & 1103AE have been deleted from the contract.

b. Reallocate funding ($1M) from SOCOM CLIN 2202AA (SOCOM - OR OP 1 MATL, TRVL, ODC) to SOCOM CLIN 2201AA (SOCOM - OR OP 1 LABOR).

-     CLIN 2202AA

      From: $18,869,612.89
      To: $17,869,612.89

-     CLIN 2201AA

      From:

      Cost: $32,527,967.64
      Fee: $2,032,723.09
      Total CPFF: $34,560,690.73

      To:

      Cost: $33,527,967.64
      Fee: $2,032,723.09
      Total CPFF: $35,560,690.73

c. Correct Line of Accounting (LOA) error found on Modification P00042.         Special instructions to DFAS added to Section G.

d. Revised Attachment 11, Manpower Utilization (revision dated 17 December 2014) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in plact by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.




3. As a result of this modification, the total number of funded hours has neither increased nor decreased.        The remaining number of
total hours available on this contract is 24,429,323.

4. Modification P00044 impacts the contract amount. This contractual action decreases the total contract amount by ($223,310.09) from
the prior amount of $794,663,954.40 to a new total of $794,440,644.31.

                             Prior             This Change          Total

    Total Contract Value: $794,663,954.40     ($223,310.09)   $794,440,644.31
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


5. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                  *** END OF NARRATIVE A0044 ***



Modification P00045
Previous Contract Amount: $794,440,644.31
Amount of this Action: $250,000.00
New Contract Amount: $794,690,644.31

1. The purpose of Modification P00045 to contract W56HZV-12-C-0121 is to incorporate the following:

A.    MRAP AIR FORCE - OR OP 2 TVL & ODC CLIN 3102AC labor hour CLIN is established as follows:

CLIN        PROGRAM            TOTAL COST      TOTAL FEE       TOTAL CPFF
3102AC      MRAP (TVL & ODC)   $250,000.00     $0.00           $250,000.00

B. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 28 January 2015.

C. Added the following Clauses applicable to the aforementioned PWS revision:

     i. 252.225-7995 (Contractor Personnel Authorized to Accompany U.S. Armed Forces Deployed Outside the United States)

   ii. 252.225-7985 (Personnel Performing in Support of Operation United Assistance (OUA) in the United States Africa Command
(USAFRICOM) Theater of Operations

   iii. 5152.225-5900 (Arming Requirements and Procedures for Personal Security Services Contractors and for Requests for Personal
Protection)

D. Correct Line of Accounting (LOA) error found on Modification P00042.        Special instructions to DFAS added to Section G.

E. Revise Attachment 11, Manpower Utilization (revision dated 27 January 2015) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

F. Deobligate a portion of the hours and realign funds associated with: (a) downward adjustment to the contract scope and (b) ManTech's
corresponding cost submission dated 26 January 2015 for the MRAP Program.

G. Revise the following and MRAP Operational Readiness (OR) Option Period 2 labor hour CLIN as follows:

FROM:

CLIN        PROGRAM      TOTAL COST      TOTAL FEE       TOTAL CPFF       HOURS
3101AA      MRAP (LABOR) $1,126,921.16   $103,059.50     $1,229,980.66    37,341

TO:

CLIN        PROGRAM      TOTAL COST      TOTAL FEE       TOTAL CPFF       HOURS
3101AA      MRAP (LABOR) $1,129,968.20   $100,012.46     $1,229,980.66    36,237

H. As a result of this modification, the following Stop Work Orders are considered final and hereby closed out:

     i. MRAP Partial Stop Work Order, Contract W56HZV-12-C-0127 - Reduction in Scope of Work dated 14 January 2015.

2. As a result of this modification, the total number of hours obligated has decreased by 1,104 from 10,024,478 to 10,023,374. This
brings the remaining number of total hours available on the contract to 24,430,427.

3. As a result of this modification, the total dollar amount of this contract is increased by $250,000.00 from $794,440,644.31 to
$794,690,644.31.
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 Name of Offeror or Contractor:    MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

                           Prior             This Change           Total

  Total Contract Value: $794,440,644.31      $250,000.00     $794,690,644.31

4. All other Contract terms and conditions remain unchanged and in full force and effect.




                                                  *** END OF NARRATIVE A0045 ***



Modification P00047
Previous Contract Amount: $794,690,644.31
Amount of this Action: $5,649,950.26
New Contract Amount: $800,340,594.57

1. The purpose of Modification P00047 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Establish the following Foreign Military Sales (FMS) IRAQ (CASE: IQ-B-USE, Lines 001 & 002) CLINs procuring Contractor Logistics
Support Services (CLSS) supporting the IRAQ Mine Resistant Ambush Protected (MRAP) vehicle fleet at Taji as follows:

CLIN     DESCRIPTION           TOTAL COST      TOTAL FEE     TOTAL CPFF    HOURS
3301AA   LABOR                 $1,280,273.63   $51,824.30    $1,332,097.93 16,187
3302AA   MAT/TRV/ODC           $4,287,852.33   $     0.00    $4,287,852.33
3303AA   OTHER SUPPORT EQUIP   $   30,000.00   $     0.00    $   30,000.00

b. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 18 February 2015.

c. Revise Attachment 11, Manpower Utilization (revision dated 03 March 2015) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

d. Add the following FMS Clauses:

- 52.222-29 (Notification of Visa Denial)
- 52.225-4000 (Verification of Foreign Military Sales (FMS) Addresses))
- 252.225-7027 (Restriction on Sales Contingent Fees for Foreign Military
  Sales (FMS))
- 252.225-7028 (Exclusionary Policies and Practices of Foreign Governments)
- 252.229-7011 (Reporting of Foreign Taxes--U.S. Assistance Programs)

2. As a result of this modification, the total number of hours obligated has increased by 16,187 from 10,023,374 to 10,039,561. This
brings the remaining number of total hours available on the contract to 24,414,240.

3. As a result of this modification, the total dollar amount of this contract is increased by $5,649,950.26 from $794,690,644.31 to
800,340,594.57.

                           Prior             This Change         Total

  Total Contract Value: $794,690,644.31      $5,649,950.26      $800,340,594.57

4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                  *** END OF NARRATIVE A0047 ***



Modification P00046
Previous Contract Amount: $794,690,644.31
Amount of this Action: $0.00
New Contract Amount: $794,690,644.31
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

1. The purpose of Modification P00046 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Resultant of a Novation Agreement between the Government and the Contractor, signed on 06 June 2014, the Contractors CAGE, Name, and
Address is changed as follows:

FROM:
CAGE 0D0S5
ManTech Telecommunications and Information Systems Corporation
Corporate Park Dr
Herndon, VA 20171-2898

TO:
CAGE 5N741
ManTech Advanced Systems International, Inc.
12015 Lee Jackson Memorial Hwy
Fairfax, VA, 22033-3300

In accordance with the Novation Agreement and Corporate Guarantee executed by the parties and effective as of 06 June 2014, the parties
recognize that, although ManTech Advanced Systems International, Inc has been assigned new CAGE codes, it would be impractical for
ManTech Advanced Systems International, Inc to be prohibited from delivering end products, components and drawings containing old CAGE
codes that had been assigned to the former ManTech Telecommunications and Information Systems Corporation prior to that companies 06
June 2014 reorganization and merger into ManTech Advanced Systems International, Inc. Therefore, the parties agree that, notwithstanding
the assignment of new CAGE codes to ManTech Advanced Systems International, Inc. shall be permitted to deliver end products, components
and drawings containing the former ManTech Telecommunications and Information Systems Corporation CAGE codes and/or company name where
use of the new CAGE codes and/or new company name would be impractical.

b. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 28 January 2015.

c. Correct Line of Accounting (LOA) error found on Modification P00043.        Special instructions to DFAS added to Section G.

d. Revise Attachment 11, Manpower Utilization (revision dated 27 January 2015) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.




e. Revise the following and RCV Prophet Operational Readiness (OR) Option Period 2 labor hour CLIN as follows:

FROM:

CLIN      PROGRAM      TOTAL COST       TOTAL FEE     TOTAL CPFF          HOURS
3001AC    RCV (LABOR) $93,416.25        $7,011.50     $100,427.75         2,540

TO: Deleted

f. Revise the following and RCV Prophet Operational Readiness (OR) Option Period 2 MAT, TRL, ODC CLIN as follows:

CLIN      PROGRAM           TOTAL COST       TOTAL FEE       TOTAL CPFF
3002AC    RCV (MAT/TRL/ODC) $22,000.00       $0.00           $22,000.00

TO: Deleted

g. Revise the following and RCV Army Operational Readiness (OR) Option Period 2 labor hour CLIN as follows:

FROM:
                  Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 116 of 468

                                                          Reference No. of Document Being Continued          Page 40   of   388
         CONTINUATION SHEET                                                                                 REPRINT
                                                       PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


CLIN      PROGRAM      TOTAL COST        TOTAL FEE       TOTAL CPFF       HOURS
3001AA    RCV (LABOR) $8,528,043.58      $666,462.72     $9,194,506.30    241,427

TO:

CLIN      PROGRAM      TOTAL COST     TOTAL FEE          TOTAL CPFF       HOURS
3001AA    RCV (LABOR) $$8,650,471.33 $666,462.72        $$9,316,934.05    243,967

2. This is a $0.00 administrative modification.

3. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                  *** END OF NARRATIVE A0048 ***



Modification P00048
Previous Contract Amount: $800,340,594.57
Amount of this Action: 0.00
New Contract Amount: $800,340,594.57

1. The purpose of this administrative Modification P00048 to contract W56HZV-12-C-0127 is to incorporate the following CAGE Code:

  a. CAGE:   7BA04
             MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
             ManTech Chambersburg Facility
             Tamarack Industrial Park Building 652
             2015 Carbaugh Ave
             Chambersburg, PA 17202

             ManTech POC for Chambersburg
             Lee Medina
             Office: (910) 729-6618
             Cell: (910) 853-2988

  b. DUNS:   079734098

  c. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 12 March 2015.

  d. Revise Attachment 0001, Systems Models and Descriptions revision dated 12 March 2015.

2. This is a $0.00 administrative modification.

3. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                  *** END OF NARRATIVE A0049 ***

Modification P00049
Previous Contract Amount: $800,340,594.57
Amount of this Action: $255,683.51
New Contract Amount: $800,596,278.08

1. The purpose of Modification P00049 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Exercise 80 Operational Readiness (OR) Option Period 2 labor hours and establish CLINs for: (1) RCV Labor, Travel, Material, Other
Direct Cost (ODC) and the Husky Seats. Option hours are being exercised IAW Section H.11 (and H.12) of the contract.

b. USMC RCV HUSKY - OR OP 2 Labor CLIN 3001AK is exercised. CLIN 3001AK is established for the option hours being exercised:

____
CLIN      _______
          PROGRAM                 __________
                                  TOTAL COST    _________
                                                TOTAL FEE    __________
                                                             TOTAL CPFF     _____
                                                                            HOURS
3001AK    USMC - RCV (LABOR)      $2,822.00     $220.80      $3,043.20      80

c. USMC RCV HUSKY - OR OP2 MTL, TVL, ODC CLIN 3002AK is exercised. CLIN 3002AK is established for the option hours being exercised:
                    Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 117 of 468

                                                         Reference No. of Document Being Continued           Page 41    of   388
         CONTINUATION SHEET                                                                                 REPRINT
                                                      PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:    MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


CLIN
____      PROGRAM
          _______                      TOTAL COST
                                       __________     TOTAL FEE
                                                      _________    TOTAL CPFF
                                                                   __________

3002AK    USMC - RCV (TRAV/MAT/ODC)     $6,880.31     $0.00        $6,880.31

d. USMC RCV (HUSKY SEATS), ODC CLIN 3003AA is exercised. CLIN 3003AA is established for the option hours being exercised:

CLIN
____      PROGRAM
          _______                       TOTAL COST
                                        __________     TOTAL FEE
                                                       _________    TOTAL CPFF
                                                                    __________

3003AA    USMC - RCV (HUSKY SEATS)      $245,760.00    $0.00        $245,760.00

e. Revised Attachment 11, Manpower Utilization (revision dated 20 March 2015) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

f. Correct Line of Accounting (LOA) under CLIN 3001AD and 3002AD in Section B and reflect these changes in Section G.

2. As a result of this modification, the total number of hours obligated has increased by 80 from 10,039,561 to 10,039,641. This brings
the remaining number of total hours available on the contract to 24,414,160.

3. As a result of this modification, the total dollar amount of this contract is increased by $255,683.51 from $800,340,594.57 to
$800,596,278.08

                           Prior             This Change             Total

  Total Contract Value: $800,340,594.57      $255,683.51       $800,596,278.08

4. All other Contract terms and conditions remain unchanged and in full force and effect.




                                                    *** END OF NARRATIVE A0050 ***

Modification P00050
Previous Contract Amount: $800,596,278.08
Amount of this Action: $850,000.00
New Contract Amount: $801,446,278.08

1. The purpose of this unilateral Modification P00050 is to:

a. Establish CLIN 3102AD - MRAP AIR FORCE - OR OP 2 TVL & ODC as a follow on to CLIN 3102AC to add additional funding for Travel and
Other Direct Costs (ODCs) in support of Air Force Mine Resistant Ambush Protected (MRAP) vehicles. As a result of this modification, the
following is established:

CLIN      PROGRAM     TOTAL COST      TOTAL FEE      TOTAL CPFF
3102AD    MRAP AF     $850,000.00     $0.00          $850,000.00

2. As a result of this modification, the total number of hours obligated remains unchanged.

3. As a result of this modification, the total obligated amount of Contract W56HZV-12-C-0127 is increased by $850,000.00, from
$800,596,278.08 to $801,446,278.08.

4. All other terms and conditions of Contract W56HZV-12-C-0127, except those addressed by this Modification P00050, remain unchanged and
in full force and effect.




                                                    *** END OF NARRATIVE A0051 ***

Contract: W56HZV-12-C-0127
Modification P00051
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                                                           Reference No. of Document Being Continued               Page 42   of   388
         CONTINUATION SHEET                                                                                       REPRINT
                                                       PIIN/SIIN W56HZV-12-C-0127            MOD/AMD
 Name of Offeror or Contractor:     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


Previous Contract Amount: $801,446,278.08
Amount of this Action:    $     99,467.02
New Contract Amount:      $801,545,745.10

1. The purpose of Modification P00051 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Exercise 848 Operational Readiness (OR) Option Period 2 labor hours to fund 1 FSR and establish CLINs for: RCV Labor, Material,
Travel, and Other Direct Cost (ODC). Option hours are being exercised IAW Section H.11 (and H.12) of the contract.

b. RCV ARMY KOREA FSR   OR OP 2 Labor CLIN 3001AL is exercised. CLIN 3001AL is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM          TOTAL COST
                          __________       _________
                                           TOTAL FEE    __________
                                                        TOTAL CPFF    ___________
                                                                      LABOR HOURS
3001AL   RCV ARMY (LABOR) $30,177.70       $2,340.48    $32,518.18    848

c. RCV ARMY KOREA FSR   OR OP 2 MTL, TRVL, ODC CLIN 3002AL is exercised. CLIN 3002AL is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL FEE     __________
                                                                TOTAL CPFF
3002AL   RCV ARMY (MAT/TRL/ODC)     $66,948.84    $0.00         $66,948.84

d. Revised Attachment 11, Manpower Utilization (revision dated 28 May 2015) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

e. Add Clause 52.225-4005    Invited Contractor or Technical Representative Status under U.S.      Republic of Korea (ROK) Status of Force
Agreement (SOFA).

f. Add Clause 52.225-4006    Continuance of Performance During any State of Emergency in the Republic of Korea (ROK).

g. Add Clause 252.204-7012 - Safeguarding of Unclassified Controlled Technical Information.

2. As a result of this modification, the total number of hours obligated has increased by 848 from 10,039,641 to 10,040,489. This brings
the remaining number of total hours available on the contract to 24,413,312.

3. As a result of this modification, the total dollar amount of this contract is increased by $99,467.02 from $801,446,278.08 to
$801,545,745.10.

                            Prior             This Change            Total

  Total Contract Value: $801,446,278.08       $99,467.02       $801,545,745.10

4. All other Contract terms and conditions remain unchanged and in full force and effect.

**Note: Mod P00051 does not make any changes to Narrative A0001, A0044, A0050 or A0051 under Section A. These narratives appear under
this modification due to the print order being changed. As a result, all narratives will now be in sequence under Section A of the
conformed copy of the contract. Narrative A0052 identifies the applicable changes under this Modification P00051.




                                                   *** END OF NARRATIVE A0052 ***

Contract: W56HZV-12-C-0127
Modification P00052

Previous Contract Amount: $801,545,745.10
Amount of this Action:    $   (970,285.69)
New Contract Amount:      $800,575,459.41

1. The purpose of Modification P00052 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Deobligate 14,808 Operational Readiness (OR) Option Period (OP) 2 labor hours to and deobligate funding under CLIN 3001AA - RCV Army -
 OR OP 2 Labor, CLIN 3001AE RCV POR - OR OP 2 Labor, and CLIN 3002AE RCV POR - OR OP 2 Material, Travel, Other Direct Costs.
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                                                        Reference No. of Document Being Continued            Page 43   of   388
         CONTINUATION SHEET                                                                                 REPRINT
                                                     PIIN/SIIN W56HZV-12-C-0127              MOD/AMD
 Name of Offeror or Contractor:     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


b. Revise the following and RCV ARMY - OR OP 2 LABOR CLIN as follows:

FROM:

____
CLIN     _______
         PROGRAM             __________
                             TOTAL COST       _________
                                              TOTAL FEE      __________
                                                             TOTAL CPFF       ___________
                                                                              LABOR HOURS
3001AA   RCV ARMY (LABOR)    $8,650,471.33    $666,462.72    $9,316,934.05    241,472

TO:
CLIN
____     _______
         PROGRAM             __________
                             TOTAL COST       _________
                                              TOTAL FEE      __________
                                                             TOTAL CPFF       ___________
                                                                              LABOR HOURS
3001AA   RCV ARMY (LABOR)    $8,585,500.50    $664,055.12    $9,249,555.62    240,720

c. Revise the following and RCV POR - OR OP 2 LABOR CLIN as follows:

FROM:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST        _________
                                              TOTAL FEE      __________
                                                             TOTAL CPFF        ___________
                                                                               LABOR HOURS
3001AE   RCV POR (LABOR)    $12,348,292.49    $931,018.88    $13,279,311.37    337,326

TO:
CLIN
____     _______
         PROGRAM             TOTAL COST
                             __________       _________
                                              TOTAL FEE      __________
                                                             TOTAL CPFF     LABOR HOURS
                                                                            ___________
3001AE   RCV POR (LABOR)    $11,742,807.20    $886,017.19    $12,628,824.39 323,270

d. Revise the following and RCV POR - OR OP 2 MTL, TVL, ODC CLIN as follows:

FROM:

____
CLIN     _______
         PROGRAM                      ____________________
                                      ESTIMATED TOTAL COST        ___
                                                                  FEE
3002AE   RCV POR (MTL/TVL/ODC)        $4,952,491.50               No Fee

TO:
CLIN
____     _______
         PROGRAM                      ____________________
                                      ESTIMATED TOTAL COST        ___
                                                                  FEE
3002AE   RCV POR (MTL/TVL/ODC)        $4,700,071.22               No Fee

e. Revised Attachment 11, Manpower Utilization (revision dated 21 Apil 2015) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

f. Revise Attachment 0022, Performance Work Statement (PWS) revision dated 12 June 2015. Paragraph C.1.3.2.1 is changed as follows:

FROM:
i) The contractor shall establish a single CONUS-based management focal point (Program Manager, see Attachment 8 for description) to
accomplish the administrative, managerial and financial aspects of this contract. Contractor will also identify CONUS based Program
Manager for SOCOM activities.

TO:
i) The contractor may be required to establish a single CONUS-based management focal point (Program Manager, see Attachment 8 for
description) to accomplish the administrative, managerial and financial aspects of this contract. Contractor will also identify CONUS
based Program Manager for SOCOM activities.

2. As a result of this modification, the total number of hours obligated has decreased by 14,808 from 10,040,489 to 10,025,681. This
brings the remaining number of total hours available on the contract to 24,428,120.

3. As a result of this modification, the total dollar amount of this contract is decreased by $970,285.69 from $801,545,745.10 to
$800,575,459.41.

                            Prior              This Change            Total

  Total Contract Value: $801,545,745.10       $(970,285.69)       $800,575,459.41

4. All other Contract terms and conditions remain unchanged and in full force and effect.
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                                                          Reference No. of Document Being Continued          Page 44   of   388
         CONTINUATION SHEET                                                                                 REPRINT
                                                    PIIN/SIIN W56HZV-12-C-0127              MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.




                                                  *** END OF NARRATIVE A0053 ***

Contract: W56HZV-12-C-0127
Modification P00053

Previous Contract Amount: $800,575,459.41
Amount of this Action:    $          0.00
New Contract Amount:      $800,575,459.41

1. The Purpose of this Modification P00053 is to transfer the accountability of Government Furnished Equipment (GFE), Government
Furnished Material (GFM), and Contractor Acquired Property (CAP) previously covered by Contract W56HZV-11-C-0168 is hereby transferred
to Contract W56HZV-12-C-0127. The list of GFE/GFM/CAP is identified on Attachment 0009 - Government Furnished Property (GFP), revision
dated 12 June 2015. The transfer of GFE will be within the stipulation of this contract Section C and FAR Clause 52.245-1. The following
changes are hereby made to Contract W56HZV-12-C-0127.

a. Revise Attachment 0009    Government Furnished Property (GFP), revision dated 12 June 2015.

b. Revise Attachment 0022 - Performance Work Statement (PWS), revision dated 13 June 2015. The PWS is changed as follows:

   i. C.1.9.1.3, paragraph IV is deleted.

2. As a result of this modification, the total number of hours obligated remain unchanged.

3. As a result of this modification, the total dollar amount of this contract remains unchanged.

4. All other Contract terms and conditions remain unchanged and in full force and effect



                                                  *** END OF NARRATIVE A0054 ***

Contract: W56HZV-12-C-0127
Modification: P00054

Previous Contract Amount: $800,575,459.41
Amount of this Action:    $ 8,551,485.74
New Contract Amount:      $809,126,945.15

1. The purpose of this bilateral Modification P00054 is to:

a. Add funding to CLIN 3201AA - SOCOM OR OP 2 Labor. As a result of this modification, the following is changed:

FROM:

CLIN     PROGRAM         TOTAL COST       TOTAL FEE        TOTAL CPFF       HOURS
3201AA   SOCOM (LABOR)   $16,000,274.35   $1,320,980.16    $17,321,254.51       478,616

TO:

CLIN     PROGRAM         TOTAL COST       TOTAL FEE        TOTAL CPFF       HOURS
3201AA   SOCOM (LABOR)   $24,551,760.09   $1,320,980.16    $25,872,740.25       478,616

b. Revise Attachment 0009 - Government Furnished Property (GFP), revision dated 30 June 2015.

2. As a result of this modification, the total number of hours obligated remain unchanged.

3. As a result of this modification, the total obligated amount of Contract W56HZV-12-C-0127 is increased by $8,551,485.74, from
$800,575,459.41 to $809,126,945.15.

4. All other terms and conditions of Contract W56HZV-12-C-0127, except those addressed by this Modification P00054, remain unchanged and
in full force and effect.



                                                  *** END OF NARRATIVE A0055 ***
                  Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 121 of 468

                                                           Reference No. of Document Being Continued         Page 45   of   388
         CONTINUATION SHEET                                                                                 REPRINT
                                                     PIIN/SIIN W56HZV-12-C-0127              MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


Modification P00055
Previous Contract Amount: $809,126,945.15
Amount of this Action:    $   (149,191.48)
New Contract Amount:      $808,977,753.67

1. The purpose of Modification P00055 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Align the labor force on contract with current SOCOM and RCV manpower requirements. This will result in a total reduction of 3,360
SOCOM Operational Readiness (OR) Option Period (OP) 2 labor hours, obligate funding under CLIN 3001AA RCV Army OR OP 2 Labor and
3002AA RCV Army OR OP 2 Mat/Tvl/ODC, and deobligate funding under 3001AE RCV POR OR OP 2 Labor, 3002AE RCV POR OR OP 2
Mat/Tvl/ODC, 3201AA SOCOM OR OP 2 Labor, 3202AA SOCOM OR OP 2 Mat/Tvl/ODC.

b. Revise the following RCV Army    OR OP 2 Labor CLIN as follows:

FROM:

CLIN     PROGRAM            TOTAL COST       TOTAL FEE      TOTAL CPFF      HOURS
3001AA   RCV ARMY (LABOR)   $8,585,500.50    $664,055.12    $9,249,555.62   240,720

TO:

CLIN     PROGRAM            TOTAL COST       TOTAL FEE      TOTAL CPFF      HOURS
3001AA   RCV ARMY (LABOR)   $8,618,519.56    $665,867.45    $9,284,387.00   241,296

c. Revise the following RCV Army    OR OP 2 MTL, TVL, ODC CLIN as follows:

FROM:

CLIN     PROGRAM                  TOTAL COST       TOTAL FEE
3002AA   RCV ARMY (MTL/TVL/ODC)   $2,592,427.42    No Fee

TO:

CLIN     PROGRAM                  TOTAL COST       TOTAL FEE
3002AA   RCV ARMY (MTL/TVL/ODC)   $2,600,006.84    No Fee

d. Revise the following RCV POR    OR OP 2 Labor CLIN as follows:

FROM:

CLIN     PROGRAM         TOTAL COST         TOTAL FEE      TOTAL CPFF       HOURS
3001AE   RCV POR (LABOR) $11,742,807.20     $886,017.19    $12,628,824.39   323,270

TO:

CLIN     PROGRAM         TOTAL COST         TOTAL FEE      TOTAL CPFF       HOURS
3001AE   RCV POR (LABOR) $11,709,533.78     $884,173.07    $12,593,706.85   322,694

e. Revise the following RCV POR    OR OP 2 MTL, TVL, ODC CLIN as follows:

FROM:

CLIN     PROGRAM                  TOTAL COST       TOTAL FEE
3002AE   RCV ARMY (MTL/TVL/ODC)   $4,700,071.22    No Fee

TO:

CLIN     PROGRAM                  TOTAL COST       TOTAL FEE
3002AA   RCV ARMY (MTL/TVL/ODC)   $4,692,491.80    No Fee

f. Revise the following SOCOM     OR OP 2 Labor CLIN as follows:

FROM:
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                                                           Reference No. of Document Being Continued                Page 46   of   388
         CONTINUATION SHEET                                                                                        REPRINT
                                                      PIIN/SIIN W56HZV-12-C-0127             MOD/AMD
 Name of Offeror or Contractor:     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

CLIN     PROGRAM         TOTAL COST        TOTAL FEE        TOTAL CPFF        HOURS
3201AA   SOCOM (LABOR)   $24,551,760.09    $1,320,980.16    $25,872,740.25    478,616

TO:

CLIN     PROGRAM         TOTAL COST        TOTAL FEE        TOTAL CPFF      HOURS
3201AA   SOCOM (LABOR)   $24,421,035.95    $1,309,316.84    $25,730,352.79 475,256

g. Revise the following SOCOM     OR OP 2 MTL, TVL, ODC CLIN as follows:

FROM:

CLIN     PROGRAM                    TOTAL COST      TOTAL FEE
3202AA   SOCOM (MTL/TVL/ODC)        $7,975,600.00   No Fee

TO:

CLIN     PROGRAM                    TOTAL COST      TOTAL FEE
3202AA   SOCOM (MTL/TVL/ODC)        $7,969,082.14   No Fee

h. Modify Attachment 11, Manpower Utilization (revision dated 07 July 2015) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

2. As a result of this modification, the total number of hours obligated has decreased by 3,360 from 10,025,681 to 10,022,321. This
brings the remaining number of total hours available on the contract to 24,431,480.

3. As a result of this modification, the total dollar amount of this contract is decreased by $149,191.48 from $809,126,945.15 to
$808,977,753.67.

                            Prior              This Change            Total

  Total Contract Value: $809,126,945.15       ($149,191.48)      $808,977,753.67

4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                    *** END OF NARRATIVE A0056 ***

Modification P00056
Previous Contract Amount: $808,977,753.67
Amount of this Action:    $ 2,060,330.74
New Contract Amount:      $811,038,084.41

1. The purpose of Modification P00056 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Extend the Period of Performance (PoP) and obligate hours and funding under CLIN 3301AA        FMS Iraq   Labor (Caiman) and 3302AA   FMS
Iraq MAT/TRV/ODC (Caiman).

b. Revise the following FMS Iraq      Labor (Caiman) CLIN as follows:

FROM:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST       _________
                                             TOTAL FEE      TOTAL CPFF
                                                            __________       _____
                                                                             HOURS
3301AA   FMS IRAQ (LABOR)   $1,280,273.63    $51,824.30    $1,332,097.93     16,187

TO:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST       _________
                                             TOTAL FEE      TOTAL CPFF
                                                            __________       _____
                                                                             HOURS
3301AA   FMS IRAQ (LABOR)   $1,487,397.37    $87,702.77    $1,575,100.14     22,840

c. Revise the following FMS Iraq      MTL, TVL, ODC CLIN as follows:
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                                                           Reference No. of Document Being Continued                 Page 47   of   388
         CONTINUATION SHEET                                                                                         REPRINT
                                                      PIIN/SIIN W56HZV-12-C-0127              MOD/AMD
 Name of Offeror or Contractor:     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


FROM:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST      _________
                                                    TOTAL  FEE
3302AA   FMS IRAQ (MTL/TVL/ODC)     $4,287,852.33   No Fee

TO:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST      _________
                                                    TOTAL  FEE
3302AA   FMS IRAQ (MTL/TVL/ODC)     $6,105,180.86   No Fee

e. Revise the PoP under CLIN 3301AA      FMS Iraq   Labor (Caiman) and 3302AA    FMS Iraq   MAT/TRV/ODC (Caiman) as follows:

FROM:

03 March 2015 thru 31 August 2015

TO:

03 March 2015 thru 15 November 2015

f. Revise Attachment 11, Manpower Utilization (revision dated 08 July 2015) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

2. As a result of this modification, the total number of hours obligated has increased by 6,653 from 10,022,321 to 10,028,974. This
brings the remaining number of total hours available on the contract to 24,424,827.

3. As a result of this modification, the total dollar amount of this contract is increased by $2,060,330.74 from $808,977,753.67 to
$811,038,084.41.

                            Prior               This Change            Total

  Total Contract Value: $808,977,753.67        $2,060,330.74       $811,038,084.41

4. All other Contract terms and conditions remain unchanged and in full force and effect.




                                                    *** END OF NARRATIVE A0057 ***

Modification P00057
Previous Contract Amount: $811,038,084.41
Amount of this Action:    $ 2,293,099.97
New Contract Amount:      $813,331,184.38

1. The purpose of Modification P00057 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Revise Foreign Military Sales (FMS) Iraq (CASE: IQ-B-USE) CLIN 3301AA FMS Iraq Labor and 3302AA FMS Iraq MAT/TRV/ODC to procure
Contractor Logistics Support Services (CLSS) Maintenance Support for the Iraq Mine Resistant Ambush Protected (MRAP) vehicle, Self-
Protection Adaptive Roller Kit (SPARK Roller) fleet and MRAP Recovery Vehicles (MRVs) and to add a secondary maintenance support
location in Erbil..

b. Revise the following FMS Iraq      Labor CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST       _________
                                             TOTAL FEE      __________
                                                            TOTAL CPFF      _____
                                                                            HOURS
3301AA   FMS IRAQ (LABOR)   $1,762,831.86    $105,375.16    $1,868,207.02     28,557

FROM:
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         CONTINUATION SHEET                                                                                 REPRINT
                                                      PIIN/SIIN W56HZV-12-C-0127            MOD/AMD
 Name of Offeror or Contractor:     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST       _________
                                             TOTAL FEE     TOTAL CPFF
                                                           __________      _____
                                                                           HOURS
3301AA   FMS IRAQ (LABOR)   $1,487,397.37    $87,702.77   $1,575,100.14    22,840

c. Revise the following FMS Iraq      MTL, TVL, ODC CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST      _________
                                                    TOTAL  FEE
3302AA   FMS IRAQ (MTL/TVL/ODC)     $8,105,173.95   No Fee

FROM:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST      _________
                                                    TOTAL  FEE
3302AA   FMS IRAQ (MTL/TVL/ODC)     $6,105,180.86   No Fee

d. Revise Attachment 0011, Manpower Utilization (revision dated 30 July 2015) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

e. Revise Attachment 0022, Performance Work Statement (PWS), revision dated 03 August 2015. The PWS is changed as follows:

   i. Add paragraph C.1.1.2.2.2.2(i)(i.a)(i.a.3), Panther/Chambersburg Facility will provide storage for up to 450 vehicles over the
duration of the performance period."

   ii. Delete paragraph C.1.9.1.3(iv), In OEF, all excess inventories shall be disposed of according to US Army country
Directives/FRAGOs or to established turn in facilities to include DLA Disposition Services Sites, SSA Retro Sort yards or camp laydown
yards, and renumber subsequent paragraphs through C.1.9.1.3.v.

f. Revise Attachment 0008, Labor Categories, revision dated 11 August 2015. The Labor Categories are changed as follows:

   i. Add Labor Category Z, Procurement Analyst, and required qualifications.

2. As a result of this modification, the total number of hours obligated has increased by 5,717 from 10,028,974 to 10,034,691. This
brings the remaining number of total hours available on the contract to 24,419,110.

3. As a result of this modification, the total dollar amount of this contract is increased by $2,293,099.97 from $811,038,084.41 to
$813,331,184.38.

                            Prior               This Change            Total

  Total Contract Value: $811,038,084.41        $2,293,099.97       $813,334,825.39

4. All other Contract terms and conditions remain unchanged and in full force and effect



                                                    *** END OF NARRATIVE A0058 ***

Modification P00058
Previous Contract Amount: $813,331,184.38
Amount of this Action:    $ 10,232,272.83
New Contract Amount:      $823,563,457.21

1. The purpose of Modification P00058 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Revise Route Clearance Vehicle (RCV) Labor and Material, Travel, Other Direct Cost (ODC) CLINs to allocate and realign funding to
cover the projected cost overrun that ManTech Advanced Systems International, Inc. is incurring under Option Period 2.

b. Revise the following RCV Army      Labor CLIN as follows:

TO:

CLIN
____     PROGRAM
         _______            TOTAL COST
                            __________        TOTAL FEE
                                              _________     TOTAL CPFF
                                                            __________         HOURS
                                                                               _____
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         CONTINUATION SHEET                                                                             REPRINT
                                                         PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

3001AA   RCV ARMY (LABOR)    $12,590,524.95    $665,867.45    $13,256,932.40     241,296

FROM:

____
CLIN     _______
         PROGRAM             __________
                             TOTAL COST        _________
                                               TOTAL FEE      __________
                                                              TOTAL CPFF         _____
                                                                                 HOURS
3001AA   RCV ARMY (LABOR)    $8,618,519.55     $665,867.45    $9,284,387.00      241,296

c. Revise the following RCV Army     MTL, TVL, ODC CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST       _________
                                                    TOTAL  FEE
3002AA   RCV ARMY (MTL/TVL/ODC)    $6,111,379.89    No Fee

FROM:

____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST       _________
                                                    TOTAL  FEE
3002AA   RCV ARMY (MTL/TVL/ODC)    $2,600,006.84    No Fee

d. Revise the following RCV EHP     Labor CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST       _________
                                             TOTAL FEE      __________
                                                            TOTAL CPFF      _____
                                                                            HOURS
3001AB   RCV EHP (LABOR)    $2,629,689.10    $163,217.57    $2,792,906.67   59,137

FROM:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST       _________
                                             TOTAL FEE      __________
                                                            TOTAL CPFF      _____
                                                                            HOURS
3001AB   RCV EHP (LABOR)    $2,140,151.17    $163,217.57    $2,303,368.74   59,137

e. Revise the following RCV EHP     Labor MTL, TVL, ODC CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST       _________
                                                   TOTAL  FEE
3002AB   RCV EHP (MTL/TVL/ODC)    $3,492,913.77    No Fee

FROM:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST     _________
                                                 TOTAL  FEE
3002AB   RCV EHP (MTL/TVL/ODC)    $522,700.06    No Fee

f. Revise the following RCV CEHC     Labor CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM             __________
                             TOTAL COST     _________
                                            TOTAL FEE     __________
                                                          TOTAL CPFF    _____
                                                                        HOURS
3001AJ   RCV CEHC (LABOR)    $318,878.13    $28,428.93    $347,307.06   10,300



FROM:

____
CLIN     _______
         PROGRAM             __________
                             TOTAL COST     _________
                                            TOTAL FEE     __________
                                                          TOTAL CPFF    _____
                                                                        HOURS
3001AJ   RCV CEHC (LABOR)    $347,325.63    $28,428.93    $375,754.56   10,300



g. Revise the following RCV CEHC     Labor MTL, TVL, ODC CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST    _________
                                                 TOTAL  FEE
3002AJ   RCV CEHC (MTL/TVL/ODC)    $96,120.06    No Fee

FROM:
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         CONTINUATION SHEET                                                                              REPRINT
                                                       PIIN/SIIN W56HZV-12-C-0127              MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST     _________
                                                  TOTAL  FEE
3002AJ   RCV CEHC (MTL/TVL/ODC)    $105,200.00    No Fee

h. Revise the following RCV FORSCOM      Labor CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST        _________
                                                 TOTAL FEE        __________
                                                                  TOTAL CPFF       _____
                                                                                   HOURS
3001AH   RCV FORSCOM (LABOR)   $1,509,486.97     $137,615.01      $1,647,101.98    49,861

FROM:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST        __________
                                                 TOTAL FEE        __________
                                                                  TOTAL CPFF       _____
                                                                                   HOURS
3001AH   RCV FORSCOM (LABOR)   $1,702,898.11     $137,615.01      $1,840,513.12    49,861

i. Revise the following RCV FORSCOM      Labor MTL, TVL, ODC CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM                   TOTAL COST
                                   __________        _________
                                                     TOTAL  FEE
3002AH   RCV FORSCOM (MTL/TVL/ODC) $228,691.49       No Fee

FROM:

____
CLIN     _______
         PROGRAM                   TOTAL COST
                                   __________  TOTAL FEE
                                               _________
3002AH   RCV FORSCOM (MTL/TVL/ODC) $537,750.00 No Fee

j. Revise the following RCV CEH     Labor CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM           __________
                           TOTAL COST     _________
                                          TOTAL FEE    __________
                                                       TOTAL CPFF      _____
                                                                       HOURS
3001AG   RCV CEH (LABOR)   $128,425.60    $6,604.81    $135,030.41     2,393

FROM:

____
CLIN     _______
         PROGRAM           __________
                           TOTAL COST    _________
                                         TOTAL FEE    __________
                                                      TOTAL CPFF      _____
                                                                      HOURS
3001AG   RCV CEH (LABOR)   $96,145.16    $6,604.81    $102,749.97     2,393



k. Revise the following RCV CEH     Labor MTL, TVL, ODC CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST    _________
                                                TOTAL  FEE
3002AG   RCV CEH (MTL/TVL/ODC)    $48,724.56    No Fee

FROM:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST     _________
                                                 TOTAL  FEE
3002AG   RCV CEH (MTL/TVL/ODC)    $197,250.03    No Fee

l. Revise the following RCV BUFFALO      Labor CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST    _________
                                             TOTAL FEE     __________
                                                           TOTAL CPFF    _____
                                                                         HOURS
3001AD   RCV BUFFALO (LABOR)   $71,970.18    $7,016.48     $78,986.66    2,393

FROM:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST      _________
                                               TOTAL FEE     __________
                                                             TOTAL CPFF    _____
                                                                           HOURS
3001AD   RCV BUFFALO (LABOR)   $116,709.65     $7,016.48     $123,726.13   2,543
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         CONTINUATION SHEET                                                                                 REPRINT
                                                        PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:      MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

m. Revise the following RCV BUFFALO       Labor MTL, TVL, ODC CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM                        __________
                                        TOTAL COST   _________
                                                     TOTAL  FEE
3002AD   RCV BUFFALO (MTL/TVL/ODC)      $8,000.90    No Fee

FROM:

____
CLIN     _______
         PROGRAM                        __________
                                        TOTAL COST   _________
                                                     TOTAL  FEE
3002AD   RCV BUFFALO (MTL/TVL/ODC)      $6,273.87    No Fee

n. Revise the following RCV HUSKY       Labor CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM              __________
                              TOTAL COST    _________
                                            TOTAL FEE   __________
                                                        TOTAL CPFF   _____
                                                                     HOURS
3001AF   RCV HUSKY (LABOR)    $20,707.48    $2,274.42   $22,981.90   824

FROM:

____
CLIN     _______
         PROGRAM              __________
                              TOTAL COST    _________
                                            TOTAL FEE   __________
                                                        TOTAL CPFF   _____
                                                                     HOURS
3001AF   RCV HUSKY (LABOR)    $29,779.08    $2,274.42   $32,053.50   824

o. Revise the following RCV HUSKY       Labor MTL, TVL, ODC CLIN as follows:

TO:

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST   _________
                                                   TOTAL  FEE
3002AF   RCV HUSKY (MTL/TVL/ODC)      $50,535.06   No Fee

FROM:

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST   _________
                                                   TOTAL  FEE
3002AF   RCV HUSKY (MTL/TVL/ODC)      $53,066.16   No Fee

p. Change Attachment 0009 - Government Furnished Property (GFP), revision dated 24 August 2015, to add the results of the Joint
Inventory for the Panther vehicles at Chambersburg.

2. As a result of this modification, the total number of hours obligated remain unchanged.

3. As a result of this modification, the total dollar amount of this contract is increased by $10,232,272.83 from $813,331,184.38 to
$823,563,457.21

                             Prior                 This Change          Total

  Total Contract Value: $813,331,184.38         $10,232,272.83       $823,563,457.21

4. All other Contract terms and conditions remain unchanged and in full force and effect



                                                     *** END OF NARRATIVE A0059 ***

Modification P00060
Previous Contract Amount: $823,446,019.10
Amount of this Action:    $ 66,996,342.20
New Contract Amount:      $890,442,361.30

1. The purpose of Modification P00060 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Change Attachment 11, Manpower Utilization (revision dated 21 October 2015) to reflect the Option Period 3 exercise of personnel for
Route Clearance Vehicles (RCV), Mine Resistant Ambush Protected (MRAP) and Special Operations Command (SOCOM). Staffing level changes
are authorized by Performance Work Statement (PWS) paragraph C.1.1.3.5 (Changes to Level of Effort per Labor Category).

b. The Period of Performance for Option Period 3 is from 16 November 2015 through 14 November 2016.
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         CONTINUATION SHEET                                                                                  REPRINT
                                                          PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:      MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


c. Exercise 984,363 Option Period 3 labor hours and establish CLINs for RCV, MRAP, and SOCOM Operational Readiness (OR) and CLINs for
associated travel costs and Other Direct Costs (ODC). As a result of this modification, the total number of hours obligated has
increased by 984,363 from 10,034,523 to 11,018,886. The total amount of hours available for obligation is 23,434,915. Option hours are
being exercised IAW Section H.11 and H.12 of the contract. Exercise of these hours does not increase the pool of 34,453,801 hours,
which represents the cumulative amount of hours available for the life of the contract.

d. RCV OR Option Period 3 Labor CLIN 4001AA is exercised. CLINs 4001AB, 4001AE, 4001AG and 4001AH are established for the option hours
being exercised:

____
CLIN     _______
         PROGRAM        __________
                        TOTAL COST        _________
                                          TOTAL FEE         __________
                                                            TOTAL CPFF           _____
                                                                                 HOURS
4001AA   RCV ARMY       $10,383,182.60    $ 766,360.17      $11,149,542.76       276,664
4001AB   RCV ROLLER     $   268,183.20    $   21,362.24     $   289,545.44         7,712
4001AE   RCV POR        $14,614,630.98    $1,106,004.29     $15,720,635.27       399,280
4001AG   RCV CEH        $   188,069.04    $   12,895.19     $   200,964.23         4,655
4001AH   RCV FORSCOM    $ 1,677,545.59    $ 135,871.29      $ 1,813,416.88        49,051

e. MRAP OR Option Period 3 Labor CLIN 4101AA is exercised. CLIN 4101AB is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM           __________
                           TOTAL COST         _________
                                              TOTAL FEE     __________
                                                            TOTAL CPFF        _____
                                                                              HOURS
4101AA   MRAP ARMY         $ 902,585.18       $82,418.58    $985,003.76       29,754
4101AB   MRAP AIR FORCE    $2,788,635.18      $242,260.10   $3,030,895.28     87,459

f. SOCOM OR Option Period 3 Labor CLIN 4201AA is partially exercised.

____
CLIN     _______
         PROGRAM    __________
                    TOTAL COST       _________
                                     TOTAL FEE      __________
                                                    TOTAL CPFF         _____
                                                                       HOURS
4201AA   SOCOM      $6,420,567.36    $299,049.20    $6,719,616.56      107,960

g. FMS Iraq OR Option Period 3 Labor CLIN 4301AA is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM     __________
                     TOTAL COST       _________
                                      TOTAL FEE        __________
                                                       TOTAL CPFF       _____
                                                                        HOURS
4301AA   FMS IRAQ    $1,355,750.06    $60,463.56       $1,416,213.62    21,828

h. RCV OR Option Period 3 Material, Travel, and ODC CLIN 4002AA is exercised. CLINs 4002AB, 4002AE, 4002AG and 4002AH are established:

____
CLIN     _______
         PROGRAM        __________
                        TOTAL COST        ___
                                          FEE
4002AA   RCV ARMY       $10,701.066.76    No Fee
4002AB   RCV ROLLER     $ 1,249,421.36    No Fee
4002AE   RCV POR        $ 3,649,550.88    No Fee
4002AG   RCV CEH        $     1,803.62    No Fee
4002AH   RCV FORSCOM    $ 1,067,605.82    No Fee

i. MRAP OR Option Period 3 Material, Travel, and ODC CLIN 4102AA is exercised. CLIN 4102AB is established:

____
CLIN     _______
         PROGRAM           __________
                           TOTAL COST         ___
                                              FEE
4102AA   MRAP ARMY         $ 253,668.66       No Fee
4102AB   MRAP AIR FORCE    $3,096,400.31      No Fee

j. SOCOM OR Option Period 3 Material, Travel, and ODC CLIN 4202AA is partially exercised:

____
CLIN     _______
         PROGRAM    __________
                    TOTAL COST       ___
                                     FEE
4202AA   SOCOM      $3,280,383.44    No Fee

k. FMS Iraq OR Option Period 3 Material, Travel, and ODC CLIN 4302AA is established:

____
CLIN     _______
         PROGRAM     __________
                     TOTAL COST       ___
                                      FEE
4302AA   FMS IRAQ    $2,370,607.56    No Fee



2. Add the following clauses:

   252.225-7981 Additional Access to Contractor and Subcontractor Records.
   5152.225-5908 Government Furnished Contractor Support
   252.225-7997 - Contractor Demobilization
   52.232-22 - Limitation of Funds
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


3. Delete Clause 952.225-0011     Government Furnished Contractor Support

4. Add Attachment 0031 - Service Contract Act (SCA) Wage Determination (WD).

5. Change clause H.11(a) LEVEL OF EFFORT (COST REIMBURSEMENT) as follows:

From:

The Government will estimate the cost of the labor hours per CLIN using the labor rates provided in Attachment 12 for each of the labor
categories, performance locations, and hours specified in Attachment 10 and Attachment 11.

To:

The Government will estimate the cost of the labor hours per CLIN using actual incurred costs that are averaged by labor category for
the most recent month or by using the labor rates provided in Attachment 12 for each of the labor categories, performance locations, and
hours specified in Attachment 10 and Attachment 11.

6. In addition, Mod P00060 corrects the Amount of this Action and New Contract Amount and paragraph 3 shown in Narrative A0060 under Mod
P00059 as follows:



               a.         From:

         Modification P00059
         Previous Contract Amount: $823,563,457.21
         Amount of this Action:    $   (117,389.93)
         New Contract Amount:      $823,446,067.28

         To:

         Modification P00059
         Previous Contract Amount: $823,563,457.21
         Amount of this Action:    $   (117,438.11)
         New Contract Amount:      $823,446,019.10

        b. From:

         3. As a result of this modification, the total dollar amount of this contract is decreased by $117,389.93 from $823,563,457.21
to $823,446,067.28.

                          Prior               This Change           Total

  Total Contract Value: $823,563,457.21      $(117,389.93)       $823,446,067.28



         To:

         3. As a result of this modification, the total dollar amount of this contract is decreased by $117,438.11 from $823,563,457.21
to $823,446,019.10.

                          Prior               This Change           Total

  Total Contract Value: $823,563,457.21      $(117,438.11)       $823,446,019.10

7. As a result of Modification P00060, the total number of hours obligated has increased by 984,363 from 10,034,523 to 11,018,886.

8. As a result of Modification P00060, the total dollar amount of this contract is increased by $66,996,342.20 from $823,446,019.10 to
$890,442,361.30.

                          Prior               This Change           Total

  Total Contract Value: $823,446,019.10      $66,996,342.20       $890,442,361.30

9. All other Contract terms and conditions remain unchanged and in full force and effect.
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.




                                                   *** END OF NARRATIVE A0061 ***

Modification P00061
Previous Contract Amount: $890,442,361.30
Amount of this Action:    $         00.00
New Contract Amount:      $890,442,361.30

1. The purpose of Modification P00061 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Realign funding from total fee to total cost under CLIN 3001AD - RCV BUFFALO - OR OP 2 LABOR to cover a cost overrun that ManTech
Advanced Systems International, Inc. is incurring. The RCV Buffalo - Labor CLIN is revised as follows:

FROM:

____
CLIN     _______
         PROGRAM               _________
                               TOTAL COS     _________
                                             TOTAL FEE   __________
                                                         TOTAL CPFF    _____
                                                                       HOURS
3001AD   RCV BUFFALO (LABOR)   $71,970.18    $7,016.48   $78,986.66    2,393

TO:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST    _________
                                             TOTAL FEE   __________
                                                         TOTAL CPFF    _____
                                                                       HOURS
3001AD   RCV BUFFALO (LABOR)   $74,090.18    $4,896.48   $78,986.66    2,393

b. Realign funding from CLIN 3002AG RCV CEH OR OP 2 Material, Travel, ODC to cover a cost overrun that ManTech Advanced Systems
International, Inc. is incurring under CLIN 3001AG - RCV CEH - OR OP 2 Labor.

Revise the RCV CEH Labor CLIN as follows:

FROM:

____
CLIN     _______
         PROGRAM           __________
                           TOTAL COST _________
                                       TOTAL FEE __________
                                                 TOTAL CPFF  HOURS
                                                             _____
3001AG   RCV CEH (LABOR)   $128,425.60 $6,604.81 $135,030.41 2,393

TO:

____
CLIN     _______
         PROGRAM           __________
                           TOTAL COST     _________
                                          TOTAL FEE   __________
                                                      TOTAL CPFF     _____
                                                                     HOURS
3001AG   RCV CEH (LABOR)   $148,425.60    $6,604.81   $155,030.41    2,393

Revise the RCV CEH - Material, Travel, ODC CLIN as follows:

FROM:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST    TOTAL FEE
                                                _________
3002AG   RCV CEH (MTL/TVL/ODC)    $48,724.56   No Fee

TO:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST   _________
                                               TOTAL  FEE
3002AG   RCV CEH (MTL/TVL/ODC)    $28,724.56   No Fee

c. Realign funding from CLIN 4001AG RCV CEH OR OP 3 Labor to cover a cost overrun that ManTech Advanced Systems International, Inc. is
incurring under CLIN 4002AG - RCV CEH - OR OP 3 Material, Travel, ODC.

Revise the RCV CEH - Labor CLIN as follows:

FROM:

____
CLIN     _______
         PROGRAM         TOTAL COST
                         __________      _________
                                         TOTAL FEE    __________
                                                      TOTAL CPFF     _____
                                                                     HOURS
4001AG   RCV CEH (LABOR) $188,069.04     $12,895.19   $200,964.23    4,655

TO:

____
CLIN     _______
         PROGRAM         TOTAL COST
                         __________      _________
                                         TOTAL FEE    __________
                                                      TOTAL CPFF     _____
                                                                     HOURS
4001AG   RCV CEH (LABOR) $161,372.66     $12,895.19   $174,267.85    4,655
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Revise the RCV CEH - Material, Travel, ODC CLIN as follows:

FROM:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST   ___
                                               FEE
4002AG   RCV CEH (MTL/TVL/ODC)    $1,803.62    No Fee

TO:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST    ___
                                                FEE
4002AG   RCV CEH (MTL/TVL/ODC)    $28,500.00    No Fee

d. The following DODAACs are hereby incorporated into the contract:

CKOUMU   Chambersburg, Pennsylvania
CKOUMT   Warren, Michigan
CKOUN5   Fayetteville, North Carolina

e. Delete the following contract clauses and provisions:

952.223-0001 REPORTING KIDNAPPINGS, SERIOUS INJURIES, AND DEATHS
5152.225-5900 PERSONAL SECURITY SERVICES CONTRACTORS AND FOR REQUESTS FOR PERSONAL PROTECTION
952.225-0013 - CONTRACTOR HEALTH AND SAFETY
952.225-0016 - CONTRACTOR DEMOBILIZATION -- AFGHANISTAN
252.225-7997 - ADDITIONAL REQUIREMENTS AND RESPONSIBILITIES RELATING TO ALLEGED CRIMES BY OR AGAINST CONTRACTOR PERSONNEL IN IRAQ AND
AFGHANISTAN (DEVIATION 2010-O0014)
KSCR1-1 - ADDITIONAL INSTRUCTIONS FOR CONTRACTOR PERSONNEL WORKING IN THE USCENTCOM AREA OF RESPONSIBILITY, SUPPORT
KSCR1-2 - PROHIBITION AGAINST HUMAN TRAFFICKING, INHUMANE LIVING CONDITIONS, AND WITHHOLDING OF EMPLOYEE PASSPORTS
KSCR1-5 - FITNESS FOR DUTY AND MEDICAL CARE LIMITATIONS
KSCR1-6 - COMPLIANCE WITH LAWS AND REGULATIONS
KSCR1-7 - MONTHLY CONTRACTOR CENSUS REPORTING
KSCR1-10 - MEDICAL SCREENING AND VACCINATION REQUIREMENTS FOR THIRD COUNTRY NATIONALS OR LOCALLY HIRED EMPLOYEES
KSCR1-12 MILITARY EXTRATERRITORIAL JURISDICTION ACT
KSCR1-13 INSTALLATION SECURITY/ACCESS/BADGING REQUIREMENTS
KSCR1-14 SPECIAL REQUIREMENTS FOR SECURITY/ACCESS ON AIR FORCE BASES IN KUWAIT
KSCR1-15 PREVENTION OF SEXUAL HARASSMENT TRAINING
KSCR1-16 CONTRACTOR PAYMENTS
KSCR1-17 - SPONSORSHIP REQUIREMENTS
KSCR1-18 CONTRACTOR MANPOWER REPORTING
KSCR1-19 SPECIAL REQUIREMENTS FOR CONSTRUCTION AND FACILITY ASSOCIATED WORK ON MILITARY INSTALLATIONS IN KUWAIT
252.225-7993 PROHIBITION ON CONTRACTING WITH THE ENEMY IN THE UNITED STATES CENTRAL COMMAND THEATER OF OPERATIONS (DEVIATION 2012-
O0005)
252.225-7994 - ADDITIONAL ACCESS TO CONTRACTOR AND SUBCONTRACTOR RECORDS IN THE UNITED STATES CENTRAL COMMAND THEATER OF OPERATIONS
(DEVIATION 2012-O0005)

f. Update the following contract clauses:

5152.222-5900 - PROHIBITION AGAINST HUMAN TRAFFICKING, INHUMANE LIVING CONDITIONS, AND WITHHOLDING OF EMPLOYEE PASSPORTS
5152.225-5902 - FITNESS FOR DUTY AND MEDICAL/DENTAL CARE LIMITATIONS
5152.225-5904 - MONTHLY CONTRACTOR CENSUS REPORTING
5152.225-5907 - MEDICAL SCREENING AND VACCINATION REQUIREMENTS FOR CONTRACTOR EMPLOYEES OPERATING IN THE CENTCOM AREA OF RESPONSIBILITY
(AOR)
5152.236-5900 - ELECTRICAL AND STRUCTURAL BUILDING STANDARDS FOR CONSTRUCTION PROJECTS
5152.247-5900 - INBOUND/OUTBOUND CARGO AND CONTRACTOR EQUIPMENT CENSUS
5152.225-5903 - COMPLIANCE WITH LAWS AND REGULATIONS
52.228-3 - WORKERS' COMPENSATION INSURANCE (DEFENSE BASE ACT)
252.225-7993 PROHIBITION ON CONTRACTING WITH THE ENEMY IN THE UNITED STATES CENTRAL COMMAND THEATER OF OPERATIONS (DEVIATION 2012-
O0016)(SEP 2015)
252.225-7994 - ADDITIONAL ACCESS TO CONTRACTOR AND SUBCONTRACTOR RECORDS IN THE UNITED STATES CENTRAL COMMAND THEATER OF OPERATIONS
(DEVIATION 2012-O0013)(MAR 2015)

g. Add the following contract clauses:

52.225-26 - CONTRACTORS PERFORMING PRIVATE SECURITY FUNCTIONS OUTSIDE THE UNITED
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252.229-7999 - TAXES -- FOREIGN CONTRACTS IN AFGHANISTAN (DEVIATION 2013-O0016)

2. As a result of Modification P00061, the total number of hours obligated remain unchanged.

3. As a result of Modification P00061, the total dollar amount of this contract remains unchanged.

                             Prior                 This Change            Total

  Total Contract Value: $890,442,361.30            $0.00         $890,442,361.30

4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                     *** END OF NARRATIVE A0062 ***

Modification P00062
Previous Contract Amount: $890,442,361.30
Amount of this Action:    $ 2,545,910.81
New Contract Amount:      $892,988,272.11

1. The purpose of Modification P00062 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Change Attachment 11, Manpower Utilization (revision dated 20 November 2015) to reflect the aforementioned manpower changes.
Staffing level changes are authorized by Performance Work Statement (PWS) paragraph C.1.1.3.5 (Changes to Level of Effort per Labor
Category).

b. Exercise 16,219 Option Period 3 labor hours and establish CLINs for RCV CEHC, and FMS Pakistan Operational Readiness (OR) labor and
CLINs for associated material, travel, and Other Direct Costs (ODC). As a result of this modification, the total number of hours
obligated has increased by 16,219 from 11,018,886 to 11,035,105. The total amount of hours available for obligation is 23,418,696.
Option hours are being exercised IAW Section H.11 and H.12 of the contract. Exercise of these hours does not increase the pool of
34,453,801 hours, which represents the cumulative amount of hours available for the life of the contract.

c. RCV Army Option Period 3 Labor CLIN 4001AA is changed as follows:

FROM:

____
CLIN     _______
         PROGRAM             __________
                             TOTAL COST        _________
                                               TOTAL FEE        __________
                                                                TOTAL CPFF        _____
                                                                                  HOURS
4001AA   RCV ARMY (LABOR)    $10,383,182.60    $766,360.16      $11,149,542.76    242,688

TO:

____
CLIN     _______
         PROGRAM             __________
                             TOTAL COST        _________
                                               TOTAL FEE        __________
                                                                TOTAL CPFF        _____
                                                                                  HOURS
4001AA   RCV ARMY (LABOR)    $10,386,412.62    $764,983.36      $11,151,395.98    242,252

d. RCV POR Option Period 3 Labor CLIN 4001AE is changed as follows:

FROM:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST        _________
                                              TOTAL FEE          __________
                                                                 TOTAL CPFF        _____
                                                                                   HOURS
4001AE   RCV POR (LABOR)    $14,614,630.98    $1,106,004.29      $15,720,635.27    350,245

TO:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST        _________
                                              TOTAL FEE          __________
                                                                 TOTAL CPFF        _____
                                                                                   HOURS
4001AE   RCV POR (LABOR)    $14,624,432.28    $1,106,004.29      $15,730,436.57    350,245

e. RCV CEHC OR Option Period 3 Labor CLIN 4001AJ is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM             ___________
                             TOTAL COST     _________
                                            TOTAL FEE      __________
                                                           TOTAL CPFF    _____
                                                                         HOURS
4001AJ   RCV CEHC (LABOR)    $239,671.40    $18,453.96     $258,125.36   5,930

f. RCV CEHC OR Option Period 3 Material, Travel, and ODC CLIN 4002AJ is established:

____
CLIN     _______
         PROGRAM                     __________
                                     TOTAL COST    _________
                                                   TOTAL  FEE
4002AJ   RCV CEHC (MAT/TVL/ODC)      $195,580.00   No Fee
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g. FMS Pakistan OR Option Period 3 Labor CLIN 4401AA is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM                __________
                                TOTAL COST      _________
                                                TOTAL FEE    __________
                                                             TOTAL CPFF      _____
                                                                             HOURS
4401AA   FMS PAKISTAN (LABOR)   $1,262,918.04   $33,869.30   $1,296,787.34   10,726

h. RCV CEHC OR Option Period 3 Material, Travel, and ODC CLIN 4002AJ is established:

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST    _________
                                                    TOTAL  FEE
4402AA   FMS PAKISTAN (MAT/TVL/ODC)   $783,763.59   No Fee

i. Attachment 0022   Performance Work Statement (PWS), revision dated 20 November 2015, is changed as follows:

i. Add Pakistan FMS Case G9-B-UED under paragraph C.1.

ii. Add Pakistan location under paragraph C.1.1.2.2.3 OCONUS.

iii. Change paragraph C.1.1.2.2.4 as follows:

From:

Contractor shall provide Contractor Logistics Support (CLS) for the Iraq MRAP vehicle fleet, hereafter referred to the Roller. This will
be a level of effort/best effort contract. CLS will be conducted at Taji, but the location may change to another location as
recommended/requested by the Iraqi Army.

To:

Contractor shall provide Contractor Logistics Support (CLS) for the Iraq MRAP vehicle and Self-Protection Adaptive Roller Kit (SPARK
Roller) fleet, hereafter referred to the Roller. This will be a level of effort/best effort contract. CLS will be conducted at Taji, but
the location may change to another location as recommended/requested by the Iraqi Army.

iv. Add paragraph C.1.1.2.2.5.

v. Add paragraph C.1.1.3.2.1.(v)

vi. Change paragraph C.1.1.3.6. as follows:

From:

Note: Personnel performing under the Iraq case IQ-B-USE are not required to use SPOT or process IAW C.1.1.3.6.3.

To:

Note: Personnel performing under the Iraq case IQ-B-USE not required to use SPOT or process IAW C.1.1.3.6.3.

Personnel performing under Pakistan FMS Case G9-B-UED are required to use SPOT. Personnel performing under Pakistan FMS Case G9-B-UED
and are not required to process IAW C.1.1.3.6.3.

vii. Under paragraph C.1.1.3.6.3., C.1.1.3.6.3.1., C.1.1.3.6.3.2., and C.1.4.2., Camp Atterbury, Individual Replacement Deployment
Operation (IRDO) is replaced with Fort Bliss, Texas Central Receiving Center (CRC).

viii. Paragraph C.1.4.5. adds Pakistan location.

ix. C.1.9.8.1. Initial Stockage is changed to Initial Stock.

x. C.1.12.1.1.2. paragraph 2 is changed as follows:

From:

FMS Case IQ-B-USE: Inspections will be in accordance with the vehicle and roller technical manuals 10/20 criteria, and identify all
deficiencies found during the inspection.

To:

FMS Case IQ-B-USE: Inspections will be in accordance with the vehicle and roller technical manuals 10/20 criteria, or as provided by the
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Government if 10/20 criteria are not available, and identify all deficiencies found during the inspection.

xi. C.1.12.1.1.2.2., paragraph 2, is changed as follows:

From: FMS Case IQ-B-USE: Contractor shall conduct final inspection of vehicles repaired and ready to return to the Iraq Government.
Inspection shall verify all repairs required on the initial inspection have been completed and the vehicle is in TM 10/20 standard, or
as provided by the Government if 10/20 criteria are not available. Results shall be recorded on DA Form 2404/DA form 5988-E.

To:

FMS Case IQ-B-USE: Contractor shall conduct final inspection of vehicles or rollers repaired and ready to return to the Iraq Government.
Inspection shall verify all repairs required on the initial inspection have been completed and the vehicle is in TM 10/20 standard.
Results shall be recorded on DA Form 2404/DA form 5988-E.

2. As a result of Modification P00062, the total number of hours obligated is increased by 16,219 from 11,018,886 to 11,035,105.

3. As a result of Modification P00062, the total dollar amount of this contract is increased by $2,545,910.81 from $890,442,361.30 to
$892,988,272.11.

                            Prior               This Change            Total

  Total Contract Value: $890,442,361.30         $2,545,910.81        $892,988,272.11

4. All other Contract terms and conditions remain unchanged.



                                                   *** END OF NARRATIVE A0063 ***

Modification P00063
Previous Contract Amount: $892,988,272.11
Amount of this Action:    $ (4,184,113.83)
New Contract Amount:      $888,804,158.28

1. The purpose of Modification P00063 to contract W56HZV-12-C-0127 is to incorporate the following:

a. De-obligate unliquidated funds that were obligated under CLIN 3001AE          RCV POR   OR OP 2 Labor.

FROM:

____
CLIN     _______
         PROGRAM           __________
                           TOTAL COST        _________
                                             TOTAL FEE      __________
                                                            TOTAL CPFF        _____
                                                                              HOURS
3001AE   RCV POR (LABOR)   $11,702,401.74    $883,635.20    $12,586,036.94    322,694



TO:

____
CLIN     _______
         PROGRAM           __________
                           TOTAL COST       _________
                                            TOTAL FEE      __________
                                                           TOTAL CPFF        _____
                                                                             HOURS
3001AE   RCV POR (LABOR)   $9,546,840.75    $713,682.68    $10,260,523.43    261,117



b. De-obligate unliquidated funds that were obligated under CLIN 3002AE          OR OP 2 MTL, TVL, ODC.

FROM:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST      _________
                                                  TOTAL  FEE
3002AE   RCV POR (MTL/TVL/ODC)    $4,695,981.14   No Fee

TO:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST      _________
                                                  TOTAL  FEE
3002AE   RCV POR (MTL/TVL/ODC)    $2,837,380.82   No Fee



c. Revise Attachment 0011, Manpower Utilization (revision dated 28 December 2015) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
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changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

d. Amend PRON 2M6CLSF1Q7 under CLINs 4101AB - MRAP Air Force Labor and 4102AB - MRAP Air Force Mat/Tvl/ODC, to correct an invalid line
of accounting for ACRN CQ under Section G of the contract.

2. As a result of this modification, the total number of hours obligated has decreased by 61,577 from 11,035,105 to 10,973,528.

3. As a result of this modification, the total dollar amount of this contract is decreased by $4,184,113.83 from $892,988,272.11 to
$888,804,158.28.

                           Prior                This Change            Total

  Total Contract Value: $892,988,272.11       $(4,184,113.83)         $888,804,158.28

4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                   *** END OF NARRATIVE A0064 ***

Modification P00064
Previous Contract Amount: $888,804,158.28
Amount of this Action:    $          0.00
New Contract Amount:      $888,804,158.28

1. The purpose of Modification P00064 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Realign funding under RCV OR Option Period 3 Labor CLINs. CLINs 4001AA and 4001AH are realigned as follows:

From:
CLIN
____     _______
         PROGRAM               __________
                               TOTAL COST       _________
                                                TOTAL FEE        __________
                                                                 TOTAL CPFF          _____
                                                                                     HOURS
4001AA   RCV ARMY (LABOR)      $10,386,412.62   $ 764,983.36     $11,151,395.98      276,167
4001AH   RCV FORSCOM (LABOR)   $ 1,677,545.59   $ 135,871.29     $ 1,813,416.88       49,051

To:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST       _________
                                                TOTAL FEE        __________
                                                                 TOTAL CPFF          _____
                                                                                     HOURS
4001AA   RCV ARMY (LABOR)      $16,571,802.66   $ 764,983.36     $17,336,786.02      276,167
4001AH   RCV FORSCOM (LABOR)   $ 1,785,496.41   $ 135,871.29     $ 1,921,367.70       49,051

b. Realign funding under MRAP OR Option Period 3 Labor CLINs. CLINs 4101AA and 4101AB are realigned as follows:

From:

____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST      _________
                                                   TOTAL FEE     __________
                                                                 TOTAL CPFF         _____
                                                                                    HOURS
4101AA   MRAP ARMY (LABOR)         $ 902,585.18    $82,418.58    $985,003.76        29,754
4101AB   MRAP AIR FORCE (LABOR)    $2,788,635.18   $242,260.10   $3,030,895.28      87,459

To:

____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST      _________
                                                   TOTAL FEE     __________
                                                                 TOTAL CPFF         _____
                                                                                    HOURS
4101AA   MRAP ARMY (LABOR)         $1,138,305.08   $82,418.58    $1,220,723.66      29,754
4101AB   MRAP AIR FORCE (LABOR)    $4,519,786.91   $242,260.10   $4,762,047.01      87,459

c. Realign funding under RCV OR Option Period 3 Material, Travel, ODC CLINs. CLINs 4002AA and 4002AH are realigned as follows:

From:

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST        ___
                                                        FEE
4002AA   RCV ARMY (MAT/TVL/ODC)       $10,701,066.76    No Fee
4002AH   RCV FORSCOM (MAT/TVL/ODC)    $ 1,067,605.82    No Fee

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____
CLIN     _______
         PROGRAM                     __________
                                     TOTAL COST      ___
                                                     FEE
4002AA   RCV ARMY (MAT/TVL/ODC)      $4,515,676.72   No Fee
4002AH   RCV FORSCOM (MAT/TVL/ODC)   $ 959,655.00    No Fee

d. Realign funding under MRAP OR Option Period 3 Material, Travel, ODC CLINs. CLINs 4102AA and 4102AB are realigned as follows:

From:

____
CLIN     _______
         PROGRAM                        __________
                                        TOTAL COST      ___
                                                        FEE
4102AA   MRAP ARMY (MAT/TVL/ODC)        $ 253,668.66    No Fee
4102AB   MRAP AIR FORCE (MAT/TVL/ODC)   $3,096,400.30   No Fee

To:

____
CLIN     _______
         PROGRAM                        __________
                                        TOTAL COST      ___
                                                        FEE
4102AA   MRAP ARMY (MAT/TVL/ODC)        $   17,948.76   No Fee
4102AB   MRAP AIR FORCE (MAT/TVL/ODC)   $1,365,248.57   No Fee

e. Revise Attachment 0011, Manpower Utilization (revision dated 11 January 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

f. Extend the period of performance under Section B, CLIN 4201AA      SOCOM OR OP 3 Labor and CLIN 4202AA - SOCOM OR OP 3 Material, Travel,
ODC, from 01 March 2016 to 31 March 2016.

2. Mod P00064 corrects Narrative A0063 under Mod P00062 as follows:

   i. Change paragraph b as follows:

   From:

   b. Exercise 16,219 Option Period 3 labor hours and establish CLINs for RCV CEHC, and FMS Pakistan Operational Readiness (OR) labor
and CLINs for associated material, travel, and Other Direct Costs (ODC). As a result of this modification, the total number of hours
obligated has increased by 16,219 from 11,018,886 to 11,035,105. The total amount of hours available for obligation is 23,418,696.
Option hours are being exercised IAW Section H.11 and H.12 of the contract. Exercise of these hours does not increase the pool of
34,453,801 hours, which represents the cumulative amount of hours available for the life of the contract.

   To:

   b. Exercise 18,392 Option Period 3 labor hours and establish CLINs for RCV CEHC, and FMS Pakistan Operational Readiness (OR) labor
and CLINs for associated material, travel, and Other Direct Costs (ODC). As a result of this modification, the total number of hours
obligated has increased by 18,392 from 11,018,886 to 11,037,278. The total amount of hours available for obligation is 23,416,523.
Option hours are being exercised IAW Section H.11 and H.12 of the contract. Exercise of these hours does not increase the pool of
34,453,801 hours, which represents the cumulative amount of hours available for the life of the contract.

   ii. Under paragraph c, change the RCV Army labor hours stated under FROM, from 242,688 to 276,664 and change the RCV Army labor hours
stated under TO, from 242,252 to 276,167.

   iii. Under paragraph d, change the RCV POR labor hours stated under the FROM and TO sections, from 350,245 to 399,280.

   iv. Under paragraph e, change the RCV CEHC labor hours stated, from 5,930 to 6,662.

   v. Under paragraph g, change the FMS Pakistan labor hours stated, from 10,726 to 12,227.

   vi. Change paragraph 2 as follows:

   From:

   As a result of Modification P00062, the total number of hours obligated is increased by 16,219 from 11,018,886 to 11,035,105.

   To:
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   As a result of Modification P00062, the total number of hours obligated has increased by 18,392 from 11,018,886 to 11,037,278.

3. Mod P00064 corrects Narrative A0064, paragraph 2, under Mod P00063 as follows:

   From:

   As a result of this modification, the total number of hours obligated has decreased by 61,577 from 11,035,105 to 10,973,528.

   To:

   As a result of this modification, the total number of hours obligated has decreased by 61,577 from 11,037,278 to 10,975,701.

4. As a result of Modification P00064, the total number of hours obligated remain unchanged at 10,975,701. The total number of hours
available for obligation is 23,478,100.

5. As a result of Modification P00064, the total dollar amount of this contract remains unchanged.

6. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                   *** END OF NARRATIVE A0065 ***

Modification P00065
Previous Contract Amount: $888,804,158.28
Amount of this Action:    $ 14,087,771.18
New Contract Amount:      $902,891,929.46

1. The purpose of Modification P00065 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Extend the period of performance, obligate funding and exercise Option Period 3 labor hours under CLIN 4301AA           FMS Iraq         OR OP 3
Labor as follows:

From:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST      _________
                                            TOTAL FEE     __________
                                                          TOTAL CPFF       _____
                                                                           HOURS
4301AA   FMS IRAQ (LABOR)   $1,355,750.06   $60,463.56    $1,416,213.62    21,828

To:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST      _________
                                            TOTAL FEE      __________
                                                           TOTAL CPFF       _____
                                                                            HOURS
4301AA   FMS IRAQ (LABOR)   $4,547,545.26   $188,408.59    $4,735,953.85    68,018

b. Extend the period of performance and obligate funding under CLIN 4302AA           FMS Iraq   OR OP 3 Material, Travel, ODC as follows:

From:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST       _________
                                                   TOTAL  FEE
4302AA   FMS IRAQ (MAT/TVL/ODC)   $2,370,607.56    No Fee

To:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST        _________
                                                    TOTAL  FEE
4302AA   FMS IRAQ (MAT/TVL/ODC)   $13,138,638.51    No Fee

c. Attachment 0001, System Models and Descriptions (revision dated 07 January 2016), paragraph 1.1 is revised as follows:

From:

Cougar [4x4]: The Cougar is a medium sized mine-protected vehicle for command and control, artillery prime mover, recovery and ambulance
duty. Cougar 4X4 can carry 4 troops.

To:

Cougar Family of Vehicles (FoV): The Cougar is a medium sized mine-protected vehicle for command and control, artillery prime mover,
recovery and ambulance duty, and Route Clearance Operations. Cougars come in 4X4 and 6x6 configurations.
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d. Attachment 0006, Performance Objectives, performance objective 6 Return to Stock (RCV and SOCOM) is suspended as of 09 February
2016. This performance objective is not needed until further notice.

e. Revise Attachment 0011, Manpower Utilization (revision dated 01 February 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

f. Attachment 0022, Performance Work Statement (revision dated 20 January 2016), paragraph C.1.1.1.1 is revised as follows:

From:

The Route Clearance Vehicles (RCV), RCV Special Purpose Equipment, EOD Vehicles, and the Explosive Hazard Pre-Detonation (EHP) Systems
are managed by the Product Manager for Assured Mobility Systems (PM AMS) and Specialized Area Clearance Vehicles are managed by PM Close
Combat Systems (PM CCS), See Attachment 1, Section J, Paragraph 1. Sustainment for these vehicles and integrated equipment falls under
the PM AMS. The Prophet vehicle is managed by PM Intel. Prophet vehicles and integrated equipment will be supported under this PWS and
IAW the sustainment support for RCV as defined in this PWS. In addition, Cougar Vehicles operated by EOD Units will be supported IAW
sustainment support for RCV as defined in this PWS. For these vehicles, systems, and integrated equipment, support required provides
both field and sustainment levels of maintenance (see paragraph C.1.8.1 for definitions of maintenance levels) and supply support. The
majority of work required is for the rapid assessment and repair of battle damaged equipment and immediate, routine repairs of
mechanical failures due to operational damage or system fatigue.

To:

The Route Clearance Vehicles (RCV), RCV Special Purpose Equipment, EOD Vehicles, and the Explosive Hazard Pre-Detonation (EHP) Systems
are managed by the Product Manager for Assured Mobility Systems (PM AMS) and Specialized Area Clearance Vehicles are managed by PM Close
Combat Systems (PM CCS), See Attachment 1, Section J, Paragraph 1. Sustainment for these vehicles and integrated equipment falls under
the PM AMS. The Prophet vehicle is managed by PM Intel. Prophet vehicles and integrated equipment will be supported under this PWS and
IAW the sustainment support for RCV as defined in this PWS. In addition, Cougar Vehicles operated by EOD and Route Clearance Units will
be supported IAW sustainment support for RCV as defined in this PWS. For these vehicles, systems, and integrated equipment, support
required provides both field and sustainment levels of maintenance (see paragraph C.1.8.1 for definitions of maintenance levels) and
supply support. The majority of work required is for the rapid assessment and repair of battle damaged equipment and immediate, routine
repairs of mechanical failures due to operational damage or system fatigue.

2. As a result of Modification P00065, the total number of hours obligated are increased by 46,190, from 10,975,701 to 11,021,891. The
total number of hours available for obligation is 23,431,910.

3. As a result of Modification P00065, the total dollar amount of this contract is increased by $14,087,771.18, from $888,804,158.28 to
$902,891,929.46.

                           Prior               This Change            Total

  Total Contract Value: $888,804,158.28       $14,087,771.18      $902,891,929.46



4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                  *** END OF NARRATIVE A0066 ***

Modification P00066
Previous Contract Amount: $902,891,929.46
Amount of this Action:    $ 3,040,694.00
New Contract Amount:      $905,932,623.46

1. The purpose of Modification P00066 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Pseudo FMS Iraq (Husky) Operational Readiness (OR) Option Period (OP) 3 Labor CLIN 4501AA is established to exercise option hours:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL FEE    __________
                                                               TOTAL CPFF     _____
                                                                              HOURS
4501AA   PSEUDO FMS IRAQ (LABOR)    $467,783.74   $21,030.95   $488,814.69    7,593
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b. Pseudo FMS Iraq (Husky) Operational Readiness (OR) Option Period (OP) 3 Material, Travel, ODC CLIN 4502AA is established.

____
CLIN     _______
         PROGRAM                           __________
                                           TOTAL COST        _________
                                                             TOTAL  FEE
4502AA   PSEUDO FMS IRAQ (MAT/TVL/ODC)     $2,551,879.31     No Fee

c. Change Attachment 0011, Manpower Utilization (revision dated 22 February 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase or decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

2. As a result of Modification P00066, the total number of hours obligated are increased by 7,593, from 11,021,891 to 11,029,484. The
total number of hours available for obligation is 23,424,317.

3. As a result of Modification P00066, the total dollar amount of this contract is increased by $3,040,694.00, from $902,891,929.46 to
$905,932,623.46.

                            Prior               This Change               Total

  Total Contract Value: $902,891,929.46        $3,040,694.00        $905,932,623.46



4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                   *** END OF NARRATIVE A0067 ***

Modification P00067
Previous Contract Amount: $905,932,623.46
Amount of this Action:    $ 18,000,000.00
New Contract Amount:      $923,932,623.46

1. The purpose of Modification P00067 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Extend the period of performance, obligate funding and exercise Option Period 3 labor hours under CLIN 4201AA SOCOM OR OP 3 Labor.
CLIN 4201AA is changed as follows:

From:

____
CLIN     _______
         PROGRAM         __________
                         TOTAL COST       _________
                                          TOTAL FEE      __________
                                                         TOTAL CPFF        _____
                                                                           HOURS
4201AA   SOCOM (LABOR)   $6,420,567.36    $299,049.20    $6,719,616.56     107,960

To:

____
CLIN     _______
         PROGRAM         __________
                         TOTAL COST        _________
                                           TOTAL FEE      __________
                                                          TOTAL CPFF         _____
                                                                             HOURS
4201AA   SOCOM (LABOR)   $15,015,885.37    $708,967.65    $15,724,853.02     255,945

b. Extend the period of performance and obligate funding under CLIN 4202AA SOCOM OR OP 3 Material, Travel, ODC. CLIN 4202AA is changed
as follows:

From:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST       _________
                                                TOTAL  FEE
4202AA   SOCOM (MAT/TVL/ODC)   $3,280,383.44    No Fee

To:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST        _________
                                                 TOTAL  FEE
4202AA   SOCOM (MAT/TVL/ODC)   $12,275,146.98    No Fee

c. Change Attachment 0011, Manpower Utilization (revision date 16 March 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
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Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

2. As a result of Modification P00067, the total number of hours obligated are increased by 147,985, from 11,029,484 to 11,177,469. The
total number of hours available for obligation is 23,276,332.

3. As a result of Modification P00067, the total dollar amount of this contract is increased by $18,000,000.00 from $905,932,623.46 to
$923,932,623.46.

                             Prior                 This Change              Total

  Total Contract Value: $905,932,623.46            $18,000,000.00          $923,932,623.46



4. All other Contract terms and conditions remain unchanged and in full force and effect.




                                                     *** END OF NARRATIVE A0068 ***

Modification P00068
Previous Contract Amount: $923,932,623.46
Amount of this Action:    $ 1,375,764.26
New Contract Amount:      $925,308,387.72

1. The purpose of Modification P00068 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Realign funding from CLIN 1005AD RCV Buffalo          OR Base Material, Travel, ODC to CLIN 1004AD - RCV Buffalo OR Base Labor. CLINs 1004AD
and 1005AD are realigned as follows:

From:

____
CLIN     _______
         PROGRAM                __________
                                TOTAL COST     _________
                                               TOTAL FEE    __________
                                                            TOTAL CPFF      _____
                                                                            HOURS
1004AD   RCV BUFFALO (LABOR)    $139,845.53    $9,078.20    $148,923.73     2,694

____
CLIN     _______
         PROGRAM                        __________
                                        TOTAL COST   _________
                                                     TOTAL  FEE
1005AD   RCV BUFFALO (MAT/TVL/ODC)      $31,996.65   No Fee

To:

____
CLIN     _______
         PROGRAM                __________
                                TOTAL COST     _________
                                               TOTAL FEE    __________
                                                            TOTAL CPFF      _____
                                                                            HOURS
1004AD   RCV BUFFALO (LABOR)    $142,174.63    $9,078.20    $151,252.83     2,694

____
CLIN     _______
         PROGRAM                        __________
                                        TOTAL COST   _________
                                                     TOTAL  FEE
1005AD   RCV BUFFALO (MAT/TVL/ODC)      $29,667.55   No Fee

b. Realign funding from CLIN 1103AJ       MRAP Navy - EOR Material, Travel, ODC to CLIN 1102AJ    MRAP Navy   EOR Labor. CLINs 1102AJ and 11O3AJ
are realigned as follows:

From:

____
CLIN     _______
         PROGRAM              __________
                              TOTAL COST    _________
                                            TOTAL FEE    __________
                                                         TOTAL CPFF     _____
                                                                        HOURS
1102AJ   MRAP NAVY (LABOR)    $1.31         $0.00        $1.31          19,532

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST   _________
                                                   TOTAL  FEE
1103AJ   MRAP NAVY (MAT/TVL/ODC)      $2,541.26    No Fee

To:

____
CLIN     _______
         PROGRAM              __________
                              TOTAL  COST    _________
                                             TOTAL FEE    __________
                                                          TOTAL  CPFF    _____
                                                                         HOURS
1102AJ   MRAP NAVY (LABOR)    $43.70         $0.00        $43.70         19,532



____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST   _________
                                                   TOTAL  FEE
1103AJ   MRAP NAVY (MAT/TVL/ODC)      $2,498.87    No Fee
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c. Realign funding from fee to cost under CLIN 3001AB          RCV EHP   OR OP 2 Labor. CLIN 3001AB is realigned as follows:

From:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST       _________
                                             TOTAL FEE      __________
                                                            TOTAL CPFF        _____
                                                                              HOURS
3001AB   RCV EHP (LABOR)    $2,629,689.10    $163,217.57    $2,792,906.67     59,137

To:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST       _________
                                             TOTAL FEE      __________
                                                            TOTAL CPFF        _____
                                                                              HOURS
3001AB   RCV EHP (LABOR)    $2,697,204.46    $158,702.21    $2,792,906.67     57,501



d. Realign funding from CLIN 3001AF     RCV Husky OR OP 2 Labor to CLIN 3002AF         RCV Husky   OR OP 2 Material, Travel, ODC. CLINs 3001AF and
3002AF are realigned as follows:

From:

____
CLIN     _______
         PROGRAM              __________
                              TOTAL COST    _________
                                            TOTAL FEE   __________
                                                        TOTAL CPFF    _____
                                                                      HOURS
3001AF   RCV HUSKY (LABOR)    $20,707.48    $2,274.42   $22,981.90    824

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL  FEE
3002AF   RCV HUSKY (MAT/TVL/ODC)    $50,535.06    No Fee

To:

____
CLIN     _______
         PROGRAM              __________
                              TOTAL COST    _________
                                            TOTAL FEE   __________
                                                        TOTAL CPFF    _____
                                                                      HOURS
3001AF   RCV HUSKY (LABOR)    $19,629.58    $2,274.42   $21,904.00    824

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL  FEE
3002AF   RCV HUSKY (MAT/TVL/ODC)    $51,612.96    No Fee

e. Realign $1,760.00 from CLIN 3001AK USMC RCV Husky OR OP 2 Labor to CLIN 3002AK USMC RCV Husky               OR OP 2 Material, Travel, ODC and
obligate an additional $5,810.96 to CLIN 3002AK. CLINs 3001AK and 3002AK are changed as follows:

From:

____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST    _________
                                                 TOTAL FEE     __________
                                                               TOTAL CPFF   _____
                                                                            HOURS
3001AK   USMC RCV HUSKY (LABOR)    $2,822.40     $220.80       $3,043.20    80

____
CLIN     _______
         PROGRAM                           __________
                                           TOTAL COST   _________
                                                        TOTAL  FEE
3002AK   USMC RCV HUSKY (MAT/TVL/ODC)      $6,880.31    No Fee

To:

____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST    _________
                                                 TOTAL FEE     __________
                                                               TOTAL CPFF   _____
                                                                            HOURS
3001AK   USMC RCV HUSKY (LABOR)    $1,062.40     $220.80       $1,283.20    80

____
CLIN     _______
         PROGRAM                           __________
                                           TOTAL COST   _________
                                                        TOTAL  FEE
3002AK   USMC RCV HUSKY (MAT/TVL/ODC)      $14,451.27   No Fee

f. Realign funding from CLIN 4302AA     FMS Iraq    OR OP 3 Material, Travel, ODC to CLIN 4301AA       FMS Iraq   OR OP 3 Labor. CLINs 4301AA and
4302AA are realigned as follows:

From:

____
CLIN     _______
         PROGRAM             __________
                             TOTAL COST       _________
                                              TOTAL FEE      __________
                                                             TOTAL CPFF       _____
                                                                              HOURS
4301AA   FMS IRAQ (LABOR)    $4,547,545.26    $188,408.59    4,735,953.85     68,018

____
CLIN     _______
         PROGRAM                   __________
                                   TOTAL COST        _________
                                                     TOTAL  FEE
4302AA   FMS IRAQ (MAT/TVL/ODC)    $13,138,638.51    No Fee

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____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST      _________
                                            TOTAL FEE      __________
                                                           TOTAL CPFF      _____
                                                                           HOURS
4301AA   FMS IRAQ (LABOR)   $4,552,768.56   $188,408.59    $4,741,177.15   68,018

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST       _________
                                                   TOTAL  FEE
4302AA   FMS IRAQ (MAT/TVL/ODC)   $13,133,415.21   No Fee

g. RCV ARCENT Kuwait   OR OP 3 Labor CLIN 4001AK is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM                     __________
                                     TOTAL COST    _________
                                                   TOTAL FEE     __________
                                                                 TOTAL CPFF    _____
                                                                               HOURS
4001AK   RCV ARCENT KUWAIT (LABOR)   $433,705.38   $23,747.92    $457,453.30   8,573

h. RCV ARCENT Kuwait   OR OP 3 Material, Travel, ODC CLIN 4002AK is established:

____
CLIN     _______
         PROGRAM                            __________
                                            TOTAL COST     _________
                                                           TOTAL  FEE
4002AK   RCV ARCENT KUWAIT (MAT/TVL/ODC)    $912,500.00    No Fee

i. Attachment 0001   System Models and Descriptions, revision dated 11 April 2016, paragraph 1.3 is changed as follows:

From:

1.3. Specialized Area Clearance/Limited Systems (Afghanistan)
Basic services and repairs will be provided to maintain Area Clearance end items. Area Clearance vehicles operate primarily in
Afghanistan.. Service support for Area Clearance equipment entails basic automotive maintenance sufficient to keep such equipment
operational. Currently, all Area Clearance systems are temporary niche systems supported by commercial manuals. Repair parts will be
purchased by the contractor directly from OEM providers. Systems include:

Hydrema Flail: Danish manufactured heavy mine-clearing truck utilizing a system of 72 rotating mace-like chains with hammer ends
(approximately 36 systems).

Aardvark Flail: Mine-threshing truck which utilizes the mace-flail system to clear areas by surfacing, neutralizing, or detonating
ground mines (three systems).

Berm Sifter: A Case-manufactured front-end bucket loader equipped with a rotor berm cleaner implement (seven systems).

To:

1.3. Specialized Area Clearance/Limited Systems
Basic services and repairs will be provided to maintain Area Clearance end items. Area Clearance vehicles operate primarily in
Afghanistan.. Service support for Area Clearance equipment entails basic automotive maintenance sufficient to keep such equipment
operational. Currently, all Area Clearance systems are temporary niche systems supported by commercial manuals. Repair parts will be
purchased by the contractor directly from OEM providers. Systems include:

Hydrema Flail: Danish manufactured heavy mine-clearing truck utilizing a system of 72 rotating mace-like chains with hammer ends
(approximately 36 systems).

Aardvark Flail: Mine-threshing truck which utilizes the mace-flail system to clear areas by surfacing, neutralizing, or detonating
ground mines (three systems).

Berm Sifter: A Case-manufactured front-end bucket loader equipped with a rotor berm cleaner implement (seven systems).

Dozer: Utilized for Area Clearance and Route Clearance Sanitation mission, removing debris from roads. Some of these combat engineering
vehicles combine the earth moving capabilities of the bulldozer with armor which protects the vehicle and its operator in or near
combat.

Loaders: Utilized for Area Clearance and Route Clearance Sanitation mission, removing debris from roads. Some of these combat
engineering vehicles combine the earth moving capabilities with armor which protects the vehicle and its operator in or near combat.

j. Change Attachment 0011, Manpower Utilization (revision dated 22 April 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

k. Attachment 0022   Performance Work Statement (PWS), revision dated 20 January 2016, is changed to add customers HST, CEHC, FMS Iraq,
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Korea, and Egypt to paragraphs C.1.3.2, C.1.8.3, C.1.14.2.3, C.1.14.3.1.4, and C.1.14.3.1.5.

l. Exhibit A Contract Data Requirements List (CDRLS), revision dated 04 April 2016, is changed to updated the distribution list under
paragraph 14 and add customers HST, CEHC, FMS Iraq, Korea, and Egypt to CDRLs A003, A006, A008, A015, A020, and A021 .

2. As a result of Modification P00068, the total number of hours obligated are increased by 6,937, from 11,177,469 to 11,184,406. The
total number of hours available for obligation is 23,269,395.

3. As a result of Modification P00068, the total dollar amount of this contract is increased by $1,375,764.26 from $923,932,623.46 to
$925,308,387.72.

                             Prior                  This Change            Total

  Total Contract Value: $923,932,623.46         $1,375,764.26          $925,308,387.72



4. All other Contract terms and conditions remain unchanged and in full force and effect.




                                                      *** END OF NARRATIVE A0069 ***

Modification P00069
Previous Contract Amount: $925,308,387.72
Amount of this Action:    $ 2,088,210.95
New Contract Amount:      $927,396,598.67

1. The purpose of Modification P00069 to contract W56HZV-12-C-0127 is to incorporate the following:

a. RCV ARCENT Egypt    OR OP 3 Labor CLIN 4001AL is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM                       __________
                                       TOTAL COST   _________
                                                    TOTAL FEE     __________
                                                                  TOTAL CPFF   _____
                                                                               HOURS
4001AL   RCV ARCENT EGYPT (LABOR)      $65,275.69   $3,549.97     $68,825.66   1,282

b. RCV ARCENT Egypt    OR OP 3 Material, Travel, ODC CLIN 4002AL is established:

____
CLIN     _______
         PROGRAM                             __________
                                             TOTAL COST   _________
                                                          TOTAL  FEE
4002AL   RCV ARCENT EGYPT (MAT/TVL/ODC)      $89,004.34   No Fee

c. FMS Egypt   OR OP 3 Labor CLIN 4601AA is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM              __________
                              TOTAL COST     _________
                                             TOTAL FEE    ___________
                                                          TOTAL CPFF      _____
                                                                          HOURS
4601AA   FMS EGYPT (LABOR)    $520,710.58    $28,975.97   $549,686.55     10,461

d. FMS Egypt   OR OP 3 Material, Travel, ODC CLIN 4602AA is established:

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST      _________
                                                      TOTAL  FEE
4602AA   FMS EGYPT (MAT/TVL/ODC)      $1,380,694.40   No Fee

e. Change Attachment 0006 - Applicable Publications (revision dated 20 May 2016), paragraph 7, to add FMS Egypt Technical Inspection and
Repair Requirements (FMS Case Support EG-B-VGQ).

f. Change Attachment 0011, Manpower Utilization (revision dated 20 May 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the "Total Staffing
Authorization" column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

g. Attachment 0022    Performance Work Statement (PWS), revision dated 20 May 2016, makes changes to the following sections:

C.1.
C.1.1.2.2.3.
C.1.1.2.2.4.
C.1.1.2.2.5.
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C.1.1.3.2.1.
C.1.1.3.6.
C.1.6.
C.1.8.1.2.
C.1.8.1.4.
C.1.8.1.5.
C.1.8.2.
C.1.10.
C.11.
C.12.
C.1.12.1.1.2.
C.1.12.1.1.2.2.

h. Attachment 0022   Performance Work Statement (PWS), revision dated 20 May 2016, incorporates the following sections:

C.1 (Task Force Sinai (U.S. Army) Multi-National Force and Observers and FMS Egypt Case EG-B-VGQ)
C.1.1.2.2.6.
C.1.1.2.2.6.1.
C.1.1.2.2.7.
C.1.1.2.2.7.1.
C.1.1.2.2.7.2.
C.1.1.2.2.7.3.
C.1.1.2.2.7.4.
C.1.1.5.
C.1.5.7.
C.1.6.1.1.2.
C.1.8.6.5.
C.1.9.1.7.
C.1.9.8.3.
C.1.10.1.2.
C.1.10.3.
C.1.10.4.
C.1.10.5.
C.1.10.6.

2. As a result of Modification P00069, the total number of hours obligated are increased by 11,743, from 11,184,406 to 11,196,149. The
total number of hours available for obligation is 23,257,652.

3. As a result of Modification P00069, the total dollar amount of this contract is increased by $2,088,210.95 from $925,308,387.72 to
$927,396,598.67.

                           Prior                  This Change           Total

  Total Contract Value: $925,308,387.72        $2,088,210.95         $927,396,598.67



4. All other Contract terms and conditions remain unchanged and in full force and effect.




                                                   *** END OF NARRATIVE A0070 ***

Modification P00070
Previous Contract Amount: $927,396,598.67
Amount of this Action:    $ 2,613,752.56
New Contract Amount:      $930,010,351.23

1. The purpose of Modification P00070 to contract W56HZV-12-C-0127 is to incorporate the following:

a. RCV ARCENT Iraq   Operation Readiness (OR) Option Period (OP) 3 Labor CLIN 4001AM is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL FEE     __________
                                                                TOTAL CPFF    _____
                                                                              HOURS
4001AM   RCV ARCENT IRAQ (LABOR)    $726,762.00   $33,990.56    $760,752.56   12,271

b. RCV ARCENT Iraq   Operation Readiness (OR) Option Period (OP)3 Material, Travel, ODC CLIN 4002AM is established:
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____
CLIN     _______
         PROGRAM                          __________
                                          TOTAL COST       _________
                                                           TOTAL  FEE
4002AM   RCV ARCENT IRAQ (MAT/TVL/ODC)    $1,853,000.00    No Fee

c. Change Attachment 0011, Manpower Utilization (revision dated 21 May 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

2. As a result of Modification P00070, the total number of hours obligated are increased by 12,271, from 11,196,149 to 11,208,420. The
total number of hours available for obligation is 23,245,381.

3. As a result of Modification P00070, the total dollar amount of this contract is increased by $2,613,752.56 from $927,396,598.67 to
$930,010,351.23.

                           Prior                  This Change           Total

  Total Contract Value: $927,396,598.67        $2,613,752.56        $930,010,351.23

4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                   *** END OF NARRATIVE A0071 ***

Modification P00071
Previous Contract Amount: $930,010,351.23
Amount of this Action:    $          0.00
New Contract Amount:      $930,010,351.23

1. The purpose of Modification P00071 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Pseudo FMS Iraq (Husky) Operational Readiness (OR) Option Period (OP) 3 Labor CLIN 4501AA is changed as follows:

From:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL FEE     __________
                                                                TOTAL CPFF    _____
                                                                              HOURS
4501AA   PSEUDO FMS IRAQ (LABOR)    $467,783.74   $21,030.95    $488,814.69   7,593

To:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL FEE     __________
                                                                TOTAL CPFF    _____
                                                                              HOURS
4501AA   PSEUDO FMS IRAQ (LABOR)    $475,800.05   $25,167.67    $500,967.72   9,087

b. Pseudo FMS Iraq (Husky) Operational Readiness (OR) Option Period (OP) 3 Material, Travel, ODC CLIN 4502AA is changed as follows:

From:

____
CLIN     _______
         PROGRAM                          __________
                                          TOTAL COST       _________
                                                           TOTAL  FEE
4502AA   PSEUDO FMS IRAQ (MAT/TVL/ODC)    $2,551,879.31    No Fee

To:

____
CLIN     _______
         PROGRAM                          __________
                                          TOTAL COST       _________
                                                           TOTAL  FEE
4502AA   PSEUDO FMS IRAQ (MAT/TVL/ODC)    $2,539,726.28    No Fee

c. Change Attachment 00009, Government Furnished Property (GFP), revision dated 01 June 2016, to update GFP inventory listings at Sierra
Army Depot and Letterkenny Army Depot.

d. Change Attachment 0011, Manpower Utilization (revision dated 01 June 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
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the cumulative amount of hours available for the life of the contract.

2. As a result of Modification P00071, the total number of hours obligated are increased by 1,494, from 11,208,420 to 11,029,914. The
total number of hours available for obligation is 23,243,887.

3. As a result of Modification P00071, the total dollar amount of this contract remains unchanged.

                           Prior               This Change              Total

  Total Contract Value: $930,010,351.23           $0.00            $930,010,351.23



4. All other Contract terms and conditions remain unchanged and in full force and effect.




                                                   *** END OF NARRATIVE A0072 ***

Modification P00072
Previous Contract Amount: $930,010,351.23
Amount of this Action:    $    183,067.13
New Contract Amount:      $930,193,418.36

1. The purpose of Modification P00072 to contract W56HZV-12-C-0127 is to incorporate the following:

a. The CLIN title under CLIN 4001AK RCV ARCENT Kuwait OR OP 3 Labor is changed to RCV ARCENT Kuwait (ONS-16-21057) OR OP 3 Labor. The
CLIN title under CLIN 4002AK RCV ARCENT Kuwait OR OP 3 Material, Travel, ODC is changed to RCV ARCENT Kuwait (ONS-16-21057) OR OP 3
Material, Travel, ODC.

b. RCV ARCENT Iraq   Operational Readiness (OR) Option Period (OP) 3 Labor CLIN 4001AM is changed as follows:

From:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL FEE    __________
                                                               TOTAL CPFF       _____
                                                                                HOURS
4001AM   RCV ARCENT IRAQ (LABOR)    $726,762.00   $33,990.56   $760,752.56      12,271

To:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL FEE    __________
                                                               TOTAL CPFF       _____
                                                                                HOURS
4001AM   RCV ARCENT IRAQ (LABOR)    $662,871.02   $31,324.49   $694,195.51      11,309

c. RCV ROLLER OR OP 3 Material, Travel, ODC CLIN 4002AB is changed as follows:

____
CLIN     _______
         PROGRAM                     __________
                                     TOTAL COST      _________
                                                     TOTAL  FEE
4002AB   RCV ROLLER (MAT/TVL/ODC)    $1,249,421.36   No Fee

To:

____
CLIN     _______
         PROGRAM                     __________
                                     TOTAL COST      _________
                                                     TOTAL  FEE
4002AB   RCV ROLLER (MAT/TVL/ODC)    $2,124,421.36   No Fee

d. RCV ARCENT Kuwait (ONS-16-21057) OR OP 3 Material, Travel, ODC CLIN 4002AK is changed as follows:

From:

____
CLIN     _______
         PROGRAM                            __________
                                            TOTAL COST     _________
                                                           TOTAL  FEE
4002AK   RCV ARCENT KUWAIT (MAT/TVL/ODC)    $912,500.00    No Fee

To:

____
CLIN     _______
         PROGRAM                            __________
                                            TOTAL COST       _________
                                                             TOTAL  FEE
4002AK   RCV ARCENT KUWAIT (MAT/TVL/ODC)    $1,360,500.00    No Fee

e. RCV ARCENT Iraq OR OP 3 Material, Travel, ODC CLIN 4002AM is changed as follows:
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From:

____
CLIN     _______
         PROGRAM                           __________
                                           TOTAL COST       _________
                                                            TOTAL  FEE
4002AM   RCV ARCENT IRAQ (MAT/TVL/ODC)     $1,853,000.00    No Fee

To:

____
CLIN     _______
         PROGRAM                           __________
                                           TOTAL COST    _________
                                                         TOTAL  FEE
4002AM   RCV ARCENT IRAQ (MAT/TVL/ODC)     $779,624.18   No Fee

f. SOCOM OR OP 3 Labor CLIN 4201AA is changed as follows:

____
CLIN     _______
         PROGRAM         __________
                         TOTAL COST        _________
                                           TOTAL FEE     __________
                                                         TOTAL CPFF         _____
                                                                            HOURS
4201AA   SOCOM (LABOR)   $15,015,885.37    $708,967.65   $15,724,853.02     255,945

To:

____
CLIN     _______
         PROGRAM         __________
                         TOTAL COST        _________
                                           TOTAL FEE     __________
                                                         TOTAL CPFF         _____
                                                                            HOURS
4201AA   SOCOM (LABOR)   $15,015,279.07    $709,573.95   $15,724,853.02     256,164

g. The period of performance end date under CLIN 4001AB - RCV Roller - OR OP 3 Labor and CLIN 4002AB - OR OP 3 Material, Travel, ODC are
changed from 01 November 2016 to 14 November 2016.

h. Change Attachment 0011, Manpower Utilization (revision dated 15 July 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by contract paragraph C.1.1.3.5
(Changes to Level of Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801
hours which represents the cumulative amount of hours available for the life of the contract.

2. As a result of Modification P00072, the total number of hours obligated are decreased by 743, from 11,029,914 to 11,029,171. The
total number of hours available for obligation is 23,244,630.

3. As a result of Modification P00072, the total dollar is decreased by $183,067.13, from $930,010,351.23 to $930,193,418.36.

                            Prior               This Change              Total

  Total Contract Value: $930,010,351.23         $183,067.13        $930,193,418.36



4. All other Contract terms and conditions remain unchanged and in full force and effect.




                                                   *** END OF NARRATIVE A0073 ***

Modification P00073
Previous Contract Amount: $930,193,418.36
Amount of this Action:    $ 4,676,941.79
New Contract Amount:      $934,870,360.15

1. The purpose of Modification P00073 to contract W56HZV-12-C-0127 is to incorporate the following:

a. RCV ARCENT Kuwait (ONS-16-21504) Operational Readiness (OR) Option Period (OP) 3 Labor CLIN 4001AN and RCV ARCENT Kuwait (ONS-16-
21577) OR OP 3 Labor CLIN 4001AP are established for the option hours being exercised:

____
CLIN     _______
         PROGRAM                                      __________
                                                      TOTAL COST      _________
                                                                      TOTAL FEE   __________
                                                                                  TOTAL CPFF   _____
                                                                                               HOURS
4001AN   RCV ARCENT KUWAIT (ONS-16-21504) (LABOR)     $84,251.58      $3,950.62   $88,202.20   1,427

____
CLIN     _______
         PROGRAM                                      __________
                                                      TOTAL COST       ______________________
                                                                       TOTAL FEE   TOTAL CPFF     _____
                                                                                                  HOURS
4001AP   RCV ARCENT KUWAIT (ONS-16-21577) (LABOR)     $247,415.22      $12,735.21 $260,150.43     4,598

b. RCV ARCENT Kuwait (ONS-16-21504) OR OP 3 Material, Travel, ODC CLIN 4002AN and RCV ARCENT Kuwait (ONS-16-21577) OR OP 3 Material,
Travel, ODC CLIN 4002AP are established as follows:
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____
CLIN     _______
         PROGRAM                                               __________
                                                               TOTAL COST     _________
                                                                              TOTAL  FEE
4002AN   RCV ARCENT KUWAIT (ONS-16-21504) (MAT/TVL/ODC)        $216,441.40    No Fee

____
CLIN     _______
         PROGRAM                                               __________
                                                               TOTAL COST     _________
                                                                              TOTAL  FEE
4002AP   RCV ARCENT KUWAIT (ONS-16-21577) (MAT/TVL/ODC)        $440,547.84    No Fee

c. SOCOM OR OP 3 Labor CLIN 4201AA is changed as a result of the option hours being exercised:

From:

____
CLIN     _______
         PROGRAM         __________
                         TOTAL COST       _________
                                          TOTAL FEE      __________
                                                         TOTAL CPFF          _____
                                                                             HOURS
4201AA   SOCOM (LABOR)   $15,015,279.07   $709,573.95    $15,724,853.02      256,164

To:

____
CLIN     _______
         PROGRAM         __________
                         TOTAL COST       _________
                                          TOTAL FEE          __________
                                                             TOTAL CPFF        _____
                                                                               HOURS
4201AA   SOCOM (LABOR)   $21,566,741.08   $1,027,654.75      $22,594,395.83    370,995

d. SOCOM OR OP 3 Material, Travel, ODC CLIN 4202AA is changed as follows:

From:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST         _________
                                                  TOTAL  FEE
4202AA   SOCOM (MAT/TVL/ODC)   $12,275,146.98     No Fee

To:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST       _________
                                                TOTAL  FEE
4202AA   SOCOM (MAT/TVL/ODC)   $7,127,204.09    No Fee

e. Pseudo FMS Iraq OR OP 3 Labor CLIN 4501AA is changed as a result of the option hours being exercised:

From:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST     __________
                                                   TOTAL FEE     __________
                                                                 TOTAL CPFF     _____
                                                                                HOURS
4501AA   PSEUDO FMS IRAQ (LABOR)    $475,800.05    $25,157.67    $500,967.72    9,087

To:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST     _________
                                                   TOTAL FEE     __________
                                                                 TOTAL CPFF     _____
                                                                                HOURS
4501AA   PSEUDO FMS IRAQ (LABOR)    $596,425.73    $26,436.05    $622,861.78    9,545

f. Pseudo FMS Iraq OR OP 3 Material, Travel, ODC CLIN 4502AA is changed as follows:

From:

____
CLIN     _______
         PROGRAM                          __________
                                          TOTAL COST         _________
                                                             TOTAL  FEE
4502AA   PSEUDO FMS IRAQ (MAT/TVL/ODC)    $2,539,726.28      No Fee

To:

____
CLIN     _______
         PROGRAM                          __________
                                          TOTAL COST         _________
                                                             TOTAL  FEE
4502AA   PSEUDO FMS IRAQ (MAT/TVL/ODC)    $4,367,832.22      No Fee

g. Change Attachment 0009, Government Furnished Property (GFP), revision dated 04 August 2016, to add Buffalo Bar Armor and Panther POR
Engines.

h. Change Attachment 0011, Manpower Utilization (revision dated 08 August 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

2. As a result of Modification P00073, the total number of hours obligated are increased by 121,314, from 11,029,171 to 11,330,485. The
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total number of hours available for obligation is 23,123,316.

3. As a result of Modification P00073, the total dollar is increased by $4,676,941.79, from $930,010,351.23 to $934,870,360.15.

                            Prior               This Change             Total

  Total Contract Value: $930,010,351.23        $4,676,941.79         $934,870,360.15

4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                   *** END OF NARRATIVE A0074 ***

Modification P00074
Previous Contract Amount: $934,870,360.15
Amount of this Action:    $          0.00
New Contract Amount:      $934,870,360.15

1. The purpose of Modification P00074 to contract W56HZV-12-C-0127 is to incorporate the following:

a. SOCOM Operational Readiness (OR) Option Period (OP) 3 Labor CLIN 4201AA is changed as a result of the option hours being exercised:

From:

____
CLIN     _______
         PROGRAM         __________
                         TOTAL COST        _________
                                           TOTAL FEE    TOTAL CPFF
                                                        __________     HOURS
                                                                       _____
4201AA   SOCOM (LABOR)   $21,566,741.08    $1,027,654.75 $22,594,395.83 370,995

To:

____
CLIN     _______
         PROGRAM         __________
                         TOTAL COST        _________
                                           TOTAL FEE         __________
                                                             TOTAL CPFF       _____
                                                                              HOURS
4201AA   SOCOM (LABOR)   $21,848,663.75    $1,051,186.68     $22,899,850.43   379,491

b. SOCOM OR OP 3 Material, Travel, ODC CLIN 4202AA is changed as follows:

From:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST       _________
                                                TOTAL  FEE
4202AA   SOCOM (MAT/TVL/ODC)   $7,127,204.09    No Fee

To:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST       _________
                                                TOTAL  FEE
4202AA   SOCOM (MAT/TVL/ODC)   $6,821,749.49    No Fee

c. Change Attachment 0011, Manpower Utilization (revision dated 23 August 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

2. As a result of Modification P00074, the total number of hours obligated are increased by 8,496, from 11,330,485 to 11,338,981. The
total number of hours available for obligation is 23,114,820.

3. As a result of Modification P00074, the total dollar amount of this contract remains unchanged.

                            Prior               This Change             Total

  Total Contract Value: $934,870,360.15           $0.00            $934,870,360.15



4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                   *** END OF NARRATIVE A0075 ***
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                                                      PIIN/SIIN W56HZV-12-C-0127               MOD/AMD
 Name of Offeror or Contractor:     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


Modification P00075
Previous Contract Amount: $934,870,360.15
Amount of this Action:    $    342,787.32
New Contract Amount:      $935,213,147.47

1. The purpose of Modification P00075 to contract W56HZV-12-C-0127 is to incorporate the following:

a. RCV ARCENT Kuwait (ONS-16-21585) Operational Readiness (OR) Option Period (OP) 3 Labor CLIN 4001AQ is established for the option
hours being exercised:

____
CLIN     _______
         PROGRAM                                      __________
                                                      TOTAL COST     _________
                                                                     TOTAL FEE   __________
                                                                                 TOTAL CPFF    _____
                                                                                               HOURS
4001AQ   RCV ARCENT KUWAIT (ONS-16-21585) (LABOR)     $116,815.84    $5,871.48   $122,687.32   1,934

b. RCV ARCENT Kuwait (ONS-16-21585) OR OP 3 Material, Travel is established as follows:

____
CLIN     _______
         PROGRAM                                              __________
                                                              TOTAL COST    _________
                                                                            TOTAL  FEE
4002AQ   RCV ARCENT KUWAIT (ONS-16-21585) (MAT/TVL/ODC)       $220,100.00   No Fee

c. Change Attachment 0011, Manpower Utilization (revision dated 13 September 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

2. As a result of Modification P00075, the total number of hours obligated are increased by 1,934, from 11,338,981 to 11,340,915. The
total number of hours available for obligation is 23,112,886.

3. As a res ult of Modification P00075, the total dollar amount of this contract remains unchanged.

                            Prior               This Change            Total

  Total Contract Value: $934,870,360.15         $342,787.32        $935,213,147.47



4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                   *** END OF NARRATIVE A0076 ***

Modification P00076
Previous Contract Amount: $935,213,147.47
Amount of this Action:    $          0.00
New Contract Amount:      $935,213,147.47

1. The purpose of Modification P00076 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Change the following RCV, MRAP, FMS Iraq, FMS Pakistan, and FMS Egypt Operational Readiness (OR) Option Period (OP) 3 Labor CLINs as
follows:

From:

____
CLIN     _______
         PROGRAM        __________
                        TOTAL COST        _________
                                          TOTAL FEE       __________
                                                          TOTAL CPFF        _____
                                                                            HOURS
4001AA   RCV ARMY       $16,571,802.66    $ 764,983.36    $17,336,786.02    276,167
4001AB   RCV ROLLER     $   268,183.20    $   21,362.24   $   289,545.44      7,712
4001AE   RCV POR        $14,624,432.28    $1,106,004.29   $15,730,436.57    350,245
4101AB   MRAP AF        $ 4,519,786.91    $ 242,260.10    $ 4,762,047.01     87,549
4301AA   FMS IRAQ       $ 4,552,768.56    $ 188,408.59    $ 4,741,177.15     68,018
4401AA   FMS PAKISTAN   $ 1,262,918.04    $   33,869.30   $ 1,296,787.34     10,725
4601AA   FMS EGYPT      $   520,710.58    $   28,975.97   $   549,686.55     10,461

To:

CLIN
____     PROGRAM
         _______        TOTAL COST
                        __________        TOTAL FEE
                                          _________       TOTAL CPFF
                                                          __________        HOURS
                                                                            _____
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         CONTINUATION SHEET                                                                                   REPRINT
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 Name of Offeror or Contractor:     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

4001AA   RCV ARMY       $16,171,802.66    $ 764,983.36    $16,936,786.02   276,167
4001AB   RCV ROLLER     $   368,183.20    $   21,362.24   $   389,545.44     7,712
4001AE   RCV POR        $13,624,432.28    $1,106,004.29   $14,730,436.57   350,245
4101AB   MRAP AF        $ 4,469,786.91    $ 242,260.10    $ 4,712,047.01    87,549
4301AA   FMS IRAQ       $ 3,802,768.56    $ 188,408.59    $ 3,991,177.15    68,018
4401AA   FMS PAKISTAN   $ 1,162,918.04    $   33,869.30   $ 1,196,787.34    10,725
4601AA   FMS EGYPT      $   390,710.58    $   28,975.97   $   419,686.55    10,461

b. Change the following RCV, MRAP, FMS Iraq, FMS Pakistan, and FMS Egypt OR OP 3 Material, Travel, Other Direct Cost (ODC) CLINs as
follows:

From:

____
CLIN     _______
         PROGRAM        __________
                        TOTAL COST        _________
                                          TOTAL  FEE
4002AA   RCV ARMY       $ 4,515,676.72    No Fee
4002AB   RCV ROLLER     $ 2,124,421.36    No Fee
4002AE   RCV POR        $ 3,649,550.88    No Fee
4102AB   MRAP AF        $ 1,365,248.57    No Fee
4302AA   FMS IRAQ       $13,133,415.21    No Fee
4402AA   FMS PAKISTAN   $   783,763.59    No Fee
4602AA   FMS EGYPT      $ 1,380,694.40    No Fee

To:

____
CLIN     _______
         PROGRAM        __________
                        TOTAL COST        _________
                                          TOTAL  FEE
4002AA   RCV ARMY       $ 4,915,676.72    No Fee
4002AB   RCV ROLLER     $ 2,024,421.36    No Fee
4002AE   RCV POR        $ 4,649,550.88    No Fee
4102AB   MRAP AF        $ 1,415,248.57    No Fee
4302AA   FMS IRAQ       $13,883,415.21    No Fee
4402AA   FMS PAKISTAN   $   883,763.59    No Fee
4602AA   FMS EGYPT      $ 1,510,694.40    No fee

c. Change Attachment 0022    Performance Work Statement (PWS) paragraph C.1.1.2.2.6. Task Force SINAI (U.S. Army) Multi-National Force and
Observers, as follows:

From:

The contractor shall provide level of effort support for 19 each MRAP All-Terrain Vehicles (M-ATV), 2 each Maxx Pro Ambulance vehicles
and 6 each Sparks II Mine Rollers; remotely, on-site, and flyaway Maintenance and on the Job Training (OJT) to Task Force (TF) Sinai,
Multi-National Force and Observers maintenance team, in El Gora, Egypt.

To:

The contractor shall provide level of effort support for 19 each MRAP All-Terrain Vehicles (M-ATV), 2 each Maxx Pro Ambulance vehicles,
2 each Panther vehicles and 6 each Sparks II Mine Rollers; remotely, on-site, and flyaway Maintenance and on the Job Training (OJT) to
Task Force (TF) Sinai, Multi-National Force and Observers maintenance team, in El Gora, Egypt.

2. As a result of Modification P00076, the total number of hours obligated remains unchanged. The total number of hours available for
obligation is 23,112,886.

3. As a result of Modification P00076, the total dollar amount of this contract remains unchanged.

                            Prior               This Change            Total

  Total Contract Value: $935,213,147.47           $0.00          $935,213,147.47



4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                    *** END OF NARRATIVE A0077 ***

Modification P00077
Previous Contract Amount: $    935,213,147.47
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                                                   PIIN/SIIN W56HZV-12-C-0127                 MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

Amount of this Action:     $   79,053,044.63
New Contract Amount:       $1,014,266,192.10

1. The purpose of Modification P00077 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Change Attachment 0011, Manpower Utilization (revision dated 31 October 2016) to reflect the Option Period 4 exercise of personnel.
As a result, this version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the
Total Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.

b. The Period of Performance for Option Period 4 is from 15 November 2016 through 14 September 2017.

c. The following Operational Readiness (OR) Option Period (OP) 4 Labor CLINs as established for the option hours being exercised:

____
CLIN     _______
         PROGRAM                            __________
                                            TOTAL  COST        _________
                                                               TOTAL  FEE       __________
                                                                                TOTAL  CPFF       _____
                                                                                                  HOURS
5001AA   RCV ARMY                           $ 6,867,369.33     $ 315,274.67     $ 7,182,644.00    113,002
5001AB   RCV ROLLERS                        $   365,169.03     $   21,073.83    $   386,242.86      7,554
5001AE   RCV POR                            $15,782,026.84     $1,060,986.09    $16,843,012.93    380,282
5001AG   RCV CEH                            $     41,234.80    $     2,950.34   $     44,185.14     1,058
5001AJ   RCV CEHC                           $     49,053.81    $     3,575.44   $     52,629.25     1,282
5001AK   RCV ARCENT KUWAIT (ONS-16-21057)   $ 307,832.51       $   14,940.45    $   322,772.96      5,355
5001AL   RCV ARCENT EGYPT (ONS-15-20984)    $ 149,821.66       $     6,914.85   $   156,736.51      2,479
5001AM   RCV ARCENT IRAQ (ONS-16-21191)     $ 533,255.45       $   23,489.57    $   556,745.02      8,420
5001AN   RCV ARCENT KUWAIT (ONS-16-21504)   $   56,615.02      $     2,671.12   $     59,286.14      958
5001AP   RCV ARCENT KUWAIT (ONS-16-21577)   $ 200,707.57       $     8,861.03   $   209,568.60      3,176
5001AQ   RCV ARCENT KUWAIT (ONS-16-21585)   $ 628,731.81       $   26,907.08    $   655,638.89      9,645
5101AA   MRAP ARMY                          $ 2,483,576.87     $ 106,443.92     $ 2,590,020.79     38,152
5101AB   MRAP AIR FORCE                     $ 3,238,366.48     $ 174,499.19     $ 3,412,865.67     62,545
5201AA   SOCOM                              $ 9,127,376.44     $ 415,238.80     $ 9,542,615.24    148,832
5301AA   FMS IRAQ                           $ 1,496,194.19     $   57,292.83    $ 1,553,487.02     20,534
5401AA   PSEUDO FMS PAKISTAN (BUFFALO)      $ 1,384,206.86     $   32,401.01    $ 1,416,607.87     11,614
5501AA   PSEUDO FMS IRAQ (HUSKY)            $ 1,645,800.77     $   64,910.23    $ 1,710,711.00     25,054
5601AA   FMS EGYPT                          $   328,479.99     $   13,677.70    $   342,157.69      4,903
5701AA   PSEUDO FMS PAKISTAN (MRAP)         $ 2,240,065.47     $   55,087.69    $ 2,295,153.16     19,745

d. The following Operational Readiness (OR) Option Period (OP) 4 Material, Travel, Other Direct Cost (ODC) CLINs as established for the
option hours being exercised:

____
CLIN     _______
         PROGRAM                            __________
                                            TOTAL COST         TOTAL FEE
                                                               _________
5002AA   RCV ARMY                           $ 417,356.00      No Fee
5002AB   RCV ROLLERS                        $ 876,000.00      No Fee
5002AE   RCV POR                            $6,959,717.00     No Fee
5002AG   RCV CEH                            $   42,050.00     No Fee
5002AJ   RCV CEHC                           $   23,370.75     No Fee
5002AK   RCV ARCENT KUWAIT (ONS-16-21057)   $ 210,651.04      No Fee
5002AL   RCV ARCENT EGYPT (ONS-15-20984)    $ 103,300.00      No Fee
5002AM   RCV ARCENT IRAQ (ONS-16-21191)     $ 201,450.98      No Fee
5002AN   RCV ARCENT KUWAIT (ONS-16-21504)   $ 106,652.85      No Fee
5002AP   RCV ARCENT KUWAIT (ONS-16-21577)   $ 216,776.40      No Fee
5002AQ   RCV ARCENT KUWAIT (ONS-16-21585)   $ 618,314.65      No Fee
5102AA   MRAP ARMY                          $ 511,076.98      No Fee
5102AB   MRAP AIR FORCE                     $1,221,445.31     No Fee
5202AA   SOCOM                              $3,607,384.76     No Fee
5302AA   FMS IRAQ                           $3,466,191.81     No Fee
5402AA   PSEUDO FMS PAKISTAN (BUFFALO)      $1,019,150.00     No Fee
5502AA   PSEUDO FMS IRAQ (HUSKY)            $4,952,614.00     No Fee
5602AA   FMS EGYPT                          $ 727,461.36      No Fee
5702AA   PSEUDO FMS PAKISTAN (MRAP)         $4,439,000.00     No Fee

e. Attachment 0001 System Models and Descriptions, revision dated 03 October 2016, paragraph 1.3 is changed to add Dozers and Loaders.
Paragraph 5 is changed to add Dozers, Loaders, Cougar Family of Vehicles (FoV) and Vehicle-Mounted Mine Detection (VMMD) Husky System.
Paragraphs 5, 6, 7, and 8 are added to identify the vehicles supported under each FMS case under this contract.
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

f. The following paragraphs under Attachment 0022    Performance Work Statement (PWS), revision dated 02 November 2016, are changed:
C.1.
C.1.1.2.2.3.
C.1.1.2.2.5.
C.1.1.2.2.7.1.4.
C.1.1.2.2.8.
C.1.1.3.2.1.
C.1.1.3.6.
C.1.1.6.
C.1.4.5.
C.1.5.6.
C.1.9.1.8.
C.1.10.
C.1.10.1.2.
C.1.10.6.

g. Change clause 5152.225-5908 - Government Furnished Contractor Support, to add Dwyer as a provided service location.

2. As a result of Modification P00077, the total number of hours obligated are increased by 864,590, from 11,340,915 to 12,205,505. The
total number of hours available for obligation is 22,248,296.

3. As a result of Modification P00077, the total dollar amount of this contract is changed as follows:

                          Prior               This Change           Total

  Total Contract Value: $935,213,147.47      $79,053,044.63    $1,014,266,192.10

4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                 *** END OF NARRATIVE A0078 ***

Modification P00078
Previous Contract Amount: $1,014,266,192.10
Amount of this Action:    $            0.00
New Contract Amount:      $1,014,266,192.10

1. The purpose of Modification P00078 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Change Attachment 0011, Manpower Utilization (revision dated 18 November 2016) to reflect the Option Period 4 exercise of personnel.
As a result, this version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the
Total Staffing Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of
personnel changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to
Level of Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which
represents the cumulative amount of hours available for the life of the contract.

b. The Period of Performance under CLIN 5301AA FMS Iraq Operational Readiness (OR) Option Period (OP) 4 Labor and CLIN 5302AA       FMS
Iraq OR OP 4 Material, Travel, ODC, is changed as follows:

From:

Period of Performance: 15 November 2016 through 30 November 2016

To:

Period of Performance: 15 November 2016 through 28 February 2017

2. As a result of Modification P00078, the total number of hours obligated remain unchanged. The total number of hours available for
obligation is 22,248,296.

3. As a result of Modification P00078, the total dollar amount of this contract remains unchanged.

4. All other Contract terms and conditions remain unchanged and in full force and effect.
                  Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 154 of 468

                                                         Reference No. of Document Being Continued                     Page 78    of   388
         CONTINUATION SHEET                                                                                           REPRINT
                                                      PIIN/SIIN W56HZV-12-C-0127                 MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

                                                    *** END OF NARRATIVE A0079 ***

Modification P00079
Previous Contract Amount: $1,014,266,192.10
Amount of this Action:    $    7,786,653.25
New Contract Amount:      $1,022,052,845.35

1. The purpose of Modification P00079 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Change Attachment 0011, Manpower Utilization (revision dated 21 November 2016) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

b. CLIN 5001AH   RCV FORSCOM    Operational Readiness (OR) Option Period (OP) 4 Labor, is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM                __________
                                TOTAL COST      _________
                                                TOTAL FEE     __________
                                                              TOTAL CPFF       _____
                                                                               HOURS
5001AH   RCV FORSCOM (LABOR)    $1,284,010.38   $92,665.77    $1,376,676.15    33,214

c. CLIN 5002AH   RCV FORSCOM    OR OP 4 Material, Travel, Other Direct Cost (ODC), is established for the option hours being exercised:

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST    _________
                                                    TOTAL  FEE
5002AH   RCV FORSCOM (MAT/TVL/ODC)    $498,380.00   No Fee

d. The following RCV ARCENT OR OP 4 Labor CLINs are changed to extend the period of performance, obligate funding and exercise Option
Period 4 labor hours as follows:

From:

____
CLIN     _______
         PROGRAM                              __________
                                              TOTAL COST     _________
                                                             TOTAL FEE     __________
                                                                           TOTAL CPFF    _____
                                                                                         HOURS   _____________________
                                                                                                 PERIOD OF PERFORMANCE
5001AK   RCV ARCENT   KUWAIT (ONS-16-21057)   $307,832.51    $14,940.45    $322,772.96   5,355   15 NOV 2016 - 28 FEB 2017
5001AM   RCV ARCENT   IRAQ (ONS-16-21191)     $533,255.45    $23,489.57    $556,745.02   8,420   15 NOV 2016 - 28 FEB 2017
5001AN   RCV ARCENT   KUWAIT (ONS-16-21504)   $ 56,615.02    $ 2,671.12    $ 59,286.14     958   15 NOV 2016 - 31 JAN 2017
5001AP   RCV ARCENT   KUWAIT (ONS-16-21577)   $200,707.57    $ 8,861.03    $209,568.60   3,176   15 NOV 2016 - 31 JAN 2017

To:

____
CLIN     _______
         PROGRAM                              __________
                                              TOTAL COST       _________
                                                               TOTAL FEE     __________
                                                                             TOTAL CPFF      _____
                                                                                             HOURS    _____________________
                                                                                                      PERIOD OF PERFORMANCE
5001AK   RCV ARCENT   KUWAIT (ONS-16-21057)   $1,327,626.16    $64,435.45    $1,392,061.61   23,096   15 NOV 2016 - 14 SEP 2017
5001AM   RCV ARCENT   IRAQ (ONS-16-21191)     $2,182,511.67    $96,138.27    $2,278,649.94   34,459   15 NOV 2016 - 14 SEP 2017
5001AN   RCV ARCENT   KUWAIT (ONS-16-21504)   $ 226,878.71     $10,704.25    $ 237,582.96     3,837   15 NOV 2016 - 14 SEP 2017
5001AP   RCV ARCENT   KUWAIT (ONS-16-21577)   $ 812,917.13     $35,889.45    $ 848,806.58    12,864   15 NOV 2016 - 14 SEP 2017

e. The following RCV ARCENT OR OP 4 Material, Travel, ODC CLINs are changed to extend the period of performance and obligate funding as
follows:

From:

____
CLIN     _______
         PROGRAM                              __________
                                              TOTAL COST     _________
                                                             TOTAL  FEE   _____________________
                                                                          PERIOD OF PERFORMANCE
5002AK   RCV ARCENT   KUWAIT (ONS-16-21057)   $210,651.04    No Fee       15 NOV 2016 - 28 FEB 2017
5002AM   RCV ARCENT   IRAQ (ONS-16-21191)     $201,450.98    No Fee       15 NOV 2016 - 28 FEB 2017
5002AN   RCV ARCENT   KUWAIT (ONS-16-21504)   $106,652.85    No Fee       15 NOV 2016 - 31 JAN 2017
5002AP   RCV ARCENT   KUWAIT (ONS-16-21577)   $216,776.40    No Fee       15 NOV 2016 - 31 JAN 2017
To:

____
CLIN     _______
         PROGRAM                              __________
                                              TOTAL COST     _________
                                                             TOTAL  FEE   _____________________
                                                                          PERIOD OF PERFORMANCE
5002AK   RCV ARCENT   KUWAIT (ONS-16-21057)   $908,500.00    No Fee       15 NOV 2016 - 14 SEP 2017
5002AM   RCV ARCENT   IRAQ (ONS-16-21191)     $824,500.00    No Fee       15 NOV 2016 - 14 SEP 2017
5002AN   RCV ARCENT   KUWAIT (ONS-16-21504)   $427,400.00    No Fee       15 NOV 2016 - 14 SEP 2017
5002AP   RCV ARCENT   KUWAIT (ONS-16-21577)   $878,000.00    No Fee       15 NOV 2016 - 14 SEP 2017

f. Change Attachment 0001 - System Models and Descriptions (revised 05 Dec 2016), paragraph 1.3 and 5 to add Mine Clearing Line Charge
(MCLC) language.
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 Name of Offeror or Contractor:     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


2. As a result of Modification P00079, the total number of hours obligated are increased by 89,561, from 12,205,505 to 12,295,066. The
total number of hours available for obligation is 22,158,735.

3. As a result of Modification P00079, the total dollar amount of this contract is increased by $7,786,653.25 from $1,014,266,192.10 to
$1,022,052,845.35.

                            Prior                  This Change            Total

  Total Contract Value: $1,014,266,192.10         $7,786,653.25      $1,022,052,845.35



4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                     *** END OF NARRATIVE A0080 ***

Modification P00080
Previous Contract Amount: $1,022,052,845.35
Amount of this Action:    $      277,483.49
New Contract Amount:      $1,022,330,328.84

1. The purpose of Modification P00080 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Change Attachment 0011, Manpower Utilization (revision dated 09 January 2017) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

b. CLIN 5001AJ   RCV CEHC   Operational Readiness (OR) Option Period (OP) 4 Labor, is changed as follows:

From:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST    _________
                                          TOTAL FEE    __________
                                                       TOTAL CPFF    _____
                                                                     HOURS   _____________________
                                                                             PERIOD OF PERFORMANCE
5001AJ   RCV CEHC (LABOR)   $49,053.81    $3,575.44    $52,629.25    1,282   15 Nov 2016 15 Jan 2017

To:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST     _________
                                           TOTAL FEE     __________
                                                         TOTAL CPFF     _____
                                                                        HOURS   _____________________
                                                                                PERIOD OF PERFORMANCE
5001AJ   RCV CEHC (LABOR)   $230,803.82    $16,821.02    $247,624.84    6,030   14 Nov 2016 14 Sep 2017

c. CLIN 5002AJ   RCV CEHC   OR OP 4 Material, Travel, Other Direct Cost (ODC), is established for the option hours being exercised:

From:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST    _________
                                                  TOTAL  FEE    _____________________
                                                                PERIOD OF PERFORMANCE
5002AJ   RCV CEHC (MAT/TVL/ODC)     $23,370.75    No Fee        15 Nov 2016 15 Jan 2017

To:

____
CLIN     _______
         PROGRAM                    __________
                                    TOTAL COST     _________
                                                   TOTAL  FEE   _____________________
                                                                PERIOD OF PERFORMANCE
5002AJ   RCV CEHC (MAT/TVL/ODC)     $105,858.65    No Fee       14 Nov 2016 14 Sep 2017

2. As a result of Modification P00080, the total number of hours obligated are increased by 4,748, from 12,295,066 to 12,299,814. The
total number of hours available for obligation is 22,153,987.

3. As a result of Modification P00080, the total dollar amount of this contract is increased by $277,483.49 from $1,022,052,845.35 to
$1,022,330,328.84.

                            Prior                  This Change            Total

  Total Contract Value: $1,022,052,845.35         $277,483.49      $1,022,330,328.84
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 Name of Offeror or Contractor:     MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                      *** END OF NARRATIVE A0081 ***

Modification P00081
Previous Contract Amount: $1,022,330,328.84
Amount of this Action:    $    7,977,234.12
New Contract Amount:      $1,030,307,562.96

1. The purpose of Modification P00081 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Change Attachment 0011, Manpower Utilization (revision dated 24 January 2017) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

b. CLIN 4601AA     FMS Egypt    Operational Readiness (OR) Option Period (OP) 3 Labor is changed as follows:

From:

____
CLIN     _______
         PROGRAM                __________
                                TOTAL COST     _________
                                               TOTAL FEE    __________
                                                            TOTAL CPFF     _____
                                                                           HOURS
4601AA   FMS EGYPT (LABOR)      $390,710.58    $28,975.97   $419,686.55    10,461

To:

____
CLIN     _______
         PROGRAM                __________
                                TOTAL COST     _________
                                               TOTAL FEE    __________
                                                            TOTAL CPFF     _____
                                                                           HOURS
4601AA   FMS EGYPT (LABOR)      $347,561.60    $27,124.94   $374,686.35    9,793

c. CLIN 4602AA     FMS Egypt    OR OP 3 Material, Travel, ODC is changed as follows:

From:

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST       _________
                                                       TOTAL  FEE
4602AA   FMS EGYPT (MAT/TVL/ODC)      $1,510,694.40    No Fee

To:

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST       _________
                                                       TOTAL  FEE
4602AA   FMS EGYPT (MAT/TVL/ODC)      $1,205,694.40    No Fee

d. CLIN 5001AA     RCV ARMY    OR OP 4 Labor is changed as follows:

From:



____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST       _________
                                                TOTAL FEE      __________
                                                               TOTAL CPFF      _____
                                                                               HOURS      _____________________
                                                                                          PERIOD OF PERFORMANCE
5001AA   RCV ARMY (LABOR)      $6,867,369.33    $315,274.67    $7,182,644.00   113,002    15 NOV 2016 30 APR 2017

To:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST        _________
                                                 TOTAL FEE       __________
                                                                 TOTAL CPFF     HOURS
                                                                                _____     _____________________
                                                                                          PERIOD OF PERFORMANCE
5001AA   RCV ARMY (LABOR)      $12,765,808.51    $611,039.84     $13,376,848.36 219,012   15 NOV 2016 14 SEP 2017

e. CLIN 5002AA     RCV ARMY    OR OP 4 Material, Travel, ODC is changed as follows:

____
CLIN     _______
         PROGRAM                     __________
                                     TOTAL COST     _________
                                                    TOTAL  FEE    _____________________
                                                                  PERIOD OF PERFORMANCE
5002AA   RCV ARMY (MAT/TVL/ODC)      $417,356.00    No Fee        15 NOV 2016 30 APR 2017

To:

CLIN
____     PROGRAM
         _______                     TOTAL COST
                                     __________       TOTAL FEE
                                                      _________     PERIOD OF PERFORMANCE
                                                                    _____________________
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5002AA   RCV ARMY (MAT/TVL/ODC)      $1,053,706.23    No Fee        15 NOV 2016    14 SEP 2017

f. CLIN 5601AA   FMS Egypt    OR OP 4 Labor is changed as follows:

From:

____
CLIN     _______
         PROGRAM              __________
                              TOTAL COST     _________
                                             TOTAL FEE     __________
                                                           TOTAL CPFF      _____
                                                                           HOURS    _____________________
                                                                                    PERIOD OF PERFORMANCE
5601AA   FMS EGYPT (LABOR)    $328,479.99    $13,677.70    $342,157.69     4,903    15 NOV 2016 15 FEB 2017

To:

____
CLIN     _______
         PROGRAM              __________
                              TOTAL COST     _________
                                             TOTAL FEE     __________
                                                           TOTAL CPFF      _____ PERIOD
                                                                           HOURS  _____________________
                                                                                         OF PERFORMANCE
5601AA   FMS EGYPT (LABOR)    $655,093.01    $32,417.74    $687,510.75     11,620 15 NOV 2016 14 SEP 2017

g. CLIN 5602AA   FMS Egypt    OR OP 4 Material, Travel, ODC is changed as follows:

From:

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST     _________
                                                     TOTAL  FEE   _____________________
                                                                  PERIOD OF PERFORMANCE
5602AA   FMS EGYPT (MAT/TVL/ODC)      $727,461.36    No Fee       15 NOV 2016 15 FEB 2017

To:

____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST       _________
                                                       TOTAL  FEE    _____________________
                                                                     PERIOD OF PERFORMANCE
5602AA   FMS EGYPT (MAT/TVL/ODC)      $1,744,108.30    No Fee        15 NOV 2016 14 SEP 2017

h. CLIN 5801AA   FMS Korea    OR OP 4 Labor is established for the option hours being exercised:



____
CLIN     _______
         PROGRAM              __________
                              TOTAL COST    _________
                                            TOTAL FEE    __________
                                                         TOTAL CPFF     _____
                                                                        HOURS
5801AA   FMS KOREA (LABOR)    $18,590.15    $1,089.39    $19,679.54     391

i. CLIN 5802AA   FMS Korea    OR OP 4 Material, Travel, ODC is established as follows:



____
CLIN     _______
         PROGRAM                      __________
                                      TOTAL COST     _________
                                                     TOTAL  FEE
5801AA   FMS KOREA (MAT/TVL/ODC)      $115,000.00    No Fee

2. As a result of Modification P00081, the total number of hours obligated are increased by 112,450, from 12,299,814 to 12,412,264. The
total number of hours available for obligation is 22,041,537.

3. As a result of Modification P00081, the total dollar amount of this contract is increased by $7,977,234.12 from $1,022,330,328.84 to
$1,030,307,562.96.

                             Prior                  This Change             Total

  Total Contract Value: $1,022,330,328.84        $7,977,234.12         $1,030,307,562.96

4. All other Contract terms and conditions remain unchanged and in full force and effect.




                                                      *** END OF NARRATIVE A0082 ***

Modification P00082
Previous Contract Amount: $1,030,307,562.96
Amount of this Action:    $   10,080,954.78
New Contract Amount:      $1,040,388,517.74

1. The purpose of Modification P00082 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Change Attachment 0011, Manpower Utilization (revision dated 01 February 2017) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
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Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

b. CLIN 5201AA   SOCOM   Operational Readiness (OR) Option Period (OP) 4 Labor is changed as follows:

From:

____
CLIN     _______
         PROGRAM         __________
                         TOTAL COST       _________
                                          TOTAL FEE      __________
                                                         TOTAL CPFF      _____
                                                                         HOURS       _____________________
                                                                                     PERIOD OF PERFORMANCE
5201AA   SOCOM (LABOR)   $9,127,376.44    $415,238.80    $9,542,615.24   148,832     15 NOV 2016 to 15 MAR 2017

To:

____
CLIN     _______
         PROGRAM         __________
                         TOTAL COST        _________
                                           TOTAL FEE      __________
                                                          TOTAL CPFF         _____
                                                                             HOURS     _____________________
                                                                                       PERIOD OF PERFORMANCE
5201AA   SOCOM (LABOR)   $16,302,496.84    $758,587.13    $17,061,083.97     271,896   15 NOV 2016 to 09 JUL 2017

c. CLIN 5202AA   SOCOM   OR OP 4 Material, Travel, ODC is changed as follows:

From:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST       _________
                                                TOTAL  FEE    _____________________
                                                              PERIOD OF PERFORMANCE
5202AA   SOCOM (MAT/TVL/ODC)   $3,607,384.76    No Fee        15 NOV 2016 to 15 MAR 2017

To:

____
CLIN     _______
         PROGRAM               __________
                               TOTAL COST       _________
                                                TOTAL  FEE    _____________________
                                                              PERIOD OF PERFORMANCE
5202AA   SOCOM (MAT/TVL/ODC)   $6,169,870.81    No Fee        15 NOV 2016 to 09 JUL 2017

d. Attachment 0022   Performance Work Statement (revised 07 Feb 2017), paragraph C.1.1.2.2.3. and C.1.4.1. are changed.

2. As a result of Modification P00082, the total number of hours obligated are increased by 123,064, from 12,412,264 to 12,535,328. The
total number of hours available for obligation is 21,918,473.

3. As a result of Modification P00082, the total dollar amount of this contract is increased by $10,080,954.78 from $1,030,307,562.96 to
$1,040,388,517.74.

                            Prior                This Change             Total

  Total Contract Value: $1,030,307,562.96       $10,080,954.78      $1,040,388,517.74



4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                   *** END OF NARRATIVE A0083 ***

Modification P00083
Previous Contract Amount: $1,040,388,517.74
Amount of this Action:    $    4,408,179.66
New Contract Amount:      $1,044,796,697.40
`
1. The purpose of Modification P00083 to contract W56HZV-12-C-0127 is to incorporate the following:

a. Change Attachment 0011, Manpower Utilization (revision dated 13 February 2017) to reflect the changes in manpower. As a result, this
version of Attachment 11 supersedes all previous revisions. ManTech shall have the personnel identified under the Total Staffing
Authorization column, as noted for each Program/Site, in place by the date shown within this Attachment 11. The total of personnel
changes is identified in the +/- row under each Program/Site. Staffing level changes are authorized by C.1.1.3.5 (Changes to Level of
Effort per labor category). Revisions to these option hours does not increase nor decrease the pool of 34,453,801 hours which represents
the cumulative amount of hours available for the life of the contract.

b. CLIN 3301AA   FMS Iraq   Operational Readiness (OR) Option Period (OP) 2 Labor is changed as follows:

From:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST       _________
                                             TOTAL FEE       __________
                                                             TOTAL CPFF       _____
                                                                              HOURS
3301AA   FMS IRAQ (LABOR)   $1,762,831.86    $105,375.16     $1,868,207.02    38,180
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To:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST      _________
                                            TOTAL FEE     __________
                                                          TOTAL CPFF       _____
                                                                           HOURS
3301AA   FMS IRAQ (LABOR)   $1,570,866.53   $83,215.12    $1,654,081.65    30,151

c. CLIN 3302AA   FMS Iraq   OR OP 2 Material, Travel, ODC is changed as follows:

From:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST        _________
                                                    TOTAL  FEE
3302AA   FMS IRAQ (MAT/TVL/ODC)   $8,105,173.95     No Fee

To:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST        _________
                                                    TOTAL  FEE
3302AA   FMS IRAQ (MAT/TVL/ODC)   $5,637,143.34     No Fee

d. CLIN 3303AA   FMS Iraq   Other Support Equipment (OSE) (CAIMAN) is deleted. As a result, funding is deobligated as follows:

From:

____
CLIN     _______
         PROGRAM          __________
                          TOTAL COST   _________
                                       TOTAL  FEE
3303AA   FMS IRAQ (OSE)   $30,000.00   No Fee

To:

____
CLIN     _______
         PROGRAM          __________
                          TOTAL COST   _________
                                       TOTAL  FEE
3303AA   FMS IRAQ (OSE)   $0.00        No Fee

e. CLIN 4302AA   FMS Iraq   OR OP 3 Material, Travel, ODC is changed as follows:

From:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST         _________
                                                     TOTAL  FEE
4302AA   FMS IRAQ (MAT/TVL/ODC)   $13,883,415.21     No Fee

To:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST         _________
                                                     TOTAL  FEE
4302AA   FMS IRAQ (MAT/TVL/ODC)   $11,758,122.59     No Fee

f. CLIN 5301AA   FMS Iraq   OR OP 4 Labor is changed as follows:

From:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST      _________
                                            TOTAL FEE     __________
                                                          TOTAL CPFF       _____
                                                                           HOURS     _____________________
                                                                                     PERIOD OF PERFORMANCE
5301AA   FMS IRAQ (LABOR)   $1,496,194.19   $57,292.83    $1,574,487.02    20,534    15 NOV 2017 to 28 FEB 2017

To:

____
CLIN     _______
         PROGRAM            __________
                            TOTAL COST      _________
                                            TOTAL FEE      __________
                                                           TOTAL CPFF       _____
                                                                            HOURS     _____________________
                                                                                      PERIOD OF PERFORMANCE
5301AA   FMS IRAQ (LABOR)   $3,670,278.65   $145,968.77    $3,816,247.41    52,318    15 NOV 2017 to 14 SEP 2017

g. CLIN 5302AA   FMS Iraq   OR OP 4 Material, Travel, ODC is changed as follows:

From:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST        _________
                                                    TOTAL  FEE    _____________________
                                                                  PERIOD OF PERFORMANCE
5302AA   FMS IRAQ (MAT/TVL/ODC)   $3,466,191.81     No Fee        15 NOV 2017 to 28 FEB 2017

To:

____
CLIN     _______
         PROGRAM                  __________
                                  TOTAL COST         _________
                                                     TOTAL  FEE    _____________________
                                                                   PERIOD OF PERFORMANCE
5302AA   FMS IRAQ (MAT/TVL/ODC)   $10,449,059.68     No Fee        15 NOV 2017 to 14 SEP 2017
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 Name of Offeror or Contractor:    MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.


h. Attachment 0023   DD 254 (revised 21 April 2015), is updated.

i. Attachment 0025   MRAP Security Classification Guide (revised 16 April 2016), is updated.

2. As a result of Modification P00083, the total number of hours obligated are increased by 23,755, from 12,534,039 to 12,557,794. The
total number of hours available for obligation is 21,896,007.

3. As a result of Modification P00083, the total dollar amount of this contract is increased by $4,408,179.66 from $1,040,388,517.74 to
$1,044,796,697.40.

                           Prior                This Change          Total

  Total Contract Value: $1,040,388,517.74      $4,408,179.66   $1,044,796,697.40



4. All other Contract terms and conditions remain unchanged and in full force and effect.



                                                  *** END OF NARRATIVE A0084 ***
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

SECTION B - SUPPLIES OR SERVICES AND PRICES/COSTS
B.1 Performance Under FFP, CPFF LOE and Cost CLINs

B.1.1 A description of the CLIN type per period is as follows. These descriptions apply to all programs (MRAP, RCV, and SOCOM):

B.1.2. Phase In Period CLINs: The Phase In Period will be awarded as a Firm Fixed Priced CLIN. Phase In shall begin at the time of
Contract award and shall not exceed 180 days after award. Payment for Phase-In will be issued via Progress Payments in accordance with
FAR 52.232.16. Final payment of the Phase-in CLINs will be achieved when all contractor personnel have transitioned to their required
positions.

B.1.3 Early Operational Readiness (EOR) Period CLINs: The beginning of this period is defined by the Contractor and shall not exceed 180
days after award. If proposed, the EOR Period will be awarded as Cost Plus Fixed Fee Term Form, also described as Level-of-Effort (CPFF
LOE), CLIN(s). The labor hours, labor rates, fixed fee, labor skill mix and performance locations associated with this period will be
in accordance with the Contractors proposal, Attachment 12 and Attachment 10. Material, travel and Other Direct Costs (ODCs) for this
period will be reimbursed under Cost CLIN(s).

B.1.4 Operational Readiness (OR) Base Option Period CLINs: The OR Base Option Period will be awarded as CPFF LOE CLINs. The OR Base
Option Period shall begin after Phase In is complete (181 days after award) and run through 420 days after contract award. The
Government will specify the labor hours, skill mix and performance locations during the OR Base Option Period. Labor rates and fixed
fee shall be IAW the data provided in Attachment 12. Material, travel and ODCs for this period will be reimbursed under Cost CLIN(s).
The Material, travel, and ODCs will be estimated by the Government and inserted into the CLIN. The contractor will invoice their actual
costs incurred in accordance with the terms and conditions of the contract.

B.1.5 Operational Readiness (OR) Option Periods CLINs: The OR Option Periods will be awarded as CPFF LOE CLINs. There are four possible
OR option periods. The OR Option Periods begin after the OR Base Option Period ends (420 days after contract award) and run through
1,819 days after contract award. The Government will specify the labor hours, skill mix and performance locations during the OR Option
Period(s). Labor rates and fixed fee shall be IAW the data provided in Attachment 12. Material, travel and ODCs for this period(s) will
be reimbursed under Cost CLIN(s). The Material, travel, and ODCs will be estimated by the Government and inserted into the CLIN. The
contractor will invoice their actual costs incurred in accordance with the terms and conditions of the contract.

B.1.6 Period of Performance "fill-in" for EOR CLINs: For the EOR CLINs the offeror shall fill-in the blank with the proposed numbers of
days after contract award that EOR will begin. If EOR is not proposed, the offeror shall insert N/A in the "fill-in". For example:
Example 1: Period of performance begins _______
                                        __150_ days after contract award through 180 days after contract award.
Example 2: Period of performance, begins _______
                                         __N/A__ days after contract award through 180 days after contract award.
Note: The "fill-in" for the Early Operational Readiness (EOR) CLINs in Section B should reflect the earliest date, by site, proposed on
Attachment 10 to begin EOR.

B.2 Execution of the resulting contract shall be conducted as follows:
The initial award will be priced in accordance with L.4.2(a). All susequent awards will be priced in accordance wtih the following:

a. The estimated cost and fixed fee for each applicable Early Operational Readiness, Operational Readiness Base Option, and Operational
Readiness Option CLIN shall be calculated from the labor rates found in the tab "Cost Rate by Labor Category" tab, column P, "Composite
Cost Per Hour $", multiplied by the number of hours the Government requires for that labor category. The total estimated cost for each
CLIN will then be calculated by summing all hours by labor category and the associated estimated labor cost from the "Cost Rate by Labor
Category" for each CLIN. The fixed fee shall be calculated from the "Summary of Fee Rate by Performance Period" tab, column B, Fee per
Hour as shown in Attachment 12, multiplied by the number of hours required on that CLIN by the Government.

Note: If Administrative and Clerical hours are charged direct, the estimated cost, by contract period, shall be calculated from the
labor rates found in the "Cost Rate by Labor Category" tab, column P, "Composite Cost Per Hour $", multiplied by the hours for the
Administrative and Clerical labor category. The fixed fee for Administrative and Clerical hours and dollars, by contract period, is
automatically allocated within the fee per hour rate found in tab "Summary of Fee Rate by Performance Period", column B, Fee per Hour.
Therefore, no fee per hour shall be added to any direct Administrative and Clerical cost, since this fee has already been captured
within the fee per hour rate calculated for all other labor categories.

b. The estimated total cost (no fee) for material, by Performance Period and Program, shall be determined by extending the Government
estimated material by the burden factors contained within the MATERIAL (Prime) tab of attachment 12, specifically material handling,
G&A, and FCCM, if proposed.

c. The estimated total cost (no fee) for ODC and Travel, by Performance Period and Program, shall be determined by extending the
Government estimated ODC and travel dollars by the burden factors contained within the ODC (Prime) and "Travel (Prime)" tabs,
specifically, G&A, and FCCM, if proposed.



                                                 *** END OF NARRATIVE B0001 ***
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE       AMOUNT



 1001          RCV- (ARMY-1)




 Data not printed.
                                     (End of narrative B001)




 1001AA        RCV - PHASE-IN
               ______________                                                          1      LO                    $__________________
                                                                                                                           6,087,887.71



               SERVICE REQUESTED: RCV- (ARMY-1)
               PRON: 2M2SMA07Q7    PRON AMD: 07            ACRN: AA
               AMS CD: 11502010000
               PSC: R706



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            20-NOV-2012

                                 $       6,087,887.71




 Data not printed.
                                     (End of narrative F001)




 1001AB        RCV - PHASE-IN
               ______________                                                          1      LO                    $__________________
                                                                                                                             174,909.66



               SERVICE REQUESTED: RCV - (ARMY - 2)
               PRON: 2M2SMA09Q7    PRON AMD: 02    ACRN: AB
               AMS CD: 13519700000
               PSC: R706



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         174,909.66




              Due to Stop Work cancellation Period of Performance
              begins 21 September through 20 November 2012



                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE       AMOUNT

 1001AC        RCV - PHASE-IN
               ______________                                                          1      LO                    $__________________
                                                                                                                              43,510.77



               SERVICE REQUESTED: RCV (PROPHET)
               PRON: 2M2SMA08Q7    PRON AMD: 04            ACRN: AA
               AMS CD: 11502010000
               PSC: R706



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $          43,510.77




              Period of performance begins date of award and
              shall not exceed 180 days after award.



                                     (End of narrative F001)




 1001AD        RCV - PHASE-IN
               ______________                                                          1      LO                    $__________________
                                                                                                                             100,243.86



               SERVICE REQUESTED: RCV (BUFFALO)
               PRON: 2M2CLS1BQ7    PRON AMD: 03            ACRN: AC
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPAAG12



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         100,243.86




              Period of performance begins date of award and
              shall not exceed 180 days after award.



                                     (End of narrative F001)




 1002          RCV



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE       AMOUNT
              Work Statement references:
              C.1.1.1.1; C.1.1.1.4; C.1.1.1.5
              C.1.1.5.6; C.1.1.2; C.1.1.3
              C.1.6; C.1.7; C.1.8; C.1.9
              C.1.10; C.1.11; C.1.12
              C.1.13; C.1.14; C.1.15

                                     (End of narrative A001)




 1002AA        RCV - EOR LABOR
               _______________                                                         1      LO                    $__________________
                                                                                                                          30,123,778.18



               SERVICE REQUESTED: RCV
               PRON: 2M2SMA07Q7    PRON AMD: 08            ACRN: AA
               AMS CD: 11502010000
               PSC: R706

 Data not printed.
                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $      30,123,778.18




 Data not printed.
                                     (End of narrative F001)




 1002AB        RCV -EOR LABOR
               ______________                                                          1      LO                    $__________________
                                                                                                                             729,103.04



               SERVICE REQUESTED: RCV (ARMY)
               PRON: 2M2SMA09Q7    PRON AMD: 02            ACRN: AB
               AMS CD: 13519700000
               PSC: R706

              Estimated Cost:$670,274.13
              Fixed Fee: $58,828.91
              Total Cost Plus Fixed Fee : $729,103.04

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 17,720

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                  001                     1              UNDEFINITIZED

                                 $         729,103.04




 Data not printed.
                                     (End of narrative F001)




 1002AC        ________________
                RCV - EOR LABOR                                                        1      LO                     $__________________
                                                                                                                              181,372.70



               SERVICE REQUESTED: RCV (PM PROPHET)
               PRON: 2M2SMA08Q7    PRON AMD: 04    ACRN: AA
               AMS CD: 11502010000
               PSC: R706

 Data not printed.
                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         181,372.70




              Period of Performance begins 45 days after contract
              award through 180 days after contract award.



                                     (End of narrative F001)




 1002AD        RCV - EOR LABOR
               _______________                                                         1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              347,516.90
                                                                                                         Fixed Fee   $__________________
                                                                                                                               29,640.24
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              377,157.14

               SERVICE REQUESTED: RCV - (BUFFALO)
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M2CLS1BQ7    PRON AMD: 03            ACRN: AC
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPAAG12

              Estimated Cost:$461,637.90
              Fixed Fee: $40,517.24
              Total Cost Plus Fixed Fee : $502,155.14

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 11,915
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY     UNIT       UNIT PRICE      AMOUNT
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1002AD:

              Prior Balance:

              Estimated Labor Cost:             $   461,637.90
              Fixed Fee:                        $    40,517.24
              CPFF:                             $   502,155.14

              New Balance:

              Estimated Labor Cost:             $   347,516.90
              Fixed Fee:                        $    29,640.24
              CPFF:                             $   377,157.14

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1

                                 $         377,157.14




              Period of Performance begins 45 days after contract
              award through 180 days after contract award.



                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1002AE        RCV - EOR LABOR
               _______________                                                         1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            3,144,266.96
                                                                                                         Fixed Fee   $__________________
                                                                                                                              394,255.38
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            3,538,522.34

               SERVICE REQUESTED: RCV
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M2SMA15Q7    PRON AMD: 01            ACRN: AJ

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1002AE:

              Prior Balance:

              Estimated Labor Cost:             $5,551,293.96
              Fixed Fee:                        $ 487,228.38
              CPFF:                             $6,038,522.34

              New Balance:

              Estimated Labor Cost:             $3,144,266.96
              Fixed Fee:                        $ 394,255.38
              CPFF:                             $3,538,522.34

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       3,538,522.34




              Period of Performance begins 45 days after contract
              award through 180 days after contract award.



                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1002AF        RCV (PROPHET) - EOR LABOR
               _________________________                                               1      LO                     $__________________
                                                                                                                               36,587.34



               SERVICE REQUESTED: RCV (PM PROPHET)
               PRON: 2M2SMA16Q7    PRON AMD: 01    ACRN: AK

              Estimated Cost:$33,635.23
              Fixed Fee:$2,952.11
              Total Cost Plus Fixed Fee: $36,587.34

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 764

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $          36,587.34




 Data not printed.
                                     (End of narrative F001)




 1002AH        RCV (AMS POR) - EOR LABOR
               _________________________                                               1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                    0.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                                    0.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              175,817.76

               SERVICE REQUESTED: RCV CONUS AMS POR EOR LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P116M1502T    PRON AMD: 04    ACRN: AY
               PSC: R706
               CUSTOMER ORDER NO: D02903AVFRE

              Estimated Cost:$160,836.56
              Fixed Fee: $14,981.20
              Total Cost Plus Fixed Fee: $175,817.76

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 4,472

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            20-MAR-2013
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                 $         175,817.76




              Period of performance begins 23 January 2013 through
              20 March 2013.



                                     (End of narrative F001)




 1003          RCV - EOR MTL, TVL, ODC



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)




 1003AA        RCV - EOR MTL, TVL, ODC
               ________________________                                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           77,438,856.79
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           77,438,856.79

               SERVICE REQUESTED: RCV - EOR MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M2SMA07Q7    PRON AMD: 08    ACRN: AA
               AMS CD: 11502010000
               PSC: R706

              Cost No Fee

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1003AA:

              Prior Balance:

              Estimated Cost:           $124,014,696.46

              New Balance:

              Estimated Cost:           $ 77,438,856.79

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
                  001                     1              UNDEFINITIZED

                                 $      77,438,856.79




 Data not printed.
                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1003AB        RCV -EOR MTL, TVL, ODC
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            2,907,833.09
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            2,907,833.09

               SERVICE REQUESTED: RCV -EOR MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M2SMA09Q7    PRON AMD: 02   ACRN: AB
               AMS CD: 13519700000
               PSC: R706

              Cost No Fee

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1003AB:

              Prior Balance:

              Estimated Cost:             $3,095,987.30

              New Balance:

              Estimated Cost:             $2,907,833.09

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       2,907,833.09




              Period of performance begins 45 days
              after contract award through 180 days after
              contract award.



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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1003AC        RCV - EOR MTL, TVL, ODC
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              637,623.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              637,623.00

               SERVICE REQUESTED: RCV (PM PROPHET)
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M2SMA08Q7    PRON AMD: 04    ACRN: AA
               AMS CD: 11502010000
               PSC: R706

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1003AC:

              Prior Balance:

              Estimated Cost:             $   770,162.18

              New Balance:

              Estimated Cost:             $   637,623.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         637,623.00




              Period of performance begins 45 days
              after contract award through 180 days after
              contract award.



                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1003AD        RCV - EOR MTL, TVL, ODC
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,222,206.13
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,222,206.13

               SERVICE REQUESTED: RCV (BUFFALO)
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M2CLS1BQ7    PRON AMD: 03            ACRN: AC
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPAAG12

              Cost No Fee

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1003AD:

              Prior Balance:

              Estimated Cost:             $1,774,366.06

              New Balance:

              Estimated Cost:             $1,222,206.13

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       1,222,206.13




 Data not printed.
                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1003AF        RCV (AMS POR) - EOR MTL, TVL, ODC
               _________________________________                                       1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               92,409.39
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               92,409.39

               SERVICE REQUESTED: RCV AMS POR EOR MTL TVL ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P116M1502T    PRON AMD: 04    ACRN: AY
               PSC: R706
               CUSTOMER ORDER NO: D02903AVFRE

 Data not printed.
                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            20-MAR-2013

                                 $          92,409.39




 Data not printed.
                                     (End of narrative F001)




 1004          RCV OR BASE OP LABOR



 Data not printed.
                                     (End of narrative A001)




 1004AA        RCV OR BASE OP LABOR (CPFF LOE)
               _______________________________                                         1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                    0.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                                    0.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           55,873,761.60

               SERVICE REQUESTED: RCV OR BASE OP LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3SMA03Q7    PRON AMD: 05    ACRN: AN
               PSC: R706

              Estimated Cost: $51,617,192.59
              Fixed Fee: $4,256,569.01
              Total Cost Plus Fixed Fee: $55,873,761.60

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,430,796

                                     (End of narrative B001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE       AMOUNT




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $      55,873,761.60




              Period of performance: 21 March 2013 through 15
              November 2013.



                                     (End of narrative F001)




 1004AB        RCV (BUFFALO) OR BASE OP LABOR
               ______________________________                                          1      LO                    $__________________
                                                                                                                             791,727.45



               SERVICE REQUESTED: RCV BUFFALO LABOR
               PRON: 2M3CLS1BQ7    PRON AMD: 01     ACRN: AP
               PSC: R706
               CUSTOMER ORDER NO: M9545013MPZ8388

              Estimated Cost: $733,605.42
              Fixed Fee: $58,122.03
              Total Cost Plus Fixed Fee: $791,727.45

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 20,140

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         791,727.45




 Data not printed.
                                     (End of narrative F001)




 1004AC        RCV (PROPHET) OR BASE OP LABOR
               ______________________________                                          1      LO                    $__________________
                                                                                                                             630,560.74



               SERVICE REQUESTED: RCV PROPHET LABOR
               PRON: 2M3SMA02Q7    PRON AMD: 02     ACRN: AQ
               PSC: R706
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 176 of 468

                                                           Reference No. of Document Being Continued             Page 100 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Estimated Cost: $582,271.74
              Fixed Fee: $48,289.00
              Total Cost Plus Fixed Fee: $630,560.74

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 14,330

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         630,560.74




              Period of performance: 21 March 2013 through 15
              November 2013.



                                     (End of narrative F001)




 1004AD        RCV BUFFALO OR BASE OP LABOR
               ____________________________                                            2      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              142,174.63
                                                                                                         Fixed Fee   $__________________
                                                                                                                                9,078.20
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              151,252.83

               SERVICE REQUESTED: MRAP CLS - 29
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLS2BQ7    PRON AMD: 04            ACRN: AP
               PSC: R706
               CUSTOMER ORDER NO: M9545013MPZ8388

 Data not printed.
                                     (End of narrative B001)



              Modification P00068 adjusts CLIN 1004AD as follows:

              From:

              HOURS: 2,694
              ESTIMATED COST: $139,845.53
              FIXED FEE: $9,078.20
              TOTAL ESTIMATED COST + FIXED FEE: $148,923.73

              To:

              HOURS: 2,694
              ESTIMATED COST: $142,174.63
              FIXED FEE: $9,078.20
              TOTAL ESTIMATED COST + FIXED FEE: $151,252.83

                                     (End of narrative B002)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 177 of 468

                                                           Reference No. of Document Being Continued             Page 101 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               DLVR SCH                                  PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY                __________
                                                            DATE
                  001               2                    UNDEFINITIZED

                                 $         151,252.83




              Period of performance: 21 March 2013 through 15
              November 2013.



                                     (End of narrative F001)




 1004AE        RCV (AMS POR) - OR BASE OP LABOR
               ________________________________                                        1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                    0.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                                    0.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,195,675.19

               SERVICE REQUESTED: RCV AMS POR OR BASE OP LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P116M1502T    PRON AMD: 04    ACRN: AY
               PSC: R706
               CUSTOMER ORDER NO: D02903AVFRE

 Data not printed.
                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            30-SEP-2013

                                 $       1,195,675.19




              Period of performance: 21 March 2013 through 30
              September 2013.



                                     (End of narrative F001)




 1004AF        RCV (AMS POR) - OR BASE OP LABOR
               ________________________________                                        1      LO         Estimated
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                                                                                              Cost   $__________________
                                                                                                                                    0.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                                    0.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              369,990.48

               SERVICE REQUESTED: RCV AMS POR OR BASE OP LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P126M0412T    PRON AMD: 02    ACRN: AZ
               PSC: R706

              Estimated Cost: $337,988.96
              Fixed Fee: $32,001.52
              Total Cost Plus Fixed Fee: $369,990.48

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 9,496

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2013

                                 $         369,990.48




              Period of performance: 1 October 2013 through 15
              November 2013.



                                     (End of narrative F001)




 1004AG        RCV (EHP) OR BASE OP LABOR
               __________________________                                              1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            5,559,164.71
                                                                                                         Fixed Fee   $__________________
                                                                                                                              426,129.34
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            5,985,294.05

               SERVICE REQUESTED: RCV EHP OR BASE OP LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3SMA07Q7    PRON AMD: 04    ACRN: BC

              Estimated Cost: $5,559,164.71
              Fixed Fee: $426,129.34
              Total Cost Plus Fixed Fee: $5,985,294.05

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 126,456

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination
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                                                           Reference No. of Document Being Continued             Page 103 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT
               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2013

                                 $       5,985,294.05




              Period of performance: 1 June 2013 through 15
              November 2013.



                                     (End of narrative F001)




 1005          RCV OR BASE OP MTL, TVL, ODC



 Data not printed.
                                     (End of narrative A001)




 1005AA        RCV OR BASE OP MATL, TRVL, ODC
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           86,605,036.94
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           86,605,036.94

               SERVICE REQUESTED: RCV OR BASE OP MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3SMA03Q7    PRON AMD: 06    ACRN: AN
               PSC: R706

              Cost No Fee: $144,105,036.94

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1005AA:

              Prior Balance:

              Estimated Cost:           $144,105,036.94

              New Balance:

              Estimated Cost:           $86,605,036.94

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2013
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                    REPRINT
                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
                                 $      86,605,036.94




              Period of performance: 21 March 2013 through 15
              November 2013.



                                     (End of narrative F001)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1005AB        RCV (BUFFALO) OR BASE OP MATL, TRVL, ODC
               ________________________________________                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,032,628.92
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,032,628.92

               SERVICE REQUESTED: RCV BUFFALO MTL, TRV, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS1BQ7    PRON AMD: 01    ACRN: AP
               CUSTOMER ORDER NO: M9545013MPZ8388

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1005AB:

              Prior Balance:

              Estimated Cost:             $2,532,628.92

              New Balance:

              Estimated Cost:             $1,032,628.92

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       1,032,628.92




 Data not printed.
                                     (End of narrative F001)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 182 of 468

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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1005AC        RCV (PROPHET) OR BASE OP MATL, TRVL, ODC
               ________________________________________                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              714,102.03
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              714,102.03

               SERVICE REQUESTED: CLS Prophet - Ramp-u
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3SMA02Q7    PRON AMD: 03    ACRN: AQ
               PSC: R706

              Cost No Fee: $1,914,102.03

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1005AC:

              Prior Balance:

              Estimated Cost:             $1,914,102.03

              New Balance:

              Estimated Cost:             $   714,102.03

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         714,102.03




              Period of performance: 21 March 2013 through 15
              November 2013.



                                     (End of narrative F001)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 183 of 468

                                                             Reference No. of Document Being Continued             Page 107 of   388
     CONTINUATION SHEET                                               W56HZV-12-C-0127
                                                                                                                       REPRINT
                                                          PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                   QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1005AD        RCV (BUFFALO) OR BASE MATL, TVL, ODC
               ____________________________________                                      1      LO         Estimated
                                                                                                                Cost   $__________________
                                                                                                                                 29,667.55
                                                                                                       Not to Exceed
                                                                                                           (Funding)   $__________________
                                                                                                                                 29,667.55

               SERVICE REQUESTED: MRAP CLS - 29
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS2BQ7    PRON AMD: 04              ACRN: AP
               PSC: R706
               CUSTOMER ORDER NO: M9545013MPZ8388

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1005AD:

              Prior Balance:

              Estimated Cost:             $      4,630.98

              New Balance:

              Estimated Cost:             $     31,996.65

                                     (End of narrative B002)



              Modification P00068 adjusts CLIN 1005AD as follows:

              From:

              COST NO FEE: $31,996.65

              To:

              COST NO FEE: $29,667.55

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination             ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               DLVR SCH                                    PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY                  __________
                                                              DATE
                  001               1                      UNDEFINITIZED

                                 $            29,667.55




              Period of performance: 21 March 2013 through 15
              November 2013.
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                                                     Reference No. of Document Being Continued            Page 108 of   388
     CONTINUATION SHEET                                       W56HZV-12-C-0127
                                                                                                              REPRINT
                                                  PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY     UNIT       UNIT PRICE      AMOUNT
                                 (End of narrative F001)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 185 of 468

                                                           Reference No. of Document Being Continued             Page 109 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1005AE        RCV (AMS POR) - OR BASE MTL TVL ODC
               ___________________________________                                     1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              231,595.86
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              231,595.86

               SERVICE REQUESTED: RCV AMS POR OR BASE MTL TVL
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P116M1502T    PRON AMD: 04    ACRN: AY
               PSC: R706
               CUSTOMER ORDER NO: D02903AVFRE

              Cost No Fee: $231,595.86

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2013

                                 $         231,595.86




              Period of performance: 21 March 2013 through 30
              September 2013.



                                     (End of narrative F001)




 1005AF        RCV (AMS POR) - OR BASE MTL TVL ODC
               ___________________________________                                     1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               92,638.34
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               92,638.34

               SERVICE REQUESTED: RCV AMS POR OR BASE MTL TVL
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P126M0412T    PRON AMD: 02    ACRN: AZ
               PSC: R706

              Cost No Fee: $92,638.34

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2013

                                 $          92,638.34
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 186 of 468

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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT




 Data not printed.
                                     (End of narrative F001)




 1005AG        RCV (EHP) OR BASE MTL, TVL, ODC
               _______________________________                                         1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              526,981.81
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              526,981.81

               SERVICE REQUESTED: RCV EHP OR BASE MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3SMA07Q7    PRON AMD: 04    ACRN: BC

              Cost No Fee: $526,981.81

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2013

                                 $         526,981.81




              Period of performance: 1 June 2013 through 15
              November 2013.



                                     (End of narrative F001)




 1005AH        RCV (EHP) OR BASE MTL, TVL, ODC
               _______________________________                                         1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            8,000,000.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            8,000,000.00

               SERVICE REQUESTED: RCV EHP OR BASE MTL
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3SMAXXQ7    PRON AMD: 03    ACRN: BD
               CUSTOMER ORDER NO: MIPR3K000J7356

              Cost No Fee: $8,000,000.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                    REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE       AMOUNT
               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2013

                                 $       8,000,000.00




              Period of performance through 15 November 2013.



                                     (End of narrative F001)




 1101          MRAP (AIR FORCE)



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.3.7; C.1.1.3.8; C.1.1.3.9; C.1.3

                                     (End of narrative A001)




 1101AA        MRAP - PHASE-IN
               _________________                                                       1      LO                    $__________________
                                                                                                                             132,107.59



               SERVICE REQUESTED: MRAP (AIR FORCE)
               PRON: 2M2CLS1FQ7    PRON AMD: 01    ACRN: AD
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPOMFS8



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         132,107.59




              Due to Stop Work Cancellation period of performance
              begins 21 September 2012 through November 2012

                                     (End of narrative F001)




 1101AB        MRAP - PHASE-IN
               _______________                                                         1      LO                    $__________________
                                                                                                                           3,069,123.82



               SERVICE REQUESTED: MRAP (ARMY)
               PRON: 2M2CLS1AQ7    PRON AMD: 01            ACRN: AE
               PSC: R706
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                    REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE       AMOUNT
               CUSTOMER ORDER NO: M9545012MPOMAQ8



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       3,069,123.82




              Due to Stop Work Cancellation period of performance
              begins on 21 September 2012 through 20 November
              2012

                                     (End of narrative F001)




 1101AC        MRAP - PHASE-IN
               _______________                                                         1      LO                    $__________________
                                                                                                                           1,030,302.87



               SERVICE REQUESTED: CLS Competative - US
               PRON: 2M2CLS1MQ7    PRON AMD: 02    ACRN: AF
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPAAG13



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       1,030,302.87




 Data not printed.
                                     (End of narrative F001)




 1101AD        MRAP - PHASE-IN
               _______________                                                         1      LO                    $__________________
                                                                                                                             149,450.16



               SERVICE REQUESTED: CLS Competative - Na
               PRON: 2M2CLS1NQ7    PRON AMD: 02    ACRN: AG
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPOMNE6



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         149,450.16
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                           QUANTITY      UNIT       UNIT PRICE       AMOUNT




              Due to Stop Work cancellation
              Period of performance begins 21 September 2012
              through 20 November 2012.

                                 (End of narrative F001)




 1102          MRAP (AIR FORCE)



 Data not printed.
                                 (End of narrative A001)




 1102AA        MRAP - EOR LABOR
               _________________                                                 1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                        232,462.69
                                                                                                   Fixed Fee   $__________________
                                                                                                                         18,808.60
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                        251,271.29

               SERVICE REQUESTED: MRAP (AIR FORCE)
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M2CLS1FQ7    PRON AMD: 03    ACRN: AD
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPOMFS8

 Data not printed.
                                 (End of narrative B001)




              MOD P00025 updates CLIN 1102AA:

              Prior Balance:

              Estimated Labor Cost:         $   574,191.69
              Fixed Fee:                    $    52,079.60
              CPFF:                         $   626,271.29

              New Balance:

              Estimated Labor Cost:         $   232,462.69
              Fixed Fee:                    $    18,808.60
              CPFF:                         $   251,271.29

                                 (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
                                 $         251,271.29




 Data not printed.
                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1102AB        MRAP - EOR LABOR
               ________________                                                        1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           17,741,378.70
                                                                                                         Fixed Fee   $__________________
                                                                                                                            1,653,344.56
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           19,394,723.26

               SERVICE REQUESTED: MRAP (AMRY)
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M2CLS1AQ7    PRON AMD: 03            ACRN: AE
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPOMAQ8

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1102AB:

              Prior Balance:

              Estimated Labor Cost:            $18,240,313.70
              Fixed Fee:                       $ 1,654,409.56
              CPFF:                            $19,894,723.26

              New Balance:

              Estimated Labor Cost:            $17,741,378.70
              Fixed Fee:                       $ 1,653,344.56
              CPFF:                            $19,394,723.26

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1

                                 $      19,394,723.26




              Period of performance begins 45 days
              after contract award through 180 days after
              contract award.



                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1102AC        MRAP - EOR LABOR
               ________________                                                        1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,703,251.86
                                                                                                         Fixed Fee   $__________________
                                                                                                                              147,853.06
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,851,104.92

               SERVICE REQUESTED: MRAP (MARINES)
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M2CLS1MQ7    PRON AMD: 02            ACRN: AF
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPAAG13

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1102AC:

              Prior Balance:

              Estimated Labor Cost:             $2,980,748.86
              Fixed Fee:                        $ 270,356.06
              CPFF:                             $3,251,104.92

              New Balance:

              Estimated Labor Cost:             $1,703,251.86
              Fixed Fee:                        $ 147,853.06
              CPFF:                             $1,851,104.92

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1

                                 $       1,851,104.92




              Period of performance begins 45 days
              after contract award through 180 days after
              contract award.



                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1102AD        MRAP - EOR LABOR
               ________________                                                        1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              209,917.96
                                                                                                         Fixed Fee   $__________________
                                                                                                                               16,078.57
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              225,996.53

               SERVICE REQUESTED: MRAP (NAVY)
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M2CLS1NQ7    PRON AMD: 02            ACRN: AG
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPOMNE6

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1102AD:

              Prior Balance:

              Estimated Labor Cost:             $   665,623.96
              Fixed Fee:                        $    60,372.57
              CPFF:                             $   725,996.53

              New Balance:

              Estimated Labor Cost:             $   209,917.96
              Fixed Fee:                        $    16,078.57
              CPFF:                             $   225,996.53

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         225,996.53




              Period of performance begins 45 days
              after contract award through 180 days after
              contract award.



                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1102AE        MRAP -EOR LABOR (KU)
               ____________________                                                    1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              761,832.62
                                                                                                         Fixed Fee   $__________________
                                                                                                                               87,007.63
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              848,840.25

               SERVICE REQUESTED: 53 ManTech Personnel
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLS01Q7    PRON AMD: 06    ACRN: AL

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1102AE:

              Prior Balance:

              Estimated Labor Cost:             $2,150,120.62
              Fixed Fee:                        $ 198,719.63
              CPFF:                             $2,348,840.25

              New Balance:

              Estimated Labor Cost:             $   761,832.62
              Fixed Fee:                        $    87,007.63
              CPFF:                             $   848,840.25

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         848,840.25




              Period of performance begins 45 days
              after contract award through 180 days after
              contract award.



                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1102AF        MRAP (ARMY) - (KU)
               __________________                                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              867,200.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              867,200.00

               SERVICE REQUESTED: 53 ManTech Personnel
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS01Q7    PRON AMD: 06    ACRN: AL

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1102AF:

              Prior Balance:

              Estimated Labor Cost:             $1,075,975.68

              New Balance:

              Estimated Labor Cost:              $ 867,200.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         867,200.00




 Data not printed.
                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1102AG        MRAP (ARMY) - EOR LABOR
               _______________________                                                 1      LO                     $__________________
                                                                                                                           25,352,483.91



               SERVICE REQUESTED: MRAP ARMY EOR LABOR
               PRON: 2M3CLS03Q7    PRON AMD: 01    ACRN: AS
               PSC: R706

 Data not printed.
                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $      25,352,483.91




              Period of performance begins 20 November 2012 through
              20 March 2013.



                                     (End of narrative F001)




 1102AH        MRAP (MARINES) - EOR LABOR
               __________________________                                              1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              760,581.67
                                                                                                         Fixed Fee   $__________________
                                                                                                                               31,551.10
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              792,132.77

               SERVICE REQUESTED: CLS Ramp-up & Base
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLS1MQ7    PRON AMD: 06    ACRN: AP
               PSC: R706
               CUSTOMER ORDER NO: M9545013MPZ8388

              Estimated Cost: $4,944,163.67
              Fixed Fee: $447,969.10
              Total Cost Plus Fixed Fee: $5,392,132.77

              TOTAL NUMBER OF HOUR FUNDED UNDER THIS CLIN: 133,604

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1102AH:

              Prior Balance:

              Estimated Labor Cost:             $4,944,163.67
              Fixed Fee:                        $ 447,969.10
              CPFF:                             $5,392,132.77
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY     UNIT       UNIT PRICE      AMOUNT

              New Balance:

              Estimated Labor Cost:             $   760,581.67
              Fixed Fee:                        $    31,551.10
              CPFF:                             $   792,132.77

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         792,132.77




 Data not printed.
                                     (End of narrative F001)
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                           QUANTITY      UNIT       UNIT PRICE       AMOUNT



 1102AJ        MRAP (NAVY) - EOR LABOR
               _______________________                                           1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                             43.70
                                                                                                   Fixed Fee   $__________________
                                                                                                                              0.00
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                             43.70

               SERVICE REQUESTED: CLS Ramp-up - Navy
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLS4NQ7    PRON AMD: 04    ACRN: AT
               PSC: R706
               CUSTOMER ORDER NO: N4027313MP001K7

              Estimated Cost: $722,830.95
              Fixed Fee: $65,492.56
              Total Cost Plus Fixed Fee: $788,323.50

              TOTAL NUMBER OF HOUR FUNDED UNDER THIS CLIN: 19,532

                                 (End of narrative B001)




              MOD P00025 updates CLIN 1102AJ:

              Prior Balance:

              Estimated Labor Cost:         $   722,830.95
              Fixed Fee:                    $    65,492.55
              CPFF:                         $   788,323.50

              New Balance:

              Estimated Labor Cost:         $   131,669.95
              Fixed Fee:                    $     6,653.55
              CPFF:                         $   138,323.50

                                 (End of narrative B002)



              Modification P00059 adjusts CLIN 1102AJ:

              From:

              HOURS: 19,532
              ESTIMATED COST: $131,669.95
              FIXED FEE: $6,653.55
              TOTAL ESTIMATED COST + FIXED FEE: $138,323.50

              To:

              HOURS: 19,532
              ESTIMATED COST: $1.31
              FIXED FEE: $0.00
              TOTAL ESTIMATED COST + FIXED FEE: $1.31

                                 (End of narrative B003)



              Modification P00068 adjusts CLIN 1102AJ as follows:
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
              From:

              Hours: 19,532
              Estimated Cost: $1.31
              Fixed Fee: $0.00
              Estimated Cost + Fixed Fee: $1.31

              To:

              Hours: 19,532
              Estimated Cost: $43.70
              Fixed Fee: $0.00
              Estimated Cost + Fixed Fee: $43.70

                                     (End of narrative B004)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               DLVR SCH                                  PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY                __________
                                                            DATE
                  001               1                    UNDEFINITIZED

                                 $              43.70




              Period of performance begins 20 November 2012 through
              20 March 2013.



                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1102AK        MRAP (ARMY) - EOR LABOR
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              828,579.05
                                                                                                         Fixed Fee   $__________________
                                                                                                                               65,373.70
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              893,952.75

               SERVICE REQUESTED: CLS MSU Support
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLS04Q7    PRON AMD: 05            ACRN: AW
               PSC: R706

              Estimated Cost: $2,009,011.05
              Fixed Fee: $184,941.70
              Total Cost Plus Fixed Fee: $2,193,952.75

              TOTAL NUMBER OF HOUR FUNDED UNDER THIS CLIN: 55,158

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1102AK:

              Prior Balance:

              Estimated Labor Cost:             $2,009,011.05
              Fixed Fee:                        $ 184,941.70
              CPFF:                             $2,193,952.75

              New Balance:

              Estimated Labor Cost:             $   828,579.05
              Fixed Fee:                        $    65,373.70
              CPFF:                             $   893,952.75

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         893,952.75




 Data not printed.
                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1102AL        MRAP (AIR FORCE) - EOR LABOR
               ____________________________                                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                    0.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                                    0.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               42,019.20

               SERVICE REQUESTED: MRAP (AIR FORCE) - EOR LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLS2AQ7    PRON AMD: 02    ACRN: AX
               PSC: R706
               CUSTOMER ORDER NO: F3QCDK2341G006

              Estimated Cost: $40,691.75
              Fixed Fee: $1,327.45
              Total Cost Plus Fixed Fee: $42,019.20

              TOTAL NUMBER OF HOUR FUNDED UNDER THIS CLIN: 353

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $          42,019.20




              Period of performance begins 20 December 2012 through
              20 March 2013.



                                     (End of narrative F001)




 1102AM        MRAP (ARMY) EOR LABOR
               _____________________                                                   1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                    0.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                                    0.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               39,389.33

               SERVICE REQUESTED: SR LOG AN SC CONUS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLS05Q7    PRON AMD: 05    ACRN: BA
               PSC: R706

              Estimated Cost: $37,325.73
              Fixed Fee: $2,063.60
              Total Cost Plus Fixed Fee: $39,389.33

              TOTAL NUMBER OF HOUR FUNDED UNDER THIS CLIN: 752

                                     (End of narrative B001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                   QUANTITY      UNIT      UNIT PRICE        AMOUNT




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            20-MAR-2013

                                 $            39,389.33




              Period of performance through 20 March 2013.



                                     (End of narrative F001)




 1103          MRAP (AIR FORCE)



 Data not printed.
                                     (End of narrative A001)




 1103AA        MRAP - EOR MTL, TVL, ODC
               ________________________                                                  1      LO         Estimated
                                                                                                                Cost   $__________________
                                                                                                                                 20,360.00
                                                                                                       Not to Exceed
                                                                                                           (Funding)   $__________________
                                                                                                                                 20,360.00

               SERVICE REQUESTED: MRAP (AIR FORCE)
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M2CLS1FQ7    PRON AMD: 03    ACRN: AD
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPOMFS8

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1103AA:

              Prior Balance:

              Estimated Cost:             $     39,609.34

              New Balance:

              Estimated Cost:              $    20,360.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination             ACCEPTANCE: Destination
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                UNDEFINITIZED

                                 $          20,360.00




 Data not printed.
                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1103AB        MRAP -EOR MTL, TVL, ODC
               _______________________                                                 1      LO                     $__________________
                                                                                                                            1,267,498.98



               SERVICE REQUESTED: MRAP (ARMY)
               PRON: 2M2CLS1AQ7    PRON AMD: 03            ACRN: AE
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPOMAQ8

              Cost No Fee

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       1,267,498.98




 Data not printed.
                                     (End of narrative F001)




 1103AC        MRAP - EOR MTL, TVL, ODC
               ________________________                                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              115,360.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              115,360.00

               SERVICE REQUESTED: MRAP (MARINES)
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M2CLS1MQ7    PRON AMD: 02            ACRN: AF
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPAAG13

              Cost No Fee

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1103AC:

              Prior Balance:

              Estimated Cost:              $ 202,799.84

              New Balance:

              Estimated Cost:              $ 115,360.00

                                     (End of narrative B002)
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         115,360.00




              Period of performance begins 45 days
              after contract award through 180 days after
              contract award.



                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1103AD        MRAP - EOR MTL, TVL, ODC
               ________________________                                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               22,672.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               22,672.00

               SERVICE REQUESTED: MRAP (NAVY)
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M2CLS1NQ7    PRON AMD: 02            ACRN: AG
               PSC: R706
               CUSTOMER ORDER NO: M9545012MPOMNE6

              Cost No Fee

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1103AD:

              Prior Balance:

              Estimated Cost:              $   45,946.84

              New Balance:

              Estimated Cost:              $   22,672.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $          22,672.00




              Period of performance begins 45 days
              after contract award through 180 days after
              contract award.



                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1103AF        MRAP (MARINES) - KU
               ___________________                                                     1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              160,000.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              160,000.00

               SERVICE REQUESTED: provide 53 additiona
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLSM1Q7    PRON AMD: 04    ACRN: AM
               AMS CD: 67854067443
               CUSTOMER ORDER NO: M9545013MPZ8193

              Cost No Fee

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1103AF:

              Prior Balance:

              Estimated Cost:              $ 268,993.92

              New Balance:

              Estimated Cost:              $ 160,000.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         160,000.00




              Period of performance begins 45 days
              after contract award through 180 days after
              contract award.



                                     (End of narrative F001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1103AG        MRAP (ARMY) - EOR MTL, TVL, ODC
               _______________________________                                         1      LO                     $__________________
                                                                                                                            7,380,154.43



               SERVICE REQUESTED: CLS Army - Ramp-up &
               PRON: 2M3CLS03Q7    PRON AMD: 04    ACRN: AS
               PSC: R706

              Cost No Fee: $7,380,154.43

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       7,380,154.43




              Period of performance begins 20 November 2012 through
              20 March 2013.



                                     (End of narrative F001)




 1103AH        MRAP (MARINES) EOR MTL, TRVL, ODC
               _________________________________                                       1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              720,000.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              720,000.00

               SERVICE REQUESTED: CLS Ramp-up & Base
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS1MQ7    PRON AMD: 06    ACRN: AP
               PSC: R706
               CUSTOMER ORDER NO: M9545013MPZ8388

              Cost No Fee: $788,441.43

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1103AH:

              Prior Balance:

              Estimated Cost:              $ 788,441.43

              New Balance:

              Estimated Cost:              $ 720,000.00

                                     (End of narrative B002)
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         720,000.00




              Period of performance begins 20 November 2012 through
              20 March 2013.



                                     (End of narrative F001)
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Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                           QUANTITY       UNIT       UNIT PRICE       AMOUNT



 1103AJ        MRAP (NAVY) - EOR MTL, TVL, ODC
               _______________________________                                   1       LO        Estimated
                                                                                                        Cost    $__________________
                                                                                                                           2,498.87
                                                                                               Not to Exceed
                                                                                                   (Funding)    $__________________
                                                                                                                           2,498.87

               SERVICE REQUESTED: CLS Ramp-up - Navy
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS4NQ7    PRON AMD: 04    ACRN: AT
               PSC: R706
               CUSTOMER ORDER NO: N4027313MP001K7

              Cost No Fee: $115,269.22

                                 (End of narrative B001)




              MOD P00025 updates CLIN 1103AJ:

              Prior Balance:

              Estimated Cost:          $ 115,269.22

              New Balance:

              Estimated Cost:          $   50,000.00

                                 (End of narrative B002)



              Modification P00059 adjusts CLIN 1103AJ:

              From:

              Cost No Fee: $50,000

              To:

              Cost No Fee: $2,541.26

                                 (End of narrative B003)



              Modification P00068 adjusts CLIN 1103AJ as follows:

              From:

              Cost No Fee: $2,541.26

              To:

              Cost No Fee:
              $2,498.87

                                 (End of narrative B004)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination       ACCEPTANCE: Destination
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT



               _________________________
               Deliveries or Performance
               DLVR SCH                                  PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY                __________
                                                            DATE
                  001               1                    UNDEFINITIZED

                                 $           2,498.87




              Period of performance begins 20 November 2012 through
              20 March 2013.



                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1103AK        MRAP (ARMY) - EOR MTL, TVL, ODC
               _______________________________                                         1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              545,808.19
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              545,808.19

               SERVICE REQUESTED: CLS MSU Support
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS04Q7    PRON AMD: 05            ACRN: AW
               PSC: R706

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1103AK:

              Prior Balance:

              Estimated Cost:              $ 662,017.07

              New Balance:

              Estimated Cost:              $ 545,808.19

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         545,808.19




 Data not printed.
                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1103AL        MRAP (MARINES) EOR MTL, TRVL, ODC
               _________________________________                                       1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              650,000.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              650,000.00

               SERVICE REQUESTED: MARINES EOR MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS2MQ7    PRON AMD: 01   ACRN: AP
               PSC: R706
               CUSTOMER ORDER NO: M9545013MPZ8388

 Data not printed.
                                     (End of narrative B001)




              MOD P00025 updates CLIN 1103AL:

              Prior Balance:

              Estimated Cost:              $ 781,218.26

              New Balance:

              Estimated Cost:              $ 650,000.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         650,000.00




 Data not printed.
                                     (End of narrative F001)
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                           QUANTITY       UNIT       UNIT PRICE       AMOUNT



 1103AN        MRAP (AIR FORCE) - EOR MTL, TVL, ODC
               ____________________________________                              1       LO                     $__________________
                                                                                                                          ** NSP **



               SERVICE REQUESTED: MANTECH CLSS AIR FOR
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS2AQ7    PRON AMD: 02    ACRN: AX
               PSC: R706
               CUSTOMER ORDER NO: F3QCDK2341G006

 Data not printed.
                                 (End of narrative B001)




              MOD P00025 updates CLIN 1103AN:

              Prior Balance:

              Estimated Cost:          $   80,083.70

              New Balance:

              Estimated Cost:          $        0.00

                                 (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED




              Period of performance begins 20 December through 20
              March 2013.



                                 (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1103AP        MRAP (AIR FORCE) EOR MTL, TVL, ODC
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               85,000.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               85,000.00

               SERVICE REQUESTED: CLS Ramp-up & Base -
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS1AQ7    PRON AMD: 02    ACRN: AX
               PSC: R706
               CUSTOMER ORDER NO: F3QCDK2320G002

              Cost No Fee: $100,000.00

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1103AP:

              Prior Balance:

              Estimated Cost:              $ 100,000.00

              New Balance:

              Estimated Cost:              $   85,000.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $          85,000.00




              Period of performance begins 20 December through 20
              March 2013.



                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1103AQ        MRAP (ARMY) EOR TVL, ODC
               ________________________                                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                2,222.01
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                                2,222.01

               SERVICE REQUESTED: LOG AN SC CONUS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS05Q7    PRON AMD: 01            ACRN: BA
               PSC: R706

              Cost No Fee: $2,222.01

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            20-MAR-2013

                                 $           2,222.01




              Period of performance through 20 March 2013.



                                     (End of narrative F001)




 1104          MRAP ARMY OR BASE LABOR



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.2; C.1.1.2; C.1.1.3
              C.1.6; C.1.8; C.1.9; C.1.10
              C.1.11; C.1.12; C.1.14

                                     (End of narrative A001)




 1104AA        MRAP ARMY OR BASE OP LABOR (CPFF LOE)
               _____________________________________                                                     Estimated
                                                                                                              Cost   $__________________
                                                                                                                           57,772,168.11
                                                                                                         Fixed Fee   $__________________
                                                                                                                            4,988,784.19
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           62,760,952.30

               SERVICE REQUESTED: MRAP ARMY OR BASE LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLS03Q7    PRON AMD: 10    ACRN: AS
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               PSC: R706

              Estimated Cost: $80,021,536.11
              Fixed Fee: $4,988,784.19
              Total Cost Plus Fixed Fee: $85,010,320.30

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,480,351

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               0            UNDEFINITIZED

                                 $      62,760,952.30




              Period of performance: 21 March 2013 through 15
              November 2013.




                                     (End of narrative F001)




 1104AB        MRAP (MARINES) OR BASE OP LABOR
               _______________________________                                         1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                    0.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                                    0.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,358,996.02

               SERVICE REQUESTED: MRAP MARINE OR BASE OP LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLS1MQ7    PRON AMD: 06    ACRN: AP
               PSC: R706
               CUSTOMER ORDER NO: M9545013MPZ8388

              Estimated Cost: $1,293,995.46
              Fixed Fee: $65,000.56
              Total Cost Plus Fixed Fee: $1,358,996.02

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 19,288

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       1,358,996.02
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



              Period of performance: 21 March 2013 through 15
              November 2013.




                                     (End of narrative F001)




 1104AG        MRAP (AIR FORCE) - OR BASE OP LABOR
               ___________________________________                                     1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                    0.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                                    0.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,450,853.51

               SERVICE REQUESTED: MRAP AIR FORCE OR BASE LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLS2AQ7    PRON AMD: 02    ACRN: AX
               PSC: R706
               CUSTOMER ORDER NO: F3QCDK2341G006

              Estimated Cost: $1,324,121.01
              Fixed Fee: $126,732.50
              Total Cost Plus Fixed Fee: $1,450,853.51

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 37,687

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2013

                                 $       1,450,853.51




              Period of performance: 21 March 2013 through 15
              November 2013.




                                     (End of narrative F001)




 1104AH        MRAP (ARMY) OR BASE OP LABOR
               ____________________________                                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                    0.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                                    0.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               85,455.52

               SERVICE REQUESTED: SR LOG AN SC CONUS
               CLIN CONTRACT TYPE:
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 219 of 468

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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                    Cost Plus Fixed Fee
               PRON: 2M3CLS05Q7    PRON AMD: 05            ACRN: BA
               PSC: R706

              Estimated Cost: $80,953.20
              Fixed Fee: $4,502.32
              Total Cost Plus Fixed Fee: $85,455.52

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,336

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2013

                                 $          85,455.52




              Period of performance: 21 March 2013 through 15
              November 2013.




                                     (End of narrative F001)




 1105          MRAP ARMY BASE MTL, TVL, ODC



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)




 1105AA        MRAP (ARMY) OR BASE OP MTL, TRVL, ODC
               _____________________________________                                   1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           10,990,127.30
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           10,990,127.30

               SERVICE REQUESTED: MRAP ARMY BASE MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS03Q7    PRON AMD: 08    ACRN: AS
               PSC: R706

              Cost No Fee: $10,990,127.30

                                     (End of narrative B001)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                    REPRINT
                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $      10,990,127.30




              Period of performance: 21 March 2013 through 15
              November 2013.




                                     (End of narrative F001)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 221 of 468

                                                           Reference No. of Document Being Continued             Page 145 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1105AB        MRAP (MARINES) OR BASE OP MTL, TVL, ODC
               _______________________________________                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              266,724.59
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              266,724.59

               SERVICE REQUESTED: MRAP MARINE BASE TRVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS1MQ7    PRON AMD: 05    ACRN: AP
               PSC: R706
               CUSTOMER ORDER NO: M9545013MPZ8388

              Cost No Fee: $266,724.59

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         266,724.59




              Period of performance: 21 March 2013 through 15
              November 2013.




                                     (End of narrative F001)




 1105AD        MRAP (ARMY) OR BASE OP MTL, TVL, ODC
               ____________________________________                                    1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              156,292.05
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              156,292.05

               SERVICE REQUESTED: MRAP ARMY OR BASE OP TVL
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS04Q7    PRON AMD: 03    ACRN: AW
               PSC: R706

              Cost No Fee: $159,292.05

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 222 of 468

                                                           Reference No. of Document Being Continued             Page 146 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                 $         156,292.05




              Period of performance: 21 March 2013 through 15
              November 2013.




                                     (End of narrative F001)




 1105AE        MRAP (AIR FORCE) - OR BASE OP MTL, TVL, ODC
               ___________________________________________                             1      LO                     $__________________
                                                                                                                              204,868.12



               SERVICE REQUESTED: MRAP AIR FOFCE BASE OP TVL
               PRON: 2M3CLS2AQ7    PRON AMD: 01    ACRN: AX
               PSC: R706
               CUSTOMER ORDER NO: F3QCDK2341G006

              Cost No Fee: $204,868.12

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $         204,868.12




 Data not printed.
                                     (End of narrative F001)




 1105AF        MRAP (ARMY) OR TVL, ODC
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                5,639.05
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                                5,639.05

               SERVICE REQUESTED: SR LOG AN SC CONUS MTL, TVL
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLS05Q7    PRON AMD: 05    ACRN: BA

              Cost No Fee: $5,639.05

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination
               DLVR SCH                                PERF COMPL
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE       AMOUNT
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2013

                                 $           5,639.05




              Period of performance 21 March 2013 through 15
              November 2013.



                                     (End of narrative F001)




 1201          SOCOM - PHASE-IN



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.3.8; C.1.1.3.9; C.1.3

                                     (End of narrative A001)




 1201AA        Services - Priced
               _________________                                                       1      LO                    $__________________
                                                                                                                           2,852,682.00



               SERVICE REQUESTED: SOCOM - PHASE-IN
               PRON: 2M2CLS1SQ7    PRON AMD: 01    ACRN: AH
               PSC: R706
               CUSTOMER ORDER NO: M9545012MP1MRAP



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       2,852,682.00




              Due to Stop Work cancellation
              Period of performance begins 21 September 2012
              through 20 November 2012



                                     (End of narrative F001)




 1202          SOCOM - EOR LABOR



              Services performed under
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 224 of 468

                                                           Reference No. of Document Being Continued            Page 148 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE       AMOUNT
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.3; C.1.1.2; C.1.1.3
              C.1.6; C.1.7; C.1.8; C.1.9
              C.1.10; C.1.11; C.1.12; C.1.13
              C.1.14; C.1.15

                                     (End of narrative A001)




 1202AA        Services - Priced
               __________________                                                      1      LO                    $__________________
                                                                                                                          16,099,335.00



               SERVICE REQUESTED: SOCOM - EOR LABOR
               PRON: 2M2CLS1SQ7    PRON AMD: 02     ACRN: AH
               PSC: R706
               CUSTOMER ORDER NO: M9545012MP1MRAP

              Estimated Cost:$14,779,170.72
              Fixed Fee:$1,320,164.28
              Total Cost Plus Fixed Fee: $16,099,335.00

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 387,072

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $      16,099,335.00




              Period of Performance begins 45 days after contract
              award through 180 days after contract award.



                                     (End of narrative F001)




 1203          SOCOM - EOR MTL, TVL, ODC



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 225 of 468

                                                           Reference No. of Document Being Continued             Page 149 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT

 1203AA        SOCOM - EOR MTL, TVL, ODC
               __________________________                                              1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           21,714,030.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           21,714,030.00

               SERVICE REQUESTED: SOCOM - EOR MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M2CLS1SQ7    PRON AMD: 02    ACRN: AH
               PSC: R706
               CUSTOMER ORDER NO: M9545012MP1MRAP

              Cost No Fee

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1203AA:

              Prior Balance:

              Estimated Cost:            $23,514,030.00

              New Balance:

              Estimated Cost:            $21,714,030.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $      21,714,030.00




              Period of performance begins 45 days
              after contract award through 180 days after
              contract award.



                                     (End of narrative F001)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 226 of 468

                                                           Reference No. of Document Being Continued             Page 150 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1204          SOCOM OR LABOR



 Data not printed.
                                     (End of narrative A001)




 1204AA        SOCOM OR BASE OP LABOR (CPFF LOE)
               _________________________________                                       1      LO                     $__________________
                                                                                                                            5,342,253.53



               SERVICE REQUESTED: SOCOM OR LABOR
               PRON: 2M3CLSO1Q7    PRON AMD: 03            ACRN: AR
               CUSTOMER ORDER NO: F2VUF02304G001

 Data not printed.
                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       5,342,253.53




 Data not printed.
                                     (End of narrative F001)




 1204AB        SOCOM OR BASE OP LABOR
               ______________________                                                  1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                    0.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                                    0.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           25,798,347.63

               SERVICE REQUESTED: SOCOM OR BASE OP LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M3CLSS1Q7    PRON AMD: 04    ACRN: AR
               PSC: R706
               CUSTOMER ORDER NO: F2VUF03106G001

              Estimated Cost: $23,894,959.50
              Fixed Fee: $1,902,388.13
              Total Cost Plus Fixed Fee : $25,798,347.63

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 564,543

                                     (End of narrative B001)




               Inspection and Acceptance
               _________________________
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE       AMOUNT
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2013

                                 $      25,798,347.63




              Period of Performance through 15 November 2013.



                                     (End of narrative F001)




 1205          SOCOM OR BASE MATL, TRVL, ODC



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)




 1205AA        SOCOM OR BASE OP MATL, TRVL, ODC
               ________________________________                                        1      LO                    $__________________
                                                                                                                           6,657,746.47



               SERVICE REQUESTED: SOCOM OR BASE MATL, TRVL, ODC
               PRON: 2M3CLSO1Q7    PRON AMD: 03    ACRN: AR
               PSC: R706
               CUSTOMER ORDER NO: F2VUF02304G001

              Cost No Fee: $6,657,746.47

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $       6,657,746.47




              NOTE: Partial Funding for Option for service from 21
              March - 28 April for CONUS and 21 March - 5 May for
              OCONUS

                                     (End of narrative F001)
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT



 1205AB        SOCOM OR BASE MATL, TRVL, ODC
               _____________________________                                           1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           23,460,149.59
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           23,460,149.59

               SERVICE REQUESTED: SOCOM OR BASE MATL, TRVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M3CLSS1Q7    PRON AMD: 04    ACRN: AR
               PSC: R706
               CUSTOMER ORDER NO: F2VUF03106G001

              Cost No Fee: $24,460,149.59

                                     (End of narrative B001)




              MOD P00025 updates CLIN 1205AB:

              Prior Balance:

              Estimated Cost:            $24,460,149.59

              New Balance:

              Estimated Cost:            $23,460,149.59

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            UNDEFINITIZED

                                 $      23,460,149.59




              Period of Performance through 15 November 2013.

                                     (End of narrative F001)




 2001          RCV OR OP 1 LABOR



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.1; C.1.1.1.4; C.1.1.1.5
              C.1.1.1.6; C.1.1.2; C.1.1.3
              C.1.6; C.1.7; C.1.8; C.1.9
              C.1.10; C.1.11; C.1.12
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 229 of 468

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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              C.1.13; C.1.14; C.1.15

                                     (End of narrative A001)




 2001AA        RCV - OR OP 1 LABOR
               ___________________                                                     1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           42,691,582.00
                                                                                                         Fixed Fee   $__________________
                                                                                                                            2,821,554.72
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           45,513,136.72

               SERVICE REQUESTED: RCV OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M4SMA01Q7    PRON AMD: 04     ACRN: BE
               PSC: R706

              Estimated Cost: $42,691,582.00
              Fixed Fee: $2,821,554.72
              Total Cost Plus Fixed Fee: $45,513,136.72

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,004,112

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $      45,513,136.72




              Period of performance: 16 November 2013 through 15
              November 2014.




                                     (End of narrative F001)




 2001AB        RCV EHP - OR OP 1 LABOR
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           10,526,398.20
                                                                                                         Fixed Fee   $__________________
                                                                                                                              678,005.23
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           11,204,403.43

               SERVICE REQUESTED: RCV EHP OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M4SMA02Q7    PRON AMD: 06    ACRN: BF
               PSC: R706

              Estimated Cost: $10,526,398.20
              Fixed Fee: $678,005.23
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Total Cost Plus Fixed Fee: $11,204,403.43

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 241,283

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $      11,204,403.43




              Period of performance: 16 November 2013 through 15
              November 2014.




                                     (End of narrative F001)




 2001AC        RCV PROPHET - OR OP 1 LABOR
               ___________________________                                             1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              673,071.11
                                                                                                         Fixed Fee   $__________________
                                                                                                                               42,360.75
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              715,431.86

               SERVICE REQUESTED: RCV PROPHET OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M4SMA01Q7    PRON AMD: 04    ACRN: BE
               PSC: R706

              Estimated Cost: $673,071.11
              Fixed Fee: $42,360.75
              Total Cost Plus Fixed Fee: $715,431.86

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 15,075

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $         715,431.86




              Period of performance: 16 November 2013 through 15
              November 2014.
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



                                     (End of narrative F001)




 2001AD        RCV BUFFALO - OR OP 1 LABOR
               ___________________________                                             1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,342,254.93
                                                                                                         Fixed Fee   $__________________
                                                                                                                               91,895.43
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,434,150.36

               SERVICE REQUESTED: RCV BUFFALO OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M4CLSB1Q7    PRON AMD: 02    ACRN: BG
               PSC: R706
               CUSTOMER ORDER NO: M9545014MPZ8322

              Estimated Cost: $1,342,254.93
              Fixed Fee: $91,895.43
              Total Cost Plus Fixed Fee: $1,434,150.36

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 32,626

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $       1,434,150.36




              Period of performance: 16 November 2013 through 15
              November 2014.




                                     (End of narrative F001)




 2001AE        RCV POR - OR OP 1 LABOR
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            4,789,282.70
                                                                                                         Fixed Fee   $__________________
                                                                                                                              367,955.45
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            5,157,238.15

               SERVICE REQUESTED: RCV POR OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P126M0862T    PRON AMD: 06    ACRN: BH
               PSC: R706

              Estimated Cost: $4,789,282.70
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 232 of 468

                                                           Reference No. of Document Being Continued             Page 156 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Fixed Fee: $367,955.45
              Total Cost Plus Fixed Fee: $5,157,238.15

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 130,945

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $       5,157,238.15




              Period of performance: 16 November 2013 through 15
              November 2014.




                                     (End of narrative F001)




 2001AF        RCV (USMC HUSKY) OR OP 1 LABOR
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              234,125.89
                                                                                                         Fixed Fee   $__________________
                                                                                                                               17,452.91
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              251,578.80

               SERVICE REQUESTED: RCV HUSKY OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M4VMMD1Q7    PRON AMD: 02    ACRN: BP
               PSC: R706
               CUSTOMER ORDER NO: M9545014MPZWA11

              Estimated Cost: $234,125.89
              Fixed Fee: $17,452.91
              Total Cost Plus Fixed Fee: $251,578.80

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 5,949

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            30-SEP-2014

                                 $         251,578.80




              Period of performance: 1 April 2014 to 30 September
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 233 of 468

                                                           Reference No. of Document Being Continued             Page 157 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              2014.




                                     (End of narrative F001)




 2001AG        RCV (USMC HUSKY) OR OP 1 LABOR
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               75,844.15
                                                                                                         Fixed Fee   $__________________
                                                                                                                                  306.29
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               76,150.44

               SERVICE REQUESTED: RCV HUSKY OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: T146M0152T    PRON AMD: 01    ACRN: BP
               PSC: R706
               CUSTOMER ORDER NO: M9545014MPZWA11

              Estimated Cost: $75,844.15
              Fixed Fee: $306.29
              Total Cost Plus Fixed Fee: $76,150.44

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 371

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            30-SEP-2014

                                 $          76,150.44




              Period of performance through 30 September 2014.




                                     (End of narrative F001)




 2001AH        RCV (USMC HUSKY) OR OP 1 LABOR
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               35,246.47
                                                                                                         Fixed Fee   $__________________
                                                                                                                                3,147.20
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               38,393.67

               SERVICE REQUESTED: RCV HUSKY OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: T146M0142T    PRON AMD: 02    ACRN: BQ
               PSC: R706
               CUSTOMER ORDER NO: M9545014MP47984
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 234 of 468

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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

              Estimated Cost: $35,246.47
              Fixed Fee: $3,147.20
              Total Cost Plus Fixed Fee: $38,393.67

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,120

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $          38,393.67




              Period of performance from 1 October 2014 through 15
              November 2014.




                                     (End of narrative F001)




 2001AJ        RCV HMDS OR OP 1 LABOR
               ______________________                                                  1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               45,396.29
                                                                                                         Fixed Fee   $__________________
                                                                                                                                3,481.59
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               48,877.88

               SERVICE REQUESTED: RCV HMDS OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 4I4UA1251A    PRON AMD: 01    ACRN: BR
               PSC: R706

              Estimated Cost: $45,396.29
              Fixed Fee: $3,481.59
              Total Cost Plus Fixed Fee: $48,877.88

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,239

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $          48,877.88
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 235 of 468

                                                           Reference No. of Document Being Continued             Page 159 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Period of performance through 15 November 2014.




                                     (End of narrative F001)




 2002          RCV OR OP 1 MATL, TRVL, ODC



              Services performed under
              this CLIN shall be in accordance
              with the following Procurement
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)




 2002AA        RCV OR OP 1 MATL, TRVL, ODC
               ____________________________                                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           48,891,700.37
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           48,891,700.37

               SERVICE REQUESTED: RCV OR OP 1 MATL, TRVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M4SMA01Q7    PRON AMD: 03    ACRN: BE

              Cost No Fee: $48,891,700.37

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $      48,891,700.37




              Period of performance: 16 November 2013 through 15
              November 2014.



                                     (End of narrative F001)




 2002AB        RCV EHP OR OP 1 MTL TVL ODC
               ___________________________                                             1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            9,749,323.41
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            9,749,323.41
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 236 of 468

                                                           Reference No. of Document Being Continued             Page 160 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               SERVICE REQUESTED: RCV EHP OR OP 1 MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M4SMA02Q7    PRON AMD: 05    ACRN: BF
               PSC: R706

              Cost No Fee: $9,749,323.41

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $       9,749,323.41




              Period of performance: 16 November 2013 through 15
              November 2014.



                                     (End of narrative F001)




 2002AC        RCV PROPHET OR OP 1 MTL TVL ODC
               _______________________________                                         1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              235,108.33
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              235,108.33

               SERVICE REQUESTED: RCV PROPH OR OP 1 MTL TVL ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M4SMA01Q7    PRON AMD: 03    ACRN: BE

              Cost No Fee: $235,108.33

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $         235,108.33




              Period of performance: 16 November 2013 through 15
              November 2014.



                                     (End of narrative F001)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 237 of 468

                                                           Reference No. of Document Being Continued             Page 161 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT




 2002AD        RCV BUFFALO - OR OP 1 MTL, TVL, ODC
               ___________________________________                                     1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              901,568.61
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              901,568.61

               SERVICE REQUESTED: RCV BUFFALO OR OP1 MTL TVL OD
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M4CLSB1Q7    PRON AMD: 02    ACRN: BG
               CUSTOMER ORDER NO: M9545014MPZ8322

              Cost No Fee: $901,568.61

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $         901,568.61




              Period of performance: 16 November 2013 through 15
              November 2014.



                                     (End of narrative F001)




 2002AE        RCV POR OR OP 1 MTL TVL ODC
               ___________________________                                             1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            3,452,195.56
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            3,452,195.56

               SERVICE REQUESTED: RCV POR OR OP 1 MTL TVL ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P126M0862T    PRON AMD: 05    ACRN: BH

              Cost No Fee: $3,452,195.56

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $       3,452,195.56
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 238 of 468

                                                           Reference No. of Document Being Continued             Page 162 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



              Period of performance: 16 November 2013 through 15
              November 2014.



                                     (End of narrative F001)




 2002AF        RCV (USMC HUSKY) OR OP 1 MTL, TVL, ODC
               ______________________________________                                  1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               46,500.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               46,500.00

               SERVICE REQUESTED: RCV HUSKY OR OP 1 MTL TVL ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M4VMMD1Q7    PRON AMD: 01    ACRN: BP
               CUSTOMER ORDER NO: M9545014MPZWA11

              Cost No Fee: $46,500.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            30-SEP-2014

                                 $          46,500.00




              Period of performance: 1 April 2014 to 30 September
              2014.



                                     (End of narrative F001)




 2002AG        RCV (USMC HUSKY) OR 1 MTL, TVL, ODC
               ___________________________________                                     1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              109,240.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              109,240.00

               SERVICE REQUESTED: RCV HUSKY OR 1 MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: T146M0142T    PRON AMD: 02    ACRN: BQ
               PSC: R706
               CUSTOMER ORDER NO: M9545014MP47984

              Cost No Fee: $109,240.00

                                     (End of narrative B001)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 239 of 468

                                                           Reference No. of Document Being Continued             Page 163 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $         109,240.00




              Period of performance: 1 October 2014 to 15 November
              2014.



                                     (End of narrative F001)




 2002AH        RCV HMDS OR OP 1 MTL, TVL, ODC
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              390,306.13
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              390,306.13

               SERVICE REQUESTED: RCV HMDS OP 1 MTL TVL ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 4I4UA1251A    PRON AMD: 01    ACRN: BR
               PSC: R706

              Cost No Fee: $390,306.13

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $         390,306.13




              Period of performance through 15 November 2014.



                                     (End of narrative F001)




 2101          MRAP ARMY OR OP 1 LABOR



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 240 of 468

                                                           Reference No. of Document Being Continued             Page 164 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              C.1.1.1.2; C.1.1.2; C.1.1.3
              C.1.6; C.1.8; C.1.9; C.1.10
              C.1.11; C.1.12; C.1.14

                                     (End of narrative A001)




 2101AA        MRAP ARMY - OR OP 1 LABOR
               _________________________                                               1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            7,322,038.02
                                                                                                         Fixed Fee   $__________________
                                                                                                                              280,716.19
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            7,602,754.21

               SERVICE REQUESTED: MRAP ARMY OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M4CLSA1Q7    PRON AMD: 03    ACRN: BK
               PSC: R706

              Estimated Cost: $7,322,038.02
              Fixed Fee: $280,716.19
              Total Cost Plus Fixed Fee: $7,602,754.21

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 99,899

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $       7,602,754.21




              Period of performance: 16 November 2013 through 15
              November 2014.



                                     (End of narrative F001)




 2101AB        MRAP AIR FORCE - OR OP 1 LABOR
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,332,639.11
                                                                                                         Fixed Fee   $__________________
                                                                                                                               88,319.10
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,420,958.21

               SERVICE REQUESTED: MRAP AIR FORCE OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M4CLSF1Q7    PRON AMD: 02    ACRN: BL
               PSC: R706
               CUSTOMER ORDER NO: F2QF203304G001
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 241 of 468

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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Estimated Cost: $1,332,639.11
              Fixed Fee: $88,319.10
              Total Cost Plus Fixed Fee: $1,420.958.21

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 31,430

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-MAR-2014

                                 $       1,420,958.21




              Period of performance: 16 November 2013 through 15
              March 2014.



                                     (End of narrative F001)




 2101AC        MRAP AIR FORCE - OR OP 1 LABOR
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            2,946,425.40
                                                                                                         Fixed Fee   $__________________
                                                                                                                              184,923.29
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            3,131,348.69

               SERVICE REQUESTED: MRAP AIR FORCE OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M4CLSF2Q7    PRON AMD: 04    ACRN: BN
               PSC: R706
               CUSTOMER ORDER NO: F2QF204027G001

              ESTIMATED COST: 2,946,425.40
              FIXED FEE: $184,923.29
              TOTAL Cost Plus Fixed Fee: $3,131,348.69

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 65,809

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $       3,131,348.69




              Period of performance through 15 November 2014.
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 242 of 468

                                                           Reference No. of Document Being Continued             Page 166 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



                                     (End of narrative F001)




 2102          MRAP ARMY OR OP 1 TRVL, ODC



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)




 2102AA        MRAP ARMY - OR OP 1 TRVL, ODC
               _____________________________                                           1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,206,978.43
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,206,978.43

               SERVICE REQUESTED: MRAP ARMY OR OP 1 TRVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M4CLSA1Q7    PRON AMD: 02    ACRN: BK

              Cost No Fee: $1,206,978.43

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $       1,206,978.43




              Period of performance: 16 November 2013 through 15
              November 2014.



                                     (End of narrative F001)




 2102AB        MRAP AIR FORCE - OR OP 1 TVL, ODC
               _________________________________                                       1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              532,555.79
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              532,555.79

               SERVICE REQUESTED: MRAP AIR FORCE OR OP1 TVL ODC
               CLIN CONTRACT TYPE:
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 243 of 468

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                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                    Cost No Fee
               PRON: 2M4CLSF1Q7    PRON AMD: 02            ACRN: BL
               CUSTOMER ORDER NO: F2QF203304G001

              Cost No Fee: $532,555.79

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $         532,555.79




              Period of Performance: 16 November 2013 through 15
              November 2014.

                                     (End of narrative F001)




 2102AC        MRAP AIR FORCE OR OP 1 TVL ODC
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              707,531.21
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              707,531.21

               SERVICE REQUESTED: MRAP AIR FORCE OD OP 1 TVL
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M4CLSF2Q7    PRON AMD: 01    ACRN: BN
               CUSTOMER ORDER NO: F2QF204027G001

              Cost No Fee: $707,531.21

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2014

                                 $         707,531.21




              This CLIN supports continued support from CLIN
              2102AB.

              Period of performance through 15 November 2014.



                                     (End of narrative F001)
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT




 2201          SOCOM - OR OP 1 LABOR



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.3; C.1.1.2; C.1.1.3
              C.1.6; C.1.7; C.1.8; C.1.9
              C.1.10; C.1.11; C.1.12; C.1.13
              C.1.14; C.1.15

                                 (End of narrative A001)




 2201AA        SOCOM - OR OP 1 LABOR
               ______________________                                            1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                     33,527,967.64
                                                                                                   Fixed Fee   $__________________
                                                                                                                      2,032,723.09
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                     35,560,690.73

               SERVICE REQUESTED: SOCOM - OR OP 1 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M4CLSS1Q7    PRON AMD: 02    ACRN: BJ
               PSC: R706
               CUSTOMER ORDER NO: F2VUF03303G001

              Estimated Cost: $32,527,967.64
              Fixed Fee: $2,032,723.09
              Total Cost Plus Fixed Fee: $34,560,690.73

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 723,389

                                 (End of narrative B001)




              Modification P00044 adjusts CLIN 2201AA:

              From:

              ESTIMATED COST: $32,527,967.64
              FIXED FEE: $2,032,723.09
              TOTAL ESTIMATED
              COST + FIXED FEE: $34,560,690.73

              To:

              ESTIMATED COST: $33,527,967.64
              FIXED FEE: $2,032,723.09
              TOTAL ESTIMATED
              COST + FIXED FEE: $35,560,690.73

                                 (End of narrative B002)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2013
               End Date: 15-NOV-2014

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2014

                                 $      35,560,690.73




              Period of performance: 16 November 2013 through 15
              November 2014.



                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 2202          SOCOM - OR OP 1 MTL, TVL, ODC



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)




 2202AA        SOCOM - OR OP 1 MATL, TRVL, ODC
               _______________________________                                         2      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           17,869,612.89
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           17,869,612.89

               SERVICE REQUESTED: SOCOM - OR OP 1 MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M4CLSS1Q7    PRON AMD: 02    ACRN: BJ
               PSC: R706
               CUSTOMER ORDER NO: F2VUF03303G001

              Cost No Fee: $18,869,612.89

                                     (End of narrative B001)




              Modification P00044 adjusts CLIN 2202AA:

              From: $18,869,612.89
              To: $17,869,612.89

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2013
               End Date: 15-NOV-2014

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   2                15-NOV-2014

                                 $      17,869,612.89




              Period of performance: 16 November 2013 through 15
              November 2014.
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT

                                 (End of narrative F001)




 3001          CLSS



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.1; C.1.1.1.4; C.1.1.1.5
              C.1.1.5.6; C.1.1.2; C.1.1.3
              C.1.6; C.1.7; C.1.8; C.1.9
              C.1.10; C.1.11; C.1.12
              C.1.13; C.1.14; C.1.15

                                 (End of narrative A001)




 3001AA        RCV ARMY - OR OP 2 LABOR
               ________________________                                          2      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                     12,590,524.95
                                                                                                   Fixed Fee   $__________________
                                                                                                                        665,867.45
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                     13,256,392.40

               SERVICE REQUESTED: CLSS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M5CLS15Q7    PRON AMD: 10      ACRN: BW
               PSC: R706

              Estimated Cost: $8,585,500.50
              Fixed Fee: $664,055.12
              Total Cost Plus Fixed Fee : $9,2,49,555.62

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 240,270

                                 (End of narrative B001)



              Modification P00055 adjusts CLIN 3001AA:

              From:

              HOURS: 240,720
              ESTIMATED COST: $8,585,500.50
              FIXED FEE: $664,055.12
              TOTAL ESTIMATED COST + FIXED FEE: $9,249,555.62

              To:

              HOURS: 241,296
              ESTIMATED COST: $8,618,519.56
              FIXED FEE: $665,867.45
              TOTAL ESTIMATED COST + FIXED FEE: $9,284,387.00

                                 (End of narrative B002)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

              Modification P00058 adjusts CLIN 3001AA:

              From:

              HOURS: 241,296
              ESTIMATED COST: $8,618,519.56
              FIXED FEE: $665,867.45
              TOTAL ESTIMATED COST + FIXED FEE: $9,284,387.00

              To:

              HOURS: 241,296
              ESTIMATED COST: $12,590,524.95
              FIXED FEE: $665,867.45
              TOTAL ESTIMATED COST + FIXED FEE: $13,256,392.40

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   2                15-NOV-2015

                                 $      13,256,392.40




              Period of performance: 16 November 2014 through 15
              November 2015.

                                     (End of narrative F001)




 3001AB        RCV EHP - OR OP 2 LABOR
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            2,634,204.46
                                                                                                         Fixed Fee   $__________________
                                                                                                                              158,702.21
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            2,792,906.67

               SERVICE REQUESTED: Clss 114
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M5CLS14Q7    PRON AMD: 05            ACRN: BX
               PSC: R706

              Estimated Cost: $2,140,151.17
              Fixed Fee: $163,217.57
              Total Cost Plus Fixed Fee : $2,303,368.74

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 59,137
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

                                     (End of narrative B001)



              Modification P00058 adjusts CLIN 3001AB:

              From:

              HOURS: 59,137
              ESTIMATED COST: $2,140,151.17
              FIXED FEE: $163,217.57
              TOTAL ESTIMATED COST + FIXED FEE: $2,303,368.74

              To:

              HOURS: 59,137
              ESTIMATED COST: $2,629,689.10
              FIXED FEE: $163,217.57
              TOTAL ESTIMATED COST + FIXED FEE: $2,792,906.67

                                     (End of narrative B002)



              Modification P00068 adjusts CLIN 3001AB as follows:

              From:

              Hours: 59,137
              Estimated Cost: $2,629,689.10
              Fixed Fee: $163,217.57
              Estimated Cost + Fixed Fee: $2,792,906.67

              To:

              Hours: 57,501
              Estimated Cost: $2,697,204.46
              Fixed Fee: $158,702.21
              Estimated Cost + Fixed Fee: $2,792,906.67

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $       2,792,906.67




              Period of performance: 16 November 2014 through 15
              November 2015.
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                 (End of narrative F001)




 3001AD        RCV BUFFALO - OR OP2 LABOR
               __________________________                                        1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                         74,090.18
                                                                                                   Fixed Fee   $__________________
                                                                                                                          4,896.48
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                         78,986.66

               SERVICE REQUESTED: CLS Buffalo FY15
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M5CLSB1Q7    PRON AMD: 02    ACRN: CF
               PSC: R706
               CUSTOMER ORDER NO: M9545015MPZ8251

              Estimated Cost: $116,709.65
              Fixed Fee: $7,016.48
              Total Cost Plus Fixed Fee : $123,726.13

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 2,543

                                 (End of narrative B001)



              Modification P00058 adjusts CLIN 3001AD:

              From:

              HOURS: 2,543
              ESTIMATED COST: $116,709.65
              FIXED FEE: $7,016.48
              TOTAL ESTIMATED COST + FIXED FEE: $123,726.13

              To:

              HOURS: 2,543
              ESTIMATED COST: $71,970.18
              FIXED FEE: $7,016.48
              TOTAL ESTIMATED COST + FIXED FEE: $78,986.66

                                 (End of narrative B002)



              Modification P00061 adjusts CLIN 3001AD as follows:

              From:

              HOURS: 2,393
              ESTIMATED COST: $71,970.18
              FIXED FEE: $7,016.48
              TOTAL ESTIMATED COST + FIXED FEE: $78,986.66

              To:

              HOURS: 2,393
              ESTIMATED COST: $74,090.18
              FIXED FEE: $4,896.48
              TOTAL ESTIMATED COST + FIXED FEE: $78,986.66

                                 (End of narrative B003)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $          78,986.66




              Period of performance: 16 November 2014 through 30
              April 2015.

                                     (End of narrative F001)




 3001AE        RCV POR - OR OP 2 LABOR
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            9,546,840.75
                                                                                                         Fixed Fee   $__________________
                                                                                                                              713,682.68
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           10,260,523.43

               SERVICE REQUESTED: AMS CLSS POR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P146M0222T    PRON AMD: 02            ACRN: BY
               PSC: R706

              Estimated Cost: $11,742,807.20
              Fixed Fee: $886,017.19
              Total Cost Plus Fixed Fee : $12,628,824.39

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 323,270

                                     (End of narrative B001)



              Modification P00055 adjusts CLIN 3001AE:

              From:

              HOURS: 323,270
              ESTIMATED COST: $11,742,807.20
              FIXED FEE: $886,017.19
              TOTAL ESTIMATED COST + FIXED FEE: $12,628,824.39

              To:

              HOURS: 322,694
              ESTIMATED COST: $11,709,533.78
              FIXED FEE: $884,173.07
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
              TOTAL ESTIMATED COST + FIXED FEE: $12,593,706.85

                                     (End of narrative B002)



              Modification P00059 adjusts CLIN 3001AE:

              From:

              HOURS: 322,694
              ESTIMATED COST: $11,709,533.78
              FIXED FEE: $884,173.07
              TOTAL ESTIMATED COST + FIXED FEE: $12,593,706.85

              To:

              HOURS: 322,526
              ESTIMATED COST: $11,702,401.74
              FIXED FEE: $883,635.20
              TOTAL ESTIMATED COST + FIXED FEE: $12,586,036.94

                                     (End of narrative B003)



              Modification P00063 adjusts CLIN 3001AE as follows:

              From:

              HOURS: 322,694
              ESTIMATED COST: $11,702,401.74
              FIXED FEE: $883,635.20
              TOTAL ESTIMATED COST + FIXED FEE: $12,586,036.94

              To:

              HOURS: 261,117
              ESTIMATED COST: $9,546,840.75
              FIXED FEE: $713,682.68
              TOTAL ESTIMATED COST + FIXED FEE: $10,260,523.43

                                     (End of narrative B004)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $      10,260,523.43




              Period of performance: 16 November 2014 through 15
              November 2015.
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT

                                 (End of narrative F001)




 3001AF        RCV HUSKY - OR OP 2 LABOR
               _________________________                                         1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                         19,629.58
                                                                                                   Fixed Fee   $__________________
                                                                                                                          2,274.42
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                         21,904.00

               SERVICE REQUESTED: RCV HUSKY OR OP 2 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M5CLSVMQ7    PRON AMD: 01    ACRN: BZ
               PSC: R706
               CUSTOMER ORDER NO: M9545015MP46C40

              Estimated Cost: $29,779.08
              Fixed Fee: $2,274.42
              Total Cost Plus Fixed Fee : $32,053.50

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 824

                                 (End of narrative B001)



              Modification P00058 adjusts CLIN 3001AF:

              From:

              HOURS: 824
              ESTIMATED COST: $29,779.08
              FIXED FEE: $2,274.42
              TOTAL ESTIMATED COST + FIXED FEE: $32,053.50

              To:

              HOURS: 824
              ESTIMATED COST: $20,707.48
              FIXED FEE: $2,274.42
              TOTAL ESTIMATED COST + FIXED FEE: $22,981.90

                                 (End of narrative B002)



              Modification P00068 adjusts CLIN 3001AF as follows:

              From:

              HOURS: 824
              ESTIMATED COST: $20,707.48
              FIXED FEE: $2,274.42
              TOTAL ESTIMATED COST + FIXED FEE: $22,981.90

              To:

              HOURS: 824
              ESTIMATED COST: $19,629.58
              FIXED FEE: $2,274.42
              TOTAL ESTIMATED COST + FIXED FEE: $21,904.00
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $          21,904.00




              Period of performance: 16 November 2014 through 15
              November 2015.

                                     (End of narrative F001)




 3001AG        RCV CEH - OR OP 2 LABOR
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              148,425.60
                                                                                                         Fixed Fee   $__________________
                                                                                                                                6,604.81
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              155,030.41

               SERVICE REQUESTED: HMDS CLS SPT
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 4I4UA1311A    PRON AMD: 02            ACRN: CA
               PSC: R706

              Estimated Cost: $96,145.16
              Fixed Fee: $6,604.81
              Total Cost Plus Fixed Fee : $102,749.97

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 2,393

                                     (End of narrative B001)



              Modification P00058 adjusts CLIN 3001AG:

              From:

              HOURS: 2,393
              ESTIMATED COST: $96,145.16
              FIXED FEE: $6,604.81
              TOTAL ESTIMATED COST + FIXED FEE: $102,749.97

              To:

              HOURS: 2,393
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              ESTIMATED COST: $128,425.60
              FIXED FEE: $6,604.81
              TOTAL ESTIMATED COST + FIXED FEE: $135,030.41

                                     (End of narrative B002)



              Modification P00061 adjusts CLIN 3001AG as follows:

              From:

              HOURS: 2,393
              ESTIMATED COST: $128,425.60
              FIXED FEE: $6,604.81
              TOTAL ESTIMATED COST + FIXED FEE: $135,030.41

              To:

              HOURS: 2,393
              ESTIMATED COST: $148,425.60
              FIXED FEE: $6,604.81
              TOTAL ESTIMATED COST + FIXED FEE: $155,030.41

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-MAY-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-MAY-2015

                                 $         155,030.41




              Period of performance: 16 November 2014 through 15
              May 2015.

                                     (End of narrative F001)




 3001AH        RCV FORSCOM - OR OP 2 LABOR
               ___________________________                                             1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,509,486.97
                                                                                                         Fixed Fee   $__________________
                                                                                                                              137,615.01
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,647,101.98

               SERVICE REQUESTED: CLSS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M5CLS15Q7    PRON AMD: 10            ACRN: BW
               PSC: R706
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

              Estimated Cost: $1,702,898.11
              Fixed Fee: $137,615.01
              Total Cost Plus Fixed Fee : $1,840,513.12

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 49,861

                                     (End of narrative B001)



              Modification P00058 adjusts CLIN 3001AH:

              From:

              HOURS: 49,861
              ESTIMATED COST: $1,702,898.11
              FIXED FEE: $137,615.01
              TOTAL ESTIMATED COST + FIXED FEE: $1,840,513.12

              To:

              HOURS: 49,861
              ESTIMATED COST: $1,509,486.97
              FIXED FEE: $137,615.01
              TOTAL ESTIMATED COST + FIXED FEE: $1,647,101.98

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $       1,647,101.98




              Period of performance: 16 November 2014 through 15
              November 2015.

                                     (End of narrative F001)




 3001AJ        RCV CEHC - OR OP 2 LABOR
               ________________________                                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              318,878.13
                                                                                                         Fixed Fee   $__________________
                                                                                                                               28,428.93
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              347,307.06

               SERVICE REQUESTED: CLSS
               CLIN CONTRACT TYPE:
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                    Cost Plus Fixed Fee
               PRON: 2M5CLS15Q7    PRON AMD: 10            ACRN: BW
               PSC: R706

              Estimated Cost: $347,325.63
              Fixed Fee: $28,428.93
              Total Cost Plus Fixed Fee : $375,754.56

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 10,300

                                     (End of narrative B001)



              Modification P00058 adjusts CLIN 3001AJ:

              From:

              HOURS: 10,300
              ESTIMATED COST: $318,878.13
              FIXED FEE: $28,428.93
              TOTAL ESTIMATED COST + FIXED FEE: $347,307.06

              To:

              HOURS: 10,300
              ESTIMATED COST: $318,878.13
              FIXED FEE: $28,428.93
              TOTAL ESTIMATED COST + FIXED FEE: $347,307.06

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $         347,307.06




              Period of performance: 16 November 2014 through 15
              November 2015.

                                     (End of narrative F001)




 3001AK        USMC - RCV HUSKY - OR OP 2 LABOR
               ________________________________                                        1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                1,062.40
                                                                                                         Fixed Fee   $__________________
                                                                                                                                  220.80
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                                1,283.20
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

               SERVICE REQUESTED: USMC - HUSKEY SEATS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: T156M0042T    PRON AMD: 05    ACRN: CE
               PSC: R706
               CUSTOMER ORDER NO: M9545015MP36K45

              Modification P00068 adjusts CLIN 3001AK as follows:

              From:

              HOURS: 80
              ESTIMATED COST: $2,822.40
              FIXED FEE: $220.80
              ESTIMATED COST + FIXED FEE: $3,043.20

              To:

              HOURS: 80
              ESTIMATED COST: $1,062.40
              FIXED FEE: $220.80
              ESTIMATED COST + FIXED FEE: $1,283.20

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 23-MAR-2015
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $           1,283.20
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                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 3001AL        RCV ARMY KOREA FSR - OR OP 2 LABOR
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               30,177.70
                                                                                                         Fixed Fee   $__________________
                                                                                                                                2,340.48
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               32,518.18

               SERVICE REQUESTED: KOREA FSR OR OP 2 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P146M0232T    PRON AMD: 02    ACRN: CJ
               PSC: R706



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JUN-2015
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $          32,518.18




 3002          CLSS



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)




 3002AA        RCV ARMY - OR OP2 MATL, TRVL, ODC
               _________________________________                                       1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            6,173,903.28
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            6,173,903.28

               SERVICE REQUESTED: CLSS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M5CLS15Q7    PRON AMD: 13            ACRN: BW
               PSC: R706

              Cost No Fee: $2,592,427.42

              Modification P00055 adjusts CLIN 3002AA:

              From:
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 260 of 468

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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

              Cost No Fee: $2,592,427.42

              To:

              Cost No Fee: $2,600,006.84

                                     (End of narrative B001)



              Modification P00058 adjusts CLIN 3002AA:

              From:

              Cost No Fee: $2,600,006.84

              To:

              Cost No Fee: $6,111,379.89

                                     (End of narrative B002)



              Modification P00059 adjusts CLIN 3002AE:

              From:

              Cost No Fee: $6,111,379.89

              To:

              Cost No Fee: $6,173,903.28

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $       6,173,903.28




              Period of performance: 16 November 2014 through 15
              November 2015.



                                     (End of narrative F001)
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                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
 3002AB        RCV EHP - OR OP2 MTL, TVL, ODC
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            3,492,913.77
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            3,492,913.77

               SERVICE REQUESTED: Clss 114
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M5CLS14Q7    PRON AMD: 04            ACRN: BX
               PSC: R706

              Cost No Fee: $522,700.06

                                     (End of narrative B001)



              Modification P00058 adjusts CLIN 3002AB:

              From:

              Cost No Fee: $522,700.06

              To:

              Cost No Fee: $3,492,913.77

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $       3,492,913.77




              Period of performance: 16 November 2014 through 15
              November 2015.



                                     (End of narrative F001)




 3002AD        RCV BUFFALO - OR OP2 MTL, TVL, ODC
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                                8,000.90
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                                8,000.90

               SERVICE REQUESTED: CLS Buffalo FY15
               CLIN CONTRACT TYPE:
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                    Cost No Fee
               PRON: 2M5CLSB1Q7    PRON AMD: 02            ACRN: CF
               PSC: R706
               CUSTOMER ORDER NO: M9545015MPZ8251

              Cost No Fee: $6,273.87

                                     (End of narrative B001)



              Modification P00058 adjusts CLIN 3002AD:

              From:

              Cost No Fee: $6,273.87

              To:

              Cost No Fee: $8,000.90

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 30-APR-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                30-APR-2015

                                 $           8,000.90




              Period of performance: 16 November 2014 through 30
              April 2015.



                                     (End of narrative F001)




 3002AE        RCV POR - OR OP2 MTL, TVL, ODC
               ______________________________                                          2      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            2,837,380.82
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            2,837,380.82

               SERVICE REQUESTED: AMS CLSS POR
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P146M0222T    PRON AMD: 02            ACRN: BY
               PSC: R706

              Cost No Fee: $4,700,071.22
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
              Modification P00055 adjusts CLIN 3002AE:

              From:

              Cost No Fee: $4,700,071.22

              To:

              Cost No Fee: $4,692,491.80

                                     (End of narrative B001)



              Modification P00059 adjusts CLIN 3002AE:

              From:

              Cost No Fee: $4,692,491.80

              To:

              Cost No Fee: $4,695,981.14

                                     (End of narrative B002)



              Modification P00063 adjusts CLIN 3002AE as follows:

              From:

              COST NO FEE: $4,695,981.14

              To:

              COST NO FEE: $2,837,380.82

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   2                15-NOV-2015

                                 $       2,837,380.82




              Period of performance: 16 November 2014 through 15
              November 2015.



                                     (End of narrative F001)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT




 3002AF        RCV HUSKY - OR OP2 MTL, TVL, ODC
               ________________________________                                        1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               51,612.96
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               51,612.96

               SERVICE REQUESTED: RCV HUSKY OR OP2 MTL TVL ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M5CLSVMQ7    PRON AMD: 01    ACRN: BZ
               PSC: R706
               CUSTOMER ORDER NO: M9545015MP46C40

              Cost No Fee: $53,066.16

                                     (End of narrative B001)



              Modification P00058 adjusts CLIN 3002AF:

              From:

              Cost No Fee: $53,066.16

              To:

              Cost No Fee: $50,535.06

                                     (End of narrative B002)



              Modification P00068 adjusts CLIN 3002AF as follows:

              From:

              COST NO FEE:$50,535.06

              To:

              COST NO FEE: $51,612.96

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $          51,612.96
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 265 of 468

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     CONTINUATION SHEET                                       W56HZV-12-C-0127
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT

              Period of performance: 16 November 2014 through 15
              November 2015.



                                 (End of narrative F001)




 3002AG        RCV CEH - OR OP2 MTL, TVL, ODC
               ______________________________                                    1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                         28,724.56
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                         28,724.56

               SERVICE REQUESTED: HMDS CLS SPT
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 4I4UA1311A    PRON AMD: 02      ACRN: CA
               PSC: R706

              Cost No Fee: $197,250.03

                                 (End of narrative B001)



              Modification P00058 adjusts CLIN 3002AG:

              From:

              Cost No Fee: $197,250.03

              To:

              Cost No Fee: $48,724.56

                                 (End of narrative B002)



              Modification P00061 adjusts CLIN 3002AG as follows:

              From:

              COST NO FEE: $48,724.56

              To:

              COST NO FEE: $28,724.56

                                 (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination       ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-MAY-2015

               DLVR SCH                            PERF COMPL
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-MAY-2015

                                 $          28,724.56




              Period of performance: 16 November 2014 through 15
              May 2015.



                                     (End of narrative F001)




 3002AH        RCV FORSCOM - OR OP2 MTL, TVL, ODC
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              228,691.49
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              228,691.49

               SERVICE REQUESTED: CLSS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M5CLS15Q7    PRON AMD: 10            ACRN: BW
               PSC: R706

              Cost No Fee: $537,750.00

                                     (End of narrative B001)



              Modification P00058 adjusts CLIN 3002AH:

              From:

              Cost No Fee: $537,750.00

              To:

              Cost No Fee: $228,691.49

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $         228,691.49
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Period of performance: 16 November 2014 through 15
              November 2015.



                                     (End of narrative F001)




 3002AJ        RCV CEHC - OR OP2 MTL, TVL, ODC
               _______________________________                                         1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               96,120.06
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               96,120.06

               SERVICE REQUESTED: CLSS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M5CLS15Q7    PRON AMD: 10            ACRN: BW
               PSC: R706

              Cost No Fee: $105,200.00

                                     (End of narrative B001)



              Modification P00058 adjusts CLIN 3002AJ:

              From:

              Cost No Fee: $105,200.00

              To:

              Cost No Fee: $96,120.06

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $          96,120.06




              Period of performance: 16 November 2014 through 15
              November 2015.



                                     (End of narrative F001)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 3002AK        USMC - RCV HUSKY - OR OP2 MTL, TVL, ODC
               _______________________________________                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               14,451.27
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               14,451.27

               SERVICE REQUESTED: USMC - HUSKEY SEATS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: T156M0042T    PRON AMD: 05    ACRN: CE
               PSC: R706
               CUSTOMER ORDER NO: M9545015MP36K45

              Modification P00068 adjusts CLIN 3002AK as follows:

              From:

              Cost No Fee:$6,880.31

              To:

              Cost No Fee: $14,451.27

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 23-MAR-2015
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $          14,451.27
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 269 of 468

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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 3002AL        RCV ARMY KOREA FSR - OR OP 2 MTL, TVL, ODC
               __________________________________________                              1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               66,948.84
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               66,948.84

               SERVICE REQUESTED: KOREA OR OP 2 MTL, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P146M0232T    PRON AMD: 02    ACRN: CJ
               PSC: R706

              Period of Performance: 01 June 2015 through 15
              November 2015

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JUN-2015
               End Date: 15-NOV-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2017

                                 $      66,948.84 (E)

               (E) = Estimated




 3003          USMC - HUSKY SEATS
               NSN: 9999-99-999-9999




 3003AA        USMC - RCV HUSKY SEATS
               ______________________                                                  1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              245,760.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              245,760.00

               COMMODITY NAME: USMC - HUSKY SEATS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: T156M0052T    PRON AMD: 01            ACRN: CE
               PSC: 2590
               CUSTOMER ORDER NO: M9545015MP36K45



               Packaging and Marking
               _____________________



               Inspection and Acceptance
               _________________________
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                                                                                                               REPRINT
                                                  PIIN/SIIN                         MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                QUANTITY   UNIT      UNIT PRICE      AMOUNT
               INSPECTION: Origin       ACCEPTANCE: Origin



              Inspection and Acceptance
              Shall be held at the below
              address:

              SHOCKRIDE, LLC
              205 S. BECK AVENUE
              CHANDLER, AZ 85226-3312



              DCMA PHOENIX shall Perform the I/A.

              Contact info:
              Phone Number: 602-594-7800
              Fax Number: 602-594-7995/7991
              E-Mail: DCMA.PHOENIX@DCMA.MIL
              Address: TWO RENAISSANCE SQUARE
              40 NORTH CENTRAL AVE., SUITE 400
              PHOENIX,   AZ   85004-4424
              Cognizant Office Code: S0302A

                                 (End of narrative F002)




               _________________________
               Deliveries  or Performance
               DOC                      SUPPL
               REL CD
               ______     MILSTRIP
                          ________      ADDR
                                        ______ SIG CD ________
                                               ______   MARK FOR   _____
                                                                   TP   CD
                001 W56HZV5072M005 Y00000         M                   2
               DEL REL CD
               __________      ______________
                                   QUANTITY         ___________
                                                      DEL DATE
                   001                1             13-JUL-2015



               FOB POINT: Destination

               SHIP TO:
               (Y00000)    SHIPPING INSTRUCTIONS FOR CONSIGNEE
                           (SHIP-TO) WILL BE FURNISHED PRIOR
                           TO THE SCHEDULED DELIVERY DATE FOR
                           ITEMS REQUIRED UNDER THIS
                           REQUISITION.




              Ship To Location:

              60 Each Husky Driver Commander Seats

              MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
              ManTech Chambersburg Facility
              Tamarack Industrial Park Building 652
              2015 Carbaugh Ave
              Chambersburg, PA 17202

              ManTech POC for Chambersburg
              Lee Medina
              Office: (910) 729-6618
              Cell: (910) 853-2988
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 271 of 468

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                                                                                                               REPRINT
                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                 (End of narrative F001)




 3101          MRAP ARMY OR OP 2 LABOR



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.2; C.1.1.2; C.1.1.3
              C.1.6; C.1.8; C.1.9; C.1.10
              C.1.11; C.1.12; C.1.14

                                 (End of narrative A001)




 3101AA        MRAP ARMY - OR OP 2 LABOR
               _________________________                                         1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                      1,129,968.20
                                                                                                   Fixed Fee   $__________________
                                                                                                                        100,012.46
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                      1,229,980.66

               SERVICE REQUESTED: MRAP ARMY OR OP 2 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M501LOGQ7    PRON AMD: 01    ACRN: BS
               PSC: R706

              Estimated Cost: $1,126,921.16
              Fixed Fee: $103,059.50
              Total Cost Plus Fixed Fee: $1,229,980.66

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 37,341

                                 (End of narrative B001)




              Modification P00045 adjusts CLIN 3101AA:

              From:

              HOURS: 37,341
              ESTIMATED COST: $1,126,921.16
              FIXED FEE: $103,059.50
              TOTAL ESTIMATED
              COST + FIXED FEE: $1,229,980.66

              To:

              HOURS: 36,237
              ESTIMATED COST: $1,129,968.20
              FIXED FEE: $100,012.46
              TOTAL ESTIMATED
              COST + FIXED FEE: $1,229,980.66

                                 (End of narrative B002)
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                                                           Reference No. of Document Being Continued            Page 196 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                    REPRINT
                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $       1,229,980.66




              Period of performance: 16 November 2014 through 15
              November 2015.



                                     (End of narrative F001)
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                                                           Reference No. of Document Being Continued             Page 197 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 3101AB        MRAP AIR FORCE - OR OP 2 LABOR
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            3,357,101.10
                                                                                                         Fixed Fee   $__________________
                                                                                                                              290,865.36
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            3,647,966.46

               SERVICE REQUESTED: MRAP AIR FORCE OR OP 2 LABOR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M5CLSF1Q7    PRON AMD: 01    ACRN: BT
               PSC: R706
               CUSTOMER ORDER NO: F2QF204290G001

              Estimated Cost: $3,357,101.10
              Fixed Fee: $290,865.36
              Total Cost Plus Fixed Fee: $3,647,966.46

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 105,386

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2015

                                 $       3,647,966.46




 3102          MRAP ARMY OR OP 2 TRVL & ODC



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)




 3102AA        MRAP ARMY - OR OP 2 TRVL & ODC
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              107,803.12
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              107,803.12

               SERVICE REQUESTED: MRAP ARMY OR OP 2 TRVL & ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M501LOGQ7    PRON AMD: 01    ACRN: BS
               PSC: R706

              Cost No Fee: $107,803.12
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2015

                                 $         107,803.12




              Period of performance: 16 November 2014 through 15
              November 2015.



                                     (End of narrative F001)




 3102AB        MRAP AIR FORCE - OR OP 1 TVL & ODC
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              168,052.07
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              168,052.07

               SERVICE REQUESTED: MRAP AIR FORCE OR OP2 TVL ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M5CLSF1Q7    PRON AMD: 01    ACRN: BT
               PSC: R706
               CUSTOMER ORDER NO: F2QF204290G001

              Cost No Fee: $168,052.07

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination     ACCEPTANCE: Destination
               DLVR SCH                          PERF COMPL
               ________
                REL CD        ______________
                                 QUANTITY        __________
                                                    DATE
                  001               1            15-NOV-2015

                                 $         168,052.07




              Period of performance: 16 November 2014 through 15
              November 2015.



                                     (End of narrative F001)




 3102AC        MRAP AIR FORCE - OR OP 2 TVL & ODC
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              250,000.00
                                                                                                     Not to Exceed
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 275 of 468

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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                                                                                         (Funding)   $__________________
                                                                                                                              250,000.00

               SERVICE REQUESTED: CLS AIR FORCE - QATA
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M5CLSF2Q7    PRON AMD: 01    ACRN: CB
               PSC: R706
               CUSTOMER ORDER NO: F2QF205007G002



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $         250,000.00




 3102AD        MRAP AIR FORCE - OR OP 2 TVL & ODC
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              860,000.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              860,000.00

               SERVICE REQUESTED: Air Force CLS pt 3
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M5CLSF3Q7    PRON AMD: 02    ACRN: CG
               PSC: R706
               CUSTOMER ORDER NO: F2QF205112GW01

              Modification P00059 adjusts CLIN 3102AD:

              From:

              Cost No Fee: $850,000.00

              To:

              Cost No Fee: $860,000.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $         860,000.00




              Period of Performance: 16 November 2014 through 15
              November 2015.

                                     (End of narrative F001)




 3201          SOCOM CLS FY15



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.3; C.1.1.2; C.1.1.3
              C.1.6; C.1.7; C.1.8; C.1.9
              C.1.10; C.1.11; C.1.12; C.1.13
              C.1.14; C.1.15

                                     (End of narrative A001)




 3201AA        SOCOM - OR OP 2 LABOR
               _____________________                                                   1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           24,421,035.95
                                                                                                         Fixed Fee   $__________________
                                                                                                                            1,309,316.84
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           25,730,352.79

               SERVICE REQUESTED: SOCOM CLS FY15
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M5CLSS1Q7    PRON AMD: 03            ACRN: BU
               PSC: R706
               CUSTOMER ORDER NO: F2VUF04296GW01

              Estimated Cost:$16,000,274.35
              Fixed Fee:$1,320,980.16
              Total Cost Plus Fixed Fee: $17,321,254.51

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 478,676

              Modification P00054 adjusts CLIN 3201AA:

              From:

              HOURS: 478,676
              ESTIMATED COST:$16,000,274.35
              FIXED FEE:$1,320,980.16
              TOTAL ESTIMATED COST + FIXED FEE: $17,321,254.51

              To:
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
              HOURS: 478,676
              ESTIMATED COST: $24,551,760.09
              FIXED FEE: $1,320,980.16
              TOTAL ESTIMATED COST + FIXED FEE: $25,872,740.25

                                     (End of narrative B001)



              Modification P00055 adjusts CLIN 3201AA:

              From:

              HOURS: 478,616
              ESTIMATED COST: $24,551,760.09
              FIXED FEE: $1,320,980.16
              TOTAL ESTIMATED COST + FIXED FEE: $25,872,740.25

              To:

              HOURS: 475,256
              ESTIMATED COST: $24,421,035.95
              FIXED FEE: $1,309,316.84
              TOTAL ESTIMATED COST + FIXED FEE: $25,730,352.79

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $      25,730,352.79




              Period of performance: 16 November 2014 through 15
              November 2015



                                     (End of narrative F001)




 3202          SOCOM CLS FY15



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                      SUPPLIES/SERVICES                                QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                     (End of narrative A001)




 3202AA        SOCOM - OR OP 2 MTL, TVL, ODC
               _____________________________                                           1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            7,969,082.14
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            7,969,082.14

               SERVICE REQUESTED: SOCOM CLS FY15
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M5CLSS1Q7    PRON AMD: 03            ACRN: BU
               PSC: R706
               CUSTOMER ORDER NO: F2VUF04296GW01

              Cost No Fee: $7,975,600.00

              Modification P000055 adjusts CLIN 3202AA:

              From:

              Cost No Fee: $7,975,600.00

              To:

              Cost No Fee: $7,969,082.14

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2014
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $       7,969,082.14




              Period of performance: 16 November 2014 through 15
              November 2015.




                                     (End of narrative F001)




 3301          MRAP CAIMANS
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT



 3301AA        FMS IRAQ - LABOR
               ________________                                                  1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                      1,570,866.53
                                                                                                   Fixed Fee   $__________________
                                                                                                                         83,215.12
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                      1,654,081.65

               SERVICE REQUESTED: MRAP CAIMANS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: J50USE0147    PRON AMD: 12      ACRN: CC
               PSC: R706
               FMS COUNTRY/CASE: IQ/USE



              Modification P00047 exercises 16,187 OR OP2 Labor
              Hours under:

              CLIN 3301AA (FMS IRAQ - LABOR (CAIMAN))

              Services performed under this
              CLIN shall be in accordance
              with the following Performance
              Work Statement references:

              C.1, C.1.1.1.7, C.1.1.2.2.4
              C.1.1.3.2.3, C.1.1.4, C.1.4.5
              C.1.5.6, C.1.6, C.1.8.1.2
              C.1.8.1.4, C.1.8.1.5, C.1.8.2
              C.1.10, C.1.11, C.1.12, C.12.1.1
              C.12.1.1.2, C.12.1.1.2.1, C.12.1.1.2.2
              C.14.6, C.14.6.1, C.14.6.2, C.14.6.3

              Modification P00056 adjusts CLIN 3301AA:

              From:

              HOURS: 16,187
              ESTIMATED COST: $1,280,273.63
              FIXED FEE: $51,824.30
              TOTAL ESTIMATED COST + FIXED FEE: $1,332,097.93

              PERIOD OF PERFORMANCE: 03 March 2015 thru 31 August
              2015

              To:

              HOURS: 22,840
              ESTIMATED COST: $1,487,397.37
              FIXED FEE: $87,702.77
              TOTAL ESTIMATED COST + FIXED FEE: $1,575,100.14

              PERIOD OF PERFORMANCE: 03 March 2015 thru 15 November
              2015

                                 (End of narrative B001)



              Modification P00083 adjusts CLIN 3301AA as follows:

              From:
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                                                                                                                    REPRINT
                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
              HOURS: 38,180
              ESTIMATED COST: $1,762,831.86
              FIXED FEE: $105,375.16
              TOTAL ESTIMATED COST + FIXED FEE: $1,868,207.02

              To:

              HOURS: 30,151
              ESTIMATED COST: $1,570,866.53
              FIXED FEE: $83,215.12
              TOTAL ESTIMATED COST + FIXED FEE: $1,654,081.65

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 30,151

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 03-MAR-2015
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-NOV-2015

                                 $       1,654,081.65
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        CONTINUATION SHEET                                    W56HZV-12-C-0127
                                                                                                               REPRINT
                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                      SUPPLIES/SERVICES                          QUANTITY      UNIT      UNIT PRICE        AMOUNT



 3302          MRAP CAIMANS




 3302AA        FMS IRAQ - MAT/TRV/ODC
               ______________________                                            2      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                      5,637,143.34
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                      5,637,143.34

               SERVICE REQUESTED: MRAP CAIMANS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: J50USE0147    PRON AMD: 12      ACRN: CC
               PSC: R706
               FMS COUNTRY/CASE: IQ/USE



              Modification P00047 adds:

              CLIN 3302AA (FMS IRAQ - MAT/TRV/ODC (CAIMAN))

              Services performed under this
              CLIN shall be in accordance
              with the following Performance
              Work Statement references:

              C.1, C.1.1.1.7, C.1.1.2.2.4
              C.1.1.3.2.3, C.1.1.4, C.1.4.5
              C.1.5.6, C.1.6, C.1.8.1.2
              C.1.8.1.4, C.1.8.1.5, C.1.8.2
              C.1.10, C.1.11, C.1.12, C.12.1.1
              C.12.1.1.2, C.12.1.1.2.1, C.12.1.1.2.2
              C.14.6, C.14.6.1, C.14.6.2, C.14.6.3

              Modification P00056 adjusts CLIN 3302AA:

              From:

              Cost No Fee: $4,287,852.33

              PERIOD OF PERFORMANCE: 03 March 2015 thru 31 August
              2015

              To:

              Cost No Fee: $6,105,180.86

              PERIOD OF PERFORMANCE: 03 March 2015 thru 15 November
              2015

                                 (End of narrative B001)



              Modification P00083 adjusts CLIN 3302AA as follows:

              From:

              Cost No Fee: $8,105,173.95

              To:
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

              Cost No Fee: $5,637,143.34

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 03-MAR-2015
               End Date: 15-NOV-2015

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   2                15-NOV-2015

                                 $       5,637,143.34
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                                                     Reference No. of Document Being Continued             Page 207 of   388
        CONTINUATION SHEET                                    W56HZV-12-C-0127
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT



 4001          AMS 137 CLS support



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.1; C.1.1.1.4; C.1.1.1.5
              C.1.1.5.6; C.1.1.2; C.1.1.3
              C.1.6; C.1.7; C.1.8; C.1.9
              C.1.10; C.1.11; C.1.12
              C.1.13; C.1.14; C.1.15

                                 (End of narrative A001)




 4001AA        RCV ARMY - OR OP 3 LABOR
               ________________________                                          1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                     16,171,802.66
                                                                                                   Fixed Fee   $__________________
                                                                                                                        764,983.36
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                     16,936,786.02

               SERVICE REQUESTED: AMS 137 CLS support
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLS37Q7    PRON AMD: 04    ACRN: CK
               PSC: R706

              Estimated Cost: $10,383,182.60
              Fixed Fee: $766,360.16
              Total Cost Plus Fixed Fee: $11,149,542.76

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 242,688

                                 (End of narrative B001)



              Modification P00062 adjusts CLIN 4001AA as follows:

              From:

              HOURS: 242,688
              ESTIMATED COST: $10,383,182.60
              FIXED FEE: $766,360.16
              TOTAL ESTIMATED COST + FIXED FEE: $11,149,542.76

              To:

              HOURS: 242,252
              ESTIMATED COST: $10,386,412.62
              FIXED FEE: $764,983.36
              TOTAL ESTIMATED COST + FIXED FEE: $11,151,395.98

                                 (End of narrative B002)



              Modification P00064 adjusts CLIN 4001AA as follows:

              From:
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

              HOURS: 276,167
              ESTIMATED COST: $10,386,412.62
              FIXED FEE: $764,983.36
              TOTAL ESTIMATED COST + FIXED FEE: $11,151,395.98

              To:

              HOURS: 276,167
              ESTIMATED COST: $16,571,802.66
              FIXED FEE: $764,983.36
              TOTAL ESTIMATED COST + FIXED FEE: $17,336,786.02

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 276,167

                                     (End of narrative B003)



              Modification P00076 adjusts CLIN 4001AA as follows:

              From:

              HOURS: 276,167
              ESTIMATED COST: $16,571,802.66
              FIXED FEE: $764,983.36
              TOTAL ESTIMATED COST + FIXED FEE: $17,336,786.02

              To:

              HOURS: 276,167
              ESTIMATED COST: $16,171,802.66
              FIXED FEE: $764,983.36
              ESTIMATED COST + FIXED FEE: $16,936,786.02

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 276,167

                                     (End of narrative B004)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $      16,936,786.02




              Period of performance: 16 November 2015 through 14
              November 2016.




                                     (End of narrative F001)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT




 4001AB        RCV ROLLER - OR OP 3 LABOR
               __________________________                                              1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              368,183.20
                                                                                                         Fixed Fee   $__________________
                                                                                                                               21,362.24
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              389,545.44

               SERVICE REQUESTED: AMS 114 CLS support
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLS14Q7    PRON AMD: 05    ACRN: CL
               PSC: R706

              Estimated Cost: $268,183.20
              Fixed Fee: $21,362.24
              Total Cost Plus Fixed Fee: $289,545.44

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 7,712

                                     (End of narrative B001)



              Modification P00076 adjusts CLIN 4001AB as follows:

              From:

              HOURS: 7,712
              ESTIMATED COST: $268,183.20
              FIXED FEE: $21,362.24
              TOTAL ESTIMATED COST + FIXED FEE: $289,545.44

              To:

              HOURS: 7,712
              ESTIMATED COST: $368,183.20
              FIXED FEE: $21,362.24
              TOTAL ESTIMATED COST + FIXED FEE: $389,545.44

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 7,712

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         389,545.44
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT

              Period of Performance: 16 November 2015 through 01
              November 2016

                                 (End of narrative F001)




 4001AE        RCV POR - OR OP 3 LABOR
               _______________________                                           1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                     13,624,432.28
                                                                                                   Fixed Fee   $__________________
                                                                                                                      1,106,004.29
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                     14,730,436.57

               SERVICE REQUESTED: RCV POR portion of C
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P166M2022T    PRON AMD: 03    ACRN: CM
               PSC: R706

              Estimated Cost: $14,614,630.98
              Fixed Fee: $1,106,004.29
              Total Cost Plus Fixed Fee: $15,720,635.27

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN:
              350,245.20

                                 (End of narrative B001)



              Modification P00062 adjusts CLIN 4001AE as follows:

              From:

              HOURS: 350,245
              ESTIMATED COST: $14,641,630.98
              FIXED FEE: $1,106,004.29
              TOTAL ESTIMATED COST + FIXED FEE: $15,720,635.27

              To:

              HOURS: 350,245
              ESTIMATED COST: $14,624,432.28
              FIXED FEE: $1,106,004.29
              TOTAL ESTIMATED COST + FIXED FEE: $15,730,436.57

                                 (End of narrative B002)



              Modification P00076 adjusts CLIN 4001AE as follows:

              From:

              HOURS: 350,245
              ESTIMATED COST: $14,624,432.28
              FIXED FEE: $1,106,004.29
              TOTAL ESTIMATED COST + FIXED FEE: $15,730,436.57

              To:

              HOURS: 350,245
              ESTIMATED COST: $13,624,432.28
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              FIXED FEE: $1,106,004.29
              TOTAL ESTIMATED COST + FIXED FEE: $14,730,436.57

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 350,245

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $      14,730,436.57




              Period of Performance: 16 November 2015 through 14
              November 2016.

                                     (End of narrative F001)




 4001AG        RCV CEH - OR OP 3 LABOR
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              161,372.66
                                                                                                         Fixed Fee   $__________________
                                                                                                                               12,895.19
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              174,267.85

               SERVICE REQUESTED: CLSS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 4I5UA1321A    PRON AMD: 01            ACRN: CN
               PSC: R706

              Estimated Cost: $188,069.04
              Fixed Fee: $12,895.19
              Total Cost Plus Fixed Fee: $200,964.23

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN:
              4,083.60

                                     (End of narrative B001)



              Modification P00061 adjusts CLIN 4001AG as follows:

              From:

              HOURS: 4,655
              ESTIMATED COST: $188,069.04
              FIXED FEE: $12,895.19
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              TOTAL ESTIMATED COST + FIXED FEE: $200,964.23

              To:

              HOURS: 4,655
              ESTIMATED COST: $161,372.66
              FIXED FEE: $12,895.19
              TOTAL ESTIMATED COST + FIXED FEE: $174,267.85

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         174,267.85




              Period of Performance: 16 November 2015 through 14
              November 2016.

                                     (End of narrative F001)




 4001AH        RCV FORSCOM - OR OP 3 LABOR
               ___________________________                                             1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,785,496.41
                                                                                                         Fixed Fee   $__________________
                                                                                                                              135,871.29
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,921,367.70

               SERVICE REQUESTED: FORSCOM OMA CLS Supp
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLSFCQ7    PRON AMD: 02    ACRN: CR
               PSC: R706

              Estimated Cost: $1,677,545.59
              Fixed Fee: $135,871.29
              Total Cost Plus Fixed Fee: $1,813,416.88

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 49,051

                                     (End of narrative B001)



              Modification P00064 adjusts CLIN 4001AH as follows:

              From:
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              HOURS: 49,051
              ESTIMATED COST: $1,677,545.59
              FIXED FEE: $135,871.29
              ESTIMATED COST + FIXED FEE: $1,813,416.88

              To:

              HOURS: 49,051
              ESTIMATED COST: $1,785,496.41
              FIXED FEE: $135,871.29
              ESTIMATED COST + FIXED FEE: $1,921,367.70

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 49,051

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       1,921,367.70




              Period of Performance: 16 November 2015 through 14
              November 2016

                                     (End of narrative F001)




 4001AJ        RCV CEHC - OR OP 3 LABOR
               ________________________                                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              239,671.40
                                                                                                         Fixed Fee   $__________________
                                                                                                                               18,453.96
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              258,125.36

               SERVICE REQUESTED: CEHC CLSS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLSCEQ7    PRON AMD: 01            ACRN: CT
               PSC: R706

              ESTIMATED COST: $239,671.40
              FIXED FEE: $18,453.96
              TOTAL ESTIMATED COST + FIXED FEE: $258,125.36

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 5,930

                                     (End of narrative B001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JAN-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         258,125.36




              Period of Performance: 01 January 2016 through 14
              November 2016

                                     (End of narrative F001)




 4001AK        RCV ARCENT KUWAIT (ONS-16-21057) - OR OP 3 L
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              433,705.38
                                                                                                         Fixed Fee   $__________________
                                                                                                                               23,747.92
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              457,453.30

               SERVICE REQUESTED: ONS Effort - Route C
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P166ONS72T    PRON AMD: 02    ACRN: CX
               PSC: R706

              Estimated Cost: $433,705.38
              Fixed Fee: $23,747.92
              Estimated Cost + Fixed Fee: $457,453.30

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 8,573

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-MAY-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         457,453.30
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT




              Period of Performance: 01 May 2016 through 14
              November 2016

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1.; C.1.1.1.1.; C.1.1.2.; C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 4001AL        RCV ARCENT EGYPT - OR OP 3 LABOR
               ________________________________                                        1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               65,275.69
                                                                                                         Fixed Fee   $__________________
                                                                                                                                3,549.97
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               68,825.66

               SERVICE REQUESTED: CLS Support ONS 15-2
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLS15Q7    PRON AMD: 01    ACRN: CY
               PSC: R706

              Estimated Cost: $65,275.69
              Fixed Fee: $3,549.97
              Estimated Cost + Fixed Fee: $68,825.66

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,282

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JUL-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $          68,825.66




              Period of Performance: 01 July 2016 through 14
              November 2016
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT

                                 (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1; C.1.1.1.1.; C.1.1.2.; C.1.1.3.; C.1.4; C.1.5.;
              C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                 (End of narrative A001)




 4001AM        RCV ARCENT IRAQ (ONS-16-21191) - OR OP 3 LAB
               ____________________________________________                      1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                        662,871.02
                                                                                                   Fixed Fee   $__________________
                                                                                                                         31,324.49
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                        694,195.51

               SERVICE REQUESTED: RCV ARCENT IRAQ
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLS16Q7    PRON AMD: 01      ACRN: DA
               PSC: R706

              Estimated Cost: $726,762.00
              Fixed Fee: $33,990.56
              Estimated Cost + Fixed Fee: $760,752.56

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 12,271

                                 (End of narrative B001)



              Modification P00072 adjusts CLIN 4001AM as follows:

              From:

              Hours: 12,271
              Estimated Cost: $726,762.00
              Fixed Fee: $33,990.56
              Estimated Cost + Fixed Fee: $760,752.56

              To:

              Hours: 11,309
              Estimated Cost: $662,871.02
              Fixed Fee: $31,324.49
              Estimated Cost + Fixed Fee: $694,195.51

                                 (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination       ACCEPTANCE: Destination



               Deliveries or Performance
               _________________________
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               Period of Performance
               Start Date: 01-JUN-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         694,195.51




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 4001AN        RCV ARCENT KUWAIT (ONS-16-21504) - OR OP 3 L
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               84,251.58
                                                                                                         Fixed Fee   $__________________
                                                                                                                                3,950.62
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               88,202.20

               SERVICE REQUESTED: ONS 16-21504
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLS04Q7    PRON AMD: 01            ACRN: DB
               PSC: R706

              Estimated Cost: $84,251.58
              Fixed Fee: $3,950.62
              Estimated Cost + Fixed Fee: $88,202.20

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,427

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-AUG-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $          88,202.20
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Period of Performance: 15 August 2016 through 14
              November 2016

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 4001AP        RCV ARCENT KUWAIT (ONS-16-21577) - OR OP 3 L
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              247,415.22
                                                                                                         Fixed Fee   $__________________
                                                                                                                               12,735.21
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              260,150.43

               SERVICE REQUESTED: CLS Support ONS 16-2
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLS77Q7    PRON AMD: 01    ACRN: DC
               PSC: R706

              Estimated Cost: $247,415.22
              Fixed Fee: $12,735.21
              Estimated Cost + Fixed Fee: $260,150.43

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 4,598

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-AUG-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         260,150.43




              Period of Performance: 15 August 2016 through 14
              November 2016

                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 4001AQ        RCV ARCENT KUWAIT (ONS-16-21585) - OR OP 3 L
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              116,815.84
                                                                                                         Fixed Fee   $__________________
                                                                                                                                5,871.48
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              122,687.32

               SERVICE REQUESTED: ONS 16-21585
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLS85Q7    PRON AMD: 01            ACRN: DD
               PSC: R706

              Estimated Cost: $116,815.84
              Fixed Fee: $5,871.48
              Estimate Cost + Fixed Fee: $122,687.32

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,934

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 24-SEP-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         122,687.32




              Period of Performance: 24 September 2016 through 14
              November 2016

                                     (End of narrative F001)




 4002          AMS 137 CLS support
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT

              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                 (End of narrative A001)




 4002AA        RCV ARMY - OR OP 3 MATL, TRVL, ODC
               __________________________________                                1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                      4,915,676.72
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                      4,915,676.72

               SERVICE REQUESTED: AMS 137 CLS support
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLS37Q7    PRON AMD: 04    ACRN: CK
               PSC: R706

              Cost No Fee: $10,701,066.76

                                 (End of narrative B001)



              Modification P00064 adjusts CLIN 4002AA as follows:

              From:

              COST NO FEE: $10,701,066.76

              To:

              COST NO FEE: $4,515,676.72

                                 (End of narrative B002)



              Modification P00076 adjusts CLIN 4002AA as follows:

              From:

              COST NO FEE: $4,515,676.72

              To:

              COST NO FEE: $4,915,676.72

                                 (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination       ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       4,915,676.72




              Period of performance: 16 November 2015 through 14
              November 2016.



                                     (End of narrative F001)




 4002AB        RCV ROLLER - OR OP 3 MATL, TRVL, ODC
               ____________________________________                                    1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            2,024,421.36
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            2,024,421.36

               SERVICE REQUESTED: AMS 114 CLS support
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLS14Q7    PRON AMD: 05    ACRN: CL
               PSC: R706

              Cost No Fee: $1,249,421.36

                                     (End of narrative B001)



              Modification P00072 adjusts CLIN 4002AB as follows:

              From:

              Cost No Fee: $1,249,421.36

              To:

              Cost No Fee: $2,124,421.36

                                     (End of narrative B002)



              Modification P00076 adjusts CLIN 4002AB as follows:

              From:

              COST NO FEE: $2,124,421.36

              To:

              COST NO FEE: $2,024,421.36

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       2,024,421.36




              Period of Performance: 16 November 2015 through 01
              November 2016

                                     (End of narrative F001)




 4002AE        RCV POR - OR OP 3 MATL, TRVL, ODC
               _________________________________                                       1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            4,649,550.88
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            4,649,550.88

               SERVICE REQUESTED: RCV POR portion of C
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P166M2022T    PRON AMD: 03    ACRN: CM
               PSC: R706

              Cost No Fee: $3,649,550.88

                                     (End of narrative B001)



              Modification P00076 adjusts CLIN 4002AE as follows:

              From:

              COST NO FEE: $3,649,550.88

              To:

              COST NO FEE: $4,649,550.88

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       4,649,550.88




              Period of Performance: 16 November 2015 through 14
              November 2016.

                                     (End of narrative F001)




 4002AG        RCV CEH - OR OP 3 MATL, TRVL, ODC
               _________________________________                                       1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               28,500.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               28,500.00

               SERVICE REQUESTED: CLSS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 4I5UA1321A    PRON AMD: 01            ACRN: CN
               PSC: R706

              Cost No Fee: $1,803.62

                                     (End of narrative B001)



              Modification P00061 adjusts CLIN 4002AG as follows:

              From:

              COST NO FEE: $1,803.62

              To:

              COST NO FEE:
              $28,500.00



                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $          28,500.00
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                     SUPPLIES/SERVICES                                 QUANTITY      UNIT      UNIT PRICE        AMOUNT

              Period of Performance: 16 November 2015 through 14
              November 2016.

                                     (End of narrative F001)




 4002AH        RCV FORSCOM - OR OP 3 MATL, TRVL, ODC
               _____________________________________                                   1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              959,655.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              959,655.00

               SERVICE REQUESTED: FORSCOM OMA CLS Supp
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLSFCQ7    PRON AMD: 02    ACRN: CR
               PSC: R706

              Cost No Fee: $1,067,605.82

                                     (End of narrative B001)



              Modification P00064 adjusts CLIN 4002AH as follows:

              From: $1,067,605.82

              COST NO FEE:

              To:

              COST NO FEE: $959,655.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 14-NOV-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         959,655.00




              Period of Performance: 16 November 2015 through 14
              November 2016

                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

 4002AJ        RCV CEHC - OR OP 3 MATL, TRVL, ODC
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              195,580.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              195,580.00

               SERVICE REQUESTED: CEHC CLSS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLSCEQ7    PRON AMD: 01            ACRN: CT
               PSC: R706

              COST NO FEE: $195,580.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JAN-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         195,580.00




              Period of Performance: 01 January 2016 through 14
              November 2016

                                     (End of narrative F001)




 4002AK        RCV ARCENT KUWAIT (ONS-16-21057) - OR OP 3 M
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,360,500.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,360,500.00

               SERVICE REQUESTED: ONS Effort - Route C
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P166ONS72T    PRON AMD: 02    ACRN: CX
               PSC: R706

              Cost No Fee: $912,500.00

                                     (End of narrative B001)



              Modification P00072 adjusts CLIN 4002AK as follows:

              From:
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Cost No Fee: $912,500.00

              To:

              Cost No Fee: $1,360,500.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-MAY-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       1,360,500.00




              Period of Performance: 01 May 2016 through 14
              November 2016

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1; C.1.1.1.1.; C.1.1.2.; C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 4002AL        RCV ARCENT EGYPT - OR OP 3 MATL, TRVL, ODC
               __________________________________________                              1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               89,004.34
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               89,004.34

               SERVICE REQUESTED: RCV ARCENT EGYPT
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLS15Q7    PRON AMD: 01    ACRN: CY
               PSC: R706

              Cost No Fee: $89,004.34

                                     (End of narrative B001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JUL-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $          89,004.34




              Period of Performance: 01 July 2016 through 14
              November 2016

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1; C.1.1.1.1.; C.1.1.2.; C.1.1.3.; C.1.4; C.1.5.;
              C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 4002AM        RCV ARCENT IRAQ (ONS-16-21191) - OR OP 3 MAT
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              779,624.18
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              779,624.18

               SERVICE REQUESTED: RCV ARCENT IRAQ
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLS16Q7    PRON AMD: 01            ACRN: DA
               PSC: R706

              Cost No Fee: $1,853,000.00

                                     (End of narrative B001)



              Modification P00072 adjusts CLIN 4002AM as follows:

              From:

              Cost No Fee: $1,853,000.00



              To:

              Cost No Fee: $779,624.18
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JUN-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         779,624.18




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.; C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.;
              C.1.6.; C.1.7.; C.1.8.; C.1.9.; C.1.10.; C.1.11.;
              C.1.12.; C.1.13.; C.1.14.; C.1.15.

                                     (End of narrative A001)




 4002AN        RCV ARCENT KUWAIT (ONS-16-21504) - OR OP 3 M
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              216,441.40
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              216,441.40

               SERVICE REQUESTED: ONS 16-21504
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLS04Q7    PRON AMD: 01            ACRN: DB
               PSC: R706

              Cost No Fee: $216,441.40

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-AUG-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         216,441.40
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT




              Period of Performance: 15 August 2016 through 14
              November 2016

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1; C.1.1.1.1.; C.1.1.2.; C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 4002AP        RCV ARCENT KUWAIT (ONS-16-21577) - OR OP 3 M
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              440,547.84
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              440,547.84

               SERVICE REQUESTED: ONS-16-21577
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLS77Q7    PRON AMD: 01            ACRN: DC
               PSC: R706

              Cost No Fee: $440,547.84

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-AUG-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         440,547.84




              Period of Performance: 15 August 2016 through 14
              November 2016

                                     (End of narrative F001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 4002AQ        RCV ARCENT KUWAIT (ONS-16-21585) - MATL, TRV
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              220,100.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              220,100.00

               SERVICE REQUESTED: ONS 16-21585
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLS85Q7    PRON AMD: 01            ACRN: DD
               PSC: R706

              Cost No Fee: $220,100.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 24-SEP-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         220,100.00




              Period of Performance: 24 September 2016 through 14
              November 2016

                                     (End of narrative F001)




 4101          20519 MRAP CLSS



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.2; C.1.1.2; C.1.1.3
              C.1.6; C.1.8; C.1.9; C.1.10
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 307 of 468

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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT       UNIT PRICE       AMOUNT
              C.1.11; C.1.12;     C.1.14

                                  (End of narrative A001)




 4101AA        MRAP ARMY - OR OP 3 LABOR
               _________________________                                         1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                      1,138,305.08
                                                                                                   Fixed Fee   $__________________
                                                                                                                         82,418.58
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                      1,220,723.66

               SERVICE REQUESTED: 20519 MRAP CLSS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M602LOGQ7    PRON AMD: 02       ACRN: CP
               PSC: R706

              Estimated Cost: $902,585.18
              Fixed Fee: $82,418.58
              Total Cost Plus Fixed Fee: $985,003.76

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 26,100

                                  (End of narrative B001)



              Modification P00064 adjusts CLIN 4101AA as follows:

              From:

              HOURS: 29,754
              ESTIMATED COST: $902,585.18
              FIXED FEE: $82,418.58
              ESTIMATED COST + FIXED FEE: $985,003.76

              To:

              HOURS: 29,754
              ESTIMATED COST: $1,138,305.08
              FIXED FEE: $82,418.58
              ESTIMATED COST + FIXED FEE: $1,220,723.66

              TOTAL HOURS FUNDED UNDER THIS CLIN: 29,754

                                  (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination        ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                             PERF COMPL
               ________
                REL CD           ______________
                                    QUANTITY        __________
                                                       DATE
                  001                  1            14-NOV-2016
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                 $       1,220,723.66




              Period of performance: 16 November 2015 through 14
              November 2016.



                                     (End of narrative F001)




 4101AB        MRAP AIR FORCE - OR OP 3 LABOR
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            4,469,786.91
                                                                                                         Fixed Fee   $__________________
                                                                                                                              242,260.10
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            4,712,047.01

               SERVICE REQUESTED: MRAP CLSS - Air Forc
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLSF1Q7    PRON AMD: 02    ACRN: CV
               PSC: R706
               CUSTOMER ORDER NO: F2QF205293GW01

              Estimated Cost: $2,788,635.18
              Fixed Fee: $242,260.10
              Total Cost Plus Fixed Fee: $3,030,895.28

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 76,718

                                     (End of narrative B001)



              Modification P00064 adjusts CLIN 4101AB as follows:

              From:

              HOURS: 87,459
              ESTIMATED COST: $2,788,635.18
              FIXED FEE: $242,260.10
              ESTIMATED COST + FIXED FEE: $3,030,895.28

              To:

              HOURS: 87,459
              ESTIMATED COST: $4,519,786.91
              FIXED FEE: $242,260.10
              ESTIMATED COST + FIXED FEE: $4,762,047.01

              TOTAL HOURS FUNDED UNDER THIS CLIN: 87,459

                                     (End of narrative B002)



              Modification P00076 adjusts CLIN 4101AB as follows:

              From:

              HOURS: 87,549
              ESTIMATED COST: $4,519,786.91
              FIXED FEE: $242,260.10
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              TOTAL ESTIMATED COST + FIXED FEE: $4,762,047.01

              To:

              HOURS: 87,549
              ESTIMATED COST: $4,469,786.91
              FIXED FEE: $242,260.10
              TOTAL ESTIMATED COST + FIXED FEE: $4,712,047.01

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 87,549

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       4,712,047.01




              Period of Performance: 16 November 2015 through 14
              November 2016.

                                     (End of narrative F001)




 4102          CLSS



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)




 4102AA        MRAP ARMY - OR OP 3 MATL, TRVL, ODC
               ___________________________________                                     1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               17,948.76
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               17,948.76

               SERVICE REQUESTED: CLSS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M602LOGQ7    PRON AMD: 02            ACRN: CP
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               PSC: R706

              Cost No Fee: $253,668.66

                                     (End of narrative B001)



              Modification P00064 adjusts CLIN 4102AA as follows:

              From:

              COST NO FEE: $253,668.66

              To:

              COST NO FEE: $27,948.76

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $          17,948.76




              Period of performance: 16 November 2015 through 14
              November 2016



                                     (End of narrative F001)




 4102AB        MRAP AIR FORCE - OR OP 3 MATL, TRVL, ODC
               ________________________________________                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,415,248.57
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,415,248.57

               SERVICE REQUESTED: MRAP CLSS - Air Forc
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLSF1Q7    PRON AMD: 02    ACRN: CV
               PSC: R706
               CUSTOMER ORDER NO: F2QF205293GW01

              Cost No Fee: $3,096,400.30

                                     (End of narrative B001)
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

              Modification P00064 adjusts CLIN 4102AB as follows:

              From:

              COST NO FEE: $3,096,400.31

              To:

              COST NO FEE: $1,365,248.57

                                     (End of narrative B002)



              Modification P00076 adjusts CLIN 4102AB as follows:

              From:

              COST NO FEE: $1,365,248.57

              To:

              COST NO FEE: $1,415,248.57

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       1,415,248.57




              Period of Performance: 16 November 2015 through 14
              November 2016.

                                     (End of narrative F001)




 4201          SOCOM FY16 CLS



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.3; C.1.1.2; C.1.1.3
              C.1.6; C.1.7; C.1.8; C.1.9
              C.1.10; C.1.11; C.1.12; C.1.13
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT
              C.1.14; C.1.15

                                 (End of narrative A001)




 4201AA        SOCOM - OR OP 3 LABOR
               _____________________                                             1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                     21,848,663.75
                                                                                                   Fixed Fee   $__________________
                                                                                                                      1,051,186.68
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                     22,899,850.43

               SERVICE REQUESTED: SOCOM FY16 CLS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M6CLSS1Q7    PRON AMD: 03      ACRN: CS
               PSC: R706
               CUSTOMER ORDER NO: F2VUF05308GW03

              Estimated Cost: $6,420,567.36
              Fixed Fee: $299,049.20
              Total Cost Plus Fixed Fee: $6,719,616.56

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 21,828

                                 (End of narrative B001)



              Modification P00067 adjusts CLIN 4201AA as follows:

              From:

              Hours: 107,960
              Estimated Cost: $6,420,567.36
              Fixed Fee: $299,049.20
              Total Cost Plus Fixed Fee: $6,719,616.56

              To:

              Hours: 255,945
              Estimated Cost: $15,015,885.37
              Fixed Fee: $708,967.65
              Total Cost Plus Fixed Fee: $15,724,853.02

                                 (End of narrative B002)



              Modification P00072 adjusts CLIN 4201AA as follows:

              From:

              Hours: 255,945
              Estimated Cost: $15,015,885.37
              Fixed Fee: $708,967.65
              Total Estimated Cost + Fixed Fee: $15,724,853.02

              To:

              HOURS: 256,164
              Estimated Cost: $15,015,279.07
              Fixed Fee: $709,573.95
              Total Estimated Cost + Fixed Fee: $15,724,853.02
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 313 of 468

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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

                                     (End of narrative B003)



              Modification P00073 adjusts CLIN 4201AA as follows:

              From:

              Hours: 256,164
              Estimated Cost: $15,015,279.07
              Fixed Fee: $709,573.95
              Estimated Cost + Fixed Fee: $15,724,853.02

              To:

              Hours: 370,995
              Estimated Cost: 21,566,741.08
              Fixed Fee: $1,027,654.75
              Estimated Cost + Fixed Fee: $22,594,395.83

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 370,995

                                     (End of narrative B004)



              Modification P00074 adjusts CLIN 4201AA as follows:

              From:

              Hours: 370,995
              Estimated Cost: $21,566,741.08
              Fixed Fee: $1,027,654.75
              Estimated Cost + Fixed Fee: $22,594,395.83

              To:

              Hours: 379,491
              Estimated Cost: $21,848,663.75
              Fixed Fee: $1,051,186.68
              Estimated Cost + Fixed Fee: $22,899,850.43

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 379,491




                                     (End of narrative B005)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $      22,899,850.43
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT




              Period of performance: 16 November 2015 through 14
              November 2016

                                 (End of narrative F001)




 4202          SOCOM FY16 CLS



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                 (End of narrative A001)




 4202AA        SOCOM - OR OP 3 MATL, TRVL, ODC
               _______________________________                                   1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                      6,821,749.49
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                      6,821,749.49

               SERVICE REQUESTED: SOCOM FY16 CLS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M6CLSS1Q7    PRON AMD: 03      ACRN: CS
               PSC: R706
               CUSTOMER ORDER NO: F2VUF05308GW03

              Cost No Fee: $3,280,383.44

                                 (End of narrative B001)



              Modification P00067 adjusts CLIN 4202AA as follows:

              From:

              Cost No Fee: $3,280,383.44

              To:

              Cost No Fee: $12,275,146.98

                                 (End of narrative B002)



              Modification P00073 adjusts CLIN 4202AA as follows:

              From:

              Cost No Fee: $12,275,146.98

              To:
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                      SUPPLIES/SERVICES                                QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Cost No Fee: $7,127,204.09

                                     (End of narrative B003)



              Modification P00074 adjusts CLIN 4202AA as follows:

              From: $7,127,204.09

              Cost No Fee:

              To:

              Cost No Fee: $6,821,749.49

                                     (End of narrative B004)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       6,821,749.49




              Period of performance: 16 November 2015 through 01
              March 2016



                                     (End of narrative F001)




 4301          MRAP CAIMANS




 4301AA        FMS IRAQ - OR OP 3 LABOR
               ________________________                                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            3,802,768.56
                                                                                                         Fixed Fee   $__________________
                                                                                                                              188,408.59
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            3,991,177.15

               SERVICE REQUESTED: MRAP CAIMANS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: J50USE0147    PRON AMD: 11            ACRN: CC
               PSC: R706
               FMS COUNTRY/CASE: IQ/USE
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 316 of 468

                                                     Reference No. of Document Being Continued            Page 240 of   388
     CONTINUATION SHEET                                       W56HZV-12-C-0127
                                                                                                              REPRINT
                                                  PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY     UNIT       UNIT PRICE      AMOUNT
              Estimated Cost: $1,355,750.06
              Fixed Fee: $60,463.56
              Total Cost Plus Fixed Fee: $1,416,213.62

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 21,828

                                 (End of narrative B001)



              Modification P00065 adjusts CLIN 4301AA as follows:

              From:

              Hours: 21,828
              Estimated Cost: $1,355,750.06
              Fixed Fee: $60,463.56
              Total Cost Plus Fixed Fee: $1,416,213.62

              To:

              Hours: 68,018
              Estimated Cost: $4,547,545.26
              Fixed Fee: $188,408.59
              Total Cost Plus Fixed Fee: $4,735,953.85

                                 (End of narrative B002)



              Modification P00068 adjusts CLIN 4301AA as follows:

              From:

              Hours: 68,018
              Estimated Cost: $4,547,545.26
              Fixed Fee: $188,408.59
              Estimated Cost + Fixed Fee: $4,735,953.85

              To:

              Hours: 68,018
              Estimated Cost: $4,552,768.56
              Fixed Fee: $188,408.59
              Estimated Cost + Fixed Fee: $4,741,177.15

                                 (End of narrative B003)



              Modification P00076 adjusts CLIN 4301AA as follows:

              From:

              HOURS: 68,018
              ESTIMATED COST: $4,552,768.56
              FIXED FEE: $188,408.59
              TOTAL ESTIMATED COST + FIXED FEE: $4,741,177.15

              To:

              HOURS: 68,018
              ESTIMATED COST: $3,802,768.56
              FIXED FEE: $188,408.59
              TOTAL ESTIMATED COST + FIXED FEE: $3,991,177.15
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                      SUPPLIES/SERVICES                                QUANTITY      UNIT      UNIT PRICE        AMOUNT
              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 68,018

                                     (End of narrative B004)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       3,991,177.15




              Period of Performance: 16 November 2015 through 15
              February 2016

                                     (End of narrative F001)




 4302          MRAP CAIMANS




 4302AA        FMS IRAQ - OR OP 3 MATL, TRVL, ODC
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           11,758,122.59
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           11,758,122.59

               SERVICE REQUESTED: MRAP CAIMANS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: J50USE0147    PRON AMD: 12            ACRN: CC
               PSC: R706
               FMS COUNTRY/CASE: IQ/USE

              Cost No Fee: $2,370,607.56

                                     (End of narrative B001)



              Modification P00065 adjusts CLIN 4302AA as follows:

              From:

              Cost No Fee: $2,370,607.56

              To:

              Cost No Fee: $13,138,638.51
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
                                     (End of narrative B002)



              Modification P00068 adjusts CLIN 4302AA as follows:

              From:

              Cost No Fee: $13,138,638.51

              To:

              Cost No Fee: $13,133,415.21

                                     (End of narrative B003)



              Modification P00076 adjusts CLIN 4302AA as follows:

              From:

              COST NO FEE: $13,133,415.21

              To:

              COST NO FEE: $13,883,415.21

                                     (End of narrative B004)



              Modification P00083 adjusts CLIN 4302AA as follows:

              From:

              COST NO FEE: $13,883,415.21

              To:

              COST NO FEE: $11,758,122.59

                                     (End of narrative B005)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 16-NOV-2015
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $      11,758,122.59




              Period of Performance: 16 November 2015 through 15
              February 2016
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        CONTINUATION SHEET                                    W56HZV-12-C-0127
                                                                                                               REPRINT
                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                 (End of narrative F001)




 4401          FMS PAKISTAN CLSS




 4401AA        FMS PAKISTAN - OR OP 3 LABOR
               ____________________________                                      1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                      1,162,918.04
                                                                                                   Fixed Fee   $__________________
                                                                                                                         33,869.30
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                      1,196,787.34

               SERVICE REQUESTED: FMS PAKISTAN CLSS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: F166M2062T    PRON AMD: 01     ACRN: CU
               PSC: R706
               FMS COUNTRY/CASE: G9/UED

              ESTIMATED COST: $1,262,918.04
              FIXED FEE: $33,869.30
              TOTAL ESTIMATED COST + FIXED FEE: $1,296,787.34

              TOTAL AMOUNT OF HOURS FUNDED UNDER THIS CLIN: 10,725

                                 (End of narrative B001)



              Modification P00076 adjusts CLIN 4401AA as follows:

              From:

              HOURS: 10,725
              ESTIMATED COST: $1,262,918.04
              FIXED FEE: $33,869.30
              TOTAL ESTIMATED COST + FIXED FEE: $1,296,787.34

              To:

              HOURS: 10,725
              ESTIMATED COST: $1,162,918.04
              FIXED FEE: $33,869.30
              TOTAL ESTIMATED COST + FIXED FEE: $1,196,787.34

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 10,725

                                 (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination       ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JAN-2016
               End Date: 14-NOV-2016
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       1,196,787.34




              Period of Performance: 01 January 2016 through 14
              November 2016

                                     (End of narrative F001)




 4402          FMS PAKISTAN CLSS




 4402AA        FMS PAKISTAN - OR OP 3 MATL, TRVL, ODC
               ______________________________________                                  1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              883,763.59
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              883,763.59

               SERVICE REQUESTED: FMS PAKISTAN CLSS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: F166M2062T    PRON AMD: 01     ACRN: CU
               PSC: R706
               FMS COUNTRY/CASE: G9/UED

              COST NO FEE: $783,763.59

                                     (End of narrative B001)



              Modification P00076 adjusts CLIN 4402AA as follows:

              From:

              COST NO FEE: $783,763.59

              To:

              COST NO FEE: $883,763.59

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JAN-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                    001                   1              14-NOV-2016

                                 $         883,763.59




              Period of Performance: 01 Janurary 2016 through 14
              November 2016

                                     (End of narrative F001)




 4501          Iraqi Husky vehicle




 4501AA        PSEUDO FMS IRAQ (HUSKY) - OR OP 3 LABOR
               _______________________________________                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              596,425.73
                                                                                                         Fixed Fee   $__________________
                                                                                                                               26,436.05
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              622,861.78

               SERVICE REQUESTED: Iraqi Husky vehicle
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: T166M0012T    PRON AMD: 04    ACRN: CW
               PSC: R706

              Estimated Cost: $467,783.74
              Fixed Fee: $21,030.95
              Total Cost + Fixed Fee: $488,814.69

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 7,593

                                     (End of narrative B001)



              Modification P00071 adjusts CLIN 4501AA as follows:

              From:

              Hours: 7,593
              Estimated Cost: $467,783.74
              Fixed Fee: $21,030.95
              Estimated Cost + Fixed Fee: $488,814.69

              To:

              Hours: 9,087
              Estimated Cost: $475,800.05
              Fixed Fee: $25,167.67
              Estimated Cost + Fixed Fee: $500,967.72

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 9,087

                                     (End of narrative B002)



              Modification P00072 adjusts CLIN 4501AA as follows:
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              From:

              Hours: 9,087
              Estimated Cost: $475,800.05
              Fixed Fee: $25,167.67
              Estimated Cost + Fixed Fee: $500,967.72

              To:

              Hours: 9,545
              Estimated Cost: $596,425.73
              Fixed Fee: $26,436.05
              Estimated Cost + Fixed Fee:$622,861.78

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 9,545

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-APR-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         622,861.78




 4502          Iraqi Husky vehicle




 4502AA        PSEUDO FMS IRAQ (HUSKY) - OR OP 3 MATL, TRVL
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            4,367,832.22
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            4,367,832.22

               SERVICE REQUESTED: Iraqi Husky vehicle
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: T166M0012T    PRON AMD: 04    ACRN: CW
               PSC: R706

              Cost No Fee: $2,551,879.31

                                     (End of narrative B001)



              Modification P00071 adjusts CLIN 4502AA as follows:

              From:
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Cost No Fee: $2,551,879.31

              To:

              Cost No Fee: $2,539,726.28

                                     (End of narrative B002)



              Modification P00073 adjusts CLIN 4502AA as follows:

              From:

              Cost No Fee: $2,539,726.28

              To:

              Cost No Fee: $4,367,832.22

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-APR-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       4,367,832.22




 4601          FMS Egyptian Efforts



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1.; C.1.1.2.2.7.; C.1.1.2.2.7.1.; C.1.1.2.2.7.2.;
              C.1.1.2.2.7.3.; C.1.1.2.2.7.4.; C.1.1.2.2.7.5.;
              C.1.1.3.2.1.; C.1.1.3.6.; C.1.1.5.; C.1.5.7.; C.1.6.;
              C.1.8.1.2.; C.1.8.1.4.; C.1.8.1.5.; C.1.8.2.;
              C.1.8.6.5.; C.1.9.1.7.; C.1.9.7.1.; C.1.9.8.3.;
              C.1.10.; C.1.11., C.1.12.;

                                     (End of narrative A001)




 4601AA        FMS EGYPT - OR OP 3 LABOR
               _________________________                                               1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              347,561.60
                                                                                                         Fixed Fee   $__________________
                                                                                                                               27,124.95
                                                                                                     Not to Exceed
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 324 of 468

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     CONTINUATION SHEET                                       W56HZV-12-C-0127
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                                                  PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY     UNIT       UNIT PRICE        AMOUNT
                                                                                                   (Funding)   $__________________
                                                                                                                        374,686.55

               SERVICE REQUESTED: FMS Egyptian Efforts
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: J568B786EH    PRON AMD: 03    ACRN: CZ
               AMS CD: 9XXXXX
               PSC: R706
               FMS COUNTRY/CASE: EG/VGQ

              Estimated Cost: $520,710.58
              Fixed Fee: $28,975.97
              Estimated Cost + Fixed Fee: $549,686.55

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 10,461

                                 (End of narrative B001)



              Modification P00076 adjusts CLIN 4601AA as follows:

              From:

              HOURS: 10,461
              ESTIMATED COST: $520,710.58
              FIXED FEE: $28,975.97
              TOTAL ESTIMATED COST + FIXED FEE: $549,686.55

              To:

              HOURS: 10,461
              ESTIMATED COST: $390,710.58
              FIXED FEE: $28,975.97
              TOTAL ESTIMATED COST + FIXED FEE: $419,686.55

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 10,461

                                 (End of narrative B002)



              Modification P00081 adjusts CLIN 4601AA as follows:

              From:

              HOURS: 10,461
              ESTIMATED COST: $390,710.58
              FIXED FEE: $28,975.97
              ESTIMATED COST + FIXED FEE: $419,686.55

              To:

              HOURS: 9,793
              ESTIMATED COST: $347,561.60
              FIXED FEE: $27,124.94
              ESTIMATED COST + FIXED FEE: $374,686.35

                                 (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination       ACCEPTANCE: Destination
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JUN-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $         374,686.55




              Period of Performance: 01 June 2016 through 14
              November 2016

                                     (End of narrative F001)




 4602          FMS Egyptian Efforts



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1.; C.1.1.2.2.7.; C.1.1.2.2.7.1.; C.1.1.2.2.7.2.;
              C.1.1.2.2.7.3.; C.1.1.2.2.7.4.; C.1.1.2.2.7.5.;
              C.1.1.3.2.1.; C.1.1.3.6.; C.1.1.5.; C.1.5.7.; C.1.6.;
              C.1.8.1.2.; C.1.8.1.4.; C.1.8.1.5.; C.1.8.2.;
              C.1.8.6.5.; C.1.9.1.7.; C.1.9.7.1.; C.1.9.8.3.;
              C.1.10.; C.1.11., C.1.12.;

                                     (End of narrative A001)




 4602AA        FMS EGYPT - OR OP 3 MATL, TRVL, ODC
               ___________________________________                                     1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,205,694.40
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,205,694.40

               SERVICE REQUESTED: FMS Egyptian Efforts
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: J568B786EH    PRON AMD: 03    ACRN: CZ
               AMS CD: 9XXXXX
               PSC: R706
               FMS COUNTRY/CASE: EG/VGQ

              Cost No Fee: $1,380,694.40

                                     (End of narrative B001)



              Modification P00076 adjusts CLIN 4602AA as follows:

              From:

              COST NO FEE: $1,380,694.40
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

              To:

              COST NO FEE: $1,510,694.40

                                     (End of narrative B002)



              Modification P00081 adjusts CLIN 4602AA as follows:

              From:

              COST NO FEE: $1,510,694.40

              To:

              COST NO FEE: $1,205,694.40

                                     (End of narrative B003)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 01-JUN-2016
               End Date: 14-NOV-2016

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-NOV-2016

                                 $       1,205,694.40




              Period of Performance: 01 June 2016 through 14
              November 2016

                                     (End of narrative F001)




 5001          CLS Support of OMA 1



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.1; C.1.1.1.4; C.1.1.1.5
              C.1.1.5.6; C.1.1.2; C.1.1.3
              C.1.6; C.1.7; C.1.8; C.1.9
              C.1.10; C.1.11; C.1.12
              C.1.13; C.1.14; C.1.15

                                     (End of narrative A001)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 5001AA        RCV ARMY - OR OP 4 LABOR
               ________________________                                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           12,765,808.51
                                                                                                         Fixed Fee   $__________________
                                                                                                                              611,039.84
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           13,376,848.35

               SERVICE REQUESTED: CLS Support of OMA 1
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P176A5042T    PRON AMD: 04    ACRN: DF
               PSC: R706

              ESTIMATED COST: $6,867,369.33
              FIXED FEE: $315,274.67
              ESTIMATED COST + FIXED FEE: $7,182,644.00

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 113,002

                                     (End of narrative B001)



              Modification P00081 adjusts CLIN 5001AA as follows:

              From:

              HOURS: 113,002
              ESTIMATED COST: $6,867,369.33
              FIXED FEE: $315,274.67
              ESTIMATED COST + FIXED FEE: $7,182,644.00

              To:

              HOURS: 219,012
              ESTIMATED COST: $12,765,808.51
              FIXED FEE: $611,039.84
              ESTIMATED COST + FIXED FEE: $13,376,848.36



                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $      13,376,848.35




              Period of performance: 15 November 2016 through 30
              April 2017
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                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

                                     (End of narrative F001)



              Modification P00081 adjusts CLIN 5001AA as follows:

              From:

              Period of Performance: 15 November 2016 through 30
              April 2017

              To:

              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F002)




 5001AB        RCV ROLLERS - OR OP 4 LABOR
               ___________________________                                             1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              365,169.03
                                                                                                         Fixed Fee   $__________________
                                                                                                                               21,073.83
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              386,242.86

               SERVICE REQUESTED: RCV ROLLERS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P176A5062T    PRON AMD: 01            ACRN: DG
               PSC: R706

              ESTIMATED COST: $365,169.03
              FIXED FEE: $21,073.83
              ESTIMATED COST + FIXED FEE: $386,242.86

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 7,554

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         386,242.86




              Period of Performance: 15 November 2016 through 14
              September 2017
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                     (End of narrative F001)




 5001AE        RCV POR - OR OP 4 LABOR
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           15,782,026.84
                                                                                                         Fixed Fee   $__________________
                                                                                                                            1,060,986.09
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           16,843,012.93

               SERVICE REQUESTED: RCV POR
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P176M0032T    PRON AMD: 01            ACRN: DH
               PSC: R706

              ESTIMATED COST: $15,782,026.84
              FIXED FEE: $1,060,986.09
              ESTIMATED COST + FIXED FEE: $16,843,012.93

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 380,282

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $      16,843,012.93




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




 5001AG        RCV CEH - OR OP 4 LABOR
               _______________________                                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               41,234.80
                                                                                                         Fixed Fee   $__________________
                                                                                                                                2,950.34
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               44,185.14

               SERVICE REQUESTED: RCV CEH
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 756CEH0775    PRON AMD: 02            ACRN: DJ
               PSC: R706
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

              ESTIMATED COST: $41,234.80
              FIXED FEE: $2,950.34
              ESTIMATED COST + FIXED FEE: $44,185.14

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,058

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $          44,185.14




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




 5001AH        RCV FORSCOM - OR OP 4 LABOR
               ___________________________                                             1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,284,010.38
                                                                                                         Fixed Fee   $__________________
                                                                                                                               92,665.77
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,376,676.15

               SERVICE REQUESTED: CLS support FORSCOM
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M7CLSFCQ7    PRON AMD: 01    ACRN: DZ
               PSC: R706

              ESTIMATED COST: $1,284,010.38
              FIXED FEE: $92,665.77
              ESTIMATED COST + FIXED FEE: $1,376,676.15

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 33,214

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               Deliveries or Performance
               _________________________
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               Period of Performance
               Start Date: 19-DEC-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       1,376,676.15




              Period of Performance: 19 December 2016 through 14
              September 2017

                                     (End of narrative F001)




 5001AJ        RCV CEHC - OR OP 4 LABOR
               ________________________                                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              230,803.82
                                                                                                         Fixed Fee   $__________________
                                                                                                                               16,821.02
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              247,624.84

               SERVICE REQUESTED: FY 17 CLS support PM
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M7CLSCEQ7    PRON AMD: 02    ACRN: DK
               PSC: R706

              ESTIMATED COST: $49,053.81
              FIXED FEE: $3,575.44
              ESTIMATED COST + FIXED FEE: $52,629.25

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 1,282

                                     (End of narrative B001)



              Modification P00080 adjusts CLIN 5001AJ as follows:

              From:

              HOURS: 1,282
              ESTIMATED COST: $49,053.81
              FIXED FEE: $3,575.44
              ESTIMATED COST + FIXED FEE: $52,629.25

              To:

              HOURS: 6,030
              ESTIMATED COST: $230,803.82
              FIXED FEE: $16,821.02
              ESTIMATED COST + FIXED FEE: $247,624.84

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         247,624.84




              Period of Performance: 15 November 2016 through 15
              January 2017

                                     (End of narrative F001)



              Modifciation P00080 adjusts the Period of Performance
              under CLIN 5001AJ as follows:

              From:

              15 November 2016 through 15 January 2017

              To:

              15 November 2016 through 14 September 2017

                                     (End of narrative F002)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 5001AK        RCV ARCENT KUWAIT (ONS-16-21057) - OR OP 4 L
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,327,626.16
                                                                                                         Fixed Fee   $__________________
                                                                                                                               64,435.45
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,392,061.61

               SERVICE REQUESTED: CLS support of ONS 2
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M7CLS57Q7    PRON AMD: 02    ACRN: DL
               PSC: R706

              ESTIMATED COST: $307,832.51
              FIXED FEE: $14,940.45
              ESTIMATED COST + FIXED FEE: $322,772.96
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 5,355

                                     (End of narrative B001)



              Modification P00079 adjusts CLIN 5001AK as follows:

              From:

              ESTIMATED COST: $307,832.51
              FIXED FEE: $14,940.45
              ESTIMATED COST + FIXED FEE: $322,772.96
              HOURS: 5,355

              To:

              ESTIMATED COST: $1,327,626.16
              FIXED FEE: $64,435.45
              ESTIMATED COST + FIXED FEE: $1,392,061.61
              HOURS: 23,096

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 23,096

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       1,392,061.61




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1.; C.1.1.1.1.; C.1.1.2.; C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

 5001AL        RCV ARCENT EGYPT (ONS-15-20984) - OR OP 4 LA
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              149,821.66
                                                                                                         Fixed Fee   $__________________
                                                                                                                                6,914.85
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              156,736.51

               SERVICE REQUESTED: EGYPT ONS 15-20984
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: P176A5052T    PRON AMD: 01    ACRN: DM
               PSC: R706

              ESTIMATED COST: $149,821.36
              FIXED FEE: $6,914.85
              ESTIMATED COST + FIXED FEE: $156,736.51

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 2,479

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         156,736.51




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1; C.1.1.1.1.; C.1.1.2.; C.1.1.3.; C.1.4; C.1.5.;
              C.1.6.; C.1.7.; C.1.8.; C.1.9.; C.1.10.; C.1.11.;
              C.1.12.; C.1.13.; C.1.14.; C.1.15.

                                     (End of narrative A001)




 5001AM        RCV ARCENT IRAQ (ONS-16-21191) - OR OP 4 LAB
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            2,182,511.67
                                                                                                         Fixed Fee   $__________________
                                                                                                                               96,138.27
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            2,278,649.94
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 335 of 468

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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

               SERVICE REQUESTED: CLS support of ONS 2
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M7CLS19Q7    PRON AMD: 02    ACRN: DN
               PSC: R706

              ESTIMATED COST: $533,255.45
              FIXED FEE: $23,489.57
              ESTIMATED COST + FIXED FEE: $556,745.02

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 8,420

                                     (End of narrative B001)



              Modification P00079 adjusts CLIN 5001AM as follows:

              From:

              ESTIMATED COST: $533,255.45
              FIXED FEE: $23,489.57
              ESTIMATED COST + FIXED FEE: $556,745.02
              HOURS: 8,420

              To:

              ESTIMATED COST: $2,182,511.67
              FIXED FEE: $96,138.27
              ESTIMATED COST + FIXED FEE: $2,278,649.94
              HOURS: 34,459

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 34,459

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       2,278,649.94




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                 (End of narrative A001)




 5001AN        RCV ARCENT KUWAIT (ONS-16-21504) - OR OP 4 L
               ____________________________________________                      1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                        226,878.71
                                                                                                   Fixed Fee   $__________________
                                                                                                                         10,704.25
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                        237,582.96

               SERVICE REQUESTED: CLS support of ONS 2
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M7CLS04Q7    PRON AMD: 05    ACRN: DP
               PSC: R706

              ESTIMATED COST: $56,615.02
              FIXED FEE: $2,671.12
              ESTIMATED COST + FIXED FEE: $59,286.14

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 958

                                 (End of narrative B001)



              Modification P00079 adjusts CLIN 5001AN as follows:

              From:

              ESTIMATED COST: $56,615.02
              FIXED FEE: $2,671.12
              ESTIMATED COST + FIXED FEE: $59,286.14
              HOURS: 958

              To:

              ESTIMATED COST: $226,878.71
              FIXED FEE: $10,704.25
              ESTIMATED COST + FIXED FEE: $237,582.96
              HOURS: 3,837

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 3,837

                                 (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination       ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         237,582.96




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 5001AP        RCV ARCENT KUWAIT (ONS-16-21577) OR OP 4 LAB
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              812,917.13
                                                                                                         Fixed Fee   $__________________
                                                                                                                               35,889.45
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              848,806.58

               SERVICE REQUESTED: CLS support of ONS 2
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M7CLS77Q7    PRON AMD: 03    ACRN: DQ
               PSC: R706

              ESTIMATED COST: $200,707.57
              FIXED FEE: $8,861.03
              ESTIMATED COST + FIXED FEE: $209,568.60

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 3,176

                                     (End of narrative B001)



              Modification P00079 adjusts CLIN 5001AP as follows:

              From:

              ESTIMATED COST: $200,707.57
              FIXED FEE: $8,861.03
              ESTIMATED COST + FIXED FEE: $209,568.60
              HOURS: 3,176

              To:

              ESTIMATED COST: $812,917.13
              FIXED FEE: $35,889.45
              ESTIMATED COST + FIXED FEE: $848,806.58
              HOURS: 12,864
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 12,864

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         848,806.58




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 5001AQ        RCV ARCENT KUWAIT (ONS-16-21585) - OR OP 4 L
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              628,731.81
                                                                                                         Fixed Fee   $__________________
                                                                                                                               26,907.08
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              655,638.89

               SERVICE REQUESTED: KUWAIT ONS-16-21585
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M7CLS85Q7    PRON AMD: 01    ACRN: DR
               PSC: R706

              ESTIMATED COST: $628,731.81
              FIXED FEE: $26,907.08
              ESTIMATED COST + FIXED FEE: $655,638.89

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 9,645

                                     (End of narrative B001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 31-AUG-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                31-AUG-2017

                                 $         655,638.89




              Period of Performance: 15 November 2016 through 31
              August 2017

                                     (End of narrative F001)




 5002          CLS Support of OMA 1



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                     (End of narrative A001)




 5002AA        RCV ARMY - OR OP 4 MATL, TRVL, ODC
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,053,706.23
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,053,706.23

               SERVICE REQUESTED: CLS Support of OMA 1
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P176A5042T    PRON AMD: 04    ACRN: DF
               PSC: R706

              COST NO FEE: $417,356.00

                                     (End of narrative B001)



              Modification P00081 adjusts CLIN 5002AA as follows:

              From:

              COST NO FEE: $417,356.00
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 340 of 468

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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              To:

              COST NO FEE: $1,053,706.23

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       1,053,706.23




              Period of performance: 15 November 2016 through 30
              April 2017

                                     (End of narrative F001)



              Modification P00081 adjusts CLIN 5002AA as follows:

              From:

              Period of Performance: 15 November 2016 through 30
              April 2017

              To:

              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F002)




 5002AB        RCV ROLLERS - OR OP 4 MATL, TRVL, ODC
               _____________________________________                                   1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              876,000.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              876,000.00

               SERVICE REQUESTED: RCV ROLLERS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P176A5062T    PRON AMD: 01            ACRN: DG
               PSC: R706

              COST NO FEE: $876,000.00

                                     (End of narrative B001)
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         876,000.00




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




 5002AE        RCV POR - OR OP 4 MATL, TRVL, ODC
               _________________________________                                       1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            6,959,717.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            6,959,717.00

               SERVICE REQUESTED: RCV POR
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P176M0032T    PRON AMD: 01            ACRN: DH
               PSC: R706

              COST NO FEE: $6,959,717.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       6,959,717.00




              Period of Performance: 15 November 2016 through 14
              September 2017
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

                                     (End of narrative F001)




 5002AG        RCV CEH - OR OP 4 MATL, TRVL, ODC
               _________________________________                                       1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               42,050.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               42,050.00

               SERVICE REQUESTED: RCV CEH
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 756CEH0775    PRON AMD: 02            ACRN: DJ
               PSC: R706

              COST NO FEE: $42,050.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $          42,050.00




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




 5002AH        RCV FORSCOM - OR OP 4 MATL, TRVL, ODC
               _____________________________________                                   1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              498,380.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              498,380.00

               SERVICE REQUESTED: CLS support FORSCOM
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M7CLSFCQ7    PRON AMD: 01    ACRN: DZ
               PSC: R706

              Cost No Fee: $498,380.00

                                     (End of narrative B001)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 19-DEC-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         498,380.00




              Period of Performance: 19 December 2016 through 14
              September 2017

                                     (End of narrative F001)




 5002AJ        RCV CEHC - OR OP 4 MATL, TRVL, ODC
               __________________________________                                      1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              105,858.65
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              105,858.65

               SERVICE REQUESTED: FY 17 CLS support PM
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M7CLSCEQ7    PRON AMD: 02    ACRN: DK
               PSC: R706

              COST NO FEE: $23,370.75

                                     (End of narrative B001)



              Modification P00080 adjusts CLIN 5002AJ as follows:

              From:

              COST NO FEE: $23,370.75

              To:

              COST NO FEE: $105,858.65

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         105,858.65




              Modification P00080 adjusts the Period of Performance
              under CLIN 5002AJ as follows:

              From:

              15 November 2016 through 15 January 2017

              To:

              15 November 2016 through 14 September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 5002AK        RCV ARCENT KUWAIT (ONS-16-21057) - OR OP 4 M
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              908,500.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              908,500.00

               SERVICE REQUESTED: CLS support of ONS 2
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M7CLS57Q7    PRON AMD: 02    ACRN: DL
               PSC: R706

              COST NO FEE: $210,651.04

                                     (End of narrative B001)



              Modification P00079 adjusts CLIN 5002AK as follows:

              From:

              COST NO FEE: $210,651.04

              To:

              COST NO FEE: $908,500.00
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         908,500.00




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1.; C.1.1.1.1.; C.1.1.2.; C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 5002AL        RCV ARCENT EGYPT (ONS-15-20984) OR OP 4 MATL
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              103,300.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              103,300.00

               SERVICE REQUESTED: EGYPT ONS-15-20984
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: P176A5052T    PRON AMD: 01    ACRN: DM
               PSC: R706

              COST NO FEE: $103,300.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               Deliveries or Performance
               _________________________
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                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         103,300.00




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1; C.1.1.1.1.; C.1.1.2.; C.1.1.3.; C.1.4; C.1.5.;
              C.1.6.; C.1.7.; C.1.8.; C.1.9.; C.1.10.; C.1.11.;
              C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 5002AM        RCV ARCENT IRAQ (ONS-16-21191) - OR OP 4 MAT
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              824,500.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              824,500.00

               SERVICE REQUESTED: CLS support of ONS 2
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M7CLS19Q7    PRON AMD: 02    ACRN: DN
               PSC: R706

              COST NO FEE: $201,450.98

                                     (End of narrative B001)



              Modification P00079 adjusts CLIN 5002AM as follows:

              From:

              COST NO FEE: $201,450.98

              To:

              COST NO FEE: $824,500.00

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         824,500.00




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 5002AN        RCV ARCENT KUWAIT (ONS-16-21504) - OR OP 4 M
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              427,400.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              427,400.00

               SERVICE REQUESTED: CLS support of ONS 2
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M7CLS04Q7    PRON AMD: 05    ACRN: DP
               PSC: R706

              COST NO FEE: $106,652.85

                                     (End of narrative B001)



              Modification P00079 adjusts CLIN 5002AN as follows:

              From:

              COST NO FEE: $106,652.85

              To:

              COST NO FEE: $427,400.00

                                     (End of narrative B002)
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         427,400.00




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 5002AP        RCV ARCENT KUWAIT (ONS-16-21577) - OR OP 4 M
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              878,000.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              878,000.00

               SERVICE REQUESTED: CLS support of ONS 2
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M7CLS77Q7    PRON AMD: 03    ACRN: DQ
               PSC: R706

              COST NO FEE: $216,776.40

                                     (End of narrative B001)



              Modification P00079 adjusts CLIN 5002AP as follows:

              From:

              COST NO FEE: $216,776.40

              To:

              COST NO FEE: $878,000.00
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Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         878,000.00




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1.; C.1.1.1.1.; C.1.1.2.;
              C.1.1.2.2.6.;
              C.1.1.2.2.6.1.; C.1.1.3.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)




 5002AQ        RCV ARCENT KUWAIT (ONS-16-21585) - OR OP 4 M
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              618,314.65
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              618,314.65

               SERVICE REQUESTED: KUWAIT ONS-16-21585
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M7CLS85Q7    PRON AMD: 01    ACRN: DR
               PSC: R706

              ESTIMATED COST: $618,314.65

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
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                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               Start Date: 15-NOV-2016
               End Date: 31-AUG-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                31-AUG-2017

                                 $         618,314.65




              Period of Performance: 15 November 2016 through 31
              August 2017

                                     (End of narrative F001)




 5101          MRAP ARMY



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.2; C.1.1.2; C.1.1.3
              C.1.6; C.1.8; C.1.9; C.1.10 C.1.11; C.1.12; C.1.14

                                     (End of narrative A002)




 5101AA        MRAP ARMY - OR OP 4 LABOR
               _________________________                                               1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            2,483,576.87
                                                                                                         Fixed Fee   $__________________
                                                                                                                              106,443.92
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            2,590,020.79

               SERVICE REQUESTED: MRAP ARMY
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M7004PMQ7    PRON AMD: 03            ACRN: DS
               PSC: R706

              ESTIMATED COST: $2,483,576.87
              FIXED FEE: $106,443.92
              ESTIMATED COST + FIXED FEE: $2,590,020.79

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 38,152

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 351 of 468

                                                           Reference No. of Document Being Continued             Page 275 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       2,590,020.79




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F002)




 5101AB        MRAP AIR FORCE - OR OP 4 LABOR
               ______________________________                                          1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            3,238,366.48
                                                                                                         Fixed Fee   $__________________
                                                                                                                              174,499.19
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            3,412,865.67

               SERVICE REQUESTED: MRAP AIR FORCE
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M7CLSF1Q7    PRON AMD: 02            ACRN: DT
               PSC: R706
               CUSTOMER ORDER NO: F2QF206285GW01

              ESTIMATED COST: $3,238,366.48
              FIXED FEE: $174,499.19
              ESTIMATED COST + FIXED FEE: $3,412,865.67

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 62,545

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       3,412,865.67




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 352 of 468

                                                           Reference No. of Document Being Continued             Page 276 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT




 5102          MRAP ARMY




 5102AA        MRAP ARMY - OR OP 4 MATL, TRVL, ODC
               ___________________________________                                     1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              511,076.98
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              511,076.98

               SERVICE REQUESTED: MRAP ARMY
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M7004PMQ7    PRON AMD: 03            ACRN: DS
               PSC: R706

              COST NO FEE: $511,076.98

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         511,076.98




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F002)




 5102AB        MRAP AIR FORCE - OR OP 4 MATL, TRVL, ODC
               ________________________________________                                1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,221,445.31
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,221,445.31

               SERVICE REQUESTED: MRAP AIR FORCE
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M7CLSF1Q7    PRON AMD: 02            ACRN: DT
               PSC: R706
               CUSTOMER ORDER NO: F2QF206285GW01

              COST NO FEE: $1,221,445.31
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 353 of 468

                                                           Reference No. of Document Being Continued             Page 277 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       1,221,445.31




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




 5201          SOCOM FY17 CLSS



              SOCOM LABOR
              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.1.1.3; C.1.1.2; C.1.1.3
              C.1.6; C.1.7; C.1.8; C.1.9
              C.1.10; C.1.11; C.1.12; C.1.13
              C.1.14; C.1.15

                                     (End of narrative A001)




 5201AA        SOCOM - OR OP 4 LABOR
               _____________________                                                   1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                           16,302,496.84
                                                                                                         Fixed Fee   $__________________
                                                                                                                              758,587.13
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                           17,061,083.97

               SERVICE REQUESTED: SOCOM FY17 CLSS
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: 2M7CLSS2Q7    PRON AMD: 02            ACRN: DU
               PSC: R706
               CUSTOMER ORDER NO: F2VUF06293GW05

              ESTIMATED COST: $9,127,376.44
              FIXED FEE: $415,238.80
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 354 of 468

                                                           Reference No. of Document Being Continued            Page 278 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                    REPRINT
                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
              ESTIMATED COST + FIXED FEE: $9,542,615.24

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 148,832

                                     (End of narrative B001)



              Modification P00082 adjusts CLIN 5201AA as follows:

              From:

              HOURS: 148,832
              ESTIMATED COST: $9,127,376.44
              FIXED FEE: $415,238.80
              ESIMATED COST + FIXED FEE: $9,542,615.24

              To:

              HOURS: 271,896
              ESTIMATED COST: $16,302,496.84
              FIXED FEE: $758,587.13
              ESTIMATED COST + FIXED FEE: $17,061,083.97

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 271,896

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 09-JUL-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                09-JUL-2017

                                 $      17,061,083.97




              Period of Performance: 15 November 2016 through 15
              March 2017




                                     (End of narrative F001)



              Modification P00082 adjusts CLIN 5201AA as follows:

              From:

              Period of Performance: 15 November 2016 through 15
              March 2017

              To:
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                                                     Reference No. of Document Being Continued             Page 279 of   388
        CONTINUATION SHEET                                    W56HZV-12-C-0127
                                                                                                               REPRINT
                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Period of Performance: 15 November 2016 through 09
              July 2017

                                 (End of narrative F002)




 5202          SOCOM FY17 CLSS



              Services performed under
              this CLIN shall be in accordance
              with the following Performance
              Work Statement references:
              C.1.4.3; C.1.9.5

                                 (End of narrative A001)




 5202AA        SOCOM - OR OP 4 MATL, TRVL, ODC
               _______________________________                                   1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                      6,169,870.81
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                      6,169,870.81

               SERVICE REQUESTED: SOCOM FY17 CLSS
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: 2M7CLSS2Q7    PRON AMD: 02      ACRN: DU
               PSC: R706
               CUSTOMER ORDER NO: F2VUF06293GW05

              COST NO FEE: $3,607,384.76

                                 (End of narrative B001)



              Modification P00082 adjusts CLIN 5202AA as follows:

              From:

              COST NO FEE: $3,607,384.76

              To:

              COST NO FEE: $6,169,870.81

                                 (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination       ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 09-JUL-2017

               DLVR SCH                            PERF COMPL
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 356 of 468

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        CONTINUATION SHEET                                          W56HZV-12-C-0127
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                09-JUL-2017

                                 $       6,169,870.81




              Period of performance: 15 November 2016 through 14
              September 2017



                                     (End of narrative F001)



              Modification P00082 adjusts CLIN 5202AA as follows:

              From:

              Period of Performance: 15 November 2016 through 15
              March 2017

              To:

              Period of Performance: 15 November 2016 through 09
              July 2017

                                     (End of narrative F002)




 5300          DATA ITEM
               _________




              The contractor will prepare and deliver data
              submissions in accordance with the requirements,
              quantities, and schedules set forth in the Contract
              Data Requirements List (DD Form 1423, Sequence
              Numbers A001 through A035

              A001 Weekly Parts Status Report
              A002 Weekly Systems Activity Report (WSAR)
              A003 Weekly Deployed Personnel Report
              A004 Demand History Report/ASL Managment Metrics
              A005 GFE Status Report
              A006 Contractor's Monthly Expenditure Report
              A007 Monthly Contractor Performance Report
              A008 Daily Reports on Operational Availability
              A009 Request for Price
              A010 CLS Data Transfer to TACOM
              A011 Army Contractor Manpower Reporting System
              (ACMPRS) Compliance
              A012 Reserved
              A013 Open Tasks Status Report
              A014 Design Management Tracking
              A015 Management Plan
              A016 Web Based Automated Data Tracking System
              A017 Quality Control Program Plan
              A018 Monthly Contractor Census Reporting
              A019 Synchronized Pre-deployment & Operational
              Tracker
              A020 Repair Cycle Time
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 357 of 468

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        CONTINUATION SHEET                                    W56HZV-12-C-0127
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT
              A021 Purchase Order Wait Time (POWT) Report
              A022 Quality Assurance Surveillance Plan
              A023 MRAP FOV OPSEC Plan Update
              A024 Quality Assurance Management Meetings
              A025 Daily Deployed Personnel Report
              A026 Annual OPSEC Training
              A027 Value Engineering Process and Submission
              A028 Drug Free Work Place
              A029 Reserved
              A030 MRAP AFG BDAR Sustainment Report
              A031 MRAP Monthly Cost Report
              A032 Welding Procedure Specifications (WPS) and
              Welding Qualification Records
              A033 Program Protection Plan Certification
              A034 Meeting Minutes
              A035 HAZMAT Plan
              A036 Logistics Management Information (LM) Data
              Products

                                 (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination       ACCEPTANCE: Destination




 5301          IQ-USE-001 CONTRACTO



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1, C.1.1.1.7, C.1.1.2.2.4
              C.1.1.3.2.3, C.1.1.4, C.1.4.5
              C.1.5.6, C.1.6, C.1.8.1.2
              C.1.8.1.4, C.1.8.1.5, C.1.8.2 C.1.10, C.1.11, C.1.12,
              C.12.1.1
              C.12.1.1.2, C.12.1.1.2.1, C.12.1.1.2.2
              C.14.6, C.14.6.1, C.14.6.2, C.14.6.3

                                 (End of narrative A001)




 5301AA        FMS IRAQ - OR OP 4 LABOR
               ________________________                                          1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                      3,670,278.64
                                                                                                   Fixed Fee   $__________________
                                                                                                                        145,968.77
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                      3,816,247.41

               SERVICE REQUESTED: IQ-USE-001 CONTRACTO
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: J558C546EH    PRON AMD: 02    ACRN: DV
               PSC: R706
               FMS COUNTRY/CASE: IQ/USE

              ESTIMATED COST: $1,496,194.19
              FIXED FEE: $57,292.83
              ESTIMATED COST + FIXED FEE: $1,553,487.02
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 358 of 468

                                                           Reference No. of Document Being Continued            Page 282 of   388
     CONTINUATION SHEET                                             W56HZV-12-C-0127
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT
              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 20,534

                                     (End of narrative B001)



              Modification P00083 adjusts CLIN 5301AA as follows:

              From:

              HOURS: 20,534
              ESTIMATED COST: $1,496,194.19
              FIXED FEE: $57,292.83
              ESTIMATED COST + FIXED FEE: $1,553,487.02

              To:

              HOURS: 52,318
              ESTIMATED COST: $3,670,278.65
              FIXED FEE: $145,968.77
              ESTIMATED COST + FIXED FEE: $3,816,247.41

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 52,318

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       3,816,247.41




              Period of Performance: 15 November 2016 through 30
              November 2016

                                     (End of narrative F001)



              Modification P00078 adjusts CLIN 5301AA as follows:

              From:

              Period of Performance: 15 November 2016 through 30
              November 2016

              To:

              Period of Performance: 15 November 2016 through 28
              February 2017

                                     (End of narrative F002)
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                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT



              Modification P00083 adjusts CLIN 5301AA as follows:

              From:

              Period of Performance: 15 November 2016 through 28
              February 2017

              To:

              Period of Performance: 15 November 2016 through 14
              September 2017

                                 (End of narrative F003)




 5302          IQ-USE-001 CONTRACTO



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1, C.1.1.1.7, C.1.1.2.2.4
              C.1.1.3.2.3, C.1.1.4, C.1.4.5
              C.1.5.6, C.1.6, C.1.8.1.2
              C.1.8.1.4, C.1.8.1.5, C.1.8.2 C.1.10, C.1.11, C.1.12,
              C.12.1.1
              C.12.1.1.2, C.12.1.1.2.1, C.12.1.1.2.2
              C.14.6, C.14.6.1, C.14.6.2, C.14.6.3

                                 (End of narrative A001)




 5302AA        FMS IRAQ - OR OP 4 MATL, TRVL, ODC
               __________________________________                                1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                     10,449,059.68
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                     10,449,059.68

               SERVICE REQUESTED: IQ-USE-001 CONTRACTO
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: J558C546EH    PRON AMD: 02    ACRN: DV
               PSC: R706
               FMS COUNTRY/CASE: IQ/USE

              COST NO FEE: $3,466,191.81

                                 (End of narrative B001)



              Modification P00083 adjusts CLIN 5302AA as follows:

              From:

              COST NO FEE: $3,466,191.81

              To:

              COST NO FEE: $10,449,059.68
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                    REPRINT
                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2015
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $      10,449,059.68




              Period of Performance: 15 November 2016 through 30
              November 2016

                                     (End of narrative F001)



              Modification P00078 adjusts CLIN 5302AA as follows:

              From:

              Period of Performance: 15 November 2016 through 30
              November 2016

              To:

              Period of Performance: 15 November 2016 through 28
              February 2017

                                     (End of narrative F002)



              Modification P00083 adjusts CLIN 5302AA as follows:

              From:

              Period of Performance: 15 November 2016 through 28
              February 2017

              To:

              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F003)




 5401          PSEUDO FMS PAKISTAN (BUFFALO)
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 361 of 468

                                                           Reference No. of Document Being Continued             Page 285 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1; C.1.2; C.1.3; C.1.4.;
              C.1.5.;
              C.1.6; C.1.7; C.1.8; C.1.9;
              C.1.10; C.1.11; C.1.12; C.1.13;
              C.1.14; C.1.15

                                     (End of narrative A001)




 5401AA        PSEUDO FMS PAKISTAN (BUFFALO) - OR OP 4 LABO
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,384,206.86
                                                                                                         Fixed Fee   $__________________
                                                                                                                               32,401.01
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,416,607.87

               SERVICE REQUESTED: PSEUDO FMS PAKISTAN (BUFFALO)
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: J568C184EH    PRON AMD: 01    ACRN: DW
               PSC: R706
               FMS COUNTRY/CASE: G9/UEH

              ESTIMATED COST: $1,384,206.86
              FIXED FEE: $32,401.01
              ESTIMATED COST + FIXED FEE: $1,416,607.87

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 11,614

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       1,416,607.87




 5402          FSR SUPPORT (BUFFALO



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1.; C.1.2.; C.1.3.; C.1.4.; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

                                     (End of narrative A001)




 5402AA        PSEUDO FMS PAKISTAN (BUFFALO) - OR OP 4 MATL
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,019,150.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,019,150.00

               SERVICE REQUESTED: FSR SUPPORT (BUFFALO
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: J568C184EH    PRON AMD: 01    ACRN: DW
               PSC: R706
               FMS COUNTRY/CASE: G9/UEH

              COST NO FEE: $1,019,150.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       1,019,150.00




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




 5501          PSEUDO FMS IRAQ (HUSKY)



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1; C.1.2.; C.1.3.; C.1.4; C.1.5.; C.1.6.; C.1.7.;
              C.1.8.; C.1.9.; C.1.10.; C.1.11.; C.1.12.; C.1.13.;
              C.1.14.; C.1.15.

                                     (End of narrative A001)
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT

 5501AA        PSEUDO FMS IRAQ (HUSKY) - OR OP 4 LABOR
               _______________________________________                                 1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            1,645,800.77
                                                                                                         Fixed Fee   $__________________
                                                                                                                               64,910.23
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            1,710,711.00

               SERVICE REQUESTED: PSEUDO FMS IRAQ (HUSKY)
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: J568C553EH    PRON AMD: 01    ACRN: DX
               PSC: R706
               FMS COUNTRY/CASE: V5/AEH

              ESTIMATED COST: $1,645,800.77
              FIXED FEE: $64,910.23
              ESTIMATED COST: $1,710,711.00

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 25,054

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 31-MAY-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                31-MAY-2017

                                 $       1,710,711.00




              Period of Performance: 15 November 2016 through 31
              May 2017

                                     (End of narrative F001)




 5502          PSEUDO FMS IRAQ (HUSKY)



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1; C.1.2; C.1.3; C.1.4.;
              C.1.5.;
              C.1.6; C.1.7; C.1.8; C.1.9;
              C.1.10; C.1.11; C.1.12; C.1.13;
              C.1.14; C.1.15

                                     (End of narrative A001)
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT



 5502AA        PSEUDO FMS IRAQ (HUSKY) - OR OP 4 MATL, TRVL
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            4,952,614.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            4,952,614.00

               SERVICE REQUESTED: PSEUDO FMS IRAQ (HUSKY)
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: J568C553EH    PRON AMD: 01    ACRN: DX
               PSC: R706
               FMS COUNTRY/CASE: V5/AEH

              COST NO FEE: $4,952,614.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 31-MAY-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                31-MAY-2017

                                 $       4,952,614.00




              Period of Performance: 15 November 2016 through 2017
              May 31

                                     (End of narrative F001)




 5601          EDA MRAP REFURBISHME



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1.; C.1.1.2.2.7.; C.1.1.2.2.7.1.; C.1.1.2.2.7.2.;
              C.1.1.2.2.7.3.; C.1.1.2.2.7.4.; C.1.1.2.2.7.5.;
              C.1.1.3.2.1.; C.1.1.3.6.; C.1.1.5.; C.1.5.7.; C.1.6.;
              C.1.8.1.2.; C.1.8.1.4.; C.1.8.1.5.; C.1.8.2.;
              C.1.8.6.5.; C.1.9.1.7.; C.1.9.7.1.; C.1.9.8.3.;
              C.1.10.; C.1.11., C.1.12.;

                                     (End of narrative A001)
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     CONTINUATION SHEET                                             W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
 5601AA        FMS EGYPT - OR OP 4 LABOR
               _________________________                                               1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                              655,093.01
                                                                                                         Fixed Fee   $__________________
                                                                                                                               32,417.74
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                              687,510.75

               SERVICE REQUESTED: EDA MRAP REFURBISHME
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: J568C459EH    PRON AMD: 03    ACRN: DY
               PSC: R706
               FMS COUNTRY/CASE: EG/VGQ

              ESTIMATED COST: $328,479.99
              FIXED FEE: $13,677.70
              ESTIMATED COST + FIXED FEE: $342,157.69

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 4,903

                                     (End of narrative B001)



              Modification P00081 adjusts CLIN 5601AA as follows:

              From:

              HOURS: 4,903
              ESTIMATED COST: $328,479.99
              FIXED FEE: $13,677.70
              ESTIMATED COST + FIXED FEE: $342,157.69

              To:

              HOURS: 11,620
              ESTIMATED COST: $655,093.01
              FIXED FEE: $32,417.74
              ESTIMATED COST + FIXED FEE: $687,510.75

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 11,620

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $         687,510.75




              Period of Performance: 15 November 2016 through 15
              February 2017
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        CONTINUATION SHEET                                    W56HZV-12-C-0127
                                                                                                               REPRINT
                                                  PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                            QUANTITY      UNIT      UNIT PRICE        AMOUNT

                                 (End of narrative F001)



              Modification P00081 adjusts CLIN 5601AA as follows:

              From:

              Period of Performance: 15 November 2016 through 15
              February 2017

              To:

              Period of Performance: 15 November 2016 through 14
              September 2017

                                 (End of narrative F002)




 5602          EDA MRAP REFURBISHME



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:
              C.1.; C.1.1.2.2.7.; C.1.1.2.2.7.1.; C.1.1.2.2.7.2.;
              C.1.1.2.2.7.3.; C.1.1.2.2.7.4.; C.1.1.2.2.7.5.;
              C.1.1.3.2.1.; C.1.1.3.6.; C.1.1.5.; C.1.5.7.; C.1.6.;
              C.1.8.1.2.; C.1.8.1.4.; C.1.8.1.5.; C.1.8.2.;
              C.1.8.6.5.; C.1.9.1.7.; C.1.9.7.1.; C.1.9.8.3.;
              C.1.10.; C.1.11., C.1.12.;

                                 (End of narrative A001)




 5602AA        FMS EGYPT - OR OP 4 MATL, TRVL, ODC
               ___________________________________                               1      LO         Estimated
                                                                                                        Cost   $__________________
                                                                                                                      1,744,108.30
                                                                                               Not to Exceed
                                                                                                   (Funding)   $__________________
                                                                                                                      1,744,108.30

               SERVICE REQUESTED: EDA MRAP REFURBISHME
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: J568C459EH    PRON AMD: 03    ACRN: DY
               PSC: R706
               FMS COUNTRY/CASE: EG/VGQ

              COST NO FEE: $727,461.36

                                 (End of narrative B001)



              Modification P00081 adjusts CLIN 5602AA as follows:

              From:

              COST NO FEE: $727,461.36

              To:
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                                                           Reference No. of Document Being Continued            Page 291 of   388
        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                    REPRINT
                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE      AMOUNT

              COST NO FEE: $1,744,108.30

                                     (End of narrative B002)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       1,744,108.30




              Period of Performance: 15 November 2016 through 15
              February 2017

                                     (End of narrative F001)



              Modification P00081 adjusts CLIN 5602AA as follows:

              From:

              Period of Performance: 15 November 2016 through 15
              February 2017

              To:

              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F002)




 5701          PSEUDO FMS PAKISTAN (MRAP)



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1; C.1.2; C.1.3; C.1.4.;
              C.1.5.;
              C.1.6; C.1.7; C.1.8; C.1.9;
              C.1.10; C.1.11; C.1.12; C.1.13;
              C.1.14; C.1.15

                                     (End of narrative A001)
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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
 5701AA        PSEUDO FMS PAKISTAN (MRAP) - OR OP 4 LABOR
               __________________________________________                              1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            2,240,065.47
                                                                                                         Fixed Fee   $__________________
                                                                                                                               55,087.69
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            2,295,153.16

               SERVICE REQUESTED: PSEUDO FMS PAKISTAN (MRAP)
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: J568C183EH    PRON AMD: 01    ACRN: DE
               PSC: R706
               FMS COUNTRY/CASE: G9/UEH

              ESTIMATED COST: $2,240,065.47
              FIXED FEE: $55,087.69
              ESTIMATED COST + FIXED FEE: $2,295,153.16

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 19,745

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       2,295,153.16




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




 5702          PSEUDO FMS PAKISTAND (MRAP)



              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references: C.1; C.1.2; C.1.3; C.1.4.;
              C.1.5.;
              C.1.6; C.1.7; C.1.8; C.1.9;
              C.1.10; C.1.11; C.1.12; C.1.13;
              C.1.14; C.1.15

                                     (End of narrative A001)
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                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                      SUPPLIES/SERVICES                                QUANTITY      UNIT      UNIT PRICE        AMOUNT

 5702AA        PSEUDO FMS PAKISTAN (MRAP) - OR OP 4 MATL, T
               ____________________________________________                            1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                            4,439,000.00
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                            4,439,000.00

               SERVICE REQUESTED: PSEUDO FMS PAKISTAND (MRAP)
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: J568C183EH    PRON AMD: 01    ACRN: DE
               PSC: R706
               FMS COUNTRY/CASE: G9/UEH

              COST NO FEE: $4,439,000.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-NOV-2016
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $       4,439,000.00




              Period of Performance: 15 November 2016 through 14
              September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:

              C.1.; C.1.1.2.2.6.; C.1.1.6.; C.1.3.2.; C.1.4.5.;
              C.1.5.6.; C.1.8.3.; C.1.9.1.8.; C.1.10.1.2.;
              C.1.10.6; C.1.14.2.3.; C.1.14.3.1.4.; C.1.14.3.1.5.;

                                     (End of narrative A001)




 5801          : KS-ZFO-002




 5801AA        FMS KOREA - OR OP 4 LABOR
               _________________________                                               1      LO         Estimated
                                                                                                              Cost   $__________________
                                                                                                                               18,590.15
                                                                                                         Fixed Fee   $__________________
                                                                                                                                1,089.39
                 Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 370 of 468

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        CONTINUATION SHEET                                          W56HZV-12-C-0127
                                                                                                                     REPRINT
                                                        PIIN/SIIN                          MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY      UNIT      UNIT PRICE        AMOUNT
                                                                                                     Not to Exceed
                                                                                                         (Funding)   $__________________
                                                                                                                               19,679.54

               SERVICE REQUESTED: : KS-ZFO-002
               CLIN CONTRACT TYPE:
                    Cost Plus Fixed Fee
               PRON: J565C960EH    PRON AMD: 02            ACRN: EB
               PSC: R706
               FMS COUNTRY/CASE: KS/ZFO

              ESTIMATED COST: $18,590.15
              FIXED FEE: $1,089.39
              ESTIMATED COST + FIXED FEE: $19,679.54

              TOTAL NUMBER OF HOURS FUNDED UNDER THIS CLIN: 391

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-FEB-2017
               End Date: 14-SEP-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                14-SEP-2017

                                 $          19,679.54




              Period of Performance:

              15 February 2017 through 14 September 2017

                                     (End of narrative F001)




              Services performed under this CLIN shall be in
              accordance with the following Performance Work
              Statement references:

              C.1.; C.1.1.2.2.6.; C.1.1.6.; C.1.3.2.; C.1.4.5.;
              C.1.5.6.; C.1.8.3.; C.1.9.1.8.; C.1.10.1.2.;
              C.1.10.6; C.1.14.2.3.; C.1.14.3.1.4.; C.1.14.3.1.5.;

                                     (End of narrative A001)




 5802          FMS KOREA MAT, TVL, ODC




 5802AA        FMS KOREA - OR OP 4 MATL, TRVL, ODC
               ___________________________________                                     1      LO         Estimated
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                                                        PIIN/SIIN                       MOD/AMD
Name of Offeror or Contractor:       MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
 ITEM NO                    SUPPLIES/SERVICES                                  QUANTITY     UNIT       UNIT PRICE       AMOUNT
                                                                                                            Cost    $__________________
                                                                                                                             115,000.00
                                                                                                   Not to Exceed
                                                                                                       (Funding)    $__________________
                                                                                                                             115,000.00

               SERVICE REQUESTED: FMS KOREA MAT, TVL, ODC
               CLIN CONTRACT TYPE:
                    Cost No Fee
               PRON: J578C459EH    PRON AMD: 04    ACRN: EA
               PSC: R706
               FMS COUNTRY/CASE: KS/002

              COST NO FEE: $115,000.00

                                     (End of narrative B001)




               _________________________
               Inspection and Acceptance
               INSPECTION: Destination           ACCEPTANCE: Destination



               _________________________
               Deliveries or Performance
               Period of Performance
               Start Date: 15-FEB-2017
               End Date: 15-FEB-2017

               DLVR SCH                                  PERF COMPL
               ________
                REL CD            ______________
                                     QUANTITY            __________
                                                            DATE
                  001                   1                15-FEB-2017

                                 $         115,000.00




              Period of Performance:

              15 February 2017 through 14 September 2017

                                     (End of narrative F001)
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                                                      Reference No. of Document Being Continued                 Page296    of   388
          CONTINUATION SHEET                                                                                   REPRINT
                                                   PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

SECTION C - DESCRIPTION/SPECIFICATIONS/WORK STATEMENT

                Regulatory Cite
                _______________    ______________________________________________________________________
                                                                   Title                                    ____________
                                                                                                                Date

    C-1         52.204-4003        START OF WORK MEETING                                                     MAY/2000
                (TACOM)

    The contractor shall host a start of work meeting at its facility, unless some other location is designated in the contract, within
30 days after contract award. The contractor shall at a minimum invite the Contracting Officer's Representative (COR) identified in
Section G or in an appointment letter, the Contract Specialist identified on the face page of this document, and the Administrative
Contracting Officer (ACO). The COR, Contract Specialist, and ACO shall be given at least 2 days advance notice of the time, date, and
location of the start of work meeting. The preferred method of notification is by email.

                                                            [End of Clause]



    C-2         52.204-4600      CONTRACTOR VERIFICATION SYSTEM (CVS) PROGRAM                              APR/2007
The contractor is responsible for processing applications for Common Access Cards (CAC) for every contractor employee who deploys with
the military force, OR who has need to access any government computer network in accordance with FAR 52.204-9, Personal Identity
Verification of Contractor Personnel.

The contractor is responsible for managing requests for new or renewal CAC cards in sufficient time to ensure that all contractor
employees have them when needed to perform work under this contract. The norm is at least ten calendar days advance notice to the
Trusted Agent* (TA), unless there are extenuating circumstances approved by the Contracting Officer's Representative (COR) or
Contracting Officer.   *Designated deployment cell personnel will act as the Trusted Agent (TA) on behalf of the COR.

The contractor shall obtain an Army Knowledge Online (AKO) email address for each applicant, including subcontractors, who may be
deployed or require local access to a government computer network. This can be done by going to http://www.us.army.mil and registering
as an Army Guest with the sponsor being the COR. Note: If a contractor employee loses the privilege to access AKO, they lose the
ability to renew their CAC. Therefore it is critical that contractor employees maintain their AKO accounts.

It is recommended that a Corporate Facility Security Officer (FSO) be established to serve as your firm's single point of contact for
CVS. If a FSO is not established, each contractor employee requiring a CAC card will be required to process their own applications.

CAC applications must be processed through the DoD's Contractor Verification System (CVS). The contractors FSO or contractor employee
shall submit requests for a CAC via email to the CVS Trusted Agent (TA) at TBD before accessing the CVS website.

The government will establish a CVS application account for each CAC request and will provide each contractor employee a USER ID and
Password via email to the FSO.   The FSO or contractor employee shall access the CVS account and complete the CAC application
(entering/editing contractor information as applicable) at https://www.dmdc.osd.mil/appj/cvs/index.jsp.

The FSO or contractor employee will submit completed applications in CVS, and will follow up to ensure that the TA is processing the
request.

The government will inform the contractor's applicant via email of one of the following:

     -          Approved*. Upon approval, the information is transferred to the Defense Enrollment Eligibility Reporting System
     (DEERS) database and an email notification is sent to the contractor with instructions on obtaining their CAC. The contractor
     proceeds to a Real-Time Automated Personnel Identification System (RAPIDS) station (http://www.dmdc.osd.mil/rsl/owa/home provides
     RAPIDS locations).

     -           Rejected*. Government in separate correspondence will provide reason(s) for rejection.

     -           Returned.    Additional information or correction to the application required by the contractor employee.

*The contractor will maintain records of all approved and rejected applications.

At the RAPIDS station, the RAPIDS Verification Officer will verify the contractor by SSN, and two forms of identification, one of which
must be a picture ID. The Verification Officer will capture primary and alternate fingerprints and picture, and updates to DEERS and
will then issue a CAC.

Issued CACs shall be for a period of performance not longer than three (3) years or the individual's contract end date (inclusive of any
options) whichever is earlier.

The contractor shall return issued CACs to the DEERS office upon return from deployment, departure or dismissal of each contractor
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employee. A receipt for each card must be obtained and provided to the TA/COR.

A CAC cannot be issued without evidence that a National Agency Check with Written Inquiries (NACI) has at least been initiated by the
FSO. CVS will be linked to the Joint Personnel Adjudication System (JPAS) in the near future. The TA will have to verify via JPAS that
the NACI has been initiated by the FSO before he/she can approve a contractor request for a CAC.

Details and training on CVS are available on AKO at https://www.us.army.mil/suite/portal/index.jsp or by contacting the CAC helpdesk at
iacacpki.helpdesk@us.army.mil or 703-545-2000.

                                                    (End of Clause)



    C-3         5152.222-5900    PROHIBITION AGAINST HUMAN TRAFFICKING, INHUMANE LIVING CONDITIONS,        MAR/2014
                (C-JTSCC)        AND WITHHOLDING OF EMPLOYEE PASSPORTS
(a) All contractors ("contractors" refers to both prime contractors and all subcontractors at all tiers) are reminded of the prohibition
contained in Title 18, United States Code, Section 1592, against knowingly destroying, concealing, removing, confiscating, or possessing
any actual or purported passport or other immigration document, or any other actual or purported government identification document, of
another person, to prevent or restrict or to attempt to prevent or restrict, without lawful authority, the persons liberty to move or
travel, in order to maintain the labor or services of that person.

(b) Contractors are also required to comply with the following provisions:

  (1) Contractors shall only hold employee passports and other identification documents discussed above for the shortest period of time
reasonable for administrative processing purposes.

  (2) Contractors shall provide all employees with a signed copy of their employment contract, in English as well as the employees
native language, that defines the terms of their employment/compensation.

  (3) Contractors shall not utilize unlicensed recruiting firms or firms that charge illegal recruiting fees.

  (4) Contractors shall be required to provide adequate living conditions (sanitation, health, safety, living space) for their
employees. Fifty square feet is the minimum acceptable square footage of personal living space per employee for Contractor furnished
living space. Upon contractors written request, Contracting Officers may grant a waiver in writing in cases where the existing
contractor provided square footage is within 20% of the minimum, and the overall conditions are determined by the Contracting Officer to
be acceptable. A copy of the waiver approval shall be maintained at the respective life support area. Government furnished facilities
will be provided in accordance with the applicable installation/base billeting standards, with contractor personnel afforded, at a
minimum, square footage equivalent to an E1.

  (5) Contractors shall incorporate checks of life support areas to ensure compliance with the requirements of this Trafficking in
Persons Prohibition into their Quality Control program, which will be reviewed within the Governments Quality Assurance process.

  (6) Contractors shall comply with International and Host Nation laws regarding transit/exit/entry procedures and the requirements for
visas and work permits.

(c) Contractors have an affirmative duty to advise the Contracting Officer if they learn of their employees violating the human
trafficking and inhumane living conditions provisions contained herein. Contractors are advised that Contracting Officers and/or their
representatives will conduct random checks to ensure contractors and subcontractors at all tiers are adhering to the law on human
trafficking, humane living conditions and withholding of passports.

(d) The contractor agrees to incorporate the substance of this clause, including this paragraph, in all subcontracts under his contract.

                                                    (End of clause)




    C-4         5152.225-5902    FITNESS FOR DUTY AND MEDICAL/DENTAL CARE LIMITATIONS                      JUN/2015
                (C-JTSCC)
(a) The contractor shall ensure the individuals they deploy are in compliance with the current USCENTCOM Individual Protection and
Individual/Unit Deployment Policy, including TAB A, Amplification of the Minimal Standards of Fitness for Deployment to the CENTCOM AOR,
unless a waiver is obtained in accordance with TAB C, CENTCOM Waiver Request. The current guidance is located at
http://www2.centcom.mil/sites/contracts/Pages/GCP.aspx.

(b) The contractor shall perform the requirements of this contract notwithstanding the fitness for duty of deployed employees, the
provisions for care offered under this section, and redeployment of individuals determined to be unfit.
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(c) Contractor personnel who deploy for multiple tours, which exceed 12 months in total, must be re-evaluated for fitness to deploy
every 12 months IAW the current USCENTCOM Individual Protection and Individual/Unit Deployment Policy standards. An examination will
remain valid for 15 months from the date of the physical. This allows an examination to be valid up to 90 days prior to deployment.
Once a deployment begins, the examination will only be good for a maximum of 12 months. Any medical waivers received will be valid for
a maximum of 12 months. Failure to obtain an updated medical waiver before the expiration of the current waiver renders the employee
unfit and subject to redeployment.

(d) The contractor bears the responsibility for ensuring all employees are aware of the conditions and medical treatment available at
the performance location. The contractor shall include this information in all subcontracts with performance in the theater of
operations.

(e) In accordance with military directives (DoDI 3020.41, DoDI 6000.11, CFC FRAGO 09-1038, DoD Federal Acquisition Regulation Supplement
(DFARS) PGI 225.74), resuscitative care, stabilization, hospitalization at a Role 3 military treatment facility (MTF) for emergency life-
limb-eyesight care will be provided along with assistance for urgent patient movement. Subject to availability, an MTF may provide
reimbursable treatment for emergency medical or dental services (e.g., broken bones, lacerations, broken teeth or lost fillings).

(f) Routine and primary medical care are not authorized. Pharmaceutical services are not authorized for known or routine prescription
drug needs of the individual. Routine dental care, examinations and cleanings are not authorized

(g) Notwithstanding any other provision of the contract, the contractor shall be liable for any and all medically-related services or
patient movement rendered. To view reimbursement rates that will be charged for services at all DoD deployed medical facilities please
go to the following website: http://comptroller.defense.gov/FinancialManagement/Reports/rates2014.aspx.

                                                    (End of Clause)




    C-5         5152.225-5904    MONTHLY CONTRACTOR CENSUS REPORTING                                       AUG/2014
                (C-JTSCC)
Contractor shall provide monthly employee census information to the Contracting Officer, by province, for this contract. Information
shall be submitted either electronically or by hard-copy. Information shall be current as of the 25th day of each month and received by
the Contracting Officer no later than the first day of the following month. The following information shall be provided for each
province in which work was performed:

  The total number (prime and subcontractors at all tiers) employees.
  The total number (prime and subcontractors at all tiers) of U.S. citizens.
  The total number (prime and subcontractors at all tiers) of local nationals (LN).
  The total number (prime and subcontractors at all tiers) of third-country nationals (TCN).
  Name of province in which the work was performed.
  The names of all company employees who enter and update employee data in the Synchronized Pre-deployment & Operational Tracker (SPOT)
IAW DFARS 252.225-7995 or DFARS DoD class deviation 2014-O0018.

                                                    (End of Clause)




    C-6         5152.225-5907    MEDICAL SCREENING AND VACCINATION REQUIREMENTS FOR CONTRACTOR             JUN/2015
                (C-JTSCC)        EMPLOYEES OPERATING IN THE CENTCOM AREA OF RESPONSIBILITY (AOR)
(a) All contractor employees are required to be medically, dentally, and psychologically fit for deployment and performance of their
contracted duties as outlined in the Defense Federal Acquisition Regulation Supplement (DFARS) clause 252.225-7995, Contractor Personnel
Performing in the United States Central Command Area of Responsibility. This clause requires all contractor personnel to meet the
theater specific medical qualifications established by the Geographic Combatant Commander before deploying to, being granted
installation access, or performing work under the resultant contract. In the USCENTCOM Area of Operation (AOR), the required medical
screening, immunizations, and vaccinations are specified in the current USCENTCOM individual Protection and Individual Unit Deployment
Policy and DoD Instruction (DODI) 3020.41, Operational Contract Support (OCS). Current medical screening, immunization, and vaccination
requirements are available at http://www2.centcom.mil/sites/contracts/Pages/GCP.aspx. The current DODI is available at
http://www.dtic.mil/whs/directives/corres/ins1.html. The current list of immunization and vaccination requirements are available at
http://www.vaccines.mil.

(b) The USCENTCOM policy requires contractors to ensure adequate health management is available for Tuberculosis (TB) screening,
diagnosis, treatment, and isolation during the life of the contract. This includes management and compliance with all prescribed public
health actions regarding TB and the responsibility to ensure adequate health management is available at the Contractors medical provider
or local economy providers location for all contractor and subcontractor employees throughout the life of the contract.   The contractor
shall maintain medical screening documentation, in English, and make it available to the Contracting Officer, military public health
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personnel, or Base Operations Center installation access badging personnel upon request.

  (1) U.S. Citizens are considered Small-Risk Nationals (SRNs) as the U.S. has less than 25 TB cases per 100,000 persons. A TB testing
method of either a TB skin test (TST) or Interferon Gamma Release Assay (IGRA) may be used for pre-deployment and annual re-screening of
all U.S. Citizens employed under the contract. For a contact investigation, all personnel with a positive TST or IGRA will be evaluated
for potential active TB with a symptom screen, exposure history and CXR. A physical copy of all TST, IGRA, and/or CXRs and radiographic
interpretation must be provided at the deployment center designated in the contract, or as otherwise directed by the Contracting
Officer, prior to deployment and prior to installation access badge renewal.

  (2) Other Country Nationals (OCNs) and Local Nationals (LNs) shall have pre-deployment/employment testing for TB using a Chest x-ray
(CXR) and a symptom survey completed within 3 months prior to the start of deployment/employment, with annual re-screening prior to
installation access badge renewal. This is the only way to verify interval changes should an active case of TB occur. When conducting
annual re-screening, the Contractors medical provider or local economy provider will look for interval changes from prior CXRs and
review any changes in the symptom survey. A physical copy of the CXR film with radiographic interpretation showing negative TB results
must be provided to the Base Operations Center prior to the start of deployment/employment, with annual re-screening prior to
installation access badge renewal.



  (3) After arrival in the USCENTCOM AOR, all cases of suspected or confirmed active TB must be reported to the theater Preventive
Medicine (PM) Physician and/or TB Consultant within 24 hours. Contact tracing, and medical coding, have specific requirements. After
consultation with the Theater PM or TB Consultant, the contractor or sub-contractor with suspected or confirmed TB are required to be
evacuated to the closest civilian hospital for treatment. The Contractor is responsible for management and compliance with all
prescribed public health actions. The employee, contractor/sub-contractor shall be transported out of theater following three (3)
consecutive negative sputum smears.

(c) All employees, contractors and sub-contractors, involved in food service, water and/or ice production facilities must be pre-
screened prior to deployment and re-screened annually for signs and symptoms of infectious diseases. This includes a stool sample test
for ova and parasites. Additionally, all employees, contractors and sub-contractors, will have completed: (1) the full series of
immunization for Typhoid and Hepatitis A (full series) immunizations per the Centers for Disease Control and Prevention guidelines (e.g.
typhoid vaccination booster is required every 2 years); (2) the required TB tests; and (3) screening for Hepatitis B and C.

(d) Proof of pre-deployment and deployment medical screening, immunizations, and vaccinations (in English) for employees, contractors
and sub-contractors shall be made available to the designated Government representative throughout the life of the contract, and
provided to the Contracting Officer, for a minimum of six (6) years and (3) months from the date of final payment under the contract.

                                                    (End of Clause)




    C-7         5152.236-5900    ELECTRICAL AND STRUCTURAL BUILDING STANDARDS FOR CONSTRUCTION             DEC/2011
                (C-JTSCC)        PROJECTS
(a) The standards set forth herein are the minimum requirements for the contract. These standards must be followed unless a more
stringent standard is specifically included. In such case the most stringent standard shall be required for contract acceptance.

(b) The contractor, in coordination with the Contracting Officer, Base Camp Mayor, Base/Unit Engineers, and requiring activity shall
evaluate, upgrade, build, and/or refurbish buildings to a safe and livable condition. This work may include refurbishment, construction,
alterations, and upgrades. All work shall be in accordance with accepted standards of quality.

(c) As dictated by the Unified Facilities Criteria (UFC) the contract shall meet:

  (1) the minimum requirements of United States National Fire Protection Association (NFPA) 70,

  (2) 2011 National Electrical Code (NEC) for new construction

  (3) 2008 National Electrical Code (NEC) for repairs and upgrades to existing construction

  (4) American National Standards Institute (ANSI) C2, and

  (5) United States National Electrical Safety Code (NESC).

(d) These standards must be met when it is reasonable to do so with available materials. When conditions dictate deviation apply British
Standard (BS 7671, Edition 17 defacto standard for 50 HZ installations). Any deviations from the above necessary to reflect market
conditions, shall receive prior written approval from a qualified engineer and the Contracting Officer.

(e) The following internet links provide access to some of these standards:
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          UFC: http://www.wbdg.org/ccb/browse_cat.php?o=29&c=4
          NFPA 70: http://www.nfpa.org
          NESC: http://www.standards.ieee.org/nesc

                                                    (End of Clause)




    C-8         5152.247-5900    INBOUND/OUTBOUND CARGO AND CONTRACTOR EQUIPMENT CENSUS                    APR/2012
                (C-JTSCC)
a. Movement and coordination of inbound and outbound cargo in Afghanistan is critical to ensuring an effective drawdown. The
contractor shall provide visibility of their inbound cargo and equipment via the Synchronized Pre-deployment Operational Tracker (SPOT)
census for their contract. This requirement includes the prime's, and subcontractor's at all tiers, cargo and equipment. The
contractor shall report any individual piece of equipment valued at $50,000 or more. Incoming cargo and equipment census data shall be
input 30 days prior to start of performance or delivery of supplies and quarterly thereafter for inbound and outbound equipment.

b. This reporting is required on Rolling Stock (RS), Non Rolling Stock (RNRS), and Twenty foot Equivalent Units (TEU).       The following
definitions apply to these equipment/cargo categories:

     (1) Rolling Stock (RS): All equipment with wheels or tracks that is self-propelled, or is un-powered and can be towed by a
vehicle on a roadway. Also includes standard trailer mounted equipment such as generators, water purification equipment, and other
support equipment with permanent wheels. Specific examples of RS include Wheeled Armored Vehicles (WAVS), Mine-Resistant Ambush-
Protected (MRAP) family of vehicles (FOVS), and Highly Mobile Multipurpose Wheeled Vehicles (HMMWVS).

     (2) Non Rolling Stock (RNRS): All equipment that is not classified as Rolling Stock.     Includes equipment that is not trailer-
mounted or originally designed to be driven or towed over a roadway.

     (3) Twenty foot Equivalent Units (TEU): Standard unit for describing a ship's cargo capacity, or a shipping terminal's cargo
handling capacity. One TEU represents the cargo capacity of a standard intermodal shipping container, 20 feet long, 8 feet wide, and
8.5 feet high. One TEU is equivalent to 4 QUADCONS and 3 TRICONS. One TEU has an internal volume of 1,166 cubic feet.

c. This data will be used by United States Forces-Afghanistan (USFOR-A) to assist in tracking the drawdown of Afghanistan. The
contractor is responsible for movement of their own cargo and equipment. The data provided by contractors is for informational purposes
only in order to plan and coordinate the drawdown effort. The Government assumes no responsibility for contractor demobilization except
as stated in individual contract terms and conditions.

                                                         (End)
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SECTION E - INSPECTION AND ACCEPTANCE

This document incorporates one or more clauses by reference, with the same force and effect as if they were given in full text. Upon
request, the Contracting Officer will make their full text available. Also, the full text of a clause may be accessed electronically at
these addresses:

  http://farsite.hill.af.mil/VFFARA.HTM     or   http://farsite.hill.af.mil/VFDFARA.HTM   or   http://farsite.hill.af.mil/VFAFARa.HTM

If the clause requires additional or unique information, then that information is provided immediately after the clause title.




                Regulatory Cite
                _______________    ______________________________________________________________________
                                                                   Title                                     ____________
                                                                                                                 Date
    E-1         52.246-4           INSPECTION OF SERVICES--FIXED-PRICE                                         AUG/1996
    E-2         52.246-5           INSPECTION OF SERVICES--COST-REIMBURSEMENT                                  APR/1984

    E-3         52.246-4009        INSPECTION AND ACCEPTANCE POINTS:   DESTINATION                             FEB/1995
                (TACOM)

Inspection and acceptance of supplies offered under this purchase order shall take place as specified here.      Inspection: DESTINATION.
Acceptance: DESTINATION.

                                                             [End of Clause]
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SECTION F - DELIVERIES OR PERFORMANCE

This document incorporates one or more clauses by reference, with the same force and effect as if they were given in full text. Upon
request, the Contracting Officer will make their full text available. Also, the full text of a clause may be accessed electronically at
these addresses:

       http://farsite.hill.af.mil/VFFARA.HTM          or   http://farsite.hill.af.mil/VFDFARA.HTM   or   http://farsite.hill.af.mil/VFAFARa.HTM

If the clause requires additional or unique information, then that information is provided immediately after the clause title.




                    Regulatory Cite
                    _______________       ______________________________________________________________________
                                                                          Title                                     ____________
                                                                                                                        Date
      F-1           52.242-15             STOP-WORK ORDER (AUG 1989) -- ALTERNATE I (APR 1984)                        APR/1984
      F-2           52.247-34             F.O.B. DESTINATION                                                          NOV/1991
      F-3           52.247-55             F.O.B. POINT FOR DELIVERY OF GOVERNMENT-FURNISHED PROPERTY                  JUN/2003
      F-4           252.211-7006          RADIO FREQUENCY IDENTIFICATION                                              FEB/2007
      F-5           252.211-7007          REPORTING OF GOVERNMENT-FURNISHED EQUIPMENT IN THE DOD ITEM UNIQUE          NOV/2008
                                          IDENTIFICATION (IUID) REGISTRY

      F-6           52.225-4000           VERIFICATION OF FOREIGN MILITARY SALES (FMS) ADDRESSES                      APR/2000
                    (TACOM)

     At least 10 days prior to the first shipment of supplies under this contract, the Contractor shall submit an email request to the
cognizant Transportation Office via the Administrative Contracting Officer (ACO) for verification of the FMS "ship-to" address(es)
                                            contained in this contract.

                                                                                          [End of Clause]
F.1 PERIOD OF PERFORMANCE

The total period of performance for this contract is five (5) years, to include a six (6) month Phase In period (which will include the
Early Operational Readiness (EOR) period, if proposed), an eight (8) month Operational Readiness Base Option period, three (3) 12 month
Operational Readiness Option periods and one (1) 10 month Operational Readiness Option period.

F.1.1 The period of performance for the Phase-In, including Early Operational Readiness (if proposed) is no more than 180 days from the
date of contract award.

F.1.2 The Operational Readiness Base Option period begins 181 days after contract award and shall not exceed a period of eight (8)
months.

F.1.3 Operational Readiness Option Periods:

a)   Option   Period   1   is   421 days after contract award through 786 days after contract award
b)   Option   Period   2   is   787 days after contract award through 1,152 days after contract award
c)   Option   Period   3   is   1,153 days after contract award through 1,518 days after contract award
d)   Option   Period   4   is   1,519 days after contract award through 1,819 days after contract award

The option periods above are based on the target award date of 24 May 2012. Please note the Option periods will be dependent on the
actual award date.

F.1.4
For evaluation and contract award purposes the Government will utilize the offeror's proposed Phase-in/EOR schedule and proposed
Cost/Price based on the hard target award date (24 May 2012), even if the actual award does not occur on that date. If there is a
conflict between the hard calendar date and the "days after contract award", the "days after contract award" will take precedence. In
the event the contract award is not made on the target award date of 24 May 2012, the successful offeror (awardee) shall submit a
revised Attachment 10 that has been adjusted for the actual award date. If required, the contractor shall only adjust Attachment 10
after contract award to account for the revision to the target award date. There shall be no upwards adjustment to the contract price,
nor shall there be any adjustment to Attachment 10, the Phase-in plan, or any other portion of the contract that is not due to the
revisions in the award date if applicable.

In the event the revised Attachment 10 and Phase-In Plan cannot be mutually agreed upon by the Government and contractor, the Government
reserves the unilateral right to adjust the contract subject to the Disputes Clause.
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                                                 *** END OF NARRATIVE F0001 ***



Modification P00048 to contract W56HZV-12-C-0127 is to incorporate the following CAGE and DUNS Code:

  i. CAGE:   7BA04
             MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.
             ManTech Chambersburg Facility
             Tamarack Industrial Park Building 652
             2015 Carbaugh Ave
             Chambersburg, PA 17202

             ManTech POC for Chambersburg
             Lee Medina
             Office: (910) 729-6618
             Cell: (910) 853-2988

ii. DUNS:    079734098




                                                 *** END OF NARRATIVE F0002 ***
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SECTION G - CONTRACT ADMINISTRATION DATA

********SPECIAL INSTRUCTIONS TO DFAS********

THE CORRECT LOA FOR THE FUNDING DOCUMENT 2M5CLSS1Q7/ACRN BU CLIN 3201AA and 3202AA IS AS FOLLOWS:

097000010000056SF1515D F52SP FLMRAP 257.2301 010L000001L2
999900.999961 1170417BB 2015 387700 103000000 097000010000056SF1515D
ST NA ST

CHECK THE LOA ON THE FUNDING MIPR: F2VUF04296GW001
************************************************



                                                 *** END OF NARRATIVE G0006 ***



SPECIAL INSTRUCTIONS TO DFAS:

CLIN: 3001AD, 3002AD / ACRN: BV

PRON 2M5CLSB1Q7EH IS FUNDED WITH MIPR M9545015MPZ8251,
WITH CORRECT LINE OF ACCOUNTING AS LISTED ON THE MIPR:
1741106 1A2A 252 67854 067443 2D M95450 5MPZ825117LS 067443

MOVE ALL OBLIGATIONS AND DISBURSEMENTS TO THE CORRECT LOA.



                                                 *** END OF NARRATIVE G0008 ***

         PRON/
         AMS CD/
LINE     MIPR/         OBLG     JO NO/                                                                       OBLIGATED
ITEM
_____    GFEBS ATA
         _________     STAT
                       _____    ACCT ASSIGN
                                ___________                ACRN
                                                           ____                                              AMOUNT
                                                                                                             __________
1001AA   2M2SMA07Q7      2      2MARCE                      AA                                      $      6,087,887.71
         11502010000



1001AB   2M2SMA09Q7      2      2MA1A4                      AB                                      $        174,909.66
         13519700000



1001AC   2M2SMA08Q7      2      2MARCE                      AA                                      $         43,510.77
         11502010000



1001AD   2M2CLS1BQ7      2                                  AC                                      $        100,243.86
         M9545012MPAAG12



1002AA   2M2SMA07Q7      2      2MARCE                      AA                                      $     30,123,778.18
         11502010000



1002AB   2M2SMA09Q7      2      2MA1A4                      AB                                      $        729,103.04
         13519700000



1002AC   2M2SMA08Q7      2      2MARCE                      AA                                      $        181,372.70
         11502010000



1002AD   2M2CLS1BQ7      2                                  AC                                      $        377,157.14
         M9545012MPAAG12
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         PRON/
         AMS CD/
LINE     MIPR/         OBLG    JO NO/                                                                        OBLIGATED
ITEM
_____    GFEBS ATA
         _________     STAT
                       _____   ACCT ASSIGN
                               ___________                  ACRN
                                                            ____                                             AMOUNT
                                                                                                             __________

1002AE   2M2SMA15Q7      2     S.0004626.1                   AJ                                     $      3,538,522.34



1002AF   2M2SMA16Q7      2     S.0004626.1                   AK                                     $         36,587.34



1002AH   P116M1502T      2     A.0010970.1.1.1.2.2           AY                                     $        175,817.76
         D02903AVFRE



1003AA   2M2SMA07Q7      2     2MARCE                        AA                                     $     77,438,856.79
         11502010000



1003AB   2M2SMA09Q7      2     2MA1A4                        AB                                     $      2,907,833.09
         13519700000



1003AC   2M2SMA08Q7      2     2MARCE                        AA                                     $        637,623.00
         11502010000



1003AD   2M2CLS1BQ7      2                                   AC                                     $      1,222,206.13
         M9545012MPAAG12



1003AF   P116M1502T      2     A.0010970.1.1.1.2.2           AY                                     $         92,409.39
         D02903AVFRE



1004AA   2M3SMA03Q7      2     S.0009654.4.2                 AN                                     $     55,873,761.60



1004AB   2M3CLS1BQ7      2                                   AP                                     $        791,727.45
         M9545013MPZ8388



1004AC   2M3SMA02Q7      2     S.0009654.4.2                 AQ                                     $        630,560.74



1004AD   2M3CLS2BQ7      2                                   AP                                     $        151,252.83
         M9545013MPZ8388



1004AE   P116M1502T      2     A.0010970.1.1.1.2.2           AY                                     $      1,195,675.19
         D02903AVFRE



1004AF   P126M0412T      2     A.0010956.1.1.1.2.2           AZ                                     $        369,990.48



1004AG   2M3SMA07Q7      2     S.0011457.1.2                 BC                                     $      5,985,294.05



1005AA   2M3SMA03Q7      2     S.0009654.4.2                 AN                                     $     86,605,036.94



1005AB   2M3CLS1BQ7      2                                   AP                                     $      1,032,628.92
         M9545013MPZ8388
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         CONTINUATION SHEET                                                                             REPRINT
                                                     PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

         PRON/
         AMS CD/
LINE     MIPR/         OBLG    JO NO/                                                                        OBLIGATED
ITEM
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                                                                                                             __________

1005AC   2M3SMA02Q7       2    S.0009654.4.2                 AQ                                     $        714,102.03



1005AD   2M3CLS2BQ7      2                                   AP                                     $         29,667.55
         M9545013MPZ8388



1005AE   P116M1502T       2    A.0010970.1.1.1.2.2           AY                                     $        231,595.86
         D02903AVFRE



1005AF   P126M0412T       2    A.0010956.1.1.1.2.2           AZ                                     $         92,638.34



1005AG   2M3SMA07Q7       2    S.0011457.1.2                 BC                                     $        526,981.81



1005AH   2M3SMAXXQ7       2                                  BD                                     $      8,000,000.00
         MIPR3K000J7356



1101AA   2M2CLS1FQ7      2                                   AD                                     $        132,107.59
         M9545012MPOMFS8



1101AB   2M2CLS1AQ7      2                                   AE                                     $      3,069,123.82
         M9545012MPOMAQ8



1101AC   2M2CLS1MQ7      2                                   AF                                     $      1,030,302.87
         M9545012MPAAG13



1101AD   2M2CLS1NQ7      2                                   AG                                     $        149,450.16
         M9545012MPOMNE6



1102AA   2M2CLS1FQ7      2                                   AD                                     $        251,271.29
         M9545012MPOMFS8



1102AB   2M2CLS1AQ7      2                                   AE                                     $     19,394,723.26
         M9545012MPOMAQ8



1102AC   2M2CLS1MQ7      2                                   AF                                     $      1,851,104.92
         M9545012MPAAG13



1102AD   2M2CLS1NQ7      2                                   AG                                     $        225,996.53
         M9545012MPOMNE6



1102AE   2M3CLS01Q7       2    S.0009561.8                   AL                                     $        848,840.25



1102AF   2M3CLS01Q7       2    S.0009561.8                   AL                                     $        867,200.00



1102AG   2M3CLS03Q7       2    S.0009561.8.1                 AS                                     $     25,352,483.91
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         CONTINUATION SHEET                                                                           REPRINT
                                                   PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

         PRON/
         AMS CD/
LINE     MIPR/         OBLG    JO NO/                                                                      OBLIGATED
ITEM
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1102AH   2M3CLS1MQ7      2                                  AP                                    $        792,132.77
         M9545013MPZ8388



1102AJ   2M3CLS4NQ7      1                                  AT                                    $              43.70
         N4027313MP001K7



1102AK   2M3CLS04Q7       2    S.0009561.8.2                AW                                    $        893,952.75



1102AL   2M3CLS2AQ7       2                                 AX                                    $         42,019.20
         F3QCDK2341G006



1102AM   2M3CLS05Q7       2    S.0009561.8.3                BA                                    $         39,389.33



1103AA   2M2CLS1FQ7      2                                  AD                                    $         20,360.00
         M9545012MPOMFS8



1103AB   2M2CLS1AQ7      2                                  AE                                    $      1,267,498.98
         M9545012MPOMAQ8



1103AC   2M2CLS1MQ7      2                                  AF                                    $        115,360.00
         M9545012MPAAG13



1103AD   2M2CLS1NQ7      2                                  AG                                    $         22,672.00
         M9545012MPOMNE6



1103AF   2M3CLSM1Q7      2                                  AM                                    $        160,000.00
         67854067443
         M9545013MPZ8193



1103AG   2M3CLS03Q7       2    S.0009561.8.1                AS                                    $      7,380,154.43



1103AH   2M3CLS1MQ7      2                                  AP                                    $        720,000.00
         M9545013MPZ8388



1103AJ   2M3CLS4NQ7      2                                  AT                                    $          2,498.87
         N4027313MP001K7



1103AK   2M3CLS04Q7       2    S.0009561.8.2                AW                                    $        545,808.19



1103AL   2M3CLS2MQ7      2                                  AP                                    $        650,000.00
         M9545013MPZ8388



1103AN   2M3CLS2AQ7       2                                 AX                                    $
         F3QCDK2341G006
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         CONTINUATION SHEET                                                                           REPRINT
                                                   PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

         PRON/
         AMS CD/
LINE     MIPR/         OBLG    JO NO/                                                                      OBLIGATED
ITEM
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1103AP   2M3CLS1AQ7       2                                 AX                                    $         85,000.00
         F3QCDK2320G002



1103AQ   2M3CLS05Q7       2    S.0009561.8.3                BA                                    $          2,222.01



1104AA   2M3CLS03Q7       2    S.0009561.8.1                AS                                    $     62,760,952.30



1104AB   2M3CLS1MQ7      2                                  AP                                    $      1,358,996.02
         M9545013MPZ8388



1104AG   2M3CLS2AQ7       2                                 AX                                    $      1,450,853.51
         F3QCDK2341G006



1104AH   2M3CLS05Q7       2    S.0009561.8.3                BA                                    $         85,455.52



1105AA   2M3CLS03Q7       2    S.0009561.8.1                AS                                    $     10,990,127.30



1105AB   2M3CLS1MQ7      2                                  AP                                    $        266,724.59
         M9545013MPZ8388



1105AD   2M3CLS04Q7       2    S.0009561.8.2                AW                                    $        156,292.05



1105AE   2M3CLS2AQ7       2                                 AX                                    $        204,868.12
         F3QCDK2341G006



1105AF   2M3CLS05Q7       2    S.0009561.8.3                BA                                    $          5,639.05



1201AA   2M2CLS1SQ7      2                                  AH                                    $      2,852,682.00
         M9545012MP1MRAP



1202AA   2M2CLS1SQ7      2                                  AH                                    $     16,099,335.00
         M9545012MP1MRAP



1203AA   2M2CLS1SQ7      2                                  AH                                    $     21,714,030.00
         M9545012MP1MRAP



1204AA   2M3CLSO1Q7       2                                 AR                                    $      5,342,253.53
         F2VUF02304G001



1204AB   2M3CLSS1Q7       2                                 AR                                    $     25,798,347.63
         F2VUF03106G001



1205AA   2M3CLSO1Q7       2                                 AR                                    $      6,657,746.47
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         CONTINUATION SHEET                                                                              REPRINT
                                                      PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

         PRON/
         AMS CD/
LINE     MIPR/          OBLG    JO NO/                                                                        OBLIGATED
ITEM
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         _________      STAT
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                                                             ____                                             AMOUNT
                                                                                                              __________
         F2VUF02304G001



1205AB   2M3CLSS1Q7       2                                   AR                                     $     23,460,149.59
         F2VUF03106G001



2001AA   2M4SMA01Q7       2     S.0021149.1                   BE                                     $     45,513,136.72



2001AB   2M4SMA02Q7       2     S.0021132.1                   BF                                     $     11,204,403.43



2001AC   2M4SMA01Q7       2     S.0021149.1                   BE                                     $        715,431.86



2001AD   2M4CLSB1Q7      2                                    BG                                     $      1,434,150.36
         M9545014MPZ8322



2001AE   P126M0862T       2     A.0010956.1.1.1.2.5           BH                                     $      5,157,238.15



2001AF   2M4VMMD1Q7      2                                    BP                                     $        251,578.80
         M9545014MPZWA11



2001AG   T146M0152T      2                                    BP                                     $         76,150.44
         M9545014MPZWA11



2001AH   T146M0142T      2                                    BQ                                     $         38,393.67
         M9545014MP47984



2001AJ   4I4UA1251A       2     R.0010979.4.1                 BR                                     $         48,877.88



2002AA   2M4SMA01Q7       2     S.0021149.1                   BE                                     $     48,891,700.37



2002AB   2M4SMA02Q7       2     S.0021132.1                   BF                                     $      9,749,323.41



2002AC   2M4SMA01Q7       2     S.0021149.1                   BE                                     $        235,108.33



2002AD   2M4CLSB1Q7      2                                    BG                                     $        901,568.61
         M9545014MPZ8322



2002AE   P126M0862T       2     A.0010956.1.1.1.2.5           BH                                     $      3,452,195.56



2002AF   2M4VMMD1Q7      2                                    BP                                     $         46,500.00
         M9545014MPZWA11



2002AG   T146M0142T      2                                    BQ                                     $        109,240.00
         M9545014MP47984
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

         PRON/
         AMS CD/
LINE     MIPR/         OBLG    JO NO/                                                                      OBLIGATED
ITEM
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                                                           ____                                            AMOUNT
                                                                                                           __________

2002AH   4I4UA1251A       2    R.0010979.4.1                BR                                    $        390,306.13



2101AA   2M4CLSA1Q7       2    S.0019206.2.3.1              BK                                    $      7,602,754.21



2101AB   2M4CLSF1Q7       2                                 BL                                    $      1,420,958.21
         F2QF203304G001



2101AC   2M4CLSF2Q7       2                                 BN                                    $      3,131,348.69
         F2QF204027G001



2102AA   2M4CLSA1Q7       2    S.0019206.2.3.1              BK                                    $      1,206,978.43



2102AB   2M4CLSF1Q7       2                                 BL                                    $        532,555.79
         F2QF203304G001



2102AC   2M4CLSF2Q7       2                                 BN                                    $        707,531.21
         F2QF204027G001



2201AA   2M4CLSS1Q7       2                                 BJ                                    $     35,560,690.73
         F2VUF03303G001



2202AA   2M4CLSS1Q7       2                                 BJ                                    $     17,869,612.89
         F2VUF03303G001



3001AA   2M5CLS15Q7       1    S.0028443.1.2                BW                                    $     13,256,392.40



3001AB   2M5CLS14Q7       1    S.0028442.1.1                BX                                    $      2,792,906.67



3001AD   2M5CLSB1Q7      1                                  CF                                    $         78,986.66
         M9545015MPZ8251



3001AE   P146M0222T       1    A.0018927.1.1.1.5            BY                                    $     10,260,523.43



3001AF   2M5CLSVMQ7      1                                  BZ                                    $         21,904.00
         M9545015MP46C40



3001AG   4I4UA1311A       1    R.0010979.4.1                CA                                    $        155,030.41



3001AH   2M5CLS15Q7       1    S.0028443.1.2                BW                                    $      1,647,101.98



3001AJ   2M5CLS15Q7       1    S.0028443.1.2                BW                                    $        347,307.06



3001AK   T156M0042T       2                                 CE                                    $          1,283.20
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                                                   PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

         PRON/
         AMS CD/
LINE     MIPR/         OBLG    JO NO/                                                                      OBLIGATED
ITEM
_____    GFEBS ATA
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                                                                                                           __________
         M9545015MP36K45



3001AL   P146M0232T       2    A.0018927.1.1.1.5            CJ                                    $         32,518.18



3002AA   2M5CLS15Q7       1    S.0028443.1.2                BW                                    $      6,173,903.28



3002AB   2M5CLS14Q7       1    S.0028442.1.1                BX                                    $      3,492,913.77



3002AD   2M5CLSB1Q7      1                                  CF                                    $          8,000.90
         M9545015MPZ8251



3002AE   P146M0222T       1    A.0018927.1.1.1.5            BY                                    $      2,837,380.82



3002AF   2M5CLSVMQ7      1                                  BZ                                    $         51,612.96
         M9545015MP46C40



3002AG   4I4UA1311A       1    R.0010979.4.1                CA                                    $         28,724.56



3002AH   2M5CLS15Q7       1    S.0028443.1.2                BW                                    $        228,691.49



3002AJ   2M5CLS15Q7       1    S.0028443.1.2                BW                                    $         96,120.06



3002AK   T156M0042T      2                                  CE                                    $         14,451.27
         M9545015MP36K45



3002AL   P146M0232T       2    A.0018927.1.1.1.5            CJ                                    $         66,948.84



3003AA   T156M0052T      2                                  CE                                    $        245,760.00
         M9545015MP36K45



3101AA   2M501LOGQ7       1    S.0028437.3.1                BS                                    $      1,229,980.66



3101AB   2M5CLSF1Q7       1                                 BT                                    $      3,647,966.46
         F2QF204290G001



3102AA   2M501LOGQ7       1    S.0028437.3.1                BS                                    $        107,803.12



3102AB   2M5CLSF1Q7       1                                 BT                                    $        168,052.07
         F2QF204290G001



3102AC   2M5CLSF2Q7       2                                 CB                                    $        250,000.00
         F2QF205007G002
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

         PRON/
         AMS CD/
LINE     MIPR/          OBLG    JO NO/                                                                      OBLIGATED
ITEM
_____    GFEBS ATA
         _________      STAT
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                                                                                                            __________
3102AD   2M5CLSF3Q7       2                                 CG                                     $        860,000.00
         F2QF205112GW01



3201AA   2M5CLSS1Q7       1                                 BU                                     $     25,730,352.79
         F2VUF04296GW01



3202AA   2M5CLSS1Q7       1                                 BU                                     $      7,969,082.14
         F2VUF04296GW01



3301AA   J50USE0147       1     F.0001939.1.1.1.1           CC                                     $      1,654,081.65

         011

3302AA   J50USE0147       1     F.0001939.1.1.1.1           CC                                     $      5,637,143.34

         011

4001AA   2M6CLS37Q7       2     S.0039055.1.1               CK                                     $     16,936,786.02



4001AB   2M6CLS14Q7       2     S.0037925.1                 CL                                     $        389,545.44



4001AE   P166M2022T       2     A.0026138.1.1.1.5           CM                                     $     14,730,436.57



4001AG   4I5UA1321A       2     R.0014733.4.1               CN                                     $        174,267.85



4001AH   2M6CLSFCQ7       2     S.0039055.1.1.3             CR                                     $      1,921,367.70



4001AJ   2M6CLSCEQ7       2     S.0039055.1.1.4             CT                                     $        258,125.36



4001AK   P166ONS72T       2     S.0039055.1.1.5             CX                                     $        457,453.30



4001AL   2M6CLS15Q7       2     S.0039055.1.1.5.2           CY                                     $         68,825.66



4001AM   2M6CLS16Q7       2     S.0039055.1.1.5.3           DA                                     $        694,195.51



4001AN   2M6CLS04Q7       2     S.0039055.1.1.5.4           DB                                     $         88,202.20



4001AP   2M6CLS77Q7       2     S.0039055.1.1.5.5           DC                                     $        260,150.43



4001AQ   2M6CLS85Q7       2     S.0039055.1.1.5.6           DD                                     $        122,687.32



4002AA   2M6CLS37Q7       2     S.0039055.1.1               CK                                     $      4,915,676.72



4002AB   2M6CLS14Q7       2     S.0037925.1                 CL                                     $      2,024,421.36
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 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

         PRON/
         AMS CD/
LINE     MIPR/         OBLG    JO NO/                                                                      OBLIGATED
ITEM
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                                                           ____                                            AMOUNT
                                                                                                           __________

4002AE   P166M2022T       2    A.0026138.1.1.1.5            CM                                    $      4,649,550.88



4002AG   4I5UA1321A       2    R.0014733.4.1                CN                                    $         28,500.00



4002AH   2M6CLSFCQ7       2    S.0039055.1.1.3              CR                                    $        959,655.00



4002AJ   2M6CLSCEQ7       2    S.0039055.1.1.4              CT                                    $        195,580.00



4002AK   P166ONS72T       2    S.0039055.1.1.5              CX                                    $      1,360,500.00



4002AL   2M6CLS15Q7       2    S.0039055.1.1.5.2            CY                                    $         89,004.34



4002AM   2M6CLS16Q7       2    S.0039055.1.1.5.3            DA                                    $        779,624.18



4002AN   2M6CLS04Q7       2    S.0039055.1.1.5.4            DB                                    $        216,441.40



4002AP   2M6CLS77Q7       2    S.0039055.1.1.5.5            DC                                    $        440,547.84



4002AQ   2M6CLS85Q7       2    S.0039055.1.1.5.6            DD                                    $        220,100.00



4101AA   2M602LOGQ7       2    S.0036119.3.1                CP                                    $      1,220,723.66



4101AB   2M6CLSF1Q7       2                                 CV                                    $      4,712,047.01
         F2QF205293GW01



4102AA   2M602LOGQ7       2    S.0036119.3.1                CP                                    $         17,948.76



4102AB   2M6CLSF1Q7       2                                 CV                                    $      1,415,248.57
         F2QF205293GW01



4201AA   2M6CLSS1Q7       2                                 CS                                    $     22,899,850.43
         F2VUF05308GW03



4202AA   2M6CLSS1Q7       2                                 CS                                    $      6,821,749.49
         F2VUF05308GW03



4301AA   J50USE0147       2    F.0001939.1.1.1.1            CC                                    $      3,991,177.15

         011

4302AA   J50USE0147       2    F.0001939.1.1.1.1            CC                                    $     11,758,122.59

         011
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                                                   PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

         PRON/
         AMS CD/
LINE     MIPR/        OBLG    JO NO/                                                                       OBLIGATED
ITEM
_____    GFEBS ATA
         _________    STAT
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                                                           ____                                            AMOUNT
                                                                                                           __________
4401AA   F166M2062T     2     F.0002869.1.1.1.1             CU                                    $      1,196,787.34

         011

4402AA   F166M2062T     2     F.0002869.1.1.1.1             CU                                    $        883,763.59

         011

4501AA   T166M0012T     2     F.0003054.1.1.1.1             CW                                    $        622,861.78

         011

4502AA   T166M0012T     2     F.0003054.1.1.1.1             CW                                    $      4,367,832.22

         011

4601AA   J568B786EH     2     F.0003215.4.1.1.1             CZ                                    $        374,686.55
         9XXXXX
         011

4602AA   J568B786EH     2     F.0003215.4.1.1.1             CZ                                    $      1,205,694.40
         9XXXXX
         011

5001AA   P176A5042T     2     S.0045889.6                   DF                                    $     13,376,848.35



5001AB   P176A5062T     2     S.0045888.1                   DG                                    $        386,242.86



5001AE   P176M0032T     2     A.0031156.1.1.1.5             DH                                    $     16,843,012.93



5001AG   756CEH0775     2     A.0026761.2                   DJ                                    $         44,185.14



5001AH   2M7CLSFCQ7     2     S.0046382.9                   DZ                                    $      1,376,676.15



5001AJ   2M7CLSCEQ7     2     S.0046382.8                   DK                                    $        247,624.84



5001AK   2M7CLS57Q7     2     S.0046382.1                   DL                                    $      1,392,061.61



5001AL   P176A5052T     2     S.0046382.7                   DM                                    $        156,736.51



5001AM   2M7CLS19Q7     2     S.0046382.3                   DN                                    $      2,278,649.94



5001AN   2M7CLS04Q7     2     S.0046382.5                   DP                                    $        237,582.96



5001AP   2M7CLS77Q7     2     S.0046382.4                   DQ                                    $        848,806.58



5001AQ   2M7CLS85Q7     2     S.0046382.6                   DR                                    $        655,638.89



5002AA   P176A5042T     2     S.0045889.6                   DF                                    $      1,053,706.23
                     Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 391 of 468

                                                      Reference No. of Document Being Continued        Page315   of   388
         CONTINUATION SHEET                                                                           REPRINT
                                                   PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

         PRON/
         AMS CD/
LINE     MIPR/         OBLG    JO NO/                                                                      OBLIGATED
ITEM
_____    GFEBS ATA
         _________     STAT
                       _____   ACCT ASSIGN
                               ___________                 ACRN
                                                           ____                                            AMOUNT
                                                                                                           __________



5002AB   P176A5062T       2    S.0045888.1                  DG                                    $        876,000.00



5002AE   P176M0032T       2    A.0031156.1.1.1.5            DH                                    $      6,959,717.00



5002AG   756CEH0775       2    A.0026761.2                  DJ                                    $         42,050.00



5002AH   2M7CLSFCQ7       2    S.0046382.9                  DZ                                    $        498,380.00



5002AJ   2M7CLSCEQ7       2    S.0046382.8                  DK                                    $        105,858.65



5002AK   2M7CLS57Q7       2    S.0046382.1                  DL                                    $        908,500.00



5002AL   P176A5052T       2    S.0046382.7                  DM                                    $        103,300.00



5002AM   2M7CLS19Q7       2    S.0046382.3                  DN                                    $        824,500.00



5002AN   2M7CLS04Q7       2    S.0046382.5                  DP                                    $        427,400.00



5002AP   2M7CLS77Q7       2    S.0046382.4                  DQ                                    $        878,000.00



5002AQ   2M7CLS85Q7       2    S.0046382.6                  DR                                    $        618,314.65



5101AA   2M7004PMQ7       2    S.0045776.8.15               DS                                    $      2,590,020.79



5101AB   2M7CLSF1Q7       2                                 DT                                    $      3,412,865.67
         F2QF206285GW01



5102AA   2M7004PMQ7       2    S.0045776.8.15               DS                                    $        511,076.98



5102AB   2M7CLSF1Q7       2                                 DT                                    $      1,221,445.31
         F2QF206285GW01



5201AA   2M7CLSS2Q7       2                                 DU                                    $     17,061,083.97
         F2VUF06293GW05



5202AA   2M7CLSS2Q7       2                                 DU                                    $      6,169,870.81
         F2VUF06293GW05



5301AA   J558C546EH       2    F.0001939.1.1.1.1            DV                                    $      3,816,247.41

         011
                   Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 392 of 468

                                                        Reference No. of Document Being Continued                  Page316   of   388
          CONTINUATION SHEET                                                                                      REPRINT
                                                     PIIN/SIIN W56HZV-12-C-0127           MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.

          PRON/
          AMS CD/
LINE      MIPR/         OBLG    JO NO/                                                                                 OBLIGATED
ITEM
_____     GFEBS ATA
          _________     STAT
                        _____   ACCT ASSIGN
                                ___________                  ACRN
                                                             ____                                                      AMOUNT
                                                                                                                       __________
5302AA    J558C546EH      2     F.0001939.1.1.1.1             DV                                            $       10,449,059.68

          011

5401AA    J568C184EH      2     F.0003644.2.1.1.1             DW                                            $        1,416,607.87

          011

5402AA    J568C184EH      2     F.0003644.2.1.1.1             DW                                            $        1,019,150.00

          011

5501AA    J568C553EH      2     F.0003860.1.1.1.1             DX                                            $        1,710,711.00

          011

5502AA    J568C553EH      2     F.0003860.1.1.1.1             DX                                            $        4,952,614.00

          011

5601AA    J568C459EH      2     F.0003215.10.1.1.1            DY                                            $          687,510.75

          011

5602AA    J568C459EH      2     F.0003215.10.1.1.1            DY                                            $        1,744,108.30

          011

5701AA    J568C183EH      2     F.0003644.1.1.1.1             DE                                            $        2,295,153.16

          011

5702AA    J568C183EH      2     F.0003644.1.1.1.1             DE                                            $        4,439,000.00

          011

5801AA    J565C960EH      2     F.0003298.1.1.1.1             EB                                            $           19,679.54

          011

5802AA    J578C459EH      2     F.0003298.2.1.1.1             EA                                            $          115,000.00

          011
                                                                                                                __________________
                                                                                                    TOTAL   $     1,044,796,697.40



                                                                                                                                       OBLIGATED
ACRN
____     ACCOUNTING CLASSIFICATION
         _________________________                                                                                                     __________
                                                                                                                                          AMOUNT
 AA      21   22020000021C1C12P1150202512 S20113             W56HZV                                                      $        114,513,029.15
 AB      21   22020000021C1C12P135197252G S20113             W56HZV                                                      $          3,811,845.79
 AC      17   211061A2A25267854 0674432DM954502MPAAG1250LS                                                               $          1,699,607.13
 AD      57   23400MRAP25267854 0674432D1AK1 2MPOMFS850LD                                                                $            403,738.88
 AE      21   2202027A025267854 0674432D1351982MPOMAQ850TA                                                               $         23,731,346.06
 AF      17   211061A2A25267854 0674432DM954502MPAAG1350LS                                                               $          2,996,767.79
 AG      17   211061A2A25267854 0674432DM954502MPOMNE650LS                                                               $            398,118.69
 AH      97   20100MCCQ25267854 0674432DM954502MP1MRAP50RE                                                               $         40,666,047.00
 AJ      021 201220122020      A5XDV 115020VFRE       252G   L032195638 S.0004626.1                               021001 $          3,538,522.34
 AK      021 201220122020      A5XDV 115020VFRE       252G   L032195639 S.0004626.1                               021001 $             36,587.34
 AL      021 201320132020      A5XDU 114018VFRE       252G   L032314565 S.0009561.8                               021001 $          1,716,040.25
 AM      17   211061A2A25267854 0674432DM954503MPZ819350LS                                                               $            160,000.00
                  Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 393 of 468

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        CONTINUATION SHEET                                                                          REPRINT
                                                   PIIN/SIIN W56HZV-12-C-0127             MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.




                                                                                                                         OBLIGATED
ACRN
____   ACCOUNTING CLASSIFICATION
       _________________________                                                                                         __________
                                                                                                                            AMOUNT
 AN    021 201320132020      A5XDV 115020VFRE       252G L032540439   S.0009654.4.2                 021001 $        142,478,798.54
 AP    17   311061A2A2526785400674432D067443M95450                                                         $          5,793,130.13
 AQ    021 201320132020      A5XDV 115020VFRE       252G L032540236   S.0009654.4.2                 021001 $          1,344,662.77
 AR    97   3010056SFSC 52SPFLMRAP01000057815017417667100                                                  $         61,258,497.22
 AS    021 201320132020      A5XDU 114018VFRE       252G L032539924   S.0009561.8.1                 021001 $        106,483,717.94
 AT    17   3180460CC2574582AH0609512DP001K7402733356UED                                                   $              2,542.57
 AW    021 201320132020      A5XDU 114018VFRE       252G L032742361   S.0009561.8.2                 021001 $          1,596,052.99
 AX    57   33400000030387ROXXCM640100005781523765F503000                                                  $          1,782,740.83
 AY    021 201120132035      A5XDV D02903AVFRE      253F L032732013   A.0010970.1.1.1.2.2           021001 $          1,695,498.20
 AZ    021 201220142035      A5XDV D02902ARF02      2533 L033282588   A.0010956.1.1.1.1.2           021001 $            462,628.82
 BA    021 201320132020      A5XDU 114018VFRE       252G L033416337   S.0009561.8.3                 021001 $            132,705.91
 BC    021 201320132020      A5XDV 114018VFRE       252G L033691254   S.0011457.1.2                 021001 $          6,512,275.86
 BD    021 201320152093 0000 A5UDD 201900VEXA       3101 0010387943   52093000 A.0005001.5.1.23     021001 $          8,000,000.00
 BE    021 201420142020      A5XDV 115020VFRE       2571 L035010959   S.0021149.1                   021001 $         95,355,377.28
 BF    021 201420142020      A5XDV 114018VFRE       2571 L035011444   S.0021132.1                   021001 $         20,953,726.84
 BG    17   411061A2A25267854 0674432DM954504MPZ832217LS                                                   $          2,335,718.97
 BH    021 201220142035      A5XDV D02903ARF02      2571 L035011720   A.0010956.1.1.1.2.5           021001 $          8,609,433.71
 BJ    97   4010056SFSC 52SPFLMARP01000056900017417667100                                                  $         53,430,303.62
 BK    021 201420142020      A5XDU 114018VFRE       252G L035012543   S.0019206.2.3.1               021001 $          8,809,732.64
 BL    57   43400000030478741421410100005699223765F667100                                                  $          1,953,514.00
 BN    57   43400000030 04 7874 1421415699223765F667100                                                    $          3,838,879.90
 BP    17   411061A2A25267854 0674432DM954504MPZWA1115LX                                                   $            374,229.24
 BQ    17   41109652031067854 0674432D6520004MP47984152T                                                   $            147,633.67
 BR    021 201420152040      A5XBE 654808415RF02    2571 L036474348   R.0010979.4.1                 021001 $            439,184.01
 BS    021 201520152020      A5XDU 123208AMTV       2533 L037774912   S.0028437.3.1                 021001 $          1,337,783.78
 BT    57   53400000030578741421410100005064023765F667100                                                  $          3,816,018.53
 BU    97   X0100000056 SPSC52SP FLMRAP56900017417387700                                                   $         33,699,434.93
 BW    021 201520152020      A5XDV 115020VFRE       2571 L037938148   S.0028443.1.2                 021001 $         21,749,516.27
 BX    021 201520152020      A5XDV 114018VFRE       2571 L037938645   S.0028442.1.1                 021001 $          6,285,820.44
 BY    021 201420162035      A5XDV DA0925ARF02      3101 L037963539   A.0018927.1.1.1.5             021001 $         13,097,904.25
 BZ    17   41109652025167854 0674432D6520SB5MP46C40152U                                                   $             73,516.96
 CA    021 201420152040      A5XBE 654808415RF02    2571 L037837937   R.0010979.4.1                 021001 $            183,754.97
 CB    57   53400000030578741421410100005699223765F667100                                                  $            250,000.00
 CC    097 2010XXXX8242 IQO1 A60EE USE001B          3109 L039050945   F.0001939.1.1.1.1             021001 $         23,040,524.73
 CE    17   31109652031067854 0674432D6520005MP36K45152T                                                   $            261,494.47
 CF    17   511061A2A25267854 0674432DM954505MPZ825117LS                                                   $             86,987.56
 CG    57   534000000305787414214123765F56992      387700                                                  $            860,000.00
 CJ    021 201420162035      A5XDV DA0925ARF02      3101 L040088311   A.0018927.1.1.1.5             021001 $             99,467.02
 CK    021 201620162020      A5XDV 13735FVFRE       2571 L042133260   S.0039055.1.1                 021001 $         21,852,462.74
 CL    021 201620162020      A5XDV 114018VFRE       2571 L042134591   S.0037925.1                   021001 $          2,413,966.80
 CM    021 201620182035      A5XDV DA0925ARF02      253F L042135442   A.0026138.1.1.1.5             021001 $         19,379,987.45
 CN    021 201520162040      A5XBE 654808415RF02    2571 L042115174   R.0014733.4.1                 021001 $            202,767.85
 CP    021 201620162020      A5XDU 123208AMTV       2571 L042202992   S.0036119.3.1                 021001 $          1,238,672.42
 CR    021 201620162020      A76YY 111014WSUS       2571 L042224057   S.0039055.1.1.3               021001 $          2,881,022.70
 CS    97   6010056SFSC652SPFLMRAP01    56900017417387700                                                  $         29,721,599.92
 CT    021 201620162020      A57EC 321731TFNC       2571 L042522239   S.0039055.1.1.4               021001 $            453,705.36
 CU    097 2010XXXX8242 G9O1 A60EE UED001B          3101 L042649328   F.0002869.1.1.1.1             021001 $          2,080,550.93
 CV    57   63400000030678741421410100005699223765F387700                                                  $          6,127,295.58
 CW    097 2010XXXX8242 P1O1 A60EE AAO001B          3101 L043623838   F.0003054.1.1.1.1             021001 $          4,990,694.00
 CX    021 201620162020      A8AAG 135197VOFS       3107 L044504457   S.0039055.1.1.5               021001 $          1,817,953.30
 CY    021 201620162020      A8ABC 114051WEAD       2571 L044786299   S.0039055.1.1.5.2             021001 $            157,830.00
 CZ    097 2010XXXX8242 EGO1 A60EE VGQ004B          253F L044734017   F.0003215.4.1.1.1             021001 $          1,580,380.95
 DA    021 201620162020      A8AAH 135197VIRQ       2571 L044907869   S.0039055.1.1.5.3             021001 $          1,473,819.69
 DB    021 201620162020      A8AAH 135197VIRQ       2571 L045855341   S.0039055.1.1.5.4             021001 $            304,643.60
 DC    021 201620162020      A8AAH 135197VIRQ       2571 L045853069   S.0039055.1.1.5.5             021001 $            700,698.27
 DD    021 201620162020      A8AAG 135197VOFS       2571 L046641627   S.0039055.1.1.5.6             021001 $            342,787.32
 DE    097 2010XXXX8242 G9O1 A60EE UEH001B          253G L046364373   F.0003644.1.1.1.1             021001 $          6,734,153.16
 DF    021 201720172020      A5XDV 115020VFRE       3101 L047471300   S.0045889.6                   021001 $         14,430,554.58
 DG    021 201720172020      A5XDV 114018VFRE       3101 L047473431   S.0045888.1                   021001 $          1,262,242.86
 DH    021 201720192035      A5XDV DA0925ARF02      3101 L047496684   A.0031156.1.1.1.5             021001 $         23,802,729.93
 DJ    021 201620172040      A5XHS 654808415RF02    2550 L047252990   A.0026761.2                   021001 $             86,235.14
                    Case 1:15-cv-02105-ABJ Document 30 Filed 06/19/18 Page 394 of 468

                                                       Reference No. of Document Being Continued                Page318      of   388
          CONTINUATION SHEET                                                                                   REPRINT
                                                   PIIN/SIIN W56HZV-12-C-0127                MOD/AMD
 Name of Offeror or Contractor:   MANTECH ADVANCED SYSTEMS INTERNATIONAL, INC.




                                                                                                                                   OBLIGATED
ACRN
____     ACCOUNTING CLASSIFICATION
         _________________________                                                                                                 __________
                                                                                                                                      AMOUNT
 DK      021 201720172020      A57EC 321731TFNC       2571 L047329534   S.0046382.8                             021001   $        353,483.49
 DL      021 201720172020      A8AAH 135197VIRQ       2571 L047370261   S.0046382.1                             021001   $      2,300,561.61
 DM      021 201720172020      A8ABC 114051WEAD       3101 L047469206   S.0046382.7                             021001   $        260,036.51
 DN      021 201720172020      A8AAH 135197VIRQ       2571 L047369645   S.0046382.3                             021001   $      3,103,149.94
 DP      021 201720172020      A8AAH 135197VIRQ       2571 L047255357   S.0046382.5                             021001   $        664,982.96
 DQ      021 201720172020      A8AAH 135197VIRQ       2571 L047254928   S.0046382.4                             021001   $      1,726,806.58
 DR      021 201720172020      A8AAG 135197VOFS       2571 L047305772   S.0046382.6                             021001   $      1,273,953.54
 DS      021 201720172020      A5XDU 135032VFRE       252G L047103647   S.0045776.8.15                          021001   $      3,101,097.77
 DT      57   734000000307787414214123765F56992F87700387700                                                              $      4,634,310.98
 DU      97   7010056SFSC752SPFLMRAP01    56900017417387700                                                              $     23,230,954.78
 DV      097 2010XXXX8242 IQO1 A60EE USE001B          3101 L047292662   F.0001939.1.1.1.1                       021001   $     14,265,307.09
 DW      097 2010XXXX8242 G9O1 A60EE UEH002B          253G L046364807   F.0003644.2.1.1.1                       021001   $      2,435,757.87
 DX      097 2010XXXX8242 V5O1 A60EE AEH001B          253G L047304410   F.0003860.1.1.1.1                       021001   $      6,663,325.00
 DY      097 2010XXXX8242 EGO1 A60EE VGQ010B          310A L046966867   F.0003215.10.1.1.1                      021001   $      2,431,619.05
 DZ      021 201720172020      A76YY 111014WSUS       2571 L047887428   S.0046382.9                             021001   $      1,875,056.15
 EA      097 2010XXXX8242 KSO1 A60EE ZFO002B          310A L047276197   F.0003298.2.1.1.1                       021001   $        115,000.00
 EB      097 2010XXXX8242 KSO1 A60EE ZFO001B          253G L047287747   F.0003298.1.1.1.1                       021001   $__________________
                                                                                                                                   19,679.54

                                                                                                           TOTAL         $   1,044,796,697.40



LINE
ITEM
_____       ACRN
            ____   EDI/SFIS ACCOUNTING CLASSIFICATION
                   __________________________________
1001AA      AA     21 121220200000      W56HZV 21C1C121150201000025122M2SMA07Q7     2MARCESMA   S20113
1001AB      AB     21 121220200000      W56HZV 21C1C1213519700000252G2M2SMA09Q7     2MA1A4SMA   S20113
1001AC      AA     21 121220200000      W56HZV 21C1C121150201000025122M2SMA08Q7     2MARCESMA   S20113
1001AD      AC     17 121211061A2A      25267854 067443 2DM954502MPAAG1250LS    M9545012MPAAG12                           067443
1002AA      AA     21 121220200000      W56HZV 21C1C121150201000025122M2SMA07Q7     2MARCESMA   S20113
1002AB      AB     21 121220200000      W56HZV 21C1C1213519700000252G2M2SMA09Q7     2MA1A4SMA   S20113
1002AC      AA     21 121220200000      W56HZV 21C1C121150201000025122M2SMA08Q7     2MARCESMA   S20113
1002AD      AC     17 121211061A2A      25267854 067443 2DM954502MPAAG1250LS    M9545012MPAAG12                           067443
1002AE      AJ     021 201220122020      A5XDV 115020VFRE      252G L032195638 S.0004626.1                                 021001
1002AF      AK     021 201220122020      A5XDV 115020VFRE      252G L032195639 S.0004626.1                                 021001
1002AH      AY     021 201120132035      A5XDV D02903AVFRE     253F L032732013 A.0010970.1.1.1.2.2                         021001
1003AA      AA     21 121220200000      W56HZV 21C1C121150201000025122M2SMA07Q7     2MARCESMA   S20113
1003AB      AB     21 121220200000      W56HZV 21C1C1213519700000252G2M2SMA09Q7     2MA1A4SMA   S20113
1003AC      AA     21 121220200000      W56HZV 21C1C121150201000025122M2SMA08Q7     2MARCESMA   S20113
1003AD      AC     17 121211061A2A      25267854 067443 2DM954502MPAAG1250LS    M9545012MPAAG12                           067443
1003AF      AY     021 201120132035      A5XDV D02903AVFRE     253F L032732013 A.0010970.1.1.1.2.2                         021001
1004AA      AN     021 201320132020      A5XDV 115020VFRE      252G L032540439 S.0009654.4.2                               021001
1004AB      AP     17 131311061A2A      252678540067443 2D067443M95450          M9545013MPZ8388                           067443
1004AC      AQ     021 201320132020      A5XDV 115020VFRE      252G L032540236 S.0009654.4.2                               021001
1004AD      AP     17 131311061A2A      252678540067443 2D067443M95450          M9545013MPZ8388                           067443
1004AE      AY     021 201120132035      A5XDV D02903AVFRE     253F L032732013 A.0010970.1.1.1.2.2                         021001
1004AF      AZ     021 201220142035      A5XDV D02902ARF02     2533 L033282588 A.0010956.1.1.1.1.2                         021001
1004AG      BC     021 201320132020      A5XDV 114018VFRE      252G L033691254 S.0011457.1.2                               021001
1005AA      AN     021 201320132020      A5XDV 115020VFRE      252G L032540439 S.0009654.4.2                               021001
1005AB      AP     17 131311061A2A      252678540067443 2D067443M95450          M9545013MPZ8388                           067443
1005AC      AQ     021 201320132020      A5XDV 115020VFRE      252G L032540236 S.0009654.4.2                               021001
1005AD      AP     17 131311061A2A      252678540067443 2D067443M95450          M9545013MPZ8388                           067443
1005AE      AY     021 201120132035      A5XDV D02903AVFRE     253F L032732013 A.0010970.1.1.1.2.2                         021001
1005AF      AZ     021 201220142035      A5XDV D02902ARF02     2533 L033282588 A.0010956.1.1.1.1.2                         021001
1005AG      BC     021 201320132020      A5XDV 114018VFRE      252G L033691254 S.0011457.1.2                               021001
1005AH      BD     021 201320152093 0000 A5UDD 201900VEXA      3101 0010387943 52093000 A.0005001.5.1.23                   021001
1101AA      AD     57 12123400MRAP      25267854 067443 2D1AK1 2MPOMFS850LD     M9545012MPOMFS8                           067443
1101AB      AE     21 1212202027A0      25267854 067443 2D1351982MPOMAQ850TA    M9545012MPOMAQ8                           067443
1101AC      AF     17 121211061A2A      25267854 067443 2DM954502MPAAG1350LS    M9545012MPAAG13                           067443
1101AD      AG     17 121211061A2A      25267854 067443 2DM954502MPOMNE650LS    M9545012MPOMNE6                           067443
1102AA      AD     57 12123400MRAP      25267854 067443 2D1AK1 2MPOMFS850LD     M9545012MPOMFS8                           067443
1102AB      AE     21 1212202027A0      25267854 067443 2D1351982MPOMAQ850TA    M9545012MPOMAQ8                           067443
1102AC      AF     17 121211061A2A      25267854 067443 2DM954502MPAAG1350LS    M9545012MPAAG13                           067443
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1102AD    AG     17 121211061A2A      25267854 067443 2DM954502MPOMNE650LS   M9545012MPOMNE6                       067443
1102AE    AL     021 201320132020      A5XDU 114018VFRE      252G L032314565 S.0009561.8                            021001
1102AF    AL     021 201320132020      A5XDU 114018VFRE      252G L032314565 S.0009561.8                            021001
1102AG    AS     021 201320132020      A5XDU 114018VFRE      252G L032539924 S.0009561.8.1                          021001
1102AH    AP     17 131311061A2A      252678540067443 2D067443M95450         M9545013MPZ8388                       067443
1102AJ    AT     17 1313180460CC      2574582AH060951 2DP001K7402733356UED   N4027313MP001K7                       060951
1102AK    AW     021 201320132020      A5XDU 114018VFRE      252G L032742361 S.0009561.8.2                          021001
1102AL    AX     57 131334000000      HQ0104 30387RO010000XXCM645781523765F503000          F3QCDK2341G006
1102AM    BA     021 201320132020      A5XDU 114018VFRE      252G L033416337 S.0009561.8.3                          021001
1103AA    AD     57 12123400MRAP      25267854 067443 2D1AK1 2MPOMFS850LD    M9545012MPOMFS8                       067443
1103AB    AE     21 1212202027A0      25267854 067443 2D1351982MPOMAQ850TA   M9545012MPOMAQ8                       067443
1103AC    AF     17 121211061A2A      25267854 067443 2DM954502MPAAG1350LS   M9545012MPAAG13                       067443
1103AD    AG     17 121211061A2A      25267854 067443 2DM954502MPOMNE650LS   M9545012MPOMNE6                       067443
1103AF    AM     17 121311061A2A      25267854 067443 2DM954503MPZ819350LS   M9545013MPZ8193                       067443
1103AG    AS     021 201320132020      A5XDU 114018VFRE      252G L032539924 S.0009561.8.1                          021001
1103AH    AP     17 131311061A2A      252678540067443 2D067443M95450         M9545013MPZ8388                       067443
1103AJ    AT     17 1313180460CC      2574582AH060951 2DP001K7402733356UED   N4027313MP001K7                       060951
1103AK    AW     021 201320132020      A5XDU 114018VFRE      252G L032742361 S.0009561.8.2                          021001
1103AL    AP     17 131311061A2A      252678540067443 2D067443M95450         M9545013MPZ8388                       067443
1103AN    AX     57 131334000000      HQ0104 30387RO010000XXCM645781523765F503000          F3QCDK2341G006
1103AP    AX     57 131334000000      HQ0104 30387RO010000XXCM645781523765F503000          F3QCDK2320G002
1103AQ    BA     021 201320132020      A5XDU 114018VFRE      252G L033416337 S.0009561.8.3                          021001
1104AA    AS     021 201320132020      A5XDU 114018VFRE      252G L032539924 S.0009561.8.1                          021001
1104AB    AP     17 131311061A2A      252678540067443 2D067443M95450         M9545013MPZ8388                       067443
1104AG    AX     57 131334000000      HQ0104 30387RO010000XXCM645781523765F503000          F3QCDK2341G006
1104AH    BA     021 201320132020      A5XDU 114018VFRE      252G L033416337 S.0009561.8.3                          021001
1105AA    AS     021 201320132020      A5XDU 114018VFRE      252G L032539924 S.0009561.8.1                          021001
1105AB    AP     17 131311061A2A      252678540067443 2D067443M95450         M9545013MPZ8388                       067443
1105AD    AW     021 201320132020      A5XDU 114018VFRE      252G L032742361 S.0009561.8.2                          021001
1105AE    AX     57 131334000000      HQ0104 30387RO010000XXCM645781523765F503000          F3QCDK2341G006
1105AF    BA     021 201320132020      A5XDU 114018VFRE      252G L033416337 S.0009561.8.3                          021001
1201AA    AH     97 12120100MCCQ      25267854 067443 2DM954502MP1MRAP50RE   M9545012MP1MRAP                       067443
1202AA    AH     97 12120100MCCQ      25267854 067443 2DM954502MP1MRAP50RE   M9545012MP1MRAP                       067443
1203AA    AH     97 12120100MCCQ      25267854 067443 2DM954502MP1MRAP50RE   M9545012MP1MRAP                       067443
1204AA    AR     97 1313010056SF      667100 SC 52SP010000FLMRAP57815017417667100          F2VUF02304G001
1204AB    AR     97 1313010056SF      667100 SC 52SP010000FLMRAP57815017417667100          F2VUF03106G001
1205AA    AR     97 1313010056SF      667100 SC 52SP010000FLMRAP57815017417667100          F2VUF02304G001
1205AB    AR     97 1313010056SF      667100 SC 52SP010000FLMRAP57815017417667100          F2VUF03106G001
2001AA    BE     021 201420142020      A5XDV 115020VFRE      2571 L035010959 S.0021149.1                            021001
2001AB    BF     021 201420142020      A5XDV 114018VFRE      2571 L035011444 S.0021132.1                            021001
2001AC    BE     021 201420142020      A5XDV 115020VFRE      2571 L035010959 S.0021149.1                            021001
2001AD    BG     17 141411061A2A      25267854 067443 2DM954504MPZ832217LS   M9545014MPZ8322                       067443
2001AE    BH     021 201220142035      A5XDV D02903ARF02     2571 L035011720 A.0010956.1.1.1.2.5                    021001
2001AF    BP     17 141411061A2A      25267854 067443 2DM954504MPZWA1115LX   M9545014MPZWA11                       067443
2001AG    BP     17 141411061A2A      25267854 067443 2DM954504MPZWA1115LX   M9545014MPZWA11                       067443
2001AH    BQ     17 141611096520      31067854 067443 2D6520004MP47984152T   M9545014MP47984                       067443
2001AJ    BR     021 201420152040      A5XBE 654808415RF02   2571 L036474348 R.0010979.4.1                          021001
2002AA    BE     021 201420142020      A5XDV 115020VFRE      2571 L035010959 S.0021149.1                            021001
2002AB    BF     021 201420142020      A5XDV 114018VFRE      2571 L035011444 S.0021132.1                            021001
2002AC    BE     021 201420142020      A5XDV 115020VFRE      2571 L035010959 S.0021149.1                            021001
2002AD    BG     17 141411061A2A      25267854 067443 2DM954504MPZ832217LS   M9545014MPZ8322                       067443
2002AE    BH     021 201220142035      A5XDV D02903ARF02     2571 L035011720 A.0010956.1.1.1.2.5                    021001
2002AF    BP     17 141411061A2A      25267854 067443 2DM954504MPZWA1115LX   M9545014MPZWA11                       067443
2002AG    BQ     17 141611096520      31067854 067443 2D6520004MP47984152T   M9545014MP47984                       067443
2002AH    BR     021 201420152040      A5XBE 654808415RF02   2571 L036474348 R.0010979.4.1                          021001
2101AA    BK     021 201420142020      A5XDU 114018VFRE      252G L035012543 S.0019206.2.3.1                        021001
2101AB    BL     57 141434000000      F67100 30478740100001421415699223765F667100          F2QF203304G001
2101AC    BN     57 141434000000      667100 30 04 1421417874 5699223765F667100            F2QF204027G001
2102AA    BK     021 201420142020      A5XDU 114018VFRE      252G L035012543 S.0019206.2.3.1                           021001
2102AB    BL     57 141434000000      F67100 30478740100001421415699223765F667100          F2QF203304G001
2102AC    BN     57 141434000000      667100 30 04 1421417874 5699223765F667100            F2QF204027G001
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2201AA    BJ     97 1415010056SF      667100 SC 52SP010000FLMARP56900017417667100          F2VUF03303G001
2202AA    BJ     97 1415010056SF      667100 SC 52SP010000FLMARP56900017417667100          F2VUF03303G001
3001AA    BW     021 201520152020      A5XDV 115020VFRE      2571 L037938148 S.0028443.1.2                          021001
3001AB    BX     021 201520152020      A5XDV 114018VFRE      2571 L037938645 S.0028442.1.1                          021001
3001AD    CF     17 151511061A2A      25267854 067443 2DM954505MPZ825117LS   M9545015MPZ8251                       067443
3001AE    BY     021 201420162035      A5XDV DA0925ARF02     3101 L037963539 A.0018927.1.1.1.5                      021001
3001AF    BZ     17 141611096520      25167854 067443 2D6520SB5MP46C40152U   M9545015MP46C40                       067443
3001AG    CA     021 201420152040      A5XBE 654808415RF02   2571 L037837937 R.0010979.4.1                          021001
3001AH    BW     021 201520152020      A5XDV 115020VFRE      2571 L037938148 S.0028443.1.2                          021001
3001AJ    BW     021 201520152020      A5XDV 115020VFRE      2571 L037938148 S.0028443.1.2                          021001
3001AK    CE     17 131511096520      31067854 067443 2D6520005MP36K45152T   M9545015MP36K45                       067443
3001AL    CJ     021 201420162035      A5XDV DA0925ARF02     3101 L040088311 A.0018927.1.1.1.5                      021001
3002AA    BW     021 201520152020      A5XDV 115020VFRE      2571 L037938148 S.0028443.1.2                          021001
3002AB    BX     021 201520152020      A5XDV 114018VFRE      2571 L037938645 S.0028442.1.1                          021001
3002AD    CF     17 151511061A2A      25267854 067443 2DM954505MPZ825117LS   M9545015MPZ8251                       067443
3002AE    BY     021 201420162035      A5XDV DA0925ARF02     3101 L037963539 A.0018927.1.1.1.5                      021001
3002AF    BZ     17 141611096520      25167854 067443 2D6520SB5MP46C40152U   M9545015MP46C40                       067443
3002AG    CA     021 201420152040      A5XBE 654808415RF02   2571 L037837937 R.0010979.4.1                          021001
3002AH    BW     021 201520152020      A5XDV 115020VFRE      2571 L037938148 S.0028443.1.2                          021001
3002AJ    BW     021 201520152020      A5XDV 115020VFRE      2571 L037938148 S.0028443.1.2                          021001
3002AK    CE     17 131511096520      31067854 067443 2D6520005MP36K45152T   M9545015MP36K45                       067443
3002AL    CJ     021 201420162035      A5XDV DA0925ARF02     3101 L040088311 A.0018927.1.1.1.5                      021001
3003AA    CE     17 131511096520      31067854 067443 2D6520005MP36K45152T   M9545015MP36K45                       067443
3101AA    BS     021 201520152020      A5XDU 123208AMTV      2533 L037774912 S.0028437.3.1                          021001
3101AB    BT     57 151534000000      F67100 30578740100001421415064023765F667100          F2QF204290G001
3102AA    BS     021 201520152020      A5XDU 123208AMTV      2533 L037774912 S.0028437.3.1                             021001
3102AB    BT     57 151534000000      F67100 30578740100001421415064023765F667100          F2QF204290G001
3102AC    CB     57 151534000000      F67100 30578740100001421415699223765F667100          F2QF205007G002
3102AD    CG     57 151534000000      F87700 305787423765F14214156992      387700          F2QF205112GW01
3201AA    BU     97 XXXX01000000      F87700 56 SPSCFLMRAP52SP 56900017417387700           F2VUF04296GW01
3202AA    BU     97 XXXX01000000      F87700 56 SPSCFLMRAP52SP 56900017417387700           F2VUF04296GW01
3301AA    CC     097 2010XXXX8242 IQO1 A60EE USE001B         3109 L039050945 F.0001939.1.1.1.1                         021001
3302AA    CC     097 2010XXXX8242 IQO1 A60EE USE001B         3109 L039050945 F.0001939.1.1.1.1                         021001
4001AA    CK     021 201620162020      A5XDV 13735FVFRE      2571 L042133260 S.0039055.1.1                             021001
4001AB    CL     021 201620162020      A5XDV 114018VFRE      2571 L042134591 S.0037925.1                               021001
4001AE    CM     021 201620182035      A5XDV DA0925ARF02     253F L042135442 A.0026138.1.1.1.5                         021001
4001AG    CN     021 201520162040      A5XBE 654808415RF02   2571 L042115174 R.0014733.4.1                             021001
4001AH    CR     021 201620162020      A76YY 111014WSUS      2571 L042224057 S.0039055.1.1.3                           021001
4001AJ    CT     021 201620162020      A57EC 321731TFNC      2571 L042522239 S.0039055.1.1.4                           021001
4001AK    CX     021 201620162020      A8AAG 135197VOFS      3107 L044504457 S.0039055.1.1.5                           021001
4001AL    CY     021 201620162020      A8ABC 114051WEAD      2571 L044786299 S.0039055.1.1.5.2                         021001
4001AM    DA     021 201620162020      A8AAH 135197VIRQ      2571 L044907869 S.0039055.1.1.5.3                         021001
4001AN    DB     021 201620162020      A8AAH 135197VIRQ      2571 L045855341 S.0039055.1.1.5.4                         021001
4001AP    DC     021 201620162020      A8AAH 135197VIRQ      2571 L045853069 S.0039055.1.1.5.5                         021001
4001AQ    DD     021 201620162020      A8AAG 135197VOFS      2571 L046641627 S.0039055.1.1.5.6                         021001
4002AA    CK     021 201620162020      A5XDV 13735FVFRE      2571 L042133260 S.0039055.1.1                             021001
4002AB    CL     021 201620162020      A5XDV 114018VFRE      2571 L042134591 S.0037925.1                               021001
4002AE    CM     021 201620182035      A5XDV DA0925ARF02     253F L042135442 A.0026138.1.1.1.5                         021001
4002AG    CN     021 201520162040      A5XBE 654808415RF02   2571 L042115174 R.0014733.4.1                             021001
4002AH    CR     021 201620162020      A76YY 111014WSUS      2571 L042224057 S.0039055.1.1.3                           021001
4002AJ    CT     021 201620162020      A57EC 321731TFNC      2571 L042522239 S.0039055.1.1.4                           021001
4002AK    CX     021 201620162020      A8AAG 135197VOFS      3107 L044504457 S.0039055.1.1.5                           021001
4002AL    CY     021 201620162020      A8ABC 114051WEAD      2571 L044786299 S.0039055.1.1.5.2                         021001
4002AM    DA     021 201620162020      A8AAH 135197VIRQ      2571 L044907869 S.0039055.1.1.5.3                         021001
4002AN    DB     021 201620162020      A8AAH 135197VIRQ      2571 L045855341 S.0039055.1.1.5.4                         021001
4002AP    DC     021 201620162020      A8AAH 135197VIRQ      2571 L045853069 S.0039055.1.1.5.5                         021001
4002AQ    DD     021 201620162020      A8AAG 135197VOFS      2571 L046641627 S.0039055.1.1.5.6                         021001
4101AA    CP     021 201620162020      A5XDU 123208AMTV      2571 L042202992 S.0036119.3.1                             021001
4101AB    CV     57 161634000000      F87700 30678740100001421415699223765F387700          F2QF205293GW01
4102AA    CP     021 201620162020      A5XDU 123208AMTV      2571 L042202992 S.0036119.3.1                             021001
4102AB    CV     57 161634000000      F87700 30678740100001421415699223765F387700          F2QF205293GW01
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_____      ACRN
           ____   EDI/SFIS ACCOUNTING CLASSIFICATION
                  __________________________________
4201AA     CS     97 1616010056SF      F87700 SC652SP01     FLMRAP56900017417387700           F2VUF05308GW03
4202AA     CS     97 1616010056SF      F87700 SC652SP01     FLMRAP56900017417387700           F2VUF05308GW03
4301AA     CC     097 2010XXXX8242 IQO1 A60EE USE001B          3109 L039050945 F.0001939.1.1.1.1                             021001
4302AA     CC     097 2010XXXX8242 IQO1 A60EE USE001B          3109 L039050945 F.0001939.1.1.1.1                             021001
4401AA     CU     097 2010XXXX8242 G9O1 A60EE UED001B          3101 L042649328 F.0002869.1.1.1.1                             021001
4402AA     CU     097 2010XXXX8242 G9O1 A60EE UED001B          3101 L042649328 F.0002869.1.1.1.1                             021001
4501AA     CW     097 2010XXXX8242 P1O1 A60EE AAO001B          3101 L043623838 F.0003054.1.1.1.1                             021001
4502AA     CW     097 2010XXXX8242 P1O1 A60EE AAO001B          3101 L043623838 F.0003054.1.1.1.1                             021001
4601AA     CZ     097 2010XXXX8242 EGO1 A60EE VGQ004B          253F L044734017 F.0003215.4.1.1.1                             021001
4602AA     CZ     097 2010XXXX8242 EGO1 A60EE VGQ004B          253F L044734017 F.0003215.4.1.1.1                             021001
5001AA     DF     021 201720172020      A5XDV 115020VFRE       3101 L047471300 S.0045889.6                                   021001
5001AB     DG     021 201720172020      A5XDV 114018VFRE       3101 L047473431 S.0045888.1                                   021001
5001AE     DH     021 201720192035      A5XDV DA0925ARF02      3101 L047496684 A.0031156.1.1.1.5                             021001
5001AG     DJ     021 201620172040      A5XHS 654808415RF02    2550 L047252990 A.0026761.2                                   021001
5001AH     DZ     021 201720172020      A76YY 111014WSUS       2571 L047887428 S.0046382.9                                   021001
5001AJ     DK     021 201720172020      A57EC 321731TFNC       2571 L047329534 S.0046382.8                                   021001
5001AK     DL     021 201720172020      A8AAH 135197VIRQ       2571 L047370261 S.0046382.1                                   021001
5001AL     DM     021 201720172020      A8ABC 114051WEAD       3101 L047469206 S.0046382.7                                   021001
5001AM     DN     021 201720172020      A8AAH 135197VIRQ       2571 L047369645 S.0046382.3                                   021001
5001AN     DP     021 201720172020      A8AAH 135197VIRQ       2571 L047255357 S.0046382.5                                   021001
5001AP     DQ     021 201720172020      A8AAH 135197VIRQ       2571 L047254928 S.0046382.4                                   021001
5001AQ     DR     021 201720172020      A8AAG 135197VOFS       2571 L047305772 S.0046382.6                                   021001
5002AA     DF     021 201720172020      A5XDV 115020VFRE       3101 L047471300 S.0045889.6                                   021001
5002AB     DG     021 201720172020      A5XDV 114018VFRE       3101 L047473431 S.0045888.1                                   021001
5002AE     DH     021 201720192035      A5XDV DA0925ARF02      3101 L047496684 A.0031156.1.1.1.5                             021001
5002AG     DJ     021 201620172040      A5XHS 654808415RF02    2550 L047252990 A.0026761.2                                   021001
5002AH     DZ     021 201720172020      A76YY 111014WSUS       2571 L047887428 S.0046382.9                                   021001
5002AJ     DK     021 201720172020      A57EC 321731TFNC       2571 L047329534 S.0046382.8                                   021001
5002AK     DL     021 201720172020      A8AAH 135197VIRQ       2571 L047370261 S.0046382.1                                   021001
5002AL     DM     021 201720172020      A8ABC 114051WEAD       3101 L047469206 S.0046382.7                                   021001
5002AM     DN     021 201720172020      A8AAH 135197VIRQ       2571 L047369645 S.0046382.3                                   021001
5002AN     DP     021 201720172020      A8AAH 135197VIRQ       2571 L047255357 S.0046382.5                                   021001
5002AP     DQ     021 201720172020      A8AAH 135197VIRQ       2571 L047254928 S.0046382.4                                   021001
5002AQ     DR     021 201720172020      A8AAG 135197VOFS       2571 L047305772 S.0046382.6                                   021001
5101AA     DS     021 201720172020      A5XDU 135032VFRE       252G L047103647 S.0045776.8.15                                021001
5101AB     DT     57 171734000000      387700 307787423765F14214156992F87700387700            F2QF206285GW01
5102AA     DS     021 201720172020      A5XDU 135032VFRE       252G L047103647 S.0045776.8.15                                021001
5102AB     DT     57 171734000000      387700 307787423765F14214156992F87700387700            F2QF206285GW01
5201AA     DU     97 1717010056SF      387700 SC752SP01     FLMRAP56900017417387700           F2VUF06293GW05
5202AA     DU     97 1717010056SF      387700 SC752SP01     FLMRAP56900017417387700           F2VUF06293GW05
5301AA     DV     097 2010XXXX8242 IQO1 A60EE USE001B          3101 L047292662 F.0001939.1.1.1.1                             021001
5302AA     DV     097 2010XXXX8242 IQO1 A60EE USE001B          3101 L047292662 F.0001939.1.1.1.1                             021001
5401AA     DW     097 2010XXXX8242 G9O1 A60EE UEH002B          253G L046364807 F.0003644.2.1.1.1                             021001
5402AA     DW     097 2010XXXX8242 G9O1 A60EE UEH002B          253G L046364807 F.0003644.2.1.1.1                             021001
5501AA     DX     097 2010XXXX8242 V5O1 A60EE AEH001B          253G L047304410 F.0003860.1.1.1.1                             021001
5502AA     DX     097 2010XXXX8242 V5O1 A60EE AEH001B          253G L047304410 F.0003860.1.1.1.1                             021001
5601AA     DY     097 2010XXXX8242 EGO1 A60EE VGQ010B          310A L046966867 F.0003215.10.1.1.1                            021001
5602AA     DY     097 2010XXXX8242 EGO1 A60EE VGQ010B          310A L046966867 F.0003215.10.1.1.1                            021001
5701AA     DE     097 2010XXXX8242 G9O1 A60EE UEH001B          253G L046364373 F.0003644.1.1.1.1                             021001
5702AA     DE     097 2010XXXX8242 G9O1 A60EE UEH001B          253G L046364373 F.0003644.1.1.1.1                             021001
5801AA     EB     097 2010XXXX8242 KSO1 A60EE ZFO001B          253G L047287747 F.0003298.1.1.1.1                             021001
5802AA     EA     097 2010XXXX8242 KSO1 A60EE ZFO002B          310A L047276197 F.0003298.2.1.1.1                             021001

                  Regulatory Cite
                  _______________    ______________________________________________________________________
                                                                     Title                                    ____________
                                                                                                                  Date

    G-1           52.242-4016        COMMUNICATIONS                                                            FEB/2013

Communications on technical matters pertaining to the contract shall be direct between the contractor and the Technical Representative.

Communications for the Technical Representative shall be addressed to:
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APO MRAP
MRAP CONUS COR: Vittoria Pruitt, email: vittoria.a.pruitt.civ@mail.mil
                                                             _________

MRAP In-country COR:

Leon Morrow, email: leon.j.morrow@afghan.swa.army.mil
                    _________________________________



PdM AMS:

PM-AMS Route Clearance Vehicles (RCV) Contracting Officer Representative (COR): Michael Guy, michael.a.guy24.civ@mail.mil
                                                                                             ____________________________

PM AMS RCV Alternate COR: Frederick Delaney Phillips, email: frederick.d.phillips.civ@mail.mil
                                                             _________________________________

PM AMS RCV Program Lead (Senior Logistics Manager): Alex Urbina, alejandro.d.urbina.civ@mail.mil
                                                                 _______________________________

SOCOM:

Special Operations Command (SOCOM) Contracting Officer Representative (COR): Michael Guy, michael.a.guy24.civ@mail.mil
                                                                                          ____________________________

Special Operations Command (SOCOM) Program Lead: Claude Burg, claude.burg@socom.mil
                                                              _____________________

The Administrative Contracting Officer's (ACO) name and email address are also provided if known at this time:

ACO: Fernell Warren; fernell.warren@dcma.mil
                     _______________________

Please see the appointment letters prepared at time of contract award for functions the Technical Representative and ACO will perform on
this contract.




                                                          [End of Clause]




      G-2       52.204-4011        PAYMENT INSTRUCTIONS FOR THE DEFENSE FINANCE AND ACCOUNTING SERVICE     OCT/2005
                (TACOM)            (DFAS)

In accordance with DFARS PGI 204.7108, the contract shall be paid in accordance with DFARS PGI 204.7108(d)(5), line item specific by
cancellation date.

                                                          [End of Clause]
G.1

To support payment for work performed under this contract, the contractor shall, on each voucher submitted, state the level of effort
expended and shall certify that said level of effort has been expended in the accomplishment of the work called for by the contract.
Allowable costs shall be determined and payment shall be as provided in FAR 52.216-7, ALLOWABLE COST AND PAYMENT, I-109.




                                                 *** END OF NARRATIVE G0001 ***



********SPECIAL INSTRUCTIONS TO DFAS********

THE CORRECT LOA FOR THE FUNDING DOCUMENT 2M3CLSM1Q7/ACRN AM CLIN 1103AE AND 1103AF IS AS FOLLOWS:

1731106 1A2A 252 67854 067443 2D M95450 3MPZ819350LS 067443

CHECK THE LOA ON THE FUNDING MIPR 9545013MPZ8193
************************************************



                                                 *** END OF NARRATIVE G0002 ***
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********SPECIAL INSTRUCTIONS TO DFAS********

THE CORRECT LOA FOR THE FUNDING DOCUMENT 2M3CLSS1Q7/ACRN AR CLIN 1204AB AND 1205AB IS AS FOLLOWS:

9730100 56SF SC3 52SP FLMRAP 010000 57815 017417 667100 F67100

CHECK THE LOA ON THE FUNDING MIPR F2VUF03106G001
************************************************



                                                 *** END OF NARRATIVE G0003 ***

********SPECIAL INSTRUCTIONS TO DFAS********

THE CORRECT LOA FOR THE FUNDING DOCUMENT 2M3SMAXXQ7EH/ACRN BD CLIN 1005AH IS AS FOLLOWS:

0212013201 A5UDD 201900VEXA 3101 0010387943 021001 52093000
A.0005001.5.1.23

CHECK THE LOA ON THE FUNDING MIPR MIPR3K000J7356
************************************************



                                                 *** END OF NARRATIVE G0004 ***

********SPECIAL INSTRUCTIONS TO DFAS********

THE CORRECT LOA FOR THE FUNDING DOCUMENT 2M4CLSF2Q7/ACRN BN CLIN 2101AC and 2102AC IS AS FOLLOWS:

5743400 304 7874 142141 010000 56992 23765F 66710 F67100

CHECK THE LOA ON THE FUNDING MIPR F2QF204027G001
************************************************



                                                 *** END OF NARRATIVE G0005 ***



********SPECIAL INSTRUCTIONS TO DFAS********

THE CORRECT LOA FOR THE FUNDING DOCUMENT 2M5CLSS1Q7/ACRN BU CLIN 3201AA and 3202AA IS AS FOLLOWS:

097000010000056SF1515D F52SP FLMRAP 257.2301 010L000001L2
999900.999961 1170417BB 2015 387700 103000000 097000010000056SF1515D

ST NA ST DEAMS0000000000000000000326263

Legacy: 9750100.56SF SC5 52SP FLMRAP 01 56900 017417 387700 F87700

ESP: ST

CHECK THE LOA ON THE FUNDING MIPR: F2VUF04296GW001
************************************************




                                                 *** END OF NARRATIVE G0007 ***
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SECTION H - SPECIAL CONTRACT REQUIREMENTS

                  Regulatory Cite
                  _______________    ______________________________________________________________________
                                                                     Title                                        ____________
                                                                                                                      Date
      H-1         252.222-7006       RESTRICTIONS ON THE USE OF MANDATORY ARBITRATION AGREEMENTS                    DEC/2010

      H-2       5152.225-5908    GOVERNMENT FURNISHED CONTRACTOR SUPPORT                                  JUN/2015
                (C-JTSCC)
The following is a summary of the type of support the Government will provide the contractor. Services will be provided to contractors
at the same level as they are provided to military and DoD civilian personnel. In the event of any discrepancy between this summary and
the description of services in the Statement of Work, this clause will take precedence. These services are only provided at the
following locations: Bagram, Kandahar, Jalalabad, and Dwyer.

When contractor employees are in transit, all checked blocks are considered authorized.

NOTE:    The services marked in this special clause must be consistent with information marked on the approved GFLSV form.

U.S. Citizens

_X_    APO/MPO/DPO/Postal Service         _X_  DFACs****                           _X_   Mil Issue Equip
___    Authorized Weapon******            _X_  Excess Baggage                      _X_   MILAIR (inter/intra theater)
_X_    Billeting***                              _X_ Fuel Authorized                       _X_ MWR
_X__    CAAF*                             _X_ Govt Furnished Meals****
_X_    Controlled Access Card (CAC)       _X__ Military Banking                    _X_   Transportation
_X_    Installation Access Badge          _X__ Laundry                             ___   Military Clothing
_X_    Military Exchange                  ___ None
___    Embassy Services Kabul**



Third-Country National (TCN) Employees

___    N/A                                       _X_ DFACs****                             _X_ Mil Issue Equip
___    Authorized Weapon******            _X_  Excess Baggage                      _X_   MILAIR (inter/intra theater)
_X_    Billeting***                              _X_ Fuel Authorized                       _X_ MWR
_X__    CAAF*                             _X_ Govt Furnished Meals****             ___   Military Clothing
_X_    Controlled Access Card (CAC)       _X__ Military Banking                    _X_   Transportation
_X_    Installation Access Badge          _X__ Laundry                             ___   All
_X_    Military Exchange                  ___ None



Local National (LN) Employees

___    N/A                                ___   DFACs****                          ___   Mil Issue Equip
___    Authorized Weapon******            ___   Excess Baggage                     ___   MILAIR (intra theater)
___    Billeting***                       ___   Fuel Authorized                    ___   MWR
___    CAAF*                              ___   Govt Furnished Meals****           ___   Military Clothing
___    Controlled Access Card (CAC)       ___   Military Banking                   ___   Transportation
___    Installation Access Badge          ___   Laundry                            ___   All
___    Military Exchange                  _X_   None




* CAAF is defined as Contractors Authorized to Accompany Forces.
** Applies to US Embassy Life Support in Afghanistan only. See special note below regarding Embassy support.
*** Afghanistan Life Support. Due to the drawdown of base life support facilities throughout the country, standards will be lowering to
an expeditionary environment. Expeditionary standards will be base specific, and may include down grading from permanent housing (b-
huts, hardened buildings) to temporary tents or other facilities.
****Check the DFAC AND Government Furnished Meals boxes if the contractor will have access to the DFAC at no cost. Government Furnished
Meals (GFM) is defined as meals at no cost to the contractor (e.g, MREs, or meals at the DFAC. If GFM is checked, DFAC must also be
checked.
Due to drawdown efforts, DFACS may not be operational. Hot meals may drop from three per day to one or none per day. MREs may be
substituted for DFAC-provided meals; however, contractors will receive the same meal standards as provided to military and DoD civilian
personnel.
*****Military Banking indicates approved use of military finance offices to either obtain an Eagle Cash Card or cash checks.
******Authorized Weapon indicates this is a private security contract requirement and contractor employees, upon approval, will be
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authorized to carry a weapon. If the service is NOT a private security contract, the checking of this box does NOT authorize weapons
for self-defense without the approval of the USFOR-A Commander in accordance with USFOR-A policy. After award, the contractor may
request arming for self-defense off a U.S. installation to the Contracting Officers Representative and in CAAMS.

SPECIAL NOTE US Embassy Afghanistan Life Support: The type and amount of support that the U.S. Embassy Mission in Kabul, Afghanistan,
provides to contractors, if any, must be coordinated in advance between the U.S. Mission and the contracting agency in accordance with
Department of State Foreign Affairs Handbook, 2-FAH-2. Contractors are not authorized to deploy personnel requiring US Mission support
prior to receiving clearance from the Contracting Officer.

SPECIAL NOTE ON MILAIR MILAIR is allowed for the transportation of DoD contractor personnel (US, TCN, LN) as required by their contract
and as approved in writing by the Contracting Officer or Contracting Officer Representative. Transportation is also allowed for
contractor equipment required to perform the contract when that equipment travels with the contractor employee (e.g., special radio test
equipment, when the contractor is responsible for radio testing or repair)

                                                    (End of Clause)




    H-3         952.225-0016     CONTRACTOR DEMOBILIZATION -- AFGHANISTAN                                  AUG/2011
                (C3)
(a) Full demobilization of contractors and subcontractor(s) in the Afghanistan Combined Joint Operations Area (CJOA) is critical to
responsible drawdown. The prime contractor is required to submit a demobilization plan to the Contracting Officer a minimum of 120 days
prior to the end of the contract performance period or when requested by the Contracting Officer. The demobilization plan shall
address, as a minimum, the following procedures detailed below. The procedures outline specific guidance to ensure a timely and
responsible exit from theater. Prime contractors are responsible and accountable to ensure their subcontractor(s) at all tiers comply
with responsible and timely exit from theater immediately following contract performance completion or termination.

    (1) Exit from Afghanistan: The prime contractor is responsible to remain cognizant of Afghan laws regarding exit from Afghanistan.
 Currently, all foreigners traveling out of Afghanistan airports via commercial air transportation must have exit visas. Department of
Defense, U.S. Forces-Afghanistan, Letters of Authorization (LOAs), and/or Embassy Badges are not accepted means of exiting Afghanistan.
All U.S. citizens and foreign national contractors exiting via commercial means must obtain an Afghanistan exit sticker before departing
the country. The exit sticker may be obtained from Ministry of Interior (MOI) office. It is the prime contractors responsibility to
ensure that the most recent exit procedures are followed and to ensure that subcontractor(s) at all tiers are in compliance with exit
procedures.   It is to the responsibility of the contractor to work with the Embassy of Afghanistan or Afghanistan MOI as required.

    (2) Letter of Authorization (LOA): The prime contractor is responsible for demobilizing its workforce, including subcontractor
employees at all tiers, and all contractor owned and subcontractor owned equipment out of theater as part of the prime contractors exit
strategy. This exit strategy must include reasonable timeframes starting with the end of the contract performance period and not
exceeding 30 days. The Contracting Officer has the authority to extend selected LOAs up to, but not exceeding 30 calendar days after
the contract completion date to allow the prime contractor to complete demobilization of its workforce and contractor owned equipment,
as well as subcontractor(s) workforce and owned equipment, out of the Afghanistan CJOA. The prime contractor shall notify the
Contracting Officer a minimum of 30 days prior to the end of the contract period to request up to a 30-day extension of selected LOAs
beyond the contract completion date to complete demobilization. The request shall include at a minimum:

          (i) the name of each individual requiring a new LOA;

          (ii) the number of days for the LOA (no more than 30 calendar days); and

          (iii) justification for the request (e.g., what function the individual(s) will be performing during the demobilization period).



    The Contracting Officer may request additional information for an LOA extension. Any LOA extension granted beyond the contract
completion date shall not exceed 30 days and the contractor is not entitled to additional compensation for this period. If approved by
the Contracting Officer, this is a no cost extension of an employees LOA due to demobilization and in no way is an extension of the
contract performance period.

    (3) Badging: The prime contractor is responsible to ensure all employee badges, including subcontractor employees at all tiers,
are returned to the local Access Control Badging Office for de-activation and destruction. The prime contractor shall submit a Badge
Termination Report to ensure each record is flagged and the badge is revoked. If a prime and/or subcontractor employees badge is not
returned, the prime contractor shall submit a Lost, Stolen or Unrecovered Badge Report to the appropriate Access Control Badging Office.
 Contractor employees in possession of a Common Access Card (CAC) shall be responsible for turning in the CAC upon re-deployment through
a CONUS Replacement Center in the U.S. Failure to return employee badges in a timely manner may result in delay of final payment.

    (4) Contractor Controlled Facility Space: If the prime contractor has entered into a Memorandum of Understanding with the
Installation Mayor or Garrison for site space, buildings, facilities, and/or Containerized Housing Units (CHU) to house prime and/or
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subcontractor employees (at all tiers), the prime contractor is responsible to notify the Installation Mayor or Garrison Commander of
intent to vacate at least 90 calendar days prior to the end of the contract performance period. All United States Government (USG)
provided property in the prime contractors possession must be returned to the USG in satisfactory condition. The prime contractor is
responsible and liable for any and all damages to USG property caused by prime and/or subcontractor employees, and shall be further
liable for all cleanup, clearing, and/or environmental remediation expenses incurred by the USG in returning prime contractor and/or
subcontractor facilities including surrounding site to a satisfactory condition, including expenses incurred in physically moving
property, trash, and refuse from such premises, removing/ remediating hazardous wastes on the premises, and repairing structures,
buildings, and facilities used by the prime contractor and/or subcontractor. The prime contractor shall provide notification to the
Installation Mayor or Garrison Commander to perform an inspection of all facilities as soon as practicable, but no more than 30 days,
after the end of the contract period. If damages are discovered, the prime contractor shall make the necessary repairs. The prime
contractor shall notify the Installation Mayor or Garrison Commander for re-inspection of the facilities upon completion of the repairs.
 If the Installation Mayor or Garrison Commander inspects the property, site space, buildings, facilities, and/or CHUs and finds they
have not been properly cleaned, cleared, and/or environmentally remediated, or if the prime contractor fails to repair any damages
within 30 calendar days after the end of the contract performance period, the final contract payment shall be reduced by the amount of
the specified damages/repairs or the expenses incurred by the USG to properly clean, clear, and/or environmentally remediate the
premises.

    (5) Government Furnished Equipment/Materials: The prime contractor is responsible to return all USG furnished equipment, as
defined in Federal Acquisition Regulation (FAR) Part 45, clauses 52.245-1, if included in the contract. Prime contractors who are not
in compliance with the FAR, Defense Federal Acquisition Regulation Supplement, Department of Defense Directives and Instructions,
policies, or procedures will be responsible and liable for damages to the government property. The prime contractor may apply for a
relief of responsibility from the Contracting Officer anytime during the contract performance period. A joint inventory shall be
conducted of the equipment by the prime contractor, USG representative, and the Contracting Officer or their representative, within 10
calendar days after the end of the contract performance period. The prime contractor shall report lost, damaged or destroyed property
immediately to the Contracting Officer, but no later than the joint inventory at the end of the contract period. If the prime
contractor fails to report lost, damaged or destroyed equipment or materials during the contract performance period, the prime
contractor shall be responsible for the replacement and/or repair of the equipment or materials. The replaced equipment shall be new,
of the same quality, and shall perform at the same functional level as the missing piece of equipment. If the prime contractor fails to
repair and/or replace damaged or missing equipment, the final payment shall be reduced by the appropriate amount of the specified
damages or cost to replace missing equipment with new.

    (6) Contractor Personal Property: The contractor is advised that all personal property left on the respective installation after
the date of departure of said premises, shall be sold or otherwise disposed of in accordance with 10 U.S.C. \'a7 2575.

        (i) A request for the return of the property will be honored, if feasible, and if received before the expiration of the period
of time allowed to vacate the installation.

        (ii) If abandoned property is left on the respective installation, contractual remedies may be enforced against the contractor,
(See paragraph (b) of this clause for potential contractual remedies). Additionally, even if the contractor waives its interest to all
abandoned personal property, the contractor may still be liable for all costs incurred by the USG to remove or dispose of the abandoned
property.

        (iii)   The contractor hereby authorizes the USG authority to dispose of any and all abandoned personal property in any manner
the USG may deem suitable and hereby releases and discharges the USG and its agents from any and all claims and demands whatsoever that
could otherwise be asserted because of the disposition of said abandoned personal property.

    (7) Synchronized Predeployment Operational Tracker (SPOT): The prime contractor is responsible to close out the deployment of
personnel, including subcontractor employees at all tiers, at the end of the contract completion period and to release the personnel
from the prime contractors company in the SPOT database. The release of employee information must be accomplished no more than 30
calendar days after the end of the contract completion date.

    (8) Accountability of Prime and Subcontractor Personnel: Whether specifically written into the contract or not, it is the
expectation of the USG that for any persons brought into the Afghanistan CJOA for the sole purposes of performing work on USG contracts,
contract employers will return employees to their point of origin/home country once the contract is completed or their employment is
terminated for any reason. If the prime contractor fails to re-deploy an employee, or subcontractor employee at any tier, the USG shall
notify the applicable U.S. Embassy to take appropriate action. Failure by the prime contractor to re-deploy its personnel, including
subcontractor personnel at any tier, at the end of the contract completion date, could result in the contractor being placed on the
Excluded Parties List System (EPLS) and not be allowed to propose on future U.S. contracts anywhere in the world.

    (9) Personnel Recovery: Any DoD contractor with unaccounted for employees shall follow the instructions in the Contractor
Accountability and Personnel Recovery Clause 952.225-20. The contractor may use the Contracting Fusion Cell as a resource to track or
research employees last known location and/or to view LOAs.

(b) CENTCOM - Joint Theater Support Contracting Command (C-JTSCC) and external agencies will utilize all available contracting remedies
to guarantee compliance with demobilization requirements. Such actions include, but are not limited to withholding payment, issuing a
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cure notice, issuing a negative Contractor Performance Assessment Reporting System (CPARS) evaluation, reduction of award fee,
debarment, reimbursement of U.S. Government expenses, and/or any other legal remedy available to a contracting officer. The USG
reserves the right to withhold payment from the prime contractor not in compliance with the above procedures included herein.
Additionally, the Contracting Officer shall document all unresolved contractor compliance issues in CPARS, which shall have an adverse
past performance affect on future contracts with the USG, anywhere in the world.

                                                    (End of Clause)




    H-4         952.225-0020     CONTRACTOR ACCOUNTABILITY AND PERSONNEL RECOVERY (AFGHANISTAN)          AUG/2011
                (C3)
(a) Contract performance may require work in dangerous or austere conditions. Except as otherwise provided in the contract, the
contractor accepts the risks associated with required contract performance in such operations.

    (1) Unaccounted Personnel: It is the expectation of the USG that any contractor brought into Afghanistan for the sole purposes of
performance of work on a USG contract must be accounted for at all times by their respective employers. Additionally, contractors who
maintain living quarters on a USG base shall verify the location of each of its employees living quarters a minimum of once a month. If
a DoD contracted employee becomes missing and evidence does not indicate foul play, a Personnel Recovery (PR) event is NOT automatically
triggered. Such an event will be treated as an accountability battle drill by the employers chain of command or civilian equivalent.

    (2) Contractor Responsibilities: The contractor is responsible to take all necessary steps to locate and investigate the
unaccounted for employee(s) whereabouts to the maximum extent practicable. To assist in this process, contractors may use the
Contracting Fusion Cell as a resource to track or research employees last known location and/or to view LOAs. All missing personnel
will be immediately reported to the installation division Personnel Recovery Officer (PRO), Mayors cell, Military Police Station and/or
the Criminal Investigative Division, and the Base Defense Operations Center (BDOC).

    (3) Contractor Provided Information: If it is determined that a potential criminal act has occurred, the USD PRO (or USFOR-A
Personnel Recovery Division (PRD) with prior coordination) will attempt to validate the missing persons identity through the employer.
The contractor shall provide the information to PRD within 12 hours of request. The required information the contractor should keep on
file includes but is not limited to: copy of the individuals Letter of Authorization generated by the Synchronized Pre-deployment and
Operational Tracker System (SPOT), copy of passport and visas, housing information of where the individual resides such as room number
and location, DD Form 93, Record of Emergency Data, copy of badging, and contact information for known friends or associates.

(b) If USFOR-A PRD determines through investigation that the unaccounted personnel have voluntarily left the installation either
seeking employment with another contractor or other non-mission related reasons, PRD will notify the contractor. The contractor shall
ensure that all government-related documents such as LOAs, visas, etc. are terminated/reconciled appropriately within 24 hours of
notification by PRD in accordance with subparagraph (a)(8) of C-JTSCC Clause 952.225-0016 entitled Contractor Demobilization
(Afghanistan). Contractors who fail to account for their personnel or whose employees create PR events will be held in breach of their
contract and face all remedies available to the Contracting Officer.

                                                    (End of Clause)




    H-5         5152.225-5903    COMPLIANCE WITH LAWS AND REGULATIONS                                      DEC/2011
                (C-JTSCC)
(a) The Contractor shall comply with, and shall ensure that its employees and its subcontractors and their employees, at all tiers, are
aware of and obey all U.S. and Host Nation laws, Federal or DoD regulations, and US Central Command orders and directives as applicable
to personnel in Iraq and Afghanistan, including but not limited to USCENTCOM, Multi-National Force and Multi-National Corps or Chief of
Mission operations and fragmentary orders, instructions, policies and directives.

(b) Contractor employees shall particularly note all laws, regulations, policies, and orders restricting authority to carry firearms,
rules for the use of force, and prohibiting sexual or aggravated assault.

  (1) Afghanistan -- Contractor employees are subject to General Orders Number 1, as modified from time to time, including without
limitation, their prohibition on privately owned firearms, alcohol, drugs, war souvenirs, pornography and photographing detainees, human
casualties or military security measures.
  (2) Iraq -- Contractor employees are not subject to General Order 1. Contractor employees will follow the policies or directives of
the Office of Security Cooperation-Iraq (OSC-I) Installation Managers or Chief of Mission policies and directives regarding consumption
of alcohol or any prohibited items for sites that they are assigned.

(c) Contractor employees may be ordered removed from the US Embassy, Chief of Mission sites, OSC-I sites, secure military installations
or the theater of operations by order of the Chief of Mission (Iraq) or senior military commander of the battle space (Afghanistan) for
acts that disrupt good order and discipline or violate applicable laws, regulations, orders, instructions, policies, or directives.
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Contractors shall immediately comply with any such order to remove its contractor employee.

(d) Contractor employees performing in Iraq or the USCENTCOM Area of Responsibility (AOR) may be subject to the jurisdiction of
overlapping criminal codes, including, but not limited to, the Military Extraterritorial Jurisdiction Act (18 U.S.C. Sec. 3261, et al)
(MEJA), the Uniform Code of Military Justice (10 U.S.C. Sec. 801, et al) (UCMJ), and the laws of the Host Nation. Non-US citizens may
also be subject to the laws of their home country while performing in Iraq or the USCENTCOM AOR. Contractor employee status in these
overlapping criminal jurisdictions may be modified from time to time by the United States, the Host Nation, or by applicable status of
forces agreements.

(e) Under MEJA, a person who engages in felony misconduct outside the United States while employed by or accompanying the Armed Forces
is subject to arrest, removal and prosecution in United States federal courts. Under the UCMJ, a person serving with or accompanying the
Armed Forces in the field during a declared war or contingency operation may be disciplined for a criminal offense, including by
referral of charges to a General Court Martial. Contractor employees may be ordered into confinement or placed under conditions that
restrict movement in Iraq or within the AOR or administratively attached to a military command pending resolution of a criminal
investigation.

(f) Contractors shall immediately notify the BDOC (Iraq) or military law enforcement (Afghanistan) and the Contracting Officer if they
suspect an employee has committed an offense. Contractors shall take any and all reasonable and necessary measures to secure the
presence of an employee suspected of a serious felony offense. Contractors shall not knowingly facilitate the departure of an employee
suspected of a serious felony offense or violating the Rules for the Use of Force to depart Iraq or Afghanistan without approval from
the Chief of Mission (Iraq) or the senior U.S. commander (Afghanistan).

                                                    (End of clause)




    H-6         952.232-0005     C3 WIDE AREA WORKFLOW INSTRUCTIONS                                        JUL/2010
                (C3)
(a) To implement DFARS Clause 252.232-7003, "ELECTRONIC SUBMISSION OF PAYMENT REQUESTS," C3 uses Wide Area Workflow - Receipt and
Acceptance (WAWF-RA) to electronically process contractor requests for payment. This application allows DOD contractors to submit and
track invoices and receipt/acceptance documents electronically.

(b) The contractor is required to use WAWF-RA when processing invoices and receiving reports under this procurement action. Submission
of hard copy DD250/invoices will no longer be accepted for payment except as provided in paragraph 3 of this clause.

(c) The Contractor may submit a payment request using other than WAWF-RA only when:

    (1) The Contracting Officer authorizes use of another electronic form. With such an authorization, the Contractor and the
Contracting Officer shall agree to a plan, which shall include a timeline, specifying when the Contractor will transfer to WAWF-RA;

    (2) DoD is unable to receive a payment request in electronic form; or

    (3) The Contracting Officer administering the contract for payment has determined, in writing, that electronic submission would be
unduly burdensome to the Contractor. In such cases, the Contractor shall include a copy of the Contracting Officer's determination with
each request for payment.

(d) INSTRUCTIONS:

The contractor shall register to use WAWF at https://wawf.eb.mil . There is no charge to use WAWF. All questions relating to system
setup and vendor training can be directed to the help desk in Ogden, UT. Their number is 1-866-618-5988. Web-based training for WAWF is
also available at http://www.wawftraining.com/ .

(e) DESCRIPTION OF WAWF-RA TYPES OF INVOICE/RECEIVING REPORTS:

    (1) Progress Payment (For use under contractually authorized Progress Payments)

    (2) Performance Based Payment (For use under contractually authorized Performance Based Payments)

    (3) "COMBO" Invoice/Receiving Report (For Supply CLINS including ammunition items and ammunition related items)

    (4) "2-in-1" (For Service CLINS only)

(5) Cost Voucher (For use with Cost Reimbursement contracts, Time and Material or Labor Hour contracts containing FAR Clauses 52.216-7,
"Allowable Cost and Payment" or 52.232-7, "Payments under Time-and-Materials and Labor-Hour Contracts")
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(f) CODES: THE FOLLOWING CODES ARE REQUIRED TO ROUTE CONTRACTOR INVOICES THROUGH WAWF:

     Contractor CAGE Code* ____________

     Pay DoDAAC (Department of Defense Activity Address Code)*:

     Issue DoDAAC*:

     Admin DoDAAC*:

     Inspect by DoDAAC*:

     Contracting Officer*

     Ship to Code*: (Not Required for Services)

*Required fields in WAWF. CAGE Code, Paying, Issuing, and Administering DoDAACS and the assigned Contracting Officer may be found on the
face of the award document. When the contract administration is assigned to DCMA; the contractor should contact the assigned
Administrative Contracting Officer to obtain the applicable "inspect by" DoDAAC. If contract administration is retained by the
Issuing/Procuring Activity; the contractor should contact the assigned Procuring Contracting Officer to obtain the applicable "inspect
by" DoDAAC.

(g) When items are ready for shipment, the contractor shall prepare and include with each shipment, a receipt and accountability
document describing the contents of the shipment. Its purpose is to ensure proper receipt and accountability is maintained for
ammunition and ammunition related items. In accordance with DFARS 252.246-7000, contractor submission of the material inspection and
receiving information required by Appendix F of the DFARS by using the Wide Area Work Flow (WAWF) electronic form fulfills the
requirement for a material inspection and receiving report (DD Form 250). Two copies of the receiving report (paper copies of either the
DD Form 250 or the WAWF report that reflect the exact contents of each conveyance) shall be distributed with each shipment, in
accordance with Appendix F, Part 4, F-401, and Table 1 of the DFARS. In addition to including a copy of the receipt and accountability
document with each shipment, the contractor shall send an electronic copy to the Contracting Officer within one day of shipment.

(h) If the volume of the shipment precludes the use of a single car, truck, or other vehicle, a separate receipt and accountability
document shall be prepared and included in the shipment. If the shipped to, marked for, shipped from, mode of shipment, contract quality
assurance and acceptance data are the same for more than one shipment made on the same day under the contract, the contractor may
prepare one document to cover all shipments; however, each document shall be annotated to reflect the partial of any item on a single
vehicle, such as partial 1 of 3, 2 of 3, and 3 of 3 and the document accompanying each shipment shall identify the unique contents of
each vehicle, i.e., lot, quantity per lot, etc. For proper receipt and accountability, the WAWF electronic document shall contain, at a
minimum, the following information for each shipment:

(i) The "Header Tab" of WAWF must identify the Prime contractor's name and CAGE
Code.

(j) Besides the financial requirements of "Unit Price", "Unit of Measure", "Qty. Shipped", the extended dollar "Amount", and the ACRN,
the "Line Item" tab of WAWF must identify:

     Contract Number
     Delivery Order number (if applicable)
     Shipment Number
     Invoice Number
     Item Number (CLIN Number from contract)
     Stock Number (NSN)

(k) In the "Description" field of the WAWF document, the MILSTRIP requisition document number and the ammunition LOT and serial number
(if applicable) must be annotated for the quantities shipped related to this particular invoice.

NOTE: If there are multiple LOT numbers or multiple MILSTRIP requisition document numbers, each LOT number and MILSTRIP requisition
number must be identified separately.

                                                    (End of clause)




    H-7           52.204-4005      REQUIRED USE OF ELECTRONIC CONTRACTING                                   SEP/2004

     (a)    All contract awards, modifications and delivery orders issued by Army Contracting Command - Warren (DTA) will be issued
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electronically. The contractor has the option to receive these actions either via the Worldwide Web (WWW) or Electronic Data
Interchange (EDI). Many provisions/clauses that appear "by reference," meaning only clause titles and regulation site are listed; their
full texts can be found at the website http://farsite.hill.af.mil/

     (b) In order to be eligible to receive an award under this solicitation, the successful offeror must be registered with the
Department of Defense (DOD) Central Contractor Registration (CCR). The CCR registration process may be done electronically at the World
Wide Web (WWW) site: http://www.ccr.gov/ . (In order to be registered to use EDI, you must use the long form for registration.
Certification information, including information on the EDI 838 TPP, must be furnished to the Contracting Officer within 60 calendar
days after contract award to complete networking requirements within the Government.)

     (c) Worldwide Web Distribution. The contractor will receive an electronic Notice of the Award, Modification, or Delivery Order
via e-mail. If you choose the WWW option, you must download the file from the appropriate Army Contracting Command - Warren webpage:

           Warren: http://contracting.tacom.army.mil/CFDATA/AWARDS/AWARD_RPT01.cfm
           Rock Island - JMTC: https://acquisition.army.mil/asfi/
           Red River Army Depot: https://acquisition.army.mil/asfi/
           Anniston Army Depot: https://acquisition.army.mil/asfi/

     (d) Electronic Data Interchange. If you choose to receive contract awards, modifications and delivery orders through EDI, they
will be delivered electronically via the Federal Acquisition Network (FACNET). Federal Standard Version 3050 of Standard X12 from the
American National Standards Institute (ANSI) will be used as the format for these electronic transactions.

          (1) You must complete the EDI 838 Trading Partner Profile, and must agree (i) to subcontract with a DoD certified VAN or
Value Added Service (VAS) provider, or (ii) to become DoD certified as a Value Added Network (VAN). The EDI 838 Training Partner
Profile is contained in the basic CCR registration form and includes portions of the registration form which are titled "Optional".

          (2) You must select a VAN from the official DoD approved list. DoD Certified VANs are listed at
http://www.acq.osd.mil/dpap/ebiz/VANs.htm . If your VAN is later removed from the official list, or if you voluntarily drop your
initially selected VAN, then you must switch to a VAN that remains on the official DoD approved list. You must maintain an active
account on a DoD approved VAN for the entire duration of the contract, beginning no later than the 60th day after award.

     (e) Unless otherwise specified elsewhere in the contract, all data items you are required to provide under this contract must be
submitted electronically. Please go to the following webpage for detailed information about submitting your offer electronically:
http://contracting.tacom.army.mil/acqinfo/ebidnotice.htm

     (f) Additional information can be obtained by sending a message to:    usarmy.detroit.acc.mbx.wrn-web-page@mail.mil or by calling
(586) 282-7059.




    H-8         52.216-4008      STATUS OF FUNDS ON COST REIMBURSEMENT CONTRACTS/CLINS                     JUN/1989
                (TACOM)
     (a) The Contractor shall review the funding as it relates to work performed on the cost-reimbursement Contract Line Item Numbers
(CLINs) under this contract and shall provide to the Procuring Contracting Officer (PCO) a written determination of what, if any, funds
are excess to requirements (leaving a reasonable amount for final overhead rate negotiations and other reasonably predicted
requirements) and are available for deobligation. This review shall be coordinated with the Administrative Contracting Officer (ACO),
and the written determination shall be accomplished within 120 days of completion of performance under the CLIN. The report shall be
 prepared in terms of dollars available per Purchase Request Order Number (PRON), unless requested otherwise by the PCO.

     (b) This report may be requested in writing by the PCO on additional occasions during the course of performance of work on cost-
reimbursable CLINs contained in this contract. On such occasions, the written report shall be provided to the PCO within 14 days of
                                     Contractor receipt of the written request.
                                                  (End of clause)




    H-9          52.225-4005       INVITED CONTRACTOR OR TECHNICAL REPRESENTATIVE STATUS UNDER U.S.-        AUG/2012
                 (TACOM)           REPUBLIC OF KOREA (ROK) STATUS OF FORCES AGREEMENT (SOFA)

Data not printed.



   H-10          52.225-4006       CONTINUANCE OF PERFORMANCE DURING ANY STATE OF EMERGENCY IN THE          AUG/2012
                 (TACOM)           REPUBLIC OF KOREA (ROK)
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Invited Contractor (IC) and Technical Representative (TR) status shall be governed by the U.S.-ROK Status of Forces Agreement (SOFA) as
implemented by United States Forces Korea (USFK) Reg 700-19, which can be found under the publications tab on the US Forces Korea
homepage http://www.usfk.mil

(a) Definitions. As used in this clause

  U.S. ROK Status of Forces Agreement (SOFA) means the Mutual Defense Treaty between the Republic of Korea and the U.S. of America,
Regarding Facilities and Areas and the Status of U.S. Armed Forces in the Republic of Korea, as amended

  Combatant Commander means the commander of a unified or specified combatant command established in accordance with 10 U.S.C. 161.   In
Korea, the Combatant Commander is the Commander, United States Pacific Command.

  United States Forces Korea (USFK) means the subordinate unified command through which US forces would be sent to the Combined Forces
Command fighting components.

  COMUSK means the commander of all U.S. forces present in Korea. In the Republic of Korea, COMUSK also serves as Commander, Combined
Forces Command (CDR CFC) and Commander, United Nations Command (CDR UNC).

  USFK, Assistant Chief of Staff, Acquisition Management (USFK/FKAQ) means the principal staff office to USFK for all acquisition
matters and administrator of the U.S.-ROK SOFA as applied to US and Third Country contractors under the Invited Contractor (IC) and
Technical Representative (TR) Program (USFK Reg 700-19).

  Responsible Officer (RO) means A senior DOD employee (such as a military E5 and above or civilian GS-7 and above), appointed by the
USFK Sponsoring Agency (SA), who is directly responsible for determining and administering appropriate logistics support for IC/TRs
during contract performance in the ROK.

  Theater of operations means an area defined by the combatant commander for the conduct or support of specified operations.

  Uniform Code of Military Justice means 10 U.S.C. Chapter 47

(b) General.

  (1) This clause applies when contractor personnel deploy with or otherwise provide support in the theater of operations (specifically,
the Korean Theater of Operations) to U.S. military forces deployed/located outside the United States in

    (i) Contingency operations;

    (ii) Humanitarian or peacekeeping operations; or

    (iii) Other military operations or exercises designated by the Combatant Commander.

  (2) Contract performance in support of U.S. military forces may require work in dangerous or austere conditions. The Contractor
accepts the risks associated with required contract performance in such operations.   The contractor will require all its employees to
acknowledge in writing that they understand the danger, stress, physical hardships and field living conditions that are possible if the
employee deploys in support of military operations.

  (3) Contractor personnel are not combatants and shall not undertake any role that would jeopardize their status. Contractor personnel
shall not use force or otherwise directly participate in acts likely to cause actual harm to enemy armed forces.

(c) Support.

  (1) Unless the terms and conditions of this contract place the responsibility with another party, the COMUSK will develop a security
plan to provide protection, through military means, of Contractor personnel engaged in the theater of operations when sufficient or
legitimate civilian authority does not exist.

  (2)(i) All   Contractor personnel engaged in the theater of operations are authorized resuscitative care, stabilization, hospitalization
at level III   military treatment facilities, and assistance with patient movement in emergencies where loss of life, limb, or eyesight
could occur.   Hospitalization will be limited to stabilization and short-term medical treatment with an emphasis on return to duty or
placement in   the patient movement system.

    (ii) When the Government provides medical treatment or transportation of Contractor personnel to a selected civilian facility, the
Contractor shall ensure that the Government is reimbursed for any costs associated with such treatment or transportation.

    (iii) Medical or dental care beyond this standard is not authorized unless specified elsewhere in this contract.
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  (3) Unless specified elsewhere in this contract, the Contractor is responsible for all other support required for its personnel
engaged in the theater of operations under this contract.

(d) Compliance with laws and regulations. The Contractor shall comply with, and shall ensure that its personnel supporting U.S Armed
Forces in the Republic of Korea as specified in paragraph (b)(1) of this clause are familiar with and comply with, all applicable

  (1) United States, host country, and third country national laws;

    (i) The Military Extraterritorial Jurisdiction Act may apply to contractor personnel if contractor personnel commit crimes outside
the United States.

    (ii) Under the War Crimes Act, United States citizens (including contractor personnel) who commit war crimes may be subject to
federal criminal jurisdiction.

    (iii) When Congress formally declares war, contractor personnel authorized to accompany the force may be subject to the Uniform Code
of Military Justice.

  (2) Treaties and international agreements;

  (3) United States regulations, directives, instructions, policies, and procedures; and

  (4) Orders, directives, and instructions issued by the COMUSK relating to force protection, security, health, safety, or relations and
interaction with local nationals. Included in this list are force protection advisories, health advisories, area (i.e. off-limits),
prostitution and human trafficking and curfew restrictions.

(e) Pre-deployment/departure requirements. The Contractor shall ensure that the following requirements are met prior to
deploying/locating personnel in support of U.S. military forces in the Republic of Korea. Specific requirements for each category may be
specified in the statement of work or elsewhere in the contract.

  (1) All required security and background checks are complete and acceptable.
  (2) All contractor personnel meet the minimum medical screening requirements and have received all required immunizations as specified
in the contract. In the Republic of Korea, all contractor employees subject to this clause shall comply with the same DoD immunization
requirements applicable to Emergency Essential DoD civiliansINCLUDING ANTHRAX IMMUNIZATION. The Government will provide, at no cost to
the Contractor, any Korean theater-specific immunizations and/or medications not available to the general public.

  (3) Contractor personnel have all necessary passports, visas, and other documents required to enter and exit a theater of operations
and have a Geneva Conventions identification card from the deployment center or CONUS personnel officeif, applicable.

  (4) Country and theater clearance is obtained for contractor personnel. Clearance requirements are in DOD Directive 4500.54, Official
Temporary Duty Abroad, DOD 4500.54-G, DOD Foreign Clearance Guide, and USFK Reg 1-40, United States Forces Korea Travel Clearance Guide.
 Contractor personnel are considered non-DOD personnel traveling under DOD sponsorship.

(f) Processing and departure points. Deployed contractor personnel shall

  (1) Under contingency conditions or under other conditions as specified by the Contracting Officer, process through the deployment
center designated in the contract, prior to deploying. The deployment center will conduct deployment processing to ensure visibility and
accountability of contractor personnel and to ensure that all deployment requirements are met;

  (2) Use the point of departure and transportation mode directed by the Contracting Officer; and

   (3) If processing through a deployment center, process through a Joint Reception Center (JRC) upon arrival at the deployed location.
The JRC will validate personnel accountability, ensure that specific theater of operations entrance requirements are met, and brief
contractor personnel on theater-specific policies and procedures.

(g) Personnel data list.

  (1) The Contractor shall establish and maintain with the designated Government official a current list of all contractor personnel
that deploy with or otherwise provide support in the theater of operations to U.S. military forces as specified in paragraph (b)(1) of
this clause. The Synchronized Predeployment and Operational Tracker (SPOT) is the designated automated system to use for this effort.
This accountability requirement is separate and distinct from the personnel accountability requirement listed in the U.SROK SOFAs
Invited Contractor/Technical Representative Program (as promulgated in USFK Regulation 700-19).

  (2) The Contractor shall ensure that all employees on the list have a current DD Form 93, Record of Emergency Data Card, on file with
both the Contractor and the designated Government official.
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(h) Contractor personnel.

  (1) The Contracting Officer may direct the Contractor, at its own expense, to remove and replace any contractor personnel who
jeopardize or interfere with mission accomplishment or who fail to comply with or violate applicable requirements of this clause.
Contractors shall replace designated personnel within 72 hours, or at the Contracting Officers direction. Such action may be taken at
the Governments discretion without prejudice to its rights under any other provision of this contract, including the Termination for
Default clause.

  (2) The Contractor shall have a plan on file showing how the Contractor would replace employees who are unavailable for deployment or
who need to be replaced during deployment. The Contractor shall keep this plan current and shall provide a copy to the Contracting
Officer and USFK Sponsoring Agency (see USFK Reg 700-19) upon request. The plan shall

    (i) Identify all personnel who are subject to U.S. or Republic of Korea military mobilization;

    (ii) Identify any exemptions thereto;

    (iii) Detail how the position would be filled if the individual were mobilized; and

    (iv) Identify all personnel who occupy a position that the Contracting Officer has designated as mission essential.

(i) Military clothing and protective equipment.

  (1) Contractor personnel supporting a force deployed outside the United States as specified in paragraph (b)(1) of this clause are
prohibited from wearing military clothing unless specifically authorized in writing by the COMUSK. If authorized to wear military
clothing, contractor personnel must wear distinctive patches, arm bands, nametags, or headgear, in order to be distinguishable from
military personnel, consistent with force protection measures and the Geneva Conventions.

  (2) Contractor personnel may wear military-unique organizational clothing and individual equipment (OCIE) required for safety and
security, such as ballistic, nuclear, biological, or chemical protective clothing.

  (3) The deployment center, the Combatant Commander, or the Sponsoring Agency shall issue OCIE and shall provide training, if
necessary, to ensure the safety and security of contractor personnel.

  (4) The Contractor shall ensure that all issued OCIE is returned to the point of issue, unless otherwise directed by the Contracting
Officer.

(j) Weapons.

  (1) If the Contractor requests that its personnel performing in the theater of operations be authorized to carry weapons, the request
shall be made through the Contracting Officer to the COMUSK. The COMUSK will determine whether to authorize in-theater contractor
personnel to carry weapons and what weapons will be allowed.

  (2) The Contractor shall ensure that its personnel who are authorized to carry weapons

    (i) Are adequately trained;

    (ii) Are not barred from possession of a firearm by 18 U.S.C. 922; and

    (iii) Adhere to all guidance and orders issued by the COMUSK regarding possession, use, safety, and accountability of weapons and
ammunition.
    (iv) The use of deadly force by persons subject to this clause shall be made only in self-defense, except:

    (v) Persons subject to this clause who primarily provide private security are authorized to use deadly force only as defined in the
terms and conditions of this contract in accordance with USFK regulations and policies (especially, USFK Regulation 190-50).

    (vi) Liability for the use of any weapon by persons subject to this clause is solely the responsibility of the individual person and
the contractor.

  (3) Upon redeployment or revocation by the COMUSK of the Contractors authorization to issue firearms, the Contractor shall ensure that
all Government-issued weapons and unexpended ammunition are returned as directed by the Contracting Officer.

(k) Evacuation. In the event of a non-mandatory evacuation order, unless authorized in writing by the Contracting Officer, the
Contractor shall maintain personnel on location sufficient to meet obligations under this contract.
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(l) Theater Specific Training. Training Requirements for IC/TR personnel shall be conducted in accordance with USFK Reg 350-2 Theater
Specific Required Training for all Arriving Personnel and Units Assigned to, Rotating to, or in Temporary Duty Status to USFK.

(m) USFK Responsible Officer (RO).    The USFK appointed RO will ensure all IC/TR personnel complete all applicable training as outlined
in this clause.

(n) Changes. In addition to the changes otherwise authorized by the Changes clause of this contract, the Contracting Officer may, at any
time, by written order identified as a change order, make changes in Government-furnished facilities, equipment, material, services, or
site. Any change order issued in accordance with this paragraph shall be subject to the provisions of the Changes clause of this
contract.

(o) Subcontracts. The Contractor shall incorporate the substance of this clause, including this paragraph, in all subcontracts that
require subcontractor personnel to be available to deploy with or otherwise provide support in the theater of operations to U.S.
military forces deployed/stationed outside the United States in

  (1) Contingency operations;

  (2) Humanitarian or peacekeeping operations; or

  (3) Other military operations or exercises designated by the Combatant Commander.

(p) The Contracting Officer will discern any additional GFE, GFP or logistical support necessary to facilitate the performance of the
enhanced requirement or necessary for the protection of contractor personnel. These items will be furnished to the Contractor at the
sole discretion of the Contracting Officer and may be provided only on a reimbursable basis.

                                        (End of Clause)




   H-11          52.225-4040       ARMY MATERIEL COMMAND (AMC) ADMINISTRATIVE REQUIREMENTS FOR DEPLOYED     JUN/2005
                 (TACOM)           CONTRACTORS

     (a) In order to maintain accountability of all deployed personnel in the Theater of Operations (see DFARS clause 252.225-7040 for
definition), the Contractor shall follow instructions issued by the Army Materiel Commands Logistics Support Element (AMC LSE) or other
Contracting Officers designated representative to provide, and keep current, requested data on Contractor Personnel for entry into
military personnel database systems.

     (b) The Contractor shall coordinate with the AMC LSE or other Contracting Officers designated representative for logistics support,
as follows:

           (1) Upon initial entry into the Theatre of Operations;

           (2) Upon initiation of contract performance;

           (3) Upon relocation of contract performance within the Theatre of Operations; and

           (4) Upon exiting the Theatre of Operations.



                                                             [End of Clause]



   H-12         52.246-4026      LOCAL ADDRESSES FOR DD FORM 250 AND WAWF RECEIVING REPORTS                AUG/2010
     (a) We may require copies of the Wide Area Work Flow (WAWF) Receiving Report, Bills of Lading, or other documentation to resolve
delinquencies, payment issues, or other administrative issues. If this documentation is requested, use the same email address or fax
number shown in paragraph (b) below to submit the information. No copies of the WAWF Receiving Report are required unless specifically
requested by the PCO, buyer, or other appropriate government official.

     (b) For those rare cases where the Material Inspection and Receiving Report (DD 250)is used to process receiving reports for
inspection, acceptance, and payment, use one of the following methods to send each DD 250 pertaining to this contract to us:

           (1) E-mail DAMI_DD250@conus.army.mil
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           (2) Datafax using this fax number: (586) 282-7788 and use "DD250 mailbox" in the "to:" block of your fax cover or header
sheet.

         In either method (email or fax), do not mix DD250s from more than one contract in a single transmission. That is, you may
submit multiple DD250s in a single transmission, but they must all be against the same contract. These copies meet the requirements for
the Purchasing Office copy and the Army Inventory Control Manager copy listed in tables 1 and 2 of DFARS Appendix F. The DD250 form may
be found, in three different formats, on the World Wide Web at
http://www.dtic.mil/whs/directives/infomgt/forms/forminfo/forminfopage2126.html

                                                             [End of Clause]

H.11   LEVEL OF EFFORT (COST REIMBURSEMENT)

(a) The maximum number of labor hours to be ordered during this contract is 34,453,801 labor hours. The composition of the total direct
labor hours by labor category can be found in Attachment 12, Pricing Workbook.

Over the life of the contract, including the Phase-In EOR, OR Base and OR Option Period(s) (if exercised), the Government may award
CLINs up to the maximum number of labor hours (34,453,801). During the timeframe of this contract, the Government shall have the
unilateral right to increase the required number of personnel, site locations, labor hours, material, travel, and other direct costs
(ODCs) for the various CLINs. In the event of a personnel increase, the corresponding composite labor rates for the increased personnel
shall be in accordance with the composite rates currently proposed on Attachment 12. Additionally, the cost and fee, as applicable, of
such increases shall be in accordance with the cost and fee as proposed in Attachment 12.

Expenditure of labor hours in excess of the quantity specified in the CLIN(s) is not allowed except as authorized by the PCO through
formal contract action.

The Phase-In CLINs will be associated with Attachment 10 which will specify the required labor categories, labor hours, and performance
locations by country. The PCO is the only authorized Government representative to change the requirements as set forth in Attachment
10. The COR shall identify the specific performance locations within each country. The COR is authorized to modify performance locations
within each country (e.g. move personnel from one FOB in Afghanistan to a different FOB within Afghanistan), but changes from one
country to another (e.g., move personnel from Afghanistan to Kuwait) shall only occur with PCO authorization via contract modification.

The Government will estimate the cost of the labor hours per CLIN using actual incurred costs that are averaged by labor category for
the most recent month or by using the labor rates provided in Attachment 12 for each of the labor categories, performance locations, and
hours specified in Attachment 10 and Attachment 11.

To determine the total fixed fee per CLIN, the Government will multiply the calculated Fixed Fee rate per hour found in Attachment 12 by
the amount of hours required in Attachment 11. Please note this Fixed Fee rate per hour is a composite fixed fee rate and will not be
adjusted to account for the specific mix of labor categories required in Attachment 11 provided the amount of hours required in
Attachment 10 remain unchanged.

The Government will award CLIN(s) for material, travel and ODCs required for the applicable period of performance. These costs will be
non-fee bearing and will be based on the Governments estimates of the costs required for the applicable period of performance for the
associated labor CLIN(s).

The estimated cost and fixed fee for labor hours, and estimated costs for material, travel and ODCs under each CLIN are based upon the
assumption that the Contractor will perform the maximum level of effort specified at the CLIN level during the period of performance for
the period under which the labor hours are awarded.



(b) If Contractor performance is considered satisfactory by the Contracting Officer, the fixed fee is payable at the expiration of the
period(s) of performance as set forth in the applicable CLIN upon Contractor certification that the quantity of labor hours specified in
the contract has been expended in performing the contract work.   Payment of the fixed fee shall be subject to the withholding set forth
in Paragraph (B) of the Section I general provision entitled FIXED FEE, FAR 52.216-8. However, the Contractor may incrementally invoice
its fixed fee at the ratio of estimated cost to actual costs incurred. EXAMPLE: if the estimated cost is $100 and the fixed fee is $10
and the Contractor submits an invoice for $50, it may also submit an invoice for $5 of fixed fee.
(c) The creation of additional CLINs may become necessary as the mission evolves. This will be done via formal contract action and
existing labor rates shall be used for cost estimates.

(d) FAR Clause 52.232-20, "Limitation of Cost" applies to fully funded CLINs. Nothing in H.13 amends the rights or responsibilities of
the parties hereto under FAR Clause 52.232-20. In addition, the notifications required by clause H.13 are separate and distinct from any
specified in FAR Clause 52.232-20.

(e) In the event that the Government decides to decrease the amount of funded labor hours on the contract or less than one hundred
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(100%) percent of the established level of effort of the contract is actually expended by the completion date of the contract the
Government shall effect a reduction in the fixed fee by the percentage by which the total expended man-hours is less than one hundred
(100%) percent of the established Level of Effort (or the fee bearing portion of the last upward revision) as follows:

Fee dollars reduction = Fee dollars x (1 - Actual LOE/Total Estimated LOE)

(f) Effort Performed

         (1) The Contractor shall notify the Procuring Contracting Officer immediately in writing whenever it has reason to believe
that:

         (i) The level of effort the Contractor expects to incur in the next 60 days will exceed seventy-five (75%) percent of the level
of effort established for each funded CLIN; or

         (ii) The level of effort required to perform the period of performance will be greater than the level of effort established for
that period.

         As part of the notification, the Contractor shall provide the Contracting Officer a revised estimate of the level of effort
required to perform through the completion of the period of performance. As part of the notification, the Contractor also shall submit
any proposal for adjustment to the estimated cost and fixed fee that it deems would be equitable if the Government were to increase the
level of effort as proposed by the Contractor.

          (2) Within thirty days after completion of the work under each CLIN, the Contractor shall submit the following information
directly, in writing, to the Contracting Officer, with copies to the COR and the Defense Contract Audit Agency office to which vouchers
are submitted:

          (i) The total number of man-hours of direct labor, including subcontract labor, expended and a breakdown of this total showing
the number of man-hours expended in each direct labor classification listed in Attachment 12, including the identification of the key
employees utilized;

         (ii) The Contractor's estimate of the total allowable cost incurred under the CLIN; and

         (iii) In the case of a cost under run, the amount by which the estimated cost of the CLIN may be reduced to recover excess
funds.

     (3) In the event that the actual labor performed is expected to exceed the established labor hours on each CLIN, but the actual
labor is not expected to exceed the estimated cost of the CLIN, the Contractor, subject to PCO approval, shall be entitled to cost
reimbursement for actual hours expended, not to exceed the CLINs estimated cost. The Contractor shall not be paid fixed fee, however,
on the expended labor hours in excess of the labor hours established by the CLIN. This understanding does not supersede or change the
ability of the Contractor and Government to agree to change the established hours on the established hours on the CLIN with an equitable
adjustment on both cost and fee. This adjustment would be via formal contract modification as directed by the PCO.

   (4) If, during the period of performance, the Contractor finds it necessary to accelerate the expenditure of direct labor to such an
extent that the total man-hours of effort specified above would be used prior to the expiration of the term, the Contractor shall notify
the Contracting Officer in writing setting forth the acceleration required, the probable benefits which would result, and an offer to
undertake the acceleration at no increase in the estimated cost or fee together with an offer, setting forth a proposed level of effort,
cost breakdown, and proposed fee, for continuation of the work until expiration of the term hereof. The offer shall provide that the
work proposed will be subject to the terms and conditions of this contract and any additions or changes required by then current law,
regulation, or directives, and that the offer, with a written notice of acceptance by the Contracting Officer, shall constitute a
binding contract. The Contractor shall not accelerate any effort until receipt of such written approval by the Contracting Officer.
Any agreement to accelerate will be formalized by contract modification.

The COR may, by written order, direct the Contractor to accelerate the expenditure of direct labor such that the total man-hours of
effort specified in paragraph (a) above would be used prior to the expiration of the term. This order shall specify the acceleration
required and the resulting revised term. The Contractor shall acknowledge this order within five days of receipt.

(5) The Government has the unilateral right to increase labor hours, materials, travel and ODCs throughout the life of the contract. The
increase to labor hours, materials, travel or ODCs will be executed by issuing modifications to the contract. If by exercising a
modification additional personnel are required, the contractor shall ensure that personnel are available for CRC (if deploying) or have
arrived at the performance location (if going to CONUS/OCONUS locations) within 45 days of exercising the option.

(6) Notwithstanding 952.225-0016, Contractor Demobilization Afghanistan, In the event the contractor is required by the Contracting
Officer to reduce personnel levels, or demobilize, the Contracting Officer will provide specific direction on how the demobilization
will be accomplished. The demobilization will be initiated via contract modification which will provide the specific direction and means
of payment to complete the demobilization.
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H.12 OPTION TO EXTEND THE TERM OF THE CONTRACT

(a) The Government may extend the term of this contract by written notice(s) to the Contractor within the periods specified below
provided the Government gives the Contractor preliminary written notice of its intent to extend at least 60 days before the contract
expires.

OPTION              LINE ITEM(s)            LAST DATE TO        PERIOD OF PERFORMANCE FOR
                                            EXERCISE OPTION     EXERCISED OPTION

OR BASE       1004AA,   1104AA,   1204AA,   *151 DACA            181 DACA - 420 DACA
              1005AA,   1105AA,   1205AA
OR OPTION 1   2001AA,   2002AA,   2101AA,   391 DACA            421 DACA - 786 DACA
              2102AA,   2201AA,   2202AA
OR OPTION 2   3001AA,   3002AA,   3101AA,   757 DACA            787 DACA - 1,152 DACA
              3102AA,   3201AA,   3202AA
OR OPTION 3   4001AA,   4002AA,   4101AA,   1,123 DACA          1,153 DACA - 1,518 DACA
              4102AA,   4201AA,   4202AA
OR OPTION 4   5001AA,   5002AA,   5101AA,   1,489 DACA          1,519 DACA - 1,819 DACA
              5102AA,   5201AA,   5202AA



(b) A pool of 34,453,801 hours is established (see H.13), which represents the cumulative amount of hours available for the life of the
contract. The Government may utilize the available pool of hours at any time during the option periods.

Note: The option hours indicatedin Attachment 12 per period are for evaluation purposes only. There is no limitation on the amount of
hours the Government may call up per period; however the total option hours cannot exceed 34,453,801.

(c) No ceiling amount will be established as part of the option provisions for Material, Travel and ODCs.

(d) The total duration of this contract, including the exercise of any option(s) under this clause, shall not exceed 1,819.

(e) Inclusive of all options, the Government cannot require the Contractor to perform more than 34,453,801 hours or to perform after
1,819 DACA, whichever occurs first.

(f) The labor rates and fixed fee rate that shall be utilized for each period of performance shall be found in Attachment 12. These
rates shall apply for the entire period of performance. The rates utilized to estimate the cost and provide the fixed fee shall be taken
from the period in which the option is exercised not necessarily when the labor is expected to be expended.

(g) Any options that lapse due to failure on the part of the Government to exercise those options within the prescribed time limits
shall no longer be available for exercise unless revived by mutual agreement of the parties. Further, in the event the Government does
not exercise an option, all subsequent option periods may not be exercised unless agreed to by mutual agreement of the parties.

(h) If the Government exercises an option, the extended contract shall be considered to include this option clause.

H.13 Any cost billed in excess of Department of State Danger Pay Allowance and Post Hardship Differential during the performance of this
contract is expressly unallowable.

H.14   Administrative and Clerical

The Pricing Worksheet (Attachment 12) to this solicitation allows the Contractor to propose Administrative and Clerical as a direct
charge. Please note that if the Contractor does not propose Administrative and Clerical as a direct charge, the Government will assume
that these cost are included in the Contractors indirect rates.

H.15 Achievement of Subcontracting Goals in the Small Business Subcontracting Plan (FAR 52.219-9) - Not applicable to U.S. Small
Business Concerns.

The subcontracting goals in the Small Business Subcontracting Plan (FAR Clause 52.219-9) of this contract will be regularly and
thoroughly monitored for achievement by the Contracting Officer for the duration of the contract. Regarding the subcontracting goals in
the Small Business Subcontracting Plan, the Contracting Officer may institute corrective measures, as provided for under the contract,
if the contractor's performance against one or more of the subcontracting goals is determined, at any point in the life of the contract,
to be unjustifiably inadequate.
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                                                *** END OF NARRATIVE H0001 ***
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SECTION I - CONTRACT CLAUSES

This document incorporates one or more clauses by reference, with the same force and effect as if they were given in full text. Upon
request, the Contracting Officer will make their full text available. Also, the full text of a clause may be accessed electronically at
these addresses:

     http://farsite.hill.af.mil/VFFARA.HTM     or   http://farsite.hill.af.mil/VFDFARA.HTM   or   http://farsite.hill.af.mil/VFAFARa.HTM

If the clause requires additional or unique information, then that information is provided immediately after the clause title.




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                                                                    Title                                    ____________
                                                                                                                 Date
    I-1         52.202-1           DEFINITIONS                                                                 JUL/2004
    I-2         52.203-3           GRATUITIES                                                                  APR/1984
    I-3         52.203-5           COVENANT AGAINST CONTINGENT FEES                                            APR/1984
    I-4         52.203-6           RESTRICTIONS ON SUBCONTRACTOR SALES TO THE GOVERNMENT                       SEP/2006
    I-5         52.203-7           ANTI-KICKBACK PROCEDURES                                                    OCT/2010
    I-6         52.203-8           CANCELLATION, RESCISSION, AND RECOVERY OF FUNDS FOR ILLEGAL OR              JAN/1997
                                   IMPROPER ACTIVITY
    I-7         52.203-10          PRICE OR FEE ADJUSTMENT FOR ILLEGAL OR IMPROPER ACTIVITY                    JAN/1997
    I-8         52.203-12          LIMITATION ON PAYMENTS TO INFLUENCE CERTAIN FEDERAL TRANSACTIONS            OCT/2010
    I-9         52.203-13          CONTRACTOR CODE OF BUSINESS ETHICS AND CONDUCT                              APR/2010
   I-10         52.204-2           SECURITY REQUIREMENTS                                                       AUG/1996
   I-11         52.204-4           PRINTED OR COPIED DOUBLE-SIDED ON RECYCLED PAPER                            AUG/2000
   I-12         52.204-7           CENTRAL CONTRACTOR REGISTRATION                                             APR/2008
   I-13         52.204-9           PERSONAL IDENTITY VERIFICATION OF CONTRACTOR PERSONNEL                      JAN/2011
   I-14         52.204-10          REPORTING EXECUTIVE COMPENSATION AND FIRST-TIER SUBCONTRACT AWARDS          JUL/2010
   I-15         52.209-6           PROTECTING THE GOVERNMENT'S INTEREST WHEN SUBCONTRACTING WITH               DEC/2010
                                   CONTRACTORS DEBARRED, SUSPENDED, OR PROPOSED FOR DEBARMENT
   I-16         52.211-15          DEFENSE PRIORITY AND ALLOCATION REQUIREMENTS                                APR/2008
   I-17         52.215-2           AUDIT AND RECORDS--NEGOTIATIONS                                             OCT/2010
   I-18         52.215-8           ORDER OF PRECEDENCE--UNIFORM CONTRACT FORMAT                                OCT/1997
   I-19         52.215-10          PRICE REDUCTION FOR DEFECTIVE CERTIFIED COST OR PRICING DATA                OCT/2010
   I-20         52.215-14          INTEGRITY OF UNIT PRICES                                                    OCT/2010
   I-21         52.215-15          PENSION ADJUSTMENTS AND ASSET REVERSIONS                                    OCT/2010
   I-22         52.215-18          REVERSION OR ADJUSTMENT OF PLANS FOR POSTRETIREMENT BENEFITS (PRB)          JUL/2005
                                   OTHER THAN PENSIONS
   I-23         52.215-23          LIMITATIONS ON PASS-THROUGH CHARGES                                         OCT/2009
   I-24         52.216-8           FIXED FEE                                                                   MAR/1997
   I-25         52.219-8           UTILIZATION OF SMALL BUSINESS CONCERNS                                      JAN/2011
   I-26         52.219-9           SMALL BUSINESS SUBCONTRACTING PLAN (JAN 2011) -- ALTERNATE II (OCT          OCT/2001
                                   2001)
   I-27         52.219-16          LIQUIDATED DAMAGES--SUBCONTRACTING PLAN                                     JAN/1999
   I-28         52.222-19          CHILD LABOR--COOPERATION WITH AUTHORITIES AND REMEDIES                      JUL/2010
   I-29         52.222-21          PROHIBITION OF SEGREGATED FACILITIES                                        FEB/1999
   I-30         52.222-26          EQUAL OPPORTUNITY                                                           MAR/2007
   I-31         52.222-29          NOTIFICATION OF VISA DENIAL                                                 JUN/2003
   I-32         52.222-35          EQUAL OPPORTUNITY FOR VETERANS                                              SEP/2010
   I-33         52.222-36          AFFIRMATIVE ACTION FOR WORKERS WITH DISABILITIES                            OCT/2010
   I-34         52.222-37          EMPLOYMENT REPORTS ON VETERANS                                              SEP/2010
   I-35         52.222-40          NOTIFICATION OF EMPLOYEE RIGHTS UNDER THE NATIONAL LABOR RELATIONS          DEC/2010
                                   ACT
   I-36         52.222-41          SERVICE CONTRACT ACT OF 1965                                                NOV/2007
   I-37         52.222-50          COMBATING TRAFFICKING IN PERSONS                                            FEB/2009
   I-38         52.222-54          EMPLOYMENT ELIGIBILITY VERIFICATION                                         JAN/2009
   I-39         52.223-5           POLLUTION PREVENTION AND RIGHT-TO-KNOW INFORMATION                          AUG/2003
   I-40         52.223-6           DRUG-FREE WORKPLACE                                                         MAY/2001
   I-41         52.223-14          TOXIC CHEMICAL RELEASE REPORTING                                            AUG/2003
   I-42         52.223-18          CONTRACTOR POLICY TO BAN TEXT MESSAGING WHILE DRIVING                       SEP/2010
   I-43         52.225-13          RESTRICTIONS ON CERTAIN FOREIGN PURCHASES                                   JUN/2008
   I-44         52.225-26          CONTRACTORS PERFORMING PRIVATE SECURITY FUNCTIONS OUTSIDE THE UNITED        JUL/2013
                                   STATES
   I-45         52.227-1           AUTHORIZATION AND CONSENT                                                   DEC/2007
   I-46         52.227-2           NOTICE AND ASSISTANCE REGARDING PATENT AND COPYRIGHT INFRINGEMENT           DEC/2007
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 I-47          52.228-3           WORKERS' COMPENSATION INSURANCE (DEFENSE BASE ACT)                         JUL/2014
 I-48          52.228-4           WORKERS' COMPENSATION AND WAR-HAZARD INSURANCE OVERSEAS                    APR/1984
 I-49          52.228-5           INSURANCE--WORK ON A GOVERNMENT INSTALLATION                               JAN/1997
 I-50          52.228-7           INSURANCE--LIABILITY TO THIRD PERSONS                                      MAR/1996
 I-51          52.229-3           FEDERAL, STATE, AND LOCAL TAXES                                            APR/2003
 I-52          52.229-6           TAXES--FOREIGN FIXED-PRICE CONTRACTS                                       JUN/2003
 I-53          52.230-2           COST ACCOUNTING STANDARDS                                                  OCT/2010
 I-54          52.230-6           ADMINISTRATION OF COST ACCOUNTING STANDARDS                                JUN/2010
 I-55          52.232-1           PAYMENTS                                                                   APR/1984
 I-56          52.232-8           DISCOUNTS FOR PROMPT PAYMENT                                               FEB/2002
 I-57          52.232-11          EXTRAS                                                                     APR/1984
 I-58          52.232-20          LIMITATION OF COST                                                         APR/1984
 I-59          52.232-22          LIMITATION OF FUNDS                                                        APR/1984
 I-60          52.232-23          ASSIGNMENT OF CLAIMS (JAN 1986) -- ALTERNATE I (APR 1984)                  APR/1984
 I-61          52.232-25          PROMPT PAYMENT                                                             OCT/2008
 I-62          52.232-25          PROMPT PAYMENT (OCT 2008) - ALTERNATE I (FEB 2002)                         FEB/2002
 I-63          52.232-33          PAYMENT BY ELECTRONIC FUNDS TRANSFER--CENTRAL CONTRACTOR REGISTRATION      OCT/2003
 I-64          52.233-1           DISPUTES                                                                   JUL/2002
 I-65          52.233-3           PROTEST AFTER AWARD (AUG 1996) -- ALTERNATE I (JUN 1985)                   JUN/1985
 I-66          52.233-4           APPLICABLE LAW FOR BREACH OF CONTRACT CLAIM                                OCT/2004
 I-67          52.237-3           CONTINUITY OF SERVICES                                                     JAN/1991
 I-68          52.242-1           NOTICE OF INTENT TO DISALLOW COSTS                                         APR/1984
 I-69          52.242-2           PRODUCTION PROGRESS REPORTS                                                APR/1991
 I-70          52.242-3           PENALTIES FOR UNALLOWABLE COSTS                                            MAY/2001
 I-71          52.242-13          BANKRUPTCY                                                                 JUL/1995
 I-72          52.243-1           CHANGES--FIXED PRICE                                                       AUG/1987
 I-73          52.243-2           CHANGES - COST-REIMBURSEMENT (AUG 1987) -- ALTERNATE I (APR 1984)          APR/1984
 I-74          52.243-2           CHANGES - COST REIMBURSEMENT (AUG 1987) -- ALTERNATE II (APR 1984)         APR/1984
 I-75          52.244-5           COMPETITION IN SUBCONTRACTING                                              DEC/1996
 I-76          52.244-6           SUBCONTRACTS FOR COMMERCIAL ITEMS                                          DEC/2010
 I-77          52.245-1           GOVERNMENT PROPERTY                                                        AUG/2010
 I-78          52.245-9           USE AND CHARGES                                                            AUG/2010
 I-79          52.246-23          LIMITATION OF LIABILITY                                                    FEB/1997
 I-80          52.246-24          LIMITATION OF LIABILITY--HIGH-VALUE ITEMS                                  FEB/1997
 I-81          52.246-25          LIMITATION OF LIABILITY--SERVICES                                          FEB/1997
 I-82          52.247-63          PREFERENCE FOR U.S.-FLAG AIR CARRIERS                                      JUN/2003
 I-83          52.247-68          REPORT OF SHIPMENT (REPSHIP)                                               FEB/2006
 I-84          52.248-1           VALUE ENGINEERING                                                          OCT/2010
 I-85          52.249-2           TERMINATION FOR CONVENIENCE OF THE GOVERNMENT (FIXED-PRICE)                MAY/2004
 I-86          52.249-6           TERMINATION (COST REIMBURSEMENT)                                           MAY/2004
 I-87          52.249-8           DEFAULT (FIXED-PRICE SUPPLY AND SERVICE)                                   APR/1984
 I-88          52.249-14          EXCUSABLE DELAYS                                                           APR/1984
 I-89          52.253-1           COMPUTER GENERATED FORMS                                                   JAN/1991
 I-90          252.201-7000       CONTRACTING OFFICER'S REPRESENTATIVE                                       DEC/1991
 I-91          252.203-7000       REQUIREMENTS RELATING TO COMPENSATION OF FORMER DOD OFFICIALS              JAN/2009
 I-92          252.203-7001       PROHIBITION ON PERSONS CONVICTED OF FRAUD OR OTHER DEFENSE-CONTRACT-       DEC/2008
                                  RELATED FELONIES
 I-93          252.203-7002       REQUIREMENT TO INFORM EMPLOYEES OF WHISTLEBLOWER RIGHTS                   JAN/2009
 I-94          252.204-7000       DISCLOSURE OF INFORMATION                                                 DEC/1991
 I-95          252.204-7003       CONTROL OF GOVERNMENT PERSONNEL WORK PRODUCT                              APR/1992
 I-96          252.204-7004       ALTERNATE A, CENTRAL CONTRACTOR REGISTRATION (52.204-7)                   SEP/2007
 I-97          252.204-7006       BILLING INSTRUCTIONS                                                      OCT/2005
 I-98          252.204-7008       EXPORT-CONTROLLED ITEMS                                                   APR/2010
 I-99          252.204-7012       SAFEGUARDING OF UNCLASSIFIED CONTROLLED TECHNICAL INFORMATION             NOV/2013
I-100          252.205-7000       PROVISION OF INFORMATION TO COOPERATIVE AGREEMENT HOLDERS                 DEC/1991
I-101          252.209-7004       SUBCONTRACTING WITH FIRMS THAT ARE OWNED OR CONTROLLED BY THE             DEC/2006
                                  GOVERNMENT OF A TERRORIST COUNTRY
I-102          252.215-7000       PRICING ADJUSTMENTS                                                       DEC/1991
I-103          252.215-7002       COST ESTIMATING SYSTEM REQUIREMENTS                                       DEC/2006
I-104          252.219-7003       SMALL BUSINESS SUBCONTRACTING PLAN (DoD CONTRACTS)                        OCT/2010
I-105          252.222-7002       COMPLIANCE WITH LOCAL LABOR LAWS (OVERSEAS)                               JUN/1997
I-106          252.223-7004       DRUG-FREE WORK FORCE                                                      SEP/1988
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  I-107           252.223-7006       PROHIBITION ON STORAGE AND DISPOSAL OF TOXIC AND HAZARDOUS MATERIALS       APR/1993
  I-108           252.225-7002       QUALIFYING COUNTRY SOURCES AS SUBCONTRACTORS                               APR/2003
  I-109           252.225-7004       REPORT OF INTENDED PERFORMANCE OUTSIDE THE UNITED STATES AND CANADA--      OCT/2010
                                     SUBMISSION AFTER AWARD
  I-110           252.225-7005       IDENTIFICATION OF EXPENDITURES IN THE UNITED STATES                       JUN/2005
  I-111           252.225-7006       QUARTERLY REPORTING OF ACTUAL CONTRACT PERFORMANCE OUTSIDE THE UNITED     OCT/2010
                                     STATES
  I-112           252.225-7012       PREFERENCE FOR CERTAIN DOMESTIC COMMODITIES                               JUN/2010
  I-113           252.225-7013       DUTY-FREE ENTRY                                                           DEC/2009
  I-114           252.225-7016       RESTRICTION ON ACQUISITION OF BALL AND ROLLER BEARINGS                    DEC/2010
  I-115           252.225-7021       TRADE AGREEMENTS                                                          NOV/2009
  I-116           252.225-7028       EXCLUSIONARY POLICIES AND PRACTICES OF FOREIGN GOVERNMENTS                APR/2003
  I-117           252.225-7039       CONTRACTORS PERFORMING PRIVATE SECURITY FUNCTIONS                         JUN/2012
  I-118           252.225-7041       CORRESPONDENCE IN ENGLISH                                                 JUN/1997
  I-119           252.226-7001       UTILIZATION OF INDIAN ORGANIZATIONS, INDIAN-OWNED ECONOMIC                SEP/2004
                                     ENTERPRISES, AND NATIVE HAWAIIAN SMALL BUSINESS CONCERNS
  I-120           252.227-7013       RIGHTS IN TECHNICAL DATA--NONCOMMERCIAL ITEMS                             NOV/1995
  I-121           252.227-7014       RIGHTS IN NONCOMMERCIAL COMPUTER SOFTWARE AND NONCOMMERCIAL COMPUTER      JUN/1995
                                     SOFTWARE DOCUMENTATION
  I-122           252.227-7015       TECHNICAL DATA--COMMERCIAL ITEMS                                          NOV/1995
  I-123           252.227-7016       RIGHTS IN BID OR PROPOSAL INFORMATION                                     JAN/2011
  I-124           252.227-7019       VALIDATION OF ASSERTED RESTRICTIONS--COMPUTER SOFTWARE                    JUN/1995
  I-125           252.227-7025       LIMITATIONS ON THE USE OR DISCLOSURE OF GOVERNMENT-FURNISHED              JAN/2011
                                     INFORMATION MARKED WITH RESTRICTIVE LEGENDS
  I-126           252.227-7027       DEFERRED ORDERING OF TECHNICAL DATA OR COMPUTER SOFTWARE                  APR/1988
  I-127           252.227-7030       TECHNICAL DATA--WITHHOLDING OF PAYMENT                                    MAR/2000
  I-128           252.227-7037       VALIDATION OF RESTRICTIVE MARKINGS ON TECHNICAL DATA                      SEP/1999
  I-129           252.228-7000       REIMBURSEMENT FOR WAR-HAZARD LOSSES                                       DEC/1991
  I-130           252.228-7003       CAPTURE AND DETENTION                                                     DEC/1991
  I-131           252.229-7002       CUSTOMS EXEMPTIONS (GERMANY)                                              JUN/1997
  I-132           252.229-7011       REPORTING OF FOREIGN TAXES - U.S. ASSISTANCE PROGRAMS                     SEP/2005
  I-133           252.231-7000       SUPPLEMENTAL COST PRINCIPLES                                              DEC/1991
  I-134           252.232-7003       ELECTRONIC SUBMISSION OF PAYMENT REQUESTS AND RECEIVING REPORTS           MAR/2008
  I-135           252.232-7008       ASSIGNMENT OF CLAIMS (OVERSEAS)                                           JUN/1997
  I-136           252.232-7010       LEVIES ON CONTRACT PAYMENTS                                               DEC/2006
  I-137           252.233-7001       CHOICE OF LAW (OVERSEAS)                                                  JUN/1997
  I-138           252.237-7010       PROHIBITION ON INTERROGATION OF DETAINEES BY CONTRACTOR PERSONNEL         NOV/2010
  I-139           252.239-7001       INFORMATION ASSURANCE CONTRACTOR TRAINING AND CERTIFICATION               JAN/2008
  I-140           252.242-7004       MATERIAL MANAGEMENT AND ACCOUNTING SYSTEM                                 MAY/2011
  I-141           252.242-7005       CONTRACTOR BUSINESS SYSTEMS                                               MAY/2011
  I-142           252.243-7001       PRICING OF CONTRACT MODIFICATIONS                                         DEC/1991
  I-143           252.243-7002       REQUESTS FOR EQUITABLE ADJUSTMENT                                         MAR/1998
  I-144           252.244-7000       SUBCONTRACTS FOR COMMERCIAL ITEMS AND COMMERCIAL COMPONENTS (DOD          NOV/2010
                                     CONTRACTS)
  I-145           252.245-7001       TAGGING, LABELING, AND MARKING OF GOVERNMENT-FURNISHED PROPERTY           FEB/2011
  I-146           252.245-7002       REPORTING LOSS OF GOVERNMENT PROPERTY                                     FEB/2011
  I-147           252.246-7000       MATERIAL INSPECTION AND RECEIVING REPORT                                  MAR/2008
  I-148           252.246-7004       SAFETY OF FACILITIES, INFRASTRUCTURE, AND EQUIPMENT FOR MILITARY          OCT/2010
                                     OPERATIONS
  I-149           252.247-7023       TRANSPORTATION OF SUPPLIES BY SEA                                         MAY/2002
  I-150           252.249-7002       NOTIFICATION OF ANTICIPATED CONTRACT TERMINATION OR REDUCTION             OCT/2010

  I-151           52.203-14          DISPLAY OF HOTLINE POSTER(S)                                              DEC/2007

(a) Definition.

United States, as used in this clause, means the 50 States, the District of Columbia, and outlying areas.

(b) Display of fraud hotline poster(s). Except as provided in paragraph (c)

  (1) During contract performance in the United States, the Contractor shall prominently display in common work areas within business
segments performing work under this contract and at contract work sites
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    (i) Any agency fraud hotline poster or Department of Homeland Security (DHS) fraud hotline poster identified in paragraph (b)(3) of
this clause; and

    (ii) Any DHS fraud hotline poster subsequently identified by the Contracting Officer.

  (2) Additionally, if the Contractor maintains a company website as a method of providing information to employees, the Contractor
shall display an electronic version of the poster(s) at the website.

  (3) Any required posters may be obtained as follows:

Poster(s) Obtain from

DoD Inspector
General, ATTN: Defense Hotline, 400 Army Navy Drive, Washington
DC 22202-2884

(c) If the Contractor has implemented a business ethics and conduct awareness program, including a reporting mechanism, such as a
hotline poster, then the Contractor need not display any agency fraud hotline posters as required in paragraph (b) of this clause, other
than any required DHS posters.

(d) Subcontracts. The Contractor shall include the substance of this clause, including this paragraph (d), in all subcontracts that
exceed $5,000,000, except when the subcontract

  (1) Is for the acquisition of a commercial item; or

  (2) Is performed entirely outside the United States.

                                                    (End of clause)




  I-152          52.216-7          ALLOWABLE COST AND PAYMENT                                              DEC/2002

(a) Invoicing.

  (1) The Government will make payments to the Contractor when requested as work progresses, but (except for small business concerns)
not more often than once every 2 weeks, in amounts determined to be allowable by the Contracting Officer in accordance with Federal
Acquisition Regulation (FAR) Subpart 31.2 in effect on the date of this contract and the terms of this contract. The Contractor may
submit to an authorized representative of the Contracting Officer, in such form and reasonable detail as the representative may
require, an invoice or voucher supported by a statement of the claimed allowable cost for performing this contract.

  (2) Contract financing payments are not subject to the interest penalty provisions of the Prompt Payment Act. Interim payments made
prior to the final payment under the contract are contract financing payments, except interim payments if this contract contains
Alternate I to the clause at 52.232-25.

  (3) The designated payment office will make interim payments for contract financing on the 30th day after the designated billing
office receives a proper payment request. In the event that the Government requires an audit or other review of a specific payment
request to ensure compliance with the terms and conditions of the contract, the designated payment office is not compelled to make
payment by the specified due date.

(b) Reimbursing costs.

  (1) For the purpose of reimbursing allowable costs (except as provided in subparagraph (b)(2) of this clause, with respect to
pension, deferred profit sharing, and employee stock ownership plan contributions), the term costs includes only --

    (i) Those recorded costs that, at the time of the request for reimbursement, the Contractor has paid by   cash, check, or other form
of actual payment for items or services purchased directly for the contract;

    (ii) When the Contractor is not delinquent in paying costs of contract performance in the ordinary course of   business, costs
incurred, but not necessarily paid, for --

      (A) Supplies and services purchased directly for the contract and associated financing payments to   subcontractors, provided
payments determined due will be made
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        (1) In accordance with the terms and conditions of a subcontract or invoice; and

        (2) Ordinarily within 30 days of the submission of the Contractors payment request to the Government;

      (B) Materials issued from the Contractors inventory and placed in the production process for use on the    contract;

      (C) Direct labor;

      (D) Direct travel;

      (E) Other direct in-house costs; and

      (F) Properly allocable and allowable indirect costs, as shown in the records maintained by the Contractor    for purposes of
obtaining reimbursement under Government contracts; and

    (iii) The amount of financing payments that have been paid by cash, check or other form of payment to   subcontractors.

  (2) Accrued costs of Contractor contributions under employee pension plans shall be excluded until actually    paid unless

    (i) The Contractors practice is to make contributions to the retirement fund quarterly or more frequently;    and

    (ii) The contribution does not remain unpaid 30 days after the end of the applicable quarter or shorter    payment period (any
contribution remaining unpaid shall be excluded from the Contractors indirect costs for payment purposes).

  (3) Notwithstanding the audit and adjustment of invoices or vouchers under paragraph (g) of this clause, allowable indirect costs
under this contract shall be obtained by applying indirect cost rates established in accordance with paragraph (d) of this clause.

  (4) Any statements in specifications or other documents incorporated in this contract by reference designating performance of
services or furnishing of materials at the Contractors expense or at no cost to the Government shall be disregarded for purposes of
cost-reimbursement under this clause.

(c) Small business concerns. A small business concern may receive more frequent payments than every 2 weeks.

(d) Final indirect cost rates.

  (1) Final annual indirect cost rates and the appropriate bases shall be established in accordance with Subpart    42.7 of the Federal
Acquisition Regulation (FAR) in effect for the period covered by the indirect cost rate proposal.

  (2)(i) The Contractor shall submit an adequate final indirect cost rate proposal to the Contracting Officer (or cognizant Federal
agency official) and auditor within the 6-month period following the expiration of each of its fiscal years. Reasonable extensions, for
exceptional circumstances only, may be requested in writing by the Contractor and granted in writing by the Contracting Officer. The
Contractor shall support its proposal with adequate supporting data.

    (ii) The proposed rates shall be based on the Contractors actual cost experience for that period. The appropriate Government
representative and the Contractor shall establish the final indirect cost rates as promptly as practical after receipt of the
Contractors proposal.

  (3) The Contractor and the appropriate Government representative shall execute a written understanding setting    forth the final
indirect cost rates. The understanding shall specify

    (i) the agreed-upon final annual indirect cost rates,

    (ii) the bases to which the rates apply,

    (iii) the periods for which the rates apply,

    (iv) any specific indirect cost items treated as direct costs in the settlement, and

    (v) the affected contract and/or subcontract, identifying any with advance agreements or special terms and    the applicable rates.

    The understanding shall not change any monetary ceiling, contract obligation, or specific cost allowance or    disallowance provided
for in this contract. The understanding is incorporated into this contract upon execution.

  (4) Failure by the parties to agree on a final annual indirect cost rate shall be a dispute within the meaning    of the Disputes
clause.
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  (5) Within 120 days (or longer period if approved in writing by the Contracting Officer) after settlement of the final annual
indirect cost rates for all years of a physically complete contract, Contractor shall submit a completion invoice or voucher to reflect
the settled amounts and rates.

  (6)(i) If the Contractor fails to submit a completion invoice or voucher within the time specified in    paragraph (d)(5) of this
clause, the Contracting Officer may--

      (A) Determine the amounts due to the Contractor under the contract; and

      (B) Record this determination in a unilateral modification to the contract.

    (ii) This determination constitutes the final decision of the Contracting Officer in accordance with the    Disputes clause.

(e) Billing rates. Until final annual indirect cost rates are established for any period, the Government shall reimburse the Contractor
at billing rates established by the Contracting Officer or by an authorized representative (the cognizant auditor), subject to
adjustment when the final rates are established. These billing rates --

  (1) Shall be the anticipated final rates; and

  (2) May be prospectively or retroactively revised by mutual agreement, at either partys request, to prevent    substantial overpayment
or underpayment.

(f) Quick-closeout procedures. Quick-closeout procedures are applicable when the conditions in FAR 42.708(a) are    satisfied.

(g) Audit. At any time or times before final payment, the Contracting Officer may have the Contractors invoices or vouchers and
statements of cost audited. Any payment may be --

  (1) Reduced by amounts found by the Contracting Officer not to constitute allowable costs; or

  (2) Adjusted for prior overpayments or underpayments.

(h) Final payment.

  (1) Upon approval of a completion invoice or voucher submitted by the Contractor in accordance with paragraph (d)(5) of this clause,
and upon the Contractors compliance with all terms of this contract, the Government shall promptly pay any balance of allowable costs
and that part of the fee (if any) not previously paid.

  (2) The Contractor shall pay to the Government any refunds, rebates, credits, or other amounts (including interest, if any) accruing
to or received by the Contractor or any assignee under this contract, to the extent that those amounts are properly allocable to costs
for which the Contractor has been reimbursed by the Government. Reasonable expenses incurred by the Contractor for securing refunds,
rebates, credits, or other amounts shall be allowable costs if approved by the Contracting Officer. Before final payment under this
contract, the Contractor and each assignee whose assignment is in effect at the time of final payment shall execute and deliver --

    (i) An assignment to the Government, in form and substance satisfactory to the Contracting Officer, of refunds, rebates, credits,
or other amounts (including interest, if any) properly allocable to costs for which the Contractor has been reimbursed by the
Government under this contract; and

    (ii) A release discharging the Government, its officers, agents, and employees from all liabilities,   obligations, and claims
arising out of or under this contract, except --

      (A) Specified claims stated in exact amounts, or in estimated amounts when the exact amounts are not known;

      (B) Claims (including reasonable incidental expenses) based upon liabilities of the Contractor to third parties arising out of
the performance of this contract; provided, that the claims are not known to the Contractor on the date of the execution of the
release, and that the Contractor gives notice of the claims in writing to the Contracting Officer within 6 years following the release
date or notice of final payment date, whichever is earlier; and

      (C) Claims for reimbursement of costs, including reasonable incidental expenses, incurred by the Contractor under the patent
clauses of this contract, excluding, however, any expenses arising from the Contractors indemnification of the Government against
patent liability.

                                                    (End of Clause)
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  I-153           52.217-8         OPTION TO EXTEND SERVICES                                               NOV/1999

The Government may require continued performance of any services within the limits and at the rates specified in the contract. These
rates may be adjusted only as a result of revisions to prevailing labor rates provided by the Secretary of Labor. The option provision
may be exercised more than once, but the total extension of performance hereunder shall not exceed 6 months. The Contracting Officer may
exercise the option by written notice to the Contractor within 30 days.

(End of Clause)




  I-154           52.222-42        STATEMENT OF EQUIVALENT RATES FOR FEDERAL HIRES                         MAY/1989

In compliance with the Service Contract Act of 1965, as amended, and the regulations of the Secretary of Labor (29 CFR Part 4), this
clause identifies the classes of service employees expected to be employed under the contract and states the wages and fringe benefits
payable to each if they were employed by the contracting agency subject to the provisions of 5 U.S.C. 5341 or 5332.

                              This Statement is for Information Only:
                                  It is not a Wage Determination

Employee Class / Labor Category                                        Monetary Wage -- Fringe Benefits

See Attachemnt 26, Statement of                                        See Attachment 26
Equivalent Rates for Federal Hires



                   Shall be in accordace with FAR 22.1006(b) and FAR 22.1016

_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________

                                                     (End of Clause)




  I-155           52.225-19        CONTRACTOR PERSONNEL IN A DESIGNATED OPERATIONAL AREA OR SUPPORTING A   MAR/2008
                                   DIPLOMATIC OR CONSULAR MISSION OUTSIDE THE UNITED STATES

(a) Definitions. As used in this clause

  Chief of mission means the principal officer in charge of a diplomatic mission of the United States or of a United States office
abroad which is designated by the Secretary of State as diplomatic in nature, including any individual assigned under section 502(c) of
the Foreign Service Act of 1980 (Pub. L. 96-465) to be temporarily in charge of such a mission or office.

  Combatant commander means the commander of a unified or specified combatant command established in accordance with 10 U.S.C. 161.

  Designated operational area means a geographic area designated by the combatant commander or subordinate joint force commander for the
conduct or support of specified military operations.

  Supporting a diplomatic or consular mission means performing outside the United States under a contract administered by Federal agency
personnel who are subject to the direction of a chief of mission.

(b) General.

  (1) This clause applies when Contractor personnel are required to perform outside the United States--

    (i) In a designated operational area during

      (A) Contingency operations;

      (B) Humanitarian or peacekeeping operations; or
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      (C) Other military operations; or military exercises, when designated by the Combatant Commander; or

    (ii) When supporting a diplomatic or consular mission--

      (A) That has been designated by the Department of State as a danger pay post (see http://aoprals.state.gov/Web920/danger--pay--
all.asp); or

      (B) That the Contracting Officer has indicated is subject to this clause.

  (2) Contract performance may require work in dangerous or austere conditions. Except as otherwise provided in the contract, the
Contractor accepts the risks associated with required contract
performance in such operations.

  (3) Contractor personnel are civilians.

    (i) Except as provided in paragraph (b)(3)(ii) of this clause, and in accordance with paragraph (i)(3) of this clause, Contractor
personnel are only authorized to use deadly force in self-defense.

    (ii) Contractor personnel performing security functions are also authorized to use deadly force when use of such force reasonably
appears necessary to execute their security mission to protect assets/ persons, consistent with the terms and conditions contained in
the contract or with their job description and terms of employment.

  (4) Service performed by Contractor personnel subject to this clause is not active duty or service under 38 U.S.C. 106 note.

(c) Support. Unless specified elsewhere in the contract, the Contractor is responsible for all logistical and security support required
for Contractor personnel engaged in this contract.

(d) Compliance with laws and regulations. The Contractor shall comply with, and shall ensure that its personnel in the designated
operational area or supporting the diplomatic or consular mission are familiar with and comply with, all applicable--

  (1) United States, host country, and third country national laws;

  (2) Treaties and international agreements;

  (3) United States regulations, directives, instructions, policies, and procedures; and

  (4) Force protection, security, health, or safety orders, directives, and instructions issued by the Chief of Mission or the Combatant
Commander; however, only the Contracting Officer is authorized to modify the terms and conditions of the contract.

(e) Preliminary personnel requirements. (1) Specific requirements for paragraphs (e)(2)(i) through (e)(2)(vi) of this clause will be set
forth in the statement of work, or elsewhere in the contract.

  (2) Before Contractor personnel depart from the United States or a third country, and before Contractor personnel residing in the host
country begin contract performance in the designated operational area or supporting the diplomatic or consular mission, the Contractor
shall ensure the following:

    (i) All required security and background checks are complete and acceptable.

    (ii) All personnel are medically and physically fit and have received all required vaccinations.

    (iii) All personnel have all necessary passports, visas, entry permits, and other documents required for Contractor personnel to
enter and exit the foreign country, including those required for in-transit countries.

    (iv) All personnel have received--

      (A) A country clearance or special area clearance, if required by the chief of mission; and

      (B) Theater clearance, if required by the Combatant Commander.

    (v) All personnel have received personal security training. The training must at a minimum--

      (A) Cover safety and security issues facing employees overseas;

      (B) Identify safety and security contingency planning activities; and
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      (C) Identify ways to utilize safety and security personnel and other resources appropriately.

    (vi) All personnel have received isolated personnel training, if specified in the contract. Isolated personnel are military or
civilian personnel separated from their unit or organization in an environment requiring them to survive, evade, or escape while
awaiting rescue or recovery.

    (vii) All personnel who are U.S. citizens are registered with the U.S. Embassy or Consulate with jurisdiction over the area of
operations on-line at http://www.travel.state.gov.

  (3) The Contractor shall notify all personnel who are not a host country national or ordinarily resident in the host country that--

    (i) If this contract is with the Department of Defense, or the contract relates to supporting the mission of the Department of
Defense outside the United States, such employees, and dependents residing with such employees, who engage in conduct outside the United
States that would constitute an offense punishable by imprisonment for more than one year if the conduct had been engaged in within the
special maritime and territorial jurisdiction of the United States, may potentially be subject to the criminal jurisdiction of the
United States (see the Military Extraterritorial Jurisdiction Act of 2000 (18 U.S.C. 3261 et seq.);

    (ii) Pursuant to the War Crimes Act, 18 U.S.C. 2441, Federal criminal jurisdiction also extends to conduct that is determined to
constitute a war crime when committed by a civilian national of the United States; and

    (iii) Other laws may provide for prosecution of U.S. nationals who commit offenses on the premises of United States diplomatic,
consular, military or other United States Government missions outside the United States (18 U.S.C. 7(9)).

(f) Processing and departure points. The Contractor shall require its personnel who are arriving from outside the area of performance to
perform in the designated operational area or supporting the diplomatic or consular mission to--

  (1) Process through the departure center designated in the contract or complete another process as directed by the Contracting
Officer;

  (2) Use a specific point of departure and transportation mode as directed by the Contracting Officer; and

  (3) Process through a reception center as designated by the Contracting Officer upon arrival at the place of performance.

(g) Personnel data. (1) Unless personnel data requirements are otherwise specified in the contract, the Contractor shall establish and
maintain with the designated Government official a current list of all Contractor personnel in the areas of performance. The Contracting
Officer will inform the Contractor of the Government official designated to receive this data and the appropriate system to use for this
effort.

  (2) The Contractor shall ensure that all employees on this list have a current record of emergency data, for notification of next of
kin, on file with both the Contractor and the designated Government official.

(h) Contractor personnel. The Contracting Officer may direct the Contractor, at its own expense, to remove and replace any Contractor
personnel who fail to comply with or violate applicable requirements of this contract. Such action may be taken at the Government's
discretion without prejudice to its rights under any other provision of this contract, including termination for default or cause.

(i) Weapons.

  (1) If the Contracting Officer, subject to the approval of the Combatant Commander or the Chief of Mission, authorizes the carrying of
weapons--

    (i) The Contracting Officer may authorize an approved Contractor to issue Contractor-owned weapons and ammunition to specified
employees; or

    (ii) The NA may issue Government-furnished weapons and ammunition to the Contractor for issuance to specified Contractor employees.

  (2) The Contractor shall provide to the Contracting Officer a specific list of personnel for whom authorization to carry a weapon is
requested.

  (3) The Contractor shall ensure that its personnel who are authorized to carry weapons--

    (i) Are adequately trained to carry and use them--

      (A) Safely;
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      (B) With full understanding of, and adherence to, the rules of the use of force issued by the Combatant Commander or the Chief of
Mission; and

      (C) In compliance with applicable agency policies, agreements, rules, regulations, and other applicable law;

    (ii) Are not barred from possession of a firearm by 18 U.S.C. 922; and

    (iii) Adhere to all guidance and orders issued by the Combatant Commander or the Chief of Mission regarding possession, use, safety,
and accountability of weapons and ammunition.

  (4) Upon revocation by the Contracting Officer of the Contractor's authorization to possess weapons, the Contractor shall ensure that
all Government-furnished weapons and unexpended ammunition are returned as directed by the Contracting Officer.

  (5) Whether or not weapons are Government-furnished, all liability for the use of any weapon by Contractor personnel rests solely with
the Contractor and the Contractor employee using such weapon.

(j) Vehicle or equipment licenses. Contractor personnel shall possess the required licenses to operate all vehicles or equipment
necessary to perform the contract in the area of performance.

(k) Military clothing and protective equipment.

  (1) Contractor personnel are prohibited from wearing military clothing unless specifically authorized by the Combatant Commander. If
authorized to wear military clothing, Contractor personnel must wear distinctive patches, armbands, nametags, or headgear, in order to
be distinguishable from military personnel, consistent with force protection measures.

    (2) Contractor personnel may wear specific items required for safety and security, such as ballistic, nuclear, biological, or
chemical protective equipment.

(l) Evacuation.

  (1) If the Chief of Mission or Combatant Commander orders a mandatory evacuation of some or all personnel, the Government will provide
to United States and third country national Contractor personnel the level of assistance provided to private United States citizens.

  (2) In the event of a non-mandatory evacuation order, the Contractor shall maintain personnel on location sufficient to meet
contractual obligations unless instructed to evacuate by the Contracting Officer.

(m) Personnel recovery.

  (1) In the case of isolated, missing, detained, captured or abducted Contractor personnel, the Government will assist in personnel
recovery actions.

  (2) Personnel recovery may occur through military action, action by non-governmental organizations, other Government-approved action,
diplomatic initiatives, or through any combination of these options.

  (3) The Department of Defense has primary responsibility for recovering DoD contract service employees and, when requested, will
provide personnel recovery support to other agencies in accordance
with DoD Directive 2310.2, Personnel Recovery.

(n) Notification and return of personal effects.

  (1) The Contractor shall be responsible for notification of the employee-designated next of kin, and notification as soon as possible
to the U.S. Consul responsible for the area in which the event procured, if the employee--

  (i) Dies;

  (ii) Requires evacuation due to an injury; or

  (iii) Is isolated, missing, detained, captured, or abducted.

  (2) The Contractor shall also be responsible for the return of all personal effects of deceased or missing Contractor personnel, if
appropriate, to next of kin.

(o) Mortuary affairs. Mortuary affairs for Contractor personnel who die in the area of performance will be handled as follows:

  (1) If this contract was awarded by DoD, the remains of Contractor personnel will be handled in accordance with DoD Directive 1300.22,
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Mortuary Affairs Policy.

  (2)(i) If this contract was awarded by an agency other than DoD, the Contractor is responsible for the return of the remains of
Contractor personnel from the point of identification of the remains to the location specified by the employee or next of kin, as
applicable, except as provided in paragraph (o)(2)(ii) of this clause.

    (ii) In accordance with 10 U.S.C. 1486, the Department of Defense may provide, on a reimbursable basis, mortuary support for the
disposition of remains and personal effects of all U.S. citizens upon the request of the Department of State.

(p) Changes. In addition to the changes otherwise authorized by the Changes clause of this contract, the Contracting Officer may, at any
time, by written order identified as a change order, make changes in place of performance or Government-furnished facilities, equipment,
material, services, or site. Any change order issued in accordance with this paragraph shall be subject to the provisions of the Changes
clause of this contract.

(q) Subcontracts. The Contractor shall incorporate the substance of this clause, including this paragraph (q), in all subcontracts that
require subcontractor personnel to perform outside the United States

  (1) In a designated operational area during--

    (i) Contingency operations;

    (ii) Humanitarian or peacekeeping operations; or

    (iii) Other military operations; or military exercises, when designated by the Combatant Commander; or

  (2) When supporting a diplomatic or consular mission--

    (i) That has been designated by the Department of State as a danger pay post (see http://aoprals.state.gov/Web920/danger--pay--
all.asp); or

    (ii) That the Contracting Officer has indicated is subject to this clause.

                                                   (End of clause)




  I-156         52.229-8           TAXES--FOREIGN COST-REIMBURSEMENT CONTRACTS                               MAR/1990

(a) Any tax or duty from which the United States Government is exempt by agreement with the Government of Kuwait, Iraq, or Afghanistan,
or from which the Contractor or any subcontractor under this contract is exempt under the laws of Kuwait, Iraq, or Afghanistan, shall
not constitute an allowable cost under this contract.

(b) If the Contractor or subcontractor under this contract obtains a foreign tax credit that reduces its Federal income tax liability
under the United States Internal Revenue Code (Title 26, U.S. Code) because of the payment of any tax or duty that was reimbursed under
this contract, the amount of the reduction shall be paid or credited at the time of such offset to the Government of the United States
as the Contracting Officer directs.

                                                       (End of Clause)




  I-157         52.232-16          PROGRESS PAYMENTS                                                         AUG/2010

The Government will make progress payments to the Contractor when requested as work progresses, but not more frequently than monthly in
amounts of $2,500 or more approved by the Contracting Officer, under the following conditions:

(a) Computation of amounts.

  (1) Unless the Contractor requests a smaller amount, the Government will compute each progress payment as 80 percent of the
Contractors total costs incurred under this contract whether or not actually paid, plus financing payments to subcontractors (see
paragraph (j) of this clause), less the sum of all previous progress payments made by the Government under this contract. The
Contracting Officer will consider cost of money that would be allowable under FAR 31.205-10 as an incurred cost for progress payment
purposes.
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  (2) The amount of financing and other payments for supplies and services purchased directly for the contract are limited to the
amounts that have been paid by cash, check, or other forms of payment, or that are determined due will be paid to subcontractors--

    (i) In accordance with the terms and conditions of a subcontract of invoice; and

    (ii) Ordinarily within 30 days of the submission of the Contractors payment request to the Government.

  (3) The Government will exclude accrued costs of Contractor contributions under employee pension plans until actually paid unless--

    (i) The Contractors practice is to make contributions to the retirement fund quarterly or more frequently; and

    (ii) The contribution does not remain unpaid 30 days after the end of the applicable quarter or shorter payment period (any
contribution remaining unpaid shall be excluded from the Contractors total costs for progress payments until paid).

  (4) The Contractor shall not include the following in total costs for progress payment purposes in paragraph (a)(1) of this clause:

    (i) Costs that are not reasonable, allocable to this contract, and consistent with sound and generally accepted accounting
principles and practices.

    (ii) Costs incurred by subcontractors or suppliers.

    (iii) Costs ordinarily capitalized and subject to depreciation or amortization except for the properly depreciated or amortized
portion of such costs.

    (iv) Payments made or amounts payable to the subcontractors or suppliers, except for--

      (A) completed work, including partial deliveries, to which the Contractor has acquired title; and

      (B) Work under cost-reimbursement or time-and-material subcontracts to which the Contractor has acquired title.

  (5) The amount of unliquidated progress payments may exceed neither (i) the progress payments made against incomplete work (including
allowable unliquidated progress payments to subcontractors) nor (ii) the value, for progress payment purposes, of the incomplete work.
Incomplete work shall be considered to be the supplies and services required by this contract, for which delivery and invoicing by the
Contractor and acceptance by the Government are incomplete.

  (6) The total amount of progress payments shall not exceed 80 percent of the total contract price.

  (7) If a progress payment or the unliquidated progress payments exceed the amounts permitted by subparagraphs (a)(4) or (a)(5) above,
the Contractor shall repay the amount of such excess to the Government on demand.

  (8) Notwithstanding any other terms of the contract, the Contractor agrees not to request progress payments in dollar amounts of less
than $2,500. The Contracting Officer may make exceptions.

  (9) The costs applicable to items delivered, invoiced, and accepted shall not include costs in excess of the contract price of the
items.

(b) Liquidation. Except as provided in the Termination for Convenience of the Government clause, all progress payments shall be
liquidated by deducting from any payment under this contract, other than advance or progress payments, the unliquidated progress
payments, or 80 percent of the amount invoiced, whichever is less. The Contractor shall repay to the Government any amounts required by
a retroactive price reduction, after computing liquidations and payments on past invoices at the reduced prices and adjusting the
unliquidated progress payments accordingly. The Government reserves the right to unilaterally change from the ordinary liquidation rate
to an alternate rate when deemed appropriate for proper contract financing.

(c) Reduction or suspension. The Contracting Officer may reduce or suspend progress payments, increase the rate of liquidation, or take
a combination of these actions, after finding on substantial evidence any of the following conditions:

  (1) The Contractor failed to comply with any material requirement of this contract (which includes paragraphs (f) and (g) below).

  (2) Performance of this contract is endangered by the Contractors --

    (i) Failure to make progress; or
    (ii) Unsatisfactory financial condition.

  (3) Inventory allocated to this contract substantially exceeds reasonable requirements.
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  (4) The Contractor is delinquent in payment of the costs of performing this contract in the ordinary course of business.

  (5) The fair value of the undelivered work is less than the amount of unliquidated progress payments for that work.

  (6) The Contractor is realizing less profit than that reflected in the establishment of any alternate liquidation rate in paragraph
(b) above, and that rate is less than the progress payment rate stated in subparagraph (a)(1) above.

(d) Title.

  (1) Title to the property described in this paragraph (d) shall vest in the Government. Vestiture shall be immediately upon the date
of this contract, for property acquired or produced before that date. Otherwise, vestiture shall occur when the property is or should
have been allocable or properly chargeable to this contract.

  (2) Property, as used in this clause, includes all of the below-described items acquired or produced by the Contractor that are or
should be allocable or properly chargeable to this contract under sound and generally accepted accounting principles and practices.

    (i) Parts, materials, inventories, and work in process;

    (ii) Special tooling and special test equipment to which the Government is to acquire title;

    (iii) Nondurable (i.e., noncapital) tools, jigs, dies, fixtures, molds, patterns, taps, gauges, test equipment, and other similar
manufacturing aids, title to which would not be obtained as special tooling under subparagraph (ii) above; and

    (iv) Drawings and technical data, to the extent the Contractor or subcontractors are required to deliver them to the Government by
other clauses of this contract.

  (3) Although title to property is in the Government under this clause, other applicable clauses of this contract; e.g., the
termination clauses, shall determine the handling and disposition of the property.

  (4) The Contractor may sell any scrap resulting from production under this contract without requesting the Contracting Officers
approval, but the proceeds shall be credited against the costs of performance.

  (5) To acquire for its own use or dispose of property to which title is vested in the Government under this clause, the Contractor
must obtain the Contracting Officers advance approval of the action and the terms. The Contractor shall

    (i) exclude the allocable costs of the property from the costs of contract performance, and

    (ii) repay to the Government any amount of unliquidated progress payments allocable to the property. Repayment may be by cash or
credit memorandum.

  (6) When the Contractor completes all of the obligations under this contract, including liquidation of all progress payments, title
shall vest in the Contractor for all property (or the proceeds thereof) not --

    (i) Delivered to, and accepted by, the Government under this contract; or

    (ii) Incorporated in supplies delivered to, and accepted by, the Government under this contract and to which title is vested in the
Government under this clause.

  (7) The terms of this contract concerning liability for Government-furnished property shall not apply to property to which the
Government acquired title solely under this clause.

(e) Risk of loss. Before delivery to and acceptance by the Government, the Contractor shall bear the risk of loss for property, the
title to which vests in the Government under this clause, except to the extent the Government expressly assumes the risk. The Contractor
shall repay the Government an amount equal to the unliquidated progress payments that are based on costs allocable to property that is
lost, stolen, damaged, or destroyed.

(f) Control of costs and property. The Contractor shall maintain an accounting system and controls adequate for the proper
administration of this clause.

(g) Reports, forms, and access to records.

  (1) The Contractor shall promptly furnish reports, certificates, financial statements, and other pertinent information (including
estimates to complete) reasonably requested by the Contracting Officer for the administration of this clause. Also, the Contractor shall
give the Government reasonable opportunity to examine and verify the Contractor's books, records, and accounts.
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  (2) The Contractor shall furnish estimates to complete that have been developed or updated within six months of the date of the
progress payment request. The estimates to complete shall represent the Contractor's best estimate of total costs to complete all
remaining contract work required under the contract. The estimates shall include sufficient detail to permit Government verification.

  (3) Each Contractor request for progress payment shall:

    (i) Be submitted on Standard Form 1443, Contractor's Request for Progress Payment, or the electronic equivalent as required by
agency regulations, in accordance with the form instructions and the contract terms; and

    (ii) Include any additional supporting documentation requested by the Contracting Officer.

(h) Special terms regarding default. If this contract is terminated under the Default clause,

    (i) the Contractor shall, on demand, repay to the Government the amount of unliquidated progress payments and

    (ii) title shall vest in the Contractor, on full liquidation of progress payments, for all property for which the Government elects
not to require delivery under the Default clause. The Government shall be liable for no payment except as provided by the Default
clause.

(i) Reservations of rights.

  (1) No payment or vesting of title under this clause shall --

    (i) Excuse the Contractor from performance of obligations under this contract; or

    (ii) Constitute a waiver of any of the rights or remedies of the parties under the contract.

  (2) The Governments rights and remedies under this clause --

    (i) Shall not be exclusive but rather shall be in addition to any other rights and remedies provided by law or this contract; and

    (ii) Shall not be affected by delayed, partial, or omitted exercise of any right, remedy, power, or privilege, nor shall such
exercise or any single exercise preclude or impair any further exercise under this clause or the exercise of any other right, power, or
privilege of the Government.

(j) Financing payments to subcontractors. The financing payments to subcontractors mentioned in paragraphs (a)(1) and (a)(2) of this
clause shall be all financing payments to subcontractors or divisions, if the following conditions are met:

  (1) The amounts included are limited to --

    (i) The unliquidated remainder of financing payments made; plus

    (ii) Any unpaid subcontractor requests for financing payments.

  (2) The subcontract or interdivisional order is expected to involve a minimum of approximately 6 months between the beginning of work
and the first delivery, or, if the subcontractor is a small business concern, 4 months.

  (3) If the financing payments are in the form or progress payments, the terms of the subcontract or interdivisional order concerning
progress payments --

    (i) Are substantially similar to the terms of the clause for any subcontractor that is a large business concern, or that clause with
its Alternate I for any subcontractor that is a small business concern;

    (ii) Are at least as favorable to the Government as the terms of this clause;

    (iii) Are not more favorable to the subcontractor or division than the terms of this clause are to the Contractor;

    (iv) Are in conformance with the requirements of FAR 32.504(e); and

    (v) Subordinate all subcontractor rights concerning property to which the Government has title under the subcontract to the
Governments right to require delivery of the property to the Government if --

      (A) The Contractor defaults; or
      (B) The subcontractor becomes bankrupt or insolvent.
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  (4) If the financing payments are in the form of performance-based payments, the terms of the subcontract or interdivisional order
concerning payments--

    (i) Are substantially similar to the Performance-Based Payments clause at FAR 52.232-32 and meet the criteria for, and definition
of, performance-based payments in FAR Part 32;

    (ii) Are in conformance with the requirements of FAR 32.504(f); and

    (iii) Subordinate all subcontractor rights concerning property to which the Government has title under the subcontract to the
Governments right to require delivery of the property to the Government if--

      (A) The Contractor defaults; or

      (B) The subcontractor becomes bankrupt or insolvent.

  (5) If the financing payments are in the form of commercial item financing payments, the terms of the subcontract or interdivisional
order concerning payments

    (i) Are constructed in accordance with FAR 32.206(c) and included in a subcontract for a commercial item purchase that meets the
definition and standards for acquisition of commercial items in FAR Part 2 and 12;

    (ii) Are in conformance with the requirements of FAR 32.504(g); and

    (iii) Subordinate all subcontractor rights concerning property to which the Government has title under the subcontract to the
Governments right to require delivery of the property to the Government if--

      (A) The Contractor defaults; or

      (B) The subcontractor becomes bankrupt or insolvent.

  (6) If financing is in the form of progress payments, the progress payment rate in the subcontract is the customary rate used by the
contracting agency, depending on whether the subcontractor is or is not a small business concern.

  (7) Concerning any proceeds received by the Government for property to which title has vested in the Government under the subcontract
terms, the parties agree that the proceeds shall be applied to reducing any unliquidated financing payments by the Government to the
Contractor under this contract.

  (8) If no unliquidated financing payments to the Contractor remain, but there are unliquidated financing payments that the Contractor
has made to any subcontractor, the Contractor shall be subrogated to all the rights the Government obtained through the terms required
by this clause to be in any subcontract, as if all such rights had been assigned and transferred to the Contractor.

  (9) To facilitate small business participation in subcontracting under this contract, the Contractor shall provide financing payments
to small business concerns, in conformity with the standards for customary contract financing payments stated in Subpart 32.113. The
Contractor shall not consider the need for such financing payments as a handicap or adverse factor in the award of subcontracts.

(k) Limitations on undefinitized contract actions. Notwithstanding any other progress payment provisions in this contract, progress
payments may not exceed 80 percent of costs incurred on work accomplished under undefinitized contract actions. A contract action is any
action resulting in a contract, as defined in Subpart 2.1, including contract modifications for additional supplies or services, but not
including contract modifications that are within the scope and under the terms of the contract, such as contract modifications issued
pursuant to the Changes clause, or funding and other administrative changes. This limitation shall apply to the costs incurred, as
computed in accordance with paragraph (a) of this clause, and shall remain in effect until the contract action is definitized. Costs
incurred which are subject to this limitation shall be segregated on Contractor progress payment requests and invoices from those costs
eligible for higher progress payment rates. For purposes of progress payment liquidation, as described in paragraph (b) of this clause,
progress payments for undefinitized contract actions shall be liquidated at 80 percent of the amount invoiced for work performed under
the undefinitized contract action as long as the contract action remains undefinitized. The amount of unliquidated progress payments for
undefinitized contract actions shall not exceed 80 percent of the maximum liability of the Government under the undefinitized contract
action or such lower limit specified elsewhere in the contract. Separate limits may be specified for separate actions.

(l) Due date. The designated payment office will make progress payments on the 30th day after the designated billing office receives a
proper progress payment request. In the event that the Government requires an audit or other review of a specific progress payment
request to ensure compliance with the terms and conditions of the contract, the designated payment office is not compelled to make a
payment by the specified due date. Progress payments are considered contract financing and are not subject to the interest penalty
provisions of the Prompt Payment Act.

(m) Progress payments under indefinitedelivery contracts. The Contractor shall account for and submit progress payment requests under
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individual orders as if the order constituted a separate contract, unless otherwise specified in this contract.

                                                    (End of Clause)




  I-158         52.244-2           SUBCONTRACTS                                                            OCT/2010

(a) Definitions. As used in this clause

  Approved purchasing system means a Contractors purchasing system that has been reviewed and approved in accordance with Part 44 of the
Federal Acquisition Regulation (FAR)

  Consent to subcontract means the Contracting Officers written consent for the Contractor to enter into a particular subcontract.

  Subcontract means any contract, as defined in FAR Subpart 2.1, entered into by a subcontractor to furnish supplies or services for
performance of the prime contract or a subcontract. It includes, but is not limited to, purchase orders, and changes and modifications
to purchase orders.

(b) When this clause is included in a fixed-price type contract, consent to subcontract is required only on unpriced contract actions
(including unpriced modifications or unpriced delivery orders), and only if required in accordance with paragraph (c) or (d) or this
clause.

(c) If the contractor does not have an approved purchasing system, consent to subcontract is required for any subcontract that--

  (1) Is of the cost-reimbursement, time-and-materials, or labor-hour type; or

  (2) Is fixed-price and exceeds

    (i) For a contract awarded by the Department of Defense, the Coast Guard, or the national Aeronautics and Space Administration, the
greater of the simplified acquisition threshold or 5 percent of the total estimated cost of the contract; or

    (ii) For contracts awarded by a civilian agency other that the Coast Guard and the National Aeronautics and Space Administration,
either the simplified acquisition threshold or 5 percent of the total estimated cost of the contract.

(d) If the Contractor has an approved purchasing system, the Contractor nevertheless shall obtain the Contracting Officers written
consent before placing the following subcontracts: NA

(e)(1) The Contractor shall notify the Contracting Officer reasonably in advance of placing any subcontract or modification thereof for
which consent is required under paragraph (b), (c), or (d) of this clause, including the following information:

    (i) A description of the supplies or services to be subcontracted.

    (ii) Identification of the type of subcontract to be used.

    (iii) Identification of the proposed subcontractor.

    (iv) The proposed subcontract price.

    (v) The subcontractors current, complete, and accurate certified cost or pricing data and Certificate of Current Cost or Pricing
Data, if required by other contract provisions.

    (vi) The subcontractors Disclosure Statement or Certificate relating to Cost Accounting Standards when such data are required by
other provisions of this contract.

    (vii) A negotiation memorandum reflecting --

      (A) The principal elements of the subcontract price negotiations;

      (B) The most significant considerations controlling establishment of initial or revised prices;

      (C) The reason certified cost or pricing data were or were not required;

      (D) The extent, if any, to which the Contractor did not rely on the subcontractors certified cost or pricing data in determining
the price objective and in negotiating the final price;
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      (E) The extent to which it was recognized in the negotiation that the subcontractors certified cost or pricing data were not
accurate, complete, or current; the action taken by the Contractor and the subcontractor; and the effect of any such defective data on
the total price negotiated;

      (F) The reasons for any significant difference between the Contractors price objective and the price negotiated; and

      (G) A complete explanation of the incentive fee or profit plan when incentives are used. The explanation shall identify each
critical performance element, management decisions used to quantify each incentive element, reasons for the incentives, and a summary of
all trade-off possibilities considered.

  (2) The Contractor is not required to notify the Contracting Officer in advance of entering into any subcontract for which consent is
not required under paragraph (c), (d), or (e) or this clause.

(f) Unless the consent or approval specifically provides otherwise, neither consent by the Contracting Officer to any subcontract nor
approval of the Contractors purchasing system shall constitute a determination --

  (1) Of the acceptability of any subcontract terms or conditions;

  (2) Of the allowability of any cost under this contract; or

  (3) To relieve the Contractor of any responsibility for performing this contract.

(g) No subcontract or modification thereof placed under this contract shall provide for payment on a cost-plus-a-percentage-of-cost
basis, and any fee payable under cost-reimbursement type subcontracts shall not exceed the fee limitations in FAR 15.404-4(c)(4)(i).

(h) The Contractor shall give the Contracting Officer immediate written notice of any action or suit filed and prompt notice of any
claim made against the Contractor by any subcontractor or vendor that, in the opinion of the Contractor, may result in litigation
related in any way to this contract, with respect to which the Contractor may be entitled to reimbursement from the Government.

(i) The Government reserves the right to review the Contractors purchasing system as set forth in FAR Subpart 44.3.i

(j) Paragraphs (c) and (e) of this clause do not apply to the following subcontracts, which were evaluated during negotiations:   NA




  I-159         52.247-1           COMMERCIAL BILL OF LADING NOTATIONS                                    FEB/2006

When the Contracting Officer authorizes supplies to be shipped on a commercial bill of lading and the Contractor will be reimbursed
these transportation costs as direct allowable costs, the Contractor shall ensure before shipment is made that the commercial shipping
documents are annotated with either of the following notations, as appropriate:

(a) If the Government is shown as the consignor or the consignee, the annotation shall be:

Transportation is for the Department of Defense and the actual total transportation charges paid to the carrier(s) by the consignor or
consignee are assignable to, and shall be reimbursed by, the Government.

(b) If the Government is not shown as the consignor or the consignee, the annotation shall be:

Transportation is for the Department of Defense and the actual total transportation charges paid to the carrier(s) by the consignor or
consignee shall be reimbursed by the Government, pursuant to cost-reimbursement contract No. W56HZV-12-C-0127. This may be confirmed by
contacting DCMA MANASSAS, 10500 BATTLEVIEW PKWY, SUITE 200, MANASSAS VA 20109-2342

                                                    (End of Clause)




  I-160         KSCR1-11 (C3)    GOVERNMENT FURNISHED CONTRACTOR SUPPORT                                   NOV/2010
The following is a summary of the type of support the Government will provide the contractor, on an as-available basis. In the event of
any discrepancy between this summary and the description of services in the Statement of Work, this clause will take precedence.

                           U.S. Citizens Accompanying the Force
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_x__ APO/FPO/MPO/Postal Services                      _x__ DFACs(Access Only Contractors Must Pay For Meals)
__ Authorized Weapon                                  _x__ MILAIR
_x MWR                                                _x__Transportation
_x__ Resuscitative Care                               _x__ Mil Issue Equip
_x__ Controlled Access Card (CAC)/ID Card             _x__ Military Banking (Finance/Eagle Cash)
_x__ Commissary                                       ___ Military Clothing
___ Dependents Authorized                             _x__ Military Exchange
_x__ Telephone Service                                _x__ Keys to GFE
_x__ Utilities                                        _x__ Technical Training
___ None                                              ___ All
                                                      ___
                                                       x Laundry Services

                            Third-Country National (TCN) Employees

_X_   APO/FPO/MPO/Postal Services                     _X__ DFACs(Access Only Contractors Must Pay For Meals)
___   Authorized Weapon                               _X__ MILAIR
_X_   MWR                                             _X__ Transportation
_X_   Resuscitative Care                              _X__ Mil Issue Equip
_X_   Controlled Access Card (CAC)/ID Card            _X__ Military Banking (Finance/Eagle Cash)
_X_   Commissary                                      ___ Military Clothing
___   Dependents Authorized                           _X__ Military Exchange
___   None                                            ___ All



                            Local National (LN) Employees

_X_   APO/FPO/MPO/Postal Services                     _X__ DFACs(Access Only Contractors Must Pay For Meals)
___   Authorized Weapon                               _X__ MILAIR
_X_   MWR                                             _X__ Transportation
_X_   Resuscitative Care                              _X__ Mil Issue Equip
_X_   Controlled Access Card (CAC)/ID Card            _X__ Military Banking (Finance/Eagle Cash)
_X_   Commissary                                      ___ Military Clothing
___   Dependents Authorized                           _X__ Military Exchange
___   None                                            ___ All



NOTES:    Government Furnished Contractor Support, Continued.

(1) Billeting. As a general rule, billeting is not available for contractors in Kuwait. On an exception basis, contractors may be
permitted Government Billeting if a critical need by the Government exists and approval is granted by the Base Commander as recommended
by the Base Mayor's Cell.

(2)    Fuel.   There are no government provided fuel services in Kuwait.   Contractors must obtain these services from the local community.

(3) Dining facilities (DFAC's) are available and authorized for contractor use. Contractor employees choosing to consume their meals at
the DFACs shall be required to pay the established meal rates for all meals consumed.

(4) Medical Services: The USG will furnish emergency medical and rescue services in the case of life threatening injury to Contractor
personnel IAW the terms and conditions of the contract.

(5) Contractor use of Army Post Office (APO): In accordance with DoD Postal Manual 4526.6-M, contractors providing goods and services
in support of DoD activities may be authorized use of the Military Postal Service. The Contractor is authorized the use of postal
services provided by the APO within the ASG-KU AOR for contract-related activities only. This authority extends to the Contractor's U.S.
citizen employees and sponsored family members for personal mail usage. Postal support is limited to the country of Kuwait. This
authority flows down to subcontractors that are U.S.-owned and controlled companies and support the same mission as the prime
contractor.

(6) Trash Removal: The contractor shall obey all Kuwait and U.S. laws regarding secondary containment, environmental training, and
proper disposal of HAZMAT, debris, or refuse from the installation. The contractor shall dump waste in a Kuwait Government approved
site and comply with Kuwait environmental laws.

                                                     (End of Clause)
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  I-161         252.225-7027       RESTRICTION ON CONTINGENT FEES FOR FOREIGN MILITARY SALES              APR/2003

(a) Except as provided in paragraph (b) of this clause, contingent fees, as defined in the Covenant Against Contingent Fees clause of
this contract, are generally an allowable cost, provided the fees are paid to

  (1) A bona fide employee of the Contractor; or

  (2) A bona fide established commercial or selling agency maintained by the Contractor for the purpose of securing business.

(b) For foreign military sales, unless the contingent fees have been identified and payment approved in writing by the foreign customer
before contract award, the following contingent fees are unallowable under this contract:

  (1) For sales to the Government(s) of "N/A", contingent fees in any amount.

  (2) For sales to Governments not listed in paragraph (b)(1) of this clause, contingent fees exceeding $50,000 per foreign military
sale case.

                                                    (End of clause)




  I-162         252.225-7040     CONTRACTOR PERSONNEL AUTHORIZED TO ACCOMPANY U.S. ARMED FORCES           JUN/2011
                                 DEPLOYED OUTSIDE THE UNITED STATES
(a) Definitions. As used in this clause

"Combatant Commander" means the commander of a unified or specified combatant command established in accordance with 10 U.S.C. 161.

"Designated operational area" means a geographic area designated by the combatant commander or subordinate joint force commander for the
conduct or support of specified military operations.

"Law of war" means that part of international law that regulates the conduct of armed hostilities. The law of war encompasses all
international law for the conduct of hostilities binding on the United States or its individual citizens, including treaties and
international agreements to which the United States is a party, and applicable customary international law.

"Subordinate joint force commander" means a sub-unified commander or joint task force commander.

(b) General.

  (1) This clause applies when Contractor personnel are authorized to accompany U.S. Armed Forces deployed outside the United States in

    (i) Contingency operations;

    (ii) Humanitarian or peacekeeping operations; or

    (iii) Other military operations or military exercises, when designated by the Combatant Commander.

  (2) Contract performance in support of U.S. Armed Forces deployed outside the United States may require work in dangerous or austere
conditions. Except as otherwise provided in the contract, the Contractor accepts the risks associated with required contract performance
in such operations.

  (3) Contractor personnel are civilians accompanying the U.S. Armed Forces.

    (i) Except as provided in paragraph (b)(3)(ii) of this clause, Contractor personnel are only authorized to use deadly force in self-
defense.

    (ii) Contractor personnel performing security functions are also authorized to use deadly force when such force reasonably appears
necessary to execute their security mission to protect assets/persons, consistent with the terms and conditions contained in their
contract or with their job description and terms of employment.

    (iii) Unless immune from host nation jurisdiction by virtue of an international agreement or international law, inappropriate use of
force by contractor personnel authorized to accompany the U.S. Armed Forces can subject such personnel to United States or host nation
prosecution and civil liability (see paragraphs (d) and (j)(3) of this clause).

  (4) Service performed by Contractor personnel subject to this clause is not active duty or service under 38 U.S.C. 106 note.
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(c) Support.

  (1)(i) The Combatant Commander will develop a security plan for protection of Contractor personnel in locations where there is not
sufficient or legitimate civil authority, when the Combatant Commander decides it is in the interests of the Government to provide
security because

      (A) The Contractor cannot obtain effective security services;

      (B) Effective security services are unavailable at a reasonable cost; or

      (C) Threat conditions necessitate security through military means.

    (ii) The Contracting Officer shall include in the contract the level of protection to be provided to Contractor personnel.

    (iii) In appropriate cases, the Combatant Commander may provide security through military means, commensurate with the level of
security provided DoD civilians.

  (2)(i) Generally, all Contractor personnel authorized to accompany the U.S. Armed Forces in the designated operational area are
authorized to receive resuscitative care, stabilization, hospitalization at level III military treatment facilities, and assistance with
patient movement in emergencies where loss of life, limb, or eyesight could occur. Hospitalization will be limited to stabilization and
short-term medical treatment with an emphasis on return to duty or placement in the patient movement system.

    (ii) When the Government provides medical treatment or transportation of Contractor personnel to a selected civilian facility, the
Contractor shall ensure that the Government is reimbursed for any costs associated with such treatment or transportation.

    (iii) Medical or dental care beyond this standard is not authorized unless specified elsewhere in this contract.

  (3) Unless specified elsewhere in this contract, the Contractor is responsible for all other support required for its personnel
engaged in the designated operational area under this contract.

  (4) Contractor personnel must have a Synchronized Predeployment and Operational Tracker (SPOT)-generated letter of authorization
signed by the Contracting Officer in order to process through a deployment center or to travel to, from, or within the designated
operational area. The letter of authorization also will identify any additional authorizations, privileges, or Government support that
Contractor personnel are entitled to under this contract.

(d) Compliance with laws and regulations.

  (1) The Contractor shall comply with, and shall ensure that its personnel authorized to accompany U.S. Armed Forces deployed outside
the United States as specified in paragraph (b)(1) of this clause are familiar with and comply with, all applicable

    (i) United States, host country, and third country national laws;

    (ii) Provisions of the law of war, as well as any other applicable treaties and international agreements;

    (iii) United States regulations, directives, instructions, policies, and procedures; and

    (iv) Orders, directives, and instructions issued by the Combatant Commander, including those relating to force protection, security,
health, safety, or relations and interaction with local nationals.

  (2) The Contractor shall institute and implement an effective program to prevent violations of the law of war by its employees and
subcontractors, including law of war training in accordance with paragraph (e)(1)(vii) of this clause.

  (3) The Contractor shall ensure that contractor employees accompanying U.S. Armed Forces are aware--

    (i) Of the DoD definition of "sexual assault" in DoDD 6495.01, Sexual Assault Prevention and Response Program;

    (ii) That many of the offenses addressed by the definition are covered under the Uniform Code of Military Justice (see paragraph
(e)(2)(iv) of this clause); and

    (iii) That the offenses not covered by the Uniform Code of Military Justice may nevertheless have consequences to the contractor
employees (see paragraph (h)(1) of this clause).

(e) Pre-deployment requirements.
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  (1) The Contractor shall ensure that the following requirements are met prior to deploying personnel authorized to accompany U.S.
Armed Forces. Specific requirements for each category may be specified in the statement of work or elsewhere in the contract.

    (i) All required security and background checks are complete and acceptable.

    (ii) All deploying personnel meet the minimum medical screening requirements and have received all required immunizations as
specified in the contract. The Government will provide, at no cost to the Contractor, any theater-specific immunizations and/or
medications not available to the general public.

    (iii) Deploying personnel have all necessary passports, visas, and other documents required to enter and exit a designated
operational area and have a Geneva Conventions identification card, or other appropriate DoD identity credential, from the deployment
center. Any Common Access Card issued to deploying personnel shall contain the access permissions allowed by the letter of authorization
issued in accordance with paragraph (c)(4) of this clause.

    (iv) Special area, country, and theater clearance is obtained for personnel. Clearance requirements are in DoD Directive 4500.54,
Official Temporary Duty Abroad, and DoD 4500.54-G, DoD Foreign Clearance Guide. Contractor personnel are considered non-DoD personnel
traveling under DoD sponsorship.

    (v) All personnel have received personal security training. At a minimum, the training shall

      (A) Cover safety and security issues facing employees overseas;

      (B) Identify safety and security contingency planning activities; and

      (C) Identify ways to utilize safety and security personnel and other resources appropriately.

    (vi) All personnel have received isolated personnel training, if specified in the contract, in accordance with DoD Instruction
1300.23, Isolated Personnel Training for DoD Civilian and Contractors.

    (vii) Personnel have received law of war training as follows:

      (A) Basic training is required for all Contractor personnel authorized to accompany U.S. Armed Forces deployed outside the United
States. The basic training will be provided through

        (1) A military-run training center; or

        (2) A web-based source, if specified in the contract or approved by the Contracting Officer.

      (B) Advanced training, commensurate with their duties and responsibilities, may be required for some Contractor personnel as
specified in the contract.

  (2) The Contractor shall notify all personnel who are not a host country national, or who are not ordinarily resident in the host
country, that

    (i) Such employees, and dependents residing with such employees, who engage in conduct outside the United States that would
constitute an offense punishable by imprisonment for more than one year if the conduct had been engaged in within the special maritime
and territorial jurisdiction of the United States, may potentially be subject to the criminal jurisdiction of the United States in
accordance with the Military Extraterritorial Jurisdiction Act of 2000 (18 U.S.C. 3621, et seq.);

    (ii) Pursuant to the War Crimes Act (18 U.S.C. 2441), Federal criminal jurisdiction also extends to conduct that is determined to
constitute a war crime when committed by a civilian national of the United States;

    (iii) Other laws may provide for prosecution of U.S. nationals who commit offenses on the premises of U.S. diplomatic, consular,
military or other U.S. Government missions outside the United States (18 U.S.C. 7(9)); and

    (iv) In time of declared war or a contingency operation, Contractor personnel authorized to accompany U.S. Armed Forces in the field
are subject to the jurisdiction of the Uniform Code of Military Justice under 10 U.S.C. 802(a)(10).

(f) Processing and departure points. Deployed Contractor personnel shall

  (1) Process through the deployment center designated in the contract, or as otherwise directed by the Contracting Officer, prior to
deploying. The deployment center will conduct deployment processing to ensure visibility and accountability of Contractor personnel and
to ensure that all deployment requirements are met, including the requirements specified in paragraph (e)(1) of this clause;

  (2) Use the point of departure and transportation mode directed by the Contracting Officer; and
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  (3) Process through a Joint Reception Center (JRC) upon arrival at the deployed location. The JRC will validate personnel
accountability, ensure that specific designated operational area entrance requirements are met, and brief Contractor personnel on
theater-specific policies and procedures.

(g) Personnel data.

  (1) The Contractor shall enter before deployment and maintain data for all Contractor personnel that are authorized to accompany U.S.
Armed Forces deployed outside the United States as specified in paragraph (b)(1) of this clause. The Contractor shall use the
Synchronized Predeployment and Operational Tracker (SPOT) web-based system, at http://www.dod.mil/bta/products/spot.html, to enter and
maintain the data.

  (2) The Contractor shall ensure that all employees in the database have a current DD Form 93, Record of Emergency Data Card, on file
with both the Contractor and the designated Government official. The Contracting Officer will inform the Contractor of the Government
official designated to receive this data card.

(h) Contractor personnel.

  (1) The Contracting Officer may direct the Contractor, at its own expense, to remove and replace any Contractor personnel who
jeopardize or interfere with mission accomplishment or who fail to comply with or violate applicable requirements of this contract. Such
action may be taken at the Governments discretion without prejudice to its rights under any other provision of this contract, including
the Termination for Default clause.

  (2) The Contractor shall have a plan on file showing how the Contractor would replace employees who are unavailable for deployment or
who need to be replaced during deployment. The Contractor shall keep this plan current and shall provide a copy to the Contracting
Officer upon request. The plan shall

    (i) Identify all personnel who are subject to military mobilization;

    (ii) Detail how the position would be filled if the individual were mobilized; and

    (iii) Identify all personnel who occupy a position that the Contracting Officer has designated as mission essential.

  (3) Contractor personnel shall report to the Combatant Commander or a designee, or through other channels such as the military police,
a judge advocate, or an inspector general, any suspected or alleged conduct for which there is credible information that such conduct

(i) Constitutes violation of the law of war; or

(ii) Occurred during any other military operations and would constitute a violation of the law of war if it occurred during an armed
conflict.



(i) Military clothing and protective equipment.

  (1) Contractor personnel are prohibited from wearing military clothing unless specifically authorized in writing by the Combatant
Commander. If authorized to wear military clothing, Contractor personnel must

    (i) Wear distinctive patches, arm bands, nametags, or headgear, in order to be distinguishable from military personnel, consistent
with force protection measures; and

    (ii) Carry the written authorization with them at all times.

  (2) Contractor personnel may wear military-unique organizational clothing and individual equipment (OCIE) required for safety and
security, such as ballistic, nuclear, biological, or chemical protective equipment.

  (3) The deployment center, or the Combatant Commander, shall issue OCIE and shall provide training, if necessary, to ensure the safety
and security of Contractor personnel.

  (4) The Contractor shall ensure that all issued OCIE is returned to the point of issue, unless otherwise directed by the Contracting
Officer.

(j) Weapons.

  (1) If the Contractor requests that its personnel performing in the designated operational area be authorized to carry weapons, the
request shall be made through the Contracting Officer to the Combatant Commander, in accordance with DoD Instruction 3020.41, paragraph
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6.3.4.1 or, if the contract is for security services, paragraph 6.3.5.3. The Combatant Commander will determine whether to authorize in-
theater Contractor personnel to carry weapons and what weapons and ammunition will be allowed.

  (2) If the Contracting Officer, subject to the approval of the Combatant Commander, authorizes the carrying of weapons

    (i) The Contracting Officer may authorize the Contractor to issue Contractor-owned weapons and ammunition to specified employees; or



    (ii) The -1- may issue Government-furnished weapons and ammunition to the Contractor for issuance to specified Contractor employees.

  (3) The Contractor shall ensure that its personnel who are authorized to carry weapons

    (i) Are adequately trained to carry and use them

      (A) Safely;

      (B) With full understanding of, and adherence to, the rules of the use of force issued by the Combatant Commander; and

      (C) In compliance with applicable agency policies, agreements, rules, regulations, and other applicable law;

    (ii) Are not barred from possession of a firearm by 18 U.S.C. 922; and

    (iii) Adhere to all guidance and orders issued by the Combatant Commander regarding possession, use, safety, and accountability of
weapons and ammunition.

  (4) Whether or not weapons are Government-furnished, all liability for the use of any weapon by Contractor personnel rests solely with
the Contractor and the Contractor employee using such weapon.

  (5) Upon redeployment or revocation by the Combatant Commander of the Contractors authorization to issue firearms, the Contractor
shall ensure that all Government-issued weapons and unexpended ammunition are returned as directed by the Contracting Officer.

(k) Vehicle or equipment licenses. Contractor personnel shall possess the required licenses to operate all vehicles or equipment
necessary to perform the contract in the designated operational area.

  (l) Purchase of scarce goods and services. If the Combatant Commander has established an organization for the designated operational
area whose function is to determine that certain items are scarce goods or services, the Contractor shall coordinate with that
organization local purchases of goods and services designated as scarce, in accordance with instructions provided by the Contracting
Officer.

(m) Evacuation.

  (1) If the Combatant Commander orders a mandatory evacuation of some or all personnel, the Government will provide assistance, to the
extent available, to United States and third country national Contractor personnel.

  (2) In the event of a non-mandatory evacuation order, unless authorized in writing by the Contracting Officer, the Contractor shall
maintain personnel on location sufficient to meet obligations under this contract.

(n) Next of kin notification and personnel recovery.

  (1) The Contractor shall be responsible for notification of the employee-designated next of kin in the event an employee dies,
requires evacuation due to an injury, or is isolated, missing, detained, captured, or abducted.

  (2) In the case of isolated, missing, detained, captured, or abducted Contractor personnel, the Government will assist in personnel
recovery actions in accordance with DoD Directive DoD Directive 3002.01E, Personnel Recovery in the Department of Defense.

(o) Mortuary affairs. Mortuary affairs for Contractor personnel who die while accompanying the U.S. Armed Forces will be handled in
accordance with DoD Directive 1300.22, Mortuary Affairs Policy.

(p) Changes. In addition to the changes otherwise authorized by the Changes clause of this contract, the Contracting Officer may, at any
time, by written order identified as a change order, make changes in the place of performance or Government-furnished facilities,
equipment, material, services, or site. Any change order issued in accordance with this paragraph (p) shall be subject to the provisions
of the Changes clause of this contract.

(q) Subcontracts. The Contractor shall incorporate the substance of this clause, including this paragraph (q), in all subcontracts when
subcontractor personnel are authorized to accompany U.S. Armed Forces deployed outside the United States in
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  (1) Contingency operations;

  (2) Humanitarian or peacekeeping operations; or

  (3) Other military operations or military exercises, when designated by the Combatant Commander.

                                                     (End of clause)




  I-163            252.225-7043     ANTITERRORISM/FORCE PROTECTION POLICY FOR DEFENSE CONTRACTORS OUTSIDE   MAR/2006
                                    THE UNITED STATES

(a) Definition. United States, as used in this clause, means, the 50 States, the District of Columbia, and outlying areas.

(b) Except as provided in paragraph (c) of this clause, the Contractor and its subcontractors, if performing or traveling outside the
United States under this contract, shall

  (1) Affiliate with the Overseas Security Advisory Council, if the Contractor or subcontractor is a U.S. entity;

  (2) Ensure that Contractor and subcontractor personnel who are U.S. nationals and are in-country on a non-transitory basis, register
with the U.S. Embassy, and that Contractor and subcontractor personnel who are third country nationals comply with any security related
requirements of the Embassy of their nationality;

  (3) Provide, to Contractor and subcontractor personnel, antiterrorism/force protection awareness information commensurate with that
which the Department of Defense (DoD) provides to its military and civilian personnel and their families, to the extent such information
can be made available prior to travel outside the United States; and

  (4) Obtain and comply with the most current antiterrorism/force protection guidance for Contractor and subcontractor personnel.

(c) The requirements of this clause do not apply to any subcontractor that is:

  (1) A foreign government;

  (2) A representative of a foreign government; or

  (3) A foreign corporation wholly owned by a foreign government.

(d) Information and guidance pertaining to DoD antiterrorism/force protection can be obtained from: HQDA-AT; telephone, DSN 222-9832 or
commercial (703) 692-9832

                                                     (End of clause)




  I-164           252.225-7985     CONTRACTOR PERSONNEL PERFORMING IN SUPPORT OF OPERATION UNITED           DEC/2014
                  (DEV 2015-       ASSISTANCE (OUA)IN THE UNITED STATES AFRICA COMMAND (USAFRICOM)
                  O0003)           THEATER OF OPERATIONS (DEVIATION 2015-O0003)
(a)    Synchronized Predeployment and Operational Tracker (SPOT).

  (1) For United States citizen and third-country national Contractor personnel performing under this contract in support of OUA in the
USAFRICOM theater of operations, the Contractor shall--

      (i)   Comply with the SPOT registration requirements at paragraph (a)(2) of this clause;

    (ii) Use the SPOT web-based system to enter and maintain accurate, up-to-date information on individual Contractor personnel
throughout employment in support of OUA in the USAFRICOM theater of operations area; and

    (iii) Annotate changes to status of individual Contractor personnel relating to their in-theater arrival date, duty location, and
medical quarantine status, to include closing out the employment with their proper status (e.g., mission complete, killed, wounded),
within the SPOT web-based system in accordance with the processes and timelines established in the SPOT business rules at
http://www.acq.osd.mil/log/PS/spot.html.
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  (2)    SPOT registration requirements.

      (i)    SPOT registration requires one of the following login methods:

        (A)    A Common Access Card (CAC) or a SPOT-approved digital certificate.

      (B) A Government-sponsored SPOT user ID and password. This type of log-in method is only allowed for those individuals who are
not authorized to obtain a CAC or an external digital certificate, and requires SPOT Program Management Office approval.

      (ii)    Contractor administrators shall register for a SPOT account at https://spot.dmdc.mil.

    (iii) The SPOT Customer Support Team must validate user need. This process may take two business days. Contractor representatives
will be contacted to validate Contractor administrator account requests and determine the appropriate level of user access.

      (iv)    Upon approval, all users shall access SPOT at https://spot.dmdc.mil/.

      (v)    Refer SPOT application assistance questions to the Customer Support Team at--

        (A)    Phone: 703-578-5407, DSN 312-698-5407; or

        (B)    Email: dodhra.beau-alex.dmdc.mbx.spot-helpdesk@mail.mil.

    (vi) Refer to the SPOT OSD Program Support website at http://www.acq.osd.mil/log/PS/spot.html for additional training resources and
documentation regarding registration for and use of SPOT.

(b) Monthly report. The Contractor shall provide to the Contracting Officer, on a monthly basis, the aggregate count, by country, of
all local national, Contractor employees performing on service or construction contracts for 30-days or longer.

(c) Contractor emergency medical care. For United States citizen and third-country national Contractor personnel performing under this
contract in support of OUA in the USAFRICOM theater of operations--

  (1) Contractor employees shall receive emergency care in military treatment facilities and emergency evacuation in order to save
life, limb, or eyesight. Contractor employees shall be stabilized, and then referred to their health care system as soon as the
emergency period ends. Inter-theater emergency evacuation requires patient movement approval;

  (2)    Contractor employees shall have a Letter of Authorization (LOA) and a valid government-issued photo ID and passport;

  (3)    Sick call or routine medical care will not be provided;

  (4)    Primary medical and/or dental care is not authorized; and

  (5)    Emergency medical care costs will be reimbursed in accordance with the terms of the DoD contract.

(d)    Medical evacuation of contractor personnel.

  (1)    For United States citizen and third-country national Contractor personnel performing under this contract, DoD will provide

    (i) Aero-medical evacuation of Ebola Virus Disease (EVD) exposed but asymptomatic, EVD infected, and EVD symptomatic patients out
of the Ebola-affected nations when available and in accordance with the contract terms and conditions, in coordination with the United
States Transportation Command (USTRANSCOM) and/or commercial carriers as available, on a reimbursable basis via the most appropriate
means of conveyance; and

    (ii) Aero-medical evacuation of non-Ebola-related and no-risk patients out of the Ebola-affected nations when able and in
accordance with the contract terms and conditions , in coordination with USTRANSCOM and/or commercial carriers as available, on a
reimbursable and case-by-case basis.

  (2)    For local national Contractor personnel performing under this contract in support of OUA in the USAFRICOM theater of operations--

    (i) Non-healthcare provider employees who are deemed EVD-symptomatic and infected shall be referred to a local Ebola treatment unit
for treatment; and

    (ii) Healthcare provider employees who are deemed EVD-symptomatic and infected shall be referred to the Monrovia Medical Unit for
treatment.

  (3)    Unless specified elsewhere in the contract, the Contractor is responsible for all other support required for its personnel
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performing in the designated operational area. Allowable costs are determined in accordance with FAR subpart 31.

(e) Upon redeployment from an Ebola-affected nation, Contractor personnel performing under this contract shall comply with the
following--

  (1) U.S. Federal, including Centers for Disease Control and Prevention, and State and local public health authority requirements for
return to, and activities in, the United States and its territories; and

  (2)    Other foreign nation requirements as stipulated for entry into those countries or territories.

(f)    Other government-furnished support.

  (1) Any contractor who is entitled to U.S. Government-furnished support must have a SPOT-generated LOA signed by the Contracting
Officer in order to travel to, from, or within the OUA Joint Operational Area (JOA). The LOA also will identify any additional
authorizations, privileges, or U.S. Government support to which contractor personnel are entitled under this contract.

  (2)    In accordance with DFARS Subpart 225.7402, the Government will provide Contractor personnel the services checked below:

      (i)    For United States citizens:

            _X_   APO/FPO Postal Service
            _X_   Billeting
            _X_   CAC
            _X_   Contractors Authorized to Accompany Forces (CAAF)
            _X_   Government Dining Facilities (DFAC)
            _X_   Excess Baggage
            _X_   Government Furnished Meals
            _X_   Local Access Badge
            _X_   Military Banking
            _X_   Military Exchange
            ___   Military Issued Clothing
            _X_   Military Issued Equipment
            _X_   Morale, Welfare, and Recreation (MWR) Facilities
            ___   Non-CAAF
            _X_   Transportation (land transportation within OUA area)
            ___   All of the above
            ___   None of the above

      (ii)    For third-country national employees:

            _X_   Billeting
            _X_   CAC
            _X_   CAAF
            _X_   DFAC
            _X_   Excess Baggage
            _X_   Government Furnished Meals
            _X_   Local Access Badge
            _X_   Military Banking
            ___   Military issued clothing
            _X_   Military Issued Equipment
            ___   Non-CAAF
            _X_   Transportation (land transportation within OUA area)
            ___   All of the above
            ___   None of the above

      (iii)    Local National (LN) employees:

            ___   CAC
            _X_   CAAF
            _X_   DFAC
            _X_   Government Furnished Meals
            _X_   Local Access Badge
            ___   Military Issued Clothing
            _X_   Military Issued Equipment
            ___   Non-CAAF
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          _X_ Transportation (land transportation within OUA area)
          ___ All of the above
          ___ None of the above

  (3) In the event of any discrepancy between the checked above and the description of services in the Statement of Work, this clause
will take precedence.

  (4) Due to urgency and timing of OUA JOA base life support throughout the country, standards will be lowered to an expeditionary
environment. Expeditionary standards will be based on specific condition, and may include down grading from permanent housing (B-huts,
hardened buildings) to temporary tents or other facilities.

  (5) Due to the urgency and timing of OUA JOA efforts, DFACs may not be fully operational. Hot meals may decrease from three per day
to one or none per day. Meals Ready to Eat (MREs) may be substituted for DFAC-provided meals; however, contractors will receive the
same meal standards as provided to military and DoD civilian personnel.

(g)    Subcontracts.   The Contractor shall incorporate the substance of this clause, including this paragraph (g)--

  (1) In all subcontracts that require subcontractor personnel that are United States citizens or third-country nationals to perform
outside the United States in support of OUA in the USAFRICOM theater of operations; and

  (2) In subcontracts, to the maximum extent practicable, that require only subcontractor personnel that are local nationals to perform
outside the United States in support of OUA in the USAFRICOM theater of operations.

                                                     (End of clause)




  I-165           252.237-7019      TRAINING FOR CONTRACTOR PERSONNEL INTERACTING WITH DETAINEES              SEP/2006

(a) Definitions. As used in this clause

  Combatant Commander means the commander of a unified or specified combatant command established in accordance with 10 U.S.C. 161.

  Detainee means a person in the custody or under the physical control of the Department of Defense on behalf of the United States
Government as a result of armed conflict or other military operation by United States armed forces.

  Personnel interacting with detainees means personnel who, in the course of their duties, are expected to interact with detainees.

(b) Training requirement. This clause implements Section 1092 of the National Defense Authorization Act for Fiscal Year 2005 (Pub. L.
108-375).

  (1) The Combatant Commander responsible for the area where a detention or interrogation facility is located will arrange for training
to be provided to contractor personnel interacting with detainees. The training will address the international obligations and laws of
the United States applicable to the detention of personnel, including the Geneva Conventions. The Combatant Commander will arrange for a
training receipt document to be provided to personnel who have completed the training.

  (2)(i) The Contractor shall arrange for its personnel interacting with detainees to

        (A) Receive the training specified in paragraph (b)(1) of this clause

        (1) Prior to interacting with detainees, or as soon as possible if, for compelling reasons, the Contracting Officer authorizes
interaction with detainees prior to receipt of such training; and

          (2) Annually thereafter; and

        (B) Provide a copy of the training receipt document specified in paragraph (b)(1) of this clause to the Contractor for retention.

      (ii) To make these arrangements, the following points of contact apply:

TBD

(3) The Contractor shall retain a copy of the training receipt document(s) provided in accordance with paragraphs (b)(1) and (2) of this
clause until the contract is closed, or 3 years after all work required by the contract has been completed and accepted by the
Government, whichever is sooner.
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(c) Subcontracts. The Contractor shall include the substance of this clause, including this paragraph (c), in all subcontracts that may
require subcontractor personnel to interact with detainees in the course of their duties.

                                                    (End of clause)




  I-166         52.209-9           UPDATES OF PUBLICLY AVAILABLE INFORMATION REGARDING RESPONSIBILITY     JAN/2011
                                   MATTERS (JAN 2011) -- ALTERNATE I (JAN 2011)

(a)(1) The Contractor shall update the information in the Federal Awardee Performance and Integrity Information System (FAPIIS) on a
semi-annual basis, throughout the life of the contract, by posting the required information in the Central Contractor Registration
database at http://www.ccr.gov.

  (2) At the first semi-annual update on or after April 15, 2011, the Contractor shall post again any required information that the
Contractor posted prior to April 15, 2011.

(b)(1) The Contractor will receive notification when the Government posts new information to the Contractor's record.

  (2) The Contractor will have an opportunity to post comments regarding information that has been posted by the Government. The
comments will be retained as long as the associated information is retained, i.e., for a total period of 6 years. Contractor comments
will remain a part of the record unless the Contractor revises them.

  (3)(i) Public requests for system information posted prior to April 15, 2011, will be handled under Freedom of Information Act
procedures, including, where appropriate, procedures promulgated under E.O. 12600.

    (ii) As required by section 3010 of Public Law 111-212, all information posted in FAPIIS on or after April 15, 2011, except past
performance reviews, will be publicly available.

                                                    (End of clause)




  I-167         52.215-19          NOTIFICATION OF OWNERSHIP CHANGES                                      OCT/1997

(a) The Contractor shall make the following notifications in writing:

  (1) When the Contractor becomes aware that a change in its ownership has occurred, or is certain to occur, that could result in
changes in the valuation of its capitalized assets in the accounting records, the Contractor shall notify the Administrative Contracting
Officer (ACO) within 30 days.

  (2) The Contractor shall also notify the ACO within 30 days whenever changes to asset valuations or any other cost changes have
occurred or are certain to occur as a result of a change in ownership.

(b) The Contractor shall --

  (1) Maintain current, accurate, and complete inventory records of assets and their costs;

  (2) Provide the ACO or designated representative ready access to the records upon request;

  (3) Ensure that all individual and grouped assets, their capitalized values, accumulated depreciation or amortization, and remaining
useful lives are identified accurately before and after each of the Contractors ownership changes; and

  (4) Retain and continue to maintain depreciation and amortization schedules based on the asset records maintained before each
Contractor ownership change.

(c) The Contractor shall include the substance of this clause in all subcontracts under this contract that meet the applicability
requirement of FAR 15.408(k).

                                                    (End of Clause)
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  I-168           52.219-4         NOTICE OF PRICE EVALUATION PREFERENCE FOR HUBZONE SMALL BUSINESS       JAN/2011
                                   CONCERNS

(a) Definition.    See 13 CFR 125.6(e) for definitions of terms used in paragraph (d).

(b) Evaluation preference.

  (1) Offers will be evaluated by adding a factor of 10 percent to the price of all offers, except

    (i) Offers from HUBZone small business concerns that have not waived the evaluation preference; and

    (ii) Otherwise successful offers from small business concerns.

  (2) The factor of 10 percent shall be applied on a line item basis or to any group of items on which award may be made. Other
evaluation factors described in the solicitation shall be applied before application of the factor.

  (3) A concern that is both a HUBZone small business concern and a small disadvantaged business concern will receive the benefit of
both the HUBZone small business price evaluation preference and the small disadvantaged business price evaluation adjustment (see FAR
clause 52.219-23). Each applicable price evaluation preference or adjustment shall be calculated independently against an offerors base
offer. These individual preference amounts shall be added together to arrive at the total evaluated price for that offer.

  (4) When the two highest rated offerors are a HUBZone small business concern and a large business, and the evaluated offer of the
HUBZone small business concern is equal to the evaluated offer of the large business after considering the price evaluation preference,
award will be made to the HUBZone small business concern.

(c) Waiver of evaluation preference. A HUBZone small business concern may elect to waive the evaluation preference, in which case the
factor will be added to its offer for evaluation purposes. The agreements in paragraphs (d) and (e) of this clause do not apply if the
offeror has waived the evaluation preference.

  ___ Offer elects to waive the evaluation preference.

(d) Agreement. A HUBZone small business concern agrees that in the performance of the contract, in the case of a contract for

  (1) Services (except construction), at least 50 percent of the cost of personnel for contract performance will be spent for employees
of the concern or employees of other HUBZone small business concerns;

  (2) Supplies (other than procurement from a nonmanufacturer of such supplies), at least 50 percent of the cost of manufacturing,
excluding the cost of materials, will be performed by the concern or other HUBZone small business concerns;

  (3) General construction. (i) At least 15 percent of the cost of contract performance to be incurred for personnel will be spent on
the prime contractor's employees;

    (ii) At least 50 percent of the cost of the contract performance to be incurred for personnel will be spent on the prime
contractor's employees or on a combination of the prime contractor's employees and employees of HUBZone small business concern
subcontractors;

    (iii) No more than 50 percent of the cost of contract performance to be incurred for personnel will be subcontracted to concerns
that are not HUBZone small business concerns; or

  (4) Construction by special trade contractors. (i) At least 25 percent of the cost of contract performance to be incurred for
personnel will be spent on the prime contractor's employees;

    (ii) At least 50 percent of the cost of the contract performance to be incurred for personnel will be spent on the prime
contractor's employees or on a combination of the prime contractor's employees and employees of HUBZone small business concern
subcontractors;

    (iii) No more than 50 percent of the cost of contract performance to be incurred for personnel will be subcontracted to concerns
that are not HUBZone small business concerns.

(e) A HUBZone joint venture agrees that the aggregate of the HUBZone small business concerns to the joint venture, not each concern
separately, will perform the applicable percentage of work requirements.

(f)(1) When the total value of the contract exceeds $25,000, a HUBZone small business concern nonmanufacturer agrees to furnish in
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performing this contract only end items manufactured or produced by HUBZone small business concern manufacturers.

  (2) When the total value of the contract is equal to or less than $25,000, a HUBZone small business concern nonmanufacturer may
provide end items manufactured by other than a HUBZone small business concern manufacturer provided the end items are produced or
manufactured in the United States.

  (3) Paragraphs (f)(1) and (f)(2) of this section do not apply in connection with construction or service contracts.

(g) Notice. The HUBZone small business offeror acknowledges that a prospective HUBZone awardee must be a HUBZone small business concern
at the time of award of this contract. The HUBZone offeror shall provide the Contracting Officer a copy of the notice required by 13 CFR
126.501 if material changes occur before contract award that could affect its HUBZone eligibility. If the apparently successful HUBZone
offeror is not a HUBZone small business concern at the time of award of this contract, the Contracting Officer will proceed to award to
the next otherwise successful HUBZone small business concern or other offeror.

                                                    (End of clause)




  I-169         52.219-28          POST-AWARD SMALL BUSINESS PROGRAM REREPRESENTATION                      APR/2009

(a) Definitions. As used in this clause--

  "Long-term contract" means a contract of more than five years in duration, including options. However, the term does not include
contracts that exceed five years in duration because the period of performance has been extended for a cumulative period not to exceed
six months under the clause at 52.217-8, Option to Extend Services, or other appropriate authority.

  "Small business concern" means a concern, including its affiliates, that is independently owned and operated, not dominant in the
field of operation in which it is bidding on Government contracts, and qualified as a small business under the criteria in 13 CFR part
121 and the size standard in paragraph (c) of this clause. Such a concern is "not dominant in its field of operation" when it does not
exercise a controlling or major influence on a national basis in a kind of business activity in which a number of business concerns are
primarily engaged. In determining whether dominance exists, consideration shall be given to all appropriate factors, including volume of
business, number of employees, financial resources, competitive status or position, ownership or control of materials, processes,
patents, license agreements, facilities, sales territory, and nature of business activity.

(b) If the Contractor represented that it was a small business concern prior to award of this contract, the Contractor shall rerepresent
its size status according to paragraph (e) of this clause or, if applicable, paragraph (g) of this clause, upon the occurrence of any of
the following:

  (1) Within 30 days after execution of a novation agreement or within 30 days after modification of the contract to include this
clause, if the novation agreement was executed prior to inclusion of this clause in the contract.

  (2) Within 30 days after a merger or acquisition that does not require a novation or within 30 days after modification of the contract
to include this clause, if the merger or acquisition occurred prior to inclusion of this clause in the contract.

  (3) For long-term contracts

    (i) Within 60 to 120 days prior to the end of the fifth year of the contract; and

    (ii) Within 60 to 120 days prior to the date specified in the contract for exercising any option thereafter.

(c) The Contractor shall rerepresent its size status in accordance with the size standard in effect at the time of this rerepresentation
that corresponds to the North American Industry Classification System (NAICS) code assigned to this contract. The small business size
standard corresponding to this NAICS code can be found at http://www.sba.gov/services/contractingopportunities/sizestandardstopics/ .

(d) The small business size standard for a Contractor providing a product which it does not manufacture itself, for a contract other
than a construction or service contract, is 500 employees.

(e) Except as provided in paragraph (g) of this clause, the Contractor shall make the rerepresentation required by paragraph (b) of this
clause by validating or updating all its representations in the Online Representations and Certifications Application and its data in
the Central Contractor Registration, as necessary, to ensure that they reflect the Contractor's current status. The Contractor shall
notify the contracting office in writing within the timeframes specified in paragraph (b) of this clause that the data have been
validated or updated, and provide the date of the validation or update.

(f) If the Contractor represented that it was other than a small business concern prior to award of this contract, the Contractor may,
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but is not required to, take the actions required by paragraphs (e) or (g) of this clause.

(g) If the Contractor does not have representations and certifications in ORCA, or does not have a representation in ORCA for the NAICS
code applicable to this contract, the Contractor is required to complete the following rerepresentation and submit it to the contracting
office, along with the contract number and the date on which the rerepresentation was completed:

The Contractor represents that it [ ] is, [ ] is not a small business concern under NAICS Code ______________ assigned to contract
number ________________________. [Contractor to sign and date and insert authorized signer's name and title].

                                                    (End of clause)




  I-170         52.223-3           HAZARDOUS MATERIAL IDENTIFICATION AND MATERIAL SAFETY DATA             JAN/1997

(a) Hazardous material, as used in this clause, includes any material defined as hazardous under the latest version of Federal Standard
No. 313 (including revisions adopted during the term of the contract).

(b) The offeror must list any hazardous material, as defined in paragraph (a) of this clause, to be delivered under this contract. The
hazardous material shall be properly identified and include any applicable identification number, such as National Stock Number or
Special Item Number. This information shall also be included on the Material Safety Data Sheet submitted under this contract.

          Material                         Identification No.
  (If none, insert None)
_____________________________________________________________________________________
_____________________________________________________________________________________
_____________________________________________________________________________________

(c) This list must be updated during performance of the contract whenever the Contractor determines that any other material to be
delivered under this contract is hazardous.

(d) The apparently successful offeror agrees to submit, for each item as required prior to award, a Material Safety Data Sheet, meeting
the requirements of 29 CFR 1910.1200(g) and the latest version of Federal Standard No. 313, for all hazardous material identified in
paragraph (b) of this clause. Data shall be submitted in accordance with Federal Standard No. 313, whether or not the apparently
successful offeror is the actual manufacturer of these items. Failure to submit the Material Safety Data Sheet prior to award may result
in the apparently successful offeror being considered nonresponsible and ineligible for award.

(e) If, after award, there is a change in the composition of the item(s) or a revision to Federal Standard No. 313, which renders
incomplete or inaccurate the data submitted under paragraph (d) of this clause, the Contractor shall promptly notify the Contracting
Officer and resubmit the data.

(f) Neither the requirements of this clause nor any act or failure to act by the Government shall relieve the Contractor of any
responsibility or liability for the safety of Government, Contractor, or subcontractor personnel or property.

(g) Nothing contained in this clause shall relieve the Contractor from complying with applicable Federal, State, and local laws, codes,
ordinances, and regulations (including the obtaining of licenses and permits) in connection with hazardous material.

(h) The Government's rights in data furnished under this contract with respect to hazardous material are as follows:

  (1) To use, duplicate and disclose any data to which this clause is applicable. The purposes of this right are to --

    (i) Apprise personnel of the hazards to which they may be exposed in using, handling, packaging, transporting, or disposing of
hazardous materials;

    (ii) Obtain medical treatment for those affected by the material; and

    (iii) Have others use, duplicate, and disclose the data for the Government for these purposes.

  (2) To use, duplicate, and disclose data furnished under this clause, in accordance with subparagraph (h)(1) of this clause, in
precedence over any other clause of this contract providing for rights in data.

  (3) The Government is not precluded from using similar or identical data acquired from other sources.
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                                                       (End of Clause)




  I-171         52.223-11        OZONE-DEPLETING SUBSTANCES                                                MAY/2001
(a) Definition. Ozone-depleting substance, as used in this clause, means any substance the Environmental Protection Agency designates in
40 CFR Part 82 as--

  (1) Class I, including, but not limited to, chlorofluorocarbons, halons, carbon tetrachloride, and methyl chloroform; or

  (2) Class II , including, but not limited to hydrochlorofluorocarbons.

(b) The Contractor shall label products which contain or are manufactured with ozone-depleting substances in the manner and to the
extent required by 42 U.S.C. 7671j (b), (c), and (d) and 40 CFR Part 82, Subpart E, as follows:

                                                           Warning

Contains (or manufactured with, if applicable) *________________________________, a substance(s) which harm(s) public health and
environment by destroying ozone in the upper atmosphere.

* The Contractor shall insert the name of the substance(s).

(End of Clause)



  I-172           52.252-2         CLAUSES INCORPORATED BY REFERENCE                                       FEB/1998

This contract incorporates one or more clauses by reference, with the same force and effect as if they were given in full text. Upon
request, the Contracting Officer will make their full text available. Also, the full text of a clause may be accessed electronically at
this/these address:

    http://www.acq.osd.mil/dpap/dars/far.html    or    http://www.acq.osd.mil/dpap/dars/index.htm    or
http://farsite.hill.af.mil/VFAFARa.HTM

                                                       (End of Clause)




  I-173           52.252-6         AUTHORIZED DEVIATIONS IN CLAUSES                                        APR/1984

(a) The use in this solicitation or contract of any Federal Acquisition Regulation (48 CFR Chapter 1) clause with an authorized
deviation is indicated by the addition of "(DEVIATION)" after the date of the clause.

(b) The use in this solicitation or contract of any DoD Federal Acquisition Regulation Supplement (48 CFR Chapter 2) clause with an
authorized deviation is indicated by the addition of "(DEVIATION)" after the name of the regulation.

                                                       (End of Clause)




  I-174           252.223-7001     HAZARD WARNING LABELS                                                   DEC/1991

(a) Hazardous material, as used in this clause, is defined in the Hazardous Material Identification and   Material Safety Data clause of
this contract.

(b) The Contractor shall label the item package (unit container) of any hazardous material to be delivered under this contract in
accordance with the Hazard Communication Standard (29 CFR 1910.1200 et seq). The Standard requires that the hazard warning label
conform to the requirements of the standard unless the material is otherwise subject to the labeling requirements of one of the
following statutes:

  (1) Federal Insecticide, Fungicide and Rodenticide Act;
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  (2) Federal Food, Drug and Cosmetics Act;

  (3) Consumer Product Safety Act;

  (4) Federal Hazardous Substances Act; or

  (5) Federal Alcohol Administration Act.

(c) The Offeror shall list which hazardous material listed in the Hazardous Material Identification and Material Safety Data clause of
this contract will be labeled in accordance with one of the Acts in paragraphs (b)(1) through (5) of this clause instead of the Hazard
Communication Standard. Any hazardous material not listed will be interpreted to mean that a label is required in accordance with the
Hazard Communication Standard.

   MATERIAL (If None, Insert None.)               ACT

__________________________________________    _____________________________
__________________________________________    _____________________________
__________________________________________    _____________________________

(d) The apparently successful Offeror agrees to submit, before award, a copy of the hazard warning label for all hazardous materials
not listed in paragraph (c) of this clause. The Offeror shall submit the label with the Material Safety Data Sheet being furnished
under the Hazardous Material Identification and Material Safety Data clause of this contract.

(e) The Contractor shall also comply with MIL-STD-129, Marking for Shipment and Storage (including revisions    adopted during the term of
this contract).

(End of clause)




  I-175          252.225-7039      CONTRACTORS PERFORMING PRIVATE SECURITY FUNCTIONS                       JUN/2012
(a) Definitions.

"Full cooperation"--

  (i) Means disclosure to the Government of the information sufficient to identify the nature and extent of the incident and the
individuals responsible for the conduct. It includes providing timely and complete response to Government auditors' and investigators'
requests for documents and access to employees with information;

  (ii) Does not foreclose any Contractor rights arising in law, the FAR, the DFARS, or the terms of the contract. It does not require--

    (A) The Contractor to waive its attorney-client privilege or the protections afforded by the attorney work product doctrine; or

    (B) Any officer, director, owner, or employee of the Contractor, including a sole proprietor, to waive his or her attorney-client
privilege or Fifth Amendment rights; and

    (C) Does not restrict the Contractor from--

      (1) Conducting an internal investigation; or

      (2) Defending a proceeding or dispute arising under the contract or related to a potential or disclosed violation.

"Private security functions" means the following activities engaged
in by a contractor:

  (i) Guarding of personnel, facilities, designated sites, or property of a Federal agency, the contractor or subcontractor, or a third
party.

  (ii) Any other activity for which personnel are required to carry weapons in the performance of their duties.

(b) Requirements. The Contractor is required to--

  (1) Ensure that the Contractor and all employees of the Contractor who are responsible for performing private security functions under
this contract comply With any orders, directives, and instructions to Contractors performing private security functions that are
identified in the contract for--
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    (i) Registering, processing, accounting for, managing, overseeing, and keeping appropriate records of personnel performing private
Security functions. This includes ensuring the issuance, maintenance, and return of Personal Identity Verification credentials in
accordance with FAR 52.204-19, Personal Identity Verification of Contractor Personnel, and DoD procedures, including revocation of any
physical and/or logistical access (as defined by Homeland Security Presidential Directive (HSPD-12)) granted to such personnel;

    (ii) Authorizing and accounting for weapons to be carried by or available to be used by personnel performing private security
functions;

      (A) All weapons must be registered in the Synchronized Predeployment Operational Tracker (SPOT) materiel tracking system.

      (B) In addition, all weapons that are Government-furnished property must be assigned a unique identifier in accordance with the
clauses at DFARS 252.211-7003, Item Identification and Valuation, and DFARS 252.245.7001, Tagging, Labeling, and Marking of Government-
Furnished Property, and physically marked in accordance with MIL-STD 130 (current version) and DoD directives and instructions. The
items must be registered in the DoD Item Unique Identification (IUID) Registry (\*HYPERLINK
"https://www.bpn.gov/iuid/"https://www.bpn.gov/iuid/);
                           _________________________

    (iii) Registering and identifying armored vehicles, helicopters, and other military vehicles operated by Contractors performing
private security functions;

      (A) All armored vehicles, helicopters, and other military vehicles must be registered in SPOT.

      (B) In addition, all armored vehicles, helicopters, and other military vehicles that are Government-furnished property must be
assigned a unique identifier in accordance with the clauses at DFARS 252.211-7003 and DFARS 252.245.7001 and physically marked in
accordance with MIL-STD 130 (current version) and DoD directives and instructions. The items must be registered in the DoD IUID Registry
(\*HYPERLINK "https://www.bpn.gov/iuid/"https://www.bpn.gov/iuid/);
                                        _________________________   and

    (iv) Reporting incidents in which--

      (A) A weapon is discharged by personnel performing private security functions;

      (B) Personnel performing private security functions are attacked, killed, or injured;

      (C) Persons are killed or injured or property is destroyed as a result of conduct by contractor personnel;

      (D) A weapon is discharged against personnel performing private security functions or personnel performing such functions believe
a weapon was so discharged; or

      (E) Active, non-lethal countermeasures (other than the discharge of a weapon, including laser optical distracters, acoustic
hailing devices, electromuscular TASER guns, blunt-trauma devices like rubber balls and sponge grenades, and a variety of other riot
control agents and delivery systems) are employed by personnel performing private security functions in response to a perceived
immediate threat;

  (2) Ensure that the Contractor and all employees of the Contractor who are responsible for personnel performing private security
functions under this contract are briefed on and understand their obligation to comply with

    (i) Qualification, training, screening (including, if applicable, thorough background checks), and security requirements established
by DoDI 3020.50, Private Security Contractors Operating in Areas of Contingency Operations, Humanitarian or Peace Operations, or Other
Military Operations or Exercises, at \*HYPERLINK
"http://www.dtic.mil/whs/directives/corres/pdf/302050p.pdf"http://www.dtic.mil/whs/directives/corres/pdf/302050p.pdf;
                                                           _________________________________________________________

    (ii) Applicable laws and regulations of the United States and the host country and applicable treaties and international agreements
regarding performance of private security functions;

    (iii) Orders, directives, and instructions issued by the applicable commander of a combatant command relating to weapons, equipment,
force protection, security, health, safety, or relations and interaction with locals; and

    (iv) Rules on the use of force issued by the applicable commander of a combatant command for personnel performing private security
functions; and

  (3) Provide full cooperation with any Government-authorized investigation into incidents reported pursuant to paragraph (b)(1)(iv) of
this clause and incidents of alleged misconduct by personnel performing private security functions by providing access to employees
performing private security functions and relevant information in the possession of the Contractor regarding the incident concerned.

(c) Remedies. In addition to other remedies available to the Government
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  (1) The Contracting Officer may direct the Contractor, at its own expense, to remove and replace any Contractor personnel who fail to
comply with or violate applicable requirements of this contract. Such action may be taken at the Governments discretion without
prejudice to its rights under any other provision of this contract, including termination for default. Required Contractor actions
include

      (i) Ensuring the return of personal identity verification credentials;

      (ii) Ensuring the return of other equipment issued to the employee under the contract; and

      (iii) Revocation of any physical and/or logistical access granted to such personnel;

  (2) The Contractors failure to comply with the requirements of this clause will be included in appropriate databases of past
performance and may be considered in any responsibility determination or evaluation of past performance; and

  (3) If this is an award-fee contract, the Contractors failure to comply with the requirements of this clause shall be considered in
the evaluation of the Contractors performance during the relevant evaluation period, and the Contracting Officer may treat such failure
to comply as a basis for reducing or denying award fees for such period or for recovering all or part of award fees previously paid for
such period.

  (4) If the performance failures are significant, severe, prolonged, or repeated, the contracting officer shall refer the contractor to
the appropriate suspension and debarment official.

(d) Rule of construction. The duty of the Contractor to comply with the requirements of this clause shall not be reduced or diminished
by the failure of a higher- or lower-tier Contractor to comply with the clause requirements or by a failure of the contracting activity
to provide required oversight.

(e) Subcontracts. The Contractor shall include the substance of this clause, including this paragraph (e), in all subcontracts that will
be performed outside the United States in areas of combat and other significant military operations designated by the Secretary of
Defense, contingency operations, humanitarian or peacekeeping operations, or other military operations or exercises designated by the
Combatant Commander.



                                                     (End of clause)




  I-176         252.225-7981     ADDITIONAL ACCESS TO CONTRACTOR AND SUBCONTRACTOR RECORDS (OTHER THAN     SEP/2015
                (DEV 2015-       USCENTCOM) (DEVIATION 2015-O0016)
                O0016)
(a) In addition to any other existing examination-of-records authority, the Government is authorized to examine any records of the
Contractor and its subcontractors to the extent necessary to ensure that funds, including supplies and services, available under this
contract are not provided, directly or indirectly, to a person or entity that is actively opposing United States or coalition forces
involved in a contingency operation in which members of the Armed Forces are actively engaged in hostilities.

(b) The substance of this clause, including this paragraph (b), is required to be included in subcontracts, including subcontracts for
commercial items, under this contract that have an estimated value over $50,000 and will be performed outside the United States and its
outlying areas.

                                                     (End of clause)




  I-177           252.225-7993      PROHIBITION ON CONTRACTING WITH THE ENEMY    (DEVIATION 2015-O0016)      SEP/2015
                  (DEV 2015-
                  O0016)
(a)    The Contractor shall--

  (1) Exercise due diligence to ensure that none of the funds, including supplies and services, received under this contract are
provided directly or indirectly (including through subcontracts) to a person or entity who is actively opposing United States or
Coalition forces involved in a contingency operation in which members of the Armed Forces are actively engaged in hostilities;

  (2)    Check the list of prohibited/restricted sources in the System for Award Management at http://www.sam.gov--

      (i)   Prior to subcontract award; and
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      (ii)    At least on a monthly basis; and

  (3) Terminate or void in whole or in part any subcontract with a person or entity listed in SAM as a prohibited or restricted source
pursuant to subtitle E of Title VIII of the NDAA for FY 2015, unless the Contracting Officer provides to the Contractor written approval
of the Head of the Contracting Activity to continue the subcontract.

(b)    The Head of the Contracting Activity has the authority to--

  (1) Terminate this contract for default, in whole or in part, if the Head of the Contracting Activity determines in writing that the
contractor failed to exercise due diligence as required by paragraph (a) of this clause; or

  (2)(i) Void this contract, in whole or in part, if the Head of the Contracting Activity determines in writing that any funds received
under this contract have been provided directly or indirectly to a person or entity who is actively opposing United States or Coalition
forces involved in a contingency operation in which members of the Armed Forces are actively engaged in hostilities.

    (ii) When voided in whole or in part, a contract is unenforceable as contrary to public policy, either in its entirety or with
regard to a segregable task or effort under the contract, respectively.

(c) The Contractor shall include the substance of this clause, including this paragraph (c), in subcontracts, including subcontracts
for commercial items, under this contract that have an estimated value over $50,000 and will be performed outside the United States and
its outlying areas.

                                                     (End of clause)




  I-178         252.225-7994     ADDITIONAL ACCESS TO CONTRACTOR AND SUBCONTRACTOR RECORDS IN THE         FEB/2014
                (DEV 2014-       UNITED STATES CENTRAL COMMAND THEATER OF OPERATIONS (DEVIATION 2014-
                O0008)           O0008)
(a) In addition to any other existing examination-of-records authority, the Department of Defense is authorized to examine any records
of the Contractor to the extent necessary to ensure that funds available under this Contract are not--

  (1)    Subject to extortion or corruption; or

  (2) Provided, directly or indirectly, to persons or entities that are actively supporting an insurgency or otherwise actively
opposing United States or coalition forces in a contingency operation.

(b) The substance of this clause, including this paragraph (b), is required to be included in subcontracts under this contract that
have an estimated value over $100,000.

                                                     (End of clause)




  I-179           252.225-7995    CONTRACTOR PERSONNEL PERFORMING IN THE UNITED STATES CENTRAL COMMAND    JAN/2015
                  (DEV 2015-      AREA OF RESPONSIBILITY (DEVIATION 2015-O0009)
                  O0009)
(a)    Definitions. As used in this clause--

Combatant Commander means the Commander of the United States Central Command Area of Responsibility.

Contractors authorized to accompany the Force, or CAAF, means contractor personnel, including all tiers of subcontractor personnel, who
are authorized to accompany U.S. Armed Forces in applicable operations and have been afforded CAAF status through a letter of
authorization. CAAF generally include all U.S. citizen and third-country national employees not normally residing within the
operational area whose area of performance is in the direct vicinity of U.S. Armed Forces and who routinely are collocated with the U.S.
Armed Forces (especially in non-permissive environments). Personnel collocated with U.S. Armed Forces shall be afforded CAAF status
through a letter of authorization. In some cases, Combatant Commander subordinate commanders may designate mission-essential host
nation or local national contractor employees (e.g., interpreters) as CAAF. CAAF includes contractors previously identified as
contractors deploying with the U.S. Armed Forces. CAAF status does not apply to contractor personnel in support of applicable
operations within the boundaries and territories of the United States.

Designated reception site means the designated place for the reception, staging, integration, and onward movement of contractors
deploying during a contingency. The designated reception site includes assigned joint reception centers and other Service or private
reception sites.
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Law of war means that part of international law that regulates the conduct of armed hostilities. The law of war encompasses all
international law for the conduct of hostilities binding on the United States or its individual citizens, including treaties and
international agreements to which the United States is a party, and applicable customary international law.

Non-CAAF means personnel who are not designated as CAAF, such as local national (LN) employees and non-LN employees who are permanent
residents in the operational area or third-country nationals not routinely residing with U.S. Armed Forces (and third-country national
expatriates who are permanent residents in the operational area) who perform support functions away from the close proximity of, and do
not reside with, U.S. Armed Forces. Government-furnished support to non-CAAF is typically limited to force protection, emergency
medical care, and basic human needs (e.g., bottled water, latrine facilities, security, and food when necessary) when performing their
jobs in the direct vicinity of U.S. Armed Forces. Non-CAAF status does not apply to contractor personnel in support of applicable
operations within the boundaries and territories of the United States.

Subordinate joint force commander means a sub-unified commander or joint task force commander.

(b)    General.

  (1) This clause applies to both CAAF and non-CAAF when performing in the United States Central Command (USCENTCOM) Area of
Responsibility (AOR)



  (2) Contract performance in USCENTCOM AOR may require work in dangerous or austere conditions. Except as otherwise provided in the
contract, the Contractor accepts the risks associated with required contract performance in such operations.

  (3) When authorized in accordance with paragraph (j) of this clause to carry arms for personal protection, contractor personnel are
only authorized to use force for individual self-defense.

  (4) Unless immune from host nation jurisdiction by virtue of an international agreement or international law, inappropriate use of
force by contractor personnel authorized to accompany the U.S. Armed Forces can subject such personnel to United States or host nation
prosecution and civil liability (see paragraphs (d) and (j)(3) of this clause).

  (5)    Service performed by contractor personnel subject to this clause is not active duty or service under 38 U.S.C. 106 note.

(c)    Support.

  (1)(i) The Combatant Commander will develop a security plan for protection of contractor personnel in locations where there is not
sufficient or legitimate civil authority, when the Combatant Commander decides it is in the interests of the Government to provide
security because--

        (A)   The Contractor cannot obtain effective security services;

        (B)   Effective security services are unavailable at a reasonable cost; or

        (C)   Threat conditions necessitate security through military means.

    (ii)    In appropriate cases, the Combatant Commander may provide security through military means, commensurate with the level of
security provided DoD civilians.

  (2)(i) Generally, CAAF will be afforded emergency medical and dental care if injured while supporting applicable operations.
Additionally, non-CAAF employees who are injured while in the vicinity of U. S. Armed Forces will normally receive emergency medical and
dental care. Emergency medical and dental care includes medical care situations in which life, limb, or eyesight is jeopardized.
Examples of emergency medical and dental care include examination and initial treatment of victims of sexual assault; refills of
prescriptions for life-dependent drugs; repair of broken bones, lacerations, infections; and traumatic injuries to the dentition.
Hospitalization will be limited to stabilization and short-term medical treatment with an emphasis on return to duty or placement in the
patient movement system.

    (ii) When the Government provides medical treatment or transportation of Contractor personnel to a selected civilian facility, the
Contractor shall ensure that the Government is reimbursed for any costs associated with such treatment or transportation.

      (iii)   Medical or dental care beyond this standard is not authorized.

  (3) Contractor personnel must have a Synchronized Predeployment and Operational Tracker (SPOT)-generated letter of authorization
signed by the Contracting Officer in order to process through a deployment center or to travel to, from, or within the USCENTCOM AOR.
The letter of authorization also will identify any additional authorizations, privileges, or Government support that Contractor
personnel are entitled to under this contract. Contractor personnel who are issued a letter of authorization shall carry it with them
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at all times while deployed.

  (4) Unless specified elsewhere in this contract, the Contractor is responsible for all other support required for its personnel
engaged in the USCENTCOM AOR under this contract.

(d)    Compliance with laws and regulations.

  (1) The Contractor shall comply with, and shall ensure that its personnel performing in the USCENTCOM AOR are familiar with and
comply with, all applicable--

      (i)    United States, host country, and third country national laws;

      (ii)    Provisions of the law of war, as well as any other applicable treaties and international agreements;

      (iii)    United States regulations, directives, instructions, policies, and procedures; and

    (iv) Orders, directives, and instructions issued by the Combatant Commander, including those relating to force protection,
security, health, safety, or relations and interaction with local nationals.

  (2) The Contractor shall institute and implement an effective program to prevent violations of the law of war by its employees and
subcontractors, including law of war training in accordance with paragraph (e)(1)(vii) of this clause.

  (3)    The Contractor shall ensure that CAAF and non-CAAF are aware--

      (i)    Of the DoD definition of sexual assault in DoDD 6495.01, Sexual Assault Prevention and Response Program;

    (ii) That the offenses addressed by the definition are covered under the Uniform Code of Military Justice (see paragraph (e)(2)(iv)
of this clause). Other sexual misconduct may constitute offenses under the Uniform Code of Military Justice, Federal law, such as the
Military Extraterritorial Jurisdiction Act, or host nation laws; and

    (iii) That the offenses not covered by the Uniform Code of Military Justice may nevertheless have consequences to the contractor
employees (see paragraph (h)(1) of this clause).

  (4)   The Contractor shall report to the appropriate investigative authorities, identified in paragraph (d)(6) of this clause, any
alleged offenses under--

    (i) The Uniform Code of Military Justice (chapter 47 of title 10, United States Code) (applicable to contractors serving with or
accompanying an armed force in the field during a declared war or contingency operations); or

      (ii)    The Military Extraterritorial Jurisdiction Act (chapter 212 of title 18, United States Code).

  (5) The Contractor shall provide to all contractor personnel who will perform work on a contract in the deployed area, before
beginning such work, information on the following:

      (i)    How and where to report an alleged crime described in paragraph (d)(4) of this clause.

    (ii) Where to seek victim and witness protection and assistance available to contractor personnel in connection with an alleged
offense described in paragraph (d)(4) of this clause.

      (iii)    This section does not create any rights or privileges that are not authorized by law or DoD policy.

  (6)    The appropriate investigative authorities to which suspected crimes shall be reported include the following--

      (i)    US Army Criminal Investigation Command at http://www.cid.army.mil/reportacrime.html;

      (ii)    Air Force Office of Special Investigations at http://www.osi.andrews.af.mil/library/factsheets/factsheet.asp?id=14522;

      (iii)    Navy Criminal Investigative Service at http://www.ncis.navy.mil/Pages/publicdefault.aspx;

      (iv)    Defense Criminal Investigative Service at http://www.dodig.mil/HOTLINE/index.html;

      (v)    To any command of any supported military element or the command of any base.

  (7) Personnel seeking whistleblower protection from reprisals for reporting criminal acts shall seek guidance through the DoD
Inspector General hotline at 800-424-9098 or www.dodig.mil/HOTLINE/index.html. Personnel seeking other forms of victim or witness
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protections should contact the nearest military law enforcement office.

  (8) The Contractor shall ensure that Contractor employees supporting the U.S. Armed Forces deployed outside the United States are
aware of their rights to--

        (A)    Hold their own identity or immigration documents, such as passport or drivers license;

        (B)    Receive agreed upon wages on time;

        (C)    Take lunch and work-breaks;

        (D)    Elect to terminate employment at any time;

        (E)    Identify grievances without fear of reprisal;

        (F)    Have a copy of their employment contract in a language they understand;

        (G)    Receive wages that are not below the legal in-country minimum wage;

        (H)    Be notified of their rights, wages, and prohibited activities prior to signing their employment contract; and

        (I)    If housing is provided, live in housing that meets host-country housing and safety standards.

(e)    Preliminary personnel requirements.

  (1) The Contractor shall ensure that the following requirements are met prior to deploying CAAF (specific requirements for each
category will be specified in the statement of work or elsewhere in the contract):

      (i)    All required security and background checks are complete and acceptable.

      (ii)    All CAAF deploying in support of an applicable operation

        (A)    Are medically, dentally, and psychologically fit for deployment and performance of their contracted duties;

      (B) Meet the minimum medical screening requirements, including theater-specific medical qualifications as established by the
geographic Combatant Commander (as posted to the Geographic Combatant Commanders website or other venue); and

        (C)    Have received all required immunizations as specified in the contract.

        (1) During predeployment processing, the Government will provide, at no cost to the Contractor, any military-specific
immunizations and/or medications not available to the general public.

            (2)   All other immunizations shall be obtained prior to arrival at the deployment center.

        (3) All CAAF and selected non-CAAF, as specified in the statement of work, shall bring to the USCENTCOM AOR a copy of the
Public Health Service Form 791, International Certificate of Vaccination that shows vaccinations are current.

    (iii) Deploying personnel have all necessary passports, visas, and other documents required to enter and exit the USCENTCOM AOR and
have a Geneva Conventions identification card, or other appropriate DoD identity credential, from the deployment center.

    (iv) Special area, country, and theater clearance is obtained for all personnel deploying. Clearance requirements are in DoD
Directive 4500.54E, DoD Foreign Clearance Program. For this purpose, CAAF are considered non-DoD contractor personnel traveling under
DoD sponsorship.

      (v)    All deploying personnel have received personal security training.     At a minimum, the training shall--

        (A) Cover safety and security issues facing employees overseas;

        (B)    Identify safety and security contingency planning activities; and

        (C)    Identify ways to utilize safety and security personnel and other resources appropriately.

    (vi) All personnel have received isolated personnel training, if specified in the contract, in accordance with DoD Instruction
1300.23, Isolated Personnel Training for DoD Civilian and Contractors.
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      (vii)    Personnel have received law of war training as follows:

        (A)    Basic training is required for all CAAF.    The basic training will be provided through--

            (1)   A military-run training center; or

            (2)   A web-based source, if specified in the contract or approved by the Contracting Officer.

      (B) Advanced training, commensurate with their duties and responsibilities, may be required for some Contractor personnel as
specified in the contract.

  (2) The Contractor shall notify all personnel who are not a host country national, or who are not ordinarily resident in the host
country, that--

    (i) Such employees, and dependents residing with such employees, who engage in conduct outside the United States that would
constitute an offense punishable by imprisonment for more than one year if the conduct had been engaged in within the special maritime
and territorial jurisdiction of the United States, may potentially be subject to the criminal jurisdiction of the United States in
accordance with the Military Extraterritorial Jurisdiction Act of 2000 (18 U.S.C. 3621, et seq.);

    (ii) Pursuant to the War Crimes Act (18 U.S.C. 2441), Federal criminal jurisdiction also extends to conduct that is determined to
constitute a war crime when committed by a civilian national of the United States;

    (iii) Other laws may provide for prosecution of U.S. nationals who commit offenses on the premises of U.S. diplomatic, consular,
military or other U.S. Government missions outside the United States (18 U.S.C. 7(9)); and

    (iv) In time of declared war or a contingency operation, CAAF are subject to the jurisdiction of the Uniform Code of Military
Justice under 10 U.S.C. 802(a)(10).

    (v) Such employees are required to report offenses alleged to have been committed by or against contractor personnel to appropriate
investigative authorities.

      (vi)    Such employees will be provided victim and witness protection and assistance.

(f)    Processing and departure points.     CAAF shall--

  (1) Process through the deployment center designated in the contract, or as otherwise directed by the Contracting Officer, prior to
deploying. The deployment center will conduct deployment processing to ensure visibility and accountability of contractor personnel and
to ensure that all deployment requirements are met, including the requirements specified in paragraph (e)(1) of this clause;

  (2)    Use the point of departure and transportation mode directed by the Contracting Officer; and

  (3) Process through a designated reception site (DRS) upon arrival at the deployed location. The DRS will validate personnel
accountability, ensure that specific USCENTCOM AOR entrance requirements are met, and brief contractor personnel on theater-specific
policies and procedures.

(g)    Personnel data.

  (1) The Contractor shall use the Synchronized Predeployment and                                                         Operational
Tracker (SPOT) web-based system to enter and maintain data for all Contractor employees covered by this clause, following the
procedures in paragraph (g)(3) of this clause.

  (2) Upon becoming an employee under this contract, the Contractor shall enter into SPOT, and shall continue to use SPOT web-based
system to maintain accurate, up-to-date information throughout the employment in the AOR. Changes to status of individual contractor
personnel relating to their in-theater arrival date and their duty location, to include closing out the employment in the AOR with their
proper status (e.g., mission complete, killed, wounded) shall be annotated within the SPOT database in accordance with the timelines
established in the SPOT business rules.

      (i)    In all circumstances, this includes any personnel performing private security functions and CAAF.

      (ii)    For personnel other than those performing private security functions and CAAF, this requirement excludes anyone--

        (A) Hired under contracts valued below the simplified acquisition threshold;

        (B) Who will be performing in the CENTCOM AOR less than 30 continuous days; or
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        (C) Who, while afloat, are tracked by the Diary message Reporting System.

  (3)    Follow these steps to register in and use SPOT:

      (i)    SPOT registration requires one of the following login methods:

        (A)    A Common Access Card (CAC) or a SPOT-approved digital certificate; or

      (B) A Government-sponsored SPOT user ID and password. This type of log-in method is only allowed for those individuals who are
not authorized to obtain a CAC or an external digital certificate, and requires SPOT Program Management Office approval.

      (ii)    To register in SPOT:

        (A)    Contractor company administrators should register for a SPOT account at https://spot.dmdc.mil; and

      (B) The customer support team must validate user need. This process may take two business days. Company supervisors will be
contacted to validate Contractor company administrator account requests and determine the appropriate level of user access.

      (iii)    Upon approval, all users will access SPOT at https://spot.dmdc.mil/.

      (iv)(A)     Refer SPOT application assistance questions to the Customer Support Team at--

            (1)   Phone: 703-578-5407, DSN 312-698-5407; or

            (2)   Email: dodhra.beau-alex.dmdc.mbx.spot-helpdesk@mail.mil.

      (B) Refer to the SPOT OSD Program Support website at http://www.acq.osd.mil/log/PS/spot.html for additional training resources
and documentation regarding registration for and use of SPOT.

(h)    Contractor personnel.

  (1) The Contracting Officer may direct the Contractor, at its own expense, to remove and replace any contractor personnel who
jeopardize or interfere with mission accomplishment or who fail to comply with or violate applicable requirements of this contract.
Such action may be taken at the Governments discretion without prejudice to its rights under any other provision of this contract,
including the Termination for Default clause.

  (2) The Contractor shall identify all personnel who occupy a position designated as mission essential and ensure the continuity of
essential Contractor services during designated operations, unless, after consultation with the Contracting Officer, Contracting
Officers representative, or local commander, the Contracting Officer directs withdrawal due to security conditions.

  (3) The Contractor shall ensure that contractor personnel follow the guidance at paragraph (e)(2)(v) of this clause and any specific
Combatant Commander guidance on reporting offenses alleged to have been committed by or against contractor personnel to appropriate
investigative authorities.

  (4) Contractor personnel shall return all U.S. Government-issued identification, to include the Common Access Card, to appropriate
U.S. Government authorities at the end of their deployment (or, for non-CAAF, at the end of their employment under this contract).

(i)    Military clothing and protective equipment.

  (1) Contractor personnel are prohibited from wearing military clothing unless specifically authorized in writing by the Combatant
Commander. If authorized to wear military clothing, contractor personnel must--

    (i) Wear distinctive patches, arm bands, nametags, or headgear, in order to be distinguishable from military personnel, consistent
with force protection measures; and

      (ii)    Carry the written authorization with them at all times.

  (2) Contractor personnel may wear military-unique organizational clothing and individual equipment (OCIE) required for safety and
security, such as ballistic, nuclear, biological, or chemical protective equipment.

  (3) The deployment center, or the Combatant Commander, shall issue OCIE and shall provide training, if necessary, to ensure the
safety and security of contractor personnel.

  (4) The Contractor shall ensure that all issued OCIE is returned to the point of issue, unless otherwise directed by the Contracting
Officer.
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(j)    Weapons.

  (1) If the Contractor requests that its personnel performing in the USCENTCOM AOR be authorized to carry weapons for individual self-
defense, the request shall be made through the Contracting Officer to the Combatant Commander, in accordance with DoD Instruction
3020.41. The Combatant Commander will determine whether to authorize in-theater contractor personnel to carry weapons and what weapons
and ammunition will be allowed.

  (2) If contractor personnel are authorized to carry weapons in accordance with paragraph (j)(1) of this clause, the Contracting
Officer will notify the Contractor what weapons and ammunition are authorized.

  (3)    The Contractor shall ensure that its personnel who are authorized to carry weapons--

      (i)    Are adequately trained to carry and use them--

        (A)    Safely;

        (B)    With full understanding of, and adherence to, the rules of the use of force issued by the Combatant Commander; and

        (C)    In compliance with applicable agency policies, agreements, rules, regulations, and other applicable law;

      (ii)    Are not barred from possession of a firearm by 18 U.S.C. 922;

    (iii) Adhere to all guidance and orders issued by the Combatant Commander regarding possession, use, safety, and accountability of
weapons and ammunition;

      (iv)    Comply with applicable Combatant Commander and local commander force-protection policies; and

      (v)    Understand that the inappropriate use of force could subject them to U.S. or host-nation prosecution and civil liability.

  (4) Whether or not weapons are Government-furnished, all liability for the use of any weapon by contractor personnel rests solely
with the Contractor and the Contractor employee using such weapon.

  (5) Upon redeployment or revocation by the Combatant Commander of the Contractors authorization to issue firearms, the Contractor
shall ensure that all Government-issued weapons and unexpended ammunition are returned as directed by the Contracting Officer.

(k) Vehicle or equipment licenses. Contractor personnel shall possess the required licenses to operate all vehicles or equipment
necessary to perform the contract in the USCENTCOM AOR.

(l) Purchase of scarce goods and services. If the Combatant Commander has established an organization for the USCENTCOM AOR whose
function is to determine that certain items are scarce goods or services, the Contractor shall coordinate with that organization local
purchases of goods and services designated as scarce, in accordance with instructions provided by the Contracting Officer.

(m)    Evacuation.

  (1) If the Combatant Commander orders a mandatory evacuation of some or all personnel, the Government will provide assistance, to the
extent available, to United States and third country national contractor personnel.

  (2) In the event of a non-mandatory evacuation order, unless authorized in writing by the Contracting Officer, the Contractor shall
maintain personnel on location sufficient to meet obligations under this contract.

(n)    Next of kin notification and personnel recovery.

  (1) The Contractor shall be responsible for notification of the employee-designated next of kin in the event an employee dies,
requires evacuation due to an injury, or is isolated, missing, detained, captured, or abducted.

  (2) In the case of isolated, missing, detained, captured, or abducted contractor personnel, the Government will assist in personnel
recovery actions in accordance with DoD Directive 3002.01E, Personnel Recovery in the Department of Defense.

(o) Mortuary affairs. Contractor personnel who die while in support of the U.S. Armed Forces shall be covered by the DoD mortuary
affairs program as described in DoD Directive 1300.22, Mortuary Affairs Policy, and DoD Instruction 3020.41, Operational Contractor
Support.

(p) Changes. In addition to the changes otherwise authorized by the Changes clause of this contract, the Contracting Officer may, at
any time, by written order identified as a change order, make changes in the place of performance or Government-furnished facilities,
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equipment, material, services, or site. Any change order issued in accordance with this paragraph (p) shall be subject to the
provisions of the Changes clause of this contract.

(q) Subcontracts. The Contractor shall incorporate the substance of this clause, including this paragraph (q), in all subcontracts
when subcontractor personnel are performing in the USCENTCOM AOR.

                                                    (End of clause)




  I-180         252.225-7997    CONTRACTOR DEMOBILIZATION (DEVIATION 2013-O0017)                          AUG/2013
                (DEV 2013-
                O0017)
(a) Generally, the Contractor is responsible for demobilizing all of its personnel and equipment from the Afghanistan Combined Joint
Operations Area (CJOA).

(b) Demobilization plan. The Contractor shall submit a demobilization plan to the Contracting Officer for approval a minimum of 120
calendar days prior to the end of the current contract performance period or as otherwise directed by the Contracting Officer. Upon
acceptance of the demobilization plan by the Contracting Officer, the demobilization plan becomes a material part of the contract and
the Contractor agrees to fully perform its demobilization in accordance with that plan. The demobilization plan shall address the items
specified in this clause and must demonstrate the Contractors plans and ability to remove its personnel and equipment from the CJOA and
to return Government property no later than 30 days after the expiration of the current period of performance.

(c) Demobilization plan implementation. Every 30 calendar days after incorporation of the plan into the contract, or as otherwise
directed by the Contracting Officer, the Contractor shall provide written information to the Contracting Officer and Contracting Officer
Representative that addresses the Contractors progress in implementing the plan. The Contractor shall continue to provide the
information in the preceding sentence until the Contractor has completely and properly demobilized. If the Contracting Officer or
Contracting Officer Representative identifies deficiencies with the plan, as approved, or with the implementation of that plan, the
Contractor shall submit a corrective action plan (CAP) to those officials within five calendar days to remedy those deficiencies. The
Contracting Officer shall review the CAP within five calendar days to determine whether the CAP is acceptable. Upon approval by the
Contracting Officer, the CAP becomes a material part of the demobilization plan.

(d)   Plan contents

  (1) The plan shall identify the method of transportation (air, ground) the Contractor intends to use to remove its personnel and
equipment from the CJOA and whether that method of transportation is Government or Contractor-furnished. If Government-furnished
transportation is authorized, the plan must identify the contract term or condition which authorizes Government transportation of the
personnel and equipment associated with this contract.

  (2) The plan shall identify the number of Contractor personnel to be demobilized by category (U.S. citizens, Third Country Nationals
(TCN), Local Nationals (LN)) and, for U.S. and TCN personnel, identify the point of origin or home country to which they will be
transported and the timeline for accomplishing that objective. If U.S. or TCN employees have authorization to remain in the CJOA after
completion of demobilization, the plan shall identify the name each individual, their nationality, their location in the CJOA, and
provide a copy of the authorization. The plan shall also identify whether the Contractor needs the Contracting Officer to extend the
Letters of Authorization (LOA) for any Contractor personnel to execute the demobilization plan.

  (3) The plan shall identify all Contractor equipment and the timeline for accomplishing its demobilization. The Contractor shall
identify all equipment, whether or not it is covered by CJTSCC Acquisition Instruction Clause Inbound / Outbound Cargo and Contractor
Equipment Census. The plan shall also specify whether the Contractor intends to leave any equipment in the CJOA, a list of all such
equipment, including its location, and the reason(s) therefor.

  (4) The plan shall identify all Government property provided or made available to the Contractor under this contract or through any
separate agreement or arrangement (e.g., Installation Mayors, Garrison Commanders). The plan shall also identify the timeline for
vacating or returning that property to the Government, including proposed dates for conducting joint inspections.

(e)   Demobilization requirements:

  (1) The Contractor shall demobilize and return its personnel to their point of origin or home country according to the approved
demobilization plan.

  (2)   The Contractor is not authorized to use Government-furnished transportation unless specifically authorized in this contract.

  (3) The Contractor may request an extension of the LOAs only for those Contractor personnel whose presence is required to execute the
approved demobilization plan. The Contractor shall submit its request no later than 30 calendar days prior to the expiration of the
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current period of performance. LOAs may only be extended for a period up to 30 calendar days after expiration of the current
performance period. The request shall contain the following information:

      (i)    The names of each individual requiring an extension.

      (ii)    The required extension period.

    (iii) The justification for each extension (e.g., the specific function(s) the individual will perform during the demobilization
period). The Contractor is not entitled to any additional compensation if LOAs are extended.

  (4) The Contractor shall close out their employees deployments with the proper status entered into the Synchronized Pre-Deployment
Operational Tracker (SPOT) database (e.g. active, redeployed, no-shows, killed, injured) within 72 hours of their employees re-
deployment and, if applicable, release their personnel in SPOT.

  (5) All Contractor equipment that is lost, abandoned or unclaimed personal property that comes into the custody or control of the
Government after the demobilization period has ended may be sold or otherwise disposed of in accordance with 10 U.S.C. section 2575.
Notwithstanding the previous sentence and the Governments authority under 10 U.S.C. section 2575, the Government may exercise any other
contractual rights for the Contractors failure to perform in accordance with its demobilization plan.

  (6) If the Contractor waives its interest to all lost, abandoned or unclaimed personal property, the Contractor may still be liable
for all costs incurred by the Government to remove or dispose of the abandoned property.

  (7)    The Government may dispose of any and all lost, unclaimed, or abandoned personal property in accordance with 10 U.S.C. section
2575.

  (8) The Contractor shall return all Government property provided or made available under this contract or through any separate
agreement. The Contractor shall report all lost or damaged Government property in accordance with DFARS 52.245-1(h) unless other
procedures are identified in the contract or separate agreement. If the Government inspects the property and finds that damages or
deficiencies have not been reported by the end of the demobilization period, the Government may reduce payments under the contract by
the amounts required to correct the damages or deficiencies or replace the loss.

  (9) The Contractor is liable for all cleanup, clearing, and/or environmental remediation expenses incurred by the Government in
returning a Government facility to its original condition. If damages or deficiencies are discovered during the inspection of said
facility, the Contractor shall make the necessary repairs or corrections and then notify the Installation Mayor, Garrison Commander, or
their designees to arrange for a re-inspection of the facility. If the Installation Mayor or Garrison Commander inspects the facility
and finds that damages or deficiencies have not been repaired or corrected by the end of the demobilization period, the Government may
reduce payments under the contract by the amounts required to correct the damages or deficiencies.

  (10) The Contractor shall ensure that all employees, including all subcontractor employees at all tiers, return installation and/or
access badges to the local Access Control Badging Office for de-activation and destruction according to the approved demobilization
plan. The Contractor shall submit a Badge Termination Report to ensure each record is flagged and the badge is revoked. If an
employees badge is not returned, the Contractor shall submit a Lost, Stolen or Unrecovered Badge Report to the appropriate Access
Control Badging Office. Contractor employees in possession of a Common Access Card (CAC) shall be responsible for turning in the CAC
upon re-deployment through a CONUS Replacement Center in the United States. Failure to comply with these requirements may result in
delay of final payment.

(f)    Subcontracts. The Contractor shall include the substance of this clause, including this paragraph (f), in all subcontracts.

                                                      (End of Clause)




  I-181         252.229-7999     TAXES -- FOREIGN CONTRACTS IN AFGHANISTAN (DEVIATION 2013-O0016)          JUL/2013
                (DEV 2013-
                O0016)
(a) This acquisition is covered by the Agreement regarding the Status of United States Military and Civilian Personnel of the U.S.
Department of Defense Present in Afghanistan with Cooperative Efforts in Response to Terrorism, Humanitarian and Civic Assistance,
Military Training and Exercises, and other Activities, entered into between the United States and Afghanistan which was concluded by an
exchange of diplomatic notes (U.S. Embassy Kabul note No. 202, dated September 26, 2002; Afghan Ministry of Foreign Affairs notes 791
and 93, dated December 12, 2002, and May 28, 2003, respectively), and entered into force on May 28, 2003.

(b) The Agreement exempts the Government of the United States of America and its contractors, subcontractors and contractor personnel
from paying any tax or similar charge assessed within Afghanistan. The Agreement also exempts the acquisition, importation, exportation
and use of articles and services in the Republic of Afghanistan by or on behalf of the Government of the United States of America in
implementing this agreement from any taxes, customs duties or similar charges in Afghanistan.
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(c)   The Contractor shall exclude any Afghan taxes, customs duties or similar charges from its contract price.

(d) The Agreement does not exempt Afghan employees of DoD contractors and subcontractors from Afghan tax laws. To the extent required
by Afghanistan law, contractors and subcontractors are required to withhold tax from the wages of these employees and to remit those
payments to the appropriate Afghanistan taxing authority. These withholdings are an individuals liability, not a tax against the
Contractor or subcontractor.

(e)   The Contractor shall include the substance of this clause, including this paragraph (e), in all subcontracts.

                                                     (End of clause)




  I-182            52.204-4009      MANDATORY USE OF CONTRACTOR TO GOVERNMENT ELECTRONIC COMMUNICATION       MAR/2005

      (a)     All references in the contract to the submission of written documentation shall mean electronic submission.

     (b) This shall include all written unclassified communications between the Government and the Contractor except contract awards
and contract modifications which shall be posted on the internet. Return receipt shall be used if a commercial application is available.
 Classified information shall be handled in full accordance with the appropriate security requirements.

     (c) In order to be contractually binding, all Government communications requiring a Contracting Officer signature must be sent
from the Contracting Officer's e-mail address. The Contractor shall designate the personnel with signature authority who can
contractually bind the contractor. All binding contractor communication shall be sent from this contractor e-mail address(es).

     (d) Upon award, the Contractor shall provide the Contracting Officer with a list of e-mail addresses for all administrative and
technical personnel assigned to this contract.

     (e) Unless exempted by the Procuring Contracting Officer in writing, all unclassified written communication after contract award
shall be transmitted electronically.

                                                             [End of Clause]



  I-183            52.219-4070      PILOT MENTOR-PROTEGE PROGRAM                                             APR/2006

      (a)    The Pilot Mentor-Protege Program does not apply to small business concerns.

     (b) Utilization of the Pilot Mentor-Protege Program (hereafter referred to as the Program) is encouraged. Under the Program,
eligible companies approved as mentor firms enter into a mentor-protege agreement with eligible protege firms. The goal of the
program is to provide appropriate developmental assistance to enhance the capabilities of the protege firm. The Mentor firm may be
eligible for cost reimbursement or credit against their applicable subcontracting goals.

     (c) Mentor firms are encouraged to identify and select concerns that are defined as emerging small business concerns, small
disadvantaged business, women-owned small business, HUBZone small business, service-disabled veteran-owned small business, veteran-
owned small business or an eligible entity employing the severely disabled.

      (d)    Full details of the program are located at http://www.acq.osd.mil/sadbu/mentor protege/

or

http://sellingtoarmy.info/User/ShowPage.aspx?SectionID=12

     (e) For additional questions after reviewing the information provided, contact the Office of Small Business Programs serving
your area.

                                                  [End of Clause]




  I-184            52.239-4000      PROCESSING SENSITIVE AND HIGHLY SENSITIVE DATA                           JUN/1988
                   (TACOM)

                                                      (a)   ___________
                                                            Definitions.
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          (1) FOR OFFICIAL USE ONLY (FOUO): Applies only to unclassified information, records, and other material which have been
determined to require protection from disclosure to the general public, and which for a significant reason should not be given general
                                                    circulation.

          (2) Automatic Data Processing (ADP) assigned sensitivity levels apply to the facility or individual computer equipment and
           are based on the sensitivity of the information processed. The sensitivity levels are as follows.

                (i)    HIGHLY SENSITIVE:    Applicable to any facility or computer that processes Privacy Act and For Official Use Only
                                                    (FOUO) information.

                (ii)   SENSITIVE:    Applicable to any facility or computer that processes data relating to asset or resource, proprietary
                                                 or contractual information.

         (3) FACILITY SECURITY PROFILE: Describes the physical facility, equipment components, their locations and relationships,
 general operating information, and other characteristics relevant to the security of the facility and its operations.

          (4)   RISK MANAGEMENT ASSESSMENT: A written assessment by Contractor personnel in effect to achieve safeguards against
                         deliberate unauthorized manipulation, use or disclosure of information.

          (5) ACCREDITATION: A Government process which uses the risk management assessment to determine that highly sensitive and
sensitive information can be processed within the bounds of acceptable risk. An Accreditation Package is assembled by the Contractor
and contains the Facility Security Profile, appointment letters for the Automatic Data Processing System Security Officer (ADPSSO) and
the Terminal Area Security Officer (TASO), the Risk Management Program Automation Risk Analysis Survey, the Continuity of Operations
Plan, the Standard Practice Procedure (SPP), and the Memorandum of Understanding (MOU) for use with privately owned computers (if
                                                     required).

          (6) AUTOMATIC DATA PROCESSING SYSTEM SECURITY OFFICER (ADPSSO): Contractor appointed representative for each ADP system,
project, activity, or site whose duties are outlined in Army Regulation 380-380 and Army Materiel Command Supplement 1 to Army
                                                Regulation 380-380.

         (7) TERMINAL AREA SECURITY OFFICER (TASO): Contractor appointed representative for each remote terminal whose duties are
        outlined in Army Regulation 380-380 and Army Materiel Command Supplement 1 to Army Regulation 380-380.

                                                     (b)   Sensitivity Levels.
                                                           __________________

                                     (1)   For this contract, the sensitivity levels are as follows.

                                                              The Facility - Highly Sensitive

                                                                                 Sensitive

          (2)   The requirements of this clause also apply to additional facilities or computers that begin to process highly sensitive
                               or sensitive information during the term of this contract.

     (c) The Contractor shall establish and maintain a Standard Practice Procedure (SPP) to describe the procedures put in place to
ensure security for the equipment which contains highly sensitive or sensitive data. The purpose of the SPP is to secure the data
processing system and resources according to assigned sensitivity level of the facility and the data processed according to the
                                              following requirements.

          (1) _______________
               Access Controls. Physical security must be provided through an in-depth application of barriers to include surveillance
(human or electronic), limited access, and accountability. Only authorized persons shall be permitted entry into the computer area and
supporting offices. The Contractor's SPP shall include a description of all measures the Contractor will take during the term of this
contract to control access to data-processing areas by all personnel, to include custodial personnel, and all visitors to the facility.

          (2) _________________
               Facility Security. The Contractor ADPSSO will review the Facility Security Profile and notify the TACOM System Security
Manager (ATTN: AMSTA-SC) of any discrepancies. Because of the information contained in the Profile, the Contractor will handle it as
'For Official Use Only' (FOUO). If after discussions between the ADPSSO and the TACOM System Security Manager a determination is made
to change the Profile, the TACOM System Security Manager has the authority to permit the ADPSSO to make the change. The Facility
                           Security Profile will become part of the Accreditation Package.

          (3) ____________________________
               Security of Remote Terminals. The Contractor's SPP shall include a description of the safeguards and procedures to be
applied to (i) all remote terminals located in the ADP facility, and (ii) all hardcopy outputs produced by highly sensitive or sensitive
systems that are covered by the terms of this contract. With respect to remote terminals, the Contractor's SPP shall also address the
methodology by which such terminals will be rendered unable to access any highly sensitive or sensitive systems during nonduty hours.
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                                                           (4)   Personnel Security.
                                                                 __________________

               (i) The prospective employee will fill out a DD Form 398-2, 'Personal Security Questionnaire--National Agency Check.'
After the form is completed, it will be handled as 'For Official Use Only'(FOUO). The Contractor ADPSSO will check the form for
correctness and then annotate the DD Form 398-2 with the following authority: 'Memorandum, Office of the Under Secretary of Defense
(Policy), Director of Security Plans and Programs, 16 Aug 82, subject: Personnel Security Investigations for Contractors.' The form
will be forwarded to the TACOM System Security Manager (ATTN: AMSTA-SC) through the Government Security personnel assigned security
                                          administration on this contract.

               (ii)   The TACOM System Security Manager will forward the DD Form 398-2 to Defense Investigative Services (DIS) for
screening. DIS will recommend selection or non-selection of the potential employee. If DIS recommends non-selection, the potential
employee cannot be assigned to ADP sensitive positions which are defined by the TACOM System Security Manager. When the screening is
complete, a copy will be returned to the TACOM System Security Manager and a copy forwarded to the Contractor ADP System Security
                                    Officer for retention in the employee's file.

               (iii)   Incumbent employees referred to in the remainder of this section is/are the Contractor's employees.

               (iv)   Incumbent employees must have a DD Form 398-2 on file in their personnel file. If there is not one on file, the
      screening process listed above must be initiated and completed within 60 days of the date of this contract.

               (v)    After weighing all of the pertinent factors to include those factors listed in Army Regulation 604-5, Appendix I,
the Contractor is the person who is responsible to make the determination to remove an incumbent employee from ADP sensitive duties
effective immediately. The Contractor ADPSSO will then counsel the individual as to the reasons for disqualification. A written
notification will be initiated by the ADPSSO and provided to the disqualified incumbent within 10 days of removal. The notification
will provide information concerning reasons for disqualification, appeal procedures, and a form statement for signature of the
disqualified incumbent indicating only that the reasons for the disqualification are fully understood. The incumbent may appeal the
disqualification within 20 workdays of the written notification. Appeals will be in writing to the ADPSSO and will specifically deny or
explain the accusations. The TACOM System Security Manager will receive copies of the disqualification information and appeal from the
ADPSSO. Within 20 working days of the receipt of the appeal, the ADPSSO will issue written response to the disqualified incumbent
either accepting the appeal and reinstating the individual or sustaining the disqualification. If disqualification is sustained, a
written statement will be prepared by the ADPSSO and submitted to the TACOM System Security Manager with a copy included in the employee
                                                       file.

               (vi)   Contractor supervisors of employees assigned to highly sensitive or sensitive positions will maintain day-to-day
observation of individuals. Annually, Contractor supervision will verify, in writing, that employees working for them are qualified for
retention. This verification will be accomplished by review of the employee's personnel file. The verification will be included in the
                         employee file and a copy sent to the TACOM System Security Manager.

          (5) ________________
               System Passwords. All systems will have a method of identifying authorized users, accomplished through the use of user
identification or passwords. Passwords will be randomly generated and assigned by the ADPSSO. Passwords shall be changed annually. As
well, passwords will be retired within one work day when an employee having a password retires, transfers, resigns, or is discharged.
The Contractor will treat all employee passwords, including logs, registers, and data concerning them, as FOUO. The Contractor will
also ensure that passwords, when entered into computer systems by employees, are suppressed from appearing on terminal display screens
                                                and hardcopy output.

          (6) ____________________
               Audit and Evaluation. The Contractor shall develop and implement accounting and auditing systems in order to monitor and
review the operation of all systems covered by this contract. Such accounting and auditing systems shall be designated to detect actual
and potential abuses. These systems shall contain automated and, at the Contractor's option, supplementary manual features as needed in
                                    order to provide the coverage outlined below.

               (i)   SYSTEM ACCOUNTING: Procedures used to monitor the system security based on type of operation and degree of
                                      sensitive material handled. Examples are:

                                  (A)    Job Accounting (ensures that programs perform only authorized functions).

                                            (B)   Resource Accounting (provides for the use of resources).

                     (C)   Customer Accounting (identifies and records data requests from Government and Contractor employees).

                           (ii)    AUDIT TRAIL:    Describes manual and automated rosters and logs.     Examples are:

                                   (A)    System User Roster (lists personnel authorized access to the system).

                                                     (B)    Visitor Log (lists escorted visitors).
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                       (C) Support Access Log (lists personnel who need to enter the computer area but do not need to be
                       escorted, i.e. maintenance personnel appropriately cleared through the ADPSSO to perform necessary
                                                                functions).

               (iii)    INTERNAL AUDITS:          Initiates checks to computer access and interaction of the system.   Examples are:

                                    (A)    System Access Log (identifies entry to the system with name, data and time).

                                                      (B)   File Usage Log (lists opening and closing files).

                                          (C)   Transmission Log (identifies terminal receiving requests and files).

                                                            (D)     Storage Log (records memory assigned).

                         (E)    Suspected Violation Log (records type of violations with date, time and terminal number).

                                                              (7)    Contingency Planning.
                                                                     ____________________

               (i) The Contractor will develop a Continuity of Operations Plan to ensure the availability of copies of files,
documentation, and materials essential for recovery of operations under emergency or extraordinary conditions. Copies of files
(software) will be designated as backup files. Backup files will be generated daily by Contractor personnel and placed in secure
storage provided by the Contractor accessible by a minimum of two authorized Contractor personnel. Authorized Contractor personnel will
maintain the backup files for 30 days at which time data which is no longer necessary will be eliminated. The following are examples of
                  subplans which must be reflected in the Contractor's Continuity of Operations Plan.

                       (A) Plans which will lessen the adverse effects of the emergency or extraordinary condition such as
                          (i) a major fire in the computer room, (ii) a complete power failure in the middle of daily
                         processing, (iii) a wholesale equipment failure, (iv) a major breach of security, or (v) entry
                                             into a state of mobilization by the U.S. Government.

                                (B)       Actions to be taken immediately after the emergency or extraordinary condition.

                                                (C)   Plans necessary to recover and return to normal operations.

                             (ii)    The Continuity of Operations Plan will become part of the Accreditation Package.

          (8) __________________________
               Risk Management Assessment. Risk management assessment will be conducted on all automated systems regardless of
sensitivity designation. The Risk Management Program Automation Risk Analysis Survey will be filled in by the ADPSSO and submitted to
the TACOM System Security Manager (ATTN: AMSTA-SC). The completed survey must be submitted to the TACOM System Security Manager by the
ADPSSO (i) 30 days after the start of the contract, (ii) when new hardware, a new operating system, or a change in physical structure of
the facility is activated, (iii) when no record of prior risk analysis exists, or (iv) every three years, whichever applies. The
information in the survey will be designated FOUO. The Risk Management Assessment will become part of the Accreditation Package.

          (9) _____________________
               Accreditation Process. The accreditation process will be accomplished by the TACOM System Security Manager (ATTN: AMSTA-
SC). The process will review the operations and verify that information can be processed as required by the level of sensitivity and
analyze the effect compromise would have on the information contained in the system. The documents used to do the accreditation are (i)
the Facility Security Profile, (ii) the appointment letter for the ADPSSO, (iii) the appointment letter for the TASO (if appropriate),
(iv) the Risk Management Program Automation Risk Analysis Survey, (v) the Continuity of Operations Plan, (vi) the Standard Practice
Procedure (SPP), and the Memorandum of Understanding (MOU) concerning the use of personal computers, if necessary. The accreditation
process will take place as (i) initial accreditation when the contract is awarded, (ii) reaccreditation for replacement of a major
system, increase in sensitivity, breach of security, or significant physical change, or (iii) accreditation review every two years to
include a physical inspection, reevaluation of current sensitivity level, and effectiveness of the current accreditation plan. An
accreditation statement will be issued through the TACOM System Security Manager within 30 days of the completion of the appropriate
                                               accreditation process.

                                                                  (10)     Security Incidents.
                                                                           __________________

               (i)   Suspected or actual security violations will be initially reported to the Contractor's ADPSSO who in turn will
report it, in writing, to the TACOM System Security Manager (ATTN: AMSTA-SC) within five work days. Examples of violations to be
                                                   reported are:

                                                        (A)   Unexplainable output received at a terminal.

                                                                     (B)    Abnormal system response.
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                                                (C)    Inconsistent or incomplete security marking.

                                                      (D)    Unattended terminal device signed on.

                                          (E)   Unsuccessful attempts to log on from remote terminals.

                                                  (F)       Extraneous data on computer print outs.

               (ii) In cases of suspected or confirmed security violations, information included in the initial report will be (i)
location, (ii) system concerned, and (iii) description of the violation. Within two months, the Contractor ADPSSO will submit, in
writing, a final report on the violation to the TACOM System Security Manager. The final report will include a determination whether
           the breach was actual or illusory and a summary of corrective action taken to preclude recurrence.

                                                (11)        Automation Security Training.
                                                            ____________________________

               (i) The ADPSSO will conduct ADP security training for all personnel initially, upon assignment to the Data Processing
Activity. The briefing will stress individual's security responsibilities and will be tailored to the assigned duties and oriented
toward the local security environment. Automation personnel will also participate in an annual security education program conducted by
                                 the ADPSSO which pertains to their responsibilities.

               (ii) Upon termination or separation of 60 days or more, the Contractor personnel will be (i) debriefed, (ii) return all
materials related to their position, and (iii) sign a Security Termination Statement. This statement will include such information
                                  indicating the terminated/separated employee will:

                     (A) Read and understand the Espionage Act, other criminal statutes, and Army and local regulations
                       concerning disclosure of highly sensitive or sensitive material upon termination or separation.

                     (B)   No longer possess ADP programs written for Army operations or Contractor provided information
                                                             for ADP programs.

                     (C)   Will not communicate or transmit proprietary information to any unauthorized person or agency.

                     (D) Will report to the TACOM System Security Manager (ATTN: AMSTA-SC) any unauthorized attempt to
                       solicit classified or proprietary information concerning the position held when employed by the
                                                               Contractor.

                (iii)   The Security Termination statement will be retained in the terminated/separated employee's file.

          (12) ___________________________________________
                Appointment of Automation Security Officers. An ADPSSO will be appointed by a letter written by the Contractor at each
computer site. A TASO will be appointed by a letter written by the Contractor at each remote terminal site. These individuals will
     ensure that guidance contained here is implemented. The letters will become part of the Accreditation Package.

          (13) _________________________
                Privately Owned Computers. Use of privately owned computers is prohibited without the written consent of the TACOM
System Security Manager (ATTN: AMSTA-SC). A Memorandum of Understanding (MOU) will be attached to the accreditation statement. The
MOU will be between the TACOM System Security Manager and the owner of the personal computer. Only unclassified information can be
processed under the contract on the personal computer, and information becomes the property of the U.S. Government. When an MOU is
                              written, it will become part of the Accreditation Package.

                                                                                            [End of Clause]



  I-185         52.246-4009        INSPECTION AND ACCEPTANCE POINTS: DESTINATION                              FEB/1995
                (TACOM)

     Inspection and acceptance of supplies offered under this contract shall take place as specified here.    Inspection: DESTINATION
Acceptance: DESTINATION.

                                                                  [End of Clause]
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SECTION J - LIST OF ATTACHMENTS



    List of                                                                                             Number
________________
    Addenda         ____________________________________________________________
                                               Title                                 _______________
                                                                                          Date         of Pages
                                                                                                       ____________ Transmitted By
                                                                                                                    _______________
Exhibit A           CDRLS                                                            04-APR-2016       057          ELECTRONIC
                                                                                                                    IMAGE
Exhibit B           CONTRACT DATA ITEM DESCRITIONS (DIDS)                            18-APR-2012       041          ELECTRONIC
                                                                                                                    IMAGE
Attachment 0001     SYSTEM MODELS AND DESCRIPTIONS                                   05-DEC-2016       007          ELECTRONIC
                                                                                                                    IMAGE
Attachment 0002     RESERVED                                                                                        ELECTRONIC
                                                                                                                    IMAGE
Attachment 0003     SYSTEM DENSITIES                                                 22-MAR-2011       002          ELECTRONIC
                                                                                                                    IMAGE
Attachment 0004     MRAP FOV MAINTENANCE FLOW CHART                                  22-MAR-2011       001          ELECTRONIC
                                                                                                                    IMAGE
Attachment 0005     PERFORMANCE OBJECTIVES                                           09-FEB-2016       001          ELECTRONIC
                                                                                                                    IMAGE
Attachment 0006     APPLICABLE PUBLICATIONS                                          20-MAY-2016       004          ELECTRONIC
                                                                                                                    IMAGE
Attachment 0007     ACRONYMS                                                         22-MAR-2011       003          ELECTRONIC
                                                                                                                    IMAGE
Attachment 0008     LABOR CATEGORIES                                                 15-JAN-2014       012          ELECTRONIC
                                                                                                                    IMAGE
Attachment 0009     GOVERNMENT FURNISHED MATERIAL                                    04-AUG-2016       014          ELECTRONIC
                                                                                                                    IMAGE
Attachment   0010   STAFFING PLAN MATRIX                                             17-OCT-2012
Attachment   0011   MANPOWER UTILIZATION REPORT                                      13-FEB-2017       016         EMAIL
Attachment   0012   PRICING WORKBOOK A                                               08-DEC-2011
Attachment   0013   RESERVED                                                                                       ELECTRONIC
                                                                                                                   IMAGE
Attachment 0014     SOURCE SUPPLY FORM                                               21-MAR-2011       001
Attachment 0015     PRICE AND COST PERIOD DEPICTION                                  07-MAR-2012       001         ELECTRONIC
                                                                                                                   IMAGE
Attachment 0016     RESERVED                                                                                       ELECTRONIC
                                                                                                                   IMAGE
Attachment 0017     RESERVED
Attachment 0018     RESERVED                                                                                       ELECTRONIC
                                                                                                                   IMAGE
Attachment 0019     MRAP -U WAIVER FORM                                              10-JAN-2011       001         ELECTRONIC
                                                                                                                   IMAGE
Attachment 0020     CDRLS AND DIDS MATRIX                                            25-AUG-2011       003         ELECTRONIC
                                                                                                                   IMAGE
Attachment 0021     DELETED By MOD P00017
Attachment 0022     PERFORMANCE WORK STATEMENT                                       07-FEB-2017       059         ELECTRONIC
                                                                                                                   IMAGE
Attachment   0023   DD 254, PAGE 1                                                   21-APR-2015       010         EMAIL
Attachment   0024   DD 254, PAGE 2                                                   10-JAN-2013       007
Attachment   0025   MRAP SECURITY CLASSIFICATION GUIDE                               17-APR-2016       084         EMAIL
Attachment   0026   STATEMENT OF EQUIVALENT RATES FOR FEDERAL HIRES                  19-AUG-2011       003
Attachment   0027   DTM-08-003, NEXT GENERATION COMMON ACCESS CARD                   31-MAR-2011       030
                    IMPLEMENTATION GUIDANCE
Attachment   0028   STANDARD WELD PROCEDURE                                          01-MAY-2013       048         EMAIL
Attachment   0029   QAIP                                                             11-MAR-2013       035         EMAIL
Attachment   0030   PANTHER CARE AND MAINTENANCE PLAN                                18-OCT-2014       003         EMAIL
Attachment   0031   SERVICE CONTRACT ACT (SCA) WAGE DETERMINATION (WD)               12-NOV-2015       001         EMAIL
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